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                                 #:17179


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18                         UNITED STATES DISTRICT COURT
19                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
20    NICHIA CORPORATION,                         Case No. 2:20-cv-00359-GW(Ex)
                                                  Hon. George H. Wu
21                Plaintiff,                      Mag. Judge Charles F. Eick
      v.
22                                                DECLARATION OF ROBERT P.
      FEIT ELECTRIC COMPANY, INC.                 PARKER IN SUPPORT OF
23                                                PLAINTIFF NICHIA
                  Defendant.                      CORPORATION’S MOTION TO
24                                                STRIKE IN PART THE OPENING
                                                  EXPERT REPORT OF DR.
25                                                MICHAEL S. LEBBY
26                                                Hearing Date: February 7, 2022
                                                  Time: 8:30 a.m.
27                                                Ctrm: 9D
28


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 1                      DECLARATION OF ROBERT P. PARKER
 2
           I, Robert P. Parker, hereby declare and state as follows:
 3
           1.     I am an attorney with the firm Rothwell, Figg, Ernst & Manbeck, P.C.,
 4
     counsel for Plaintiff Nichia Corporation (“Nichia”). I am a member in good
 5
     standing of the bar of the District of Columbia. I submit this declaration in support
 6
     of Plaintiff Nichia Corporation’s Motion to Strike in Part the Opening Expert
 7
     Report of Dr. Michael S. Lebby.
 8
           2.     Attached hereto as Exhibit A is a true and correct copy of the
 9
     Honorable Judge Andrew J. Guilford’s Standing Patent Rules.
10
           3.     Attached hereto as Exhibit B is a true and correct copy of portions of
11
     Defendant Feit Electric Company, Inc.’s Initial Invalidity Contentions served on
12
     August 24, 2020.
13
           4.     Attached hereto as Exhibit C is a true and correct copy of portions of
14
     Defendant Feit Electric Company, Inc.’s Final Invalidity Contentions served on
15
     April 23, 2021.
16
           5.     Attached hereto as Exhibit D is a true and correct redacted copy of the
17
     Opening Expert Report of Dr. Michael S. Lebby served on December 7, 2021 in
18
     this proceeding.
19
           6.     Attached hereto as Exhibit E is a true and correct copy of an email sent
20
     on December 16, 2021 from Robert P. Parker to Kal Shah, carbon copying Michael
21
     S. Weinstein and NichiaLIT.
22
           7.     Attached hereto as Exhibit F is a true and correct copy of an email sent
23
     on December 17, 2021 from Kal Shah to Robert P. Parker, carbon copying
24
     NichiaLIT, Salil Bali and Feit20-359.
25
           8.     Attached hereto as Exhibit G is a true and correct copy of an email
26
     sent on December 20, 2021 from Robert P. Parker to Simeon Papacostas, Katherine
27
     A. Smith, Bill O’Hare, NichiaLIT, and Elizabeth Weldon, carbon copying Feit20-
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     359, Salil Bali and Jennifer Crummett-Smith.

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 1            9.        Attached hereto as Exhibit H is a true and correct copy of
 2   Respondents’ Notice of Prior Art submitted in In the Matter of Certain Filament
 3   Light-Emitting Diodes & Products Containing Same (II), Investigation No. 337-
 4   TA-1220 (ITC) on January 8, 2021.
 5            10.       Attached as Exhibit I is a true and correct copy of an email sent on
 6   December 29, 2021 from Kal Shah to Robert P. Parker, Simeon Papacostas,
 7   Katherine A. Smith, NichiaLIT, Bill O’Hare, and Elizabeth Weldon, carbon
 8   copying Feit20-359, Salil Bali and Jennifer Crummett-Smith.
 9            11.       Attached as Exhibit J is a true and correct copy of the order setting the
10   procedural schedule in In the Matter of Certain Filament Light-Emitting Diodes &
11   Products Containing Same (II), Investigation No. 337-TA-1220 (ITC) on October
12   23, 2020.
13            12.       Attached as Exhibit K is a true and correct copy of an excerpt from the
14   public version of Respondents’ Pre-Hearing Brief submitted in In the Matter of
15   Certain Filament Light-Emitting Diodes & Products Containing Same (II),
16   Investigation No. 337-TA-1220 (ITC) dated June 9, 2021.
17
              I declare under penalty of perjury that the foregoing is true and correct to the
18
     best of my knowledge, information, and belief.
19
20            Executed at Washington, D.C. on January 10, 2022.
21                                                       /s/ Robert P. Parker
                                                         Robert P. Parker
22   4888-7099-3161.1


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        EXHIBIT A




                               Exhibit A, p. 4
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                        HONORABLE ANDREW J. GUILFORD
                           STANDING PATENT RULES

These Standing Patent Rules are based largely on information obtained from over 100 patent
practitioners and professors, a review of all the other local patent rules, and a review of
related literature. These rules are drafted to respond to the needs of this community and to
reduce transaction costs and increase procedural predictability. A primary goal was that the
rules be outcome neutral and as concise as possible. While many lawyers and groups
provided assistance through comments, special acknowledgment is given to Jonathan Rotter
and Adam Hubbard.

1.     GENERAL PROVISIONS

1.1    Title

These are the Standing Patent Rules for cases assigned to the Honorable Andrew J.
Guilford. They should be cited as “S.P.R. ___.”

1.2    Effective Date

These Standing Patent Rules take effect on September 1, 2013, and apply in cases filed on or
after that date. The Court may order that they also apply with appropriate modification to
cases filed before that date.

1.3    Scope and Construction

These rules apply to all cases involving a claim of infringement, non-infringement, invalidity,
or unenforceability of a utility patent. The Local Rules of this District shall also apply to
such actions, except to the extent that they are inconsistent with these Standing Patent Rules.
The Court will consider requests to opt out of these Standing Patent Rules, particularly when
all parties agree the case involves less than $2 million.

1.4    Modification of These Rules

The Court maintains the ability to modify or suspend these rules at any time. The Court will
consider modifications to these rules suggested by the parties based on the circumstances of
any particular case. Such party-suggested modifications shall, in most cases, be made at the
scheduling conference, but may be made at other times upon a showing of good cause for
such other time.

1.5    Confidentiality

Absent a Court order, discovery cannot be withheld on the basis of confidentiality. The
Court’s Standing Protective Order shall govern discovery unless the Court enters a different


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                                        Exhibit A, p. 5
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protective order. The Standing Protective Order can be found on Judge Guilford’s
“Frequently Asked Questions” webpage, available on the “Judges’ Procedures and
Schedules” portion of the Central District of California’s website.

1.6    Relationship to the Federal Rules of Civil Procedure

Except as provided in this paragraph or otherwise ordered, it shall not be a ground for
objecting to discovery requests (such as interrogatories, document requests, requests for
admission, or deposition questions), or declining to provide information otherwise required
by Fed.R.Civ.P. 26(a)(1), that the discovery request or disclosure requirement is premature
due to, or otherwise conflicts with, these Standing Patent Rules. But a party may object to
the following categories of discovery requests (or decline to provide information in its initial
disclosures under Fed.R.Civ.P. 26(a)(1)) on the ground of prematurity under these Standing
Patent Rules: (1) requests seeking a party’s claim construction position; (2) requests seeking
from the patent claimant a comparison of the asserted claims and the accused apparatus,
product, device, process, method, act, or other instrumentality (collectively “Accused
Instrumentality”); (3) requests seeking from an accused infringer a comparison of the
asserted claims and the prior art; (4) requests seeking from an accused infringer the
identification of any advice of counsel or related documents.


2.     PATENT DISCLOSURES, EARLY MEETING OF THE PARTIES, AND
       SCHEDULING CONFERENCE

2.1    Disclosure of Asserted Claims and Infringement Contentions

No later than 14 days after the Court issues an order setting a scheduling conference, a party
asserting patent infringement shall serve on all parties a Disclosure of Asserted Claims and
Infringement Contentions. Separately for each opposing party, the Disclosure of Asserted
Claims and Infringement Contentions shall contain the information described as follows in
S.P.R. 2.1.1 through 2.1.6.

       2.1.1 Each claim of each patent in suit that is allegedly infringed by each opposing
       party, including for each claim the applicable statutory subsections of 35 U.S.C. § 271
       asserted.

       2.1.2 Separately for each asserted claim, each Accused Instrumentality. This
       identification shall be as specific as reasonably possible.

       2.1.3 A chart identifying specifically where each limitation of each asserted claim is
       found within each Accused Instrumentality, including, for each limitation that such
       party contends is governed by 35 U.S.C. § 112(6)/(f), the identity of the structure(s),
       act(s), or material(s) in the Accused Instrumentality that performs the claimed



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                                        Exhibit A, p. 6
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       function, and whether each limitation of each asserted claim is alleged to be literally
       present or present under the doctrine of equivalents in the Accused Instrumentality.

       2.1.4 For any patent that claims priority to an earlier application, the priority date
       allegedly applicable to each asserted claim.

       2.1.5 If a party claiming patent infringement wishes to preserve the right to rely, for
       any purpose, on the assertion that its own apparatus, product, device, process,
       method, act, or other instrumentality practices the claimed invention, the party shall
       identify, separately for each asserted claim, each such apparatus, product, device,
       process, method, act, or other instrumentality that incorporates or reflects that
       particular claim.

       2.1.6 If a party claiming patent infringement alleges willful infringement, the basis
       for such allegation.

2.2    Document Production Accompanying Disclosure

With the Disclosure of Asserted Claims and Infringement Contentions, the party claiming
patent infringement shall produce or make available for inspection and photocopying the
items described as follows in S.P.R. 2.2.1 through 2.2.3, identifying the documents
corresponding to each category by production number.

       2.2.1 A copy of the file history for each patent in suit.

       2.2.2 All documents evidencing ownership of the patent rights by the party
       asserting patent infringement.

       2.2.3 If a party identifies instrumentalities under S.P.R. 2.1.5, documents sufficient
       to show the operation of any aspects or elements of such instrumentalities the patent
       claimant relies upon as embodying any asserted claims.

2.3    Early Meeting of the Parties

No later than 14 days after the service of the materials required by S.P.R. 2.1 and 2.2,
counsel for the parties shall exchange Fed.R.Civ.P. 26(a)(1)(A) initial disclosures and meet in
person or telephonically to prepare for the scheduling conference and prepare the joint
Fed.R.Civ.P. 26(f) report. Both sides have the duty to schedule the meeting and comply
with this paragraph, with plaintiff taking the lead. The parties should consider, where
applicable, consolidation of related cases, including for trial, and transfer for pretrial
purposes through the Judicial Panel on Multidistrict Litigation. The parties should consider
the Federal Circuit Advisory Committee’s Model Order Limiting Excess Patent Claims and
Prior Art. The Court welcomes, where relevant, references to the “policy levers” discussed
in Burk & Lemley, The Patent Crisis. The parties should discuss ADR timing, recognizing


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                                        Exhibit A, p. 7
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that settlement decisions, like other business decisions, are often made with incomplete
information. Where necessary in multi-defendant cases and upon a showing of good cause,
counsel may apply for a reasonable extension of time to hold the early meeting of the
parties. The parties shall submit their joint Fed.R.Civ.P. 26(f) report no later than 14 days
after the early meeting of the parties.

2.4    Scheduling Conference

A scheduling conference will be held on the date set by the Court. Usually, each side will
have five minutes to present any potentially dispositive issues it wishes to bring to the
Court’s attention and to discuss its position on disputed scheduling issues. The
presentations are intended to allow the Court to make informed decisions on scheduling and
potential modifications of these rules. At the scheduling conference, the Court will issue a
scheduling order.

2.5    Invalidity Contentions

No later than 14 days after the scheduling conference, each party opposing a claim of patent
infringement shall serve on all parties Invalidity Contentions containing the information
described as follows in S.P.R. 2.5.1 through 2.5.4.

       2.5.1 The identity of each item of prior art that allegedly anticipates each asserted
       claim or renders it obvious. Each prior art patent shall be identified by its number,
       country of origin, and date of issue. Each prior art publication shall be identified by
       its title, date of publication, author, and publisher. Prior art under 35 U.S.C. §
       102(b)/(a) shall be identified by specifying the item offered for sale or publicly used
       or known, the date the offer or use took place or the information became known,
       and the identity of the person or entity which made the use or which made and
       received the offer, or the person or entity which made the information known or to
       whom it was made known. Prior art under 35 U.S.C. § 102(f), or other claim of
       derivation, shall be identified by providing the name of the person(s) from whom and
       the circumstances under which the invention or any part of it was derived. Prior art
       under 35 U.S.C. § 102(g) shall be identified by providing the identities of the
       person(s) or entities involved in and the circumstances surrounding the making of the
       invention before the patent applicant(s).

       2.5.2 Whether each item of prior art anticipates each asserted claim or renders it
       obvious. If obviousness is alleged, an explanation of why the prior art renders the
       asserted claim obvious, including an identification of any combinations of prior art
       showing obviousness.

       2.5.3 A chart identifying where specifically in each alleged item of prior art each
       limitation of each asserted claim is found, including for each limitation that such



                                              4
                                       Exhibit A, p. 8
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       party contends is governed by 35 U.S.C. § 112(6)/(f), the identity of the structure(s),
       act(s), or material(s) in each item of prior art that performs the claimed function.

       2.5.4 Any grounds of invalidity based on 35 U.S.C. § 101, indefiniteness under 35
       U.S.C. § 112(2)/(b), or enablement or written description under 35 U.S.C. §
       112(1)/(a) of any of the asserted claims.

2.6    Document Production Accompanying Invalidity Contentions

With the Invalidity Contentions, the party opposing a claim of patent infringement shall
produce or make available for inspection and copying the items described as follows in
S.P.R. 2.6.1 through 2.6.2, identifying the documents corresponding to each category by
production number.

       2.6.1 Source code, specifications, schematics, flow charts, artwork, formulas, or
       other documentation sufficient to show the operation of any aspects or elements of
       an Accused Instrumentality identified by the patent claimant’s S.P.R. 2.1.3 chart.

       2.6.2 A copy or sample of the prior art identified under S.P.R. 2.5.1 that does not
       appear in the file history of the patent(s) at issue. To the extent any such item is not
       in English, an English translation of the portion relied upon shall be produced.

2.7    Disclosure Requirement in Patent Cases for Declaratory Judgment of
       Invalidity Where No Claim of Infringement Has Been Made

In all cases where a party files a complaint or other pleading seeking a declaratory judgment
that a patent is invalid, S.P.R. 2.1 and 2.2 shall not apply unless and until a claim for patent
infringement is made, and the party asserting patent infringement shall have 28 days (instead
of 14 days) after the order setting the scheduling conference to make its S.P.R. 2.1 and 2.2
disclosures. If the defendant does not assert a claim for patent infringement in its answer to
the complaint, the party seeking a declaratory judgment of invalidity shall serve upon each
opposing party its S.P.R. 2.5 and 2.6 disclosures no later than 14 days after the order setting
the scheduling conference.


3.     CLAIM CONSTRUCTION

3.1    Exchange of Proposed Terms for Construction

No later than 14 days after the S.P.R. 2.5 and 2.6 disclosures, each party shall serve on each
other party a list of claim terms the party contends should be construed by the Court, and
identify any claim term the party contends should be governed by 35 U.S.C. § 112(6)/(f).
The parties shall then work to limit the terms in dispute by narrowing or resolving
differences, and to jointly identify the 10 terms likely to be most significant to the case.


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                                        Exhibit A, p. 9
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3.2    Exchange of Claim Constructions and Extrinsic Evidence

No later than 14 days after the exchange of the S.P.R. 3.1 lists, the parties shall
simultaneously exchange proposed constructions of each term identified by either party for
claim construction. Each such construction shall also, for each term that any party contends
is governed by 35 U.S.C. § 112(6)/(f), identify the structure(s), act(s), or material(s)
corresponding to that term’s function. At the same time the parties exchange their
constructions, each party shall also identify all references from the specification or
prosecution history that support its proposed construction and designate any supporting
extrinsic evidence including, without limitation, dictionary definitions, citations to learned
treatises and prior art, and testimony of percipient and expert witnesses. Extrinsic evidence
shall be identified by production number and by producing a copy if not previously
produced. For any supporting witness, percipient or expert, the identifying party shall also
provide a declaration containing that witness’ testimony regarding claim construction. The
parties shall then meet and confer to narrow the issues and finalize preparation of a Joint
Claim Construction and Prehearing Statement.
3.3     Completion of Claim Construction Discovery

No later than 28 days after service of the material required by S.P.R. 3.2, the parties shall
complete all discovery desired for claim construction, including any depositions of fact and
expert witnesses regarding claim construction.

3.4    Joint Claim Construction and Prehearing Statement

No later than seven days after the completion of claim construction discovery, the parties
shall complete and file a Joint Claim Construction and Prehearing Statement. The Joint
Claim Construction and Prehearing Statement shall contain the information described as
follows in S.P.R. 3.4.1 through 3.4.5.

       3.4.1 The parties’ agreed constructions.

       3.4.2 A chart showing each party’s proposed construction of each disputed term,
       together with an identification of all references from the specification or prosecution
       history that support that construction, and an identification of any extrinsic evidence
       supporting its proposed construction or undermining any other party’s proposed
       construction, including, but not limited to, dictionary definitions, citations to learned
       treatises and prior art, and testimony of percipient and expert witnesses.

       3.4.3 An identification of up to 10 terms whose construction will be most
       significant to the case. If the parties cannot agree on the 10 most significant terms,
       the parties shall identify the ones they agree are most significant and then they may
       evenly divide the remainder. While the Court may in its discretion construe more
       than 10 terms, the total terms identified by all parties as most significant cannot


                                               6
                                        Exhibit A, p. 10
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       exceed 10. For example, in a case involving two parties, if the parties agree upon the
       identification of five terms as most significant, each may only identify two additional
       terms as most significant. A failure to make a good faith effort to narrow the
       instances of disputed terms or otherwise participate in the meet and confer process of
       any of the provisions in S.P.R. 3 may expose counsel to sanctions, including under 28
       U.S.C. § 1927.

       3.4.4 Whether the party believes it will need more than 45 minutes total for all its
       presentation at the claim construction hearing, and if so, how much time, and why
       more time is necessary.

       3.4.5 Whether any party proposes to call one or more witnesses at the claim
       construction hearing, the identity of each such witness, and for each witness, a
       summary of the testimony including, for any expert, each opinion to be offered on
       claim construction. For expert witnesses, the Court may employ the “hot tub”
       technique.

3.5    Claim Construction Briefs

No later than seven days after they file the Joint Claim Construction and Prehearing
Statement, the parties shall file simultaneous opening claim construction briefs of not more
than 25 pages. Not later than 14 days after the opening briefs, the parties shall file
simultaneous responsive briefs of not more than 10 pages. With its responsive brief, each
party shall submit any presentation material (such as slide decks) it wishes to use at the claim
construction hearing, and may submit a technology tutorial of no more than 20 minutes in
length on CD-ROM, DVD, or USB thumb drive. At the claim construction hearing, the
Court will not accept, and will not permit the parties to use, any presentation material that
was not submitted with the briefing. If a party wishes to use a physical exhibit at the claim
construction hearing, it shall file with its responsive brief photographs of the physical exhibit
along with a statement that it intends to use the physical exhibit at the hearing. Concurrently
with the filing of the responsive briefs, the parties shall jointly lodge with the Court the
material described as follows in S.P.R. 3.5.1 through 3.5.3.

       3.5.1 A chart in Word or WordPerfect format providing the parties’ proposed
       constructions of each disputed term, with a column for the Court’s construction.

       3.5.2 An annotated copy of the certified file history for each asserted patent. Each
       file history shall be printed double-sided, indexed, tabbed, and compiled in a 3-ring
       binder. Each office action, response, filing, or other communication shall be given a
       separate tab, with the date of each clearly designated. Portions of the file history
       relied upon by the patentee for claim construction shall be highlighted in yellow.
       Portions of the file history relied upon by the accused infringer(s) shall be highlighted
       in blue. Portions of the file history relied upon by both sides shall be highlighted in
       green.


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                                        Exhibit A, p. 11
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       3.5.3 An electronic copy of each file history on a CD-ROM, DVD, or USB thumb
       drive. Each file history shall be a single PDF file with bookmarks corresponding to
       the tabs on the paper copy, and containing the highlighting present on the paper
       copy.

3.6    Claim Construction Hearing

Subject to the Court’s calendar, approximately 119 days (17 weeks) after the scheduling
conference, the Court will conduct a claim construction hearing. Each side shall have 45
minutes for its presentation, subject to enlargement at the Court’s discretion. Again, parties
may not use at the hearing any presentation material they did not previously submit in
accordance with S.P.R. 3.5.


4.     FINAL CONTENTIONS, EXPERT REPORTS, DISCLOSURE OF
       ADVICE OF COUNSEL, AND DISPOSITIVE MOTION DEADLINE

4.1    Final Infringement Contentions and Expert Reports

No later than 28 days after the Court construes the claims, the party claiming patent
infringement shall serve the information described as follows in S.P.R. 4.1.1 and 4.1.2. The
deadlines provided in this rule do not excuse the requirement to supplement disclosures and
discovery responses promptly. If a party receiving Final Infringement Contentions believes
that amendments were made without good cause, it may move the Court to strike them.

       4.1.1 All Rule 26 expert reports on issues where the party claiming patent
       infringement bears the burden of proof.

       4.1.2 A statement that its S.P.R. 2.1 contentions are its Final Infringement
       Contentions, or in the alternative, Final Infringement Contentions that amend its
       S.P.R. 2.1 contentions. A party serving Final Infringement Contentions that amend
       its prior contentions shall also provide a redline against its prior contentions and a
       statement of reasons for each amendment. Amendments are subject to a good cause
       standard but do not require prior Court approval where they are made due to a claim
       construction by the Court different from that proposed by the party seeking
       amendment, or recent discovery of nonpublic information about the Accused
       Instrumentality that was not discovered, despite diligent efforts, before the service of
       the Infringement Contentions.

4.2    Final Invalidity Contentions and Expert Reports

No later than 28 days after service of the Final Infringement Contentions, the party
opposing a claim of patent infringement shall serve the information described as follows in


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                                       Exhibit A, p. 12
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S.P.R. 4.2.1 and 4.2.2. The deadlines provided in this rule do not excuse the requirement to
supplement disclosures and discovery responses promptly. If a party receiving Final
Invalidity Contentions believes that amendments were made without good cause, it may
move the Court to strike them.

       4.2.1 All Rule 26 expert reports on issues where the party opposing a claim of
       patent infringement bears the burden of proof.

       4.2.2 A statement that its S.P.R. 2.5 contentions are its Final Invalidity Contentions,
       or in the alternative, Final Invalidity Contentions that amend its S.P.R. 2.5
       contentions. A party serving Final Invalidity Contentions that amend its prior
       contentions shall also provide a redline against its prior contentions and a statement
       of reasons for each amendment. Amendments are subject to a good cause standard
       but do not require prior Court approval where they are made due to a claim
       construction by the Court different from that proposed by the party seeking
       amendment, or recent discovery of material prior art that was not discovered, despite
       diligent efforts, before the service of the Invalidity Contentions.

4.3    Rebuttal Expert Reports and Close of Discovery

Rebuttal expert reports are due no later than 28 days after service of the respective S.P.R. 4.1
and 4.2 reports. Discovery closes 28 days after service of the latest set of rebuttal reports.
This will typically be approximately 119 days (17 weeks) after the claim construction hearing.
Amendments to or supplementation of expert reports after Standing Patent Rules deadlines
are presumptively prejudicial and shall not be allowed absent prior leave of court upon a
showing of good cause that the amendment or supplementation could not reasonably have
been made earlier and that the opposing party is not unfairly prejudiced.



4.4    Advice of Counsel

No later than 28 days after service by the Court of its claim construction ruling, each party
relying upon advice of counsel as part of a patent-related claim or defense for any reason
shall produce the information described as follows in S.P.R. 4.4.1 through 4.4.3. A party not
complying with this rule shall not be permitted to rely on advice of counsel for any purpose
absent a stipulation of all parties or order of the Court.

       4.4.1 Any written advice and related documents for which the attorney-client and
        work-product protection have been waived.

       4.4.2 A written summary of any oral advice and related documents for which the
       attorney-client and work-product protection have been waived.



                                               9
                                       Exhibit A, p. 13
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       4.4.3 A privilege log identifying any other documents, except those authored by
       counsel acting solely as trial counsel, relating to the subject matter of the advice that
       the party is withholding on the grounds of attorney-client privilege or work-product
       protection.

4.5    Final Day for Filing Dispositive Motions

All dispositive motions shall be filed no later than 28 days after the close of discovery.


5.     TRIAL

5.1    Standard Trial Procedures

Generally, trial procedure is governed by Judge Guilford’s Scheduling Order Specifying
Procedures and the Central District of California’s Local Rules.

5.2    Other Possible Trial Procedures

The Court is open to creative trial procedures, such as imposing time limits, allowing short
statements introducing each witness’s testimony before examination, allowing questions
from the jury, and giving the jury a full set of instructions before the presentation of
evidence. The Court reminds parties that trial estimates affect juries. The Court strongly
encourages the parties to give young lawyers the chance to examine witnesses and fully
participate in trial (and throughout the litigation!).

5.3    Hypothetically Negotiate with Care

A legally and methodologically sound damages report is far more valuable to you than a
more aggressive report that is subject to exclusion under Daubert. Requests for a second bite
at the apple may be met with a citation to S.P.R. 5.3.




                                               10
                                        Exhibit A, p. 14
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         EXHIBIT B




                               Exhibit B, p. 15
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 12   Attorneys for Defendant
 13   Feit Electric Company, Inc.
 14                      UNITED STATES DISTRICT COURT
 15                     CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
 16
 17   NICHIA CORPORATION,                          CASE NO. 2:20-cv-00359-GW-E
 18                                                Honorable George Wu, Ctrm. 9D
 19                     Plaintiff,                 FEIT ELECTRIC COMPANY
                                                   INC.’S INITIAL INVALIDITY
 20                                                CONTENTIONS
                        vs.
 21
 22   FEIT ELECTRIC COMPANY, INC.,
 23                     Defendant.
 24
 25
 26
 27
 28

                                                 1
                         Feit Electric’s Initial Invalidity Contentions

                                     Exhibit B, p. 16
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1            FEIT ELECTRIC COMPANY INC.’S INITIAL INVALIDITY
2                                      CONTENTIONS
3          Pursuant to the Scheduling Order entered by the Court (Dkt. No. 47),
4    Defendant Feit Electric Company, Inc. (“Feit Electric”) submits the following
5    Initial Invalidity Contentions to Nichia Corporation (“Nichia” or “Plaintiff”)
6    concerning the asserted claims of U.S. Patent No. 9,752,734 (the “’734 Patent” or
7    “Patent-in-Suit”).
8          Nichia presently asserts claims 1, 3, 4, 6, 7, 11, 12, 13, 14, 15, 17, 18, 19,
9    20, 21, 22, 23, 24, 25, 26 and 27 of the ’734 Patent (“the Asserted Claims”).
10   Therefore, Feit Electric limits its invalidity contentions to only the Asserted
11   Claims. In the event that Plaintiff asserts additional or different claims of the
12   Patent-in-Suit, or seeks to assert additional patents, Feit Electric expressly reserves
13   the right to address the invalidity of those claims.
14         Feit Electric bases these invalidity contentions in part upon the positions
15   taken by Nichia in its pleadings, disclosures, filings, and arguments in this case as
16   well as the information in Nichia’s possession as of the date of these contentions.
17                            PRELIMINARY STATEMENT
18         Feit Electric reserves the right to supplement, amend, or otherwise modify
19   these contentions as discovery proceeds, including based on information obtained
20   through fact and expert discovery, including third party discovery, or upon further
21   investigation. Feit Electric further reserves the right to supplement, amend, or
22   otherwise modify these contentions in accordance with any modification to the
23   Scheduling Order entered by the Court; in response to Nichia’s Response to
24   Invalidity Contentions; or in response to any claim construction ruling by the Court
25   regarding the Patent-in-Suit; or after any decision by this Court, the United States
26   Court of Appeals for the Federal Circuit, or the United States Patent and
27   Trademark Office (including the Patent Trial and Appeal Board) that bears on the
28   construction or validity of the Patent-in-Suit.        In addition, to the extent that

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 1   Plaintiff advances a claim construction position different than Feit Electric’s
 2   current understanding of a claim term (or Plaintiff’s positions concerning such
 3   claim term) and/or after the Court construes the claims as a matter of law, Feit
 4   Electric expressly reserves the right to modify these Initial Invalidity Contentions,
 5   to add or delete prior art references, and modify its prior art combinations. Feit
 6   Electric further expressly reserves the right to amend or supplement these
 7   contentions in view of any evidence regarding secondary considerations that
 8   Plaintiff may raise. Feit Electric therefore reserves the right to supplement, amend,
 9   or otherwise modify these contentions in accordance with any applicable Rules or
10   by order of this Court or as appropriate.        Feit Electric also provides these
11   disclosures without waiving any claim of privilege or work-product immunity.
12         By providing these contentions, Feit Electric takes no position on any issue
13   related to claim construction in this matter. Any statement herein describing or
14   tending to describe any claim limitation is solely for the purpose of attempting to
15   understand and apply prior art. By addressing any term of the Asserted Claims,
16   Feit Electric does not concede that such terms are definite or otherwise comply
17   with 35 U.S.C. § 112; in fact, Feit Electric expressly contends that many of the
18   Asserted Claims are invalid for failure to comply with one or more provisions of
19   35 U.S.C. § 112, as identified further below. Feit Electric expressly reserves the
20   right to propose any claim construction it considers appropriate and/or to contest
21   any claim construction it considers inappropriate and will not be limited by any
22   position arguably set forth in these invalidity contentions.         Where multiple
23   interpretations of a claim or claim term reasonably exist or where Plaintiff’s
24   implied meanings or definitions differ from what one of ordinary skill in the art
25   would understand, Feit Electric might identify disclosures by certain references in
26   the alternative. Any alternatives should not be considered inappropriate merely
27   because Plaintiff may believe that they are inconsistent with one another.
28

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                         Feit Electric’s Initial Invalidity Contentions

                                       Exhibit B, p. 18
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1          Further, by providing these contentions, Feit Electric does not waive any
2    right to introduce at trial any subsequently-discovered evidence or expert opinions
3    related to currently-known facts and to produce and introduce at trial all evidence,
4    whenever discovered, relating to the proof of subsequently-discovered facts. Feit
5    Electric reserves the right to refer to, conduct discovery with reference to, or offer
6    into evidence at the time of trial, any and all facts, expert opinion testimony,
7    documents and things notwithstanding the written statements in these contentions.
8    Feit Electric further reserves its right to refer to, conduct discovery with reference
9    to, or offer into evidence at the time of trial, any and all facts, documents and
10   things that are not currently recalled but might be recalled at some time in the
11   future. Feit Electric may also rely on documents, testimony, and things produced
12   in the course of fact and expert discovery, including those which have not yet been
13   produced by Plantiff, which do not yet exist, or which Feit Electric has not yet
14   identified or appreciated the significance of in the context of this litigation.
15         These contentions, including the claim charts attached hereto as Exhibit A,
16   identify where specifically in each item of prior art each limitation of the Asserted
17   Claims is found. The citations to references are representative of the teachings of
18   the listed references and additional support for these contentions may be found
19   elsewhere in the cited references. This approach is not a waiver of later asserting
20   any of these teachings against the Asserted Claims, nor does it preclude Feit
21   Electric from relying on any non-cited portion of the identified prior art references.
22   Feit Electric reserves the right to rely on the entirety of the references, including
23   other non-cited portions, cited in Exhibit A attached to these contentions. The
24   absence of a particular reference in the chart for a particular feature is not a waiver
25   or admission by Feit Electric. Feit Electric also reserves the right to rely on any of
26   these references, including on the basis of modifications and combinations of
27   certain cited references. Feit Electric further reserves the right to rely on any
28

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                                         Exhibit B, p. 19
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1    combination of the references cited in Exhibit A, even if not explicitly set forth
2    therein.
3          These contentions are made pursuant to Federal Rule of Evidence 502. To
4    the extent these contentions contain any information that may be protected from
5    discovery under the attorney-client privilege, the attorney work-product immunity
6    or any other applicable privilege or immunity, such disclosure is inadvertent and
7    does not, nor is it intended to, constitute a waiver of any such privilege or
8    immunity.
9          Feit Electric hereby incorporates by reference any rejections made by the
10   United States Patent and Trademark Office (“PTO”) during the prosecution of the
11   applications leading to the Patent-in-Suit and any related patent application to the
12   Patent-in-Suit.   Feit Electric reserves the right to assert any art cited in the
13   prosecution histories of the Patent-in-Suit and/or their related applications as a
14   basis for contending that the Asserted Claims are invalid. Feit Electric further
15   identifies as prior art upon which it may rely those references identified in
16   Information Disclosure Statements during the respective prosecution of the Patent-
17   in-Suit and/or related applications.
18         Feit Electric’s invalidity positions in these contentions may be in the
19   alternative and do not constitute any concession or admission by Feit Electric for
20   purposes of invalidity, enforceability, claim construction, and/or infringement.
21   See, e.g., Vanmoor v. Wal-Mart Stores, Inc., 201 F.3d 1363, 1366 (Fed. Cir. 2000).
22   For example, Feit Electric’s Section 112 arguments may be in the alternative to
23   Feit Electric’s obviousness arguments and should not be viewed, in any way, to be
24   concessions about the prior art or knowledge of one of ordinary skill in the art.
25                            INVALIDITY CONTENTIONS
26         Feit Electric incorporates by reference herein, as if fully set forth in these
27   contentions, any or all invalidity positions set forth by any other party in any other
28   action or dispute involving patents relating to the Patent-in-Suit, and specifically

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                         Feit Electric’s Initial Invalidity Contentions

                                        Exhibit B, p. 20
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1    reserves the right to rely upon such other positions, but only if, and to the extent,
2    Feit Electric deems appropriate.
3          As discussed in detail herein, Feit Electric contends that the relevant prior art
4    standing alone or in combination, along with the knowledge and understanding of a
5    person of ordinary skill in the art (“POSITA”), renders the Asserted Claims of the
6    Patent-in-Suit invalid at least under 35 U.S.C. § 103 as obvious and under 35
7    U.S.C. § 112 for indefiniteness, lack of enablement, and/or lack of written
8    description. Feit Electric expressly reserves its rights to develop and make other
9    arguments and assert any defenses relating to invalidity of any of the Asserted
10   Claims of the Patent-in-Suit.
11   I.    RELEVANT CLAIM CONSTRUCTIONS
12         The Court has not construed any claim term of the Patent-in-Suit. Feit
13   Electric reserves the right to amend its invalidity contentions based on any claim
14   constructions issued by this Court regarding the Patent-in-Suit, or any subsequent
15   discovery of material prior art. Feit Electric’s invalidity contentions should not be
16   construed to advocate for or accede to any particular claim construction. Feit
17   Electric specifically reserves the right to request the Court to construe disputed
18   claim terms of the Patent-in-Suit at the appropriate time in the case schedule. Feit
19   Electric expressly reserves the right to supplement or otherwise amend its
20   invalidity contentions in the event the Court issues a claim construction ruling on
21   the Patent-in-Suit.
22   II.   IDENTIFICATION OF PRIOR ART
23         Feit Electric identifies the following prior art references and relies on at least
24   these references in support of its invalidity contentions based on 35 U.S.C. § 103.
25   A copy of each item of prior art identified below is being produced concurrently
26   with service of these invalidity contentions.
27
28

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                           Feit Electric’s Initial Invalidity Contentions

                                         Exhibit B, p. 21
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                                 #:17200




1                        Prior Art Patents and Patent Publications
2         Abbreviation   Number     Country Filing Date     Issue Date
             Mano      2004/0239242  U.S.    Dec. 3, 2003       N/A
3
             Hohn        6,066,861   U.S.   May 20, 1998 May 23, 2000
4           Debray       1116419      EP     Jul. 24, 2000 Oct. 6, 2004
5          Takashima     7,723,740   U.S.   Sept. 16, 2004 May 25, 2010
            Suehiro      7,875,897   U.S.   Sept. 8, 2005 Jan. 25, 2011
6           Uchida       4,727,289   U.S.    Jul. 17, 1986 Feb. 23, 1988
7           Brunner      7,436,002   U.S.   Dec. 29, 2003 Oct. 14, 2008
8          In addition to the references enumerated above, Feit Electric reserves the
9    right to rely upon additional references and/or prior art discovered as discovery
10   progresses; to explain scientific background; to show the state of the art or what
11   was inherent in the prior art or the level of ordinary skill in the relevant art as of
12   the priority date or the alleged date of invention; in accordance with the rulings of
13   the Court; by agreement of the parties; in response to any contention by Plaintiff
14   that the prior art does not teach what Feit Electric purposes it to teach, and/or for
15   other good cause shown.
16         In addition to the above references, Feit Electric will rely on all prior art
17   cited in the prosecution history of the Patent-in-Suit or related applications as a
18   basis for contending that the Patent-in-Suit is invalid (in an Information Disclosure
19   Statement, identified by the examiner, or otherwise disclosed to the Patent Office
20   during prosecution), cited in related patents and/or patent applications, and
21   incorporates such prior art by reference. Feit Electric further identifies as prior art
22   upon which it will rely all statements in the specification and file history of the
23   Patent-in-Suit. Feit Electric also incorporates by reference the other patents and
24   publications cited on the face of the Patent-in-Suit.
25         Claim charts are provided in Exhibit A that identify specific combinations of
26   prior art and where each limitation of the Asserted Claims is taught or disclosed in
27   the prior art and/or why a limitation is obvious over a prior art reference.
28   Combinations of charted references will be identified in greater detail below.

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                                        Exhibit B, p. 22
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 1                                      *      *      *
 2          Feit Electric reserves its rights to rely on any combinations of the above
 3   prior art in its obviousness defenses for the Patent-in-Suit, including to illustrate
 4   the background knowledge of a skilled artisan, to demonstrate the motivation to
 5   combine prior art references, and to rebut any evidence of validity raised by
 6   Plaintiff.
 7   III.   PERSON OF ORDINARY SKILL IN THE ART UNDER 35 U.S.C. §
 8          103
 9          For a claimed invention to be found obvious, it must have been obvious to a
10   POSITA in the art at the time the invention was made. In re Mayne, 104 F.3d
11   1339, 1341 (Fed. Cir. 1997).       A POSITA is “a hypothetical person who is
12   presumed to be aware of all the pertinent prior art.” Custom Accessories, Inc. v.
13   Jeffrey-Allan Indus. Inc., 807 F.2d 955, 962 (Fed. Cir. 1986). A POSITA is also
14   presumed to possess the common sense and creativity of a real person. KSR Int’l
15   Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007) (“A person of ordinary skill is also a
16   person of ordinary creativity, not an automaton.”).
17          A POSITA in the context of the ’734 Patent would generally possess at least
18   a bachelor’s degree in electrical engineering, applied physics, materials science, or
19   a related field, and, at least five years of practical experience designing and/or
20   developing LED packages for general lighting applications.
21   IV.    U.S. PATENT NO. 9,752,734
22          A.    Background
23          The ’734 Patent, entitled “LIGHT EMITTING DEVICE,” issued on
24   September 5, 2017 to inventors Yuichiro Tanda and Toshio Matsushita. The ’734
25   Patent issued from U.S. Application No. 15/231,735, filed on August 8, 2016. The
26   ’734 Patent is a continuation application of U.S. Application No. 13/831,797, filed
27   on March 15, 2013; U.S. Application No. 13/672,713, filed on November 9, 2012;
28   and U.S. Application No. 11/639,062, filed on December 14, 2006 (“Parent

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                                       Exhibit B, p. 23
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1    Application”). The Patent-in-Suit also claims foreign priority to Japanese Patent
2    Application No. 2005-364127 (“Japanese Application”), filed on December 16,
3    2005. The named assignee on the face of the ’734 Patent is Nichia Corporation.
4    The ’734 patent issued with 27 claims. As noted above, Plaintiff is asserting
5    claims 1, 3, 4, 6, 7, 11, 12, 13, 14, 15, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26 and 27
6    of the ’734 Patent.
7          B.       Priority Claims to Japanese Patent Application No. 2005-364127
8                   and Parent Application
9          Feit Electric contests the ’734 Patent’s entitlement to priority to the Japanese
10   Application, filed on December 16, 2005. Specifically, limitations of the Asserted
11   Claims, such as “a first set of the light emitting element chips” and “a second set of
12   the light emitting element chips,” do not find support in the Japanese Application.
13   Thus, the Asserted Claims are not entitled to claim priority to the Japanese
14   Application.
15         Feit Electric also disputes the ’734 Patent’s entitlement to priority to the
16   Parent Application, filed on December 14, 2006.              Similar to the Japanese
17   Application, limitations of the Asserted Claims, such as “a first set of the light
18   emitting element chips” and “a second set of the light emitting element chips,” do
19   not find support in the Parent Application. Thus, the Asserted Claims are not
20   entitled to claim priority to the Parent Application.
21         As a result, Feit Electric asserts that the ’734 Patent is only entitled to its
22   filing date of August 6, 2016, and no earlier than its parent filing date of December
23   14, 2006.
24         Feit Electric also identifies the following prior art references, which would
25   be applicable under a priority date of no earlier than December 14, 2006. Should
26   the Court agree to a priority date of no earlier than December 14, 2006, Feit
27   Electric will supplement Exhibit A to provide corresponding claim charts as to
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                                         Exhibit B, p. 24
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 1   these prior art references, and/or additional references as they are discovered,
 2   either alone or in combination.
 3                                     Prior Art Patents
 4    Abbrev. Number Country Filing Date Priority Date    Issue Date
      Fellows 8,860,051 U.S. Nov. 15, 2007 Nov. 15, 2006 Oct. 14, 2014
 5
       Shozo  4733535    JP  Feb. 24, 2006 Feb. 24, 2006 Jul. 27, 2011
 6
 7          Feit Electric reserves the right to (i) challenge the ’734 Patent’s entitlement
 8   to priority to any of the prior applications under any other grounds; (ii) challenge
 9   any alleged date of conception or reduction to practice; and (iii) identify additional
10   prior art thereto.
11          C.     Prior Art Invalidity under 35 U.S.C. § 103
12          As discussed in detail in Exhibit A, the Asserted Claims are invalid for
13   obviousness in view of the cited prior art under 35 U.S.C. § 103.
14          To the extent that any limitation recited by the Asserted Claims is not
15   explicit or inherent in the references identified above, and/or would not have been
16   understood to have been disclosed in such reference by a POSITA at the time of
17   the alleged invention claimed, it would have been obvious to a POSITA in view of
18   the state of the art at the time to supply such missing limitation from his/her own
19   knowledge, the state of the art, and/or one or more other references. A POSITA
20   would have been taught, suggested, or motivated to combine these references for
21   any number of reasons. As just a few examples of such reasons, and without
22   prejudice to others that Feit Electric expects to be the subject of expert testimony
23   in this case, “[a] light emitting device” comprised of “a plurality of light emitting
24   element chips” in various configurations was already well known. See ’734 Patent
25   at col. 15, lns. 11 and 22. Accordingly, one of skill in the art would also use their
26   ordinary creativity and awareness of the totality of the art, drawing appropriate
27   inferences and employing the creative steps appropriate for a POSITA. See KSR
28   Int’l Co., 550 U.S. at 418.       To the extent any such teaching, suggestion, or

                                                 10
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                                        Exhibit B, p. 25
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1    motivation were necessary, a POSITA would derive such from “any number of
2    sources, including common knowledge, the prior art as a whole, or the nature of
3    the problem itself.” Dystar Textilfarben GmbH v. C.H. Patrick Co., 464 F.3d
4    1356, 1361 (Fed. Cir. 2006); see also Cable Elec. Prods. Inc. v. Glenmark, Inc.,
5    770 F.2d 1015, 1025 (Fed. Cir. 1985); In re Beattie, 974 F.2d 1309, 1311–12 (Fed.
6    Cir. 1992). Moreover, “the [TSM] analysis need not seek out precise teachings
7    directed to the specific subject matter of the challenged claim, for a court can take
8    account of the inferences and creative steps that a person of ordinary skill in the art
9    would employ.” KSR Int’l Co., 550 U.S. at 418.
10         Here, all of the references relate to “[a] light emitting device” and are no less
11   than analogous art, such that they are in areas within which a POSITA seeking to
12   solve the same problem would be inclined to research for a solution. Specifically,
13   a POSITA would seek to construct “[a] light emitting device” similarly to those
14   references discussed herein. In addition, it would further have been obvious to a
15   POSITA to supply any missing elements from any of the foregoing references with
16   that element as disclosed in one or more of the other foregoing references.
17         D.     Secondary Considerations of Non-obviousness
18         Feit Electric contends that no secondary considerations weigh in favor of
19   non-obviousness with respect to the Asserted Claims of the Patent-in-Suit. Feit
20   Electric notes that secondary considerations do not form a part of the prima facie
21   case of obviousness. Rather, a patentee may try to rebut a prima facie case of
22   obviousness by coming forth with purported evidence of secondary considerations.
23   Feit Electric therefore has no burden at this stage to address any secondary
24   considerations, or to come forward with any evidence rebutting such evidence.
25   Accordingly, it is Plaintiff’s obligation and burden to produce evidence of so-
26   called secondary considerations, if any, on which it intends to rely.
27         Feit Electric is presently unaware of, and Plaintiff has not yet alleged, any
28   secondary considerations that are relevant to the Patent-in-Suit.        Feit Electric

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                                        Exhibit B, p. 26
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1    expects that additional discovery directed to alleged secondary considerations will
2    take place in accordance with the case schedule, and that the evidence will rebut
3    any alleged or claimed secondary considerations in full. As such, Feit Electric
4    reserves the right to supplement these contentions and to rebut any claim of
5    secondary considerations of non-obviousness raised by Plaintiff, if any, as
6    discovery proceeds in this case.
7
8    V.    INVALIDITY UNDER PRE-AIA 35 U.S.C. § 112
9                 1.    Independent Claims 1, 26, and 27
10                      a.     “[E]nd portions and a center portion therebetween in
11                             a longitudinal direction.”
12         Claims 1, 26, and 27 of the Patent-in-Suit recite “[a board having] end
13   portions and a center portion therebetween in a longitudinal direction.”         This
14   limitation is indefinite under pre-AIA 35 U.S.C. § 112, second paragraph, at least
15   because the term “end portions and a center portion therebetween in a longitudinal
16   direction” when read in light of the patent specification and file history, fails to
17   inform a POSITA about the scope of the alleged invention of Claims 1, 26, and 27.
18   Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124 (2014).
19         A POSITA would not be able to ascertain the scope of the alleged invention
20   with reasonable certainty as it relates to “end portions and a center portion
21   therebetween in a longitudinal direction” as this term is not sufficiently definite.
22   Halliburton Energy Services, Inc. v. M-I LLC, 514 F.3d 1244, 1249 (Fed. Cir.
23   2008) (“Because claims delineate the patentee’s right to exclude, the patent statute
24   requires that the scope of the claims be sufficiently definite to inform the public of
25   the bounds of the protected invention, i.e., what subject matter is covered by the
26   exclusive rights of the patent. Otherwise, competitors cannot avoid infringement,
27   defeating the public notice function of patent claims.”). The claim term “end
28   portions and a center portion therebetween in a longitudinal direction” is equivocal

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                                        Exhibit B, p. 27
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1    even in the context of the claims as a whole, and thus, the claims do not apprise a
2    POSITA of their scope.
3          The disclosure in the patent specification is also inadequate and fails to
4    provide sufficient guidance as to what these highly indefinite terms mean to allow
5    a POSITA to understand the scope of the alleged invention. Specifically, the
6    disclosure is silent as to the terms “end portions,” “a center portion,” and
7    “therebetween.”    Furthermore, the disclosure is silent as to “in a longitudinal
8    direction” in the context of the board.
9          As both the claims and the written description fail to define any explicit
10   boundaries, let alone any boundaries at all, of these portions, a POSITA is left to
11   surmise where along the board the center portion ends and where the end portions
12   begin. Further, “in a longitudinal direction” is ambiguous as a POSITA would not
13   understand to what element “in a longitudinal direction relates,” the precise
14   orientation of the portions, and whether the portions have a length extending in a
15   longitudinal direction or are disposed consecutively along a longitudinal direction.
16   Moreover, a POSITA would also not understand the meaning of “therebetween”
17   and whether any area lies between the center and end portions and how much.
18   Such estimations run afoul of the requirement that “particularly point[] out and
19   distinctly claim[] the subject matter which the applicant regards as his invention.”
20   35 U.S.C. § 112, second paragraph. Thus, without such guidance, a POSITA is
21   unable to ascertain the scope of the term “[a board having] end portions and a
22   center portion therebetween in a longitudinal direction” with reasonable certainty,
23   thereby rendering these claims indefinite under 35 U.S.C. §             112, second
24   paragraph.
25                       b.    “[A] first region and a second region.”
26         Claims 1, 26, and 27 of the Patent-in-Suit recite “[the first surface including]
27   a first region and a second region.” This limitation is indefinite under 35 U.S.C. §
28   112, second paragraph, at least because the term “a first region and a second

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                                        Exhibit B, p. 28
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1    region” when read in light of the patent specification and file history, fails to
2    inform a POSITA about the scope of the alleged invention of Claims 1, 26, and 27.
3    Nautilus, Inc., 134 S. Ct. at 2124.
4           A POSITA would not be able to ascertain the scope of the alleged invention
5    with reasonable certainty as it relates to “a first region and a second region” as this
6    term is not sufficiently definite. Halliburton Energy Services, Inc., 514 F.3d at
7    1249 (“Because claims delineate the patentee’s right to exclude, the patent statute
8    requires that the scope of the claims be sufficiently definite to inform the public of
9    the bounds of the protected invention, i.e., what subject matter is covered by the
10   exclusive rights of the patent. Otherwise, competitors cannot avoid infringement,
11   defeating the public notice function of patent claims.”). The claim term “a first
12   region and a second region” is equivocal and arbitrary even in the context of the
13   claim as a whole, and thus, the claims do not apprise a POSITA of their scope.
14          The disclosure in the patent specification is also inadequate and fails to
15   provide sufficient guidance as to what these highly indefinite terms mean to allow
16   a POSITA to understand the scope of the alleged invention. Specifically, the
17   disclosure is silent as to the terms “a first region” and “a second region” in the
18   context of the first surface of the board, let alone at all.
19          As both the claims and the written description fail to define any explicit
20   boundaries of these regions or provide any directional or orienting references, a
21   POSITA is left to surmise where along the board these regions lie, their expanse,
22   and the relationship between them. Such estimations run afoul of the requirement
23   that the claims must “particularly point[] out and distinctly claim[] the subject
24   matter which the applicant regards as his invention.” 35 U.S.C. § 112, second
25   paragraph. Thus, without such guidance, a POSITA is unable to ascertain the
26   scope of the term “a first region and a second region” with reasonable certainty,
27   thereby rendering these claims indefinite under 35 U.S.C. §              112, second
28   paragraph.

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                                           Exhibit B, p. 29
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1                        c.    “[A] wavelength conversion member formed unitarily
                               with a transparent member.”
2
3          Claims 1, 26, and 27 of the Patent-in-Suit recite “a wavelength conversion
4    member formed unitarily with a transparent member.” This limitation is indefinite
5    under 35 U.S.C. § 112, first and second paragraphs, at least because the disclosure
6    fails to enable a POSITA to make and use the alleged invention of Claim 1 and the
7    term “a wavelength conversion member formed unitarily with a transparent
8    member” when read in light of the patent specification and file history, fails to
9    inform a POSITA about the scope of the alleged invention of Claims 1, 26, and 27.
10   Nautilus, Inc., 134 S. Ct. at 2124.
11         A POSITA would not be able to ascertain the scope of the alleged invention
12   with reasonable certainty as it relates to “a wavelength conversion member formed
13   unitarily with a transparent member” as this term is not sufficiently definite.
14   Halliburton Energy Services, Inc., 514 F.3d at 1249 (“Because claims delineate the
15   patentee’s right to exclude, the patent statute requires that the scope of the claims
16   be sufficiently definite to inform the public of the bounds of the protected
17   invention, i.e., what subject matter is covered by the exclusive rights of the patent.
18   Otherwise, competitors cannot avoid infringement, defeating the public notice
19   function of patent claims.”). The claim term “a wavelength conversion member
20   formed unitarily with a transparent member” is equivocal even in the context of the
21   claim as a whole, and thus, the claims do not apprise a POSITA of their scope.
22         The disclosure in the patent specification is also inadequate and fails to
23   provide sufficient guidance as to what these highly indefinite terms mean to allow
24   a POSITA to understand the scope of the alleged invention. Specifically, the
25   disclosure provides no teaching as to the manner in which “a wavelength
26   conversion member [is] formed unitarily with a transparent member” or whether,
27   and to what extent, the wavelength conversion outcome changes if the wavelength
28   conversion member is formed unitarily with the transparent member.

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                                           Exhibit B, p. 30
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1          As both the claims and the written description fail to provide any teaching as
2    to how to form the wavelength conversion member unitarily with the transparent
3    member, a POSITA would be left to surmise as to how these elements are unitarily
4    formed together and whether, and by how much, the conversion output of the
5    wavelength conversion member is materially affected by their combination.
6          Thus, without such guidance, a POSITA is unable to ascertain the scope of
7    the term “a wavelength conversion member formed unitarily with a transparent
8    member” with reasonable certainty, thereby rendering these claims indefinite under
9    35 U.S.C. § 112, first and second paragraphs.
10
11                       d.    “[A] pair of metal plates protruding at both ends of
                               the wavelength conversion member.”
12
13         Claims 1, 26, and 27 of the Patent-in-Suit recite “a pair of metal plates
14   protruding at both ends of the wavelength conversion member.” This limitation is
15   indefinite under 35 U.S.C. § 112, second paragraph, at least because the term “a
16   pair of metal plates protruding at both ends of the wavelength conversion member”
17   when read in light of the patent specification and file history, fails to inform a
18   POSITA about the scope of the alleged invention of Claims 1, 26, and 27.
19   Nautilus, Inc., 134 S. Ct. at 2124.
20         A POSITA would not be able to ascertain the scope of the alleged invention
21   with reasonable certainty as it relates to “a pair of metal plates protruding at both
22   ends of the wavelength conversion member” as this term is not sufficiently
23   definite. Halliburton Energy Services, Inc., 514 F.3d at 1249 (“Because claims
24   delineate the patentee’s right to exclude, the patent statute requires that the scope
25   of the claims be sufficiently definite to inform the public of the bounds of the
26   protected invention, i.e., what subject matter is covered by the exclusive rights of
27   the patent. Otherwise, competitors cannot avoid infringement, defeating the public
28   notice function of patent claims.”).        The claim term “a pair of metal plates

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                                           Exhibit B, p. 31
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 1   protruding at both ends of the wavelength conversion member” is equivocal and
 2   arbitrary as to size and scope, even in the context of the claims as a whole, and
 3   thus, the claims do not apprise a POSITA of their scope.
 4         The disclosure in the patent specification is also inadequate and fails to
 5   provide sufficient guidance as to what these highly indefinite terms mean to allow
 6   a POSITA to understand the scope of the alleged invention. Specifically, the
 7   disclosure is silent as to the term “protruding” and thus provides no specifications
 8   as to amount or degree of the protrusion of the pair of metal plates at both ends of
 9   the wavelength conversion member.
10          As both the claims and the written description fail to define by how much or
11   to what degree the pair of metal plates must protrude from the wavelength
12   conversion member, or provide any dimensions of those protrusions relative to any
13   other claim element, one is left to surmise as to the precise meaning of this claim
14   term. Such estimations run afoul of the requirement that “particularly point[] out
15   and distinctly claim[] the subject matter which the applicant regards as his
16   invention.” 35 U.S.C. § 112, second paragraph. Thus, without such guidance, a
17   POSITA is unable to ascertain the scope of the term “a pair of metal plates
18   protruding at both ends of the wavelength conversion member” with reasonable
19   certainty, thereby rendering these claims indefinite under 35 U.S.C. § 112, second
20   paragraph.
21                       e.    “[A] first set of the light emitting chips …a second set
22                             of the light emitting element chips.”
23         Claims 1, 26, and 27 of the Patent-in-Suit recite “a first set of the light
24   emitting chips …a second set of the light emitting element chips.” This limitation
25   is indefinite under 35 U.S.C. § 112, second paragraph, at least because the term “a
26   first set of the light emitting chips …a second set of the light emitting element
27   chips” when read in light of the patent specification and file history, fails to inform
28

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                                       Exhibit B, p. 32
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1    a POSITA about the scope of the alleged invention of Claims 1, 26, and 27.
2    Nautilus, Inc., 134 S. Ct. at 2124.
3             A POSITA would not be able to ascertain the scope of the alleged invention
4    with reasonable certainty as it relates to “first set of the light emitting chips …a
5    second set of the light emitting element chips” as this term is not sufficiently
6    definite. Halliburton Energy Services, Inc., 514 F.3d at 1249 (“Because claims
7    delineate the patentee’s right to exclude, the patent statute requires that the scope
8    of the claims be sufficiently definite to inform the public of the bounds of the
9    protected invention, i.e., what subject matter is covered by the exclusive rights of
10   the patent. Otherwise, competitors cannot avoid infringement, defeating the public
11   notice function of patent claims.”). As these terms relate to “a first region and a
12   second region” described above, which are indefinite as the patent as a whole fails
13   to describe any explicit boundaries of these regions or provide any directional or
14   orienting references, a POSITA is left to surmise as to which set is the “first set”
15   versus the “second set” as well as the specific positioning of these sets along the
16   board.
17            The disclosure in the patent specification is also inadequate and fails to
18   provide sufficient guidance as to what these highly indefinite terms mean to allow
19   a POSITA to understand the scope of the alleged invention. Specifically, the
20   disclosure is silent as to the terms “a first set of the light emitting chips …a second
21   set of the light emitting element chips.”
22            Thus, without such guidance, a POSITA is unable to ascertain the scope of
23   the term “the first surface including a first region and a second region” with
24   reasonable certainty, thereby rendering these claims indefinite under 35 U.S.C. §
25   112, second paragraph.
26                  2.    Dependent Claim 6 - “[C]omprises a phosphor therein”
27            Claim 6 of the Patent-in-Suit recites “comprises a phosphor therein.” This
28   limitation is indefinite under 35 U.S.C. § 112, second paragraph, at least because

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                                           Exhibit B, p. 33
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 1   the term “comprises a phosphor therein” when read in light of the patent
 2   specification and file history, fails to inform a POSITA about the scope of the
 3   alleged invention of Claim 6. Nautilus, Inc., 134 S. Ct. at 2124.
 4         A POSITA would not be able to ascertain the scope of the alleged invention
 5   with reasonable certainty as it relates to “comprises a phosphor therein” as this
 6   term is not sufficiently definite. Halliburton Energy Services, Inc., 514 F.3d at
 7   1249 (“Because claims delineate the patentee’s right to exclude, the patent statute
 8   requires that the scope of the claims be sufficiently definite to inform the public of
 9   the bounds of the protected invention, i.e., what subject matter is covered by the
10   exclusive rights of the patent. Otherwise, competitors cannot avoid infringement,
11   defeating the public notice function of patent claims.”).            The claim term
12   “comprises a phosphor therein” lacks any recitation of an effective range or
13   amount of a phosphor for which the wavelength conversion member should
14   comprise therein. Additionally, the term “therein” is equally vague and presents
15   other challenges in ascertaining the meaning of this claim term. Thus, the claim
16   does not apprise a POSITA of its scope.
17         The disclosure in the patent specification is also inadequate and fails to
18   provide sufficient guidance as to what these highly indefinite terms mean to allow
19   a POSITA to understand the scope of the alleged invention. Specifically, the
20   disclosure is silent as to effective amounts of a phosphor “therein” the wavelength
21   conversion member as well as the manner in which the wavelength conversion
22   member comprises a phosphor “therein.”
23         Thus, without such guidance, a POSITA is unable to ascertain the scope of
24   the term “comprises a phosphor therein” with reasonable certainty, thereby
25   rendering this claim indefinite under 35 U.S.C. § 112, second paragraph.
26
27
28

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                                       Exhibit B, p. 34
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1                 3.     Dependent Claim 18 - “wherein the wavelength conversion
2                        member is capable of … to the outer periphery of the
3                        wavelength conversion member.”
4          Claim 18 of the Patent-in-Suit recites “wherein the wavelength conversion
5    member is capable of … to the outer periphery of the wavelength conversion
6    member.” This entire claim is indefinite under 35 U.S.C. § 112, first and second
7    paragraphs, at least because the disclosure fails to enable a POSITA to make and
8    use the alleged invention of Claim 18 and the terms “wherein the wavelength
9    conversion member is capable of … to the outer periphery of the wavelength
10   conversion member” when read in light of the patent specification and file history,
11   fail to inform a POSITA about the scope of the alleged invention of Claim 18.
12   Nautilus, Inc., 134 S. Ct. at 2124.
13         A POSITA would not be able to ascertain the scope of the alleged invention
14   with reasonable certainty as it relates to “comprises a phosphor” as these terms are
15   not sufficiently definite. Halliburton Energy Services, Inc., 514 F.3d at 1249
16   (“Because claims delineate the patentee’s right to exclude, the patent statute
17   requires that the scope of the claims be sufficiently definite to inform the public of
18   the bounds of the protected invention, i.e., what subject matter is covered by the
19   exclusive rights of the patent. Otherwise, competitors cannot avoid infringement,
20   defeating the public notice function of patent claims.”). The claim terms “wherein
21   the wavelength conversion member is capable of … to the outer periphery of the
22   wavelength conversion member” are confusing as they seem to conflate two
23   concepts: converting wavelengths of light and directing the radiation of light.
24   These concepts behave independently relative to one another. As a result, the
25   claim does not apprise a POSITA of its scope.
26         The disclosure in the patent specification is also inadequate and fails to
27   provide sufficient guidance as to what these highly indefinite terms mean to allow
28   a POSITA to understand the scope of the alleged invention. Specifically, the

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                                           Exhibit B, p. 35
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1    disclosure is silent as to the concepts encompassing the terms “wherein the
2    wavelength conversion member is capable of … to the outer periphery of the
3    wavelength conversion member.”
4          Thus, without such guidance, a POSITA is unable to ascertain the scope of
5    the terms “wherein the wavelength conversion member is capable of … to the
6    outer periphery of the wavelength conversion member” with reasonable certainty,
7    thereby rendering this claim indefinite under 35 U.S.C. § 112, first and second
8    paragraphs.
9                  4.    Dependent Claim 19 - “[A]ligned along a line”
10         Claim 19 of the Patent-in-Suit recites “aligned along a line.” This limitation
11   is indefinite under 35 U.S.C. § 112, second paragraph, at least because the term
12   “aligned along a line” when read in light of the patent specification and file history,
13   fails to inform a POSITA about the scope of the alleged invention of Claim 19.
14   Nautilus, Inc., 134 S. Ct. at 2124.
15         A POSITA would not be able to ascertain the scope of the alleged invention
16   with reasonable certainty as it relates to “comprises a phosphor” as this term is not
17   sufficiently definite.   Halliburton Energy Services, Inc., 514 F.3d at 1249
18   (“Because claims delineate the patentee’s right to exclude, the patent statute
19   requires that the scope of the claims be sufficiently definite to inform the public of
20   the bounds of the protected invention, i.e., what subject matter is covered by the
21   exclusive rights of the patent. Otherwise, competitors cannot avoid infringement,
22   defeating the public notice function of patent claims.”). The claim term “aligned
23   along a line” is equivocal in the context of the claim as a whole as neither a relative
24   position of the line nor a relative orientation of the line are recited. A POSITA
25   could not ascertain the meaning of “aligned along a line,” and thus, the claim does
26   not apprise a POSITA of its scope.
27         The disclosure in the patent specification is also inadequate and fails to
28   provide sufficient guidance as to what these highly indefinite terms mean to allow

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                                           Exhibit B, p. 36
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 1   a POSITA to understand the scope of the alleged invention. Specifically, the
 2   disclosure provides alignments of LED chips, however unlike the claim, these
 3   alignments are described with respect to another element or direction.
 4         Thus, without such guidance, a POSITA is unable to ascertain the scope of
 5   the term “aligned along a line” with reasonable certainty, thereby rendering this
 6   claim indefinite under 35 U.S.C. § 112, second paragraph.
 7                5.    Dependent Claim 22 - “[A]ligned along substantially a single
 8                      line.”
 9         Claim 22 of the Patent-in-Suit recites “aligned along substantially a single
10   line.” This limitation is indefinite under 35 U.S.C. § 112, second paragraph, at
11   least because the term “along substantially a single line” when read in light of the
12   patent specification and file history, fails to inform a POSITA about the scope of
13   the alleged invention of Claim 22. Nautilus, Inc., 134 S. Ct. at 2124.
14         A POSITA would not be able to ascertain the scope of the alleged invention
15   with reasonable certainty as it relates to “along substantially a single line” as this
16   term is not sufficiently definite. Halliburton Energy Services, Inc., 514 F.3d at
17   1249 (“Because claims delineate the patentee’s right to exclude, the patent statute
18   requires that the scope of the claims be sufficiently definite to inform the public of
19   the bounds of the protected invention, i.e., what subject matter is covered by the
20   exclusive rights of the patent. Otherwise, competitors cannot avoid infringement,
21   defeating the public notice function of patent claims.”). The claim term “along
22   substantially a single line” is equivocal at least because the meaning of “along
23   substantially” cannot be ascertained. Furthermore, this term relates to “a first set
24   of the light emitting chips …a second set of the light emitting element chips,”
25   which are indefinite as a POSITA is left to surmise as to which set is the “first set”
26   versus the “second set” as well as the specific positioning of these sets along the
27   board. As a result, “along substantially a single line” is indefinite because a
28   POSITA would be left to conjecture as to which set is the first set versus the

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                                       Exhibit B, p. 37
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1    second set as well as the specific positioning of these sets along the board,
2    especially “aligned along substantially a single line.”
3          The disclosure in the patent specification is also inadequate and fails to
4    provide sufficient guidance as to what these highly indefinite terms mean to allow
5    a POSITA to understand the scope of the alleged invention. Specifically, the
6    disclosure is silent as to “along substantially a single line.”
7          Thus, without such guidance, a POSITA is unable to ascertain the scope of
8    the term “along substantially a single line” with reasonable certainty, thereby
9    rendering this claim indefinite under 35 U.S.C. § 112, second paragraph.
10   VI.   INVALIDITY UNDER THE DOCTRINE OF PROSECUTION
11         LACHES
12         The equitable doctrine of prosecution laches can be applied to bar
13   enforcement of a patent claim that issued after unreasonable and unexplained delay
14   in prosecution, even though an applicant complied with pertinent statutes and rules.
15   Symbol Techs., Inc. v. Lemelson Med., 277 F.3d 1361 (Fed. Cir. 2002); see also
16   P.J. Federico, Commentary on the New Patent Act, 75 J. Pat. & Trademark Off.
17   Soc’y 161, 215 (1993). Laches may be triggered when “an examination of the
18   totality of the circumstances, including the prosecution history of all of a series of
19   related patents” reveals an overall delay in issuing claims. Symbol Techs., Inc. v.
20   Lemelson Med., Educ. & Research Found., 422 F.3d 1378, 1386 (Fed. Cir. 2005),
21   amended on reh’g in part sub nom. Symbol Techs., Inc. v. Lemelson Med., Educ. &
22   Research Found., LP, 429 F.3d 1051 (Fed. Cir. 2005). “[U]nreasonable delay
23   alone is sufficient to apply prosecution laches without the requirement that [an
24   applicant] intended to gain some advantage by the delay.” Symbol Techs., Inc. v.
25   Lemelson Med., Educ. & Research Found., 301 F.Supp.2d 1156 (D. Nev. 2004)
26   (citing In re Bogese II, 303 F.3d 1362, 1369 (Fed. Cir. 2002)).
27         The prosecution histories of the patent family relating to the ‘734 Patent
28   show unreasonable and suspicious delays in prosecution. Specifically, the Parent

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                                         Exhibit B, p. 38
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1    Application, U.S. Application No. 11/639,062, was filed on December 14, 2006.
2    The prosecution of this patent continued on until the application was finally
3    allowed, nearly six years later, on October 11, 2012. (U.S. Patent No. 8,366,295,
4    Notice of Allowance dated October 11, 2012); Woodbridge v. United States, 263
5    U.S. 50, 44 S.Ct. 45, 68 L.Ed. 159 (1923) (“In this case we have a delay of nine
6    years and a half in securing a patent that might have been had at any time in that
7    period for the asking, and this for the admitted purpose of making the term of the
8    monopoly square with the period when the commercial profit from it would have
9    been highest.... Meantime other inventors had been at work in the same field ...
10   without knowledge of the situation with respect to Woodbridge’s invention.... This
11   is not a case of abandonment. It is a case of forfeiting the right to a patent by
12   designed delay.”).
13         A portion of this delay, including an astounding 434 days, was attributable
14   to applicant delays in filing responses to Office Actions and even allowing the
15   application to go abandoned.        (Id. at Abandonment dated January 30, 2012).
16   Additionally, the first continuation application, U.S. Application No. 13/672,713,
17   was not filed until November 9, 2012. This constitutes almost a six-year delay in
18   filing any continuation application.
19         After this time, subsequent continuation applications were filed in 2013,
20   2016 (the ’734 Patent), 2017, 2018, and 2019. Like the Parent Application, Feit
21   Electric deems the delay in filing these continuation applications unreasonable and
22   suspicious. Moreover, some of these applications also had applicant delays in the
23   hundreds. For example, U.S. Application No. 13/672,713, filed in 2012, had
24   applicant delays of 221 days, and U.S Application No. 13/831,797, filed in 2013,
25   had applicant delays of 286 days.
26         In light of the totality of the circumstances, the ’734 Patent is invalid or
27   unenforceable under the doctrine of prosecution laches.
28

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                                         Exhibit B, p. 39
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 1   DATED: August 24, 2020            STRADLING YOCCA CARLSON &
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                                       CORPORATION
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                                  Exhibit B, p. 40
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                                                    EXHIBIT A




                               Exhibit B, p. 41
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                                                                 #:17220




        I.      Mano in view of Hohn

         U.S. Patent Publication No. 2004/02392242A1 (“Mano”) in view of U.S. Patent No. 6,066,861 (“Hohn”) renders the Asserted Claims of the ’734 Patent obvious under
35 U.S.C. § 103. These references alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed
to light-emitting semiconductor devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of
ordinary skill in the art to combine the above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to
combine the teachings from these disclosures in a manner that renders the Asserted Claims obvious.

                     Asserted Claims                                                            Prior Art References, Mano in view of Hohn
 Claim 1
 1. A light emitting device comprising:                       To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained below in
                                                              elements [1a] through [1k].

                                                                However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                                limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                                preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
 [1a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
 therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
 a first surface on a first surface side thereof and a second
 surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
 surface being an opposite side to the first surface, the first
 surface including a first region and a second region, the
 first region extending from the center portion of the board
 to one of the end portions, the second region extending
 from the center portion of the board to the other of the
 end portions;




                                                          Mano at FIGS. 14A and 14B.
 [1b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
 on the first surface side of the board;                  enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                          provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].



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                                                                                 Exhibit B, p. 42
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                                                                #:17221



                    Asserted Claims                                                              Prior Art References, Mano in view of Hohn




                                                            Mano at FIG. 14B.
[1c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




                                                        Mano at FIG. 14B.
[1d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;              The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                        para. [0084].

                                                              FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                              element chips.”




                                                                                          3


                                                                                 Exhibit B, p. 43
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                  Asserted Claims                                                          Prior Art References, Mano in view of Hohn




                                                      Mano at FIG. 13.
[1e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;   elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                      emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                      wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                         Mano at FIG. 10.

                                                         Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                         50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                         emitting element chips inside the base 82 of the transparent bulb 80.

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                                                                            Exhibit B, p. 44
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                                                               #:17223



                   Asserted Claims                                                           Prior Art References, Mano in view of Hohn




                                                          Mano at FIGS. 2, 3, and 13.
[1f] a support base that can be threadedly engaged with a “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
conventional light bulb socket along a socket axis; and   The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82.” Mano at para. [0084].

                                                           FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                           socket along a socket axis.”




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                                                                              Exhibit B, p. 45
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                                                               #:17224



                   Asserted Claims                                                           Prior Art References, Mano in view of Hohn
                                                           Mano at FIG. 13.
[1g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                              jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                           terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




                                                            Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                            of the wavelength conversion member.”

                                                            “The free surfaces of the semiconductor body 1 and portions of the electrical terminals 2 and 3 are enclosed directly
                                                            by a hardened, wavelength-converting casting or potting composition 5.” Hohn at col. 8, lns. 7-10.

                                                            FIG. 2, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
                                                            member.” A POSITA would understand that the electrical terminals must conductive, wherein one obvious choice
                                                            of conductive material would be metal.

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                                                               #:17225



                    Asserted Claims                                                           Prior Art References, Mano in view of Hohn




                                                            Hohn at FIG. 2
[1h] wherein the wavelength conversion member is            “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface   elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in
the longitudinal direction when viewed in plan view of      As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                        direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                            wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                            in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                             Mano at FIGS. 14B and 15.
[1i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




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                                                                               Exhibit B, p. 47
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                                                              #:17226



                   Asserted Claims                                                          Prior Art References, Mano in view of Hohn




                                                         Mano at FIG. 14B.
[1j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                       Mano at FIG. 14B.
[1k] wherein the pair of metal plates are electrically “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
connected with the support base via the support leads. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                          FIGS. 30 and 31, shown below, illustrate “wherein the pair of metal plates are electrically connected with the
                                                          support base via the support leads.” In view of the light emitting unit of the embodiment of FIGS. 30 and 31,
                                                          which include a hole 451 within each electrode 450, it would be obvious for a POSITA to connect a support lead
                                                          to each electrode 450 via the hole and connect those support leads to the ring contact of the base of the light bulb.




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                                                                            Exhibit B, p. 48
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                   Asserted Claims                                                     Prior Art References, Mano in view of Hohn




                                                      Mano at FIGS. 30 and 31.
Claim 3
3. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                      elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[3a] wherein the transparent bulb is made of glass.   “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.”
                                                      Mano at para. [0084].

                                                      FIG. 13, shown below, illustrates “wherein the transparent bulb is made of glass.”




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                                                                        Exhibit B, p. 49
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                                                               #:17228



                   Asserted Claims                                                         Prior Art References, Mano in view of Hohn




                                                          Mano at FIG. 13.
Claim 4
4. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                          elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[4a] wherein each of the metal plates crosses the support FIG. 20, shown below, illustrates “wherein each of the metal plates crosses the support lead.” Specifically, each
lead.                                                     of the metal plates 140 crosses the support lead 150.




                                                          Mano at FIG. 16.

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                                                                             Exhibit B, p. 50
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                                                               #:17229



                    Asserted Claims                                                        Prior Art References, Mano in view of Hohn
Claim 6
6. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                          elements [1a] through [1k].

                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[6a] wherein the wavelength conversion member “An inorganic luminous substance pigment pow-der with luminous substance pigments is dispersed in the
comprises a phosphor therein.                 transparent epoxy resin. The luminous substance is a phosphorous group …” Hohn at Abstract.

                                                          “A layer 4 is applied to the transparent envelope 15. The layer 4 comprises a wavelength-converting casting
                                                          composition and, as shown in FIG. 2, covers the entire surface of the envelope 15. It is equally conceivable for the
                                                          layer 4 to cover only a portion of the surface. The layer 4 for instance comprises a transparent epoxy resin which
                                                          is mixed with luminous substance particles 6. Once again, for a semiconductor component that emits white light,
                                                          YAG:Ce is preferred as the luminous substance.” Hohn at col. 8, lns. 26-34.
Claim 7
7. The light emitting device according to claim 6,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                          elements [1a] through [1k].

                                                    However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                    limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                    preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[7a] wherein the phosphor comprises a YAG group “A layer 4 is applied to the transparent envelope 15. The layer 4 comprises a wavelength-converting casting
phosphor.                                           composition and, as shown in FIG. 2, covers the entire surface of the envelope 15. It is equally conceivable for the
                                                    layer 4 to cover only a portion of the surface. The layer 4 for instance comprises a transparent epoxy resin which
                                                    is mixed with luminous substance particles 6. Once again, for a semiconductor component that emits white light,
                                                    YAG:Ce is preferred as the luminous substance.” Hohn at col. 8, lns. 26-34.
Claim 11
11. The light emitting device according to claim 6, To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                    elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[11a] wherein an average particle size of the phosphor is “…the luminous substance pigments having grain sizes ≤ 20 μm ...” Hohn at col. 2, lns. 20-21.
3 μm or more.
Claim 12

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                                                                            Exhibit B, p. 51
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                                                               #:17230



                    Asserted Claims                                                        Prior Art References, Mano in view of Hohn
12. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                           elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[12a] wherein the plurality of light emitting element chips “As seen from the figure, the upper two elements 20 are connected in series by the upper intermediate conductor
is electrically connected in series.                        141c, thereby providing a ‘first element set 126.’ Likewise, the lower two elements 20 are connected in series by
                                                            the lower intermediate conductor 141c, thereby providing a ‘second element set 127.’” Mano at para. [0093].
Claim 13
13. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                            elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[13a] wherein the plurality of light emitting element chips “A semiconductor component that emits white light can be produced with the casting composition according to
is so configured that a main peak light emission the invention advantageously by choosing the luminous substance in such a way that a blue radiation emitted by
wavelength of the light emitting element is varied within the semiconductor body is converted into complementary wavelength ranges …” Hohn at col. 6, lns. 11-16.
a range between 420 nm and 490 nm.
                                                            “Especially preferably, the casting composition is used in a radiation-emitting semiconductor body in which the
                                                            emitted radiation spectrum has a maximum intensity at a wavelength between 420 nm and 460 nm …” Hohn at
                                                            col. 5, lns. 31-34.

                                                           A POSITA would understand that blue light has a wavelength of between 380 nm and 500 nm, and could arrive
                                                           at the claimed range without undue experimentation.
Claim 14
14. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                           elements [1a] through [1k].

                                                       However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                       limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                       preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[14a] wherein each of the light emitting element chips “Preferably, the casting composition according to the invention is used in a radiation-emitting semiconductor
comprises nitride semiconductor made of InxAlyGa1-x-yN body, in particular with an active semiconductor layer or semiconductor layer sequence of GaxIn1-xN or Gax Al1-
(0≦x, 0≦y, x+y≦1).                                     xN …” Hohn at col. 4, lns. 42-45. A POSITA would understand that semiconductors that emit electromagnetic
                                                       radiation can include a combination of these atomic elements.

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                                                                             Exhibit B, p. 52
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                    Asserted Claims                                                        Prior Art References, Mano in view of Hohn
Claim 15
15. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                          elements [1a] through [1k].

                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[15a] wherein the wavelength conversion member “The lens 30 has a circular periphery 31. According to the present invention, the periphery 31 may be arranged to
substantially surrounds the board.             overlap with the circular edge of the substrate 10 or retreat slightly inward from the edge of the substrate 10.”
                                               Mano at para. [0067].

                                                          FIG. 1B, shown below, illustrates “wherein the wavelength conversion member substantially surrounds the board.”




                                                          Mano at FIG. 1B.
Claim 17
17. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                          elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[17a] wherein the board is configured to be transparent so “In the illustrated example, the unit 1 includes a transparent substrate 10 …” Mano at para. [0067].
that a light emitted from the plurality of light emitting
element chips on the first surface side of the board
forwards outside of the light emitting device through the
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                           elements [1a] through [1k].


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                                                                             Exhibit B, p. 53
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                   Asserted Claims                                                             Prior Art References, Mano in view of Hohn
                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[18a] wherein the wavelength conversion member is           “In this case, as propagating through the lens 30, the light (“original light”) emitted from the element 20 excites
capable of converting light emitted from the plurality of   the fluorescent additives, and these additives will emit light (“secondary light”) as returning to a less excited state.
light emitting element chips into light with a different    In this case, the original light and the secondary light are blended to produce white light. A suitable fluorescent
wavelength such that the converted light with the           material is selected in accordance with the frequency of light emitted from the element 20.” Mano at para. [0083].
different wavelength is radiated along a first direction
from the first surface side of the board to an outer        “Further, in the cruciform opening, the substrate 110 is partially exposed (see reference numeral 161). As in the
periphery of the wavelength conversion member, and          first embodiment, light from the light emitting element can enter the transparent substrate 110 via the exposed
along a second direction from the second surface of the     parts 161, propagate therethrough, and go out from the side surfaces 116 (see FIG. 18).” Mano at para. [0091].
board to the outer periphery of the wavelength conversion
member.
Claim 19
19. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                            elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[19a] wherein all light emitting element chips mounted FIGS. 14A and 14B, shown below, illustrate “wherein all light emitting element chips mounted on the first surface
on the first surface side of the board are aligned along a side of the board are aligned along a line.” The light emitting element chips 20 can be said to be “aligned along a
line.                                                      line” even if chips are not mounted on the line.




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                                                                               Exhibit B, p. 54
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                   Asserted Claims                                                       Prior Art References, Mano in view of Hohn




                                                         Mano at FIGS. 14A and 14B.
Claim 20
20. The light emitting device according to claim 1,      To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                         elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[20a] wherein the wavelength conversion member seals “A light-emitting element 20 is disposed at the center of the circular portion 12 on each side of the substrate 10,
all light emitting element chips mounted on the first with the element 20 covered by a lens 30.” Mano at para. [0068].
surface side of the board.
                                                      “In this state, the supplied resin is hardened to provide the lens 30, with the light-emitting element 20 enclosed
                                                      therein.” Mano at para. [0069].

                                                         FIGS. 14B and 15, shown below, illustrate “wherein the wavelength conversion member seals all light emitting
                                                         element chips mounted on the first surface side of the board.”




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                                                                           Exhibit B, p. 55
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                   Asserted Claims                                                       Prior Art References, Mano in view of Hohn




                                                         Mano at FIGS. 14B and 15.
Claim 21
21. The light emitting device according to claim 19,     To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                         elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[21a] wherein the wavelength conversion member seals “A light-emitting element 20 is disposed at the center of the circular portion 12 on each side of the substrate 10,
all light emitting element chips mounted on the first with the element 20 covered by a lens 30.” Mano at para. [0068].
surface side of the board.
                                                      “In this state, the supplied resin is hardened to provide the lens 30, with the light-emitting element 20 enclosed
                                                      therein.” Mano at para. [0069].

                                                         FIGS. 14B and 15, shown below, illustrate “wherein the wavelength conversion member seals all light emitting
                                                         element chips mounted on the first surface side of the board.”
                                                                                  16


                                                                           Exhibit B, p. 56
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                                                                #:17235



                    Asserted Claims                                                            Prior Art References, Mano in view of Hohn




                                                              Mano at FIGS. 14B and 15.
Claim 22
22. The light emitting device according to claim 1,           To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                              elements [1a] through [1k].

                                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[22a] wherein the first set of light emitting element chips   FIGS. 14A and 14B, shown below, illustrate “wherein the first set of light emitting element chips and the second
and the second set of light emitting element chips are        set of light emitting element chips are aligned along substantially a single line that extends in the longitudinal
aligned along substantially a single line that extends in     direction of the wavelength conversion member.” The light emitting element chips 20 can be said to be “aligned
the longitudinal direction of the wavelength conversion       along substantially a single line that extends in the longitudinal direction of the wavelength conversion member”
member.                                                       even if chips are not mounted on the line.




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                                                                                Exhibit B, p. 57
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                   Asserted Claims                                                         Prior Art References, Mano in view of Hohn




                                                           Mano at FIGS. 14A and 14B.
Claim 23
23. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                           elements [1a] through [1k].

                                                        However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                        limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                        preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[23a] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                           an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                           wherein an obvious choice of connection would be support leads.




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                                                                             Exhibit B, p. 58
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                   Asserted Claims                                                           Prior Art References, Mano in view of Hohn




                                                           Mano at FIGS. 30 and 31.
Claim 24
24. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                           elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[24a] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                      of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                      to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                           connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                           would require a conductive interconnection to function as intended.
Claim 25
25. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained above in
                                                           elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[25a] wherein all of the light emitting element chips FIG. 14A, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface
mounted on the first surface side of the board are aligned side of the board are aligned along a single line when viewed in plan view of the first surface side of the board.”
                                                                                     19


                                                                              Exhibit B, p. 59
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                                                               #:17238



                     Asserted Claims                                                         Prior Art References, Mano in view of Hohn
along a single line when viewed in plan view of the first The light emitting element chips 20 can be said to be “aligned along a single line when viewed in plan view of the
surface side of the board.                                first surface side of the board” even if chips are not mounted on the line.




                                                            Mano at FIG. 14A.
Claim 26
26. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained below in
                                                            elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[26a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




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                                                                              Exhibit B, p. 60
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                                                                #:17239



                    Asserted Claims                                                              Prior Art References, Mano in view of Hohn




                                                          Mano at FIGS. 14A and 14B.
[26b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
on the first surface side of the board;                   enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                          provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[26c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




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                                                                                 Exhibit B, p. 61
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                                                              #:17240



                   Asserted Claims                                                         Prior Art References, Mano in view of Hohn




                                                         Mano at FIG. 14B.
[26d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                       Mano at FIG. 13.
[26e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




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                                                                           Exhibit B, p. 62
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                                                               #:17241



                   Asserted Claims                                                           Prior Art References, Mano in view of Hohn




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[26f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                                                     23


                                                                              Exhibit B, p. 63
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                                                               #:17242



                    Asserted Claims                                                          Prior Art References, Mano in view of Hohn
                                                            of the base 82.” Mano at para. [0084].

                                                            FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                            socket along a socket axis.”




                                                            Mano at FIG. 13.
[26g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                               jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                            terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




                                                                                      24


                                                                               Exhibit B, p. 64
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                  Asserted Claims                                                         Prior Art References, Mano in view of Hohn




                                                        Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                        of the wavelength conversion member.”

                                                        “The free surfaces of the semiconductor body 1 and portions of the electrical terminals 2 and 3 are enclosed directly
                                                        by a hardened, wavelength-converting casting or potting composition 5.” Hohn at col. 8, lns. 7-10.

                                                        FIG. 2, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
                                                        member.” A POSITA would understand that the electrical terminals must conductive, wherein one obvious choice
                                                        of conductive material would be metal.




                                                          Hohn at FIG. 2
[26h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].

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                                                                          Exhibit B, p. 65
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                                                               #:17244



                      Asserted Claims                                                    Prior Art References, Mano in view of Hohn
side, the wavelength conversion member is elongated in As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the longitudinal direction when viewed in plan view of direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
the first surface side of the board,                   wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                       in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                              Mano at FIGS. 14B and 15.
[26i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Mano at FIG. 14B.
[26j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




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                                                                               Exhibit B, p. 66
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                                                               #:17245



                   Asserted Claims                                                        Prior Art References, Mano in view of Hohn
                                                        Mano at FIG. 14B.
[26k] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                            In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                            an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                            wherein an obvious choice of connection would be support leads.




                                                            Mano at FIGS. 30 and 31.
Claim 27
27. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Mano in view of Hohn as explained below in
                                                            elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[27a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
surface being an opposite side to the first surface, the first
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                                                                              Exhibit B, p. 67
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                     Asserted Claims                                                             Prior Art References, Mano in view of Hohn
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                          Mano at FIGS. 14A and 14B.
[27b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
on the first surface side of the board;                   enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                          provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[27c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




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                                                                                 Exhibit B, p. 68
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                   Asserted Claims                                                         Prior Art References, Mano in view of Hohn




                                                         Mano at FIG. 14B.
[27d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                       Mano at FIG. 13.
[27e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




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                                                                           Exhibit B, p. 69
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                                                               #:17248



                   Asserted Claims                                                           Prior Art References, Mano in view of Hohn




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[27f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
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                                                                              Exhibit B, p. 70
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                    Asserted Claims                                                          Prior Art References, Mano in view of Hohn
                                                            of the base 82.” Mano at para. [0084].

                                                            FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                            socket along a socket axis.”




                                                            Mano at FIG. 13.
[27g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                               jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                            terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




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                  Asserted Claims                                                         Prior Art References, Mano in view of Hohn




                                                        Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                        of the wavelength conversion member.”

                                                        “The free surfaces of the semiconductor body 1 and portions of the electrical terminals 2 and 3 are enclosed directly
                                                        by a hardened, wavelength-converting casting or potting composition 5.” Hohn at col. 8, lns. 7-10.

                                                        FIG. 2, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
                                                        member.” A POSITA would understand that the electrical terminals must conductive, wherein one obvious choice
                                                        of conductive material would be metal.




                                                          Hohn at FIG. 2
[27h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in

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                                                                          Exhibit B, p. 72
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                      Asserted Claims                                                    Prior Art References, Mano in view of Hohn
the longitudinal direction when viewed in plan view of As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                   direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                       wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                       in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                              Mano at FIGS. 14B and 15.
[27i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Mano at FIG. 14B.
[27j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                             Mano at FIG. 14B.

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                                                                               Exhibit B, p. 73
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                                                                 #:17252



                    Asserted Claims                                                      Prior Art References, Mano in view of Hohn
 [27k] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
 between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                             In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                             connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                             would require a conductive interconnection to function as intended.

        II.     Mano in view Takashima

         Mano in view of U.S. Patent No. 7,723,740 (“Takashima”) renders the Asserted Claims of the ’734 Patent obvious under 35 U.S.C. § 103. These references alone or in
combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and
features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above prior
art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures in a
manner that renders the Asserted Claims obvious.

                     Asserted Claims                                                        Prior Art References, Mano in view of Takashima
 Claim 1
 1. A light emitting device comprising:                      To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained below
                                                             in elements [1a] through [1k].

                                                                However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                                limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                                preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
 [1a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
 therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
 a first surface on a first surface side thereof and a second
 surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
 surface being an opposite side to the first surface, the first
 surface including a first region and a second region, the
 first region extending from the center portion of the board
 to one of the end portions, the second region extending
 from the center portion of the board to the other of the
 end portions;



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                                                                                Exhibit B, p. 74
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                                                                #:17253



                    Asserted Claims                                                           Prior Art References, Mano in view of Takashima




                                                         Mano at FIGS. 14A and 14B.
[1b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
on the first surface side of the board;                  enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                         provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[1c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




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                                                                                 Exhibit B, p. 75
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                   Asserted Claims                                                      Prior Art References, Mano in view of Takashima




                                                        Mano at FIG. 14B.
[1d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;              The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                        para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                      Mano at FIG. 13.
[1e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;   elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                      emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                      wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside
                                                         the transparent bulb.”




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                                                                           Exhibit B, p. 76
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                                                               #:17255



                   Asserted Claims                                                        Prior Art References, Mano in view of Takashima




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[1f] a support base that can be threadedly engaged with a “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
conventional light bulb socket along a socket axis; and   The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                                                     37


                                                                              Exhibit B, p. 77
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                                                               #:17256



                   Asserted Claims                                                        Prior Art References, Mano in view of Takashima
                                                            of the base 82.” Mano at para. [0084].

                                                            FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                            socket along a socket axis.”




                                                           Mano at FIG. 13.
[1g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                              jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                           terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




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                                                                              Exhibit B, p. 78
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                                                               #:17257



                    Asserted Claims                                                         Prior Art References, Mano in view of Takashima




                                                          Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                          of the wavelength conversion member.”
[1h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in
the longitudinal direction when viewed in plan view of As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                      direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                          wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                          in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                             Mano at FIGS. 14B and 15.
[1i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,



                                                                                       39


                                                                               Exhibit B, p. 79
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                                                              #:17258



                   Asserted Claims                                                       Prior Art References, Mano in view of Takashima




                                                         Mano at FIG. 14B.
[1j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                       Mano at FIG. 14B.
[1k] wherein the pair of metal plates are electrically “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
connected with the support base via the support leads. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                          FIGS. 30 and 31, shown below, illustrate “wherein the pair of metal plates are electrically connected with the
                                                          support base via the support leads.” In view of the light emitting unit of the embodiment of FIGS. 30 and 31,
                                                          which include a hole 451 within each electrode 450, it would be obvious for a POSITA to connect a support lead
                                                          to each electrode 450 via the hole and connect those support leads to the ring contact of the base of the light bulb.




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                                                                            Exhibit B, p. 80
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                                                               #:17259



                   Asserted Claims                                                  Prior Art References, Mano in view of Takashima




                                                      Mano at FIGS. 30 and 31.
Claim 3
3. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                      in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[3a] wherein the transparent bulb is made of glass.   “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.”
                                                      Mano at para. [0084].

                                                      FIG. 13, shown below, illustrates “wherein the transparent bulb is made of glass.”




                                                      Mano at FIG. 13.
Claim 4
4. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above

                                                                               41


                                                                         Exhibit B, p. 81
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                                                               #:17260



                   Asserted Claims                                                         Prior Art References, Mano in view of Takashima
                                                          in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[4a] wherein each of the metal plates crosses the support FIG. 20, shown below, illustrates “wherein each of the metal plates crosses the support lead.” Specifically, each
lead.                                                     of the metal plates 140 crosses the support lead 150.




                                                          Mano at FIG. 16.
Claim 6
6. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                          in elements [1a] through [1k].

                                                   However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                   limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                   preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[6a] wherein the wavelength conversion member “The indirect-excitation fluorescent material is preferably a YAG-based phosphor.” Takashima at para. [0430].
comprises a phosphor therein.
Claim 7
7. The light emitting device according to claim 6, To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                   in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                                                    42


                                                                             Exhibit B, p. 82
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                                                               #:17261



                   Asserted Claims                                                 Prior Art References, Mano in view of Takashima
                                                    limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                    preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[7a] wherein the phosphor comprises a YAG group “The indirect-excitation fluorescent material is preferably a YAG-based phosphor.” Takashima at para. [0430].
phosphor.
Claim 11
11. The light emitting device according to claim 6, To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                    in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[11a] wherein an average particle size of the phosphor is “Particle size of the fluorescent material 11 is preferably in a range from 1 μm to 20 μm, more preferably in a
3 μm or more.                                             range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.” Takashima at para. [0183].
Claim 12
12. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                          in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[12a] wherein the plurality of light emitting element chips “As seen from the figure, the upper two elements 20 are connected in series by the upper intermediate conductor
is electrically connected in series.                        141c, thereby providing a ‘first element set 126.’ Likewise, the lower two elements 20 are connected in series by
                                                            the lower intermediate conductor 141c, thereby providing a ‘second element set 127.’” Mano at para. [0093].
Claim 13
13. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                            in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[13a] wherein the plurality of light emitting element chips “To produce white light, each side of the substrate 10 may be provided with three kinds of light-emitting elements
is so configured that a main peak light emission designed to emit red, green and blue lights, respectively, to be combined into the desired white light.” Mano at
wavelength of the light emitting element is varied within para. [0083]. A POSITA would understand that blue light has a wavelength of between 380 nm and 500 nm, and
a range between 420 nm and 490 nm.                          could arrive at the claimed range without undue experimentation.
Claim 14
14. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                            in elements [1a] through [1k].
                                                                                     43


                                                                              Exhibit B, p. 83
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                                                               #:17262



                   Asserted Claims                                                       Prior Art References, Mano in view of Takashima

                                                       However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                       limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                       preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[14a] wherein each of the light emitting element chips “The semiconductor light emitting element capable of emitting light of wavelength not longer than 500 nm in
comprises nitride semiconductor made of InxAlyGa1-x-yN ultraviolet to visible region can be made of various semiconductors such as BN, SiC, ZnSe, GaN, InCaN,
(0≦x, 0≦y, x+y≦1).                                     InAlGaN, AlGaN, BalGaN and BinAlGaN.” Takashima at para. [0192].
Claim 15
15. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                       in elements [1a] through [1k].

                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[15a] wherein the wavelength conversion member “The lens 30 has a circular periphery 31. According to the present invention, the periphery 31 may be arranged to
substantially surrounds the board.             overlap with the circular edge of the substrate 10 or retreat slightly inward from the edge of the substrate 10.”
                                               Mano at para. [0067].

                                                          FIG. 1B, shown below, illustrates “wherein the wavelength conversion member substantially surrounds the board.”




                                                          Mano at FIG. 1B.
Claim 17
17. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                          in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[17a] wherein the board is configured to be transparent so “In the illustrated example, the unit 1 includes a transparent substrate 10 …” Mano at para. [0067].
that a light emitted from the plurality of light emitting

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                                                                             Exhibit B, p. 84
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                                                               #:17263



                    Asserted Claims                                                      Prior Art References, Mano in view of Takashima
element chips on the first surface side of the board
forwards outside of the light emitting device through the
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                          in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[18a] wherein the wavelength conversion member is           “In this case, as propagating through the lens 30, the light (“original light”) emitted from the element 20 excites
capable of converting light emitted from the plurality of   the fluorescent additives, and these additives will emit light (“secondary light”) as returning to a less excited state.
light emitting element chips into light with a different    In this case, the original light and the secondary light are blended to produce white light. A suitable fluorescent
wavelength such that the converted light with the           material is selected in accordance with the frequency of light emitted from the element 20.” Mano at para. [0083].
different wavelength is radiated along a first direction
from the first surface side of the board to an outer        “Further, in the cruciform opening, the substrate 110 is partially exposed (see reference numeral 161). As in the
periphery of the wavelength conversion member, and          first embodiment, light from the light emitting element can enter the transparent substrate 110 via the exposed
along a second direction from the second surface of the     parts 161, propagate therethrough, and go out from the side surfaces 116 (see FIG. 18).” Mano at para. [0091].
board to the outer periphery of the wavelength conversion
member.
Claim 19
19. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                            in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[19a] wherein all light emitting element chips mounted FIGS. 14A and 14B, shown below, illustrate “wherein all light emitting element chips mounted on the first surface
on the first surface side of the board are aligned along a side of the board are aligned along a line.” The light emitting element chips 20 can be said to be “aligned along a
line.                                                      line” even if chips are not mounted on the line.




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                                                                               Exhibit B, p. 85
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                                                               #:17264



                   Asserted Claims                                                     Prior Art References, Mano in view of Takashima




                                                         Mano at FIGS. 14A and 14B.
Claim 20
20. The light emitting device according to claim 1,      To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                         in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[20a] wherein the wavelength conversion member seals “A light-emitting element 20 is disposed at the center of the circular portion 12 on each side of the substrate 10,
all light emitting element chips mounted on the first with the element 20 covered by a lens 30.” Mano at para. [0068].
surface side of the board.
                                                      “In this state, the supplied resin is hardened to provide the lens 30, with the light-emitting element 20 enclosed
                                                      therein.” Mano at para. [0069].

                                                         FIGS. 14B and 15, shown below, illustrate “wherein the wavelength conversion member seals all light emitting
                                                         element chips mounted on the first surface side of the board.”




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                                                                           Exhibit B, p. 86
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                                                              #:17265



                   Asserted Claims                                                     Prior Art References, Mano in view of Takashima




                                                         Mano at FIGS. 14B and 15.
Claim 21
21. The light emitting device according to claim 19,     To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                         in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[21a] wherein the wavelength conversion member seals “A light-emitting element 20 is disposed at the center of the circular portion 12 on each side of the substrate 10,
all light emitting element chips mounted on the first with the element 20 covered by a lens 30.” Mano at para. [0068].
surface side of the board.
                                                      “In this state, the supplied resin is hardened to provide the lens 30, with the light-emitting element 20 enclosed
                                                      therein.” Mano at para. [0069].

                                                         FIGS. 14B and 15, shown below, illustrate “wherein the wavelength conversion member seals all light emitting
                                                         element chips mounted on the first surface side of the board.”


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                                                                           Exhibit B, p. 87
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                                                                #:17266



                    Asserted Claims                                                         Prior Art References, Mano in view of Takashima




                                                              Mano at FIGS. 14B and 15.
Claim 22
22. The light emitting device according to claim 1,           To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                              in elements [1a] through [1k].

                                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[22a] wherein the first set of light emitting element chips   FIGS. 14A and 14B, shown below, illustrate “wherein the first set of light emitting element chips and the second
and the second set of light emitting element chips are        set of light emitting element chips are aligned along substantially a single line that extends in the longitudinal
aligned along substantially a single line that extends in     direction of the wavelength conversion member.” The light emitting element chips 20 can be said to be “aligned
the longitudinal direction of the wavelength conversion       along substantially a single line that extends in the longitudinal direction of the wavelength conversion member”
member.                                                       even if chips are not mounted on the line.




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                                                                                Exhibit B, p. 88
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 89 of 954 Page ID
                                                               #:17267



                   Asserted Claims                                                       Prior Art References, Mano in view of Takashima




                                                           Mano at FIGS. 14A and 14B.
Claim 23
23. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                           in elements [1a] through [1k].

                                                        However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                        limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                        preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[23a] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                           an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                           wherein an obvious choice of connection would be support leads.




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                                                                             Exhibit B, p. 89
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                                                               #:17268



                   Asserted Claims                                                        Prior Art References, Mano in view of Takashima




                                                           Mano at FIGS. 30 and 31.
Claim 24
24. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                           in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[24a] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                      of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                      to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                           connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                           would require a conductive interconnection to function as intended.
Claim 25
25. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained above
                                                           in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[25a] wherein all of the light emitting element chips FIG. 14A, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface
mounted on the first surface side of the board are aligned side of the board are aligned along a single line when viewed in plan view of the first surface side of the board.”
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                                                                              Exhibit B, p. 90
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 91 of 954 Page ID
                                                               #:17269



                     Asserted Claims                                                      Prior Art References, Mano in view of Takashima
along a single line when viewed in plan view of the first The light emitting element chips 20 can be said to be “aligned along a single line when viewed in plan view of the
surface side of the board.                                first surface side of the board” even if chips are not mounted on the line.




                                                            Mano at FIG. 14A.
Claim 26
26. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained below
                                                            in elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[26a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




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                                                                              Exhibit B, p. 91
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                                                                #:17270



                    Asserted Claims                                                           Prior Art References, Mano in view of Takashima




                                                          Mano at FIGS. 14A and 14B.
[26b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
on the first surface side of the board;                   enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                          provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[26c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




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                                                                                 Exhibit B, p. 92
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 93 of 954 Page ID
                                                              #:17271



                   Asserted Claims                                                      Prior Art References, Mano in view of Takashima




                                                         Mano at FIG. 14B.
[26d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                       Mano at FIG. 13.
[26e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside
                                                         the transparent bulb.”




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                                                                           Exhibit B, p. 93
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 94 of 954 Page ID
                                                               #:17272



                   Asserted Claims                                                        Prior Art References, Mano in view of Takashima




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[26f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                                                     54


                                                                              Exhibit B, p. 94
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 95 of 954 Page ID
                                                               #:17273



                    Asserted Claims                                                       Prior Art References, Mano in view of Takashima
                                                            of the base 82.” Mano at para. [0084].

                                                            FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                            socket along a socket axis.”




                                                            Mano at FIG. 13.
[26g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                               jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                            terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




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                                                                               Exhibit B, p. 95
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                                                               #:17274



                    Asserted Claims                                                         Prior Art References, Mano in view of Takashima




                                                          Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                          of the wavelength conversion member.”
[26h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in
the longitudinal direction when viewed in plan view of As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                      direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                          wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                          in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                              Mano at FIGS. 14B and 15.
[26i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,



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                                                                               Exhibit B, p. 96
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                                                              #:17275



                   Asserted Claims                                                       Prior Art References, Mano in view of Takashima




                                                         Mano at FIG. 14B.
[26j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                        Mano at FIG. 14B.
[26k] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                           an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                           wherein an obvious choice of connection would be support leads.




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                                                                             Exhibit B, p. 97
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 98 of 954 Page ID
                                                               #:17276



                   Asserted Claims                                                         Prior Art References, Mano in view of Takashima




                                                            Mano at FIGS. 30 and 31.
Claim 27
27. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Mano in view of Takashima as explained below
                                                            in elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[27a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                          Mano at FIGS. 14A and 14B.
[27b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
                                                                                      58


                                                                              Exhibit B, p. 98
                               Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 99 of 954 Page ID
                                                                #:17277



                     Asserted Claims                                                        Prior Art References, Mano in view of Takashima
on the first surface side of the board;                       enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                              provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[27c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




                                                         Mano at FIG. 14B.
[27d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                              FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                              element chips.”




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                                                                                 Exhibit B, p. 99
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                                                              #:17278



                   Asserted Claims                                                      Prior Art References, Mano in view of Takashima




                                                       Mano at FIG. 13.
[27e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                         Mano at FIG. 10.

                                                         Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                         50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                         emitting element chips inside the base 82 of the transparent bulb 80.
                                                                                   60


                                                                            Exhibit B, p. 100
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 101 of 954 Page ID
                                                               #:17279



                   Asserted Claims                                                        Prior Art References, Mano in view of Takashima




                                                          Mano at FIGS. 2, 3, and 13.
[27f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82.” Mano at para. [0084].

                                                           FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                           socket along a socket axis.”




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                                                                             Exhibit B, p. 101
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 102 of 954 Page ID
                                                               #:17280



                    Asserted Claims                                                        Prior Art References, Mano in view of Takashima




                                                            Mano at FIG. 13.
[27g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                               jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                            terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




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                                                                              Exhibit B, p. 102
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 103 of 954 Page ID
                                                                #:17281



                    Asserted Claims                                                         Prior Art References, Mano in view of Takashima




                                                          Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                          of the wavelength conversion member.”
[27h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in
the longitudinal direction when viewed in plan view of As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                      direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                          wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                          in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                              Mano at FIGS. 14B and 15.
[27i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,



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                                                                               Exhibit B, p. 103
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 104 of 954 Page ID
                                                              #:17282



                   Asserted Claims                                                      Prior Art References, Mano in view of Takashima




                                                         Mano at FIG. 14B.
[27j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                      Mano at FIG. 14B.
[27k] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                      of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                      to the other.” Mano at para. [0084].

                                                          In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                          connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                          would require a conductive interconnection to function as intended.




                                                                                   64


                                                                           Exhibit B, p. 104
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                                                                 #:17283



        III.    Mano in view of Debray

        Mano in view of European Publication No. 1116419B1 (“Debray”) renders the Asserted Claims of the ’734 Patent obvious under 35 U.S.C. § 103. These references
alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor
devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the
above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these
disclosures in a manner that renders the Asserted Claims obvious.

                     Asserted Claims                                                         Prior Art References, Mano in view of Debray
 Claim 1
 1. A light emitting device comprising:                      To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained below in
                                                             elements [1a] through [1k].

                                                                However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                                limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                                preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
 [1a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
 therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
 a first surface on a first surface side thereof and a second
 surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
 surface being an opposite side to the first surface, the first
 surface including a first region and a second region, the
 first region extending from the center portion of the board
 to one of the end portions, the second region extending
 from the center portion of the board to the other of the
 end portions;




                                                          Mano at FIGS. 14A and 14B.
 [1b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
 on the first surface side of the board;                  enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                          provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




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                                                                               Exhibit B, p. 105
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 106 of 954 Page ID
                                                                #:17284



                    Asserted Claims                                                             Prior Art References, Mano in view of Debray




                                                            Mano at FIG. 14B.
[1c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




                                                        Mano at FIG. 14B.
[1d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;              The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                        para. [0084].

                                                              FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                              element chips.”




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                                                                                Exhibit B, p. 106
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 107 of 954 Page ID
                                                              #:17285



                  Asserted Claims                                                         Prior Art References, Mano in view of Debray




                                                      Mano at FIG. 13.
[1e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;   elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                      emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                      wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                         Mano at FIG. 10.

                                                         Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                         50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                         emitting element chips inside the base 82 of the transparent bulb 80.
                                                                                   67


                                                                            Exhibit B, p. 107
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 108 of 954 Page ID
                                                               #:17286



                   Asserted Claims                                                          Prior Art References, Mano in view of Debray




                                                          Mano at FIGS. 2, 3, and 13.
[1f] a support base that can be threadedly engaged with a “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
conventional light bulb socket along a socket axis; and   The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82.” Mano at para. [0084].

                                                           FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                           socket along a socket axis.”




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                                                                             Exhibit B, p. 108
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 109 of 954 Page ID
                                                               #:17287



                   Asserted Claims                                                           Prior Art References, Mano in view of Debray




                                                           Mano at FIG. 13.
[1g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                              jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                           terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




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                                                                             Exhibit B, p. 109
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 110 of 954 Page ID
                                                               #:17288



                    Asserted Claims                                                          Prior Art References, Mano in view of Debray




                                                          Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                          of the wavelength conversion member.”
[1h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in
the longitudinal direction when viewed in plan view of As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                      direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                          wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                          in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                             Mano at FIGS. 14B and 15.
[1i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,



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                                                                              Exhibit B, p. 110
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 111 of 954 Page ID
                                                              #:17289



                   Asserted Claims                                                         Prior Art References, Mano in view of Debray




                                                         Mano at FIG. 14B.
[1j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                       Mano at FIG. 14B.
[1k] wherein the pair of metal plates are electrically “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
connected with the support base via the support leads. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                          FIGS. 30 and 31, shown below, illustrate “wherein the pair of metal plates are electrically connected with the
                                                          support base via the support leads.” In view of the light emitting unit of the embodiment of FIGS. 30 and 31,
                                                          which include a hole 451 within each electrode 450, it would be obvious for a POSITA to connect a support lead
                                                          to each electrode 450 via the hole and connect those support leads to the ring contact of the base of the light bulb.




                                                                                    71


                                                                           Exhibit B, p. 111
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                                                               #:17290



                   Asserted Claims                                                    Prior Art References, Mano in view of Debray




                                                      Mano at FIGS. 30 and 31.
Claim 3
3. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                      elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[3a] wherein the transparent bulb is made of glass.   “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.”
                                                      Mano at para. [0084].

                                                      FIG. 13, shown below, illustrates “wherein the transparent bulb is made of glass.”




                                                                               72


                                                                       Exhibit B, p. 112
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                                                               #:17291



                   Asserted Claims                                                        Prior Art References, Mano in view of Debray




                                                          Mano at FIG. 13.
Claim 4
4. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                          elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[4a] wherein each of the metal plates crosses the support FIG. 20, shown below, illustrates “wherein each of the metal plates crosses the support lead.” Specifically, each
lead.                                                     of the metal plates 140 crosses the support lead 150.




                                                          Mano at FIG. 16.

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                                                                             Exhibit B, p. 113
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                                                               #:17292



                    Asserted Claims                                                       Prior Art References, Mano in view of Debray
Claim 6
6. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                          elements [1a] through [1k].

                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[6a] wherein the wavelength conversion member “It is accordingly the object of the present invention to provide a phosphor arrangement of the type mentioned,
comprises a phosphor therein.                 quickly and easily based on optimization parameters and for an associated one wavelength-converting potting
                                              compound and an associated light source.” Debray at lns. 57-60.

Claim 7
7. The light emitting device according to claim 6,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                          elements [1a] through [1k].

                                                    However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                    limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                    preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[7a] wherein the phosphor comprises a YAG group “It is known to use blue-emitting LEDs based on gallium nitride or indium gallium nitride with emission maxima
phosphor.                                           in the range between 430 and 480 nm to excite a phosphor of the YAG: Ce type, which is described in detail in
                                                    the literature.” Debray at lns. 167-169
Claim 11
11. The light emitting device according to claim 6, To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                    elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[11a] wherein an average particle size of the phosphor is “Light source arrangement according to Claim 6, characterized in that the luminescent material pigments have
3 μm or more.                                             grain sizes of ≤ 20 µm …” Debray at claim 7.
Claim 12
12. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                          elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).

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                                                                           Exhibit B, p. 114
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                                                               #:17293



                     Asserted Claims                                                         Prior Art References, Mano in view of Debray
[12a] wherein the plurality of light emitting element chips “As seen from the figure, the upper two elements 20 are connected in series by the upper intermediate conductor
is electrically connected in series.                        141c, thereby providing a ‘first element set 126.’ Likewise, the lower two elements 20 are connected in series by
                                                            the lower intermediate conductor 141c, thereby providing a ‘second element set 127.’” Mano at para. [0093].
Claim 13
13. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                            elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[13a] wherein the plurality of light emitting element chips “Light source arrangement according to one of Claims 1 to 8, characterized in that the luminescent material
is so configured that a main peak light emission arrangement can be excited by a radiation from the wavelength range between 400 nm and 500 nm, in particular
wavelength of the light emitting element is varied within between 420 nm and 490 nm.” Debray at claim 9.
a range between 420 nm and 490 nm.
Claim 14
14. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                            elements [1a] through [1k].

                                                       However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                       limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                       preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[14a] wherein each of the light emitting element chips “In connection with the present invention, a luminescence diode chip based on GaN or InGaN is to be understood
comprises nitride semiconductor made of InxAlyGa1-x-yN in principle as a luminescence diode chip whose radiation-emitting zone has GaN, InGaN and / or related nitrides
(0≦x, 0≦y, x+y≦1).                                     and mixed crystals based thereon, such as Ga (Al, In) N.” Debray at lns. 115-117.
Claim 15
15. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                       elements [1a] through [1k].

                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[15a] wherein the wavelength conversion member “The lens 30 has a circular periphery 31. According to the present invention, the periphery 31 may be arranged to
substantially surrounds the board.             overlap with the circular edge of the substrate 10 or retreat slightly inward from the edge of the substrate 10.”
                                               Mano at para. [0067].

                                                           FIG. 1B, shown below, illustrates “wherein the wavelength conversion member substantially surrounds the board.”


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                                                                            Exhibit B, p. 115
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                                                               #:17294



                   Asserted Claims                                                          Prior Art References, Mano in view of Debray




                                                          Mano at FIG. 1B.
Claim 17
17. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                          elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[17a] wherein the board is configured to be transparent so “In the illustrated example, the unit 1 includes a transparent substrate 10 …” Mano at para. [0067].
that a light emitted from the plurality of light emitting
element chips on the first surface side of the board
forwards outside of the light emitting device through the
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                           elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[18a] wherein the wavelength conversion member is         “In this case, as propagating through the lens 30, the light (“original light”) emitted from the element 20 excites
capable of converting light emitted from the plurality of the fluorescent additives, and these additives will emit light (“secondary light”) as returning to a less excited state.
light emitting element chips into light with a different  In this case, the original light and the secondary light are blended to produce white light. A suitable fluorescent
wavelength such that the converted light with the         material is selected in accordance with the frequency of light emitted from the element 20.” Mano at para. [0083].
different wavelength is radiated along a first direction
from the first surface side of the board to an outer “Further, in the cruciform opening, the substrate 110 is partially exposed (see reference numeral 161). As in the
periphery of the wavelength conversion member, and first embodiment, light from the light emitting element can enter the transparent substrate 110 via the exposed
along a second direction from the second surface of the parts 161, propagate therethrough, and go out from the side surfaces 116 (see FIG. 18).” Mano at para. [0091].
board to the outer periphery of the wavelength conversion

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                                                                            Exhibit B, p. 116
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 117 of 954 Page ID
                                                               #:17295



                    Asserted Claims                                                         Prior Art References, Mano in view of Debray
member.
Claim 19
19. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                           elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[19a] wherein all light emitting element chips mounted FIGS. 14A and 14B, shown below, illustrate “wherein all light emitting element chips mounted on the first surface
on the first surface side of the board are aligned along a side of the board are aligned along a line.” The light emitting element chips 20 can be said to be “aligned along a
line.                                                      line” even if chips are not mounted on the line.




                                                           Mano at FIGS. 14A and 14B.
Claim 20
20. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                           elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[20a] wherein the wavelength conversion member seals “A light-emitting element 20 is disposed at the center of the circular portion 12 on each side of the substrate 10,
all light emitting element chips mounted on the first with the element 20 covered by a lens 30.” Mano at para. [0068].
surface side of the board.
                                                      “In this state, the supplied resin is hardened to provide the lens 30, with the light-emitting element 20 enclosed

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                                                                             Exhibit B, p. 117
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                                                               #:17296



                   Asserted Claims                                                         Prior Art References, Mano in view of Debray
                                                         therein.” Mano at para. [0069].

                                                         FIGS. 14B and 15, shown below, illustrate “wherein the wavelength conversion member seals all light emitting
                                                         element chips mounted on the first surface side of the board.”




                                                         Mano at FIGS. 14B and 15.
Claim 21
21. The light emitting device according to claim 19,     To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                         elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[21a] wherein the wavelength conversion member seals “A light-emitting element 20 is disposed at the center of the circular portion 12 on each side of the substrate 10,
all light emitting element chips mounted on the first with the element 20 covered by a lens 30.” Mano at para. [0068].
surface side of the board.
                                                      “In this state, the supplied resin is hardened to provide the lens 30, with the light-emitting element 20 enclosed
                                                                                  78


                                                                          Exhibit B, p. 118
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                                                               #:17297



                   Asserted Claims                                                           Prior Art References, Mano in view of Debray
                                                           therein.” Mano at para. [0069].

                                                           FIGS. 14B and 15, shown below, illustrate “wherein the wavelength conversion member seals all light emitting
                                                           element chips mounted on the first surface side of the board.”




                                                           Mano at FIGS. 14B and 15.
Claim 22
22. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                           elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[22a] wherein the first set of light emitting element chips FIGS. 14A and 14B, shown below, illustrate “wherein the first set of light emitting element chips and the second
and the second set of light emitting element chips are set of light emitting element chips are aligned along substantially a single line that extends in the longitudinal
aligned along substantially a single line that extends in direction of the wavelength conversion member.” The light emitting element chips 20 can be said to be “aligned
                                                                                    79


                                                                            Exhibit B, p. 119
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                                                               #:17298



                    Asserted Claims                                                       Prior Art References, Mano in view of Debray
the longitudinal direction of the wavelength conversion along substantially a single line that extends in the longitudinal direction of the wavelength conversion member”
member.                                                 even if chips are not mounted on the line.

                                                           Also, the wavelength conversion member 130 is elongated in both the longitudinal direction and the lateral
                                                           direction of board 110 (see Figure 14A) relative to the height/thickness direction of the wavelength conversion
                                                           member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated in the longitudinal
                                                           direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                           Mano at FIGS. 14A and 14B.
Claim 23
23. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                           elements [1a] through [1k].

                                                        However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                        limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                        preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[23a] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                           an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                                                    80


                                                                            Exhibit B, p. 120
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                                                               #:17299



                   Asserted Claims                                                       Prior Art References, Mano in view of Debray
                                                          wherein an obvious choice of connection would be support leads.




                                                          Mano at FIGS. 30 and 31.
Claim 24
24. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained above in
                                                          elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[24a] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                      of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                      to the other.” Mano at para. [0084].

                                                          In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                          connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                          would require a conductive interconnection to function as intended.
Claim 25
25. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Mano in view of Ho Debray hn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                                                   81


                                                                           Exhibit B, p. 121
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 122 of 954 Page ID
                                                               #:17300



                   Asserted Claims                                                           Prior Art References, Mano in view of Debray
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[25a] wherein all of the light emitting element chips FIG. 14A, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface
mounted on the first surface side of the board are aligned side of the board are aligned along a single line when viewed in plan view of the first surface side of the board.”
along a single line when viewed in plan view of the first The light emitting element chips 21 can be said to be “aligned along a single line when viewed in plan view of the
surface side of the board.                                 first surface side of the board” even if chips are not mounted on the line.




                                                            Mano at FIG. 14A.
Claim 26
26. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained below in
                                                            elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[26a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
                                                                                      82


                                                                             Exhibit B, p. 122
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                                                                #:17301



                    Asserted Claims                                                             Prior Art References, Mano in view of Debray
end portions;




                                                          Mano at FIGS. 14A and 14B.
[26b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
on the first surface side of the board;                   enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                          provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[26c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




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                                                                                Exhibit B, p. 123
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 124 of 954 Page ID
                                                              #:17302



                   Asserted Claims                                                        Prior Art References, Mano in view of Debray




                                                         Mano at FIG. 14B.
[26d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                       Mano at FIG. 13.
[26e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                                                   84


                                                                          Exhibit B, p. 124
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                                                               #:17303



                   Asserted Claims                                                          Prior Art References, Mano in view of Debray




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[26f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                                                     85


                                                                              Exhibit B, p. 125
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                                                               #:17304



                    Asserted Claims                                                         Prior Art References, Mano in view of Debray
                                                            of the base 82.” Mano at para. [0084].

                                                            FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                            socket along a socket axis.”




                                                            Mano at FIG. 13.
[26g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                               jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                            terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




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                                                                              Exhibit B, p. 126
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                                                                #:17305



                    Asserted Claims                                                           Prior Art References, Mano in view of Debray




                                                          Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                          of the wavelength conversion member.”
[26h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in
the longitudinal direction when viewed in plan view of As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                      direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                          wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                          in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                              Mano at FIGS. 14B and 15.
[26i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,



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                                                                               Exhibit B, p. 127
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                                                               #:17306



                   Asserted Claims                                                         Prior Art References, Mano in view of Debray




                                                         Mano at FIG. 14B.
[26j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                        Mano at FIG. 14B.
[26k] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                           an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                           wherein an obvious choice of connection would be support leads.




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                                                                            Exhibit B, p. 128
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                                                               #:17307



                   Asserted Claims                                                          Prior Art References, Mano in view of Debray




                                                            Mano at FIGS. 30 and 31.
Claim 27
27. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Mano in view of Debray as explained below in
                                                            elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[27a] a board having end portions and a center portion “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse surface 113 and a reverse
therebetween in a longitudinal direction, the board having surface 114.” Mano at para. [0086].
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIGS. 14A and 14B, shown below, illustrate the “board” of claim 1.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                          Mano at FIGS. 14A and 14B.
[27b] a plurality of light emitting element chips mounted FIG. 14B, as shown below, illustrates that “[e]ach side of the substrate 110 is provided with a domed lens 130
                                                                                      89


                                                                             Exhibit B, p. 129
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                                                                #:17308



                     Asserted Claims                                                          Prior Art References, Mano in view of Debray
on the first surface side of the board;                       enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are
                                                              provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[27c] a wavelength conversion member formed unitarily “[A] fluorescent material may be added to the transparent resin for making the lens 30. In this case, as propagating
with a transparent member that seals the plurality of light through the lens 30, the light (“original light”) emitted from the element 20 excites the fluorescent additives, and
emitting element chips;                                     these additives will emit light (“secondary light”) as returning to a less excited state. In this case, the original light
                                                            and the secondary light are blended to produce white light. A suitable fluorescent material is selected in accordance
                                                            with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                              FIG. 14B, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                              that seals the plurality of light emitting element chips.”




                                                         Mano at FIG. 14B.
[27d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                              FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                              element chips.”




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                                                                                Exhibit B, p. 130
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                                                              #:17309



                   Asserted Claims                                                        Prior Art References, Mano in view of Debray




                                                       Mano at FIG. 13.
[27e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                         Mano at FIG. 10.

                                                         Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                         50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                         emitting element chips inside the base 82 of the transparent bulb 80.
                                                                                   91


                                                                            Exhibit B, p. 131
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                                                               #:17310



                   Asserted Claims                                                          Prior Art References, Mano in view of Debray




                                                          Mano at FIGS. 2, 3, and 13.
[27f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82.” Mano at para. [0084].

                                                           FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                           socket along a socket axis.”




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                                                                             Exhibit B, p. 132
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                                                               #:17311



                    Asserted Claims                                                          Prior Art References, Mano in view of Debray




                                                            Mano at FIG. 13.
[27g] a pair of metal plates protruding at both ends of the “As shown in FIG. 30, the substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-
wavelength conversion member,                               jecting oppositely from the circular portion 412. Each rectangular portion 411 is provided with a pair of connection
                                                            terminals 450 on the obverse and the reverse sides of the substrate 410.” Mano at para. [0111].

                                                            “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the reverse surface 414) of the substrate
                                                            410, to be connected to the connection terminal 450. The wiring pattern 440 consists of three conductive parts,
                                                            i.e., an intermediate part and two side parts flanking the intermediate part, as represented in broken lines in FIG.
                                                            30. The right and the left side parts of the pattern 440 are connected to the right and the left connection terminals
                                                            450, respectively.” Mano at para. [0112].

                                                            FIGS. 30 and 31, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength
                                                            conversion member.”




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                                                                              Exhibit B, p. 133
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                                                                #:17312



                    Asserted Claims                                                           Prior Art References, Mano in view of Debray




                                                          Mano at FIGS. 30 and 31. The right and left connection terminals 450 can be said to be “protruding at both ends
                                                          of the wavelength conversion member.”
[27h] wherein the wavelength conversion member is “Each side of the substrate 110 is provided with a domed lens 130 enclosing a plurality of packaged light emitting
provided on the first surface side and the second surface elements 20.” Mano at para. [0086].
side, the wavelength conversion member is elongated in
the longitudinal direction when viewed in plan view of As shown in FIGS. 14B and 15 below, the wavelength conversion member 130 is elongated in both the longitudinal
the first surface side of the board,                      direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness direction of the
                                                          wavelength conversion member 130 (see FIG. 14B), thus the wavelength conversion member 130 is still elongated
                                                          in the longitudinal direction when viewed in plan view of FIG. 14A of the first surface side of the board.




                                                              Mano at FIGS. 14B and 15.
[27i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,



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                                                                               Exhibit B, p. 134
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                                                                 #:17313



                    Asserted Claims                                                         Prior Art References, Mano in view of Debray




                                                          Mano at FIG. 14B.
 [27j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
 chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
 from the center portion of the board to the other one of
 the end portions, and




                                                       Mano at FIG. 14B.
 [27k] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
 between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                            In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                            connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                            would require a conductive interconnection to function as intended.

        IV.     Suehiro in view of Mano and Hohn

        U.S. Patent No. 7,875,897 (“Suehiro”) in view of Mano and Hohn renders the Asserted Claims of the ’734 Patent obvious under 35 U.S.C. § 103. These references
alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor
devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the
above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these

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                                                                              Exhibit B, p. 135
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                                                                #:17314



disclosures in a manner that renders the Asserted Claims obvious.

                     Asserted Claims                                                   Prior Art References, Suehiro in view of Mano and Hohn
 Claim 1
 1. A light emitting device comprising:                      To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                             below in elements [1a] through [1k].

                                                                However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                                limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                                preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
 [1a] a board having end portions and a center portion “The LED 3, as shown in FIG. 1B, comprises … a substrate 32 on which the LED element 31 is mounted and
 therebetween in a longitudinal direction, the board having made of glass-containing Al2O3 …” Suehiro at col. 4, lns. 64-67-col. 5, ln. 1.
 a first surface on a first surface side thereof and a second
 surface on a second surface side thereof, the second FIG. 6, shown below, illustrates the “board” of claim 1, wherein the “board” is substrate 32.
 surface being an opposite side to the first surface, the first
 surface including a first region and a second region, the
 first region extending from the center portion of the board
 to one of the end portions, the second region extending
 from the center portion of the board to the other of the
 end portions;




                                                          Suehiro at FIG. 6.
 [1b] a plurality of light emitting element chips mounted FIG. 27B, shown below, illustrates “a plurality of light emitting element chips mounted on the first surface side
 on the first surface side of the board;                  of the board.”




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                                                                              Exhibit B, p. 136
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                                                              #:17315



                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Hohn




                                                         FIG. 27B of Suehiro.

                                                         Additionally, as shown below, FIG. 14B illustrates that “[e]ach side of the substrate 110 is provided with a domed
                                                         lens 130 enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20
                                                         are provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[1c] a wavelength conversion member formed unitarily “The light emitting device of the thirteenth embodiment is different from that of the sixth embodiment in that a
with a transparent member that seals the plurality of light transparent resin 40 contains a phosphor.” Suehiro at col. 12, lns. 50-52.
emitting element chips;
                                                            “With the transparent resin 40 containing the phosphor 8, wavelength conversion is conducted by the phosphor
                                                            8.” Suehiro at col. 12, lns. 65-66.

                                                         “[A] transparent resin 4, made of epoxy resin etc., which seals the LED 3 …” Suehiro at col. 4, lns. 56-57.

                                                         FIG. 13, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                         that seals the plurality of light emitting element chips.”




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                                                                          Exhibit B, p. 137
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                                                              #:17316



                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Hohn




                                                        Suehiro at FIG. 13.
[1d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;              The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                        para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




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                                                                          Exhibit B, p. 138
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                                                              #:17317



                  Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Hohn
                                                      Mano at FIG. 13.
[1e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;   elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                      emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                      wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                         Mano at FIG. 10.

                                                         Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                         50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                         emitting element chips inside the base 82 of the transparent bulb 80.




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                                                                            Exhibit B, p. 139
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                                                               #:17318



                   Asserted Claims                                                    Prior Art References, Suehiro in view of Mano and Hohn




                                                          Mano at FIGS. 2, 3, and 13.
[1f] a support base that can be threadedly engaged with a “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
conventional light bulb socket along a socket axis; and   The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82.” Mano at para. [0084].

                                                           FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                           socket along a socket axis.”




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                                                                             Exhibit B, p. 140
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                                                               #:17319



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn
                                                           Mano at FIG. 13.
[1g] a pair of metal plates protruding at both ends of the FIG. 13, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
wavelength conversion member,                              member.”




                                                           Suehiro at FIG. 13.

                                                          “Although in this embodiment the lead 2 has a thermal expansion coefficient equal to that glass 35, even when the
                                                          lead 2 is made of soft copper which allows a small difference in thermal expansion coefficient, cracking of glass
                                                          can be prevented due to the plasticity of the metal.” Suehiro at col. 19, lns. 12-16.
[1h] wherein the wavelength conversion member is FIG. 7A, shown below, illustrates “wherein the wavelength conversion member is provided on the first surface
provided on the first surface side and the second surface side and the second surface side, the wavelength conversion member is elongated in the longitudinal direction
side, the wavelength conversion member is elongated in when viewed in plan view of the first surface side of the board.”
the longitudinal direction when viewed in plan view of
the first surface side of the board,                      The wavelength conversion member 4 (including 8) is elongated in both the longitudinal direction and the lateral
                                                          direction of board 6, thus the wavelength conversion member 4 (including 8) is still elongated in the longitudinal
                                                          direction when viewed in plan view of FIG. 7A of the first surface side of the board 6.




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                                                                            Exhibit B, p. 141
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                                                               #:17320



                    Asserted Claims                                                    Prior Art References, Suehiro in view of Mano and Hohn




                                                             Suehiro at FIGS. 7A and 13.
[1i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Mano at FIG. 14B.
[1j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




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                                                                              Exhibit B, p. 142
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                                                               #:17321



                   Asserted Claims                                                   Prior Art References, Suehiro in view of Mano and Hohn

                                                       Mano at FIG. 14B.
[1k] wherein the pair of metal plates are electrically “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
connected with the support base via the support leads. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                          FIGS. 30 and 31, shown below, illustrate “wherein the pair of metal plates are electrically connected with the
                                                          support base via the support leads.” In view of the light emitting unit of the embodiment of FIGS. 30 and 31,
                                                          which include a hole 451 within each electrode 450, it would be obvious for a POSITA to connect a support lead
                                                          to each electrode 450 via the hole and connect those support leads to the ring contact of the base of the light bulb
                                                          of Mano.




                                                          Mano at FIGS. 30 and 31.
Claim 3
3. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[3a] wherein the transparent bulb is made of glass.       “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.”
                                                          Mano at para. [0084].

                                                          FIG. 13, shown below, illustrates “wherein the transparent bulb is made of glass.”

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                                                                            Exhibit B, p. 143
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                                                               #:17322



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn




                                                          Mano at FIG. 13.
Claim 4
4. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[4a] wherein each of the metal plates crosses the support FIG. 20, shown below, illustrates “wherein each of the metal plates crosses the support lead.” Specifically, each
lead.                                                     of the metal plates 140 crosses the support lead 150.




                                                          Mano at FIG. 16.

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                                                                             Exhibit B, p. 144
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                                                               #:17323



                    Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Hohn
Claim 6
6. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                          above in elements [1a] through [1k].

                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[6a] wherein the wavelength conversion member “An inorganic luminous substance pigment pow-der with luminous substance pigments is dispersed in the
comprises a phosphor therein.                 transparent epoxy resin. The luminous substance is a phosphorous group …” Hohn at Abstract.

                                                          “A layer 4 is applied to the transparent envelope 15. The layer 4 comprises a wavelength-converting casting
                                                          composition and, as shown in FIG. 2, covers the entire surface of the envelope 15. It is equally conceivable for the
                                                          layer 4 to cover only a portion of the surface. The layer 4 for instance comprises a transparent epoxy resin which
                                                          is mixed with luminous substance particles 6. Once again, for a semiconductor component that emits white light,
                                                          YAG:Ce is preferred as the luminous substance.” Hohn at col. 8, lns. 26-34.
Claim 7
7. The light emitting device according to claim 6,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                    However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                    limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                    preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[7a] wherein the phosphor comprises a YAG group “A layer 4 is applied to the transparent envelope 15. The layer 4 comprises a wavelength-converting casting
phosphor.                                           composition and, as shown in FIG. 2, covers the entire surface of the envelope 15. It is equally conceivable for the
                                                    layer 4 to cover only a portion of the surface. The layer 4 for instance comprises a transparent epoxy resin which
                                                    is mixed with luminous substance particles 6. Once again, for a semiconductor component that emits white light,
                                                    YAG:Ce is preferred as the luminous substance.” Hohn at col. 8, lns. 26-34.
Claim 11
11. The light emitting device according to claim 6, To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                    above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[11a] wherein an average particle size of the phosphor is “…the luminous substance pigments having grain sizes ≤ 20 μm ...” Hohn at col. 2, lns. 20-21.
3 μm or more.
Claim 12

                                                                                   105


                                                                           Exhibit B, p. 145
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                                                               #:17324



                    Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn
12. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                           above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[12a] wherein the plurality of light emitting element chips “As seen from the figure, the upper two elements 20 are connected in series by the upper intermediate conductor
is electrically connected in series.                        141c, thereby providing a ‘first element set 126.’ Likewise, the lower two elements 20 are connected in series by
                                                            the lower intermediate conductor 141c, thereby providing a ‘second element set 127.’” Mano at para. [0093].
Claim 13
13. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                            above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[13a] wherein the plurality of light emitting element chips “To produce white light, each side of the substrate 10 may be provided with three kinds of light-emitting elements
is so configured that a main peak light emission designed to emit red, green and blue lights, respectively, to be combined into the desired white light.” Mano at
wavelength of the light emitting element is varied within para. [0083].
a range between 420 nm and 490 nm.
                                                            “A semiconductor component that emits white light can be produced with the casting composition according to
                                                            the invention advantageously by choosing the luminous substance in such a way that a blue radiation emitted by
                                                            the semiconductor body is converted into complementary wavelength ranges …” Hohn at col. 6, lns. 11-16.

                                                           “Especially preferably, the casting composition is used in a radiation-emitting semiconductor body in which the
                                                           emitted radiation spectrum has a maximum intensity at a wavelength between 420 nm and 460 nm …” Hohn at
                                                           col. 5, lns. 31-34.

                                                           A POSITA would understand that blue light has a wavelength of between 380 nm and 500 nm, and could arrive
                                                           at the claimed range without undue experimentation.
Claim 14
14. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                           above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).

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                                                                             Exhibit B, p. 146
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                                                              #:17325



                    Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Hohn
[14a] wherein each of the light emitting element chips “Preferably, the casting composition according to the invention is used in a radiation-emitting semiconductor
comprises nitride semiconductor made of InxAlyGa1-x-yN body, in particular with an active semiconductor layer or semiconductor layer sequence of GaxIn1-xN or Gax Al1-
(0≦x, 0≦y, x+y≦1).                                     xN …” Hohn at col. 4, lns. 42-45. A POSITA would understand that semiconductors that emit electromagnetic
                                                       radiation can include a combination of these atomic elements.
Claim 15
15. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                       above in elements [1a] through [1k].

                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[15a] wherein the wavelength conversion member FIG. 13, shown below, illustrates “wherein the wavelength conversion member substantially surrounds the board.”
substantially surrounds the board.




                                                         Suehiro at FIG. 13.

                                                         “The lens 30 has a circular periphery 31. According to the present invention, the periphery 31 may be arranged to
                                                         overlap with the circular edge of the substrate 10 or retreat slightly inward from the edge of the substrate 10.”
                                                         Mano at para. [0067].

                                                         FIG. 1B, shown below, illustrates “wherein the wavelength conversion member substantially surrounds the board.”




                                                                                 107


                                                                          Exhibit B, p. 147
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                                                               #:17326



                   Asserted Claims                                                     Prior Art References, Suehiro in view of Mano and Hohn




                                                            Mano at FIG. 1B.
Claim 17
17. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                            above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[17a] wherein the board is configured to be transparent so “In the illustrated example, the unit 1 includes a transparent substrate 10 …” Mano at para. [0067].
that a light emitted from the plurality of light emitting
element chips on the first surface side of the board
forwards outside of the light emitting device through the
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                           above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[18a] wherein the wavelength conversion member is           “For example, when the phosphor 8 is composed of a red phosphor, a green phosphor and a blue phosphor,
capable of converting light emitted from the plurality of   ultraviolet light emitted from the LED 3 is wavelength-converted by the phosphor 8 and secondary light radiated
light emitting element chips into light with a different    therefrom is mixed with primary light emitted from the LED 3 to generate visible light.” Suehiro at col. 12, lns.
wavelength such that the converted light with the           66-67-col. 13, lns. 1-4.
different wavelength is radiated along a first direction
from the first surface side of the board to an outer        “In this case, as propagating through the lens 30, the light (“original light”) emitted from the element 20 excites
periphery of the wavelength conversion member, and          the fluorescent additives, and these additives will emit light (“secondary light”) as returning to a less excited state.
along a second direction from the second surface of the     In this case, the original light and the econdary light are blended to produce white light. A suitable fluorescent
board to the outer periphery of the wavelength conversion   material is selected in accordance with the frequency of light emitted from the element 20.” Mano at para. [0083].

                                                                                      108


                                                                              Exhibit B, p. 148
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                                                               #:17327



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn
member.
                                                          “Further, in the cruciform opening, the substrate 110 is partially exposed (see reference numeral 161). As in the
                                                          first embodiment, light from the light emitting element can enter the transparent substrate 110 via the exposed
                                                          parts 161, propagate therethrough, and go out from the side surfaces 116 (see FIG. 18).” Mano at para. [0091].
Claim 19
19. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[19a] wherein all light emitting element chips mounted FIG. 27A, shown below, illustrates “wherein all light emitting element chips mounted on the first surface side of
on the first surface side of the board are aligned along a the board are aligned along a line.”
line.




                                                          Suehiro at FIG. 27A.

                                                          FIGS. 14A and 14B, shown below, illustrate “wherein all light emitting element chips mounted on the first surface
                                                          side of the board are aligned along a line.” The light emitting element chips 20 can be said to be “aligned along a
                                                          line” even if chips are not mounted on the line.




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                                                                           Exhibit B, p. 149
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                                                               #:17328



                   Asserted Claims                                                Prior Art References, Suehiro in view of Mano and Hohn




                                                         Mano at FIGS. 14A and 14B.
Claim 20
20. The light emitting device according to claim 1,      To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                         above in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[20a] wherein the wavelength conversion member seals FIG. 13, as provided below, shows “the wavelength conversion member seals all light emitting element chips
all light emitting element chips mounted on the first mounted on the first surface side of the board.”
surface side of the board.




                                                                                 110


                                                                          Exhibit B, p. 150
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                                                               #:17329



                   Asserted Claims                                              Prior Art References, Suehiro in view of Mano and Hohn




                                                       Suehiro at FIG. 13.

                                                       Also, FIG. 27B, shown below, illustrates “wherein the wavelength conversion member seals all light emitting
                                                       element chips mounted on the first surface side of the board.”




                                                       Suehiro at FIG. 27B.
Claim 21
21. The light emitting device according to claim 19,   To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                       above in elements [1a] through [1k].

                                                                               111


                                                                        Exhibit B, p. 151
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 152 of 954 Page ID
                                                              #:17330



                  Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Hohn
                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[21a] wherein the wavelength conversion member seals FIG. 13, as provided below, shows “the wavelength conversion member seals all light emitting element chips
all light emitting element chips mounted on the first mounted on the first surface side of the board.”
surface side of the board.




                                                         Suehiro at FIG. 13.

                                                         Also, FIG. 27B, shown below, illustrates “wherein the wavelength conversion member seals all light emitting
                                                         element chips mounted on the first surface side of the board.”




                                                                                 112


                                                                          Exhibit B, p. 152
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                                                                #:17331



                    Asserted Claims                                                     Prior Art References, Suehiro in view of Mano and Hohn
                                                              Suehiro at FIG. 27B.
Claim 22
22. The light emitting device according to claim 1,           To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                              above in elements [1a] through [1k].

                                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[22a] wherein the first set of light emitting element chips   FIGS. 14A and 14B, shown below, illustrate “wherein the first set of light emitting element chips and the second
and the second set of light emitting element chips are        set of light emitting element chips are aligned along substantially a single line that extends in the longitudinal
aligned along substantially a single line that extends in     direction of the wavelength conversion member.” The light emitting element chips 20 can be said to be “aligned
the longitudinal direction of the wavelength conversion       along substantially a single line that extends in the longitudinal direction of the wavelength conversion member”
member.                                                       even if chips are not mounted on the line.




                                                              Mano at FIGS. 14A and 14B.
Claim 23
23. The light emitting device according to claim 1,           To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                              above in elements [1a] through [1k].

                                                        However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                        limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                        preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[23a] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                                                       113


                                                                               Exhibit B, p. 153
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 154 of 954 Page ID
                                                               #:17332



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn
base towards the pair of metal plates.                    may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                          to the other.” Mano at para. [0084].

                                                          In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                          an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                          wherein an obvious choice of connection would be support leads.




                                                          Mano at FIGS. 30 and 31.
Claim 24
24. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[24a] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                      of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                      to the other.” Mano at para. [0084].

                                                          In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                          connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                                                   114


                                                                           Exhibit B, p. 154
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                                                               #:17333



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn
                                                           would require a conductive interconnection to function as intended.
Claim 25
25. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                           above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[25a] wherein all of the light emitting element chips FIG. 27A, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface
mounted on the first surface side of the board are aligned side of the board are aligned along a single line when viewed in plan view of the first surface side of the board.”
along a single line when viewed in plan view of the first
surface side of the board.




                                                           Suehiro at FIG. 27A.

                                                           FIG. 14A, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface
                                                           side of the board are aligned along a single line when viewed in plan view of the first surface side of the board.”
                                                           The light emitting element chips 20 can be said to be “aligned along a single line when viewed in plan view of the
                                                           first surface side of the board” even if chips are not mounted on the line.




                                                                                    115


                                                                             Exhibit B, p. 155
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                                                               #:17334



                   Asserted Claims                                                    Prior Art References, Suehiro in view of Mano and Hohn




                                                            Mano at FIG. 14A.
Claim 26
26. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                            below in elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[26a] a board having end portions and a center portion “The LED 3, as shown in FIG. 1B, comprises … a substrate 32 on which the LED element 31 is mounted and
therebetween in a longitudinal direction, the board having made of glass-containing Al2O3 …” Suehiro at col. 4, lns. 64-67-col. 5, ln. 1.
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIG. 6, shown below, illustrates the “board” of claim 1, wherein the “board” is substrate 32.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                                                     116


                                                                             Exhibit B, p. 156
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                                                              #:17335



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn




                                                          Suehiro at FIG. 6.
[26b] a plurality of light emitting element chips mounted FIG. 27B, shown below, illustrates “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                   of the board.”




                                                          FIG. 27B of Suehiro.

                                                          Additionally, as shown below, FIG. 14B illustrates that “[e]ach side of the substrate 110 is provided with a domed
                                                          lens 130 enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20
                                                          are provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                                                   117


                                                                           Exhibit B, p. 157
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                                                              #:17336



                   Asserted Claims                                                      Prior Art References, Suehiro in view of Mano and Hohn
                                                            Mano at FIG. 14B.
[26c] a wavelength conversion member formed unitarily “The light emitting device of the thirteenth embodiment is different from that of the sixth embodiment in that a
with a transparent member that seals the plurality of light transparent resin 40 contains a phosphor.” Suehiro at col. 12, lns. 50-52.
emitting element chips;
                                                            “With the transparent resin 40 containing the phosphor 8, wavelength conversion is conducted by the phosphor
                                                            8.” Suehiro at col. 12, lns. 65-66.

                                                         “[A] transparent resin 4, made of epoxy resin etc., which seals the LED 3 …” Suehiro at col. 4, lns. 56-57.

                                                         FIG. 13, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                         that seals the plurality of light emitting element chips.”




                                                         Suehiro at FIG. 13.
[26d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”

                                                                                  118


                                                                          Exhibit B, p. 158
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 159 of 954 Page ID
                                                              #:17337



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn




                                                       Mano at FIG. 13.
[26e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                         Mano at FIG. 10.

                                                         Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                         50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                         emitting element chips inside the base 82 of the transparent bulb 80.

                                                                                  119


                                                                            Exhibit B, p. 159
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 160 of 954 Page ID
                                                               #:17338



                   Asserted Claims                                                    Prior Art References, Suehiro in view of Mano and Hohn




                                                          Mano at FIGS. 2, 3, and 13.
[26f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82.” Mano at para. [0084].

                                                           FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                           socket along a socket axis.”




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                                                                             Exhibit B, p. 160
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 161 of 954 Page ID
                                                              #:17339



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn




                                                            Mano at FIG. 13.
[26g] a pair of metal plates protruding at both ends of the FIG. 13, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
wavelength conversion member,                               member.”




                                                          Suehiro at FIG. 13.

                                                          “Although in this embodiment the lead 2 has a thermal expansion coefficient equal to that glass 35, even when the
                                                          lead 2 is made of soft copper which allows a small difference in thermal expansion coefficient, cracking of glass
                                                                                  121


                                                                           Exhibit B, p. 161
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 162 of 954 Page ID
                                                                #:17340



                    Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn
                                                          can be prevented due to the plasticity of the metal.” Suehiro at col. 19, lns. 12-16.
[26h] wherein the wavelength conversion member is FIG. 7A, shown below, illustrates “wherein the wavelength conversion member is provided on the first surface
provided on the first surface side and the second surface side and the second surface side, the wavelength conversion member is elongated in the longitudinal direction
side, the wavelength conversion member is elongated in when viewed in plan view of the first surface side of the board.”
the longitudinal direction when viewed in plan view of
the first surface side of the board,                      The wavelength conversion member 4 (including 8) is elongated in both the longitudinal direction and the lateral
                                                          direction of board 6, thus the wavelength conversion member 4 (including 8) is still elongated in the longitudinal
                                                          direction when viewed in plan view of FIG. 7A of the first surface side of the board 6.




                                                              Suehiro at FIGS. 7A and 13.
[26i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Mano at FIG. 14B.
[26j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
                                                                                      122


                                                                               Exhibit B, p. 162
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                                                               #:17341



                    Asserted Claims                                                   Prior Art References, Suehiro in view of Mano and Hohn
the end portions, and




                                                        Mano at FIG. 14B.
[26k] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                           an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                           wherein an obvious choice of connection would be support leads.




                                                           Mano at FIGS. 30 and 31.
Claim 27
27. A light emitting device comprising:                    To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Hohn as explained
                                                           below in elements [1a] through [1k].
                                                                                   123


                                                                            Exhibit B, p. 163
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                                                               #:17342



                   Asserted Claims                                                    Prior Art References, Suehiro in view of Mano and Hohn

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[27a] a board having end portions and a center portion “The LED 3, as shown in FIG. 1B, comprises … a substrate 32 on which the LED element 31 is mounted and
therebetween in a longitudinal direction, the board having made of glass-containing Al2O3 …” Suehiro at col. 4, lns. 64-67-col. 5, ln. 1.
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIG. 6, shown below, illustrates the “board” of claim 1, wherein the “board” is substrate 32.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                          Suehiro at FIG. 6.
[27b] a plurality of light emitting element chips mounted FIG. 27B, shown below, illustrates “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                   of the board.”




                                                            FIG. 27B of Suehiro.

                                                            Additionally, as shown below, FIG. 14B illustrates that “[e]ach side of the substrate 110 is provided with a domed
                                                            lens 130 enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20

                                                                                     124


                                                                             Exhibit B, p. 164
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                                                              #:17343



                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Hohn
                                                         are provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[27c] a wavelength conversion member formed unitarily “The light emitting device of the thirteenth embodiment is different from that of the sixth embodiment in that a
with a transparent member that seals the plurality of light transparent resin 40 contains a phosphor.” Suehiro at col. 12, lns. 50-52.
emitting element chips;
                                                            “With the transparent resin 40 containing the phosphor 8, wavelength conversion is conducted by the phosphor
                                                            8.” Suehiro at col. 12, lns. 65-66.

                                                         “[A] transparent resin 4, made of epoxy resin etc., which seals the LED 3 …” Suehiro at col. 4, lns. 56-57.

                                                         FIG. 13, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                         that seals the plurality of light emitting element chips.”




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                                                                          Exhibit B, p. 165
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                                                              #:17344



                   Asserted Claims                                                   Prior Art References, Suehiro in view of Mano and Hohn
                                                         Suehiro at FIG. 13.
[27d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                       Mano at FIG. 13.
[27e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




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                                                                          Exhibit B, p. 166
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                                                               #:17345



                   Asserted Claims                                                    Prior Art References, Suehiro in view of Mano and Hohn




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[27f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                                                    127


                                                                              Exhibit B, p. 167
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 168 of 954 Page ID
                                                              #:17346



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Hohn
                                                          of the base 82.” Mano at para. [0084].

                                                          FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                          socket along a socket axis.”




                                                            Mano at FIG. 13.
[27g] a pair of metal plates protruding at both ends of the FIG. 13, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
wavelength conversion member,                               member.”




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                                                                           Exhibit B, p. 168
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                                                                #:17347



                    Asserted Claims                                                     Prior Art References, Suehiro in view of Mano and Hohn
                                                             Suehiro at FIG. 13.

                                                          “Although in this embodiment the lead 2 has a thermal expansion coefficient equal to that glass 35, even when the
                                                          lead 2 is made of soft copper which allows a small difference in thermal expansion coefficient, cracking of glass
                                                          can be prevented due to the plasticity of the metal.” Suehiro at col. 19, lns. 12-16.
[27h] wherein the wavelength conversion member is FIG. 7A, shown below, illustrates “wherein the wavelength conversion member is provided on the first surface
provided on the first surface side and the second surface side and the second surface side, the wavelength conversion member is elongated in the longitudinal direction
side, the wavelength conversion member is elongated in when viewed in plan view of the first surface side of the board.”
the longitudinal direction when viewed in plan view of
the first surface side of the board,                      The wavelength conversion member 4 (including 8) is elongated in both the longitudinal direction and the lateral
                                                          direction of board 6, thus the wavelength conversion member 4 (including 8) is still elongated in the longitudinal
                                                          direction when viewed in plan view of FIG. 7A of the first surface side of the board 6.




                                                              Suehiro at FIGS. 7A and 13.
[27i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




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                                                                               Exhibit B, p. 169
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                                                                 #:17348



                     Asserted Claims                                              Prior Art References, Suehiro in view of Mano and Hohn
                                                          Mano at FIG. 14B.
 [27j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
 chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
 from the center portion of the board to the other one of
 the end portions, and




                                                       Mano at FIG. 14B.
 [27k] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
 between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                              In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                              connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                              would require a conductive interconnection to function as intended.

        V.      Suehiro in view of Mano and Takashima

         Suehiro in view of Mano and Takashima renders the Asserted Claims of the ’734 Patent obvious under 35 U.S.C. § 103. These references alone or in combination
disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and features relating
to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above prior art to arrive at
“[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures in a manner that renders
the Asserted Claims obvious.

                     Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Takashima
 Claim 1
 1. A light emitting device comprising:                       To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                              explained below in elements [1a] through [1k].

                                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                                                       130


                                                                                Exhibit B, p. 170
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                                                               #:17349



                   Asserted Claims                                                   Prior Art References, Suehiro in view of Mano and Takashima
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[1a] a board having end portions and a center portion “The LED 3, as shown in FIG. 1B, comprises … a substrate 32 on which the LED element 31 is mounted and
therebetween in a longitudinal direction, the board having made of glass-containing Al2O3 …” Suehiro at col. 4, lns. 64-67-col. 5, ln. 1.
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIG. 6, shown below, illustrates the “board” of claim 1, wherein the “board” is substrate 32.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                         Suehiro at FIG. 6.
[1b] a plurality of light emitting element chips mounted FIG. 27B, shown below, illustrates “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                  of the board.”




                                                           FIG. 27B of Suehiro.

                                                           Additionally, as shown below, FIG. 14B illustrates that “[e]ach side of the substrate 110 is provided with a domed
                                                           lens 130 enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20
                                                           are provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].



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                                                                            Exhibit B, p. 171
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                   Asserted Claims                                              Prior Art References, Suehiro in view of Mano and Takashima




                                                            Mano at FIG. 14B.
[1c] a wavelength conversion member formed unitarily “The light emitting device of the thirteenth embodiment is different from that of the sixth embodiment in that a
with a transparent member that seals the plurality of light transparent resin 40 contains a phosphor.” Suehiro at col. 12, lns. 50-52.
emitting element chips;
                                                            “With the transparent resin 40 containing the phosphor 8, wavelength conversion is conducted by the phosphor
                                                            8.” Suehiro at col. 12, lns. 65-66.

                                                         “[A] transparent resin 4, made of epoxy resin etc., which seals the LED 3 …” Suehiro at col. 4, lns. 56-57.

                                                         FIG. 13, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                         that seals the plurality of light emitting element chips.”




                                                         Suehiro at FIG. 13.
                                                                                  132


                                                                          Exhibit B, p. 172
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                                                              #:17351



                     Asserted Claims                                             Prior Art References, Suehiro in view of Mano and Takashima
[1d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;              The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                        para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                      Mano at FIG. 13.
[1e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;   elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                      emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                      wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




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                                                                          Exhibit B, p. 173
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                                                               #:17352



                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Takashima




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[1f] a support base that can be threadedly engaged with a “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
conventional light bulb socket along a socket axis; and   The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                                                    134


                                                                              Exhibit B, p. 174
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                                                              #:17353



                   Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima
                                                          of the base 82.” Mano at para. [0084].

                                                          FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                          socket along a socket axis.”




                                                           Mano at FIG. 13.
[1g] a pair of metal plates protruding at both ends of the FIG. 13, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
wavelength conversion member,                              member.”




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                                                                           Exhibit B, p. 175
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                                                               #:17354



                    Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Takashima
                                                            Suehiro at FIG. 13.

                                                          “Although in this embodiment the lead 2 has a thermal expansion coefficient equal to that glass 35, even when the
                                                          lead 2 is made of soft copper which allows a small difference in thermal expansion coefficient, cracking of glass
                                                          can be prevented due to the plasticity of the metal.” Suehiro at col. 19, lns. 12-16.
[1h] wherein the wavelength conversion member is FIG. 7A, shown below, illustrates “wherein the wavelength conversion member is provided on the first surface
provided on the first surface side and the second surface side and the second surface side, the wavelength conversion member is elongated in the longitudinal direction
side, the wavelength conversion member is elongated in when viewed in plan view of the first surface side of the board.”
the longitudinal direction when viewed in plan view of
the first surface side of the board,                      The wavelength conversion member 4 (including 8) is elongated in both the longitudinal direction and the lateral
                                                          direction of board 6, thus the wavelength conversion member 4 (including 8) is still elongated in the longitudinal
                                                          direction when viewed in plan view of FIG. 7A of the first surface side of the board 6.




                                                             Suehiro at FIGS. 7A and 13.
[1i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




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                                                                              Exhibit B, p. 176
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                                                              #:17355



                   Asserted Claims                                           Prior Art References, Suehiro in view of Mano and Takashima
                                                         Mano at FIG. 14B.
[1j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




                                                       Mano at FIG. 14B.
[1k] wherein the pair of metal plates are electrically “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
connected with the support base via the support leads. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                          FIGS. 30 and 31, shown below, illustrate “wherein the pair of metal plates are electrically connected with the
                                                          support base via the support leads.” In view of the light emitting unit of the embodiment of FIGS. 30 and 31,
                                                          which include a hole 451 within each electrode 450, it would be obvious for a POSITA to connect a support lead
                                                          to each electrode 450 via the hole and connect those support leads to the ring contact of the base of the light bulb.




                                                          Mano at FIGS. 30 and 31.
Claim 3
                                                                                   137


                                                                           Exhibit B, p. 177
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                                                               #:17356



                    Asserted Claims                                              Prior Art References, Suehiro in view of Mano and Takashima
3. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                          explained above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[3a] wherein the transparent bulb is made of glass.       “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.”
                                                          Mano at para. [0084].

                                                          FIG. 13, shown below, illustrates “wherein the transparent bulb is made of glass.”




                                                          Mano at FIG. 13.
Claim 4
4. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                          explained above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[4a] wherein each of the metal plates crosses the support FIG. 20, shown below, illustrates “wherein each of the metal plates crosses the support lead.” Specifically, each
lead.                                                     of the metal plates 140 crosses the support lead 150.




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                                                                             Exhibit B, p. 178
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                                                               #:17357



                   Asserted Claims                                           Prior Art References, Suehiro in view of Mano and Takashima




                                                      Mano at FIG. 16.
Claim 6
6. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                      explained above in elements [1a] through [1k].

                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[6a] wherein the wavelength conversion member “With the transparent resin 40 containing the phosphor 8, wavelength conversion is conducted by the phosphor
comprises a phosphor therein.                 8.” Suehiro at col. 12, lns. 65-66.

                                                      “The phosphor 8 contained in the transparent resin 4 can absorb primary light from the LED 3 and then radiate
                                                      visible light. Therefore, even when the emission wavelength of the LED 3 varies, the light emitting device 1 can
                                                      be constant in emission color tone.” Suehiro at col. 14, lns. 20-24.

                                                      “The indirect-excitation fluorescent material is preferably a YAG-based phosphor.” Takashima at para. [0430].
Claim 7
7. The light emitting device according to claim 6,    To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                      explained above in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                                               139


                                                                         Exhibit B, p. 179
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                                                               #:17358



                   Asserted Claims                                    Prior Art References, Suehiro in view of Mano and Takashima
                                                preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[7a] wherein the phosphor comprises a YAG group “The phosphor 8 may be YAG (yttrium aluminum garnet), silicate phosphor, or a mixture thereof.” Suehiro at col.
phosphor.                                       12, lns. 53-54.

                                                           “The indirect-excitation fluorescent material is preferably a YAG-based phosphor.” Takashima at para. [0430].
Claim 11
11. The light emitting device according to claim 6,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                           explained above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[11a] wherein an average particle size of the phosphor is “Particle size of the fluorescent material 11 is preferably in a range from 1 μm to 20 μm, more preferably in a
3 μm or more.                                             range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.” Takashima at para. [0183].
Claim 12
12. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                          explained above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[12a] wherein the plurality of light emitting element chips “As seen from the figure, the upper two elements 20 are connected in series by the upper intermediate conductor
is electrically connected in series.                        141c, thereby providing a ‘first element set 126.’ Likewise, the lower two elements 20 are connected in series by
                                                            the lower intermediate conductor 141c, thereby providing a ‘second element set 127.’” Mano at para. [0093].
Claim 13
13. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                            explained above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[13a] wherein the plurality of light emitting element chips “[A]lso when a light emitting element having principal-emission-peak wavelength in blue region (420-490 nm) is
is so configured that a main peak light emission used and a YAG fluorescent material is included in the fluorescent material.” Takashima at para. [0026].
wavelength of the light emitting element is varied within
a range between 420 nm and 490 nm.
Claim 14
14. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                                                    140


                                                                            Exhibit B, p. 180
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 181 of 954 Page ID
                                                               #:17359



                   Asserted Claims                                              Prior Art References, Suehiro in view of Mano and Takashima
                                                         explained above in elements [1a] through [1k].

                                                       However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                       limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                       preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[14a] wherein each of the light emitting element chips “The semiconductor light emitting element capable of emitting light of wavelength not longer than 500 nm in
comprises nitride semiconductor made of InxAlyGa1-x-yN ultraviolet to visible region can be made of various semiconductors such as BN, SiC, ZnSe, GaN, InCaN,
(0≦x, 0≦y, x+y≦1).                                     InAlGaN, AlGaN, BalGaN and BinAlGaN.” Takashima at para. [0192].

                                                         “The LED 3, as shown in FIG. 1B, comprises the LED element 31, as a solid-state element, which is of flip-chip
                                                         type and made of a GaN-based semiconductor material …” Suehiro at col. 4, lns. 64-66.
Claim 15
15. The light emitting device according to claim 1,      To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                         explained above in elements [1a] through [1k].

                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[15a] wherein the wavelength conversion member FIG. 13, shown below, illustrates “wherein the wavelength conversion member substantially surrounds the
substantially surrounds the board.             board.”




                                                         Suehiro at FIG. 13.

                                                                                 141


                                                                          Exhibit B, p. 181
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 182 of 954 Page ID
                                                               #:17360



                   Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Takashima
                                                            “The lens 30 has a circular periphery 31. According to the present invention, the periphery 31 may be arranged to
                                                            overlap with the circular edge of the substrate 10 or retreat slightly inward from the edge of the substrate 10.”
                                                            Mano at para. [0067].

                                                            FIG. 1B, shown below, illustrates “wherein the wavelength conversion member substantially surrounds the board.”




                                                            Mano at FIG. 1B.
Claim 17
17. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                            explained above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[17a] wherein the board is configured to be transparent so “In the illustrated example, the unit 1 includes a transparent substrate 10 …” Mano at para. [0067].
that a light emitted from the plurality of light emitting
element chips on the first surface side of the board
forwards outside of the light emitting device through the
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                           explained above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[18a] wherein the wavelength conversion member is           “For example, when the phosphor 8 is composed of a red phosphor, a green phosphor and a blue phosphor,
capable of converting light emitted from the plurality of   ultraviolet light emitted from the LED 3 is wavelength-converted by the phosphor 8 and secondary light radiated
light emitting element chips into light with a different    therefrom is mixed with primary light emitted from the LED 3 to generate visible light.” Suehiro at col. 12, lns.
wavelength such that the converted light with the           66-67-col. 13, lns. 1-4.

                                                                                    142


                                                                             Exhibit B, p. 182
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 183 of 954 Page ID
                                                               #:17361



                     Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Takashima
different wavelength is radiated along a first direction    “In this case, as propagating through the lens 30, the light (“original light”) emitted from the element 20 excites
from the first surface side of the board to an outer        the fluorescent additives, and these additives will emit light (“secondary light”) as returning to a less excited state.
periphery of the wavelength conversion member, and          In this case, the original light and the secondary light are blended to produce white light. A suitable fluorescent
along a second direction from the second surface of the     material is selected in accordance with the frequency of light emitted from the element 20.” Mano at para. [0083].
board to the outer periphery of the wavelength conversion
member.                                                     “Further, in the cruciform opening, the substrate 110 is partially exposed (see reference numeral 161). As in the
                                                            first embodiment, light from the light emitting element can enter the transparent substrate 110 via the exposed
                                                            parts 161, propagate therethrough, and go out from the side surfaces 116 (see FIG. 18).” Mano at para. [0091].
Claim 19
19. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                            explained above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[19a] wherein all light emitting element chips mounted FIG. 27A, shown below, illustrates “wherein all light emitting element chips mounted on the first surface side of
on the first surface side of the board are aligned along a the board are aligned along a line.”
line.




                                                            Suehiro at FIG. 27A.

                                                            FIGS. 14A and 14B, shown below, illustrate “wherein all light emitting element chips mounted on the first surface
                                                            side of the board are aligned along a line.” The light emitting element chips 20 can be said to be “aligned along a
                                                            line” even if chips are not mounted on the line.




                                                                                      143


                                                                              Exhibit B, p. 183
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 184 of 954 Page ID
                                                               #:17362



                   Asserted Claims                                             Prior Art References, Suehiro in view of Mano and Takashima




                                                         Mano at FIGS. 14A and 14B.
Claim 20
20. The light emitting device according to claim 1,      To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                         explained above in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[20a] wherein the wavelength conversion member seals FIG. 13, as provided below, shows “the wavelength conversion member seals all light emitting element chips
all light emitting element chips mounted on the first mounted on the first surface side of the board.”
surface side of the board.




                                                                                 144


                                                                         Exhibit B, p. 184
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                                                               #:17363



                   Asserted Claims                                            Prior Art References, Suehiro in view of Mano and Takashima




                                                       Suehiro at FIG. 13.

                                                       Also, FIG. 27B, shown below, illustrates “wherein the wavelength conversion member seals all light emitting
                                                       element chips mounted on the first surface side of the board.”




                                                       Suehiro at FIG. 27B.
Claim 21
21. The light emitting device according to claim 19,   To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                       explained above in elements [1a] through [1k].

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                                                                        Exhibit B, p. 185
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 186 of 954 Page ID
                                                              #:17364



                  Asserted Claims                                             Prior Art References, Suehiro in view of Mano and Takashima
                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[21a] wherein the wavelength conversion member seals FIG. 13, as provided below, shows “the wavelength conversion member seals all light emitting element chips
all light emitting element chips mounted on the first mounted on the first surface side of the board.”
surface side of the board.




                                                         Suehiro at FIG. 13.

                                                         Also, FIG. 27B, shown below, illustrates “wherein the wavelength conversion member seals all light emitting
                                                         element chips mounted on the first surface side of the board.”




                                                                                 146


                                                                          Exhibit B, p. 186
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 187 of 954 Page ID
                                                                #:17365



                    Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Takashima
                                                              Suehiro at FIG. 27B.
Claim 22
22. The light emitting device according to claim 1,           To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                              explained above in elements [1a] through [1k].

                                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[22a] wherein the first set of light emitting element chips   FIGS. 14A and 14B, shown below, illustrate “wherein the first set of light emitting element chips and the second
and the second set of light emitting element chips are        set of light emitting element chips are aligned along substantially a single line that extends in the longitudinal
aligned along substantially a single line that extends in     direction of the wavelength conversion member.” The light emitting element chips 20 can be said to be “aligned
the longitudinal direction of the wavelength conversion       along substantially a single line that extends in the longitudinal direction of the wavelength conversion member”
member.                                                       even if chips are not mounted on the line.




                                                              Mano at FIGS. 14A and 14B.
Claim 23
23. The light emitting device according to claim 1,           To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                              explained above in elements [1a] through [1k].

                                                        However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                        limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                        preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[23a] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                                                       147


                                                                               Exhibit B, p. 187
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 188 of 954 Page ID
                                                               #:17366



                   Asserted Claims                                                Prior Art References, Suehiro in view of Mano and Takashima
base towards the pair of metal plates.                    may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                          to the other.” Mano at para. [0084].

                                                          In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                          an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                          wherein an obvious choice of connection would be support leads.




                                                          Mano at FIGS. 30 and 31.
Claim 24
24. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                          explained above in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[24a] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                      of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                      to the other.” Mano at para. [0084].

                                                          In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                          connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                                                   148


                                                                           Exhibit B, p. 188
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 189 of 954 Page ID
                                                               #:17367



                   Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima
                                                           would require a conductive interconnection to function as intended.
Claim 25
25. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                           explained above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[25a] wherein all of the light emitting element chips FIG. 27A, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface
mounted on the first surface side of the board are aligned side of the board are aligned along a single line when viewed in plan view of the first surface side of the board.”
along a single line when viewed in plan view of the first
surface side of the board.




                                                           Suehiro at FIG. 27A.

                                                           FIG. 14A, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface
                                                           side of the board are aligned along a single line when viewed in plan view of the first surface side of the board.”
                                                           The light emitting element chips 20 can be said to be “aligned along a single line when viewed in plan view of the
                                                           first surface side of the board” even if chips are not mounted on the line.




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                                                                             Exhibit B, p. 189
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                                                               #:17368



                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Takashima




                                                            Mano at FIG. 14A.
Claim 26
26. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                            explained below in elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[26a] a board having end portions and a center portion “The LED 3, as shown in FIG. 1B, comprises … a substrate 32 on which the LED element 31 is mounted and
therebetween in a longitudinal direction, the board having made of glass-containing Al2O3 …” Suehiro at col. 4, lns. 64-67-col. 5, ln. 1.
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIG. 6, shown below, illustrates the “board” of claim 1, wherein the “board” is substrate 32.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                                                     150


                                                                             Exhibit B, p. 190
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                                                              #:17369



                   Asserted Claims                                                Prior Art References, Suehiro in view of Mano and Takashima




                                                          Suehiro at FIG. 6.
[26b] a plurality of light emitting element chips mounted FIG. 27B, shown below, illustrates “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                   of the board.”




                                                          FIG. 27B of Suehiro.

                                                          Additionally, as shown below, FIG. 14B illustrates that “[e]ach side of the substrate 110 is provided with a domed
                                                          lens 130 enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20
                                                          are provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                                                   151


                                                                           Exhibit B, p. 191
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 192 of 954 Page ID
                                                              #:17370



                   Asserted Claims                                                   Prior Art References, Suehiro in view of Mano and Takashima
                                                            Mano at FIG. 14B.
[26c] a wavelength conversion member formed unitarily “The light emitting device of the thirteenth embodiment is different from that of the sixth embodiment in that a
with a transparent member that seals the plurality of light transparent resin 40 contains a phosphor.” Suehiro at col. 12, lns. 50-52.
emitting element chips;
                                                            “With the transparent resin 40 containing the phosphor 8, wavelength conversion is conducted by the phosphor
                                                            8.” Suehiro at col. 12, lns. 65-66.

                                                         “[A] transparent resin 4, made of epoxy resin etc., which seals the LED 3 …” Suehiro at col. 4, lns. 56-57.

                                                         FIG. 13, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                         that seals the plurality of light emitting element chips.”




                                                         Suehiro at FIG. 13.
[26d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”

                                                                                  152


                                                                          Exhibit B, p. 192
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 193 of 954 Page ID
                                                              #:17371



                   Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima




                                                       Mano at FIG. 13.
[26e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




                                                         Mano at FIG. 10.

                                                         Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                         50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                         emitting element chips inside the base 82 of the transparent bulb 80.

                                                                                  153


                                                                            Exhibit B, p. 193
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 194 of 954 Page ID
                                                               #:17372



                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Takashima




                                                          Mano at FIGS. 2, 3, and 13.
[26f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                          of the base 82.” Mano at para. [0084].

                                                           FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                           socket along a socket axis.”




                                                                                    154


                                                                             Exhibit B, p. 194
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 195 of 954 Page ID
                                                              #:17373



                   Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima




                                                            Mano at FIG. 13.
[26g] a pair of metal plates protruding at both ends of the FIG. 13, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
wavelength conversion member,                               member.”




                                                          Suehiro at FIG. 13.

                                                          “Although in this embodiment the lead 2 has a thermal expansion coefficient equal to that glass 35, even when the
                                                          lead 2 is made of soft copper which allows a small difference in thermal expansion coefficient, cracking of glass
                                                                                  155


                                                                           Exhibit B, p. 195
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 196 of 954 Page ID
                                                                #:17374



                    Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima
                                                          can be prevented due to the plasticity of the metal.” Suehiro at col. 19, lns. 12-16.
[26h] wherein the wavelength conversion member is FIG. 7A, shown below, illustrates “wherein the wavelength conversion member is provided on the first surface
provided on the first surface side and the second surface side and the second surface side, the wavelength conversion member is elongated in the longitudinal direction
side, the wavelength conversion member is elongated in when viewed in plan view of the first surface side of the board.”
the longitudinal direction when viewed in plan view of
the first surface side of the board,                      The wavelength conversion member 4 (including 8) is elongated in both the longitudinal direction and the lateral
                                                          direction of board 6, thus the wavelength conversion member 4 (including 8) is still elongated in the longitudinal
                                                          direction when viewed in plan view of FIG. 7A of the first surface side of the board 6.




                                                              Suehiro at FIGS. 7A and 13.
[26i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Mano at FIG. 14B.
[26j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
                                                                                      156


                                                                               Exhibit B, p. 196
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 197 of 954 Page ID
                                                               #:17375



                    Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima
the end portions, and




                                                        Mano at FIG. 14B.
[26k] wherein the support leads extend from the support “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
base towards the pair of metal plates.                  may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                        of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                        to the other.” Mano at para. [0084].

                                                           In view of the light emitting unit of the embodiment of FIGS. 30 and 31, shown below, a POSITA would extend
                                                           an electrical connection from the ring contact of the base of the light bulb towards the pair of electrodes 450,
                                                           wherein an obvious choice of connection would be support leads.




                                                           Mano at FIGS. 30 and 31.
Claim 27
27. A light emitting device comprising:                    To the extent the preamble is limiting, the preamble is taught by Suehiro in view of Mano and Takashima as
                                                           explained below in elements [1a] through [1k].
                                                                                   157


                                                                            Exhibit B, p. 197
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                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Takashima

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[27a] a board having end portions and a center portion “The LED 3, as shown in FIG. 1B, comprises … a substrate 32 on which the LED element 31 is mounted and
therebetween in a longitudinal direction, the board having made of glass-containing Al2O3 …” Suehiro at col. 4, lns. 64-67-col. 5, ln. 1.
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second FIG. 6, shown below, illustrates the “board” of claim 1, wherein the “board” is substrate 32.
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                          Suehiro at FIG. 6.
[27b] a plurality of light emitting element chips mounted FIG. 27B, shown below, illustrates “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                   of the board.”




                                                            FIG. 27B of Suehiro.

                                                            Additionally, as shown below, FIG. 14B illustrates that “[e]ach side of the substrate 110 is provided with a domed
                                                            lens 130 enclosing a plurality of packaged light emitting elements 20. In the illustrated example, four elements 20

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                   Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima
                                                         are provided for each lens 130, though the present invention is not limited to this.” Mano at para. [0086].




                                                            Mano at FIG. 14B.
[27c] a wavelength conversion member formed unitarily “The light emitting device of the thirteenth embodiment is different from that of the sixth embodiment in that a
with a transparent member that seals the plurality of light transparent resin 40 contains a phosphor.” Suehiro at col. 12, lns. 50-52.
emitting element chips;
                                                            “With the transparent resin 40 containing the phosphor 8, wavelength conversion is conducted by the phosphor
                                                            8.” Suehiro at col. 12, lns. 65-66.

                                                         “[A] transparent resin 4, made of epoxy resin etc., which seals the LED 3 …” Suehiro at col. 4, lns. 56-57.

                                                         FIG. 13, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                         that seals the plurality of light emitting element chips.”




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                                                              #:17378



                   Asserted Claims                                                Prior Art References, Suehiro in view of Mano and Takashima
                                                         Suehiro at FIG. 13.
[27d] a transparent bulb that encloses the board and the “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
plurality of light emitting element chips;               The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb …” Mano at
                                                         para. [0084].

                                                         FIG. 13, shown below, illustrates “a transparent bulb that encloses the board and the plurality of light emitting
                                                         element chips.”




                                                       Mano at FIG. 13.
[27e] support leads that secure the plurality of light “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20 includes an
emitting element chips inside the transparent bulb;    elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b at the other end. A light-
                                                       emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to the anode 23a via a metal
                                                       wire 24.” Mano at para. [0080].

                                                         FIG. 10, shown below, illustrates “support leads that secure the plurality of light emitting element chips inside the
                                                         transparent bulb.”




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                   Asserted Claims                                                 Prior Art References, Suehiro in view of Mano and Takashima




                                                           Mano at FIG. 10.

                                                           Also, as shown below, the unit 1 includes a conductive pattern 50 on each side, which includes a positive electrode
                                                           50a and a negative electrode 50b. The conductive patterns 50, as illustrated in FIG. 13, secure the plurality of light
                                                           emitting element chips inside the base 82 of the transparent bulb 80.




                                                          Mano at FIGS. 2, 3, and 13.
[27f] a support base that can be threadedly engaged with “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81 made of glass, for example.
a conventional light bulb socket along a socket axis; and The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
                                                          may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                                                    161


                                                                              Exhibit B, p. 201
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                                                              #:17380



                   Asserted Claims                                               Prior Art References, Suehiro in view of Mano and Takashima
                                                          of the base 82.” Mano at para. [0084].

                                                          FIG. 13, shown below, illustrates “a support base that can be threadedly engaged with a conventional light bulb
                                                          socket along a socket axis.”




                                                            Mano at FIG. 13.
[27g] a pair of metal plates protruding at both ends of the FIG. 13, shown below, illustrates “a pair of metal plates protruding at both ends of the wavelength conversion
wavelength conversion member,                               member.”




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                                                                #:17381



                    Asserted Claims                                                  Prior Art References, Suehiro in view of Mano and Takashima
                                                             Suehiro at FIG. 13.

                                                          “Although in this embodiment the lead 2 has a thermal expansion coefficient equal to that glass 35, even when the
                                                          lead 2 is made of soft copper which allows a small difference in thermal expansion coefficient, cracking of glass
                                                          can be prevented due to the plasticity of the metal.” Suehiro at col. 19, lns. 12-16.
[27h] wherein the wavelength conversion member is FIG. 7A, shown below, illustrates “wherein the wavelength conversion member is provided on the first surface
provided on the first surface side and the second surface side and the second surface side, the wavelength conversion member is elongated in the longitudinal direction
side, the wavelength conversion member is elongated in when viewed in plan view of the first surface side of the board.”
the longitudinal direction when viewed in plan view of
the first surface side of the board,                      The wavelength conversion member 4 (including 8) is elongated in both the longitudinal direction and the lateral
                                                          direction of board 6, thus the wavelength conversion member 4 (including 8) is still elongated in the longitudinal
                                                          direction when viewed in plan view of FIG. 7A of the first surface side of the board 6.




                                                              Suehiro at FIGS. 7A and 13.
[27i] wherein a first set of the light emitting element chips FIG. 14B, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




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                     Asserted Claims                                           Prior Art References, Suehiro in view of Mano and Takashima
                                                          Mano at FIG. 14B.
 [27j] wherein a second set of the light emitting element FIG. 14B, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
 chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
 from the center portion of the board to the other one of
 the end portions, and




                                                       Mano at FIG. 14B.
 [27k] wherein one of the support leads is positioned “The unit 1 is electrically connected to a conductive base or cap 82. As in a conventional lightbulb, the base 82
 between one of the metal plates and the support base. may consist of two electrically insulated contacts, a threaded ring contact and a tip contact disposed at the bottom
                                                       of the base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the tip contact is connected
                                                       to the other.” Mano at para. [0084].

                                                               In view of the light emitting unit of the embodiment of FIGS. 30 and 31, a POSITA would position an electrical
                                                               connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                               would require a conductive interconnection to function as intended.

        VI.      Brunner in view of Uchida and Hohn

          U.S. Patent No. 7.436,002 (“Brunner”) in view of U.S. Patent No. 4,727,289 (“Uchida”) and Hohn renders the Asserted Claims of the ’734 Patent obvious under 35
U.S.C. § 103. These references alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to
light-emitting semiconductor devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary
skill in the art to combine the above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the
teachings from these disclosures in a manner that renders the Asserted Claims obvious.

                     Asserted Claims                                                     Prior Art References, Brunner in view of Uchida and Hohn
 Claim 1
 1. A light emitting device comprising:                        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                               below in elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                                                         164


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                    Asserted Claims                                                    Prior Art References, Brunner in view of Uchida and Hohn
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[1a] a board having end portions and a center portion FIG. 1, shown below, illustrates the “board” (board 5) of claim 1.
therebetween in a longitudinal direction, the board having
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                         FIG.1 of Uchida.
[1b] a plurality of light emitting element chips mounted FIG. 1, shown below, illustrates the “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                  of the board.”




                                                            FIG.1 of Uchida.
[1c] a wavelength conversion member formed unitarily “With regard to shaping, the component advantageously dispenses with the formation of a depression and the use
with a transparent member that seals the plurality of light of two different materials and instead envisages the use of a single transparent molding material which is optionally
emitting element chips;                                     first mixed with the conversion material and then shaped, preferably injection molded, around the leadframe.”
                                                            Brunner at col. 4, lns. 41-46.
                                                                                      165


                                                                              Exhibit B, p. 205
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                                                               #:17384



                   Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn
                                                           “Phosphor particles which consist of a phosphor by means of which at least partial wavelength conversion of the
                                                           light radiation emitted by the semiconductor LED 1 is brought about are embedded as conversion material 4 in
                                                           this plastics compression molding material 3. This wavelength conversion produces an emission spectrum which
                                                           gives the optical impression of multi-colored light or white light.” Brunner at col. 9, lns. 9-15.

                                                           FIG. 2, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                           that seals the plurality of light emitting element chips.”




                                                        Brunner at FIG. 2.
[1d] a transparent bulb that encloses the board and the FIG. 1, shown below, illustrates the “a transparent bulb that encloses the board and the plurality of light emitting
plurality of light emitting element chips;              element chips.”




                                                           FIG.1 of Uchida.

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                                                               #:17385



                   Asserted Claims                                             Prior Art References, Brunner in view of Uchida and Hohn
[1e] support leads that secure the plurality of light FIG. 1, shown below, illustrates the “support leads that secure the plurality of light emitting element chips inside
emitting element chips inside the transparent bulb;   the transparent bulb.”




                                                            FIG.1 of Uchida.

                                                          “In this case, the stays 4a and 4b only support the printed circuit board 5, and electrical contact between the stays
                                                          4a and 4b and the printed circuit board 5 is obtained by spot-welding the anchor wire 8a, which is connected to
                                                          the external lead wire 11a, to the stay 4a.” Uchida at col. 2, lns. 49-53.
[1f] a support base that can be threadedly engaged with a FIG. 1, shown below, illustrates the “a support base that can be threadedly engaged with a conventional light bulb
conventional light bulb socket along a socket axis; and   socket along a socket axis.”




                                                            FIG.1 of Uchida.

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                    Asserted Claims                                                Prior Art References, Brunner in view of Uchida and Hohn
[1g] a pair of metal plates protruding at both ends of the “In an embodiment of the production method according to the invention, after mounting and contacting of the
wavelength conversion member,                              semiconductor LED 1, a transparent plastics compression molding material 3 is injection-molded onto the
                                                           leadframe connections 11 and 12 in a suitable injection-molding apparatus.” Brunner at col. 8, lns. 57-61.

                                                            “Phosphor particles which consist of a phosphor by means of which at least partial wavelength conversion of the
                                                            light radiation emitted by the semiconductor LED 1 is brought about are embedded as conversion material 4 in
                                                            this plastics compression molding material 3. This wavelength conversion produces an emission spectrum which
                                                            gives the optical impression of multi-colored light or white light.” Brunner at col. 9, lns. 9-15.

                                                            FIGS. 1 and 2, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength conversion
                                                            member.”




                                                            Brunner at FIGS. 1 and 2.
[1h] wherein the wavelength conversion member is            A POSITA would combine the plurality of LEDs 6 and the board 5 of Uchida with the wavelength conversion
provided on the first surface side and the second surface   member 3, 4 of Brunner (FIG. 1 below) such that it would be “provided on the first surface side and the second
side, the wavelength conversion member is elongated in      surface side” as the POSITA would intend for white light to be emitted from each side of the bulb.
the longitudinal direction when viewed in plan view of
the first surface side of the board,                        Further, as the board 5 of Uchida is elongated in the longitudinal direction, so too would the wavelength
                                                            conversion member as it must cover the plurality of light emitting element chips 6.




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                   Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn




                                                             Brunner at FIG. 1.
[1i] wherein a first set of the light emitting element chips FIG. 5, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Uchida at FIG. 5.
[1j] wherein a second set of the light emitting element FIG. 5, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




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                                                             #:17388



                  Asserted Claims                                              Prior Art References, Brunner in view of Uchida and Hohn




                                                       Uchida at FIG. 5.
[1k] wherein the pair of metal plates are electrically A POSITA would combine the metal plates 11, 12 of Brunner (FIG. 1) with the support base 2 of Uchida via its
connected with the support base via the support leads. support leads 4a, 4b, which support the board 5 (FIG. 1).




                                                        Brunner at FIG. 1.




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                   Asserted Claims                                                 Prior Art References, Brunner in view of Uchida and Hohn




                                                          Uchida at FIG. 1.
Claim 3
3. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[3a] wherein the transparent bulb is made of glass.       “A stem 3 is provided inside the glass bulb 1 on the base 2 side.” Uchida at col. 2, lns. 13-14.
Claim 4
4. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[4a] wherein each of the metal plates crosses the support In combination, the metal plates 11, 12 of Brunner (FIG. 1) would cross with the support leads 4a, 4b of Uchida,
lead.                                                     as the support leads 4a, 4b would cross the metal plates 11, 12 in order to connect thereto.
Claim 6
6. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
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                                                                           Exhibit B, p. 211
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                   Asserted Claims                                    Prior Art References, Brunner in view of Uchida and Hohn
                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[6a] wherein the wavelength conversion member “The conversion material dispersed in the plastics compression molding material may be an inorganic luminescent
comprises a phosphor therein.                 pigment powder which contains phosphors …” Brunner at col. 5, lns. 15-17.

                                                          “An inorganic luminous substance pigment pow-der with luminous substance pigments is dispersed in the
                                                          transparent epoxy resin. The luminous substance is a phosphorous group…” Hohn at Abstract.

                                                          “A layer 4 is applied to the transparent envelope 15. The layer 4 comprises a wavelength-converting casting
                                                          composition and, as shown in FIG. 2, covers the entire surface of the envelope 15. It is equally conceivable for
                                                          the layer 4 to cover only a portion of the surface. The layer 4 for instance comprises a transparent epoxy resin
                                                          which is mixed with luminous substance particles 6. Once again, for a semiconductor component that emits white
                                                          light, YAG:Ce is preferred as the luminous substance.” Hohn at col. 8, lns. 26-34.
Claim 7
7. The light emitting device according to claim 6,        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[7a] wherein the phosphor comprises a YAG group “The compounds YAG:Ce (YA1 O:Ce) … and mixtures based thereon have proven to be particularly efficient
phosphor.                                       phosphors.” Brunner at col. 10, lns. 8-13.

                                                          “A layer 4 is applied to the transparent envelope 15. The layer 4 comprises a wavelength-converting casting
                                                          composition and, as shown in FIG. 2, covers the entire surface of the envelope 15. It is equally conceivable for
                                                          the layer 4 to cover only a portion of the surface. The layer 4 for instance comprises a transparent epoxy resin
                                                          which is mixed with luminous substance particles 6. Once again, for a semiconductor component that emits white
                                                          light, YAG:Ce is preferred as the luminous substance.” Hohn at col. 8, lns. 26-34.
Claim 11
11. The light emitting device according to claim 6,       To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[11a] wherein an average particle size of the phosphor is “Regarding the particle size of the phosphor particles, a mean particle diameter between 2 μm and 20 μm,
3 μm or more.                                             preferably approximately between 4 μm and 10 μm, particularly preferably between 5 μm and 6 μm, is
                                                          advantageous.” Brunner at col. 10, lns. 26-29.

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                   Asserted Claims                                                  Prior Art References, Brunner in view of Uchida and Hohn

                                                           “…the luminous substance pigments having grain sizes ≤ 20 μm ...” Hohn at col. 2, lns. 20-21.
Claim 12
12. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                           above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[12a] wherein the plurality of light emitting element chips “A current is supplied to the LEDs 6 through a series resistor 7.” Uchida at col. 1, lns. 20-21.
is electrically connected in series.
Claim 13
13. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                            above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[13a] wherein the plurality of light emitting element chips “A semiconductor component that emits white light can be produced with the casting composition according to
is so configured that a main peak light emission the invention advantageously by choosing the luminous substance in such a way that a blue radiation emitted by
wavelength of the light emitting element is varied within the semiconductor body is converted into complementary wavelength ranges …” Hohn at col. 6, lns. 11-16.
a range between 420 nm and 490 nm.
                                                            “Especially preferably, the casting composition is used in a radiation-emitting semiconductor body in which the
                                                            emitted radiation spectrum has a maximum intensity at a wavelength between 420 nm and 460 nm …” Hohn at
                                                            col. 5, lns. 31-34.

                                                           A POSITA would understand that blue light has a wavelength of between 380 nm and 500 nm, and could arrive
                                                           at the claimed range without undue experimentation.
Claim 14
14. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                           above in elements [1a] through [1k].

                                                       However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                       limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                       preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[14a] wherein each of the light emitting element chips “Preferably, the casting composition according to the invention is used in a radiation-emitting semiconductor
comprises nitride semiconductor made of InxAlyGa1-x-yN body, in particular with an active semiconductor layer or semiconductor layer sequence of GaxIn1-xN or Gax Al1-

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                                                                            Exhibit B, p. 213
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                 Asserted Claims                                                 Prior Art References, Brunner in view of Uchida and Hohn
(0≦x, 0≦y, x+y≦1).                                     xN …” Hohn at col. 4, lns. 42-45. A POSITA would understand that semiconductors that emit electromagnetic
                                                       radiation can include a combination of these atomic elements.
Claim 15
15. The light emitting device according to claim 1,    To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                       above in elements [1a] through [1k].

                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[15a] wherein the wavelength conversion member A POSITA would have the wavelength conversion member 3, 4 of Brunner “substantially surround[] the board”
substantially surrounds the board.             of Uchida in order to encapsulate the plurality of light emitting element chips 6 disposed near the opposing edges
                                               of the board 5, as a POSITA would want to control the totality of the light would be emitted.




                                                       Brunner at FIG. 1.




                                                                               174


                                                                        Exhibit B, p. 214
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                                                               #:17393



                   Asserted Claims                                                    Prior Art References, Brunner in view of Uchida and Hohn




                                                            FIG.1 of Uchida.
Claim 17
17. The light emitting device according to claim 1,         To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                            above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[17a] wherein the board is configured to be transparent so  A POSITA would configure the board 5 of Uchida “to be transparent so that a light emitted from the plurality of
that a light emitted from the plurality of light emitting   light emitting element chips on the first surface side of the board forwards outside of the light emitting device
element chips on the first surface side of the board        through the second surface of the board.” A POSITA would be motivated to do so as such a configuration would
forwards outside of the light emitting device through the   allow light emitted from the plurality of light emitting element chips to radiate in all directions.
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,        To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                           above in elements [1a] through [1k].

                                                            However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                            limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                            preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[18a] wherein the wavelength conversion member is           “For the production of mixed-color or white light, an emission of the semiconductor LED in the ultraviolet or blue
capable of converting light emitted from the plurality of   spectral range is particularly advantageous since conversion to longer wavelengths is as a rule substantially more
light emitting element chips into light with a different    efficient than a conversion from longer to shorter wavelengths. Since the ultraviolet or blue spectral range is at the
wavelength such that the converted light with the           short wave end of the optically visible range, efficient conversion to a majority of the visible wavelengths is
                                                                                     175


                                                                               Exhibit B, p. 215
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                                                               #:17394



                     Asserted Claims                                               Prior Art References, Brunner in view of Uchida and Hohn
different wavelength is radiated along a first direction possible from thereby means of suitable conversion materials.” Brunner at col. 8, lns. 27-35.
from the first surface side of the board to an outer
periphery of the wavelength conversion member, and
along a second direction from the second surface of the
board to the outer periphery of the wavelength conversion
member.
Claim 19
19. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[19a] wherein all light emitting element chips mounted FIG. 5, shown below, illustrates “wherein all light emitting element chips mounted on the first surface side of the
on the first surface side of the board are aligned along a board are aligned along a line.” From this side view, all light emitting element chips can be said to be aligned
line.                                                      along a line that extends between opposing ends of the board 5.




                                                          Uchida at FIG. 5.
Claim 20
20. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                          However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                          limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                          preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
                                                                                   176


                                                                            Exhibit B, p. 216
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 217 of 954 Page ID
                                                               #:17395



                     Asserted Claims                                           Prior Art References, Brunner in view of Uchida and Hohn
[20a] wherein the wavelength conversion member seals A POSITA would have the wavelength conversion member 3, 4 of Brunner “seal[] all light emitting element chips
all light emitting element chips mounted on the first mounted on the first surface side of the board” of Uchida in order to encapsulate the plurality of light emitting
surface side of the board.                            element chips 6, as a POSITA would want to control the totality of the light would be emitted.

                                                         FIG. 1, shown below, illustrates “wherein the wavelength conversion member seals all light emitting element
                                                         chips mounted on the first surface side of the board.”




                                                         Brunner at FIG. 1.
Claim 21
21. The light emitting device according to claim 19,     To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                         above in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[21a] wherein the wavelength conversion member seals A POSITA would have the wavelength conversion member 3, 4 of Brunner “seal[] all light emitting element chips
all light emitting element chips mounted on the first mounted on the first surface side of the board” of Uchida in order to encapsulate the plurality of light emitting
surface side of the board.                            element chips 6, as a POSITA would want to control the totality of the light would be emitted.

                                                         FIG. 1, shown below, illustrates “wherein the wavelength conversion member seals all light emitting element
                                                         chips mounted on the first surface side of the board.”




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                                                                          Exhibit B, p. 217
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                                                                #:17396



                    Asserted Claims                                                     Prior Art References, Brunner in view of Uchida and Hohn




                                                              Brunner at FIG. 1.
Claim 22
22. The light emitting device according to claim 1,           To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                              above in elements [1a] through [1k].

                                                              However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                              limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                              preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[22a] wherein the first set of light emitting element chips   FIG. 5, shown below, illustrates “wherein the first set of light emitting element chips and the second set of light
and the second set of light emitting element chips are        emitting element chips are aligned along substantially a single line that extends in the longitudinal direction of the
aligned along substantially a single line that extends in     wavelength conversion member.” From this side view, all light emitting element chips can be said to be aligned
the longitudinal direction of the wavelength conversion       along substantially a single line that extends between opposing ends of the board 5.
member.




                                                                                       178


                                                                                Exhibit B, p. 218
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                                                               #:17397



                   Asserted Claims                                                 Prior Art References, Brunner in view of Uchida and Hohn




                                                          Uchida at FIG. 5.
Claim 23
23. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                        However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                        limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                        preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[23a] wherein the support leads extend from the support FIG. 1, shown below, illustrates “wherein the support leads extend from the support base towards the pair of metal
base towards the pair of metal plates.                  plates” as in combination the metal plates 11, 12 of Brunner (FIG. 1) would be coupled to the board 5 of Uchida
                                                        (FIG. 1) from which the support leads extend to the base 2.




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                                                                           Exhibit B, p. 219
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                                                               #:17398



                   Asserted Claims                                                Prior Art References, Brunner in view of Uchida and Hohn
                                                         Brunner at FIG. 1.




                                                         FIG.1 of Uchida.
Claim 24
24. The light emitting device according to claim 1,      To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                         above in elements [1a] through [1k].

                                                      However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                      limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                      preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[24a] wherein one of the support leads is positioned A POSITA would understand that “one of the support leads is positioned between one of the metal plates and the
between one of the metal plates and the support base. support base” as the support leads 4a, 4b of Uchida would interconnect the support base 2 and the metal plates 11,
                                                      12 of Brunner.




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                                                                            Exhibit B, p. 220
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                                                               #:17399



                   Asserted Claims                                                 Prior Art References, Brunner in view of Uchida and Hohn




                                                          FIG.1 of Uchida.
Claim 25
25. The light emitting device according to claim 1,       To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                          above in elements [1a] through [1k].

                                                           However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                           limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                           preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[25a] wherein all of the light emitting element chips FIG. 5, shown below, illustrates “wherein all of the light emitting element chips mounted on the first surface side
mounted on the first surface side of the board are aligned of the board are aligned along a single line.” Although not a plan view, a POSITA in light of this perspective
along a single line when viewed in plan view of the first would configure the light emitting element chips 6 such that they would be “aligned along a single line …[on] the
surface side of the board.                                 first surface side of the board.”




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                                                                             Exhibit B, p. 221
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 222 of 954 Page ID
                                                               #:17400



                   Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn




                                                            Uchida at FIG. 5.
Claim 26
26. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                            below in elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[26a] a board having end portions and a center portion FIG. 1, shown below, illustrates the “board” (board 5) of claim 1.
therebetween in a longitudinal direction, the board having
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                            FIG.1 of Uchida.
                                                                                     182


                                                                               Exhibit B, p. 222
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 223 of 954 Page ID
                                                               #:17401



                     Asserted Claims                                              Prior Art References, Brunner in view of Uchida and Hohn
[26b] a plurality of light emitting element chips mounted FIG. 1, shown below, illustrates the “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                   of the board.”




                                                            FIG.1 of Uchida.
[26c] a wavelength conversion member formed unitarily “With regard to shaping, the component advantageously dispenses with the formation of a depression and the use
with a transparent member that seals the plurality of light of two different materials and instead envisages the use of a single transparent molding material which is optionally
emitting element chips;                                     first mixed with the conversion material and then shaped, preferably injection molded, around the leadframe.”
                                                            Brunner at col. 4, lns. 41-46.

                                                            “Phosphor particles which consist of a phosphor by means of which at least partial wavelength conversion of the
                                                            light radiation emitted by the semiconductor LED 1 is brought about are embedded as conversion material 4 in
                                                            this plastics compression molding material 3. This wavelength conversion produces an emission spectrum which
                                                            gives the optical impression of multi-colored light or white light.” Brunner at col. 9, lns. 9-15.

                                                            FIG. 2, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                            that seals the plurality of light emitting element chips.”




                                                                                      183


                                                                              Exhibit B, p. 223
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 224 of 954 Page ID
                                                               #:17402



                   Asserted Claims                                                  Prior Art References, Brunner in view of Uchida and Hohn




                                                         Brunner at FIG. 2.
[26d] a transparent bulb that encloses the board and the FIG. 1, shown below, illustrates the “a transparent bulb that encloses the board and the plurality of light emitting
plurality of light emitting element chips;               element chips.”




                                                       FIG.1 of Uchida.
[26e] support leads that secure the plurality of light FIG. 1, shown below, illustrates the “support leads that secure the plurality of light emitting element chips inside
emitting element chips inside the transparent bulb;    the transparent bulb.”




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                                                                            Exhibit B, p. 224
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 225 of 954 Page ID
                                                               #:17403



                   Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn




                                                            FIG.1 of Uchida.

                                                          “In this case, the stays 4a and 4b only support the printed circuit board 5, and electrical contact between the stays
                                                          4a and 4b and the printed circuit board 5 is obtained by spot-welding the anchor wire 8a, which is connected to
                                                          the external lead wire 11a, to the stay 4a.” Uchida at col. 2, lns. 49-53.
[26f] a support base that can be threadedly engaged with FIG. 1, shown below, illustrates the “a support base that can be threadedly engaged with a conventional light bulb
a conventional light bulb socket along a socket axis; and socket along a socket axis.”




                                                            FIG.1 of Uchida.
[26g] a pair of metal plates protruding at both ends of the “In an embodiment of the production method according to the invention, after mounting and contacting of the
wavelength conversion member,                               semiconductor LED 1, a transparent plastics compression molding material 3 is injection-molded onto the

                                                                                     185


                                                                               Exhibit B, p. 225
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 226 of 954 Page ID
                                                               #:17404



                   Asserted Claims                                                  Prior Art References, Brunner in view of Uchida and Hohn
                                                            leadframe connections 11 and 12 in a suitable injection-molding apparatus.” Brunner at col. 8, lns. 57-61.

                                                            “Phosphor particles which consist of a phosphor by means of which at least partial wavelength conversion of the
                                                            light radiation emitted by the semiconductor LED 1 is brought about are embedded as conversion material 4 in
                                                            this plastics compression molding material 3. This wavelength conversion produces an emission spectrum which
                                                            gives the optical impression of multi-colored light or white light.” Brunner at col. 9, lns. 9-15.

                                                            FIGS. 1 and 2, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength conversion
                                                            member.”




                                                            Brunner at FIGS. 1 and 2.
[26h] wherein the wavelength conversion member is           A POSITA would combine the plurality of LEDs 6 and the board 5 of Uchida with the wavelength conversion
provided on the first surface side and the second surface   member 3, 4 of Brunner (FIG. 1 below) such that it would be “provided on the first surface side and the second
side, the wavelength conversion member is elongated in      surface side” as the POSITA would intend for white light to be emitted from each side of the bulb.
the longitudinal direction when viewed in plan view of
the first surface side of the board,                        Further, as the board 5 of Uchida is elongated in the longitudinal direction, so too would the wavelength
                                                            conversion member as it must cover the plurality of light emitting element chips 6.




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                                                                             Exhibit B, p. 226
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                                                               #:17405



                    Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn




                                                              Brunner at FIG. 1.
[26i] wherein a first set of the light emitting element chips FIG. 5, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Uchida at FIG. 5.
[26j] wherein a second set of the light emitting element FIG. 5, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




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                                                                              Exhibit B, p. 227
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 228 of 954 Page ID
                                                              #:17406



                   Asserted Claims                                                 Prior Art References, Brunner in view of Uchida and Hohn




                                                        Uchida at FIG. 5.
[26k] wherein the support leads extend from the support FIG. 1, shown below, illustrates “wherein the support leads extend from the support base towards the pair of metal
base towards the pair of metal plates.                  plates” as in combination the metal plates 11, 12 of Brunner (FIG. 1) would be coupled to the board 5 of Uchida
                                                        (FIG. 1) from which the support leads extend to the base 2.




                                                          Brunner at FIG. 1.




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                                                                           Exhibit B, p. 228
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 229 of 954 Page ID
                                                               #:17407



                   Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn




                                                            FIG.1 of Uchida.
Claim 27
27. A light emitting device comprising:                     To the extent the preamble is limiting, the preamble is taught by Brunner in view of Uchida and Hohn as explained
                                                            below in elements [1a] through [1k].

                                                               However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                               limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                               preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
[27a] a board having end portions and a center portion FIG. 1, shown below, illustrates the “board” (board 5) of claim 1.
therebetween in a longitudinal direction, the board having
a first surface on a first surface side thereof and a second
surface on a second surface side thereof, the second
surface being an opposite side to the first surface, the first
surface including a first region and a second region, the
first region extending from the center portion of the board
to one of the end portions, the second region extending
from the center portion of the board to the other of the
end portions;




                                                            FIG.1 of Uchida.
                                                                                     189


                                                                               Exhibit B, p. 229
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 230 of 954 Page ID
                                                               #:17408



                     Asserted Claims                                              Prior Art References, Brunner in view of Uchida and Hohn
[27b] a plurality of light emitting element chips mounted FIG. 1, shown below, illustrates the “a plurality of light emitting element chips mounted on the first surface side
on the first surface side of the board;                   of the board.”




                                                            FIG.1 of Uchida.
[27c] a wavelength conversion member formed unitarily “With regard to shaping, the component advantageously dispenses with the formation of a depression and the use
with a transparent member that seals the plurality of light of two different materials and instead envisages the use of a single transparent molding material which is optionally
emitting element chips;                                     first mixed with the conversion material and then shaped, preferably injection molded, around the leadframe.”
                                                            Brunner at col. 4, lns. 41-46.

                                                            “Phosphor particles which consist of a phosphor by means of which at least partial wavelength conversion of the
                                                            light radiation emitted by the semiconductor LED 1 is brought about are embedded as conversion material 4 in
                                                            this plastics compression molding material 3. This wavelength conversion produces an emission spectrum which
                                                            gives the optical impression of multi-colored light or white light.” Brunner at col. 9, lns. 9-15.

                                                            FIG. 2, shown below, illustrates “a wavelength conversion member formed unitarily with a transparent member
                                                            that seals the plurality of light emitting element chips.”




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                                                                              Exhibit B, p. 230
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 231 of 954 Page ID
                                                               #:17409



                   Asserted Claims                                                  Prior Art References, Brunner in view of Uchida and Hohn




                                                         Brunner at FIG. 2.
[27d] a transparent bulb that encloses the board and the FIG. 1, shown below, illustrates the “a transparent bulb that encloses the board and the plurality of light emitting
plurality of light emitting element chips;               element chips.”




                                                       FIG.1 of Uchida.
[27e] support leads that secure the plurality of light FIG. 1, shown below, illustrates the “support leads that secure the plurality of light emitting element chips inside
emitting element chips inside the transparent bulb;    the transparent bulb.”




                                                                                    191


                                                                            Exhibit B, p. 231
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 232 of 954 Page ID
                                                               #:17410



                   Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn




                                                            FIG.1 of Uchida.

                                                          “In this case, the stays 4a and 4b only support the printed circuit board 5, and electrical contact between the stays
                                                          4a and 4b and the printed circuit board 5 is obtained by spot-welding the anchor wire 8a, which is connected to
                                                          the external lead wire 11a, to the stay 4a.” Uchida at col. 2, lns. 49-53.
[27f] a support base that can be threadedly engaged with FIG. 1, shown below, illustrates the “a support base that can be threadedly engaged with a conventional light bulb
a conventional light bulb socket along a socket axis; and socket along a socket axis.”




                                                            FIG.1 of Uchida.
[27g] a pair of metal plates protruding at both ends of the “In an embodiment of the production method according to the invention, after mounting and contacting of the
wavelength conversion member,                               semiconductor LED 1, a transparent plastics compression molding material 3 is injection-molded onto the

                                                                                     192


                                                                               Exhibit B, p. 232
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 233 of 954 Page ID
                                                               #:17411



                   Asserted Claims                                                  Prior Art References, Brunner in view of Uchida and Hohn
                                                            leadframe connections 11 and 12 in a suitable injection-molding apparatus.” Brunner at col. 8, lns. 57-61.

                                                            “Phosphor particles which consist of a phosphor by means of which at least partial wavelength conversion of the
                                                            light radiation emitted by the semiconductor LED 1 is brought about are embedded as conversion material 4 in
                                                            this plastics compression molding material 3. This wavelength conversion produces an emission spectrum which
                                                            gives the optical impression of multi-colored light or white light.” Brunner at col. 9, lns. 9-15.

                                                            FIGS. 1 and 2, shown below, illustrate “a pair of metal plates protruding at both ends of the wavelength conversion
                                                            member.”




                                                            Brunner at FIGS. 1 and 2.
[27h] wherein the wavelength conversion member is           A POSITA would combine the plurality of LEDs 6 and the board 5 of Uchida with the wavelength conversion
provided on the first surface side and the second surface   member 3, 4 of Brunner (FIG. 1 below) such that it would be “provided on the first surface side and the second
side, the wavelength conversion member is elongated in      surface side” as the POSITA would intend for white light to be emitted from each side of the bulb.
the longitudinal direction when viewed in plan view of
the first surface side of the board,                        Further, as the board 5 of Uchida is elongated in the longitudinal direction, so too would the wavelength
                                                            conversion member as it must cover the plurality of light emitting element chips 6.




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                                                                             Exhibit B, p. 233
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                                                               #:17412



                    Asserted Claims                                                   Prior Art References, Brunner in view of Uchida and Hohn




                                                              Brunner at FIG. 1.
[27i] wherein a first set of the light emitting element chips FIG. 5, shown below, illustrates “wherein a first set of the light emitting element chips are mounted on the first
are mounted on the first region and arranged from the region and arranged from the center portion of the board to the one of the end portions.”
center portion of the board to the one of the end portions,




                                                         Uchida at FIG. 5.
[27j] wherein a second set of the light emitting element FIG. 5, shown below, illustrates “wherein a second set of the light emitting element chips are mounted on the
chips are mounted on the second region and arranged second region and arranged from the center portion of the board to the other one of the end portions.”
from the center portion of the board to the other one of
the end portions, and




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                                                                              Exhibit B, p. 234
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                                                              #:17413



                   Asserted Claims                                                Prior Art References, Brunner in view of Uchida and Hohn




                                                      Uchida at FIG. 5.
[27k] wherein one of the support leads is positioned A POSITA would understand that “one of the support leads is positioned between one of the metal plates and the
between one of the metal plates and the support base. support base” as the support leads 4a, 4b of Uchida would interconnect the support base 2 and the metal plates 11,
                                                      12 of Brunner.




                                                         FIG.1 of Uchida.




                                                                                  195


                                                                            Exhibit B, p. 235
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 1                          CERTIFICATE OF SERVICE
 2        I hereby certify that on the 24th day of August, 2020, I electronically served
 3   the foregoing document to the attorneys of record for Plaintiff NICHIA
 4   CORPORATION as follows:
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23
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25
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                                              26
                       Feit Electric’s Initial Invalidity Contentions

                                    Exhibit B, p. 236
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         EXHIBIT C




                               Exhibit C, p. 237
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                                  #:17416




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     Attorneys for Defendant
14   Feit Electric Company, Inc.
15
                          UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                             WESTERN DIVISION
18   NICHIA CORPORATION,                    CASE NO. 2:20-cv-00359-GW-E
19             Nichia,                      Honorable George Wu, Ctrm. 9D
20               v.                         Magistrate Charles F. Eick
21   FEIT ELECTRIC COMPANY, INC.,           DEFENDANT FEIT ELECTRIC
22                                          COMPANY, INC.’S FINAL
               Defendant.                   INVALIDITY CONTENTIONS
23
24                                          Complaint filed: January 13, 2020
                                            Fact Discovery Cut-off: August 20, 2021
25                                          Expert Disc. Cut-off: October 29, 2021
26                                          Pretrial Conference: January 13, 2022
                                            Jury Trial: January 25, 2022
27
28

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               FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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                                   Exhibit C, p. 238
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 1            FEIT ELECTRIC COMPANY INC.’S FINAL INVALIDITY
 2                                      CONTENTIONS
 3         Defendant Feit Electric Company, Inc. (“Feit Electric”) submits the
 4   following Final Invalidity Contentions to Plaintiff Nichia Corporation (“Nichia”)
 5   concerning the asserted claims of U.S. Patent No. 9,752,734 (the “’734 Patent”)
 6   pursuant to the Scheduling Order entered by the Court. (Dkt. Nos. 46 & 93).
 7         Feit Electric’s Final Invalidity Contentions amend its Initial Invalidity
 8   Contentions under S.P.R. 2.5. Specifically, Feit Electric’s amendments reflect the
 9   Court’s Markman order (Dkt. No. 90); Nichia’s positions in its Final Infringement
10   Contentions; recent discovery of material prior art that was not discovered, despite
11   diligent efforts, before service of its Initial Invalidity Contentions; and prior art that
12   was determined to be applicable based on claim construction or Nichia’s Final
13   Infringement Contentions. As such, good cause exists for Feit Electric to amend its
14   Initial Invalidity Contentions.
15         Nichia served its Final Infringement Contentions on March 26, 2021,
16   wherein Nichia asserts claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ’734
17   Patent (the “Asserted Claims”). Therefore, Feit Electric limits its invalidity
18   contentions to these Asserted Claims.
19         Feit Electric bases these invalidity contentions on the positions set forth in
20   Nichia’s pleadings, disclosures, filings, and arguments in this case; the information
21   in Feit Electric’s possession as of the date of these contentions; Nichia’s apparent
22   application of the this Court’s Markman order (Dkt. No. 90) as reflected in
23   Nichia’s Final Infringement Contentions; and this Court’s Markman order (Dkt.
24   No. 90) generally.1
25   1
      Feit Electric does not agree with numerous aspects of Nichia’s application of this
26   Court’s claim construction ruling. Feit Electric objects to such application and
     expressly reserves the right to rely upon proper application of the Court’s
27   constructions as this matter proceeds, including but not limited to, for purposes of
28   expert analysis, non-infringement and invalidity. For purposes of these

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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1                           PRELIMINARY STATEMENT
 2         Feit Electric reserves the right to supplement, amend, or otherwise modify
 3   these Final Invalidity Contentions as discovery proceeds, including based on
 4   information obtained through fact and expert discovery, including third party
 5   discovery, or upon further investigation. Feit Electric further reserves the right to
 6   supplement, amend, or otherwise modify these contentions in accordance with any
 7   modification to the Scheduling Order entered by this or another court; in response
 8   to Nichia’s Response to these Invalidity Contentions; or after any decision by this
 9   Court, the United States Court of Appeals for the Federal Circuit, or the United
10   States Patent and Trademark Office (including the Patent Trial and Appeal Board)
11   that bears on the construction or validity of the ’734 Patent. Feit Electric further
12   expressly reserves the right to amend or supplement these contentions in view of
13   any alleged evidence of secondary considerations of non-obviousness asserted by
14   Nichia.
15         Feit Electric therefore reserves the right to supplement, amend, or otherwise
16   modify these contentions in accordance with the Federal Rules of Civil Procedure,
17   the Local Rules of this Court, or any other applicable rules, by order of this Court,
18   or other governing law as appropriate. Also, these contentions are made pursuant
19   to Federal Rule of Evidence 502. To the extent these contentions contain any
20   information that may be protected from discovery under the attorney-client
21   privilege, the attorney work-product immunity, or any other applicable privilege or
22   immunity, such disclosure is inadvertent and does not, nor is it intended to,
23   constitute a waiver of any such privilege or immunity.
24         Further, by providing these contentions, Feit Electric does not waive any
25   right to introduce at trial any subsequently discovered evidence or expert opinions
26   related to currently-known facts and to produce and introduce at trial all evidence,
27   contentions, Feit Electric relies on Nichia’s application as set forth in Nichia’s
28   Final Infringement Contentions.

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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1   whenever discovered, relating to the proof of subsequently-discovered facts. Feit
 2   Electric reserves the right to refer to, conduct discovery with reference to, or offer
 3   into evidence at the time of trial, any and all facts, expert opinion testimony,
 4   documents and things notwithstanding the written statements in these contentions.
 5   Feit Electric further reserves its right to refer to, conduct discovery with reference
 6   to, or offer into evidence at the time of trial, any and all facts, documents and
 7   things that are not currently recalled but might be recalled at some time in the
 8   future. Feit Electric may also rely on documents, testimony, and things produced in
 9   the course of fact and expert discovery, including those which have not yet been
10   produced by Nichia, which do not yet exist, or which Feit Electric has not yet
11   identified or appreciated the significance of in the context of this litigation.
12         Feit Electric hereby incorporates by reference into its contentions any
13   rejections made by the United States Patent and Trademark Office (“PTO”) during
14   the prosecution of the applications leading to the ’734 Patent and any related patent
15   application to the ’734 Patent as well as any admissions made by any applicant
16   during the prosecution of the applications leading to the ’734 Patent and any
17   related patent application to the ’734 Patent. Feit Electric reserves the right to
18   assert any art cited in the prosecution histories of the ’734 Patent and/or their
19   related applications as a basis for contending that the Asserted Claims are invalid.
20   Feit Electric further identifies as prior art upon which it may rely those references
21   identified in Information Disclosure Statements during the respective prosecution
22   of the ’734 Patent and/or related patent applications to the ’734 Patent.
23         Feit Electric also intends to rely on any deposition testimony of the named
24   inventors on the’734 Patent and/or related applications and related patents to the
25   ’734 Patent; evidence and testimony relating to the level of skill in the art; and the
26   papers filed and any evidence submitted by Nichia in connection with this matter.
27         Any statement herein describing or tending to describe any claim limitation
28   is solely for the purpose of attempting to understand and apply prior art to the ’734

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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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                                       Exhibit C, p. 241
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 1   Patent. By addressing any term of the Asserted Claims, Feit Electric does not
 2   concede that such terms are definite or otherwise comply with 35 U.S.C. § 112.
 3   Feit Electric expressly reserves the right to propose any claim construction
 4   application or contest any claim construction application it considers inappropriate
 5   and will not be limited by any position arguably set forth in Nichia’s Infringement
 6   Contentions or these invalidity contentions. Where multiple interpretations of a
 7   claim construction reasonably exist or where Nichia’s implied meanings or
 8   definitions differ from what one of ordinary skill in the art would understand, Feit
 9   Electric might identify disclosures by certain references in the alternative. Any
10   alternatives should not be considered inappropriate merely because Nichia may
11   believe that they are inconsistent with one another.
12         Feit Electric’s inclusion of prior art that would anticipate or render obvious
13   the foregoing Asserted Claims does not serve as an admission that any particular
14   claim construction is properly applied or correct; no inference is intended nor
15   should any be drawn that Feit Electric agrees with or take any position with respect
16   to Nichia’s application of claim construction. Rather, Feit Electric expressly
17   reserves the right to contest such application. Further, no inference is intended nor
18   should any be drawn that the claim limitations satisfy 35 U.S.C. § 112, and Feit
19   Electric reserves the right to contend otherwise. Moreover, nothing in these Final
20   Invalidity Contentions concerning the failure of the Asserted Patents to satisfy 35
21   U.S.C. § 112 should be interpreted as an admission that the prior art fails to enable
22   or disclose any element in the claimed inventions of the Asserted Patents.
23         These contentions, including the claim charts attached hereto as Exhibits A-
24   H, identify where specifically in each item of prior art each limitation of the
25   Asserted Claims is found. The citations to references are representative and
26   exemplary of the disclosures and teachings of the listed references. Additional
27   support for Feit Electric’s contentions may be found elsewhere in the cited
28   references. Feit Electric’s inclusion of certain citations or teachings serves as an

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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1   illustration and Feit Electric reserves the right to rely on the entirety of the
 2   references, including non-cited portions, cited in Exhibits A-H.
 3         Exhibits A-H cite to exemplary teachings and disclosures of the prior art.
 4   However, persons having ordinary skill in the art (“POSITA”) view the patent with
 5   an understanding of the technology and prior art as a whole, including general
 6   understandings of LED technology and filament systems, other prior art,
 7   publications, literature, products, and similar understandings in the relevant art. As
 8   such, Feit Electric further incorporates the general knowledge of a POSITA, expert
 9   testimony, and other evidence as aids in understanding and interpreting the cited
10   portions, as providing context thereto, and as additional evidence that the prior art
11   discloses a claim limitation or any of the Asserted Claims as a whole. Feit Electric
12   further reserves the right to rely on uncited portions of the prior art references,
13   other publications, and testimony, including expert testimony, to establish bases for
14   combinations of certain cited references that render the Asserted Claims obvious.
15         Similarly, prior art not included in this disclosure, whether known or not
16   known to Feit Electric, may become relevant. The absence of a particular reference
17   in a claim chart for a particular feature is not a waiver or admission by Feit
18   Electric. Feit Electric also reserves the right to rely on any of these references,
19   including on the basis of modifications and combinations of certain cited
20   references. Feit Electric further reserves the right to rely on any combination of the
21   references cited in Exhibits A-H, even if not explicitly set forth therein. Also, in
22   particular, Feit Electric is currently unaware of the extent, if any, to which Nichia
23   will contend that limitations of the asserted claims are not disclosed in the prior art
24   identified by Feit Electric. To the extent that such an issue arises, Feit Electric
25   reserves the right to identify such limitations in the cited references or in other
26   references that would disclose or render obvious the allegedly missing limitations
27   of the claims.
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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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                                      Exhibit C, p. 243
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 1         The references discussed in the attached claim charts may disclose the
 2   elements of the asserted claims explicitly, inherently, or they may be relied upon to
 3   show the state of the art in the relevant time frame. The suggested obviousness
 4   combinations are provided in addition to or in the alternative to Feit Electric’s
 5   anticipation contentions and are not to be construed to suggest that any reference
 6   included in the combinations is not by itself anticipatory.
 7         The following discussion and Exhibits A-H provide exemplary prior art
 8   citations and obviousness positions. It will be understood that the citations and
 9   discussion in the claim charts are organized by claim (and limitation) for
10   convenience, but each limitation or claim section applies to the larger context of
11   each claim, to any related dependent or independent claims, as well as all claims
12   containing similar limitations or elements. For example, citations as to any recited
13   limitation, step, or component in the claims apply wherever each such limitation,
14   step, or component is repeated elsewhere in the claim or patent.
15         Where Feit Electric cites to a particular drawing or figure in the attached
16   claim charts, the citation encompasses the description of the drawing or figure, as
17   well as any text associated with the drawing or figure. Similarly, where Feit
18   Electric cites to particular text concerning a drawing or figure, the citation
19   encompasses that drawing or figure as well.
20         Relatedly, it is often the case that certain portions of patent or other prior art
21   disclosures build upon other disclosures—even if they are referred to as a separate
22   or alternative embodiment. Thus, Feit Electric’s citations to structures or functions
23   incorporate by references all disclosures to related structures or functions,
24   including any additional detail provided as to the operation or design of those
25   structures or functions.
26         Feit Electric also reserves its rights to challenge any of the claim terms
27   herein under 35 U.S.C. § 112, including by arguing that they are indefinite, not
28   supported by the written description, or not enabled. Nothing stated herein shall be

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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1   construed as a waiver of any argument available under 35 U.S.C. §§ 101, 102, 103,
 2   and/or 112.
 3         Certain invalidity defenses, including, for example, knowledge or use by
 4   others under § 102(a), public use or on-sale bar under § 102(b), prior art under §
 5   102(e), derivation or prior inventorship under §§ 102(f)/(g), inequitable conduct,
 6   and estoppel, may only become apparent as additional discovery or other
 7   information becomes available. See, e.g., In re Clark, 522 F.2d 623, 626 (C.C.P.A.
 8   1975). For example, Feit Electric continues to investigate technology developed,
 9   deployed, advertised, and publicized by Nichia and others in the industry, as well
10   as others that may arise from Feit Electric’s ongoing investigative efforts. Feit
11   Electric also reserves its rights to challenge the patentability of any of the Asserted
12   Claims under 35 U.S.C. § 101. Feit Electric adopts and incorporates by reference
13   herein any and all additional materials regarding invalidity that should have been
14   produced to Feit Electric by Nichia but have not been produced to date, to the
15   extent that any exist.
16         Feit Electric’s invalidity positions in these contentions may be in the
17   alternative and do not constitute any concession or admission by Feit Electric for
18   purposes of invalidity, enforceability, claim construction, or infringement. See,
19   e.g., Vanmoor v. Wal-Mart Stores, Inc., 201 F.3d 1363, 1366 (Fed. Cir. 2000). For
20   example, Feit Electric’s Section 112 arguments may be in the alternative to Feit
21   Electric’s obviousness arguments and should not be viewed, in any way, to be
22   concessions about the prior art or knowledge of one of ordinary skill in the art.
23         Feit Electric reserves the right to prove the invalidity of the Asserted Claims
24   on bases other than those required to be disclosed in these disclosures and
25   contentions.
26                            INVALIDITY CONTENTIONS
27         As discussed in detail herein, Feit Electric contends that the relevant prior art
28   standing alone or in combination, along with the knowledge and understanding of a

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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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                                      Exhibit C, p. 245
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 1   person of ordinary skill in the art (“POSITA”), renders the Asserted Claims of the
 2   ’734 Patent invalid at least under 35 U.S.C. § 102 as anticipated, 35 U.S.C. § 103
 3   as obvious, and 35 U.S.C. § 112 for indefiniteness, lack of enablement, and/or lack
 4   of written description. Feit Electric expressly reserves its rights to develop and
 5   make other arguments and assert any defenses relating to invalidity of any of the
 6   Asserted Claims of the ’734 Patent.
 7           Feit Electric further incorporates by reference herein, as if fully set forth in
 8   these contentions, any or all invalidity positions set forth by any other party in any
 9   other action or dispute involving patents relating to the ’734 Patent, including but
10   not limited to those set forth in Nichia Corporation v. Global Value Lighting, LLC,
11   Case No. 1-19-cv-01388 (D. Del. 2019). Feit Electric specifically reserves the right
12   to rely upon such other positions, but only if, and to the extent, Feit Electric deems
13   appropriate.
14   I.      IDENTIFICATION OF PRIOR ART
15           Feit Electric identifies the following prior art references and relies on at least
16   these references in support of its invalidity contentions based on 35 U.S.C. § 102
17   and 35 U.S.C. § 103.
18                        Prior Art Patents and Patent Publications
19        Abbreviation         Number        Country      Priority      Filing Issue/Pub.
                                                           Date          Date     Date
20
             Mano           2004/0239242        U.S.      Dec. 26,     Dec. 3,   Dec. 2,
21                                                         2002          2003     2004
22          Shibata         2004/0008525        U.S.        N/A         Jul. 9,  Jan. 15,
                                                                         2002     2004
23          Shibata         2004/0007980        U.S.        N/A         Jul. 9,  Jan. 15,
24                                                                       2002     2004
            Ishibashi       2003/0031015        U.S.      Aug. 13,     May 16, Feb. 13,
25                                                          2001         2002     2003
26        Suehiro ‘897        7,875,897         U.S.       Sep. 9,     Sept. 8,  Jan. 25,
                                                            2004         2005     2011
27        Suehiro ‘797      2004/0257797        U.S.      Jun. 18,     Jun. 17, Dec. 23,
28                                                          2003         2004     2004

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                 FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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                                        Exhibit C, p. 246
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 1     Abbreviation          Number        Country      Priority       Filing Issue/Pub.
                                                         Date          Date       Date
 2
           Scianna          6,568,834         U.S.      Mar. 4,       Dec. 1,  May 27,
 3                                                       1999          2000       2003
 4           Ray            4,211,955         U.S.       N/A          Mar. 2,    Jul. 8,
                                                                       1978       1980
 5        Okamoto          2000277808          JP           N/A       Mar. 23,  Oct. 6,
 6                                                                     1999       2000
           Shimizu          5,998,925         U.S.         Jul. 29,   Jul. 29,  Dec. 7,
 7                                                          1996       1997       1999
 8         Minato          2001126515          JP           N/A       Oct. 22,  Jun. 4,
                                                                       1999       2001
 9          Maxik           7,086,756         U.S.          N/A       Aug. 9,   Aug. 8,
10                                                                     2004       2006
            Hohn            6,066,861         U.S.      Sept. 22,     May 20, May 23,
11                                                        1997         1998       2000
12         Debray            1116419          EP         Jul. 23,     Jul. 24,  Oct. 6,
                                                          1999         2000       2004
13       Takashima          7,723,740         U.S.      Sept. 18,      Sept.   May 25,
14                                                        2003          16,       2010
                                                                       2004
15
           In addition to the references enumerated above, Feit Electric reserves the
16
     right to rely upon additional references or prior art discovered as discovery
17
     progresses; to explain scientific background; to show the state of the art or what
18
     was inherent in the prior art or the level of ordinary skill in the relevant art as of
19
     the priority date or the alleged date of invention; in accordance with the rulings of
20
     the Court; by agreement of the parties; in response to any contention by Nichia that
21
     the prior art does not teach what Feit Electric purposes it to teach, or for other good
22
     cause shown.
23
           In addition to the above references, Feit Electric will rely on all prior art
24
     cited in the prosecution history of the ‘734 Patent or related applications as a basis
25
     for contending that the ‘734 Patent is invalid, cited in related patents and/or patent
26
     applications, and incorporates such prior art by reference herein. Feit Electric
27
     further identifies as prior art upon which it will rely all statements in the
28

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                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1   specification and file history of the ‘734 Patent, for instance but not limited to art
 2   disclosed in an Information Disclosure Statement, identified by the examiner, or
 3   otherwise disclosed to the Patent Office during prosecution. Feit Electric also
 4   incorporates by reference the other patents and publications cited on the face of the
 5   ‘734 Patent.
 6         Claim charts are provided in Exhibits A-H that identify specific
 7   combinations of prior art and where each limitation of the Asserted Claims is
 8
     taught or disclosed in the prior art and/or why a limitation is obvious over a prior
 9
     art reference. Combinations of charted references will be identified in greater detail
10
     below.
11
12                    Anticipatory References under 35 U.S.C. § 102
13                        Asserted Claims              References
                       1, 3, 4, 6, 7, 11-15, 17- Mano
14                     22, 24, 25, and 27        Ishibashi
15                                               Scianna
                                                 Ray
16                                               Okamoto
17                                               Minato
                                                 Maxik
18
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                                       11
                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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                                      Exhibit C, p. 248
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 1                 Obviousness References under 35 U.S.C. § 103
 2          Asserted                      References
            Claims
 3
               1      Shibata ‘525 in view of Shibata ‘980
 4                    Ishibashi in view of one of Suehiro ‘897 and
 5                     Suehiro ‘797
                      Scianna in view of one of Suehiro ’897 and Suehiro
 6                     ’797
 7                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797
 8                    Okamoto in view of Shimizu
 9                    Maxik in view of one of Suehiro ’897 and Suehiro
                       ’797
10
               3      Shibata ’525 in view of Shibata ’980
11             4      Shibata ’525 in view of Shibata ’980
12                    Ishibashi in view of one of Suehiro ’897 and
                       Suehiro ’797
13                    Scianna in view of one of Suehiro ’897 and Suehiro
14                     ’797
                      Ray in view of one of Suehiro ’897 and Suehiro
15                     ’797
16                    Okamoto in view of Shimizu
                      Maxik in view of one of Suehiro ’897 and Suehiro
17
                       ’797
18             6      Mano in view of one of Hohn, Takashima, and
19                     Debray
                      Shibata ’525 in view of Shibata ’980
20                    Ishibashi in view of one of Suehiro ’897 and
21                     Suehiro ’797
                      Scianna in view of one of Suehiro ’897 and Suehiro
22                     ’797
23                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797
24
                      Okamoto in view of Shimizu
25                    Maxik in view of one of Suehiro ’897 and Suehiro
26                     ’797

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                                     12
              FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1          Asserted                      References
            Claims
 2
               7      Mano in view of one of Hohn, Takashima, and
 3                     Debray
 4                    Shibata ’525 in view of Shibata ’980
                      Ishibashi in view of one of Suehiro ’897 and
 5                     Suehiro ’797
 6                    Scianna in view of one of Suehiro ’897 and Suehiro
                       ’797
 7                    Ray in view of one of Suehiro ’897 and Suehiro
 8                     ’797
                      Okamoto in view of Shimizu
 9
                      Maxik in view of one of Suehiro ’897 and Suehiro
10                     ’797
11             11     Mano in view of one of Hohn, Takashima, and
                       Debray
12                    Shibata ’525 in view of Shibata ’980 and one of
13                     Hohn, Takashima, and Debray
                      Ishibashi in view of one of Suehiro ’897 and
14                     Suehiro ’797 and one of Hohn, Takashima, and
15                     Debray
                      Scianna in view of one of Suehiro ’897 and Suehiro
16                     ’797 and one of Hohn, Takashima, and Debray
17                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797 and one of Hohn, Takashima, and Debray
18
                      Okamoto in view of Shimizu
19                    Maxik in view of one of Suehiro ’897 and Suehiro
20                     ’797 and one of Hohn, Takashima, and Debray
               12     Shibata ’525 in view of Shibata ’980
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              FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1          Asserted                      References
            Claims
 2
               13     Mano in view of one of Hohn, Takashima, and
 3                     Debray
 4                    Shibata ’525 in view of Shibata ’980 and one of
                       Hohn, Takashima, and Debray
 5                    Ishibashi in view of one of Suehiro ’897 and
 6                     Suehiro ’797
                      Scianna in view of one of Suehiro ’897 and Suehiro
 7                     ’797
 8                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797
 9
                      Okamoto in view of Shimizu
10                    Maxik in view of one of Suehiro ’897 and Suehiro
11                     ’797
               14     Shibata ’525 in view of Shibata ’980 and one of
12                     Hohn, Takashima, and Debray
13                    Ishibashi in view of one of Suehiro ’897 and
                       Suehiro ’797 and one of Hohn, Takashima, and
14                     Debray
15                    Scianna in view of one of Suehiro ’897 and Suehiro
                       ’797 and one of Hohn, Takashima, and Debray
16                    Ray in view of one of Suehiro ’897 and Suehiro
17                     ’797 and one of Hohn, Takashima, and Debray
                      Okamoto in view of Shimizu
18
                      Maxik in view of one of Suehiro ’897 and Suehiro
19                     ’797 and one of Hohn, Takashima, and Debray
20             15     Shibata ’525 in view of Shibata ’980
                      Ishibashi in view of one of Suehiro ’897 and
21                     Suehiro ’797
22                    Scianna in view of one of Suehiro ’897 and Suehiro
                       ’797
23                    Ray in view of one of Suehiro ’897 and Suehiro
24                     ’797
                      Maxik in view of one of Suehiro ’897 and Suehiro
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                       ’797
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              FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1          Asserted                      References
            Claims
 2
               17     Shibata ’525 in view of Shibata ’980
 3                    Ishibashi in view of one of Suehiro ’897 and
 4                     Suehiro ’797
                      Scianna in view of one of Suehiro ’897 and Suehiro
 5                     ’797
 6                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797
 7                    Maxik in view of one of Suehiro ’897 and Suehiro
 8                     ’797
               18     Shibata ’525 in view of Shibata ’980
 9
                      Ishibashi in view of one of Suehiro ’897 and
10                     Suehiro ’797
11                    Scianna in view of one of Suehiro ’897 and Suehiro
                       ’797
12                    Ray in view of one of Suehiro ’897 and Suehiro
13                     ’797
                      Okamoto in view of Shimizu
14                    Maxik in view of one of Suehiro ’897 and Suehiro
15                     ’797
               19     Shibata ’525 in view of Shibata ’980
16
                      Scianna in view of one of Suehiro ’897 and Suehiro
17                     ’797
18                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797
19             20     Shibata ’525 in view of Shibata ’980
20                    Ishibashi in view of one of Suehiro ’897 and
                       Suehiro ’797
21                    Scianna in view of one of Suehiro ’897 and Suehiro
22                     ’797
                      Ray in view of one of Suehiro ’897 and Suehiro
23
                       ’797
24                    Maxik in view of one of Suehiro ’897 and Suehiro
                       ’797
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              FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1          Asserted                      References
            Claims
 2
               21     Shibata ’525 in view of Shibata ’980
 3                    Ishibashi in view of one of Suehiro ’897 and
 4                     Suehiro ’797
                      Scianna in view of one of Suehiro ’897 and Suehiro
 5                     ’797
 6                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797
 7                    Maxik in view of one of Suehiro ’897 and Suehiro
 8                     ’797
               22     Shibata ’525 in view of Shibata ’980
 9
                      Ishibashi in view of one of Suehiro ’897 and
10                     Suehiro ’797
11                    Scianna in view of one of Suehiro ’897 and Suehiro
                       ’797
12                    Ray in view of one of Suehiro ’897 and Suehiro
13                     ’797
                      Maxik in view of one of Suehiro ’897 and Suehiro
14                     ’797
15             24     Shibata ’525 in view of Shibata ’980
                      Ishibashi in view of one of Suehiro ’897 and
16
                       Suehiro ’797
17                    Scianna in view of one of Suehiro ’897 and Suehiro
18                     ’797
                      Ray in view of one of Suehiro ’897 and Suehiro
19                     ’797
20                    Okamoto in view of Shimizu
                      Maxik in view of one of Suehiro ’897 and Suehiro
21                     ’797
22             25     Shibata ’525 in view of Shibata ’980
                      Scianna in view of one of Suehiro ’897 and Suehiro
23
                       ’797
24                    Ray in view of one of Suehiro ’897 and Suehiro
                       ’797
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              FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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                                 Exhibit C, p. 253
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 1             Asserted                      References
               Claims
 2
                  27     Shibata ’525 in view of Shibata ’980
 3                       Ishibashi in view of one of Suehiro ’897 and
 4                        Suehiro ’797
                         Scianna in view of one of Suehiro ’897 and Suehiro
 5                        ’797
 6                       Ray in view of one of Suehiro ’897 and Suehiro
                          ’797
 7                       Okamoto in view of Shimizu
 8                       Maxik in view of one of Suehiro ’897 and Suehiro
                          ’797
 9
                                      *     *     *
10
           Feit Electric reserves its rights to rely on any combinations of the above
11
     prior art in its obviousness defenses for the ’734 Patent, including to illustrate the
12
     background knowledge of a skilled artisan, to demonstrate the motivation to
13
     combine prior art references, and to rebut any evidence of validity raised by
14
     Nichia.
15
     II.   PERSON OF ORDINARY SKILL IN THE ART UNDER 35 U.S.C. §
16         103
17         For a claimed invention to be found obvious, it must have been obvious to a
18   POSITA at the time the invention was made. In re Mayne, 104 F.3d 1339, 1341
19   (Fed. Cir. 1997). A POSITA is “a hypothetical person who is presumed to be
20   aware of all the pertinent prior art.” Custom Accessories, Inc. v. Jeffrey-Allan
21   Indus. Inc., 807 F.2d 955, 962 (Fed. Cir. 1986). A POSITA is also presumed to
22   possess the common sense and creativity of a real person. KSR Int’l Co. v. Teleflex
23   Inc., 550 U.S. 398, 421 (2007) (“A person of ordinary skill is also a person of
24   ordinary creativity, not an automaton.”).
25         A POSITA in the context of the ’734 Patent would generally possess at least
26   a bachelor’s degree in electrical engineering, applied physics, materials science, or
27   a related field, and, at least five years of practical experience designing and/or
28   developing LED packages for general lighting applications.

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 1   III.   U.S. PATENT NO. 9,752,734
 2          A.    Background
 3          The ’734 Patent, entitled “LIGHT EMITTING DEVICE,” issued on
 4   September 5, 2017 to inventors Yuichiro Tanda and Toshio Matsushita. The ’734
 5   Patent issued from U.S. Application No. 15/231,735, filed on August 8, 2016. The
 6   ’734 Patent is a continuation application of U.S. Application No. 13/831,797, filed
 7   on March 15, 2013; which is a continuation of U.S. Application No. 13/672,713,
 8   filed on November 9, 2012; and which is a continuation of U.S. Application No.
 9   11/639,062, filed on December 14, 2006 (“Parent Application”). The ’734 Patent
10   also claims foreign priority to Japanese Patent Application No. 2005-364127
11   (“Japanese Application”), filed on December 16, 2005. The named assignee on the
12   face of the ’734 Patent is Nichia Corporation. The ’734 Patent issued with 27
13   claims. As noted above, Nichia is asserting claims 1, 3, 4, 6, 7, 11-15, 17-22, 24,
14   25, and 27 of the ’734 Patent.
15          B.    Priority Claims to Japanese Patent Application No. 2005-364127
                  and Parent Application
16
            Feit Electric disputes that the ’734 Patent is entitled to a December 16, 2005
17
     priority date based on its priority claim to the Japanese Application. Specifically,
18
     certain limitations of the Asserted Claims, such as “a first set of the light emitting
19
     element chips” and “a second set of the light emitting element chips,” do not find
20
     support in the Japanese Application. Accordingly, Feit Electric identifies the
21
     following prior art references, applicable under a priority date of no earlier than
22
     December 14, 2006. Should the Court agree to a priority date of no earlier than
23
     December 14, 2006, Feit Electric will supplement its claim charts to provide
24
     corresponding disclosures and teachings as to these prior art references, and/or
25
     additional references as they are discovered, either alone or in combination.
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 1                                    Prior Art Patents
 2    Abbrev. Number Country Filing Date Priority Date                       Issue Date
      Fellows 8,860,051 U.S. Nov. 15, 2007 Nov. 15, 2006                    Oct. 14, 2014
 3
       Shozo  4733535    JP  Feb. 24, 2006 Feb. 24, 2006                    Jul. 27, 2011
 4
 5          Feit Electric also disputes that the ’734 Patent is entitled to a December 14,

 6   2006 priority date based on the Parent Application. Similar to the Japanese

 7   Application, limitations of the Asserted Claims, such as “a first set of the light

 8   emitting element chips” and “a second set of the light emitting element chips,” do

 9   not find support in the Parent Application. As a result, Feit Electric asserts that the

10   priority date of the ’734 Patent is its filing date of August 8, 2016. Should the

11   Court agree to a priority date of no earlier than August 8, 2016, Feit Electric

12   reserves its right to supplement its claim charts with corresponding disclosures and

13   teachings to prior art references, and/or additional references, either alone or in

14   combination, on the basis of this priority date.

15          Feit Electric reserves the right to (i) challenge the ’734 Patent’s entitlement

16   to priority to any of the prior applications under any other grounds; (ii) challenge

17   any alleged date of conception or reduction to practice; and (iii) identify additional

18   prior art thereto.

19          C.     Prior Art Invalidity under 35 U.S.C. § 103

20          As discussed in detail in Exhibits A-H, the Asserted Claims are invalid for

21   obviousness in view of the cited prior art under 35 U.S.C. § 103.

22          To the extent that any limitation recited by the Asserted Claims is not

23   explicit or inherent in the references identified above, and/or would not have been

24   understood to have been disclosed in such reference by a POSITA at the time of

25   the alleged invention claimed, it would have been obvious to a POSITA in view of

26   the state of the art at the time to supply such missing limitation from his/her own

27   knowledge, the state of the art, and/or one or more other references. A POSITA

28   would have been taught, suggested, or motivated to combine these references for

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 1   any number of reasons. As just a few examples of such reasons, and without
 2   prejudice to others that Feit Electric expects to be the subject of expert testimony
 3   in this case, “[a] light emitting device” in various configurations was already well
 4   known. See ’734 Patent at col. 15, lns. 11 and 22. Accordingly, one of skill in the
 5   art would also use their ordinary creativity and awareness of the totality of the art,
 6   drawing appropriate inferences and employing the creative steps appropriate for a
 7   POSITA. See KSR Int’l Co., 550 U.S. at 418. To the extent any such teaching,
 8   suggestion, or motivation were necessary, a POSITA would derive such from “any
 9   number of sources, including common knowledge, the prior art as a whole, or the
10   nature of the problem itself.” Dystar Textilfarben GmbH v. C.H. Patrick Co., 464
11   F.3d 1356, 1361 (Fed. Cir. 2006); see also Cable Elec. Prods. Inc. v. Glenmark,
12   Inc., 770 F.2d 1015, 1025 (Fed. Cir. 1985); In re Beattie, 974 F.2d 1309, 1311–12
13   (Fed. Cir. 1992). Moreover, “the [TSM] analysis need not seek out precise
14   teachings directed to the specific subject matter of the challenged claim, for a court
15   can take account of the inferences and creative steps that a person of ordinary skill
16   in the art would employ.” KSR Int’l Co., 550 U.S. at 418.
17         Here, all of the references relate to “[a] light emitting device” and are no less
18   than analogous art, such that they are in areas within which a POSITA seeking to
19   solve the same problem would be inclined to research for a solution. Specifically, a
20   POSITA would seek to construct “[a] light emitting device” similar to those
21   references discussed herein. In addition, it would further have been obvious to a
22   POSITA to supply any missing elements from any of the foregoing references with
23   that element as disclosed in one or more of the other foregoing references.
24         D.     Secondary Considerations of Non-obviousness
25         Feit Electric contends that no secondary considerations weigh in favor of
26   non-obviousness with respect to the Asserted Claims of the ’734 Patent. Feit
27   Electric notes that secondary considerations do not form a part of the prima facie
28   case of obviousness. Rather, a patentee may try to rebut a prima facie case of

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 1   obviousness by coming forth with purported evidence of secondary considerations.
 2   Feit Electric therefore has no burden at this stage to address any secondary
 3   considerations, or to come forward with any evidence rebutting such evidence.
 4   Accordingly, it is Nichia’s obligation and burden to produce evidence of so-called
 5   secondary considerations, if any, on which it intends to rely.
 6         Feit Electric is presently unaware of, and Nichia has not yet alleged, any
 7   secondary considerations that are relevant to the ’734 Patent. Notably, however,
 8   there is no evidence of unexpected results, commercial success, long-felt but
 9   unsolved needs, failure of others, skepticism of experts, and copying by
10   competitors. To the contrary, Nichia admits that all of the components of the
11   claims existed in the prior art and the limited purported innovation rests in their
12   configuration. Moreover, the record and prior art reflects such configurations
13   existed and, to the extent they did not, were obvious such that the ’734 patent was
14   obvious. Feit Electric expects that additional discovery directed to alleged
15   secondary considerations will take place in accordance with the case schedule, and
16   that the evidence will rebut any alleged or claimed secondary considerations in
17   full. As such, Feit Electric reserves the right to supplement these contentions and to
18   rebut any claim of secondary considerations of non-obviousness raised by Nichia,
19   if any, as discovery proceeds in this case.
20   IV.   LACK OF ENABLEMENT UNDER 35 U.S.C. § 112
21         The Asserted Claims are invalid under 35 U.S.C. § 112 for failing to
22   properly enable one of skill in the art to practice the claimed invention.
23   Specifically, the specification does not provide to one of skill in the art adequate
24   detail to form a corresponding light emitting device with the claimed limitations.
25   For instance, there is no discussion of how to create a board with the corresponding
26   features identified in the claims. Similarly, the specification lacks specifics as to
27   the underlying electrical connections and structure required to incorporate the
28   various components such as light emitting chips, leads and metal plates. Further,

                                       21
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 1   the specification lacks discussion of how a POSITA creates or accomplishes a
 2   wavelength conversion member or, alternatively, a wavelength conversion member
 3   formed unitarily with a transparent member. There is no specificity as to how
 4   wavelength is converted to a particularly desired wavelength for the former, or
 5   how a POSITA is to balance light conversion and transmission with respect to the
 6   latter. Similarly, there is no teaching as to how to apply or create a wavelength
 7   conversion member formed unitarily with a transparent member such that it seals
 8   the plurality of light emitting element chips. To make such determinations, a
 9   POSITA would be required to practice the alleged invention with undue
10   experimentation. This establishes a lack of enablement.
11   V.    LACK OF WRITTEN DESCRIPTION UNDER 35 U.S.C. § 112
12         The Asserted Claims are invalid under 35 U.S.C. § 112 for failing to provide
13   an adequate written description. The disclosure, including the drawings, fails to
14   provide a clear depiction of the alleged invention in detailed drawings.
15   Specifically, conspicuously absent from the drawings are any identifications of the
16   “end portions,” “a center portion,” “a first region,” and “a second region.”
17   Additionally, the drawings are missing any identifications of the “sets.” This is
18   particularly true in light of Nichia’s assertion that sets may encompass series
19   connected LEDs as the patent does not disclose any such arrangement, let alone the
20   identification of portions or sets using series connectivity. This is sufficient to
21   establish that the patentee was not in possession of the alleged invention at the time
22   of filing, and thus the ’734 Patent is invalid for lack of written description.
23   VI.   INDEFINITENESS UNDER 35 U.S.C. § 112
24         Feit Electric lists below the grounds upon which the Asserted Claims are
25   invalid based on indefiniteness under 35 U.S.C. § 112 ¶ 2. Feit Electric’s analysis
26   under Section 112 is based on the apparent application of claim constructions and
27   claim scope employed by Nichia in its Final Infringement Contentions, which
28   remain vaguely defined. These contentions accordingly do not reflect any positions

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 1   of Feit Electric with respect to application of the Court’s claim constructions and
 2   should not be construed as an admission of, or acquiescence to, any aspect of
 3   Nichia’s apparent application of the claim language or any other position advanced
 4   by Nichia during the course of this litigation.
 5                1.     Asserted Claims 1 and 27
 6                       a.    “[E]nd portions and a center portion therebetween in
 7                             a longitudinal direction.”
 8         Asserted Claims 1 and 27 of the ’734 Patent recite “[a board having] end
 9   portions and a center portion therebetween in a longitudinal direction.” This
10   limitation is indefinite under 35 U.S.C. § 112 at least because the term “end
11   portions and a center portion therebetween in a longitudinal direction” when read
12   in light of the claims, patent specification, and file history, fails to inform a
13   POSITA about the scope of the alleged invention of Asserted Claims 1 and 27.
14   Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124 (2014).
15         A POSITA would not be able to ascertain the scope of the alleged invention
16   with reasonable certainty as it relates to “end portions and a center portion
17   therebetween in a longitudinal direction” as this term is not sufficiently definite.
18   Halliburton Energy Services, Inc. v. M-I LLC, 514 F.3d 1244, 1249 (Fed. Cir.
19   2008) (“Because claims delineate the patentee’s right to exclude, the patent statute
20   requires that the scope of the claims be sufficiently definite to inform the public of
21   the bounds of the protected invention, i.e., what subject matter is covered by the
22   exclusive rights of the patent. Otherwise, competitors cannot avoid infringement,
23   defeating the public notice function of patent claims.”). The claim term “end
24   portions and a center portion therebetween in a longitudinal direction” is equivocal
25   even in the context of the claims as a whole, and thus, the claims do not apprise a
26   POSITA of their scope.
27         The disclosure in the patent specification is also inadequate and fails to
28   provide sufficient guidance as to what these highly indefinite terms mean to allow

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 1   a POSITA to understand the scope of the alleged invention. Specifically, the
 2   disclosure is silent as to the terms “end portions,” “a center portion,” and
 3   “therebetween.” Furthermore, the disclosure is silent as to “in a longitudinal
 4   direction” in the context of the board.
 5          As both the claims and the written description fail to define any explicit
 6   boundaries, let alone any boundaries at all, of these portions, a POSITA is left to
 7   surmise where along the board the center portion ends and where the end portions
 8   begin. Further, “in a longitudinal direction” is ambiguous as a POSITA would not
 9   understand to what element “in a longitudinal direction relates,” the precise
10   orientation of the portions, and whether the portions have a length extending in a
11   longitudinal direction or are disposed consecutively along a longitudinal direction.
12   Moreover, a POSITA would also not understand the meaning of “therebetween”
13   and whether any area lies between the center and end portions and how much.
14   Such estimations run afoul of the requirement that claims “particularly point[] out
15   and distinctly claim[] the subject matter which the applicant regards as his
16   invention.” 35 U.S.C. § 112.
17         Thus, a POSITA is unable to ascertain the scope of the term “[a board
18   having] end portions and a center portion therebetween in a longitudinal direction”
19   with reasonable certainty, thereby rendering these claims indefinite under 35
20   U.S.C. § 112.
21                       b.    “[A] first region and a second region.”
22         Asserted Claims 1 and 27 of the ’734 Patent recite “[the first surface
23   including] a first region and a second region.” This limitation is indefinite under 35
24   U.S.C. § 112 at least because the term “a first region and a second region” when
25   read in light of the claims, patent specification, and file history, fails to inform a
26   POSITA about the scope of the alleged invention of Asserted Claims 1 and 27.
27   Nautilus, 134 S. Ct. at 2124.
28

                                       24
                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1          A POSITA would not be able to ascertain the scope of the alleged invention
 2   with reasonable certainty as it relates to “a first region and a second region” as this
 3   term is not sufficiently definite. Halliburton, 514 F.3d at 1249 (“Because claims
 4   delineate the patentee’s right to exclude, the patent statute requires that the scope
 5   of the claims be sufficiently definite to inform the public of the bounds of the
 6   protected invention, i.e., what subject matter is covered by the exclusive rights of
 7   the patent. Otherwise, competitors cannot avoid infringement, defeating the public
 8   notice function of patent claims.”). The claim term “a first region and a second
 9   region” is equivocal and arbitrary even in the context of the claims as a whole, and
10   thus, the claims do not apprise a POSITA of their scope.
11          The disclosure in the patent specification is also inadequate and fails to
12   provide sufficient guidance as to what these highly indefinite terms mean to allow
13   a POSITA to understand the scope of the alleged invention. Specifically, the
14   disclosure is silent as to the terms “a first region” and “a second region” in the
15   context of the first surface of the board, let alone at all.
16          Additionally, the disclosure fails to provide a clear depiction of the alleged
17   invention in detailed drawings. Specifically, conspicuously absent from the
18   drawings are any identifications of “a first region” and “a second region.” This is
19   sufficient to establish that the patentee was not in possession of the alleged
20   invention at the time of filing, and thus the ’734 Patent is invalid for lack of written
21   description.
22          As both the claims and the written description fail to define any explicit
23   boundaries of these regions or provide any directional or orienting references, a
24   POSITA is left to surmise where along the board these regions lie, their expanse,
25   and the relationship between them. Such estimations run afoul of the requirement
26   that the claims must “particularly point[] out and distinctly claim[] the subject
27   matter which the applicant regards as his invention.” 35 U.S.C. § 112.
28

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 1         Thus, without such guidance, a POSITA is unable to ascertain the scope of
 2   the term “a first region and a second region” with reasonable certainty, thereby
 3   rendering these claims indefinite under 35 U.S.C. § 112.
 4                       c.    “[A] wavelength conversion member” and “a
                               wavelength conversion member formed unitarily with
 5
                               a transparent member.”
 6
           Asserted Claims 1 and 27 of the ’734 Patent recite “a wavelength conversion
 7
     member formed unitarily with a transparent member.” The Court construed “a
 8
     wavelength conversion member” and “a wavelength conversion member formed
 9
     unitarily with a transparent member” separately. The former was construed to
10
     mean “a component that converts wavelength”, and the latter was construed to
11
     mean “a single component that both converts wavelength and allows light to pass
12
     through.” (See, e.g., Dkt. No. 90 at 18).
13
           Applying the Court’s construction, these limitations remain indefinite under
14
     35 U.S.C. § 112 as reflected in Nichia’s Final Infringement Contentions. With
15
     respect to each charted product, Nichia makes no distinction between these two
16
     elements, but rather conflates them. Nautilus, 134 S. Ct. at 2124. The Court’s
17
     construction makes clear that the wavelength conversion member must be “a single
18
     component.” However, Nichia still fails to specifically identify the two distinct
19
     components in this construction: “a component that converts wavelength”, and “a
20
     single component that both converts wavelength and allows light to pass through.”
21
     This demonstrates that a POSITA would not be able to ascertain the scope of the
22
     alleged invention with reasonable certainty as it relates to “a wavelength
23
     conversion member” and “a wavelength conversion member formed unitarily with
24
     a transparent member” as these terms are not sufficiently definite. Halliburton, 514
25
     F.3d at 1249 (“Because claims delineate the patentee’s right to exclude, the patent
26
     statute requires that the scope of the claims be sufficiently definite to inform the
27
     public of the bounds of the protected invention, i.e., what subject matter is covered
28

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 1   by the exclusive rights of the patent. Otherwise, competitors cannot avoid
 2   infringement, defeating the public notice function of patent claims.”).
 3         The claim terms “a wavelength conversion member” and “a wavelength
 4   conversion member formed unitarily with a transparent member” are equivocal
 5   even in the context of the claims as a whole, the specification, and the file history,
 6   and thus, do not apprise a POSITA of their scope and rendering them indefinite. 35
 7   U.S.C. § 112.
 8                      d.      “[A] first/second set of the light emitting element
                               chips are mounted on the first/second region and
 9
                               arranged from the center portion of the board to the
10                             one/other of the end portions”
11         Asserted Claims 1 and 27 of the ’734 Patent recite “a first/second set of the
12   light emitting element chips are mounted on the first/second region and arranged
13   from the center portion of the board to the one/other of the end portions.” These
14   limitations are indefinite under 35 U.S.C. § 112 at least because the terms when
15   read in light of the claims, patent specification, and file history, fail to inform a
16   POSITA about the scope of the alleged invention of Asserted Claims 1 and 27.
17   Nautilus, 134 S. Ct. at 2124.
18         A POSITA would not be able to ascertain the scope of the alleged invention
19   with reasonable certainty as it relates to “a first/second set of the light emitting
20   element chips are mounted on the first/second region and arranged from the center
21   portion of the board to the one/other of the end portions” as these terms are not
22   sufficiently definite. Halliburton, 514 F.3d at 1249 (“Because claims delineate the
23   patentee’s right to exclude, the patent statute requires that the scope of the claims
24   be sufficiently definite to inform the public of the bounds of the protected
25   invention, i.e., what subject matter is covered by the exclusive rights of the patent.
26   Otherwise, competitors cannot avoid infringement, defeating the public notice
27   function of patent claims.”). As these terms relate to “a first region and a second
28   region” described above, which are indefinite as the claims as a whole fails to
                                       27
                FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1   describe any explicit boundaries of these regions or provide any directional or
 2   orienting references, a POSITA is left to surmise as to which set is the “first set”
 3   versus the “second set” as well as the specific positioning of these sets along the
 4   board.
 5            The disclosure in the patent specification is also inadequate and fails to
 6   provide sufficient guidance as to what these highly indefinite terms mean to allow
 7   a POSITA to understand the scope of the alleged invention. Specifically, the
 8   disclosure is silent as to the terms “a first set of the light emitting chips …a second
 9   set of the light emitting element chips.”
10            Nichia’s application of this language underscores is ambiguity. Nichia
11   manipulates products as it sees fit to force infringement, whereas the same product
12   could equally and more reasonably be found to consist of a structure distinct from
13   this claim limitation. See, e.g., Nichia Final Infringement Contentions at Exhibit B.
14            Thus, without such guidance, a POSITA is unable to ascertain the scope of
15   the terms “a first/second set of the light emitting element chips are mounted on the
16   first/second region and arranged from the center portion of the board to the
17   one/other of the end portions” with reasonable certainty, thereby rendering these
18   claims indefinite under 35 U.S.C. § 112.
19                  2.    Dependent Claim 6 - “[C]omprises a phosphor therein”
20            Asserted Claim 6 of the ’734 Patent recites “comprises a phosphor therein.”
21   This limitation is indefinite under 35 U.S.C. § 112 at least because the term
22   “comprises a phosphor therein” when read in light of the claims, patent
23   specification, and file history fails to inform a POSITA about the scope of the
24   alleged invention of Asserted Claim 6. Nautilus, 134 S. Ct. at 2124.
25            A POSITA would not be able to ascertain the scope of the alleged invention
26   with reasonable certainty as it relates to “comprises a phosphor therein” as this
27   term is not sufficiently definite. Halliburton, 514 F.3d at 1249 (“Because claims
28   delineate the patentee’s right to exclude, the patent statute requires that the scope
                                         28
                  FEIT ELECTRIC’S FINAL INVALIDITY CONTENTIONS
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 1   of the claims be sufficiently definite to inform the public of the bounds of the
 2   protected invention, i.e., what subject matter is covered by the exclusive rights of
 3   the patent. Otherwise, competitors cannot avoid infringement, defeating the public
 4   notice function of patent claims.”). The claim term “comprises a phosphor therein”
 5   lacks any recitation of an effective range or amount of a phosphor for which the
 6   wavelength conversion member should comprise therein. Additionally, the term
 7   “therein” is equally vague and presents other challenges in ascertaining the
 8   meaning of this claim term. Thus, the claim does not apprise a POSITA of its
 9   scope.
10            The disclosure in the patent specification is also inadequate and fails to
11   provide sufficient guidance as to what these highly indefinite terms mean to allow
12   a POSITA to understand the scope of the alleged invention. Specifically, the
13   disclosure is silent as to effective amounts of a phosphor “therein” the wavelength
14   conversion member as well as the manner in which the wavelength conversion
15   member comprises a phosphor “therein.”
16            This ambiguity is further compounded by Nichia’s failure to apply or
17   illustrate how this limitation fits within the Court’s construction of “wavelength
18   conversion member formed unitarily with a transparent member.” Indeed, there is
19   no discussion or explanation of who this limitation is further “comprised as a
20   phosphor therein” in the context of the Court’s construction.
21            Thus, without such guidance, a POSITA is unable to ascertain the scope of
22   the term “comprises a phosphor therein” with reasonable certainty, thereby
23   rendering this claim indefinite under 35 U.S.C. § 112.
24                  3.    Dependent Claim 18 - “wherein the wavelength conversion
                          member is capable of … to the outer periphery of the
25
                          wavelength conversion member.”
26
              Claim 18 of the ’734 Patent recites “wherein the wavelength conversion
27
     member is capable of … to the outer periphery of the wavelength conversion
28

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 1   member.” This entire claim is indefinite under 35 U.S.C. § 112 at least because the
 2   disclosure fails to enable a POSITA to make and use the alleged invention of
 3   Claim 18 and the terms “wherein the wavelength conversion member is capable of
 4   … to the outer periphery of the wavelength conversion member” when read in light
 5   of the claims, patent specification, and file history, fail to inform a POSITA about
 6   the scope of the alleged invention of Claim 18. Nautilus, 134 S. Ct. at 2124.
 7         A POSITA would not be able to ascertain the scope of the alleged invention
 8   with reasonable certainty as it relates to “comprises a phosphor” as these terms are
 9   not sufficiently definite. Halliburton, 514 F.3d at 1249 (“Because claims delineate
10   the patentee’s right to exclude, the patent statute requires that the scope of the
11   claims be sufficiently definite to inform the public of the bounds of the protected
12   invention, i.e., what subject matter is covered by the exclusive rights of the patent.
13   Otherwise, competitors cannot avoid infringement, defeating the public notice
14   function of patent claims.”). The claim terms “wherein the wavelength conversion
15   member is capable of … to the outer periphery of the wavelength conversion
16   member” are confusing as they seem to conflate two concepts: converting
17   wavelengths of light and directing the radiation of light. These concepts behave
18   independently relative to one another. As a result, the claim does not apprise a
19   POSITA of its scope.
20         The disclosure in the patent specification is also inadequate and fails to
21   provide sufficient guidance as to what these highly indefinite terms mean to allow
22   a POSITA to understand the scope of the alleged invention. Specifically, the
23   disclosure is silent as to the concepts encompassing the terms “wherein the
24   wavelength conversion member is capable of … to the outer periphery of the
25   wavelength conversion member.”
26         Nichia’s application highlights this deficiency in that it fails to provide a
27   specific direction but rests on the mere fact that light travels in all directions from a
28

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 1   light emitting device. Specifically, there is no identification of specific light
 2   emanating in the specific directions articulated.
 3         Thus, without such guidance, a POSITA is unable to ascertain the scope of
 4   the terms “wherein the wavelength conversion member is capable of … to the
 5   outer periphery of the wavelength conversion member” with reasonable certainty,
 6   thereby rendering this claim indefinite under 35 U.S.C. § 112.
 7   VII. INVALIDITY OR UNENFORCEABILITY UNDER THE DOCTRINE
          OF PROSECUTION LACHES
 8
           The equitable doctrine of prosecution laches can be applied to bar
 9
     enforcement of a patent claim that issued after unreasonable and unexplained delay
10
     in prosecution, even though an applicant complied with pertinent statutes and rules.
11
     Symbol Techs., Inc. v. Lemelson Med., 277 F.3d 1361 (Fed. Cir. 2002); see also
12
     P.J. Federico, Commentary on the New Patent Act, 75 J. Pat. & Trademark Off.
13
     Soc’y 161, 215 (1993). Laches may be triggered when “an examination of the
14
     totality of the circumstances, including the prosecution history of all of a series of
15
     related patents” reveals an overall delay in issuing claims. Symbol Techs., Inc. v.
16
     Lemelson Med., Educ. & Research Found., 422 F.3d 1378, 1386 (Fed. Cir. 2005),
17
     amended on reh’g in part sub nom. Symbol Techs., Inc. v. Lemelson Med., Educ. &
18
     Research Found., LP, 429 F.3d 1051 (Fed. Cir. 2005). “[U]nreasonable delay
19
     alone is sufficient to apply prosecution laches without the requirement that [an
20
     applicant] intended to gain some advantage by the delay.” Symbol Techs., Inc. v.
21
     Lemelson Med., Educ. & Research Found., 301 F.Supp.2d 1156 (D. Nev. 2004)
22
     (citing In re Bogese II, 303 F.3d 1362, 1369 (Fed. Cir. 2002)).
23
           The prosecution histories of the patent family relating to the ‘734 Patent
24
     show unreasonable and suspicious delays in prosecution. Specifically, the Parent
25
     Application, U.S. Application No. 11/639,062, was filed on December 14, 2006.
26
     The prosecution of the Parent Application continued on until the application was
27
     finally allowed, nearly six years later, on October 11, 2012. (U.S. Patent No.
28

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 1   8,366,295, Notice of Allowance dated October 11, 2012); Woodbridge v. United
 2   States, 263 U.S. 50, 44 S.Ct. 45, 68 L.Ed. 159 (1923) (“In this case we have a
 3   delay of nine years and a half in securing a patent that might have been had at any
 4   time in that period for the asking, and this for the admitted purpose of making the
 5   term of the monopoly square with the period when the commercial profit from it
 6   would have been highest.... Meantime other inventors had been at work in the same
 7   field ... without knowledge of the situation with respect to Woodbridge’s
 8   invention.... This is not a case of abandonment. It is a case of forfeiting the right to
 9   a patent by designed delay.”).
10         A portion of this delay, including an astounding 434 days, was attributable
11   to applicant delays in filing responses to Office Actions and even allowing the
12   application to go abandoned. (Id. at Abandonment dated January 30, 2012).
13   Additionally, the first continuation application, U.S. Application No. 13/672,713,
14   was not filed until November 9, 2012. This constitutes almost a six-year delay in
15   filing any continuation application.
16         After this time, subsequent continuation applications were filed in 2013,
17   2016 (the ’734 Patent), 2017, 2018, and 2019. Like the Parent Application, Feit
18   Electric deems the delay in filing these continuation applications unreasonable and
19   suspicious. Moreover, some of these applications also had applicant delays in the
20   hundreds. For example, U.S. Application No. 13/672,713, filed in 2012, had
21   applicant delays of 221 days, and U.S. Application No. 13/831,797, filed in 2013,
22   had applicant delays of 286 days.
23         In light of the totality of the circumstances, the ’734 Patent is invalid or
24   unenforceable under the doctrine of prosecution laches.
25
26
27
28

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 1                          CERTIFICATE OF SERVICE
 2        I hereby certify that on the 23rd day of April, 2021, I electronically served
 3   the foregoing document to the attorneys of record for PLAINTIFF NICHIA
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                                                                                      Exhibit A

                                                 Mano Alone or in View of One of Hohn, Takashima, and Debray
      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ’734 Patent are invalid as anticipated under 35 U.S.C. § 102 by U.S. Patent Publication No. 2004/02392242A1
(“Mano”). Specifically, Mano directly or inherently, based on the presumed knowledge of a POSITA, discloses each and every limitation of the these claims.

        Claims 6, 7, 11, 13, and 14 of the ’734 Patent are invalid as obvious under 35 U.S.C. § 103 by Mano in view of one of U.S. Patent No. 6,066,861 (“Hohn”), U.S.
Patent No. 7,723,740 (“Takashima”), and European Publication No. 1116419B1 (“Debray”)

         Mano in view of one of Hohn, Takashima, and Debray renders the Asserted Claims of the ’734 Patent obvious under 35 U.S.C. § 103. These references alone or in
combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and
features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above
prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures
in a manner that renders the Asserted Claims obvious.

                    Asserted Claims                                                                     Prior Art Reference, Mano
Claim 1
1[pre]. A light emitting device comprising:                 To the extent the preamble is limiting, the preamble is taught by Mano as explained below in elements [1a]
                                                            through [1k].

                                                            See, e.g., Mano at [0002]: “The present invention relates to a light-emitting unit, in particular, of the type which
                                                            includes a printed circuit board or substrate, a light-emitting element mounted on the board, and a lens.”

                                                            See also, e.g., Mano at [0007], describing its teaching of “an all-directional light emitting unit that can emit light
                                                            as if a spherical light Source is employed.”

                                                            See also, e.g., Mano at [0008], [0013], Figs. 1-2, Figs. 9-10, Figs. 13-16.

                                                             However, this preamble should not be limiting because elements within it do not serve as an antecedent basis for
                                                             limitations in the claim body. Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332 (Fed. Cir. 2003). Also, the
                                                             preamble does not “breathe[] life and meaning into the claims.” See In re Wertheim, 541 F.2d 257 (CCPA 1976).
1[a] a board having end portions and a center portion Mano teaches this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a See, e.g., Mano at [0086]: “A light-emitting unit 101 … includes a rectangular substrate 110 having an obverse
second surface on a second surface side thereof, the surface 113 and a reverse surface 114.”
second surface being an opposite side to the first
surface, the first surface including a first region and a See, e.g., Mano at Figs. 14A and 14B:.




                                                                               Exhibit C, p. 272
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                    Asserted Claims                                                                    Prior Art Reference, Mano
second region, the first region extending from the center
portion of the board to one of the end portions, the
second region extending from the center portion of the
board to the other of the end portions;




                                                            The board has a first surface side (e,g., 113) and second surface side (e,g., 114), where the second surface is an
                                                            opposite side to the first surface.

                                                            See, e.g., Mano at Fig. 22:




                                                            The first surface includes a first region and a second region, the first region extending from the center portion of
                                                            the board to one of the end portions, the second region extending from the center portion of the board to the
                                                            other of the end portions.

                                                            See also¸e.g., Mano at [0008], [0014], [0021], [0023], [0067]-[0068], [0075], [0086]-[0087], [0090], [0093],
                                                            [0096], [0098], [0103], [0107], [0110], [0112], Figs. 1-7, Figs. 15-26.
                                                                                          2


                                                                              Exhibit C, p. 273
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                     Asserted Claims                                                               Prior Art Reference, Mano
1[b] a plurality of light emitting element chips mounted Mano teaches a plurality of light emitting element chips mounted on the first surface side of the board.
on the first surface side of the board;                  Specifically, Mano explains a plurality of light emitting element chips (e,g., light emitting diode chip(s) 21, in
                                                         light emitting elements (20)) mounted on the first surface side of the board.

                                                          See, e.g., Mano at [0080]:

                                                                “The details of the light-emitting element 20 are shown in FIG. 10. Specifically, the element 20
                                                                includes an elongated rectangular base 22 provided with an anode 23a at one end and a cathode
                                                                23b at the other end. A light-emitting diode chip 21 is diebonded to the cathode 23b, while also
                                                                being connected to the anode 23a via a metal wire 24. The diode chip 21 and the associated parts
                                                                or portions are covered with a transparent resin package 25, which also has an elongated
                                                                rectangular configuration. In the above-described fabrication process of the unit 1, the anode 23a
                                                                of the element 20 is connected to the anode 41a on the circular portion 12 of the substrate, while
                                                                the cathode 23b of the element 20 is connected to the cathode 41b on the circular portion 12 of
                                                                the substrate.”

                                                          See also, e.g., Mano at [0086]: “Each side of the substrate 110 is provided with a domed lens 130 enclosing a
                                                          plurality of packaged light emitting elements 20. In the illustrated example, four elements 20 are provided for
                                                          each lens 130, though the present invention is not limited to this.”

                                                          See also, e.g., Mano at Figs. 14A and 14B:




                                                          See also, e.g., Mano at [0021], [0067], [0068], [0083], [0087], [0093], [0097], [0099], [0103]- [0104], [0107],
                                                          [0110], [0112], [0114], Fig. 16, Figs. 17-18, Fig. 22, Fig. 28, Fig. 31.
                                                                                       3


                                                                            Exhibit C, p. 274
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                    Asserted Claims                                                                 Prior Art Reference, Mano
1[c] a wavelength conversion member formed unitarily Mano teaches a wavelength conversion member formed unitarily with a transparent member that seals the
with a transparent member that seals the plurality of plurality of light emitting element chips.1
light emitting element chips;
                                                      See, e.g., Mano at [0083]: “[A] fluorescent material may be added to the transparent resin for making the lens
                                                      30. In this case, as propagating through the lens 30, the light (“original light”) emitted from the element 20
                                                      excites the fluorescent additives, and these additives will emit light (“secondary light”) as returning to a less
                                                      excited state. In this case, the original light and the secondary light are blended to produce white light. A suitable
                                                      fluorescent material is selected in accordance with the frequency of light emitted from the element 20.”

                                                           See also Mano at Figs. 13 and 14B (at lens (30)):




1[d] a transparent bulb that encloses the board and the Mano teaches a transparent bulb that encloses the board and the plurality of light emitting element chips.
plurality of light emitting element chips;              Specifically, Mano explains a transparent bulb (e,g., illuminator [bulb] 80, with glass envelope 81).

                                                           See, e.g., Mano at [0084]: “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81
                                                           made of glass, for example. The unit 1 is electrically connected to a conductive base or cap 82. As in a
                                                           conventional lightbulb …”

1
   Feit Electric contends that Nichia’s Infringement Contentions fail to properly account for this Court’s construction of this limitation, namely, “a single component that both
converts wavelength and allows light to pass through.” (See Dkt. No. 90). However, for purposes of invalidity, Feit Electric applies this term to Mano consistent with the
application in Nichia’s Final Infringement Contentions. Abbott Laboratories v. Sandoz, Inc., 566 F.3d 1282, 1317 (Fed. Cir. 2009) (“It has been an inviolate rule that patent
claims are construed the same way for validity and for infringement.”).
 .
                                                                                       4


                                                                               Exhibit C, p. 275
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                                                               #:17454



                   Asserted Claims                                                                  Prior Art Reference, Mano

                                                          See also, e.g., Mano at Fig. 13:




                                                          As shown in Fig. 13, this bulb encloses the board and plurality of light emitting element chips.

                                                      See also, e.g., Mano at [0021].
1[e] support leads that secure the plurality of light Mano discloses support leads that secure the plurality of light emitting element chips inside the transparent bulb.
emitting element chips inside the transparent bulb;
                                                      See, e.g., Mano at [0080]: “The details of the light-emitting element 20 are shown in Fig. 10. Specifically, the
                                                      element 20 includes an elongated rectangular base 22 provided with an anode 23a at one end and a cathode 23b
                                                      at the other end. A light-emitting diode chip 21 is diebonded to the cathode 23b, while also being connected to
                                                      the anode 23a via a metal wire 24.”

                                                          See, e.g., Mano at Fig. 10:




                                                                                        5


                                                                            Exhibit C, p. 276
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                                                              #:17455



                   Asserted Claims                                                                 Prior Art Reference, Mano




                                                         Also, as shown in Mano at Figs. 2, 3, and 13, the unit 1 includes a conductive pattern 50 on each side, which
                                                         includes a positive electrode 50a and a negative electrode 50b. The conductive patterns 50, as seen in Figs. 3 and
                                                         13, secure the plurality of light emitting element chips inside the transparent bulb 80.




                                                          .
1[f] a support base that can be threadedly engaged with Mano teaches a support base that can be threadedly engaged with a conventional light bulb socket along a socket
a conventional light bulb socket along a socket axis; and axis.

                                                         See, e.g., Mano at [0084]: “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81
                                                                                    6


                                                                          Exhibit C, p. 277
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                                                             #:17456



                 Asserted Claims                                                                 Prior Art Reference, Mano
                                                     made of glass, for example. The unit 1 is electrically connected to a conductive base or cap 82. As in a
                                                     conventional lightbulb, the base 82 may consist of two electrically insulated contacts, a threaded ring contact and
                                                     a tip contact disposed at the bottom of the base 82.”

                                                     See also, e.g., Mano at Fig. 13 (at base (82)):




1[g] a pair of metal plates protruding at both ends of the Mano discloses a pair of metal plates protruding at both ends of the wavelength conversion member.
wavelength conversion member,
                                                           Mano teaches a pair of conductors 140, which protrude at both ends from the wavelength conversion
                                                           member130. See, e.g., Mano at Fig. 17:




                                                                                 7


                                                                       Exhibit C, p. 278
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                                          #:17457



Asserted Claims                                                       Prior Art Reference, Mano




                           Also, Mano teaches terminals 150, which protrude from the wavelength conversion member 130. See, e.g.,
                           Mano at Fig. 22:




                           See, e.g., Mano at [0111]: “As shown in Fig. 30, the substrate 410 includes a circular portion 412 and two
                           rectangular portions 411 pro-jecting oppositely from the circular portion 412. Each rectangular portion 411 is
                           provided with a pair of connection terminals 450 on the obverse and the reverse sides of the substrate 410.”

                           See also, e.g., Mano at [0112]: “A wiring pattern 440 is formed on the obverse surface 413 (likewise, on the
                           reverse surface 414) of the substrate 410, to be connected to the connection terminal 450. The wiring pattern 440
                           consists of three conductive parts, i.e., an intermediate part and two side parts flanking the intermediate part, as
                           represented in broken lines in Fig. 30. The right and the left side parts of the pattern 440 are connected to the
                           right and the left connection terminals 450, respectively.”

                                                       8


                                             Exhibit C, p. 279
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                                                               #:17458



                   Asserted Claims                                                                    Prior Art Reference, Mano
                                                           See also, e.g., Mano at Figs. 30 and 31 (at element 450 or 440):




                                                          See also, e.g., Mano at [0090]-[0091] (discussing metal conductors).
1[h] wherein the wavelength conversion member is Mano teaches this element.
provided on the first surface side and the second surface
side, the wavelength conversion member is elongated in See, e.g., Mano at [0086]: “Each side of the substrate 110 is provided with a domed lens 130 enclosing a
the longitudinal direction when viewed in plan view of plurality of packaged light emitting elements 20.”
the first surface side of the board,
                                                          See also, e.g., Mano at Figs. 14A and 14B: The wavelength conversion member 130 is elongated in both the
                                                          longitudinal direction and the lateral direction of board 110 (see Figure 14A) relative to the height/thickness
                                                          direction of the wavelength conversion member 130 (see Fig. 14B), thus the wavelength conversion member 130
                                                          is still elongated in the longitudinal direction when viewed in plan view of Fig. 14A of the first surface side of
                                                          the board.




                                                                                      9


                                                                            Exhibit C, p. 280
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                                                                 #:17459



                    Asserted Claims                                                                     Prior Art Reference, Mano




                                                        See also, e.g., Mano at [0021], [0067], [0068], [0083], [0093], [0097], [0099], [0103]-[0104], [0107], [0110],
                                                        [0112], [0114], Fig. 16, Figs. 17-18, Fig. 22, Fig. 28, Fig. 31.
1[i] wherein a first set of the light emitting element Mano teaches this element.
chips are mounted on the first region and arranged from
the center portion of the board to the one of the end See, e.g., Mano at annotated Figs. 14A and 222 (providing two of various possible examples of this claim
portions,                                               element):




2
  This is just one example of the many iterations available as there are numerous ways to identify the center portion. For instance, in each figure, the center portion could also
be in the Z plane or on numerous axis on the X or Y planes. In addition, the center portions could further be allocated based on placement of the LEDs on the board or as in
the corresponding application based on the circuit diagram.
                                                                                        10


                                                                               Exhibit C, p. 281
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                                          #:17460



Asserted Claims                                                       Prior Art Reference, Mano




                           A first pair of the light-emitting elements 20 are mounted on the first region of the board and arranged from the
                           center portion of the board to one of the end portions.

                           See also, e.g., Mano at [0093] (explaining, for example, a first element set 126):

                                 Then, as shown in FIG. 16, four packaged light emitting elements 20 are mounted on the obverse
                                 surface 113 of the substrate 110. As seen from the figure, the upper two elements 20 are
                                                      11


                                             Exhibit C, p. 282
      Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 283 of 954 Page ID
                                        #:17461



Asserted Claims                                                         Prior Art Reference, Mano
                                 connected in series by the upper intermediate conductor 141c, thereby providing a “first element
                                 set 126.” Likewise, the lower two elements 20 are connected in series by the lower intermediate
                                 conductor 141c, thereby providing a “second element set 127.” The first element set 126 is
                                 connected at one end to the upper left anode 150a and at the other end to the upper right cathode
                                 150b. The second element set 127 is connected at one end to the lower left anode 150a and at the
                                 other end to the lower right cathode 150b. Arrangements identical to those shown in FIG. 16 are
                                 also built on the other side (e,g., the reverse surface 114) of the substrate 110. As shown in FIG.
                                 22, a first element set 128 consisting of two light-emitting elements 20 is connected between one
                                 anode 150a and one cathode 150b, while a second element set 129 consisting of another two
                                 light-emitting elements 20 is connected between the other anode 150a and the other cathode
                                 150b.

                           See also, e.g., Mano at [0096]:

                                 According to the second embodiment, referring to FIG.22, the first element set 126 and the
                                 second element set 127 on the obverse surface 113 of the substrate 110 are powered by different
                                 current paths which are electrically independent of each other. Likewise, on the reverse side of
                                 the substrate 113, the first and the second element sets 128 and 129 are independently powered.
                                 Meanwhile, the obverse-side first element set 126 and the reverse-side first element Set 128 are
                                 connected in parallel, and the obverse side second element set 127 and the reverse-Side Second
                                 element set 129 are connected in parallel. With Such an arrangement, the light-emitting unit 101
                                 has two illumination modes available: a Single illumination mode in which only one element set
                                 on each side of the Substrate 110 is energized (hence two element sets in total are energized), and
                                 a twin illumination mode in which the two element Sets on each side of the substrate 110 are
                                 energized (hence all the four element sets are energized). This feature is advantageous for the user
                                 to make adjustment of the brightness of illumination.

                           See also, e.g., Mano at Fig. 31:




                                                      12


                                          Exhibit C, p. 283
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                                                              #:17462



                  Asserted Claims                                                                Prior Art Reference, Mano




                                                         See also, e.g., Mano at [0021], [0067], [0068], [0083], [0086]-[0087], [0093], [0097], [0099], [0103]-[0104],
                                                         [0107], [0110], [0112], [0114], Fig. 16, Figs. 17-18, Fig. 22, Fig. 28.
1[j] wherein a second set of the light emitting element Mano teaches this element.
chips are mounted on the second region and arranged
from the center portion of the board to the other one of See, e.g., Mano at annotated Figs. 14A and 22 (providing two of various possible examples of this claim
the end portions, and                                    element):




                                                                                  13


                                                                          Exhibit C, p. 284
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                                          #:17463



Asserted Claims                                                      Prior Art Reference, Mano




                           A second pair of the light-emitting elements 20 are mounted on the second region of the board and arranged
                           from the center of the board to the other one of the end portions.

                           See, e.g., Mano at [0093] (explaining, for example, a second element set 127):

                                 Then, as shown in FIG. 16, four packaged light emitting elements 20 are mounted on the obverse
                                 Surface 113 of the substrate 110. As seen from the figure, the upper two elements 20 are
                                 connected in Series by the upper intermediate conductor 141c, thereby providing a “first element
                                 set 126.” Likewise, the lower two elements 20 are connected in Series by the lower intermediate
                                 conductor 141c, thereby providing a “second element set 127.” The first element Set 126 is
                                 connected at one end to the upper left anode 150a and at the other end to the upper right cathode
                                 150b. The second element set 127 is connected at one end to the lower left anode 150a and at the
                                 other end to the lower right cathode 150b. Arrangements identical to those shown in FIG. 16 are
                                 also built on the other side (e,g., the reverse surface 114) of the substrate 110. As shown in FIG.
                                 22, a first element Set 128 consisting of two light-emitting elements 20 is connected between one
                                 anode 150a and one cathode 150b, while a second element set 129 consisting of another two
                                 light-emitting elements 20 is connected between the other anode 150a and the other cathode
                                 150b.

                           See also, e.g., Mano at [0096]:

                                According to the second embodiment, referring to FIG.22, the first element set 126 and the
                                second element set 127 on the obverse surface 113 of the substrate 110 are powered by different

                                                      14


                                             Exhibit C, p. 285
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 286 of 954 Page ID
                                                              #:17464



                   Asserted Claims                                                                   Prior Art Reference, Mano
                                                               current paths which are electrically independent of each other. Likewise, on the reverse side of
                                                               the substrate 113, the first and the second element sets 128 and 129 are independently powered.
                                                               Meanwhile, the obverse-side first element set 126 and the reverse-side first element Set 128 are
                                                               connected in parallel, and the obverse side second element set 127 and the reverse-Side Second
                                                               element set 129 are connected in parallel. With Such an arrangement, the light-emitting unit 101
                                                               has two illumination modes available: a Single illumination mode in which only one element set
                                                               on each side of the Substrate 110 is energized (hence two element sets in total are energized), and
                                                               a twin illumination mode in which the two element Sets on each side of the substrate 110 are
                                                               energized (hence all the four element sets are energized). This feature is advantageous for the user
                                                               to make adjustment of the brightness of illumination.

                                                         See also, e.g., Mano at Fig. 31:




                                                       See also, e.g., Mano at [0021], [0067], [0068], [0083], [0086]-[0087], [0093], [0097], [0099], [0103]-[0104],
                                                       [0107], [0110], [0112], [0114], Fig. 16, Figs. 17-18, Fig. 22, Fig. 28.
1[k] wherein the pair of metal plates are electrically Mano discloses wherein the pair of metal plates are electrically connected with the support base via the support
connected with the support base via the support leads. leads.

                                                         See, e.g., Mano at [0084]: “The unit 1 is electrically connected to a conductive base or cap 82. As in a
                                                         conventional lightbulb, the base 82 may consist of two electrically insulated contacts, a threaded ring contact and
                                                         a tip contact disposed at the bottom of the base 82. The ring contact is connected to one of the electrodes 50a,
                                                         50b, while the tip contact is connected to the other.”

                                                         Mano teaches a pair of conductors 140, which protrude at both ends from the wavelength conversion
                                                         member130. See, e.g., Mano at Fig. 17:

                                                                                    15


                                                                           Exhibit C, p. 286
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                                          #:17465



Asserted Claims                                                      Prior Art Reference, Mano




                           Also, as shown in Mano at Figs. 2, 3, and 13 in view of Fig. 17, the unit 1 includes a conductive pattern 50 on
                           each side, which includes a positive electrode 50a and a negative electrode 50b. The conductors 140 would
                           connect with the electrodes 50a and 50b, which would connect with the support base 82.




                           See also, e.g., Mano at [0090]-[0091], Fig. 18.

                                                      16


                                             Exhibit C, p. 287
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                                                              #:17466



                   Asserted Claims                                                           Prior Art Reference, Mano
Claim 3
3. The light emitting device according to claim 1, Mano teaches wherein the transparent bulb is made of glass.
wherein the transparent bulb is made of glass.
                                                   See, e.g., Mano at [0084]: “In the illuminator 80, the light-emitting unit 1 is accommodated in an envelope 81
                                                   made of glass, for example.”

                                                        See also, e.g., Mano at Fig. 13:




Claim 4
4. The light emitting device according to claim 1, Mano discloses wherein each of the metal plates crosses the support lead.
wherein each of the metal plates crosses the support
lead.                                                See, e,g., Mano at Fig. 20. Each of the conductors 140 crosses the support lead 150.




                                                                                   17


                                                                          Exhibit C, p. 288
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                                                            #:17467



                 Asserted Claims                                                              Prior Art Reference, Mano




                  Asserted Claims                                Prior Art References, Mano Alone or in View of One of Hohn, Takashima, and Debray
Claim 6
6. The light emitting device according to claim 1, Mano discloses this element.
wherein the wavelength conversion member comprises a
phosphor therein.                                    See, e.g., Mano at [0083]:

                                                          “As another possible way, a fluorescent material may be added to the transparent resin for making
                                                          the lens 30. In this case, as propagating through the lens 30, the light (“original light”) emitted
                                                          from the element 20 excites the fluorescent additives, and these additives will emit light
                                                          (“secondary light”) as returning to a less excited state. In this case, the original light and the
                                                          secondary light are blended to produce white light. A suitable fluorescent material is selected in
                                                          accordance with the frequency of light emitted from the element 20.” “Fluorescent material” was
                                                          well known in the art to be a phosphor.

                                                     Alternatively, Mano in view of one of Hohn, Takashima, and Debray teaches this element.

                                                     See, e.g., Hohn at Abstract: “An inorganic luminous substance pigment pow-der with luminous substance
                                                     pigments is dispersed in the transparent epoxy resin. The luminous substance is a phosphorous group …”

                                                     See also, e.g., Hohn at col. 8, lns. 26-34: “A layer 4 is applied to the transparent envelope 15. The layer 4
                                                                               18


                                                                      Exhibit C, p. 289
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                                                             #:17468



                                                       comprises a wavelength-converting casting composition and, as shown in Fig. 2, covers the entire surface of the
                                                       envelope 15. It is equally conceivable for the layer 4 to cover only a portion of the surface. The layer 4 for
                                                       instance comprises a transparent epoxy resin which is mixed with luminous substance particles 6. Once again,
                                                       for a semiconductor component that emits white light, YAG:Ce is preferred as the luminous substance.”

                                                       See, e.g., Takashima at [55:35-37]: “The indirect-excitation fluorescent material is preferably a YAG-based
                                                       phosphor.”

                                                       See, e.g., Debray at lns. 57-60: “It is accordingly the object of the present invention to provide a phosphor
                                                       arrangement of the type mentioned, quickly and easily based on optimization parameters and for an associated
                                                       one wavelength-converting potting compound and an associated light source.”
Claim 7
7. The light emitting device according to claim 6, Mano inherently discloses this element. As discussed above, Mano discloses the use of a phosphor, and YAG
wherein the phosphor comprises a YAG group phosphors were well known and commonly used in the art as they have high stability and excellent
phosphor.                                          luminescence.

                                                       Alternatively, Mano in view of one of Hohn, Takashima, and Debray discloses this element.

                                                       See, e.g., Hohn at col. 8, lns. 26-34: “A layer 4 is applied to the transparent envelope 15. The layer 4 comprises a
                                                       wavelength-converting casting composition and, as shown in Fig. 2, covers the entire surface of the envelope 15.
                                                       It is equally conceivable for the layer 4 to cover only a portion of the surface. The layer 4 for instance comprises
                                                       a transparent epoxy resin which is mixed with luminous substance particles 6. Once again, for a semiconductor
                                                       component that emits white light, YAG:Ce is preferred as the luminous substance.”

                                                       See, e.g., Takashima at [55:35-37]: “The indirect-excitation fluorescent material is preferably a YAG-based
                                                       phosphor.”

                                                       See, e.g., Debray at lns. 167-169: “It is known to use blue-emitting LEDs based on gallium nitride or indium
                                                       gallium nitride with emission maxima in the range between 430 and 480 nm to excite a phosphor of the YAG:
                                                       Ce type, which is described in detail in the literature.”
Claim 11
11. The light emitting device according to claim 6, Mano inherently discloses this element. As discussed above (see supra at claim 6), Mano discloses the use of a
wherein an average particle size of the phosphor is 3 μm phosphor, and it was well known in the art that a particle size of 3 μm or more would be advantageous.
or more.
                                                         Alternatively, Mano in view of one of Hohn, Takashima, and Debray discloses this element.

                                                       See, e.g., at Hohn at col. 2, lns. 20-21: “…the luminous substance pigments having grain sizes ≤ 20 μm ...”


                                                                                  19


                                                                         Exhibit C, p. 290
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                                                          See, e.g., Takashima at [17:7-10]: “Particle size of the fluorescent material 11 is preferably in a range from 1 μm
                                                          to 20 μm, more preferably in a range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.”

                                                          See, e.g., Debray at claim 7: “Light source arrangement according to Claim 6, characterized in that the
                                                          luminescent material pigments have grain sizes of ≤ 20 µm …”


                    Asserted Claims                                                                 Prior Art Reference, Mano
Claim 12
12. The light emitting device according to claim 1, Mano teaches wherein the plurality of light emitting element chips is electrically connected in series.
wherein the plurality of light emitting element chips is
electrically connected in series.                        See, e.g., Mano at [0093] (explaining, for example, that element sets 126 and 127 are connected in series):

                                                                Then, as shown in FIG. 16, four packaged light emitting elements 20 are mounted on the obverse
                                                                Surface 113 of the substrate 110. As seen from the figure, the upper two elements 20 are
                                                                connected in Series by the upper intermediate conductor 141c, thereby providing a “first element
                                                                set 126.” Likewise, the lower two elements 20 are connected in Series by the lower intermediate
                                                                conductor 141c, thereby providing a “second element set 127.” The first element Set 126 is
                                                                connected at one end to the upper left anode 150a and at the other end to the upper right cathode
                                                                150b. The second element set 127 is connected at one end to the lower left anode 150a and at the
                                                                other end to the lower right cathode 150b. Arrangements identical to those shown in FIG. 16 are
                                                                also built on the other side (i.e., the reverse surface 114) of the substrate 110. As shown in FIG.
                                                                22, a first element Set 128 consisting of two light-emitting elements 20 is connected between one
                                                                anode 150a and one cathode 150b, while a second element set 129 consisting of another two
                                                                light-emitting elements 20 is connected between the other anode 150a and the other cathode
                                                                150b.

                                                          See, e.g., Mano at Fig. 22 (showing light-emitting element chips 20 connected in series):




                                                                                     20


                                                                            Exhibit C, p. 291
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                                                            See also, e.g., [0095], [0096], [0097], [0104], [0110], Figs. 30-32.


Asserted Claims                                                        Prior Art References, Mano Alone or in View of One of Hohn, Takashima, and Debray
Claim 13
13. The light emitting device according to claim 1,         Mano inherently discloses this element as it was well known in the art that the main peak light emission
wherein the plurality of light emitting element chips is    wavelength of the light-emitting elements 20 emitting blue light (see, e.g., [0083]) includes a range between 420
so configured that a main peak light emission               nm and 490 nm.
wavelength of the light emitting element is varied within
a range between 420 nm and 490 nm.                          See, e.g., Mano at [0083]: “To produce white light, each side of the substrate 10 may be provided with three
                                                            kinds of light-emitting elements designed to emit…blue lights, respectively, to be combined into the desired
                                                            white light.”

                                                            Mano in view of one of Hohn, Takashima, or Debray discloses this element.

                                                            See, e.g., Hohn at col. 6, lns. 11-16: “A semiconductor component that emits white light can be produced with
                                                            the casting composition according to the invention advantageously by choosing the luminous substance in such a
                                                            way that a blue radiation emitted by the semiconductor body is converted into complementary wavelength
                                                            ranges …”

                                                            See also, e.g., Hohn at col. 5, lns. 31-34: “Especially preferably, the casting composition is used in a radiation-
                                                            emitting semiconductor body in which the emitted radiation spectrum has a maximum intensity at a wavelength
                                                            between 420 nm and 460 nm …”


                                                                                       21


                                                                              Exhibit C, p. 292
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                                                         See, e.g., Takashima at [4:54-62]:

                                                               The light emitting device according to the present invention can emit light of desired color with a
                                                               high color rendering property while preventing color deviation and deterioration of the color
                                                               rendering property from occurring in case drive current density in the light emitting device
                                                               changes, also when a light emitting element having a principal-emission peak wavelength in blue
                                                               region (420-490 nm) is used and a YAG fluorescent material is included in the fluorescent
                                                               material.

                                                         See, e.g., Debray at claim 9: “Light source arrangement according to one of Claims 1 to 8, characterized in
                                                         that the luminescent material arrangement can be excited by a radiation from the wavelength range between
                                                         400 nm and 500 nm, in particular between 420 nm and 490 nm.”
Claim 14
14. The light emitting device according to claim 1, Mano inherently discloses this element as this configuration of nitride semiconductor was well known and
wherein each of the light emitting element chips commonly used in the art.
comprises nitride semiconductor made of InxAlyGa1-x-yN
(0≦x, 0≦y, x+y≦1).                                     Mano in view of one of Hohn, Takashima, or Debray discloses this element.

                                                         See, e.g., Hohn at col. 4, lns. 42-45: “Preferably, the casting composition according to the invention is used in a
                                                         radiation-emitting semiconductor body, in particular with an active semiconductor layer or semiconductor layer
                                                         sequence of GaxIn1-xN or Gax Al1-xN …”.

                                                         See, e.g., Takashima at [18:27-31]: “The semiconductor light emitting element capable of emitting light of
                                                         wavelength not longer than 500 nm in ultraviolet to visible region can be made of various semiconductors such
                                                         as BN, SiC, ZnSe, GaN, InCaN, InAlGaN, AlGaN, BalGaN and BinAlGaN.”

                                                         See, e.g., Debray at lns. 115-117: “In connection with the present invention, a luminescence diode chip based on
                                                         GaN or InGaN is to be understood in principle as a luminescence diode chip whose radiation-emitting zone has
                                                         GaN, InGaN and / or related nitrides and mixed crystals based thereon, such as Ga (Al, In) N.”


                   Asserted Claims                                                                 Prior Art Reference, Mano
Claim 15
15. The light emitting device according to claim 1, Mano teaches wherein the wavelength conversion member substantially surrounds the board.
wherein     the    wavelength      conversion member
substantially surrounds the board.                   See, e.g., Mano at [0067]: “The lens 30 has a circular periphery 31. According to the present invention, the
                                                     periphery 31 may be arranged to overlap with the circular edge of the substrate 10 or retreat slightly inward from
                                                     the edge of the substrate 10.”

                                                                                    22


                                                                          Exhibit C, p. 293
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                                                       See also, e.g., Mano at [0083]: “As another possible way, a fluorescent material may be added to the transparent
                                                       resin for making the lens 30. In this case, as propagating through the lens 30, the light (‘original light’) emitted
                                                       from the element 20 excites the fluorescent additives, and these additives will emit light (‘secondary light’) as
                                                       returning to a less excited state. In this case, the original light and the secondary light are blended to produce
                                                       white light. A suitable fluorescent material is selected in accordance with the frequency of light emitted from the
                                                       element 20.”

                                                       See also, e.g., Mano at Fig. 1B (lens 30 substantially surrounding board 10):




Claim 17
17. The light emitting device according to claim 1, Mano teaches this element.
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting See, e.g. Mano at Figs. 1B and 31:
element chips on the first surface side of the board
forwards outside of the light emitting device through the
second surface of the board.




                                                                                  23


                                                                         Exhibit C, p. 294
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                                  #:17473




                   See, e.g., Mano at [0067-0068] (explaining that the board 10 is transparent and thus a light emitted from the
                   light-emitting elements 20 on the first surface side 13 of the board 10 forwards outside of the light emitting
                   device through the second surface 14 of the board):

                         Reference is first made to FIGS. 1-6 illustrating a light-emitting unit 1 according to a first
                         embodiment of the present invention. In the illustrated example, the unit 1 includes a transparent
                         substrate 10, packaged light-emitting elements 20, lenses 30 with light-dispersing properties, and
                         wiring patterns 40 formed on the substrate 10. The substrate 10 has an obverse surface 13 and a
                         reverse surface 14, as shown in FIGS. 1B and 1C, for example. Each surface is provided with a
                         light-emitting element 20, a lens 30 and a wiring pattern 40. The lens 30 has a circular periphery
                         31. According to the present invention, the periphery 31 may be arranged to overlap with the
                         circular edge of the substrate 10 or retreat slightly inward from the edge of the Substrate 10. In
                         the illustrated example, the latter case is depicted, in which the periphery 31 is spaced apart from
                         the circular edge of the Substrate 10.

                         The substrate 10 is formed of a transparent material such as glass-reinforced epoxy, and includes
                         a rectangular portion 11 and a circular portion 12 continuous with the rectangular portion.

                   See also, e.g., Mano at Fig. 20 (showing other transparent regions 161):




                                              24


                                     Exhibit C, p. 295
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                                                       See also, Mano at [0091]: “Further, in the cruciform opening, the Substrate 110 is partially exposed (see
                                                       reference numeral 161). As in the first embodiment, light from the light emitting element can enter the
                                                       transparent substrate 110 via the exposed parts 161, propagate therethrough, and go out from the side surfaces
                                                       116 (see FIG. 18).”

                                                         See also, e.g., Mano at [0102], Figs. 1-6, Fig. 26.
Claim 18
18. The light emitting device according to claim 1, Mano discloses this element.
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light As discussed above at 1[c], Mano discloses a wavelength conversion member.
emitting element chips into light with a different
wavelength such that the converted light with the See, e.g., Mano at Fig. 13:
different wavelength is radiated along a first direction
from the first surface side of the board to an outer
periphery of the wavelength conversion member, and
along a second direction from the second surface of the
board to the outer periphery of the wavelength
conversion member.




                                                                                 25


                                                                        Exhibit C, p. 296
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                                                              #:17475




                                                         See also, e.g., Mano at [0083]: “In this case, as propagating through the lens 30, the light (“original light”)
                                                         emitted from the element 20 excites the fluorescent additives, and these additives will emit light (“secondary
                                                         light”) as returning to a less excited state. In this case, the original light and the secondary light are blended to
                                                         produce white light. A suitable fluorescent material is selected in accordance with the frequency of light emitted
                                                         from the element 20.”

                                                         See, e.g., Mano at [0091]: “Further, in the cruciform opening, the substrate 110 is partially exposed (see
                                                         reference numeral 161). As in the first embodiment, light from the light emitting element can enter the
                                                         transparent substrate 110 via the exposed parts 161, propagate therethrough, and go out from the side surfaces
                                                         116 (see Fig. 18).”
Claim 19
19. The light emitting device according to claim 1, Mano teaches wherein all light emitting element chips mounted on the first surface side of the board are aligned
wherein all light emitting element chips mounted on the along a line.
first surface side of the board are aligned along a line.
                                                          Mano discloses that all of the light-emitting elements mounted on the first surface side 113 of the board are
                                                          aligned along a line. See, e.g., Mano at Fig. 14B (for example, annotated with red line):




                                                                                    26


                                                                           Exhibit C, p. 297
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 298 of 954 Page ID
                                                               #:17476




                                                          See also, e.g., Mano at [0021], [0067], [0068], [0083], [0086]-[0087], [0093], [0097], [0099], [0103]-[0104],
                                                          [0107], [0110], [0112], [0114], Fig. 16, Figs. 17-18, Fig. 22, Fig. 28, Fig. 31.
Claim 20
20. The light emitting device according to claim 1, Mano teaches this element.
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface See, e.g., Mano at [0068]: “A light-emitting element 20 is disposed at the center of the circular portion 12 on
side of the board.                                        each side of the substrate 10, with the element 20 covered by a lens 30.”

                                                          See also, e.g., Mano at [0069]: “In this state, the supplied resin is hardened to provide the lens 30, with the light-
                                                          emitting element 20 enclosed therein.”

                                                          See also, e.g., Mano at Figs. 14B and 15 (showing all light emitting element chips mounted on the first surface
                                                          side of the board sealed by the wavelength conversion member):




                                                                                      27


                                                                            Exhibit C, p. 298
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 299 of 954 Page ID
                                                               #:17477




Claim 21
21. The light emitting device according to claim 19,        Mano teaches this element. See above discussion at claims 19 and 20.
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface
side of the board.
Claim 22
22. The light emitting device according to claim 1,         Mano teaches this element. See above discussion at claims l[i], 1[j], and 19.
wherein the first set of light emitting element chips and
the second set of light emitting element chips are
aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion
member.
Claim 24
24. The light emitting device according to claim 1,         Mano discloses wherein one of the support leads is positioned between one of the metal plates and the support
wherein one of the support leads is positioned between      base.
one of the metal plates and the support base.
                                                                                       28


                                                                              Exhibit C, p. 299
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 300 of 954 Page ID
                                                            #:17478



                                                     See, e.g., Mano at [0084]: “The unit 1 is electrically connected to a conductive base or cap 82. As in a
                                                     conventional lightbulb, the base 82 may consist of two electrically insulated contacts, a threaded ring contact and
                                                     a tip contact disposed at the bottom of the base 82. The ring contact is connected to one of the electrodes 50a,
                                                     50b, while the tip contact is connected to the other.”

                                                     See also, e.g., Mano at Figs. 13, 30, and 31 (at metal plate 440 and 450):




                                                     In view of the light emitting unit of the embodiment of Figs. 30 and 31, a POSITA would position an electrical
                                                     connection between the ring contact of the base of the light bulb and one of the electrodes 450, as such elements
                                                     would require a conductive interconnection to function as intended.
Claim 25
25. The light emitting device according to claim 1, Mano discloses this element.

                                                                                29


                                                                       Exhibit C, p. 300
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 301 of 954 Page ID
                                                               #:17479



wherein all of the light emitting element chips mounted See, e.g., Mano at Fig. 14A (annotated with red dashed line):
on the first surface side of the board are aligned along a
single line when viewed in plan view of the first surface
side of the board.




                                                         The light emitting elements 20 can be said to be “aligned along a single line when viewed in plan view of the
                                                         first surface side of the board” even if chips are not mounted on the line. For example, the light emitting
                                                         elements 20 can be said to aligned along the red dashed lined.
Claim 27
27[pre]. A light emitting device comprising:             See above claim 1[pre] above.
27[a] through 27[j]                                      See above at claim 1[a] through 1[j].

27[k] wherein one of the support leads is positioned      See above at claim 24.
between one of the metal plates and the support base.




                                                                                    30


                                                                           Exhibit C, p. 301
                                Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 302 of 954 Page ID
                                                                  #:17480



                                                                                          Exhibit B

            Shibata ‘525 in View of Shibata ‘980, or Shibata ‘525 in View of Shibata ‘980 and one of Hohn, Takashima, and Debray
        Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ‘734 Patent are invalid as obvious under 35 U.S.C. § 103 by U.S. Patent Publication No. 2004/0008525 to
Shibata (“Shibata ‘525”) in view of U.S. Patent Publication No. 2004/0007980 to Shibata (“Shibata ‘980”), or Shibata ‘525 in view of Shibata ‘980 and one of U.S. Patent
No. 6,066,861 (“Hohn”), U.S. Patent No. 7,723,740 (“Takashima”), and European Publication No. 1116419B1 (“Debray”).

         Shibata ‘525 in view of Shibata ‘980 renders the Asserted Claims of the ’734 Patent obvious under 35 U.S.C. § 103. These references alone or in combination
disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and features
relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above prior art to
arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures in a manner
that renders the Asserted Claims obvious.

        Shibata ‘525 in view of Shibata ‘980 and one of Hohn, Takashima, and Debray renders the Asserted Claims of the ’734 Patent obvious under 35 U.S.C. § 103. These
references alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting
semiconductor devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the
art to combine the above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the
teachings from these disclosures in a manner that renders the Asserted Claims obvious.

                    Asserted Claims                                                       Prior Art References, Shibata ‘525 in View of Shibata ‘980
Claim 1
1[pre]. A light emitting device comprising:                    To the extent the preamble is limiting, Shibata ‘525 discloses a light emitting device.

                                                               See, e.g., Shibata ‘525 at [0006]: “[T]he present device has as its object the provision of an LED electric bulb
                                                               which can obtain a desired quantity of light and a desired range of emission.”

                                                               See also, e.g., Shibata ‘525 at Figs. 1 and 3, [0004], [0007]-[0008], [0014], [0017]-[0018].
1[a] a board having end portions and a center portion          Shibata ‘525 discloses this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a   Shibata ‘525 teaches a string of LED chips, supported and connected by a flat surface (e.g., a board) comprised
second surface on a second surface side thereof, the           of the base of the “transparent bodies” directly underneath each LED, along with the flexible members (4) in
second surface being an opposite side to the first             between.
surface, the first surface including a first region and a
second region, the first region extending from the center      See, e.g., Shibata ‘525 at Fig. 1:
portion of the board to one of the end portions, the
second region extending from the center portion of the
board to the other of the end portions;




                                                                                   Exhibit C, p. 302
      Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 303 of 954 Page ID
                                        #:17481



Asserted Claims                                       Prior Art References, Shibata ‘525 in View of Shibata ‘980




                           See also, e.g., Shibata ‘525 at Fig. 2:




                           See also, e.g., Shibata ‘525 at [0014]:

                                 As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                 which are formed by embedding LED chips in transparent bodies, are connected in series via
                                 flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                 thickness of 0.1 mm). Referring to FIG. 1, in the LED chain body 2, the flexible members 4
                                 composed of plate members are twisted so as to slightly shift distribution of light between the
                                 adjacent LED lamps 3, and the flexible members 4 are bent at two points so as to work the LED
                                 chain body 2 entirely into the shape of a reversed letter U. A hub le is provided on the stem le in
                                 the glass bulb la, and two anchors lf extend into the glass bulb la from the hub le. The anchors lf
                                 support the two bent points of the LED chain body 2.

                           See also, e.g., [0007]-[0009], [0015] (discussing the LED “chain body”).
                                                        2


                                           Exhibit C, p. 303
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 304 of 954 Page ID
                                                               #:17482



                   Asserted Claims                                                 Prior Art References, Shibata ‘525 in View of Shibata ‘980
                                                          Moreover, a POSITA would have found it obvious and been motivated to modify the connection between LED
                                                          chips in Shibata ‘525 to use a contiguous piece of material (for example, extending the material of the
                                                          “transparent bodies” underneath the full line of LEDs, and connecting the individual LEDs with a simple wiring
                                                          pattern, which a POSITA would have understood as this was well-known in the art). See, e.g., U.S. Patent
                                                          Application Publication No. 2004/0239242 at Fig. 22 (showing a circuit diagram of a substrate board).

                                                          A POSITA would have understood that the embodiment in Fig. 1 would be readily converted to other
                                                          configurations to engage with the support leads 1f and 1d. A POSITA would be further motivated to combine the
                                                          string-like LED configuration with a single board with multiple LEDs because using fewer parts would simplify
                                                          the design and assembly of the lightbulb, and would provide advantages relating to structural stability.

                                                          Shibata ‘525 recognizes that the LEDs can be connected in different configurations.

                                                          See, e.g., Shibata at [0015]: “Here, the LED chain body 2 is formed by connecting the LED lamps. The LED
                                                          chain body 2 may be formed by connecting LED chips instead of the LED lamps directly via the flexible
                                                          members. Indeed, such types of configurations are expressly taught in a contemporaneous publication to the
                                                          same inventor.”

                                                         As discussed below at element 1[g], it would have been obvious to combine the tube-shaped LED light of
                                                         Shibata
                                                         ‘980 with the invention of Shibata ‘525.
1[b] a plurality of light emitting element chips mounted Shibata ‘525 discloses a plurality of light emitting element chips mounted on the first surface side of the board.
on the first surface side of the board;
                                                         See, e.g., Shibata ‘525 at Fig. 2 (LED lamps 3, containing embedded LED chips):




                                                          See also, e.g., Shibata ‘525 at [0014]:

                                                                As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                                                which are formed by embedding LED chips in transparent bodies, are connected in series via
                                                                flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                                                thickness of 0.1 mm). Referring to FIG. 1, in the LED chain body 2, the flexible members 4
                                                                                      3


                                                                            Exhibit C, p. 304
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 305 of 954 Page ID
                                                              #:17483



                  Asserted Claims                                                 Prior Art References, Shibata ‘525 in View of Shibata ‘980
                                                              composed of plate members are twisted so as to slightly shift distribution of light between the
                                                              adjacent LED lamps 3, and the flexible members 4 are bent at two points so as to work the LED
                                                              chain body 2 entirely into the shape of a reversed letter U. A hub le is provided on the stem le in
                                                              the glass bulb la, and two anchors lf extend into the glass bulb la from the hub le. The anchors lf
                                                              support the two bent points of the LED chain body 2.

                                                      See also, e.g., Shibata at Fig. 1 (showing LED configuration in bulb), [0008], [0015], [0016].
1[c] a wavelength conversion member formed unitarily Shibata ‘525 in view of Shibata ‘980 teaches a wavelength conversion member formed unitarily with a
with a transparent member that seals the plurality of transparent member that seals the plurality of light emitting element chips.
light emitting element chips;
                                                      Shibata ‘980 is a contemporaneous publication to the same inventor. Like Shibata ‘525, Shibata ‘980 is directed
                                                      to a light emitting device that uses LEDs as its light source. More specifically, Shibata ‘980 teaches how to
                                                      adapt
                                                      the LED chain body of Shibata ‘525 for applications where a solid tube form, and where wavelength conversion,
                                                      would be desired.

                                                        See, e.g.¸ Shibata ‘980 at [0008]: “In order to solve the above-described problems, the present device is
                                                        characterized in that an LED chain body is inserted into a transparent or translucent tube, the LED chain body
                                                        being formed by connecting a plurality of LED lamps or LED chips via flexible members.”

                                                        Shibata ‘980 teaches a wavelength conversion member formed unitarily with a transparent member.

                                                        See, e.g., Shibata ‘980 at [0017]:

                                                              In the above-described embodiment, the fluorescent material is applied over the inner Surface of
                                                              the tube 1. The fluorescent material may be applied on an outer Surface, or instead of applying
                                                              the fluorescent material, the tube 1 may be made of acrylic resin, in which a fluorescent material
                                                              is mixed. Instead of a fluorescent material, a phosphorescence material, a diffusion material for
                                                              diffusing light, and a reflective material for reflecting light may be applied or mixed, or two or
                                                              more may be selected for application or mixing from the above materials.

                                                        See also, e.g., Shibata ‘980 at [0010]-[0011], [0016].

                                                        This wavelength conversion member (e.g., tube 1) seals the plurality of light emitting element chips.

                                                        See, e.g., Shibata ‘980 at Fig. 1:


                                                                                     4


                                                                          Exhibit C, p. 305
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                                                              #:17484



                  Asserted Claims                                                  Prior Art References, Shibata ‘525 in View of Shibata ‘980




                                                        Shibata ‘525 teaches adding a fluorescent material to the translucent resin molding during the manufacturing
                                                        process. See, e.g., Shibata ‘525 at [0017]:

                                                               Instead of the glass bulb la, it is possible to use a hollow body formed by performing injection
                                                               molding, extrusion, and the like on transparent or translucent resin (e.g., polycarbonate, acrylic,
                                                               and polychlorinated biphenyl). In this case, a material such as a diffusing material and a
                                                               fluorescent material can be mixed in a molding material during molding.

                                                        Shibata ‘525 discloses emulating the look of traditional filament lighting by positioning LEDs in place of a
                                                        traditional filament. A POSITA would also have further understood that part of emulating this look of an
                                                        incandescent bulb would be achieved through converting the wavelength of emitted light, rather than the blue
                                                        light traditionally emitted by LEDs.

                                                        Therefore, a POSITA would have been motivated to and found it obvious to combine the fluorescent tube
                                                        structure disclosed in Shibata ‘980 (1, 2) with the bulb architecture of Shibata ‘525.
1[d] a transparent bulb that encloses the board and the Shibata ‘525 discloses a transparent bulb that encloses the board and the plurality of light emitting element
plurality of light emitting element chips;              chips.

                                                        See, e.g., Shibata ‘525 at Fig. 1:




                                                                                     5


                                                                          Exhibit C, p. 306
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 307 of 954 Page ID
                                                               #:17485



                   Asserted Claims                                                  Prior Art References, Shibata ‘525 in View of Shibata ‘980




                                                          See also, e.g., Shibata ‘525 at [0009]: “Further, members other than a filament of an incandescent lamp may be
                                                          used as they are, the members including a hollow body composed of a glass bulb, a base, and a stem, and the
                                                          stem may Support the LED chain body instead of the filament.”

                                                          See also, e.g., Shibata ‘525 at [0017]:

                                                                Additionally, the above-described embodiment discussed the LED electric bulb which uses the
                                                                electric bulb main body 1 comprising the glass bulb la. Instead of the glass bulb la, it is possible
                                                                to use a hollow body formed by performing injection molding, extrusion, and the like on
                                                                transparent or translucent resin (e.g., polycarbonate, acrylic, and polychlorinated biphenyl). In
                                                                this case, a material such as a diffusing material and a fluorescent material can be mixed in a
                                                                molding material during molding.

                                                      See also, e.g., Shibata ‘525 at [0006]- [0007], [0010], [0014], [0018] (describing same).
1[e] support leads that secure the plurality of light Shibata ‘525 discloses support leads that secure the plurality of light emitting elements.
emitting element chips inside the transparent bulb;
                                                      See, e.g., Shibata ‘525 at Fig. 1 (at elements 1f, 1d):




                                                                                      6


                                                                            Exhibit C, p. 307
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 308 of 954 Page ID
                                                              #:17486



                   Asserted Claims                                                  Prior Art References, Shibata ‘525 in View of Shibata ‘980




                                                         See also, e.g., Shibata ‘525 at [0014]:

                                                               As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                                               which are formed by embedding LED chips in transparent bodies, are connected in series via
                                                               flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                                               thickness of 0.1 mm). Referring to FIG. 1, in the LED chain body 2, the flexible members 4
                                                               composed of plate members are twisted so as to slightly shift distribution of light between the
                                                               adjacent LED lamps 3, and the flexible members 4 are bent at two points so as to work the LED
                                                               chain body 2 entirely into the shape of a reversed letter U. A hub le is provided on the stem le in
                                                               the glass bulb la, and two anchors lf extend into the glass bulb la from the hub le. The anchors lf
                                                               support the two bent points of the LED chain body 2.

                                                          See also, e.g., Shibata at [0009], [0016], [0018].
1[f] a support base that can be threadedly engaged with Shibata ‘525 discloses a support base that can be threadedly engaged with a conventional light bulb socket along
a conventional light bulb socket along a socket axis; and a socket axis.

                                                         See, e.g., Shibata ‘525 at Fig. 1:




                                                                                      7


                                                                           Exhibit C, p. 308
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 309 of 954 Page ID
                                                               #:17487



                   Asserted Claims                                                    Prior Art References, Shibata ‘525 in View of Shibata ‘980




                                                           See, e.g., Shibata ‘525 at [0018] (describing “base” 1b): “Also, since members such as a hollow body, a base,
                                                           and a stem of an incandescent lamp can be used as they are, electric bulbs can be manufactured in the same
                                                           process as that of incandescent lamps.”

                                                           See also, e.g., Shibata ‘525 at Fig. 3, [0006], [0007], [0008], [0009], [0014] (describing same).
1[g] a pair of metal plates protruding at both ends of the Shibata ‘525, in view of Shibata ‘980, teaches a pair of metal plates protruding at both ends of the wavelength
wavelength conversion member,                              conversion member.

                                                           Shibata ‘525 teaches the use of metal plates (e.g., flexible members 4) to engage with support leads (e.g. 1d, 1f)
                                                           at the terminal ends of each line of LEDs.

                                                           See, e.g., Shibata ‘525 at Fig. 1:




                                                                                        8


                                                                             Exhibit C, p. 309
      Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 310 of 954 Page ID
                                        #:17488



Asserted Claims                                       Prior Art References, Shibata ‘525 in View of Shibata ‘980




                           See also, e.g., Shibata ‘525 at Fig. 2:




                           See also, e.g., Shibata ‘525 at [0014]:

                                 As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                 which are formed by embedding LED chips in transparent bodies, are connected in series via
                                 flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                 thickness of 0.1 mm). Referring to FIG. 1, in the LED chain body 2, the flexible members 4
                                 composed of plate members are twisted so as to slightly shift distribution of light between the
                                 adjacent LED lamps 3, and the flexible members 4 are bent at two points so as to work the LED
                                 chain body 2 entirely into the shape of a reversed letter U. A hub le is provided on the stem le in
                                 the glass bulb la, and two anchors lf extend into the glass bulb la from the hub le. The anchors lf
                                 support the two bent points of the LED chain body 2.

                                                        9


                                           Exhibit C, p. 310
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 311 of 954 Page ID
                                                               #:17489



                   Asserted Claims                                                     Prior Art References, Shibata ‘525 in View of Shibata ‘980
                                                            See also, e.g., Shibata ‘525 at [0015]-[0016] (further describing metal plates connecting the LEDs).

                                                            Shibata ‘980 similarly teaches metal plates (e.g., pins 1b) protruding from each end of its tube 1 (e.g., the
                                                            wavelength conversion member), which a POSITA would have incorporated into the combination with Shibata
                                                            ‘525 to preserve this engagement with the support leads.

                                                            See, e.g., Shibata ‘980 at Fig. 1:




                                                            See also, e.g., Shibata ‘980 at [0014]:

                                                                  Referring to FIG. 1, reference numeral 1 denotes a tube made of transparent acrylic resin. Bases
                                                                  1a used for a fluorescent lamp of a cold-cathode Starting type are provided on both ends of the
                                                                  tube 1. The bases 1a have pins 1b as terminals, respectively. The LED chain body 2 is inserted
                                                                  into the tube, and both ends of the LED chain body 2 are respectively connected to the pins 1b in
                                                                  the tube.

                                                            See also, e.g., Shibata ‘980 at [0015], Fig. 2.
1[h] wherein the wavelength conversion member is            Shibata ‘525, in view of Shibata ‘980, discloses this element.
provided on the first surface side and the second surface
side, the wavelength conversion member is elongated in      As discussed above at 1[c], a POSITA would have found it obvious to and been motivated to combine the tube-
the longitudinal direction when viewed in plan view of      like light element of Shibata ‘980 with the bulb of Shibata ‘525. In this configuration, the wavelength
the first surface side of the board,                        conversion member is provided on the first surface side and the second surface side, the wavelength conversion
                                                            member, elongated in the longitudinal direction when viewed in plan view of the first surface side of the board.

                                                            See, e.g., Shibata ‘980 at Fig. 1:




                                                                                        10


                                                                              Exhibit C, p. 311
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 312 of 954 Page ID
                                                             #:17490



                  Asserted Claims                                                Prior Art References, Shibata ‘525 in View of Shibata ‘980




                                                       See also, e.g., Shibata ‘980 at [0017]:

                                                             In the above-described embodiment, the fluorescent material is applied over the inner surface of
                                                             the tube 1. The fluorescent material may be applied on an outer Surface, or instead of applying
                                                             the fluorescent material, the tube 1 may be made of acrylic resin, in which a fluorescent material
                                                             is mixed. Instead of a fluorescent material, a phosphorescence material, a diffusion material for
                                                             diffusing light, and a reflective material for reflecting light may be applied or mixed, or two or
                                                             more may be selected for application or mixing from the above materials.

                                                       See also, e.g., Shibata ‘980 at [00010]-[0011], [0016]-[0017].

                                                        A POSITA would also be motivated to combine the wavelength conversion member with the LED board
                                                        discussed in 1[a] as this would allow the LED bulb to mimic the light from a conventional light source by
                                                        converting blue light from the LED to a white light typically emitted by filament bulbs.
1[i] wherein a first set of the light emitting element Shibata ‘525 discloses this element.
chips are mounted on the first region and arranged from
the center portion of the board to the one of the end Shibata ‘525 teaches multiple LEDs mounted from the center portion of the board to one of the end portions.
portions,
                                                        See, e.g., Shibata ‘525 at Fig. 2:




                                                                                  11


                                                                         Exhibit C, p. 312
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                                        #:17491



Asserted Claims                                       Prior Art References, Shibata ‘525 in View of Shibata ‘980




                           See also, e.g., Shibata ’525 at [0014]:

                                 As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                 which are formed by embedding LED chips in transparent bodies, are connected in series via
                                 flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                 thickness of 0.1 mm). Referring to FIG. 1, in the LED chain body 2, the flexible members 4
                                 composed of plate members are twisted so as to slightly shift distribution of light between the
                                 adjacent LED lamps 3, and the flexible members 4 are bent at two points so as to work the LED
                                 chain body 2 entirely into the shape of a reversed letter U. A hub le is provided on the stem le in
                                 the glass bulb la, and two anchors lf extend into the glass bulb la from the hub le. The anchors lf
                                 support the two bent points of the LED chain body 2.

                           See, e.g., Shibata ‘525 at Fig. 1:




                           See also, e.g., Shibata ‘525 at [0007], [0015].
                                                       12


                                           Exhibit C, p. 313
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 314 of 954 Page ID
                                                               #:17492



                   Asserted Claims                                                  Prior Art References, Shibata ‘525 in View of Shibata ‘980
                                                           See also above discussion at [1a].

                                                           Shibata ‘980 also discloses this element.

                                                           See, e.g., Shibata ‘980 at Fig. 1:




                                                         See also, e.g., Shibata ‘980 at [0008], [0015].
1[j] wherein a second set of the light emitting element Shibata ‘525 discloses this element.
chips are mounted on the second region and arranged
from the center portion of the board to the other one of See above at 1[i] (the remainder of chips extending in the other direction from the center portion to the other one
the end portions, and                                    of the end portions would comprise the second set).

                                                           See also, e.g., Shibata ‘525 at [0007], [0015].

                                                           See also above at 1[a].

                                                           Shibata ‘980 also discloses this element.

                                                           See, e.g., Shibata ‘980 at Fig. 1:




                                                                                       13


                                                                             Exhibit C, p. 314
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 315 of 954 Page ID
                                                            #:17493



                   Asserted Claims                                                 Prior Art References, Shibata ‘525 in View of Shibata ‘980




                                                       See also, e.g., Shibata ‘980 at [0008], [0015].
1[k] wherein the pair of metal plates are electrically Shibata ‘525 discloses this element.
connected with the support base via the support leads.
                                                       See, e.g., Shibata at Fig. 1:




                                                         See also, e.g., Shibata ‘525 at [0014]:

                                                                Here, in an incandescent lamp, a filament is supported by the stem le. In contrast, in the present
                                                                embodiment, the stem le supports an LED chain body 2 instead of a filament, and both ends of
                                                                the LED chain body 2 are respectively connected to two internal lead-in wires ld, which extend
                                                                into the glass bulb la from the stem le.

                                                                                    14


                                                                         Exhibit C, p. 315
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                                                             #:17494



                  Asserted Claims                                                 Prior Art References, Shibata ‘525 in View of Shibata ‘980
                                                       See also, e.g., [0009] (referencing using a stem to support the filament), [0018].

                                                       Further, Shibata ‘980 teaches that its metal plates (pins 1b) serve as terminals. See Shibata ‘980 at
                                                       [0014].
Claim 3
3. The light emitting device according to claim 1, As discussed above in l[d], Shibata ‘525 discloses this element.
wherein the transparent bulb is made of glass.
                                                   See, e.g., Shibata ‘525 at Fig. 1:




                                                       See also, e.g., Shibata ‘525 at [0009]: “Further, members other than a filament of an incandescent lamp may be
                                                       used as they are, the members including a hollow body composed of a glass bulb, a base, and a stem, and the
                                                       Stem may Support the LED chain body instead of the filament.”

                                                       See also, e.g., Shibata ‘525 at [0017]:

                                                             Additionally, the above-described embodiment discussed the LED electric bulb which uses the
                                                             electric bulb main body 1 comprising the glass bulb la. Instead of the glass bulb la, it is possible
                                                             to use a hollow body formed by performing injection molding, extrusion, and the like on
                                                             transparent or translucent resin (e.g., polycarbonate, acrylic, and polychlorinated biphenyl). In
                                                             this case, a material such as a diffusing material and a fluorescent material can be mixed in a
                                                                                  15


                                                                         Exhibit C, p. 316
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 317 of 954 Page ID
                                                               #:17495



                   Asserted Claims                                                 Prior Art References, Shibata ‘525 in View of Shibata ‘980
                                                                molding material during molding.

                                                     See also, e.g., Shibata at [0006]-[0007], [0010], [0018] (stating similar).
Claim 4
4. The light emitting device according to claim 1, Shibata ‘525, in view of Shibata ‘980, discloses this element.
wherein each of the metal plates crosses the support
lead.                                                Shibata ‘525 clearly shows that the metal plates cross the support leads. See, e.g., Shibata at Fig. 1:




                                                          See also, e.g., Shibata ‘525 at [0007]-[0009], [0014], [0018].

                                                     See also, e.g., Shibata ‘980 at Figs. 1, 2, [0015].
Claim 6
6. The light emitting device according to claim 1, Shibata ‘525 in view of Shibata ‘980 discloses a wavelength conversion member that comprises a phosphor. See
wherein the wavelength conversion member comprises a l[c] above.
phosphor therein.
                                                     See, e.g., Shibata ‘980 at [0016]: “A fluorescent material (e.g., potassium halophosphate) is applied over the
                                                     inner surface of the tube 1. The fluorescent material absorbs ultraviolet rays emitted from the ultraviolet
                                                     emission LED lamps 3 and radiates visible radiation.” A “fluorescent material” is a phosphor.

                                                          See also, e.g., Shibata ‘980 at [0010]-[0011], [0017].

                                                                                     16


                                                                            Exhibit C, p. 317
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                                                               #:17496



                   Asserted Claims                                                 Prior Art References, Shibata ‘525 in View of Shibata ‘980
                                                          See also, e.g., Shibata ‘525 at [0017] (discussing a fluorescent material that can be mixed with the resin
                                                          molding).
Claim 7
7. The light emitting device according to claim 6, Shibata ‘525 in view of Shibata ‘980 discloses this element.
wherein the phosphor comprises a YAG group
phosphor.                                          As discussed above (see supra at claim 6), Shibata ‘980 teaches the use of a phosphor (e.g., a fluorescent
                                                   material) to cover the inner surface of the tube. Use of a YAG group phosphor in such light emitting devices was
                                                   well known in the art and commonly used as they have high stability and excellent luminescence.

                                                          See also, e.g., Shibata ‘980 at [0010]-[0011], [0017].


                  Asserted Claims                           Prior Art References, Shibata ’525 in View of Shibata ’980 and One of Hohn, Takashima, and Debray
Claim 11
11. The light emitting device according to claim 6, Shibata ’525 in view of Shibata ’980 discloses this element. As discussed above (see supra at claim 6), Shibata
wherein an average particle size of the phosphor is 3 μm ’525 in view of Shibata ’980 teaches the use of a phosphor, and it was well known in the art that a particle size
or more.                                                 of 3 μm or more would be advantageous.

                                                          Alternatively, Shibata ’525 in view of Shibata ’980 and one of Hohn, Takashima, and Debray discloses this
                                                          element.

                                                          See, e.g., Hohn at col. 2, lns. 20-21: “…the luminous substance pigments having grain sizes ≤ 20 μm ...”

                                                          See, e.g., Takashima at [17:7-10]: “Particle size of the fluorescent material 11 is preferably in a range from 1 μm
                                                          to 20 μm, more preferably in a range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.”

                                                          See, e.g., Debray at Claim 7: “Light source arrangement according to Claim 6, characterized in that the
                                                          luminescent material pigments have grain sizes of ≤ 20 µm …”


                    Asserted Claims                                                 Prior Art References, Shibata ’525 in View of Shibata ’980
Claim 12
12. The light emitting device according to claim 1, Shibata ‘525 discloses a plurality of light emitting element chips electrically connected in series.
wherein the plurality of light emitting element chips is
electrically connected in series.                        See, e.g., Shibata ‘525 at Fig. 2:


                                                                                     17


                                                                            Exhibit C, p. 318
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                                  #:17497




                     See also, e.g., Shibata at [0014]:

                           As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                           which are formed by embedding LED chips in transparent bodies, are connected in series via
                           flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                           thickness of 0.1 mm). Referring to FIG. 1, in the LED chain body 2, the flexible members 4
                           composed of plate members are twisted so as to slightly shift distribution of light between the
                           adjacent LED lamps 3, and the flexible members 4 are bent at two points so as to work the LED
                           chain body 2 entirely into the shape of a reversed letter U. A hub le is provided on the stem le in
                           the glass bulb la, and two anchors lf extend into the glass bulb la from the hub le. The anchors lf
                           support the two bent points of the LED chain body 2.

                     See also, e.g., Shibata ‘525 at [0007], [0015].

                     This would remain the case in combination with Shibata ‘980.

                     See, e.g., Shibata ‘980 at [0015]:

                           As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of ultraviolet
                           emission LED lamps 3, which are fo1med by embedding ultraviolet emitting LED chips in
                           transparent bodies, are connected in Series via flexible members 4, which are composed of thin
                           metallic plates (e.g., copper plates with a thickness of 0.1 mm). Refening to FIG. 1, in the LED
                           chain body 2, the flexible members 4 composed of plate members are twisted So as to slightly
                           shift distribution of light between the adjacent ultraviolet emission LED lamps 3. Here, the LED
                           chain body 2 is fo1med by connecting the LED lamps. The LED chain body 2 may be fo1med by
                           connecting LED chips instead of the LED lamps directly via the flexible members 4.

                     See also, e.g., Shibata ‘980 at [0008], [0015].




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                                     Exhibit C, p. 319
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                                                               #:17498



Asserted Claims                                                Prior Art References, Shibata ’525 in View of Shibata ’980 and One of Hohn, Takashima, and Debray
Claim 13
13. The light emitting device according to claim 1,         Shibata ’525 in view of Shibata ’980 and one of Hohn, Takashima, and Debray discloses this element.
wherein the plurality of light emitting element chips is
so configured that a main peak light emission               See, e.g., Hohn at col. 6, lns. 11-16: “A semiconductor component that emits white light can be produced with
wavelength of the light emitting element is varied within   the casting composition according to the invention advantageously by choosing the luminous substance in such a
a range between 420 nm and 490 nm.                          way that a blue radiation emitted by the semiconductor body is converted into complementary wavelength
                                                            ranges …”

                                                            See also, e.g., Hohn at col. 5, lns. 31-34: “Especially preferably, the casting composition is used in a radiation-
                                                            emitting semiconductor body in which the emitted radiation spectrum has a maximum intensity at a wavelength
                                                            between 420 nm and 460 nm …”

                                                            See, e.g., Takashima at [4:54-62]:

                                                                  The light emitting device according to the present invention can emit light of desired color with a
                                                                  high color rendering property while preventing color deviation and deterioration of the color
                                                                  rendering property from occurring in case drive current density in the light emitting device
                                                                  changes, also when a light emitting element having a principal-emission peak wavelength in blue
                                                                  region (420-490 nm) is used and a YAG fluorescent material is included in the fluorescent
                                                                  material.

                                                            See, e.g., Debray at Claim 9: “Light source arrangement according to one of Claims 1 to 8, characterized in
                                                            that the luminescent material arrangement can be excited by a radiation from the wavelength range between
                                                            400 nm and 500 nm, in particular between 420 nm and 490 nm.”
Claim 14
14. The light emitting device according to claim 1, Shibata ’525 in view of Shibata ’980 and one of Hohn, Takashima, and Debray discloses this element.
wherein each of the light emitting element chips
comprises nitride semiconductor made of InxAlyGa1-x-yN See, e.g., Hohn at col. 4, lns. 42-45: “Preferably, the casting composition according to the invention is used in a
(0≦x, 0≦y, x+y≦1).                                     radiation-emitting semiconductor body, in particular with an active semiconductor layer or semiconductor layer
                                                       sequence of GaxIn1-xN or Gax Al1-xN …”.

                                                            A POSITA would understand that semiconductors that emit electromagnetic radiation can include a combination
                                                            of these atomic elements.

                                                            See, e.g., Takashima at 18:27-31: “The semiconductor light emitting element capable of emitting light of
                                                            wavelength not longer than 500 nm in ultraviolet to visible region can be made of various semiconductors such
                                                            as BN, SiC, ZnSe, GaN, InCaN, InAlGaN, AlGaN, BalGaN and BinAlGaN.”

                                                                                       19


                                                                             Exhibit C, p. 320
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                                                      See, e.g., Debray at lns. 115-117: “In connection with the present invention, a luminescence diode chip based on
                                                      GaN or InGaN is to be understood in principle as a luminescence diode chip whose radiation-emitting zone has
                                                      GaN, InGaN and / or related nitrides and mixed crystals based thereon, such as Ga (Al, In) N.”


                    Asserted Claims                                              Prior Art Reference, Shibata ’525 in view of Shibata ’980
Claim 15
15. The light emitting device according to claim 1, Shibata ‘525 in view of Shibata ‘980 discloses that the wavelength conversion member substantially surrounds
wherein     the    wavelength      conversion member the board.
substantially surrounds the board.
                                                     See, e.g., Shibata ‘980 at Fig. 1 (e.g., tube 1, surrounding the board on which the LED chips are mounted):




                                                      See also, e.g., Shibata ‘980 at [0017]:

                                                            In the above-described embodiment, the fluorescent material is applied over the inner surface of
                                                            the tube 1. The fluorescent material may be applied on an outer surface, or instead of applying the
                                                            fluorescent material, the tube 1 may be made of ac1ylic resin, in which a fluorescent material is
                                                            mixed. Instead of a fluorescent material, a phosphorescence material, a diffusion material for
                                                            diffusing light, and a reflective material for reflecting light may be applied or mixed, or two or
                                                            more may be selected for application or mixing from the above materials.

                                                      See also, e.g., Shibata ‘980 at [0010]-[0011], [0016].

                                                      See also, e.g., Shibata ‘525 at [0017].

                                                      As discussed above at 1[c], to achieve an LED light source that can produce a range of light colors, a POSITA
                                                      would have adopted the tube with the wavelength conversion member and tube-shaped structure (1) disclose in
                                                                                 20


                                                                        Exhibit C, p. 321
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                                                               #:17500



                                                            Shibata ‘980 to the LED bulb disclosed in Shibata ‘525.

                                                            See also above discussion of board at l[a].
Claim 17
17. The light emitting device according to claim 1,         Shibata ‘525 in view of Shibata ‘980 discloses this element.
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting        As discussed above at l[a], a POSITA would have found it obvious to extend the “transparent bodies” underlying
element chips on the first surface side of the board        each LED across each full line of LEDs in the configuration of Shibata ‘525, and particularly in the tube
forwards outside of the light emitting device through the   configuration of Shibata ‘980. A POSITA would have been motivated to do so to reduce manufacturing cost,
second surface of the board.                                simplify the manufacturing process, and/or increase support.

                                                            Shibata ‘525 teaches that this material is transparent.

                                                            See, e.g., Shibata ‘525 at [0014]:

                                                                  As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                                                  which are formed by embedding LED chips in transparent bodies, are connected in series via
                                                                  flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                                                  thickness of 0.1 mm).

                                                            See also, e.g., Shibata ‘525 at [0017].

                                                            As thus configured, a light emitted from the plurality of light emitting element chips on the first surface side of
                                                            the board would fo1ward outside of the light emitting device through the second surface of the board.
Claim 18
18. The light emitting device according to claim 1,         Shibata ‘525 in view of Shibata ‘980 discloses this element.
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light     As discussed above at 1[c], as combined with Shibata ‘980, the tube (1) of Shibata ’980 comprises the
emitting element chips into light with a different          wavelength conversion member.
wavelength such that the converted light with the
different wavelength is radiated along a first direction    See, e.g., Shibata ‘980 at [0017]:
from the first surface side of the board to an outer
periphery of the wavelength conversion member, and                In the above-described embodiment, the fluorescent material is applied over the inner Surface of
along a second direction from the second surface of the           the tube 1. The fluorescent material may be applied on an outer Surface, or instead of applying the
board to the outer periphery of the wavelength                    fluorescent material, the tube 1 may be made of acrylic resin, in which a fluorescent material is
conversion member.                                                mixed. Instead of a fluorescent material, a phosphorescence material, a diffusion material for
                                                                  diffusing light, and a reflective material for reflecting light may be applied or mixed, or two or
                                                                  more may be selected for application or mixing from the above materials.

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                                                                              Exhibit C, p. 322
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                                                      In this configuration, the wavelength conversion member is capable of converting light emitted from the
                                                      plurality of light emitting element chips into light with a different wavelength such that the converted light with
                                                      the different wavelength is radiated along a first direction from the first surface side of the board to an outer
                                                      periphery of the wavelength conversion member, and along a second direction from the second surface of the
                                                      board to the outer periphery of the wavelength conversion member.

                                                      See, e.g., Shibata ‘980 at Fig. 1:




                                                      See also, e.g., Shibata ‘980 at [0008], [0010]-[0011], [0016].
Claim 19
19. The light emitting device according to claim 1, Shibata ‘525 discloses this element.
wherein all light emitting element chips mounted on the
first surface side of the board are aligned along a line. See, e.g., Shibata at Fig. 2:




                                                      See also, e.g., Shibata at [0014]:

                                                            As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                                            which are fo1med by embedding LED chips in transparent bodies, are connected in series via
                                                            flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                                            thickness of 0.1 mm). Referring to FIG. 1, in the LED chain body 2, the flexible members 4
                                                            composed of plate members are twisted so as to slightly shift distribution of light between the

                                                                                  22


                                                                         Exhibit C, p. 323
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                                                              #:17502



                                                               adjacent LED lamps 3, and the flexible members 4 are bent at two points so as to work the LED
                                                               chain body 2 entirely into the shape of a reversed letter U. A hub le is provided on the stem le in
                                                               the glass bulb la, and two anchors lf extend into the glass bulb la from the hub le. The anchors lf
                                                               support the two bent points of the LED chain body 2.
                                                         See also, e.g., Shibata ‘525 at [0007], [0015].

                                                         This would be unchanged as combined with Shibata ‘980.

                                                         See, e.g., Shibata ‘980 at Fig. 1:




                                                         See also, e.g., Shibata ‘980 at [0008], [0015].
Claim 20
20. The light emitting device according to claim 1, Shibata ‘525 in view of Shibata ‘980 discloses this element.
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface As discussed above in claim 15, Shibata ‘525, in combination with Shibata ‘980, teaches incorporating a
side of the board.                                        wavelength conversion member to the transparent resin surrounding the LEDs. This would seal all light emitting
                                                          elements mounted on the first surface side of the board.

                                                         See, e.g., Shibata ‘980 at [0017]:

                                                               In the above-described embodiment, the fluorescent material is applied over the inner Surface of
                                                               the tube 1. The fluorescent material may be applied on an outer Surface, or instead of applying the
                                                               fluorescent material, the tube 1 may be made of acrylic resin, in which a fluorescent material is
                                                               mixed. Instead of a fluorescent material, a phosphorescence material, a diffusion material for
                                                               diffusing light, and a reflective material for reflecting light may be applied or mixed, or two or
                                                               more may be selected for application or mixing from the above materials.

                                                         See, e.g., Shibata ‘980 at Fig. 1:

                                                                                     23


                                                                           Exhibit C, p. 324
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                                                            See also, e.g., Shibata ‘980 at [0008], [0010]-[0011], [0016].
Claim 21
21. The light emitting device according to claim 19,        Shibata ‘525 in view of Shibata ‘980 discloses this element. See above discussion at claims 19, 20.
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface
side of the board.
Claim 22
22. The light emitting device according to claim 1,         Shibata ‘525 in view of Shibata ‘980 discloses this element. See above discussion at claims l[i], l[j], and 19.
wherein the first set of light emitting element chips and
the second set of light emitting element chips are
aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion
member.
Claim 24
24. The light emitting device according to claim 1,         Shibata ‘525 in view of Shibata ‘980 discloses this element.
wherein one of the support leads is positioned between
one of the metal plates and the support base.               See, e.g., Shibata ‘525 at Fig. 1:




                                                                                        24


                                                                            Exhibit C, p. 325
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                                                           See also, e.g., Shibata ‘525 at [0007]-[0009], [0014], [0018].
Claim 25
25. The light emitting device according to claim 1, Shibata ‘525 in view of Shibata ‘980 discloses this element.
wherein all of the light emitting element chips mounted
on the first surface side of the board are aligned along a This is true of each line of LEDs in the bulb of Shibata ‘525 (and as modified by Shibata ‘980).
single line when viewed in plan view of the first surface
side of the board.                                         See, e.g., Shibata at Fig. 2:




                                                           See also, e.g., Shibata ‘525 at [0014]:

                                                                 As shown in FIG. 2, the LED chain body 2 is configured such that a plurality of LED lamps 3,
                                                                 which are formed by embedding LED chips in transparent bodies, are connected in series via
                                                                 flexible members 4, which are composed of thin metallic plates (e.g., copper plates with a
                                                                 thickness of 0.1 mm).
                                                                                      25


                                                                           Exhibit C, p. 326
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                                                             #:17505



                                                        See also, e.g., Shibata ‘525 at [0007], [0015].

                                                        See, e.g., Shibata ‘980 at Fig. 1:




                                                        See also, e.g., Shibata ‘980 at [0008], [0015].
Claim 27
27. A light emitting device comprising:                 See claim element 1[pre] above.
[27a] through [27j]                                     See claim elements 1[a] through 1[j] above.

[27k] wherein one of the support leads is positioned    See claim 24 above.
between one of the metal plates and the support base.




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                                                                        Exhibit C, p. 327
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                                                                                       Exhibit C

             Ishibashi Alone or in View of One of Suehiro ’897 and Suehiro ‘797, or Ishibashi in View of One of Suehiro ’897 and
                                        Suehiro ‘797 and One of Hohn, Takashima, and Debray
        Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ‘734 Patent are invalid as anticipated under 35 U.S.C. § 102 by U.S. Patent Publication No. 2003/0031015 to
Ishibashi (“Ishibashi”). Specifically, Ishibashi directly or inherently, based on the presumed knowledge of a POSITA, discloses each and every limitation of the these claims.

        In the alternate, claims 1, 4, 6, 7, 11, 13-15, 17, 18, 20-22, 24, and 27 of the ‘734 Patent are invalid as obvious under 35 U.S.C. § 103 by Ishibashi in view of one of
U.S. Patent No. 7,875,897 to Suehiro (“Suehiro ‘897”) and U.S. Patent Publication No. 2004/0257797 to Suehiro (“Suehiro ‘797”), or Ishibashi in view of one of Suehiro
‘897 and Suehiro ‘797 and one of U.S. Patent No. 6,066,861 (“Hohn”), U.S. Patent No. 7,723,740 (“Takashima”), and European Publication No. 1116419B1 (“Debray”).

         Ishibashi in view of one of Suehiro ‘897 and Suehiro ’797 renders the Asserted Claims of the ‘734 Patent obvious under 35 U.S.C. § 103. These references alone or in
combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and
features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above
prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures
in a manner that renders the Asserted Claims obvious.

        Ishibashi in view of one of Suehiro ‘897 and Suehiro ’797 and one of Hohn, Takashima, and Debray renders the Asserted Claims of the ‘734 Patent obvious under 35
U.S.C. § 103. These references alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to
light-emitting semiconductor devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of
ordinary skill in the art to combine the above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to
combine the teachings from these disclosures in a manner that renders the Asserted Claims obvious.


                    Asserted Claims                                   Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
Claim 1
1[pre]. A light emitting device comprising:                 To the extent the preamble is limiting, Ishibashi teaches a light emitting device.

                                                            See, e.g., Ishibashi at Abstract:

                                                                   Provided is an LED bulb with a higher distribution of luminous intensity which is close to those
                                                                   of tungsten bulbs, in which the problem in directivity of the prior art LED bulbs has been solved
                                                                   while maintaining the advantages of an LED, that is, a long life and an energy Saving
                                                                   characteristic. The LED bulb comprises a printed circuit board 5 which is flat when developed
                                                                   and is bendable to fo1m a cage, a plurality of LEDs 6 which are disposed on the printed circuit
                                                                   board 5, and a transparent or Semi-transparent cover 2 which encloses the printed circuit board 5




                                                                                Exhibit C, p. 328
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                   Asserted Claims                                   Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                                  fo1med into the cage. The printed circuit board 5 may have a plurality of belt-like branches. 5a
                                                                  which extend in radial directions from the center of the printed circuit board 5. The LED bulb
                                                                  may further comprise a power unit housing 8 for containing a power unit which Supplies electric
                                                                  current to each of the LEDs 6.

                                                            See also, e.g., Ishibashi at Fig. 1:




                                                             See also, e.g., Ishibashi at [0001], [0007]-[0012], [0017]-[0030], Fig. 2.
1[a] a board having end portions and a center portion Ishibashi teaches this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a See, e.g., Ishibashi at Fig. 2, showing board (5) with end portions (e.g., the ends of “belt-like branch[es]” 5a),
second surface on a second surface side thereof, the and a center portion therebetween in a longitudinal direction:
second surface being an opposite side to the first
surface, the first surface including a first region and a
second region, the first region extending from the center
portion of the board to one of the end portions, the
                                                                                         2


                                                                               Exhibit C, p. 329
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                    Asserted Claims                               Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
second region extending from the center portion of the
board to the other of the end portions;




                                                         Opposite end portions 5a are arranged in a longitudinal direction, as further illustrated in Fig. 1:




                                                                                     3


                                                                         Exhibit C, p. 330
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                                                               #:17509



                   Asserted Claims                                 Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                         The board has a first surface on a first surface side thereof (e.g., the side shown in Fig. 2, where the LEDs are
                                                         located) and a second surface on a second surface side thereof, the second surface being an opposite side to the
                                                         first surface, the first surface including a first region and a second region, the first region extending from the
                                                         center portion of the board to one of the end portions, the second region extending from the center portion of the
                                                         board to the other of the end portions.
1[b] a plurality of light emitting element chips mounted Ishibashi teaches a plurality of light emitting element chips mounted on the first surface side of the board.
on the first surface side of the board;
                                                         See, e.g., Ishibashi at Fig. 2 (LED chips (6)):




                                                                                      4


                                                                            Exhibit C, p. 331
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                                        #:17510



Asserted Claims                     Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                           See also, e.g., Ishibashi at Abstract:

                                 Provided is an LED bulb with a higher distribution of luminous intensity which is close to those of
                                 tungsten bulbs, in which the problem in directivity of the prior art LED bulbs has been Solved
                                 while maintaining the advantages of an LED, that is, a long life and an energy Saving
                                 characteristic. The LED bulb comprises a printed circuit board 5 which is flat when developed and
                                 is bendable to form a cage, a plurality of LEDs 6 which are disposed on the printed circuit board 5,
                                 and a transparent or Semi-transparent cover 2 which encloses the printed circuit board 5 formed
                                 into the cage. The printed circuit board 5 may have a plurality of belt-like branches. 5a which
                                 extend in radial directions from the center of the printed circuit board 5. The LED bulb may further
                                 comprise a power unit housing 8 for containing a power unit which Supplies electric current to
                                 each of the LEDs 6.

                           See also, e.g., Ishibashi at Fig. 1, [0008], [0010], [0017]-[0020], [0022], [0025].



                                                        5


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                                                             #:17511

                    Asserted Claims                             Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
1[c] a wavelength conversion member formed unitarily Ishibashi discloses a wavelength conversion member formed unitarily with a transparent member that seals the
with a transparent member that seals the plurality of plurality of light emitting element chips. Ishibashi explains that the LED chips 6 are packaged (see at [0006]). It
light emitting element chips;                         was well known in the art that LEDs were commonly packaged in a fluorescent, transparent resin, wherein the
                                                      fluorescent material converted wavelength. See, e.g., U.S. Patent No. 7,875,897 (“Suehiro ‘897”) and U.S.
                                                      Patent Publication No. 20040257797A1 (“Suehiro ‘797”). It was also well known in the art that sealing LEDs in
                                                      a packaging extracted greater amounts of light from the LEDs. This in turn made the LEDs more efficient. See,
                                                      e.g., Ishibashi at [0020]: “On the printed circuit board 5, a plurality of the LED chips 6 are packaged on the
                                                      wiring pattern by soldering or the like.”

                                                          Also, Ishibashi discloses the desirability of emitting various colors of light, depending on the application--and
                                                          specifically mentions the desirability of emitting white light to substitute for an incandescent bulb. It was well
                                                          known in the art to include a fluorescent material, such as a phosphor, in the transparent resin to achieve
                                                          wavelength conversion (i.e. attain white light or another desired color).

                                                          See, e.g., Ishibashi at [0026]:

                                                                The color of the LED chips 6 can be selected depending on the purposes. As a substitute for a
                                                                conventional incandescent lamp, a white LED is used. On the other hand, it is possible to use
                                                                LEDs with either of or a combination of colors Such as red, green, blue, or orange. It is further
                                                                possible to use the cover 2 with a color in combination with colored LEDs to create light of
                                                                additional colors.

                                                          Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                          A POSITA would understand how to create white light by using a blue LED in combination with a wavelength
                                                          conversion member as this was well known in the art. For example, Suehiro ‘897 discloses this element.

                                                          See, e.g., Suehiro ‘897 at FIG. 13:




                                                                                       6




                                                                            Exhibit C, p. 333
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                                                             #:17512



                     Asserted Claims                              Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
1[d] a transparent bulb that encloses the board and the Ishibashi teaches a transparent bulb that encloses the board and the plurality of light emitting element chips.
plurality of light emitting element chips;
                                                        See, e.g., Ishibashi at Fig. 1 (bulb 2):




                                                           See also, e.g., Ishibashi at [0023]:

                                                                 The cover 2 may comprise a transparent or semitransparent plastic material. If the cover 2 is
                                                                 transparent, each one of a plurality of LED chips can be seen as a Separate light Source. On the
                                                                 other hand, if the cover 2 is Semi-transparent or milky white, the whole Surface of the cover 2
                                                                 appears to emit light due to the effect of diffused reflection. Although the inside of the cover 2
                                                                 need not be Vacuum like an incandescent lamp, it is preferable that the cover 2 is filled with dry
                                                                 air or an inert nitrogen gas to prevent dust or moisture from entering the inside.

                                                      See also, e.g., Ishibashi at [0019], [0025], [0026], Claims 1-4.
1[e] support leads that secure the plurality of light Ishibashi teaches the use of support leads (supporting rod 3).
emitting element chips inside the transparent bulb;
                                                                                        7


                                                                           Exhibit C, p. 334
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                                        #:17513



Asserted Claims                      Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           See, e.g., Ishibashi at [0019]:

                                 In these figures, 1 denotes a cap which is attachable to an ordinary bulb socket; 2 denotes a cover;
                                 3 denotes a supporting rod; 4 denotes a stop, 5 denotes a printed circuit board; 5a denotes a belt-
                                 like branch; 5b denotes a connecting hole; 6 denotes an LED chip; 7a and 7b denote electrode
                                 units, and 8 denotes a power source housing.

                           See, e.g., Ishibashi at [0022]:

                                 Electricity applied to each of the LED chips 6 is, if the power Supplied from the cap 1 is
                                 commercial alternate current of 100 V, converted to low voltage direct current by a power circuit
                                 (not shown) housed in the power Source housing 8, and the current is supplied to the electrode
                                 units 7a and 7b of the printed circuit board 5 through the supporting rod 3.

                           See also, e.g., Ishibashi at Fig. 1:




                                                        8


                                           Exhibit C, p. 335
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                                                              #:17514



                   Asserted Claims                                  Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                          See also, e.g., Ishibashi at [0012], [0025], [0028], Claim 4.
1[f] a support base that can be threadedly engaged with Ishibashi teaches this element.
a conventional light bulb socket along a socket axis; and
                                                          See, e.g., Ishibashi at [0012]: “If the power source is commercial alternate current, a power source unit for
                                                          lighting the LEDS is housed inside the bulb, which enables the LED bulb to be used in a manner similar to
                                                          conventional incandescent lamps.”

                                                         See, e.g., Ishibashi at [0019] (e.g. cap 1 and power source housing 8):

                                                               In these figures, 1 denotes a cap which is attachable to an ordinary bulb Socket; 2 denotes a
                                                               cover; 3 denotes a Supporting rod; 4 denotes a Stop, 5 denotes a printed circuit board; 5a denotes
                                                               a belt-like branch; 5b denotes a connecting hole; 6 denotes an LED chip; 7a and 7b denote
                                                               electrode units, and 8 denotes a power Source housing.

                                                         See also, e.g., Ishibashi at Fig. 1:




                                                                                      9


                                                                            Exhibit C, p. 336
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                                                               #:17515



                   Asserted Claims                                  Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797

                                                           See also, e.g., Ishibashi at [0022], [0025], [0028].
1[g] a pair of metal plates protruding at both ends of the Ishibashi discloses this element. Each LED chip 6 is connected to electrode units 7a and 7b, wherein such a
wavelength conversion member,                              connection would invariably include a conductive connecting means (see Ishibashi at Fig. 2 below). It was well
                                                           known in the art to include one of various electrical connecting means, such as a pair of metal plates. See, e.g.
                                                           Suehiro ‘897 and Suehiro ‘797. Further, the metal plates would be required to protrude from both ends of the
                                                           LED chip 6 to establish contact with the electrical circuit to power each LED chip 6 (see Ishibashi at [0020]).




                                                           Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                           Suehiro ’897 teaches a pair of metal plates protruding at both ends of the wavelength conversion member.

                                                           See, e.g., Suehiro ‘897 at Fig. 13:




                                                                                       10


                                                                             Exhibit C, p. 337
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Asserted Claims                     Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                           See, e.g., Suehiro ‘897 at col. 5, lns. 52-59 (explaining the construction of a light emitting device):

                                 Then, the pair of leads 2 is linearly disposed opposite with a given distance. The LED 3 is
                                 mounted on the thinned portion of the leads 2, and the circuit pattern 33 of the LED 3 is solder-
                                 boned to the leads 2. Then, the transparent resin 4 of acrylic resin is injected in injection molding
                                 to seal an exposed part of the LED 3 and a tip portion of the leads 2 and to have the lens surface
                                 41 on the top thereof. Thus, the light emitting device 1 is obtained.

                           See, e.g., Suehiro ‘897 at col. 18, lns. 40-44: “The LED 3 comprises a face-up type GaN-based LED element 31,
                           a lead 200, as a power supplying portion…a wire 19 which electrically connects between the GaN-based LED
                           element 31 and the lead 200….”

                           See, e.g., Suehiro at col. 19, lns. 4-7: “This glass sealed LED can be also overmolded with the transparent resin
                           as described in the earlier embodiment. In this case, the lead 2 for mounting the LED element 31 may be drawn
                           out as a lead from the transparent resin 4.”

                           A POSITA would have found the modification of Ishibashi with Suehiro ‘897 obvious, requiring simple

                                                       11


                                             Exhibit C, p. 338
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                                          #:17517



Asserted Claims                      Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           substitution of known components, to produce predictable results.

                           Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                           Suehiro ‘797 similarly teaches a pair of metal plates protruding at both ends of the wavelength conversion
                           member.

                           See, e.g., Suehiro ‘797 at Fig. 11 (e.g., wiring pattern 91 on ceramic board 9).




                           Similarly, see Suehiro ‘797 at Fig. 9 (e.g., lead frame 5):




                                                       12


                                             Exhibit C, p. 339
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                                                               #:17518



                   Asserted Claims                                   Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                            See also, e.g., Suehiro ‘797 at [0070]:

                                                                  The wavelength conversion portion 2 is composed such that a thin-film phosphor layer 2A is laid
                                                                  between two layers of transparent low-melting glass with a refractive index of 1.5 and the two
                                                                  glass layers are thermally fused to be integrated with the phosphor layer 2A. Further, the
                                                                  wavelength conversion portion 2 is formed into a dome-like optical shape according to a desired
                                                                  light distribution characteristic by hot pressing, and it Seals the LED element 3 while being
                                                                  thermally fused and bonded onto the lead frame 5. The phosphor layer 2A is shaped like a convex
                                                                  polygon to cover the emission observation Surface of LED element 3 in accordance with the
                                                                  formation of wavelength conversion portion 2.

                                                            A POSITA would have found the modification of Ishibashi with Suehiro ‘797 obvious, requiring simple
                                                            substitution of known components, to produce predictable results.
1[h] wherein the wavelength conversion member is            Ishibashi discloses this element. It was well known in the art that circuit boards upon which LED chips were
provided on the first surface side and the second surface   fixed could be fabricated from various materials that would allow light to pass through. It was also well known
side, the wavelength conversion member is elongated in      in the art that omni-directional light emitting devices, such as in Ishibashi (see at [0005]), would include
the longitudinal direction when viewed in plan view of      fluorescent, transparent resin on the top and bottom surfaces of the light emitting device to achieve wavelength
the first surface side of the board,                        conversion in any direction. See, e.g, U.S. Patent Publication No. 2004/0239242. Thus, in order to achieve an
                                                            omni-directional, white light emitting device (see above at 1[c]), Ishibashi would have included the fluorescent,

                                                                                       13


                                                                              Exhibit C, p. 340
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                                          #:17519



Asserted Claims                     Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           transparent resin of the LED chip 6 package at both the top and bottom surfaces of the circuit board 5 to achieve
                           wavelength conversion in any direction of light emission.

                           Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                           Suehiro ‘897 teaches this element. See above at 1[c].

                           See, e.g., Suehiro ’897 at Fig. 13 (having the wavelength conversion member provided on the first surface side
                           and the second surface side and showing a sectional view of a rectangular-shaped resin, which is elongated in the
                           longitudinal direction, and thus, would also be elongated in the longitudinal direction when viewed in plan view
                           of the first surface side of the board):




                           See, e.g., Suehiro at col. 2, lns. 57-59: “Further, the resin for sealing the light-emitting portion can be formed
                           into arbitrary shape and therefore the freedom in shape or formation process can be enhanced.”

                           Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                           Suehiro ’797 teaches this element as it explains various embodiments with a gap provided under the LED,

                                                      14


                                             Exhibit C, p. 341
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                                          #:17520



Asserted Claims                     Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           allowing light to emit downward. See also above at 1[c].

                           See, e.g., Suehiro ’797 at Fig. 11:




                           See also, e.g., Suehiro ’797 at Figs. 3, 5B, 6A, 7-11, 14.

                           In the third embodiment, Suehiro ‘797 teaches using a sheet of “whitish glass” to utilize light emitted downward
                           from the LED (e.g., through the board submount 4) by reflecting it back upward.

                           See, e.g., Suehiro ’797 at [0124]:

                                 In addition to the effects of the first embodiment, the third embodiment has an effect that, by
                                 providing the glass Sealing portion 6 of whitish glass to protect the bottom surface of lead frame
                                 5, light heading from the LED element 3 to the bottom side of light emitting device 1 can be
                                 reflected by the whitish glass and radiated in the direction of wavelength conversion portion 2.
                                 Thus, the light radiation efficiency can be enhanced.

                           See also, e.g., Suehiro ’797 at [0122]-[0123].

                           In other embodiments, the glass sealing portion (6) provided on the bottom of the board (4) is described as the
                           same as that used in the wavelength conversion portion.

                                                       15


                                             Exhibit C, p. 342
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                                                               #:17521



                   Asserted Claims                                  Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                          See, e.g., Suehiro ’797 at [0074]: “The glass sealing portion 6 is of the same glass material as the low-melting
                                                          glass to compose the wavelength conversion portion 2. It protects the bottom Surface of lead frame 5 while
                                                          being integrated with the wavelength conversion portion 2 by the hot pressing mentioned above.”

                                                          A POSITA would have understood this to allow light to emit from the bottom of the device, and as emphasizing
                                                          that the wavelength conversion present on the top surface of the board also be implemented on the bottom of the
                                                          board.

                                                          See also, e.g., Suehiro ’797 at [0072].

                                                          Suehiro ’797 teaches that the wavelength conversion member is elongated in the longitudinal direction when
                                                          viewed in plan view of the first surface side of the board.

                                                          See, e.g., Suehiro ’797 at Fig. 9:




                                                        See also, e.g., Suehiro ’797 at Figs. 3-4, 5B, 6A, 6C, 7-16, 18-22, [0199].
1[i] wherein a first set of the light emitting element Ishibashi teaches this element.
chips are mounted on the first region and arranged from
the center portion of the board to the one of the end See, e.g., Ishibashi at Fig. 2:
portions,


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                                                                             Exhibit C, p. 343
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                                                               #:17522



                   Asserted Claims                                 Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                          Figure 2 shows a first set of the LED chips 6 mounted on a first region and arranged from the center portion of
                                                          the board to one of the end portions (for example, the pair positioned on the left horizontally-oriented portion of
                                                          the board 5).

                                                          See also, e.g., Ishibashi at [0025]:

                                                                In the LED bulb described above, similar to conventional bulbs, by attaching the cap 1 to a
                                                                Socket, direct current is supplied to the electrode units 7a and 7b on the printed circuit board 5
                                                                from the power circuit housed in the power Source housing 8 through the Supporting rod 3,
                                                                thereby lighting each of the LED chips 6. As each of the LED chips 6 is substantially uniformly
                                                                arranged on the Surface of the printed circuit board 5 formed in a cage, the light Source is made
                                                                to be a sphere, emitting light in all directions from the cover 2.

                                                        See also, e.g., Ishibashi at [0019]-[0022], Claims 1-2.
1[j] wherein a second set of the light emitting element Ishibashi teaches this element.
chips are mounted on the second region and arranged
                                                                                      17


                                                                            Exhibit C, p. 344
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                                                              #:17523



                    Asserted Claims                                Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
from the center portion of the board to the other one of See, e.g., Ishibashi at Fig. 2:
the end portions, and




                                                         Figure 2 shows a second set of the LED chips 6 mounted on a second region and arranged from the center
                                                         portion of the board to the other one of the end portions (for example, the pair positioned on the right
                                                         horizontally-oriented portion of the board 5 (opposite to the left referenced in 1[i])).

                                                         See also, e.g., Ishibashi at [0025]:

                                                               In the LED bulb described above, similar to conventional bulbs, by attaching the cap 1 to a
                                                               Socket, direct current is supplied to the electrode units 7a and 7b on the printed circuit board 5
                                                               from the power circuit housed in the power Source housing 8 through the Supporting rod 3,
                                                               thereby lighting each of the LED chips 6. As each of the LED chips 6 is substantially uniformly
                                                               arranged on the Surface of the printed circuit board 5 formed in a cage, the light Source is made
                                                               to be a sphere, emitting light in all directions from the cover 2.

                                                       See also, e.g., Ishibashi at [0019]-[0022], Claims 1-2.
1[k] wherein the pair of metal plates are electrically Ishibashi discloses this element. See above at 1[g].
                                                                                     18


                                                                           Exhibit C, p. 345
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                                                               #:17524



                   Asserted Claims                                Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
connected with the support base via the support leads.   See also, e.g., Ishibashi at [0022]:

                                                               Electricity applied to each of the LED chips 6 is, if the power Supplied from the cap 1 is
                                                               commercial alternate current of 100 V, converted to low voltage direct current by a power circuit
                                                               (not shown) housed in the power Source housing 8, and the current is supplied to the electrode
                                                               units 7a and 7b of the printed circuit board 5 through the supporting rod 3.

                                                         See also, e.g., Ishibashi at Fig. 1:




                                                         Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                         As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                         device taught in Suehiro ‘897 with the LED bulb taught in Ishibashi.

                                                         And, as further discussed above at 1[c] and 1[g], Suehiro ‘897 teaches the use of its metal plates for electrical
                                                         connection, while Ishibashi teaches electrical connection from the support base through support leads. A
                                                                                      19


                                                                            Exhibit C, p. 346
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                   Asserted Claims                                  Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                          POSITA thus would have found it obvious to combine Suehiro ‘897 with Ishibashi such that the pair of metal
                                                          plates are electrically connected with the support base via the support leads.

                                                          Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                                          As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                          device taught in Suehiro ‘797 with the LED bulb taught in Ishibashi.

                                                          And, as further discussed above at 1[c] and 1[g], Suehiro ‘797 teaches the use of its metal plates for electrical
                                                          connection, while Ishibashi teaches electrical connection from the support base through support leads. A
                                                          POSITA thus would have found it obvious to combine Suehiro ‘797 with Ishibashi such that the pair of metal
                                                          plates are electrically connected with the support base via the support leads.
Claim 3
3. The light emitting device according to claim 1, Ishibashi discloses this element.
wherein the transparent bulb is made of glass.
                                                     As discussed above at l[d], Ishibashi teaches a transparent bulb (cover 2). It was well known in the art to use
                                                     glass as the material for this bulb, to save cost, for ease of manufacturing, and/or to achieve desired aesthetic or
                                                     optical properties.
Claim 4
4. The light emitting device according to claim 1, Ishibashi discloses this element. See above at 1[g] and 1[k].
wherein each of the metal plates crosses the support
lead.                                                Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                          See above at l[g] and 1[k]. A POSITA would have understood that it would have been obvious to provide power
                                                          from the support leads to metal plates by physically overlapping the two (e.g., with the metal plates crossing the
                                                          support leads), and would have been motivated to do so to save cost, for ease of manufacturing, and/or to
                                                          achieve desired aesthetic or optical properties.

                                                          Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                                          See above at l[g] and 1[k]. A POSITA would have understood that it would have been obvious to provide power
                                                          from the support leads to metal plates by physically overlapping the two (e.g., with the metal plates crossing the
                                                          support leads), and would have been motivated to do so to save cost, for ease of manufacturing, and/or to
                                                          achieve desired aesthetic or optical properties.
Claim 6
6. The light emitting device according to claim 1, Ishibashi discloses this element. See above at 1[c]. Phosphors were well known and commonly used in the art in
wherein the wavelength conversion member comprises a transparent resin of light emitting devices to convert wavelength. See, e.g., Suehiro 897 and Suehiro ‘797.

                                                                                     20


                                                                            Exhibit C, p. 347
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                                                              #:17526



                    Asserted Claims                     Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
phosphor therein.
                                               Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                               Suehiro ‘897 teaches this element. See above at 1[c].

                                               See, e.g., Suehiro ‘897 at Fig. 13 (e.g. phosphor 8 within transparent resin 40):




                                               See, e.g., Suehiro ‘897 at col. 12, lns. 50-52: “The light emitting device of the thirteenth embodiment is different
                                               from that of the sixth embodiment in that a transparent resin 40 contains a phosphor.”

                                               Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                               See, e.g., Suehiro ‘797 at Fig. 11 (e.g. element 2A, within element 2):




                                                                          21


                                                                 Exhibit C, p. 348
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 349 of 954 Page ID
                                                            #:17527



                 Asserted Claims                              Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                     See, e.g., Suehiro ‘797 at [0003]: “The invention relates to a light emitting device where light emitted from a
                                                     light emitting diode (hereinafter referred to as LED) is absorbed and wavelength-converted by phosphor and
                                                     then the wavelength-converted light with a different wavelength is radiated therefrom.”

                                                     See also, e.g., Suehiro ‘797 at Figs. 3-4, 5B-11, 12B-22; [0029]-[0031], [0033], [0034], [0037]-[0042], [0044],
                                                     [0069]-[0070], [0081]-[0089], [0098]-[0099], [0106], [0109]-[0113], [0126]-[0127], [0129]-[0131], [0134],
                                                     [0147]-[0148], [0152], [0154]-[0155], [0159], [0173], [0176], [0179]-[0183], [0187], [0190]-[0195].
Claim 7
7. The light emitting device according to claim 6, Ishibashi discloses this element. See above at 1[c] and claim 6. A YAG group phosphor was well known and
wherein the phosphor comprises a YAG group commonly used in the art in light emitting devices to convert wavelength. See, e.g., Suehiro ‘897 and Suehiro
phosphor.                                          ’797.

                                                     Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                     See, e.g., Suehiro ‘897 at col. 12, lns. 53-58:

                                                           The phosphor 8 may be YAG (yttrium aluminum garnet), silicate phosphor, or a mixture thereof.
                                                           The phosphor 8 is composed of one kind or plural kinds of phosphors. For example, a
                                                           combination of plural kinds of phosphors is a phosphor to radiate red light, a phosphor to radiate
                                                           green light
                                                           and a phosphor to radiate blue light.

                                                                                 22


                                                                       Exhibit C, p. 349
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 350 of 954 Page ID
                                                             #:17528



                  Asserted Claims                               Prior Art References, Ishibashi Alone or in View of One of Suehiro ‘897 and Suehiro ‘797

                                                       Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                                       See, e.g., Suehiro ‘797 at [0111]:

                                                             Since the wavelength conversion portion 2 is fo1med by light emitting device in the third
                                                             preferred embodiment of the sandwiching the thin-film phosphor layer 2A fo1med on the glass
                                                             sheet 201 with the glass sheet 202 and by the1mally fusing them, the shape and thickness of
                                                             phosphor layer 2A can be easily and accurately controlled. Also, the amount of phosphor used
                                                             can be accurately controlled. In case of using an expensive phosphor such as YAG
                                                             (yttriumaluminum-gamet), the cost of light emitting device 1 can be reduced since the wasting of
                                                             phosphor can be prevented.

                                                       See also, e.g., Suehiro ‘797 at [0159], [0180].


                  Asserted Claims                         Prior Art References, Ishibashi Alone or in View of One of Suehiro ’897 and Suehiro ’797 and One of
                                                                                             Hohn, Takashima, and Debray
Claim 11
11. The light emitting device according to claim 6, Ishibashi discloses this element. See above at 1[c] and claim 6. It was well known in the art that a phosphor
wherein an average particle size of the phosphor is 3 μm having a particle size of 3 μm or more would be advantageous.
or more.
                                                         Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                       As discussed above (see supra at claim 6), Suehiro ‘897 teaches the use of a phosphor, and it was well known in
                                                       the art that a particle size of 3 μm or more would be advantageous.

                                                       Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                                       As discussed above (see supra at claim 6), Suehiro ‘797 teaches the use of a phosphor, and it was well known in
                                                       the art that a particle size of 3 μm or more would be advantageous.

                                                       Alternatively, Ishibashi in view of Suehiro’897 or Suehiro ‘797 and one of Hohn, Takashima, and Debray
                                                       discloses this element.

                                                       See, e.g., Hohn at col. 2, lns. 20-21: “…the luminous substance pigments having grain sizes ≤ 20 μm ...”


                                                                                  23


                                                                         Exhibit C, p. 350
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 351 of 954 Page ID
                                                              #:17529



                                                         See, e.g., Takashima at [17:7-10]: “Particle size of the fluorescent material 11 is preferably in a range from 1 μm
                                                         to 20 μm, more preferably in a range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.”

                                                         See, e.g., Debray at Claim 7: “Light source arrangement according to Claim 6, characterized in that the
                                                         luminescent material pigments have grain sizes of ≤ 20 µm …”


                    Asserted Claims                                 Prior Art Reference, Ishibashi alone or in view of one of Suehiro ’897 and Suehiro ’797
Claim 12
12. The light emitting device according to claim 1, Ishibashi teaches this element.
wherein the plurality of light emitting element chips is
electrically connected in series.                        See, e.g., Ishibashi at [0020]: “The LED chips 6 are usually connected to the electrode units 7 a and 7b in a
                                                         series.”

                                                         See also, e.g., Ishibashi at Figs. 1 and 2.




Claim 13
13. The light emitting device according to claim 1, Ishibashi discloses this element. As discussed above at 1[c], Ishibashi teaches use of a variety of LEDs,
                                                                                     24


                                                                            Exhibit C, p. 351
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 352 of 954 Page ID
                                                             #:17530



wherein the plurality of light emitting element chips is including blue LEDs (see at [0026]), and it was well known in the art that the main peak light emission
so configured that a main peak light emission wavelength of blue light includes a range between 420 nm and 490 nm.
wavelength of the light emitting element is varied within
a range between 420 nm and 490 nm.                        See, e.g., Ishibashi at [0026]:

                                                            The color of the LED chips 6 can be selected depending on the purposes. As a Substitute for a
                                                            conventional incandescent lamp, a white LED is used. On the other hand, it is possible to use
                                                            LEDs with either of or a combination of colors Such as red, green, blue, or orange. It is further
                                                            possible to use the cover 2 with a color in combination with colored LEDs to create light of
                                                            additional colors.

                                                      Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                      Suehiro teaches the use of blue LEDs and discloses a wavelength within this range. It was well known in the art
                                                      that the main peak light emission wavelength of blue light includes a range between 420 nm and 490 nm.

                                                      See, e.g., Suehiro at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3 emits blue
                                                      light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer 39 formed
                                                      on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the yellow light
                                                      are mixed to develop white light.”

                                                      See, e.g., Suehiro at col. 19, lns. 32-33: “The LED 3 comprises a flip-chip type GaN-based LED element 31 to
                                                      radiate blue light…”

                                                      See, e.g., Suehiro at col. 25, lns. 6-7: “The phosphor layer 39 may be omitted to allow a blue light source.”

                                                      See also above at 1[c].

                                                      Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                                      Suehiro ‘797 also teaches the use of blue LEDs, and it was well known in the art that the main peak light
                                                      emission wavelength of blue light includes a range between 420 nm and 490 nm.

                                                      See, e.g., Suehiro ‘797 at [0158]: “The LED element 111 is GaN based blue LED element. It may be a GaN
                                                      based ultraviolet LED element or another LED element other than GaN based LED elements.”

                                                      See also, e.g., Suehiro ‘797 at [0159].

                                                      See also, discussion above at 1[c].
                                                                                 25


                                                                        Exhibit C, p. 352
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 353 of 954 Page ID
                                                              #:17531




                  Asserted Claims                          Prior Art References, Ishibashi Alone or in View of One of Suehiro ’897 and Suehiro ’797 and One of
                                                                                              Hohn, Takashima, and Debray
Claim 14
14. The light emitting device according to claim 1, Ishibashi discloses this element as this configuration of nitride semiconductor for light emitting element chips
wherein each of the light emitting element chips was well known and commonly used in the art. See, e.g., Hohn, Takashima, and Debray.
comprises nitride semiconductor made of InxAlyGa1-x-yN
(0≦x, 0≦y, x+y≦1).                                     Alternatively, Ishibashi in view of Suehiro ’897 discloses this element.

                                                        Suehiro ‘897 teaches the use of GaN-based LEDs. See, e.g., Suehiro at col. 4, lns. 64-66: “The LED 3, as shown
                                                        in FIG. 1B, comprises the LED element 31, as a solid-state element, which is of flip-chip type and made of a
                                                        GaN-based semiconductor material….” A POSITA would have understood that the specific claimed GaN-based
                                                        LED would have been obvious to select, as it would involve selecting one from a finite number of options.

                                                        Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                                        Suehiro ‘797 teaches the use of GaN-based LEDs. See, e.g., Suehiro at [0158]: “The LED element 111 is GaN
                                                        based blue LED element. It may be a GaN based ultraviolet LED element or another LED element other than
                                                        GaN based LED elements.” See also, e.g., Suehiro at [0117], [0187]. A POSITA would have understood that the
                                                        specific claimed GaN-based LED would have been obvious to select, as it would involve selecting one from a
                                                        finite number of options.

                                                        Alternatively, Ishibashi in view of one of Suehiro ’897 and Suehiro ‘797 and one of Hohn, Takashima, and
                                                        Debray discloses this element.

                                                        See, e.g., Hohn at col. 4, lns. 42-45: “Preferably, the casting composition according to the invention is used in a
                                                        radiation-emitting semiconductor body, in particular with an active semiconductor layer or semiconductor layer
                                                        sequence of GaxIn1-xN or Gax Al1-xN …”.

                                                        See, e.g., Takashima at [18:27-31]: “The semiconductor light emitting element capable of emitting light of
                                                        wavelength not longer than 500 nm in ultraviolet to visible region can be made of various semiconductors such
                                                        as BN, SiC, ZnSe, GaN, InCaN, InAlGaN, AlGaN, BalGaN and BinAlGaN.”

                                                        See, e.g., Debray at lns. 115-117: “In connection with the present invention, a luminescence diode chip based on
                                                        GaN or InGaN is to be understood in principle as a luminescence diode chip whose radiation-emitting zone has
                                                        GaN, InGaN and / or related nitrides and mixed crystals based thereon, such as Ga (Al, In) N.”

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                                                                         Exhibit C, p. 353
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                                                               #:17532




                    Asserted Claims                            Prior Art Reference, Ishibashi Alone or in View of One of Suehiro ’897 and Suehiro ’797
Claim 15
15. The light emitting device according to claim 1, Ishibashi discloses this element. Rather than individually encapsulate each light emitting element in a
wherein     the    wavelength      conversion member fluorescent, transparent resin, it was well known in the art to encapsulate a plurality of light emitting elements in
substantially surrounds the board.                   a single fluorescent, transparent resin to reduce material costs, simplify manufacturing, reduce manufacturing
                                                     costs, and improve the optical properties of a device. See., e.g., Suehiro ’897 and Suehiro ’797. Also, as
                                                     explained above at 1[h], it was well known in the art to include a fluorescent, transparent resin on both the first
                                                     and second surfaces of a board in an omni-directional lighting device (see Ishibashi at [0005]).

                                                          Alternatively, Ishibashi in view of Suehiro ‘897 discloses this element.

                                                          As discussed above at l[c] and l[h], a POSITA would have found it obvious and been motivated to combine
                                                          Ishibashi and Suehiro ‘897 to incorporate the wavelength conversion member of Suehiro ‘897 with the LED
                                                          bulb of Ishibashi, and for the wavelength conversion member to be on both sides of the board. Thus, the
                                                          wavelength conversion member substantially surrounds the board.

                                                          See, e.g., Suehiro at Fig. 13:




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                                                                             Exhibit C, p. 354
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 355 of 954 Page ID
                                                               #:17533




                                                           Alternatively, Ishibashi in view of Suehiro ’797 discloses this element.

                                                           As discussed above at l[c] and l[h], a POSITA would have found it obvious and been motivated to combine
                                                           Ishibashi and Suehiro ‘797 to incorporate the wavelength conversion member of Suehiro ‘797 with the LED
                                                           bulb of Ishibashi, and for the wavelength conversion member to be on both sides of the board. Thus, the
                                                           wavelength conversion member substantially surrounds the board.

                                                           See, e.g., Suehiro ‘797 at Fig. 9:




                                                           See also, e.g., Suehiro ‘797 at Figs. 3, 6A, 7-8, 10-11.
Claim 17
17. The light emitting device according to claim 1, Ishibashi discloses this element. See above at 1[c] and 1[h].
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting Alternatively, Ishibashi in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
element chips on the first surface side of the board
forwards outside of the light emitting device through the Alternatively, Ishibashi in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
second surface of the board.

                                                                                       28


                                                                             Exhibit C, p. 355
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 356 of 954 Page ID
                                                               #:17534



Claim 18
18. The light emitting device according to claim 1,         Ishibashi discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light     Alternatively, Ishibashi in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
emitting element chips into light with a different          Alternatively, Ishibashi in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
wavelength such that the converted light with the
different wavelength is radiated along a first direction    As discussed above at 1[c], the wavelength conversion member of Suehiro ‘897 and Suehiro ‘797 is capable of
from the first surface side of the board to an outer        converting light emitted from the LEDs into light with a different wavelength. As such, the converted light with
periphery of the wavelength conversion member, and          the different wavelength is radiated along a first direction from the first surface side of the board to an outer
along a second direction from the second surface of the     periphery of the wavelength conversion member, and along a second direction from the second surface of the
board to the outer periphery of the wavelength              board to the outer periphery of the wavelength conversion member.
conversion member.
Claim 19
19. The light emitting device according to claim 1,         Ishibashi teaches this element.
wherein all light emitting element chips mounted on the
first surface side of the board are aligned along a line.   See, e.g., Ishibashi at Fig. 1:




                                                            See also, e.g., Ishibashi at [0019]-[0021], [0025], Claims 1, 2.
                                                                                         29


                                                                               Exhibit C, p. 356
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 357 of 954 Page ID
                                                             #:17535



Claim 20
20. The light emitting device according to claim 1, Ishibashi discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface Alternatively, Ishibashi in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
side of the board.
                                                          Alternatively, Ishibashi in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
Claim 21
21. The light emitting device according to claim 19, Ishibashi discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface Alternatively, Ishibashi in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
side of the board.
                                                          Alternatively, Ishibashi in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
Claim 22
22. The light emitting device according to claim 1, Ishibashi discloses this element. See above at 1[c] and 1[h].
wherein the first set of light emitting element chips and
the second set of light emitting element chips are Alternatively, Ishibashi in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion Alternatively, Ishibashi in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
member.
Claim 24
24. The light emitting device according to claim 1, Ishibashi discloses this element. See above at 1[e] and 1[g].
wherein one of the support leads is positioned between
one of the metal plates and the support base.             Alternatively, Ishibashi in view of Suehiro ‘897 discloses this element. See above at 1[e] and 1[g].

                                                           Alternatively, Ishibashi in view of Suehiro ‘797 discloses this element. See above at 1[e] and 1[g].
Claim 25
25. The light emitting device according to claim 1, See above at claim 19.
wherein all of the light emitting element chips mounted
on the first surface side of the board are aligned along a
single line when viewed in plan view of the first surface
side of the board.
Claim 27
27. A light emitting device comprising:                    See above at 1[pre].
[27a] through [27j]                                        See above at 1[a] through 1[j].

[27k] wherein one of the support leads is positioned        See above at claim 24.
between one of the metal plates and the support base.


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                                                                           Exhibit C, p. 357
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                                                                  #:17536



                                                                                       Exhibit D

         Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797, or Scianna in View of One of Suehiro ’897 and Suehiro
                                          ’797 and One of Hohn, Takashima, and Debray
        Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ‘734 Patent are invalid as anticipated under 35 U.S.C. § 102 by U.S. Patent No. 6,568,834 to Scianna
(“Scianna”). Specifically, Scianna directly or inherently, based on the presumed knowledge of a POSITA, discloses each and every limitation of the these claims.

        In the alternative, claims 1, 4, 6, 7, 11, 13-15, 17-22, 24, 25, and 27 of the ‘734 Patent are unpatentable under 35 U.S.C. § 103 by Scianna in view of one of U.S.
Patent No. 7,875,897 to Suehiro (“Suehiro ‘897”) and U.S. Patent Publication No. 2004/0257797 to Suehiro ’797 (“Suehiro ‘797”), or Scianna in view of one of Suehiro ‘897
and Suehiro ‘797 and one of U.S. Patent No. 6,066,861 (“Hohn”), U.S. Patent No. 7,723,740 (“Takashima”), and European Publication No. 1116419B1 (“Debray”).

         Scianna in view of one of Suehiro ‘897 and Suehiro ‘797 renders the Asserted Claims of the ‘734 Patent obvious under 35 U.S.C. § 103. These references alone or in
combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and
features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above
prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures
in a manner that renders the Asserted Claims obvious.

        Scianna in view of one of Suehiro ‘897 and Suehiro ‘797 and one of Hohn, Takashima, and Debray renders the Asserted Claims of the ‘734 Patent obvious under 35
U.S.C. § 103. These references alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to
light-emitting semiconductor devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of
ordinary skill in the art to combine the above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to
combine the teachings from these disclosures in a manner that renders the Asserted Claims obvious.

                    Asserted Claims                                   Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
Claim 1
1[pre]. A light emitting device comprising:                 To the extent the preamble is limiting, Scianna teaches a light emitting device.

                                                            See, e.g., Scianna at 1:9-12: “The present invention relates broadly to light transmission media and to associated
                                                            lighting devices and improvements in lighting devices incorporating light emitting diodes as light sources.”

                                                            See also, e.g., Scianna at Fig. 10:




                                                                                 Exhibit C, p. 358
                               Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 359 of 954 Page ID
                                                                 #:17537



                    Asserted Claims                                      Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                               See also, e.g., Scianna at 4:32-33: “FIG. 10 is a side view of a LED bulb suitable to replace an incandescent
                                                               bulb.”

                                                               See also, e.g., Scianna at [1:57-67], [2:1-10], [2:38-45], [3:63-67], [4:38-41]; [5:3-1 5]; [5:51-60].
1[a] a board having end portions and a center portion          Scianna teaches this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a   See, e.g., Scianna at [5:4-9]: “The plurality of LEDs 10 can be located anywhere within the cover 20 depending
second surface on a second surface side thereof, the           upon the lighting effect desired. As disclosed above, it is not necessary that the LEDs 10 be embedded in the
second surface being an opposite side to the first             cover 20. Location is a choice dependant upon the design, use, and desired effect of the lighting device.”
surface, the first surface including a first region and a
second region, the first region extending from the center      See, e.g., Scianna at Fig. 10 (showing LEDs 10 mounted on a board):
portion of the board to one of the end portions, the
second region extending from the center portion of the
board to the other of the end portions;




                                                                                           2


                                                                                 Exhibit C, p. 359
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                                          #:17538



Asserted Claims                      Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           As an example, the board includes an infinite number of end portions (along its circumference) and a center
                           portion therebetween in a longitudinal direction (the length of the line drawn from end portion to end portion). It
                           also has first (the radially outer surface of the board) and second surfaces and first and second regions.

                           Also, the circular configuration of the board above could easily be reconfigured as a longitudinal board. Such
                           boards were well known in the art, for example, as in Suehiro ‘897 and Suehiro ’797. Further, this
                           reconfiguration would simplify manufacturing and reduce manufacturing costs.

                           Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                           See, e.g., Suehiro ‘897 at Fig. 13:




                                                       3


                                             Exhibit C, p. 360
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 361 of 954 Page ID
                                          #:17539



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See also, e.g., Suehiro ‘897 at Figs 27A and 27B (longitudinal substrate 32 having a first surface upon which a
                           plurality of LED elements 31 are mounted):




                                                      4


                                            Exhibit C, p. 361
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 362 of 954 Page ID
                                          #:17540



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           A POSITA would have been motivated to combine these references for several reasons.

                           Scianna teaches a variety of LED lighting applications, including an LED bulb to replace an incandescent bulb.
                           See also, e.g., Scianna at 4:32-33: “FIG. 10 is a side view of a LED bulb suitable to replace an incandescent
                           bulb.” A POSITA would also have understood this disclosure of replacing an incandescent bulb to include a
                           motivation to emulate the white light color of such bulbs, through converting the wavelength of emitted light,
                           rather than the blue light traditionally emitted by LEDs. Thus, a POSITA would have been further motivated to
                           combine Scianna with Suehiro ‘897, which teaches converting light wavelength to produce white light.

                           See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                           emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                           39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                           yellow light are mixed to develop white light.”

                           Scianna also teaches supplying power to its LED assembly through, for example, conductors (30).

                                                      5


                                             Exhibit C, p. 362
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 363 of 954 Page ID
                                          #:17541



Asserted Claims                       Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           See, e.g., Scianna at 4:37-47:

                                 Referring to FIGS. 1 and 2, the invention in its basic form includes a light source, such as an LED
                                 10, and a cover 20. The LED 10 may be of any type depending upon the application. For
                                 applications requiring the most visibility, a high intensity LED may be selected For applications
                                 requiring a low power consumption, an LED of low power can be Selected. As is obvious to one
                                 skilled in the art, the LED 10 is electrically connected to a power source 40 by the conductors 30.
                                 In the preferred embodiment, the conductors 30 are length of wire, but could easily be any other
                                 suitable electrically conductive material.

                           See also, e.g., Scianna at [4: 59-62], [5:12-15], [5:43-50], [5:56-60] (discussing electrically connecting LEDs via
                           conductors).

                           A POSITA would have found it obvious for, for example, the leads 2 of Suehiro ‘897 to be readily mechanically
                           and electrically connected to the power source through the conductors (30), and thus would have positioned the
                           leads 2 to overlap Scianna’s conductors (30). It would take routine engineering and simple substitution to adopt
                           the LEDs board in Suehiro into the bulb disclosed by Scianna. This would yield predictable results of creating an
                           LED light bulb with a plurality of light emitting diodes providing optimal light emission.

                           Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                           See, e.g., Suehiro ’797 at Fig. 11 at (ceramic board 9):




                                                       6


                                             Exhibit C, p. 363
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 364 of 954 Page ID
                                                               #:17542



                   Asserted Claims                                  Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                          See also, e.g., Suehiro ‘797 at [0072]: “The submount element 4 is of AlN and has the copper-foil wiring pattern
                                                          (not shown) formed on its surface. The wiring pattern is electrically connected to the electrodes of LED element
                                                          3 and is solder-bonded to the lead frame 5.”

                                                          See also, e.g., Suehiro ‘797 at Fig. 20 (base portion 104):




                                                          See also, e.g., Suehiro ‘797 at [0078], [0114], [0134]-[0144], [0151], Figs. 3-4, 6-10, 12-16, 18-22.

                                                         For the same reasons provided above with respect to Suehiro ‘897, a POSITA would have had motivation and
                                                         found it obvious to combine the teachings of Scianna with Suehiro ‘797.
1[b] a plurality of light emitting element chips mounted Scianna teaches a plurality of light emitting element chips mounted on the first surface side of the board.
on the first surface side of the board;
                                                         See, e.g., Scianna at Fig. 10 (showing four LEDs mounted on the first surface side (the radially outer surface) of
                                                         the board):




                                                                                      7


                                                                            Exhibit C, p. 364
      Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 365 of 954 Page ID
                                        #:17543



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                           Suehiro ’897 teaches configurations where a plurality of LEDs are mounted on a first surface of a board.

                           See, e.g., Suehiro at Figs. 27A and 27B:




                                                      8


                                          Exhibit C, p. 365
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 366 of 954 Page ID
                                          #:17544



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See, e.g., Suehrio at col. 19, lns. 44-46: “Although in this embodiment the three LED elements 31 are used,
                           another number of LED elements 31 may be used therein.”

                           A POSITA would have found it obvious to combine Suehiro ’897 with the teachings of Scianna. It would
                           require routine engineering and simple substitution to adopt the board configuration and wavelength conversion
                           material into the bulb of Scianna. This would yield predictable results of emitting wavelength-converted light
                           emitted from the light emitting device.

                           Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                           Suehiro ’797 also discloses configurations where multiple LEDs are arranged in a strip on a single board. See,
                           e.g., Suehiro at Fig. 20:




                                                     9


                                            Exhibit C, p. 366
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 367 of 954 Page ID
                                                              #:17545



                  Asserted Claims                                 Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                      See also, e.g., Suehiro ’797 at Figs. 15A, 15B, 19A, 19B, 21, 22, [0199]. A POSITA would have found it
                                                      obvious
                                                      to combine the strip configuration shown in these embodiments with the embodiments shown in Figs. 3, 7-
                                                      11,14, to improve optical and aesthetic properties by adding additional LEDs.
1[c] a wavelength conversion member formed unitarily Scianna discloses a wavelength conversion member formed unitarily with a transparent member that seals the
with a transparent member that seals the plurality of plurality of light emitting element chips. Scianna explains that the invention includes LEDs of any type (see at
light emitting element chips;                         [4:40]). It was well known in the art that LEDs were packaged in a fluorescent, transparent resin, wherein the
                                                      fluorescent material converted wavelength. See, e.g., Suehiro ‘897 and Suehiro ’797. It was also well known in
                                                      the art that sealing LEDs in a packaging extracted greater amounts of light from the LEDs. This in turn made the
                                                      LEDs more efficient.

                                                         Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                         Scianna in view of Suehiro ‘897 discloses a wavelength conversion member formed unitarily with a transparent
                                                         member that seals the plurality of light emitting element chips.

                                                         A POSITA would understand how to create white light by using a blue LED in combination with a wavelength
                                                         conversion member as this was well known in the art. For example, Suehiro ‘897 discloses this element.

                                                         See, e.g., Suehiro ‘897 at FIG. 13:

                                                                                    10


                                                                           Exhibit C, p. 367
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 368 of 954 Page ID
                                          #:17546



Asserted Claims                      Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See, e.g., Suehiro at col. 12, lns. 50-52: “The light emitting device of the thirteenth embodiment is different from
                           that of the sixth embodiment in that a transparent resin 40 contains a phosphor.”

                           See, e.g., Suehiro ‘897 at col. 12, lns. 64-col.13. lns. 1-7:

                                 The effects of the thirteenth embodiment are as follows. With the transparent resin 40 containing
                                 the phosphor 8, wavelength conversion is conducted by the phosphor 8. For example, when the
                                 phosphor 8 is composed of a red phosphor, a green phosphor and a blue phosphor, ultraviolet
                                 light emitted from the LED 3 is wavelength-converted by the phosphor 8 and secondary light
                                 radiated therefrom is mixed with primary light emitted from the LED 3 to generate visible light.
                                 Thus, even when the emission wavelength of the LED 3 varies, the light emitting device 1 can be
                                 constant in emission color tone.

                           See, e.g., Suehiro ‘897 at col. 4, lns. 53-59 (explaining that a transparent resin 4 seals the LEDs 3):

                                 As shown in FIG. 1A, the light emitting device 1 comprises: a pair of leads 2 made of silver-
                                 plated copper or copper alloy; an LED3, as a light emitting portion, which is mounted on the lead
                                 2; a transparent resin 4, made of epoxy resin etc., which seals the LED 3 to form a lamp-type
                                 device and is provided with a lens surface 41 as well as a semisphere having an LED element 31
                                 as its origin.

                           See, e.g., Suehiro ‘897 at col. 13, lns. 14-20 (explaining efficiencies of configuration):

                                                       11


                                              Exhibit C, p. 368
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 369 of 954 Page ID
                                          #:17547



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                Therefore, phosphor contained therein may be deposited and the light extraction efficiency or
                                emission color may be affected thereby. In the invention, since the phosphor 8 is instantly
                                injected
                                while being agitated and then cured into a given form, it can be uniformly spread without
                                deposition in the transparent resin 40.

                           See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                           emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                           39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                           yellow light are mixed to develop white light.”

                           Suehiro ‘897 also discloses configurations where a plurality of LEDs are mounted on a board and sealed by a
                           wavelength conversion member.

                           See, e.g., Suehiro ‘897 at Figs. 27A and 27B:




                                                     12


                                            Exhibit C, p. 369
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 370 of 954 Page ID
                                          #:17548



Asserted Claims                       Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           See, e.g., Suehrio ‘897 at col. 19, lns. 44-46: “Although in this embodiment the three LED elements 31 are used,
                           another number of LED elements 31 may be used therein.”

                           See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                           emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                           39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                           yellow light are mixed to develop white light.”

                           A POSITA would have been motivated to combine the teaching of a wavelength conversion member from
                           Suehiro ‘897 with Scianna to save cost, for ease of manufacturing, and/or to achieve desired aesthetic or optical
                           properties. Also, a POSITA would have found it obvious to combine Suehiro ‘897 with the teachings of
                           Scianna. It would require routine engineering and simple substitution to adopt the LEDs and wavelength
                           conversion material into the bulb of Scianna. This would yield predictable results of emitting wavelength-
                           converted light emitted from the light emitting device.

                           Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                           Suehiro ’797 specifically teaches that its wavelength conversion member provides for even light distribution and
                           emission. See also, e.g., Suehiro ’797 at [0198]: “In addition to the effects of the twelfth embodiment, the
                           thirteenth embodiment can have an effect that light can be radiated widely from the light emitting device 101.
                           Especially, it is suitable for use, such as a lighting device, where a wide and uniform light radiation
                           characteristic is required.”

                           See also, e.g., Suehiro ’797 at [0025], [0026], [0032]:

                                 It is an object of the invention to provide a light emitting device that can offer an even
                                 wavelength conversion characteristic while avoiding the lowering of external radiation efficiency
                                 of LED element.

                                 It is a further object of the invention to provide a light emitting device that can be low-profile
                                 while offering good external radiation efficiency.

                                 The wavelength conversion portion may have an optical shape to radiate the light according to a
                                 desired light distribution characteristic from the light emitting element portion.

                           Scianna also seeks to achieve this objective--attaining the uniform light diffusion of incandescent bulbs. See,
                           e.g., Scianna at [1:14-16; 3:54-58] (describing a limitation in the prior art that the invention seeks to overcome,
                           and solution):
                                                      13


                                             Exhibit C, p. 370
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 371 of 954 Page ID
                                          #:17549



Asserted Claims                      Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797

                                 …to deliver a more uniform light output across the lighting device which allows the light to be
                                 diffused and magnified.

                                 The cover modifies the concentrated light of the LED and Spreads it out across the Surface of the
                                 cover, resulting in an omnidirectional uniform lighting effect. Thus the cover allows use of an
                                 LED or an array of LEDs where incandescent lights were the preferred Source.

                           Thus, a POSITA would have understood Suehiro ’797 to teach an improvement that would allow for light
                           emission in furtherance of the goal stated in Scianna of emulating an incandescent bulb, and thus would have
                           been motivated to combine it. Motivation to combine these references is also provided by ease of manufacturing,
                           fewer parts, cost saving, obtaining desired optical or aesthetic properties.

                           Further, Suehiro ’797 teaches a wavelength conversion member formed unitarily with a transparent member that
                           seals the plurality of light emitting element chips.

                           See, e.g., Suehiro ’797 at [0003]: “The invention relates to a light emitting device where light emitted from a
                           light emitting diode (hereinafter refe1Ted to as LED) is absorbed and wavelength-converted by phosphor and
                           then the wavelength-converted light with a different wavelength is radiated therefrom.”

                           See also, e.g., Suehiro ’797 at [0021]: “It is preferable that the wavelength conversion portion surrounds and
                           seals the light emitting element portion, and the phosphor is shaped like a thin film and disposed around the light
                           emitting element portion.”

                           See, e.g., Suehiro ’797 at Fig. 11:




                                                       14


                                             Exhibit C, p. 371
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 372 of 954 Page ID
                                          #:17550



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           Suehiro ’797 also discloses configurations where multiple LEDs are arranged in a strip on a single board. See,
                           e.g., Suehiro at Fig. 20:




                           See also, e.g., Suehiro ’797 at Figs. 15A, 15B, 19A, 19B, 21, 22, [0199]. A POSITA would have found it
                           obvious

                                                     15


                                            Exhibit C, p. 372
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 373 of 954 Page ID
                                                               #:17551



                   Asserted Claims                                  Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                          to combine the strip configuration shown in these embodiments with the embodiments shown in Figs. 3, 7-
                                                          11,14, to improve optical and aesthetic properties by adding additional LEDs.

                                                        A POSITA would have found it obvious to combine Suehiro ’797 with the teachings of Scianna. It would
                                                        require routine engineering and simple substitution to adopt the LEDs and wavelength conversion material into
                                                        the bulb of Scianna. This would yield predictable results of emitting wavelength-converted light emitted from
                                                        the light emitting device.
1[d] a transparent bulb that encloses the board and the Scianna teaches a transparent bulb that encloses the board and the plurality of light emitting element chips.
plurality of light emitting element chips;
                                                        See also, e.g., Scianna at Fig. 10:




                                                          See also, e.g., Scianna at [4:32-33]: “FIG. 10 is a side view of a LED bulb suitable to replace an incandescent
                                                          bulb.” It was well known in the art that incandescent bulbs were made of glass, or another transparent material.

                                                      See also, e.g., Scianna at [1:64-67], [2:1-13], [3:44-67], [5:53-60].
1[e] support leads that secure the plurality of light Scianna teaches support leads that secure the plurality of light emitting element chips inside the transparent bulb.
emitting element chips inside the transparent bulb;
                                                      See, e.g., Scianna at Fig. 10 (at conductors 30):

                                                                                    16


                                                                            Exhibit C, p. 373
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 374 of 954 Page ID
                                                              #:17552



                  Asserted Claims                                Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                          See also, e.g., Scianna at [5:53-60].
1[f] a support base that can be threadedly engaged with Scianna teaches a support base that can be threadedly engaged with a conventional light bulb socket along a
a conventional light bulb socket along a socket axis; and socket axis.

                                                       See, e.g., Scianna at Fig. 10:




                                                                                   17


                                                                         Exhibit C, p. 374
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 375 of 954 Page ID
                                                               #:17553



                   Asserted Claims                                   Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                           See also, e.g., Scianna at 4:32-33: “FIG. 10 is a side view of a LED bulb suitable to replace an incandescent
                                                           bulb” (wherein incandescent bulbs were well known in the art to be conventional lightbulbs).

                                                           See also, e.g., Scianna at 5:53-60:

                                                                 FIG. 10 shows a replacement bulb utilizing a plurality LEDs 10 as the light source instead of a
                                                                 filament. The cover 20 is attached to a base 50 as is commonly used for incandescent bulbs. The
                                                                 LEDs 10 are electrically connected to the base 50 by the conductors 30. The cover 20 is hollow
                                                                 and the LEDs 10 reside within the plenum defined by the surfaces of the cover 20. Tee number of
                                                                 LEDs 10 may be varied as dictated by the design.

                                                           See also, e.g., Scianna at [1:64-67], [2:1-13], [3:63-67].
1[g] a pair of metal plates protruding at both ends of the Scianna discloses this element. See, e.g., Scianna at [4:46-48] (“In the preferred embodiment, the conductors 30
wavelength conversion member,                              are length of wire, but could easily be any other suitable electrically conductive material.”). Thus, for example,
                                                           this “other suitable conductive material” could be a pair of metal plates. Use of a pair of metal plates as a
                                                           conductive connecting means was well known and commonly used in the art. See, e.g. Suehiro ’897 and Suehiro
                                                           ‘797. Further, a pair of metal plates would be required to protrude from both ends of the LED 10 to establish
                                                           contact with the electrical circuit to power each LED 10 (see Scianna at [4:44-46]).

                                                                                      18


                                                                             Exhibit C, p. 375
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 376 of 954 Page ID
                                          #:17554



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                           Suehiro ‘897 teaches that a pair of metal plates protrude from the wavelength conversion member.

                           See, e.g., Suehiro ‘897 at FIG. 13:




                           See, e.g., Suehiro ‘897 at col. 5, lns. 52-59 (explaining the construction of a light emitting device):

                                 Then, the pair of leads 2 is linearly disposed opposite with a given distance. The LED 3 is
                                 mounted on the thinned portion of the leads 2, and the circuit pattern 33 of the LED 3 is solder-
                                 boned to the leads 2. Then, the transparent resin 4 of acrylic resin is injected in injection molding
                                 to seal an exposed part of the LED 3 and a tip portion of the leads 2 and to have the lens surface
                                 41 on the top thereof. Thus, the light emitting device 1 is obtained.

                           See, e.g., Suehiro ‘897 at col. 19, lns. 4-7: “This glass sealed LED can be also overmolded with the transparent
                           resin as described in the earlier embodiment. In this case, the lead 2 for mounting the LED element 31 may be
                           drawn out as a lead from the transparent resin 4.”

                           A POSITA would have found the modification of Scianna with Suehiro ‘897 obvious, requiring simple
                           substitution of known components, to produce predictable results.


                                                       19


                                             Exhibit C, p. 376
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 377 of 954 Page ID
                                          #:17555



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                           Suehiro ‘797 similarly teaches a pair of metal plates protruding at both ends of the wavelength conversion
                           member.

                           See, e.g., Suehiro ‘797 at Fig. 11 (e.g., wiring pattern 91 on ceramic board 9).




                           Similarly, see Suehiro ‘797 at Fig. 9 (e.g., lead frame 5):




                                                       20


                                             Exhibit C, p. 377
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 378 of 954 Page ID
                                                               #:17556



                   Asserted Claims                                   Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                            See also, e.g., Suehiro ‘797 at [0070]:

                                                                  The wavelength conversion portion 2 is composed such that a thin-film phosphor layer 2A is laid
                                                                  between two layers of transparent low-melting glass with a refractive index of 1.5 and the two
                                                                  glass layers are thermally fused to be integrated with the phosphor layer 2A. Further, the
                                                                  wavelength conversion portion 2 is formed into a dome-like optical shape according to a desired
                                                                  light distribution characteristic by hot pressing, and it Seals the LED element 3 while being
                                                                  thermally fused and bonded onto the lead frame 5. The phosphor layer 2A is shaped like a convex
                                                                  polygon to cover the emission observation Surface of LED element 3 in accordance with the
                                                                  formation of wavelength conversion portion 2.

                                                            A POSITA would have found the modification of Scianna with Suehiro ‘797 obvious, requiring simple
                                                            substitution of known components, to produce predictable results.
1[h] wherein the wavelength conversion member is            Scianna discloses this element. It was well known in the art that boards upon which LEDs were fixed could
provided on the first surface side and the second surface   either be designed or fabricated from various transparent materials to allow light to pass through. It was also well
side, the wavelength conversion member is elongated in      known in the art that omni-directional light emitting devices, such as in Scianna (see at [2:1-3]), would include
the longitudinal direction when viewed in plan view of      fluorescent, transparent resin on the top and bottom surfaces of the light emitting device to achieve wavelength
the first surface side of the board,                        conversion in any direction. See, e.g, U.S. Patent Publication No. 2004/0239242. Thus, in order to achieve an
                                                            omni-directional, white light emitting device (see above at 1[c]), Scianna would have included a fluorescent,

                                                                                       21


                                                                              Exhibit C, p. 378
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 379 of 954 Page ID
                                          #:17557



Asserted Claims                      Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           transparent resin at both the top and bottom surfaces of the board to achieve wavelength conversion in any
                           direction of light emission.

                           Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                           Suehiro ‘897 teaches this element. See above at 1[c].

                           See, e.g., Suehiro ’897 at Fig. 13 (having the wavelength conversion member provided on the first surface side
                           and the second surface side and showing a sectional view of a rectangular-shaped resin, which is elongated in the
                           longitudinal direction, and thus, would also be elongated in the longitudinal direction when viewed in plan view
                           of the first surface side of the board):




                           See, e.g., Suehiro at col. 2, lns. 57-59: “Further, the resin for sealing the light-emitting portion can be formed
                           into arbitrary shape and therefore the freedom in shape or formation process can be enhanced.”

                           Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                           Suehiro ’797 teaches this element as it teaches various embodiments with a gap provided under the LED,

                                                      22


                                             Exhibit C, p. 379
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 380 of 954 Page ID
                                          #:17558



Asserted Claims                       Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           allowing light to emit downward. See also above at 1[c].
                           See, e.g., Suehiro ’797 at Fig. 11:




                           See also, e.g., Suehiro ’797 at Figs. 3, 5B, 6A, 7-11, 14.

                           In the third embodiment, Suehiro teaches using a sheet of “whitish glass” to utilize light emitted downward from
                           the LED (e.g., through the board submount 4) by reflecting it back upward.

                           See, e.g., Suehiro ’797 at [0124]:

                                 In addition to the effects of the first embodiment, the third embodiment has an effect that, by
                                 providing the glass Sealing portion 6 of whitish glass to protect the bottom surface of lead frame
                                 5, light heading from the LED element 3 to the bottom side of light emitting device 1 can be
                                 reflected by the whitish glass and radiated in the direction of wavelength conversion portion 2.
                                 Thus, the light radiation efficiency can be enhanced.

                           See also, e.g., Suehiro ’797 at [0122]-[0123].

                           In other embodiments, the glass sealing portion (6) provided on the bottom of the board (4) is described as the
                           same as that used in the wavelength conversion portion.


                                                      23


                                             Exhibit C, p. 380
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 381 of 954 Page ID
                                                               #:17559



                   Asserted Claims                                   Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                          See, e.g., Suehiro ’797 at [0074]: “The glass sealing portion 6 is of the same glass material as the low-melting
                                                          glass to compose the wavelength conversion portion 2. It protects the bottom Surface of lead frame 5 while
                                                          being integrated with the wavelength conversion portion 2 by the hot pressing mentioned above.”

                                                          A POSITA would have understood this to allow light to emit from the bottom of the device, and as emphasizing
                                                          that the wavelength conversion present on the top face of the board also be implemented on the bottom of the
                                                          board.

                                                          See also, e.g., Suehiro ’797 at [0072].

                                                          Suehiro ’797 teaches that the wavelength conversion member is elongated in the longitudinal direction when
                                                          viewed in plan view of the first surface side of the board.

                                                          See, e.g., Suehiro ’797 at Fig. 9:




                                                        See also, e.g., Suehiro ’797 at Figs. 3-4, 5B, 6A, 6C, 7-16, 18-22, [0199].
1[i] wherein a first set of the light emitting element Scianna teaches this element.
chips are mounted on the first region and arranged from
the center portion of the board to the one of the end See, e.g., Scianna at Fig. 10 (LEDs 10):
portions,


                                                                                      24


                                                                             Exhibit C, p. 381
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 382 of 954 Page ID
                                                               #:17560



                   Asserted Claims                                  Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                          The board of Scianna has a first set of the light emitting element chips mounted on the first region (for example,
                                                          the two LEDs 10 mounted left of the radial center portion of the board).

                                                          Also as discussed above at 1[a], the board of Scianna could be reconfigured as a longitudinal board, which were
                                                          well known in the art. See, e.g., in Suehiro ‘897 and Suehiro ’797. In this configuration, the board would also
                                                          have a first set of the light emitting element chips mounted on the first region (for example, two LEDs 10
                                                          mounted left of center of the board and arranged from the center portion of the board to the one of the end
                                                          portions).

                                                          Also, Scianna teaches the use of LEDs on each side of center, to provide “an omnidirectional LED light source
                                                          and a device that gives a more uniform light output across the face of the device compared to the unidirectional
                                                          concentrated light of traditional LED light devices.” Scianna at [1:59-63].

                                                          Scianna also states that “the number of LEDs 10 may be varied as dictated by the design.” Scianna at 5:59- 60.

                                                        See also, e.g., Scianna at [3:56-62], [5:3-15].
1[j] wherein a second set of the light emitting element Scianna teaches this element.
chips are mounted on the second region and arranged
                                                                                     25


                                                                            Exhibit C, p. 382
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 383 of 954 Page ID
                                                               #:17561



                    Asserted Claims                                 Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
from the center portion of the board to the other one of See, e.g., Scianna at Fig. 10 (LEDs 10):
the end portions, and




                                                          The board of Scianna has a second set of the light emitting element chips mounted on the second region (for
                                                          example, the two LEDs 10 mounted right of the radial center portion of the board).

                                                          Also as discussed above at 1[a], the board of Scianna could be reconfigured as a longitudinal board, which were
                                                          well known in the art. See, e.g., in Suehiro ‘897 and Suehiro ’797. In this configuration, the board would also
                                                          have a second set of the light emitting element chips mounted on the second region (for example, two LEDs 10
                                                          mounted right of center of the board and arranged from the center portion of the board to the other one of the end
                                                          portions).

                                                          Also, Scianna teaches the use of LEDs on each side of center, to provide “an omnidirectional LED light source
                                                          and a device that gives a more uniform light output across the face of the device compared to the unidirectional
                                                          concentrated light of traditional LED light devices.” Scianna at [1:59-63].

                                                          Scianna also states that “the number of LEDs 10 may be varied as dictated by the design.” Scianna at 5:59- 60.

                                                       See also, e.g., Scianna at [3:56-62], [5:3-15].
1[k] wherein the pair of metal plates are electrically Scianna discloses this element. See above at 1[g]. Further, the pair of metal plates would need to be electrically
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                                                                           Exhibit C, p. 383
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                                                               #:17562



                   Asserted Claims                                 Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
connected with the support base via the support leads.   connected with the support base 50 via the support leads 30 to establish a continuous electrical connection to
                                                         power the LEDs 10.
                                                         Scianna teaches supplying power to its LED assembly from power source 40 (e.g., the support base) through the
                                                         support leads (e.g., conductors 30). See, e.g., Scianna at 4:37-47:

                                                               Referring to FIGS. 1 and 2, the invention in its basic form includes a light source, such as an LED
                                                               10, and a cover 20. The LED 10 may be of any type depending upon the application. For
                                                               applications requiring the most visibility, a high intensity LED may be selected For applications
                                                               requiring a low power consumption, an LED of low power can be Selected. As is obvious to one
                                                               skilled in the art, the LED 10 is electrically connected to a power source 40 by the conductors 30.
                                                               In the preferred embodiment, the conductors 30 are length of wire, but could easily be any other
                                                               suitable electrically conductive material.

                                                         See also, Scianna at [3:63-67], [4:57-62], [5:3-15], [5:53-60].

                                                         Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                         As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                         device taught in Suehiro ‘897 with the LED bulb taught in Scianna.

                                                         And, as further discussed above at 1[c] and 1[g], Suehiro ‘897 teaches the use of its metal plates for electrical
                                                         connection, while Scianna teaches electrical connection from the support base through conductors 30. A
                                                         POSITA thus would have found it obvious to combine Suehiro ‘897 with Scianna such that the pair of metal
                                                         plates are electrically connected with the support base via the conductors 30.

                                                         Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                                                         As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                         device taught in Suehiro ‘797 with the LED bulb taught in Scianna.

                                                         And, as further discussed above at 1[c] and 1[g], Suehiro ‘797 teaches the use of its metal plates for electrical
                                                         connection, while Scianna teaches electrical connection from the support base through conductors 30. A
                                                         POSITA thus would have found it obvious to combine Suehiro ‘797 with Scianna such that the pair of metal
                                                         plates are electrically connected with the support base via the conductors 30.
Claim 3
3. The light emitting device according to claim 1, Scianna teaches this element.
wherein the transparent bulb is made of glass.

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                                                                           Exhibit C, p. 384
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                                                               #:17563



                   Asserted Claims                                  Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                          Scianna teaches a bulb with a cover (20) “as is commonly used for incandescent bulbs.” It was well known in
                                                          the art to use glass as the material for an incandescent bulb, to save cost, for ease of manufacturing, and/or to
                                                          achieve desired aesthetic or optical properties.

                                                          See, e.g., Scianna at 5:53-60:

                                                                FIG. 10 shows a replacement bulb utilizing a plurality LEDs 10 as the light source instead of a
                                                                filament. The cover 20 is attached to a base 50 as is commonly used for incandescent bulbs. The
                                                                LEDs 10 are electrically connected to the base 50 by the conductors 30. The cover 20 is hollow
                                                                and the LEDs 10 reside within the plenum defined by the surfaces of the cover 20. Tee number of
                                                                LEDs 10 may be varied as dictated by the design.

                                                     See also, e.g., Scianna at [2:26-60], [2:38-50], [3:33-51], [3:63-67], [5:53-60], Fig. 2-4, Fig. 6.
Claim 4
4. The light emitting device according to claim 1, Scianna discloses this element. See above at 1[g] and 1[k].
wherein each of the metal plates crosses the support
lead.                                                See also, Scianna at [3:63-67], [4:57-62], [5:3-15], [5:53-60].

                                                          Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                          As discussed above at claims l[e], l[g], and 1[k], Scianna, as modified by Suehiro ‘897, has a pair of metal plates
                                                          extending from the wavelength conversion member, and engaging with support leads as shown in Scianna
                                                          (conductors 30). As discussed above at l[k], the connection between these elements supplies electrical
                                                          connection and power to the LEDs. A POSITA would have found it obvious to achieve electrical connection
                                                          between these components by having, for example, the metal plates cross the support leads (conductors 30).

                                                          Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                                                          As discussed above at claims l[e], l[g], and 1[k], Scianna, as modified by Suehiro ‘797, has a pair of metal plates
                                                          extending from the wavelength conversion member, and engaging with support leads as shown in Scianna
                                                          (conductors 30). As discussed above at l[k], the connection between these elements supplies electrical
                                                          connection and power to the LEDs. A POSITA would have found it obvious to achieve electrical connection
                                                          between these components by having, for example, the metal plates cross the support leads (conductors 30).
Claim 6
6. The light emitting device according to claim 1, Scianna discloses this element. See above at 1[c]. Phosphors were well known and commonly used in the art in
wherein the wavelength conversion member comprises a transparent resin of light emitting devices to convert wavelength. See, e.g., Suehiro 897 and Suehiro ‘797.
phosphor therein.

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                                                                            Exhibit C, p. 385
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                                          #:17564



Asserted Claims                     Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797

                           Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                           Suehiro ‘897 teaches this element. See above at 1[c].

                           See, e.g., Suehiro ‘897 at Fig. 13 (e.g. phosphor 8 within transparent resin 40):




                           See, e.g., Suehiro ‘897 at col. 12, lns. 50-52: “The light emitting device of the thirteenth embodiment is different
                           from that of the sixth embodiment in that a transparent resin 40 contains a phosphor.”

                           Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                           See, e.g., Suehiro ‘797 at Fig. 11 (e.g. element 2A, within element 2):




                                                      29


                                             Exhibit C, p. 386
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                                                            #:17565



                 Asserted Claims                              Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                    See, e.g., Suehiro ‘797 at [0003]: “The invention relates to a light emitting device where light emitted from a
                                                    light emitting diode (hereinafter referred to as LED) is absorbed and wavelength-converted by phosphor and
                                                    then the wavelength-converted light with a different wavelength is radiated therefrom.”

                                                    See also, e.g., Suehiro ‘797 at Figs. 3-4, 5B-11, 12B-22; [0029]-[0031], [0033], [0034], [0037]-[0042], [0044],
                                                    [0069]-[0070], [0081]-[0089], [0098]-[0099], [0106], [0109]-[0113], [0126]-[0127], [0129]-[0131], [0134],
                                                    [0147]-[0148], [0152], [0154]-[0155], [0159], [0173], [0176], [0179]-[0183], [0187], [0190]-[0195].
Claim 7
7. The light emitting device according to claim 6, Scianna discloses this element. See above at 1[c] and claim 6. A YAG group phosphor was well known and
wherein the phosphor comprises a YAG group commonly used in the art to convert wavelength. See, e.g., Suehiro ‘897 and Suehiro ’797.
phosphor.
                                                   Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                    See, e.g., Suehiro ‘897 at col. 12, lns. 53-58:

                                                          The phosphor 8 may be YAG (yttrium aluminum garnet), silicate phosphor, or a mixture thereof.
                                                          The phosphor 8 is composed of one kind or plural kinds of phosphors. For example, a
                                                          combination of plural kinds of phosphors is a phosphor to radiate red light, a phosphor to radiate
                                                          green light
                                                          and a phosphor to radiate blue light.


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                                                                      Exhibit C, p. 387
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                                                             #:17566



                  Asserted Claims                              Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                      Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                                                      See, e.g., Suehiro ‘797 at [0111]:

                                                            Since the wavelength conversion portion 2 is fo1med by light emitting device in the third
                                                            preferred embodiment of the sandwiching the thin-film phosphor layer 2A fo1med on the glass
                                                            sheet 201 with the glass sheet 202 and by the1mally fusing them, the shape and thickness of
                                                            phosphor layer 2A can be easily and accurately controlled. Also, the amount of phosphor used
                                                            can be accurately controlled. In case of using an expensive phosphor such as YAG
                                                            (yttriumaluminum-gamet), the cost of light emitting device 1 can be reduced since the wasting of
                                                            phosphor can be prevented.

                                                      See also, e.g., Suehiro ‘797 at [0159], [0180].


                  Asserted Claims                        Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797 and One of
                                                                                          Hohn, Takashima, and Debray
Claim 11
11. The light emitting device according to claim 6, Scianna discloses this element. See above at 1[c] and claim 6. It was well known in the art that a phosphor
wherein an average particle size of the phosphor is 3 μm having a particle size of 3 μm or more would be advantageous.
or more.
                                                         Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                      As discussed above (see supra at claim 6), Suehiro ‘897 teaches the use of a phosphor, and it was well known in
                                                      the art that a particle size of 3 μm or more would be advantageous.

                                                      Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                                                      As discussed above (see supra at claim 6), Suehiro ‘797 teaches the use of a phosphor, and it was well known in
                                                      the art that a particle size of 3 μm or more would be advantageous.

                                                      Alternatively, Scianna in view of Suehiro’897 or Suehiro ‘797 and one of Hohn, Takashima, and Debray
                                                      discloses this element.

                                                      See, e.g., Hohn at col. 2, lns. 20-21: “…the luminous substance pigments having grain sizes ≤ 20 μm ...”

                                                      See, e.g., Takashima at [17:7-10]: “Particle size of the fluorescent material 11 is preferably in a range from 1 μm

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                                                                        Exhibit C, p. 388
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                                                            to 20 μm, more preferably in a range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.”

                                                            See, e.g., Debray at Claim 7: “Light source arrangement according to Claim 6, characterized in that the
                                                            luminescent material pigments have grain sizes of ≤ 20 µm …”


                    Asserted Claims                                  Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
Claim 12
12. The light emitting device according to claim 1,         Scianna discloses this element. Series electrical connections for a plurality of electrically connected light
wherein the plurality of light emitting element chips is    emitting elements were well known in the art. See, e.g., U.S. Patent Publication No. 2003/0031015.
electrically connected in series.
Claim 13
13. The light emitting device according to claim 1,         Scianna discloses this element. Use of a variety of LEDs, including blue LEDs, in light emitting devices was
wherein the plurality of light emitting element chips is    well known and commonly used in the art. Further, the main peak light emission wavelength of blue light, which
so configured that a main peak light emission               includes a range between 420 nm and 490 nm, was well known in the art.
wavelength of the light emitting element is varied within
a range between 420 nm and 490 nm.                          Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                            Suehiro ‘897 teaches the use of blue LEDs and discloses a wavelength within this range. It was well known in
                                                            the art that the main peak light emission wavelength of blue light includes a range between 420 nm and 490 nm.

                                                            See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                                                            emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                                                            39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                                                            yellow light are mixed to develop white light.”

                                                            See, e.g., Suehiro ‘897 at col. 19, lns. 32-33: “The LED 3 comprises a flip-chip type GaN-based LED element 31
                                                            to radiate blue light…”

                                                            See, e.g., Suehiro ‘897 at col. 25, lns. 6-7: “The phosphor layer 39 may be omitted to allow a blue light source.”

                                                            See also above at 1[c].

                                                            Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                                                            Suehiro ‘797 also teaches the use of blue LEDs, and it was well known in the art that the main peak light
                                                            emission wavelength of blue light includes a range between 420 nm and 490 nm.


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                                                                              Exhibit C, p. 389
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                                                       See, e.g., Suehiro ‘797 at [0158]: “The LED element 111 is GaN based blue LED element. It may be a GaN
                                                       based ultraviolet LED element or another LED element other than GaN based LED elements.”
                                                       See also, e.g., Suehiro ‘797 at [0159].

                                                       See also, discussion above at 1[c].


                  Asserted Claims                         Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797 and One of
                                                                                           Hohn, Takashima, and Debray
Claim 14
14. The light emitting device according to claim 1, Scianna discloses this element as this configuration of nitride semiconductor for light emitting element chips
wherein each of the light emitting element chips was well known and commonly used in the art. See, e.g., Hohn, Takashima, and Debray.
comprises nitride semiconductor made of InxAlyGa1-x-yN
(0≦x, 0≦y, x+y≦1).                                     Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                       Suehiro ‘897 teaches the use of GaN-based LEDs. See, e.g., Suehiro at col. 4, lns. 64-66: “The LED 3, as shown
                                                       in FIG. 1B, comprises the LED element 31, as a solid-state element, which is of flip-chip type and made of a
                                                       GaN-based semiconductor material….” A POSITA would have understood that the specific claimed GaN-based
                                                       LED would have been obvious to select, as it would involve selecting one from a finite number of options.

                                                       Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                                                       Suehiro ‘797 teaches the use of GaN-based LEDs. See, e.g., Suehiro at [0158]: “The LED element 111 is GaN
                                                       based blue LED element. It may be a GaN based ultraviolet LED element or another LED element other than
                                                       GaN based LED elements.” See also, e.g., Suehiro at [0117], [0187]. A POSITA would have understood that the
                                                       specific claimed GaN-based LED would have been obvious to select, as it would involve selecting one from a
                                                       finite number of options.

                                                       Alternatively, Scianna in view of one of Suehiro ’897 and Suehiro ‘797 and one of Hohn, Takashima, and
                                                       Debray discloses this element.

                                                       See, e.g., Hohn at col. 4, lns. 42-45: “Preferably, the casting composition according to the invention is used in a
                                                       radiation-emitting semiconductor body, in particular with an active semiconductor layer or semiconductor layer
                                                       sequence of GaxIn1-xN or Gax Al1-xN …”.

                                                       See, e.g., Takashima at 18:27-31: “The semiconductor light emitting element capable of emitting light of
                                                       wavelength not longer than 500 nm in ultraviolet to visible region can be made of various semiconductors such
                                                       as BN, SiC, ZnSe, GaN, InCaN, InAlGaN, AlGaN, BalGaN and BinAlGaN.”

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                                                          See, e.g., Debray at lns. 115-117: “In connection with the present invention, a luminescence diode chip based on
                                                          GaN or InGaN is to be understood in principle as a luminescence diode chip whose radiation-emitting zone has
                                                          GaN, InGaN and / or related nitrides and mixed crystals based thereon, such as Ga (Al, In) N.”


                    Asserted Claims                            Prior Art References, Scianna Alone or in View of One of Suehiro ’897 and Suehiro ’797
Claim 15
15. The light emitting device according to claim 1, Scianna discloses this element. Rather than individually encapsulate each light emitting element in a fluorescent,
wherein     the    wavelength      conversion member transparent resin, it was well known in the art to encapsulate a plurality of light emitting elements in a single
substantially surrounds the board.                   fluorescent, transparent resin to reduce material costs, simplify manufacturing, reduce manufacturing costs, and
                                                     improve the optical properties of a device. See., e.g., Suehiro ’897 and Suehiro ’797. Also, as explained above at
                                                     1[h], it was well known in the art to include a fluorescent, transparent resin on both the first and second surfaces
                                                     of a board in an omni-directional lighting device (see Scianna at [2:1-3]).

                                                          Alternatively, Scianna in view of Suehiro ‘897 discloses this element.

                                                          As discussed above at l[c] and l[h], a POSITA would have found it obvious and been motivated to combine
                                                          Scianna and Suehiro ’897 to incorporate the wavelength conversion member of Suehiro ‘897 with the LED bulb
                                                          of Scianna, and for the wavelength conversion member to be on both sides of the board. Thus, the wavelength
                                                          conversion member substantially surrounds the board.

                                                          See, e.g., Suehiro ‘897 at Fig. 13:




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                                                                            Exhibit C, p. 391
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                   Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                   As discussed above at l[c], l[h], a POSITA would have found it obvious and been motivated to combine Scianna
                   and Suehiro ‘797 to incorporate the wavelength conversion member of Suehiro ‘797 with the LED bulb of
                   Scianna, and for the wavelength conversion member to be on both sides of the board. Thus, the wavelength
                   conversion member substantially surrounds the board.

                   See, e.g., Suehiro ‘797 at Fig. 9:




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                                                          See also, e.g., Suehiro ‘797 at Figs. 3, 6A, 7-8, 10-11.
Claim 17
17. The light emitting device according to claim 1, Scianna discloses this element. See above at 1[c] and 1[h].
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting Alternatively, Scianna in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
element chips on the first surface side of the board
forwards outside of the light emitting device through the Alternatively, Scianna in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
second surface of the board.
                                                          Scianna provides motivation to seek light emission from the bottom of the optical element: Scianna’s bulb
                                                          configuration includes a bottom-facing LED 10 (see, e.g., Scianna at Fig. 10), and emulating that emission most
                                                          closely in the combination with Suehiro ‘897 or Suehiro ‘797 would be achieved by emitting light from the
                                                          bottom of the optical element.
Claim 18
18. The light emitting device according to claim 1, Scianna discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light Alternatively, Scianna in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
emitting element chips into light with a different
wavelength such that the converted light with the Alternatively, Scianna in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
different wavelength is radiated along a first direction
from the first surface side of the board to an outer As discussed above at 1[c], the wavelength conversion member of Suehiro ‘897 and Suehiro ‘797 is capable of

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                                                                           Exhibit C, p. 393
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periphery of the wavelength conversion member, and          converting light emitted from the LEDs into light with a different wavelength. As such, the converted light with
along a second direction from the second surface of the     the different wavelength is radiated along a first direction from the first surface side of the board to an outer
board to the outer periphery of the wavelength              periphery of the wavelength conversion member, and along a second direction from the second surface of the
conversion member.                                          board to the outer periphery of the wavelength conversion member.
Claim 19
19. The light emitting device according to claim 1,         Scianna teaches this element. See above at 1[a]. All of the LEDs 10 mounted on the first surface side of the
wherein all light emitting element chips mounted on the     board (the radially outer surface) are aligned along a line. See, e.g., Scianna at Fig. 10:
first surface side of the board are aligned along a line.




                                                            Also, in the example where the board could be reconfigured as a longitudinal board, all LEDs 10 mounted on the
                                                            first surface side of the board would be aligned along a line.

                                                            Alternatively, Scianna in view of Suehiro ’897 discloses this element.

                                                            Suehiro ‘897 similarly teaches embodiments where all light emitting element chips mounted on the first surface
                                                            side of the board are aligned along the same line.

                                                            See, e.g., Suehiro at Figs. 27A and 27B:




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                                                                              Exhibit C, p. 394
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                   As discussed above at l[c], l[g], and l[k], a POSITA would have found it obvious to combine the light emitting
                   device of Suehiro ‘897 with Scianna, and would have been motivated to do so to reduce cost, for ease of
                   manufacturing, to obtain desired optical and/or aesthetic properties.

                   Alternatively, Scianna in view of Suehiro ’797 discloses this element.

                   Suehiro ‘897 also teaches embodiments where all light emitting element chips mounted on the first surface side
                   of the board are aligned along the same line.

                   See, e.g., Suehiro ‘797 at Fig. 20:




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                                                         See also, e.g., Suehiro ‘797 at Figs. 15, 18-19, 21-22, [0035]-[0039], [0060], [0063]-[0067], [0153]-[0161],
                                                         [0180],
                                                         [0182], [0185]-[0199].

                                                         As discussed above at l[c], l[g], and l[k], a POSITA would have found it obvious to combine the light emitting
                                                         device of Suehiro ‘797 with Scianna, and would have been motivated to do so to reduce cost, for ease of
                                                         manufacturing, to obtain desired optical and/or aesthetic properties.
Claim 20
20. The light emitting device according to claim 1, Scianna discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface Alternatively, Scianna in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
side of the board.
                                                          Alternatively, Scianna in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
Claim 21
21. The light emitting device according to claim 19, Scianna discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface Alternatively, Scianna in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
side of the board.
                                                          Alternatively, Scianna in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
Claim 22
22. The light emitting device according to claim 1, Scianna discloses this element. See above at 1[i], l[j], and claim 19.
wherein the first set of light emitting element chips and
the second set of light emitting element chips are Alternatively, Scianna in view of Suehiro ‘897 discloses this element. See above at 1[i], l[j], and claim 19.

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                                                                          Exhibit C, p. 396
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aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion Alternatively, Scianna in view of Suehiro ‘797 discloses this element. See above at 1[i], l[j], and claim 19.
member.
Claim 24
24. The light emitting device according to claim 1, Scianna discloses this element. See above at 1[e] and 1[g].
wherein one of the support leads is positioned between
one of the metal plates and the support base.             Alternatively, Scianna in view of Suehiro ‘897 discloses this element. See above at 1[e] and 1[g].

                                                           Alternatively, Scianna in view of Suehiro ‘797 discloses this element. See above at 1[e] and 1[g].
Claim 25
25. The light emitting device according to claim 1, See above at claim 19.
wherein all of the light emitting element chips mounted
on the first surface side of the board are aligned along a
single line when viewed in plan view of the first surface
side of the board.
Claim 27
27. A light emitting device comprising:                    See above at 1[pre].
[27a] through [27j]                                        See above at 1[a] through 1[j].

[27k] wherein one of the support leads is positioned        See above at claim 24.
between one of the metal plates and the support base.




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                                                                          Exhibit C, p. 397
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                                                                                       Exhibit E

        Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797, or Ray in View of One of Suehiro ’897 and Suehiro ’797 and
                                              One of Hohn, Takashima, and Debray

        Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ‘734 Patent are invalid as anticipated under 35 U.S.C. § 102 by U.S. Patent No. 4,211,955 to Ray (“Ray”).
Specifically, Ray directly or inherently, based on the presumed knowledge of a POSITA, discloses each and every limitation of these claims.

        In the alternative, claims 1, 4, 6, 7, 11, 13-15, 17-22, 24, 25, and 27 of the ‘734 Patent are unpatentable under 35 U.S.C. § 103 by Ray in view of one of U.S. Patent
No. 7,875,897 to Suehiro (“Suehiro ‘897”) and U.S. Patent Publication No. 2004/0257797 to Suehiro ’797 (“Suehiro ‘797”), or Ray in view of one of Suehiro ‘897 and
Suehiro ‘797 and one of U.S. Patent No. 6,066,861 (“Hohn”), U.S. Patent No. 7,723,740 (“Takashima”), and European Publication No. 1116419B1 (“Debray”).

         Ray in view of one of Suehiro ‘897 and Suehiro ‘797 renders the Asserted Claims of the ‘734 Patent obvious under 35 U.S.C. § 103. These references alone or in
combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and
features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above
prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures
in a manner that renders the Asserted Claims obvious.

        Ray in view of one of Suehiro ‘897 and Suehiro ‘797 and one of Hohn, Takashima, and Debray renders the Asserted Claims of the ‘734 Patent obvious under 35
U.S.C. § 103. These references alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to
light-emitting semiconductor devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of
ordinary skill in the art to combine the above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to
combine the teachings from these disclosures in a manner that renders the Asserted Claims obvious.

                    Asserted Claims                                      Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
Claim 1
1[pre]. A light emitting device comprising:                 To the extent the preamble is limiting, Ray teaches a light emitting device.

                                                            See, e.g., Ray at [1:19-22]: “Therefore, the principal object of this invention is to provide a novel solid state lamp
                                                            having a standard incandescent lamp base which can be used with existing incandescent lamp sockets.”

                                                            See also, e.g., Ray at Fig. 1:




                                                                                 Exhibit C, p. 398
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                                                             #:17577



                    Asserted Claims                                     Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                             See also, e.g., [1:5-11], [1:23-29], [1:60-67], Fig. 2.
1[a] a board having end portions and a center portion Ray teaches this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a See, e.g., Ray at Fig. 7 (showing a board upon which a plurality of light emitting diodes are mounted):
second surface on a second surface side thereof, the
second surface being an opposite side to the first
surface, the first surface including a first region and a
second region, the first region extending from the center
portion of the board to one of the end portions, the
second region extending from the center portion of the
board to the other of the end portions;




                                                                                        2


                                                                           Exhibit C, p. 399
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                                          #:17578



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           As an example, this board includes an infinite number of end portions (along its circumference) and a center
                           portion therebetween in a longitudinal direction (the length of the line drawn from end portion to end portion). It
                           also has first and second surfaces and first and second regions.

                           Also, the circular configuration of the board above could easily be reconfigured as a longitudinal board. Such
                           boards were well known in the art, for example, as in Suehiro ‘897 and Suehiro ’797. Further, this
                           reconfiguration would simplify manufacturing and reduce manufacturing costs.

                           Alternatively, Ray in view of Suehiro ’897 discloses this element.

                           Ray teaches an LED bulb to replace an incandescent bulb. See, e.g., Ray at Abstract. A POSITA would also have
                           understood that disclosure to include emulating the white light color of such bulbs, through converting the
                           wavelength of emitted light, rather than the blue light traditionally emitted by LEDs. A POSITA thus motivated
                           would have looked to references like Suehiro ‘897 that teaches this. See, e.g., Suehiro ‘897 at col. 20, lns. 59-65.

                           See, e.g., Suehiro ‘897 at Fig. 13:




                                                       3


                                             Exhibit C, p. 400
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                                          #:17579



Asserted Claims                       Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See also, e.g., Suehiro ‘897 at Figs 27A and 27B (longitudinal substrate 32 having a first surface upon which a
                           plurality of LEDs 31 are mounted):




                                                      4


                                            Exhibit C, p. 401
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                                          #:17580



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           Also, Ray teaches supplying power to its LED assembly through, for example, conductors (22, 24).

                           See, e.g., Ray at 1:60-2:4:

                                 FIG. 1 illustrates one embodiment of the invention wherein an integrated circuit chip 10 is
                                 mounted within a light-diffusing encasement in the form of a transparent hollow lamp bulb or
                                 envelope 12 which is sealed to a conventional incandescent lamp screw-type base 14 having an
                                 inner electrical terminal 16 separated from an outer electrical terminal 18 by circular insulating
                                 portion 20. Electrical conductors 22 and 24 are fixed to the lamp base 14 to mechanically support
                                 the chip 10 within the glass envelope 12 and to electrically connect the chip to the lamp base
                                 terminals 16 and 18, one of these terminals being connected to the chip conductor 22 and the
                                 other to the chip conductor 24.

                           See also, e.g., Ray at [2:20-29], [2:51-57].

                           A POSITA would have found it obvious for, for example, the leads 2 of Suehiro ‘897 to be readily mechanically
                                                         5


                                             Exhibit C, p. 402
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 403 of 954 Page ID
                                          #:17581



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           and electrically connected to the power source through the conductors (22, 24), and thus would have positioned
                           the leads 2 to overlap Ray’s conductors (22, 24). It would take routine engineering and simple substitution to
                           adopt the LEDs board in Suehiro into the bulb disclosed by Ray. This would yield predictable results of creating
                           an LED light bulb with a plurality of light emitting diodes providing optimal light emission.

                           Alternatively, Ray in view of Suehiro ’797 discloses this element.

                           See, e.g., Suehiro ’797 at Fig. 11 at (ceramic board 9):




                           See also, e.g., Suehiro ‘797 at [0072]: “The submount element 4 is of AlN and has the copper-foil wiring pattern
                           (not shown) formed on its surface. The wiring pattern is electrically connected to the electrodes of LED element
                           3 and is solder-bonded to the lead frame 5.”

                           See also, e.g., Suehiro ‘797 at Fig. 20 (base portion 104):




                                                       6


                                             Exhibit C, p. 403
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 404 of 954 Page ID
                                                             #:17582



                  Asserted Claims                                  Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                       See also, e.g., Suehiro ‘797 at [0078], [0114], [0134]-[0144], [0151], Figs. 3-4, 6-10, 12-16, 18-22.

                                                         For the same reasons provided above with respect to Suehiro ‘897, a POSITA would have had motivation and
                                                         found it obvious to combine the teachings of Ray with Suehiro ‘797
1[b] a plurality of light emitting element chips mounted Ray teaches this element.
on the first surface side of the board;
                                                         Ray explains a plurality of LEDs 40 mounted on the first surface side of the board.

                                                       See, e.g., Ray at Fig. 7 (LEDs 40):




                                                                                   7


                                                                         Exhibit C, p. 404
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 405 of 954 Page ID
                                                              #:17583



                   Asserted Claims                                   Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                         See also, e.g., Ray at 2:46-51: “In accordance with this invention, the so-called LED array may consist of one
                                                         light-emitting diode (LED) or a plurality of series-connected LEDs, depending upon the light intensity required.”

                                                      See also, e.g., Ray at [3:11-14], Fig. 3.
1[c] a wavelength conversion member formed unitarily Ray discloses a wavelength conversion member formed unitarily with a transparent member that seals the
with a transparent member that seals the plurality of plurality of light emitting element chips. Ray explains that the invention includes LEDs 40. It was well known in
light emitting element chips;                         the art that LEDs were packaged in a fluorescent, transparent resin, wherein the fluorescent material converted
                                                      wavelength. See, e.g., Suehiro ‘897 and Suehiro ’797. It was also well known in the art that sealing LEDs in a
                                                      packaging extracted greater amounts of light from the LEDs. This in turn made the LEDs more efficient.

                                                         Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                         Ray in view of Suehiro ‘897 discloses a wavelength conversion member formed unitarily with a transparent
                                                         member that seals the plurality of light emitting element chips.

                                                         A POSITA would understand how to create white light by using a blue LED in combination with a wavelength
                                                         conversion member as this was well known in the art. For example, Suehiro discloses this element.

                                                         See, e.g., Suehiro ‘897 at FIG. 13:


                                                                                     8


                                                                           Exhibit C, p. 405
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 406 of 954 Page ID
                                          #:17584



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See, e.g., Suehiro at col. 12, lns. 50-52: “The light emitting device of the thirteenth embodiment is different from
                           that of the sixth embodiment in that a transparent resin 40 contains a phosphor.”

                           See, e.g., Suehiro ‘897 at col. 12, lns. 64-col.13. lns. 1-7:

                                 The effects of the thirteenth embodiment are as follows. With the transparent resin 40 containing
                                 the phosphor 8, wavelength conversion is conducted by the phosphor 8. For example, when the
                                 phosphor 8 is composed of a red phosphor, a green phosphor and a blue phosphor, ultraviolet
                                 light emitted from the LED 3 is wavelength-converted by the phosphor 8 and secondary light
                                 radiated therefrom is mixed with primary light emitted from the LED 3 to generate visible light.
                                 Thus, even when the emission wavelength of the LED 3 varies, the light emitting device 1 can be
                                 constant in emission color tone.

                           See, e.g., Suehiro ‘897 at col. 4, lns. 53-59 (explaining that a transparent resin 4 seals the LEDs 3):

                                 As shown in FIG. 1A, the light emitting device 1 comprises: a pair of leads 2 made of silver-
                                 plated copper or copper alloy; an LED3, as a light emitting portion, which is mounted on the lead
                                 2; a transparent resin 4, made of epoxy resin etc., which seals the LED 3 to form a lamp-type
                                 device and is provided with a lens surface 41 as well as a semisphere having an LED element 31
                                 as its origin.

                           See, e.g., Suehiro ‘897 at col. 13, lns. 14-20 (explaining efficiencies of configuration):

                                                        9


                                              Exhibit C, p. 406
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 407 of 954 Page ID
                                          #:17585



Asserted Claims                       Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                Therefore, phosphor contained therein may be deposited and the light extraction efficiency or
                                emission color may be affected thereby. In the invention, since the phosphor 8 is instantly
                                injected
                                while being agitated and then cured into a given form, it can be uniformly spread without
                                deposition in the transparent resin 40.

                           See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                           emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                           39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                           yellow light are mixed to develop white light.”

                           Suehiro ‘897 also discloses configurations where a plurality of LEDs are mounted on a board and sealed by a
                           wavelength conversion member.

                           See, e.g., Suehiro ‘897 at Figs. 27A and 27B:




                                                     10


                                            Exhibit C, p. 407
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 408 of 954 Page ID
                                          #:17586



Asserted Claims                         Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                           See, e.g., Suehrio ‘897 at col. 19, lns. 44-46: “Although in this embodiment the three LED elements 31 are used,
                           another number of LED elements 31 may be used therein.”

                           See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                           emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                           39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                           yellow light are mixed to develop white light.”

                           A POSITA would have been motivated to combine the teaching of a wavelength conversion member from
                           Suehiro ‘897 with Ray to save cost, for ease of manufacturing, and/or to achieve desired aesthetic or optical
                           properties. Also, a POSITA would have found it obvious to combine Suehiro ‘897 with the teachings of Ray. It
                           would require routine engineering and simple substitution to adopt the LEDs and wavelength conversion
                           material into the bulb of Ray. This would yield predictable results of emitting wavelength-converted light
                           emitted from the light emitting device.

                           Alternatively, Ray in view of Suehiro ’797 discloses this element.

                           Suehiro ’797 specifically teaches that its wavelength conversion member provides for even light distribution and
                           emission. See also, e.g., Suehiro ’797 at [0198]: “In addition to the effects of the twelfth embodiment, the
                           thirteenth embodiment can have an effect that light can be radiated widely from the light emitting device 101.
                           Especially, it is suitable for use, such as a lighting device, where a wide and uniform light radiation
                           characteristic is required.”

                           See also, e.g., Suehiro ’797 at [0025], [0026], [0032]:

                                 It is an object of the invention to provide a light emitting device that can offer an even
                                 wavelength conversion characteristic while avoiding the lowering of external radiation efficiency
                                 of LED element.

                                 It is a further object of the invention to provide a light emitting device that can be low-profile
                                 while offering good external radiation efficiency.

                                 The wavelength conversion portion may have an optical shape to radiate the light according to a
                                 desired light distribution characteristic from the light emitting element portion.

                           Ray also seeks to achieve this objective--attaining the uniform light diffusion of incandescent bulbs. See, e.g.,
                           Ray at [1:6-11; 2:30-32]:

                                                      11


                                             Exhibit C, p. 408
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 409 of 954 Page ID
                                          #:17587



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                 This invention relates to the field of solid state or semiconductor lamps and, more particularly, to
                                 a novel solid state lamp in which a solid state light-emitting device is disposed within a light-
                                 diffusing encasement having a standard A.C. or D.C. base which can be accepted by existing
                                 standard A.C. or D.C. lamp sockets.

                                 In other embodiments, the light-diffusing encasement is solid, rather than hollow, and this solid
                                 encasement provides maximum light diffusion.

                           Thus, a POSITA would have understood Suehiro ’797 to teach an improvement that would allow for light
                           emission in furtherance of the goal stated in Ray of emulating an incandescent bulb, and thus would have been
                           motivated to combine it. Motivation to combine these references is also provided by ease of manufacturing,
                           fewer parts, cost saving, obtaining desired optical or aesthetic properties.

                           Further, Suehiro ’797 teaches a wavelength conversion member formed unitarily with a transparent member that
                           seals the plurality of light emitting element chips.

                           See, e.g., Suehiro ’797 at [0003]: “The invention relates to a light emitting device where light emitted from a
                           light emitting diode (hereinafter referred to as LED) is absorbed and wavelength-converted by phosphor and
                           then the wavelength-converted light with a different wavelength is radiated therefrom.”

                           See also, e.g., Suehiro ’797 at [0021]: “It is preferable that the wavelength conversion portion surrounds and
                           seals the light emitting element portion, and the phosphor is shaped like a thin film and disposed around the light
                           emitting element portion.”

                           See, e.g., Suehiro ’797 at Fig. 11:




                                                       12


                                             Exhibit C, p. 409
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 410 of 954 Page ID
                                          #:17588



Asserted Claims                       Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           Suehiro ’797 also discloses configurations where multiple LEDs are arranged in a strip on a single board. See,
                           e.g., Suehiro at Fig. 20:




                           See also, e.g., Suehiro ’797 at Figs. 15A, 15B, 19A, 19B, 21, 22, [0199]. A POSITA would have found it
                           obvious

                                                     13


                                            Exhibit C, p. 410
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 411 of 954 Page ID
                                                               #:17589



                   Asserted Claims                                    Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                          to combine the strip configuration shown in these embodiments with the embodiments shown in Figs. 3, 7-
                                                          11,14, to improve optical and aesthetic properties by adding additional LEDs.

                                                        A POSITA would have found it obvious to combine Suehiro ’797 with the teachings of Ray. It would require
                                                        routine engineering and simple substitution to adopt the LEDs and wavelength conversion material into the bulb
                                                        of Ray. This would yield predictable results of emitting wavelength-converted light emitted from the light
                                                        emitting device.
1[d] a transparent bulb that encloses the board and the Ray teaches a transparent bulb that encloses the board and the plurality of light emitting element chips.
plurality of light emitting element chips;
                                                        See also, e.g., Ray at Fig. 1:




                                                          See, e.g., Ray at 1:19-22: “Therefore, the principal object of this invention is to provide a novel solid state lamp
                                                          having a standard incandescent lamp base which can be used with existing incandescent lamp sockets.”

                                                      See also, e.g., Ray at [1:60-67], [2:17-20], [3:15-18].
1[e] support leads that secure the plurality of light Ray teaches support leads that secure the plurality of light emitting element chips inside the transparent bulb.
emitting element chips inside the transparent bulb;
                                                      See, e.g., Ray at Fig. 1 (at conductors 22, 24 that support and secure the LED inside the bulb 12):
                                                                                     14


                                                                            Exhibit C, p. 411
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 412 of 954 Page ID
                                                               #:17590



                   Asserted Claims                                   Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                          See also, e.g., Ray at [2:20-29], [2:51-57].
1[f] a support base that can be threadedly engaged with Ray discloses a support base that can be threadedly engaged with a conventional light bulb socket along a socket
a conventional light bulb socket along a socket axis; and axis.

                                                         See, e.g., Ray at Fig. 1:




                                                                                     15


                                                                            Exhibit C, p. 412
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 413 of 954 Page ID
                                                                #:17591



                   Asserted Claims                                      Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                            See, e.g., Ray at 1:19-22: “Therefore, the principal object of this invention is to provide a novel solid state lamp
                                                            having a standard incandescent lamp base which can be used with existing incandescent lamp sockets.”

                                                           See also, e.g., Ray at [1:23-29], [1:60-67], [3:15-18].
1[g] a pair of metal plates protruding at both ends of the Ray discloses this element. See, e.g., Ray at [1:23-30]. Ray explains that the light emitting diodes are
wavelength conversion member,                              “electrically connected” to the lamp base. One such electrical connection that was well known and commonly
                                                           used in the art was a pair of metal plates. See, e.g. Suehiro ’897 and Suehiro ’797. Further, a pair of metal plates
                                                           would be required to protrude from both ends of the LEDs 40 to establish contact with the electrical circuit to
                                                           power each LED 40.

                                                            Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                            Suehiro ‘897 teaches that a pair of metal plates protrude from the wavelength conversion member.

                                                            See, e.g., Suehiro ‘897 at FIG. 13:




                                                                                       16


                                                                              Exhibit C, p. 413
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 414 of 954 Page ID
                                          #:17592



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See, e.g., Suehiro ‘897 at col. 5, lns. 52-59 (explaining the construction of a light emitting device):

                                 Then, the pair of leads 2 is linearly disposed opposite with a given distance. The LED 3 is
                                 mounted on the thinned portion of the leads 2, and the circuit pattern 33 of the LED 3 is solder-
                                 boned to the leads 2. Then, the transparent resin 4 of acrylic resin is injected in injection molding
                                 to seal an exposed part of the LED 3 and a tip portion of the leads 2 and to have the lens surface
                                 41 on the top thereof. Thus, the light emitting device 1 is obtained.

                           See, e.g., Suehiro ‘897 at col. 19, lns. 4-7: “This glass sealed LED can be also overmolded with the transparent
                           resin as described in the earlier embodiment. In this case, the lead 2 for mounting the LED element 31 may be
                           drawn out as a lead from the transparent resin 4.”

                           A POSITA would have found the modification of Ray with Suehiro ‘897 obvious, requiring simple substitution
                           of known components, to produce predictable results.

                           Alternatively, Ray in view of Suehiro ’797 discloses this element.

                           Suehiro ‘797 similarly teaches a pair of metal plates protruding at both ends of the wavelength conversion
                           member.

                           See, e.g., Suehiro ‘797 at Fig. 11 (e.g., wiring pattern 91 on ceramic board 9).
                                                       17


                                             Exhibit C, p. 414
      Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 415 of 954 Page ID
                                        #:17593



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           Similarly, see Suehiro ‘797 at Fig. 9 (e.g., lead frame 5):




                                                       18


                                           Exhibit C, p. 415
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 416 of 954 Page ID
                                                               #:17594



                   Asserted Claims                                       Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                            See also, e.g., Suehiro ‘797 at [0070]:

                                                                 The wavelength conversion portion 2 is composed such that a thin-film phosphor layer 2A is laid
                                                                 between two layers of transparent low-melting glass with a refractive index of 1.5 and the two
                                                                 glass layers are thermally fused to be integrated with the phosphor layer 2A. Further, the
                                                                 wavelength conversion portion 2 is formed into a dome-like optical shape according to a desired
                                                                 light distribution characteristic by hot pressing, and it Seals the LED element 3 while being
                                                                 thermally fused and bonded onto the lead frame 5. The phosphor layer 2A is shaped like a convex
                                                                 polygon to cover the emission observation Surface of LED element 3 in accordance with the
                                                                 formation of wavelength conversion portion 2.

                                                            A POSITA would have found the modification of Ray with Suehiro ‘797 obvious, requiring simple substitution
                                                            of known components, to produce predictable results
1[h] wherein the wavelength conversion member is            Ray discloses this element. It was well known in the art that boards upon which LEDs were fixed could either be
provided on the first surface side and the second surface   designed or fabricated from various transparent materials to allow light to pass through. It was also well known
side, the wavelength conversion member is elongated in      that omni-directional light emitting devices, such as in Ray (see, e.g., at [2:30-32]), would include fluorescent,
the longitudinal direction when viewed in plan view of      transparent resin on the top and bottom surfaces of the light emitting device to achieve wavelength conversion in
the first surface side of the board,                        any direction. See, e.g, U.S. Patent Publication No. 2004/0239242. Thus, in order to achieve an omni-directional,
                                                            white light emitting device (see above at 1[c]), Ray would have included a fluorescent, transparent resin at both
                                                            the top and bottom surfaces of the board to achieve wavelength conversion in any direction of light emission.

                                                            Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                            Suehiro ‘897 teaches this element. See above at 1[c].

                                                            See, e.g., Suehiro ’897 at Fig. 13 (having the wavelength conversion member provided on the first surface side
                                                            and the second surface side and showing a sectional view of a rectangular-shaped resin, which is elongated in the
                                                            longitudinal direction, and thus, would also be elongated in the longitudinal direction when viewed in plan view
                                                            of the first surface side of the board):




                                                                                       19


                                                                              Exhibit C, p. 416
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 417 of 954 Page ID
                                          #:17595



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See, e.g., Suehiro ‘897 at col. 2, lns. 57-59: “Further, the resin for sealing the light-emitting portion can be
                           formed into arbitrary shape and therefore the freedom in shape or formation process can be enhanced.”

                           Alternatively, Ray in view of Suehiro ’797 discloses this element.

                           Suehiro ’797 teaches this element as it teaches various embodiments with a gap provided under the LED,
                           allowing light to emit downward. See also above at 1[c].

                           See, e.g., Suehiro ’797 at Fig. 11:




                                                       20


                                             Exhibit C, p. 417
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 418 of 954 Page ID
                                          #:17596



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See also, e.g., Suehiro ’797 at Figs. 3, 5B, 6A, 7-11, 14.

                           In the third embodiment, Suehiro teaches using a sheet of “whitish glass” to utilize light emitted downward from
                           the LED (e.g., through the board submount 4) by reflecting it back upward.

                           See, e.g., Suehiro ’797 at [0124]:

                                 In addition to the effects of the first embodiment, the third embodiment has an effect that, by
                                 providing the glass Sealing portion 6 of whitish glass to protect the bottom surface of lead frame
                                 5, light heading from the LED element 3 to the bottom side of light emitting device 1 can be
                                 reflected by the whitish glass and radiated in the direction of wavelength conversion portion 2.
                                 Thus, the light radiation efficiency can be enhanced.

                           See also, e.g., Suehiro ’797 at [0122]-[0123].

                           In other embodiments, the glass sealing portion (6) provided on the bottom of the board (4) is described as the
                           same as that used in the wavelength conversion portion.

                           See, e.g., Suehiro ’797 at [0074]: “The glass sealing portion 6 is of the same glass material as the low-melting
                           glass to compose the wavelength conversion portion 2. It protects the bottom Surface of lead frame 5 while

                                                      21


                                             Exhibit C, p. 418
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 419 of 954 Page ID
                                                              #:17597



                  Asserted Claims                                   Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                        being integrated with the wavelength conversion portion 2 by the hot pressing mentioned above.”

                                                        A POSITA would have understood this to allow light to emit from the bottom of the device, and as emphasizing
                                                        that the wavelength conversion present on the top face of the board also be implemented on the bottom of the
                                                        board.

                                                        See also, e.g., Suehiro ’797 at [0072].

                                                        Suehiro ’797 teaches that the wavelength conversion member is elongated in the longitudinal direction when
                                                        viewed in plan view of the first surface side of the board.

                                                        See, e.g., Suehiro ’797 at Fig. 9:




                                                        See also, e.g., Suehiro ’797 at Figs. 3-4, 5B, 6A, 6C, 7-16, 18-22, [0199].
1[i] wherein a first set of the light emitting element Ray teaches this element.
chips are mounted on the first region and arranged from
the center portion of the board to the one of the end Ray teaches a first set of light emitting element chips are mounted on the first region and arranged from the
portions,                                               center portion of the board to the one of the end portions.

                                                        See, e.g., Ray at Fig. 7 (as one example, see annotation in red):

                                                                                    22


                                                                          Exhibit C, p. 419
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                                          #:17598



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See also, e.g., Ray at [2:46-51], [3:11-14], Fig. 3.

                           See also above at 1[a].

                           Alternatively, Ray in view of Suehiro ’897 discloses this element.

                           Suehiro ‘897 explains configurations where a plurality of LEDs are mounted on a first surface of a board,
                           wherein such plurality may include any number of LEDs. See, e.g., Suehrio ‘897 at col. 19, lns. 44-46. In the
                           case of four LEDs, for example, a first set of two can be arranged from the center portion of the board to the one
                           of the end portions.

                           See, e.g., Suehiro ‘897 at Figs. 27A and 27B:




                                                       23


                                             Exhibit C, p. 420
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                                          #:17599



Asserted Claims                       Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See, e.g., Suehrio ‘897 at col. 19, lns. 44-46: “Although in this embodiment the three LED elements 31 are used,
                           another number of LED elements 31 may be used therein.”

                           Also, to increase light emission and equal diffusion as desired by Suehiro ‘897, a POSITA would have been
                           motivated to increase the number of LEDs on the board shown in Suehiro ‘897, and, particularly to preserve the
                           light diffusion from each side of the bulb shown in Ray, would have used a set of LEDs on each side of the
                           board. This would have included a first set of the light emitting element chips mounted on the first region and
                           arranged from the center portion of the board to the one of the end portions. Such a modification would require
                           routine engineering, and would predictably result in an increased and more even light distribution.

                           Alternatively, Ray in view of Suehiro ’797 discloses this element.

                           Suehiro ’797 also discloses configurations where multiple LEDs are mounted on a first surface of a board. See,
                           e.g., Suehiro at Fig. 20:


                                                     24


                                            Exhibit C, p. 421
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 422 of 954 Page ID
                                                               #:17600



                   Asserted Claims                                    Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                         See also, e.g., Suehiro ’797 at Figs. 15A, 15B, 19A, 19B, 21, 22, [0199]. To increase light emission and equal
                                                         diffusion as desired by Suehiro ‘797, a POSITA would have been motivated to increase the number of LEDs on
                                                         the board shown in Suehiro ‘797, and, particularly to preserve the light diffusion from each side of the bulb
                                                         shown in Ray, would have used a set of LEDs on each side of the board. This would have included a first set of
                                                         the light emitting element chips mounted on the first region and arranged from the center portion of the board to
                                                         the one of the end portions. Such a modification would require routine engineering, and would predictably result
                                                         in an increased and more even light distribution.
1[j] wherein a second set of the light emitting element Ray teaches this element. See above discussion at 1[i]. The arrangement discussed at 1[i] would have also
chips are mounted on the second region and arranged included a second set of the light emitting element chips mounted on the second region and arranged from the
from the center portion of the board to the other one of center portion of the board to the other one of the end portions.
the end portions, and
                                                         See also above at 1[a].
1[k] wherein the pair of metal plates are electrically Ray discloses this element. See above at 1[g]. Ray teaches supplying power to its LED assembly from the
connected with the support base via the support leads.   support base 14 (e.g. through terminals 16, 18) through the support leads (e.g., conductors 22, 24). The pair of
                                                         metal plates would be electrically connected with the support base 14, 16, 18 via the support leads 22, 24 to
                                                         establish a continuous electrical connection to power the LEDs 10.

                                                          See, e.g., Ray at [2:51-57]:

                                                                The conductors or leads 22 and 24 of the integrated circuit chip 10 are schematically illustrated as
                                                                being connected to the lamp base terminals 16 and 18, respectively. Of course, when the lamp
                                                                                         25


                                                                            Exhibit C, p. 422
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 423 of 954 Page ID
                                                            #:17601



                 Asserted Claims                                 Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                           base is inserted into a standard lamp socket, A.C. power may be applied across the lamp terminals
                                                           16 and 18 to energize the LED array 30.

                                                     See also, e.g., Ray at [2:20-29], [2:51-57].

                                                           Referring to FIGS. 1 and 2, the invention in its basic form includes a light source, such as an LED
                                                           10, and a cover 20. The LED 10 may be of any type depending upon the application. For
                                                           applications requiring the most visibility, a high intensity LED may be selected For applications
                                                           requiring a low power consumption, an LED of low power can be Selected. As is obvious to one
                                                           skilled in the art, the LED 10 is electrically connected to a power source 40 by the conductors 30.
                                                           In the preferred embodiment, the conductors 30 are length of wire, but could easily be any other
                                                           suitable electrically conductive material.

                                                     Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                     As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                     device taught in Suehiro ‘897 with the LED bulb taught in Ray.

                                                     And, as further discussed above at 1[c] and 1[g], Suehiro ‘897 teaches the use of its metal plates for electrical
                                                     connection, while Ray teaches electrical connection from the support base (e.g. through terminals 16, 18)
                                                     through the support leads (e.g., conductors 22, 24). A POSITA thus would have found it obvious to combine
                                                     Suehiro ‘897 with Ray such that the pair of metal plates are electrically connected with the support base via the
                                                     support leads.

                                                     Alternatively, Ray in view of Suehiro ’797 discloses this element.

                                                     As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                     device taught in Suehiro ‘797 with the LED bulb taught in Ray.

                                                     And, as further discussed above at 1[c] and 1[g], Suehiro ‘797 teaches the use of its metal plates for electrical
                                                     connection, while Ray teaches electrical connection from the support base (e.g. through terminals 16, 18)
                                                     through the support leads (e.g., conductors 22, 24). A POSITA thus would have found it obvious to combine
                                                     Suehiro ‘797 with Ray such that the pair of metal plates are electrically connected with the support base via the
                                                     support leads.
Claim 3
3. The light emitting device according to claim 1, Ray teaches this element.
wherein the transparent bulb is made of glass.

                                                                                 26


                                                                       Exhibit C, p. 423
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 424 of 954 Page ID
                                                             #:17602



                  Asserted Claims                                  Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                       See, e.g., Ray at [1:60-64]: “FIG. 1 illustrates one embodiment of the invention wherein an integrated circuit
                                                       chip 10 is mounted within a light-diffusing encasement in the form of a transparent hollow lamp bulb or
                                                       envelope 12 which is sealed to a conventional incandescent lamp screw-type base 14.” It was well known in the
                                                       art to use glass as the material for an incandescent bulb, to save cost, for ease of manufacturing, and/or to
                                                       achieve desired aesthetic or optical properties.
Claim 4
4. The light emitting device according to claim 1, Ray discloses this element. See above at 1[g] and 1[k].
wherein each of the metal plates crosses the support
lead.                                                See also, e.g., Ray at [2:20-29], [2:51-57].

                                                       Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                       As discussed above at claims l[g] and 1[k], Ray, as modified by Suehiro ‘897, has a pair of metal plates
                                                       extending from the wavelength conversion member, and engaging with support leads as shown in Ray
                                                       (conductors 22, 24). As discussed above at l[k], the connection between these elements supplies electrical
                                                       connection and power to the LEDs. A POSITA would have found it obvious to achieve electrical connection
                                                       between these components by having, for example, the metal plates cross the support leads (conductors 22, 24).

                                                       Alternatively, Ray in view of Suehiro ’797 discloses this element.

                                                       As discussed above at claims l[g] and 1[k], Ray, as modified by Suehiro ‘797, has a pair of metal plates
                                                       extending from the wavelength conversion member, and engaging with support leads as shown in Ray
                                                       (conductors 22, 24). As discussed above at l[k], the connection between these elements supplies electrical
                                                       connection and power to the LEDs. A POSITA would have found it obvious to achieve electrical connection
                                                       between these components by having, for example, the metal plates cross the support leads (conductors 22, 24).
Claim 6
6. The light emitting device according to claim 1, Ray discloses this element. See above at 1[c]. Phosphors were well known and commonly used in the art in
wherein the wavelength conversion member comprises a transparent resin of light emitting devices to convert wavelength. See, e.g., Suehiro ‘897 and Suehiro ‘797.
phosphor therein.
                                                     Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                       Suehiro ‘897 teaches this element. See above at 1[c].

                                                       See, e.g., Suehiro ‘897 at Fig. 13 (e.g. phosphor 8 within transparent resin 40):




                                                                                  27


                                                                         Exhibit C, p. 424
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                                          #:17603



Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                           See, e.g., Suehiro ‘897 at col. 12, lns. 50-52: “The light emitting device of the thirteenth embodiment is different
                           from that of the sixth embodiment in that a transparent resin 40 contains a phosphor.”

                           Alternatively, Ray in view of Suehiro ’797 discloses this element.

                           See, e.g., Suehiro ‘797 at Fig. 11 (e.g. element 2A, within element 2):




                                                      28


                                             Exhibit C, p. 425
                         Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 426 of 954 Page ID
                                                           #:17604



                 Asserted Claims                               Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797




                                                   See, e.g., Suehiro ‘797 at [0003]: “The invention relates to a light emitting device where light emitted from a
                                                   light emitting diode (hereinafter referred to as LED) is absorbed and wavelength-converted by phosphor and
                                                   then the wavelength-converted light with a different wavelength is radiated therefrom.”

                                                   See also, e.g., Suehiro ‘797 at Figs. 3-4, 5B-11, 12B-22; [0029]-[0031], [0033], [0034], [0037]-[0042], [0044],
                                                   [0069]-[0070], [0081]-[0089], [0098]-[0099], [0106], [0109]-[0113], [0126]-[0127], [0129]-[0131], [0134],
                                                   [0147]-[0148], [0152], [0154]-[0155], [0159], [0173], [0176], [0179]-[0183], [0187], [0190]-[0195].
Claim 7
7. The light emitting device according to claim 6, Ray discloses this element. See above at 1[c] and claim 6. A YAG group phosphor was well known and
wherein the phosphor comprises a YAG group commonly used in the art to convert wavelength. See, e.g., Suehiro ‘897 and Suehiro ’797.
phosphor.
                                                   Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                   See, e.g., Suehiro ‘897 at col. 12, lns. 53-58:

                                                         The phosphor 8 may be YAG (yttrium aluminum garnet), silicate phosphor, or a mixture thereof.
                                                         The phosphor 8 is composed of one kind or plural kinds of phosphors. For example, a
                                                         combination of plural kinds of phosphors is a phosphor to radiate red light, a phosphor to radiate
                                                         green light
                                                         and a phosphor to radiate blue light.


                                                                               29


                                                                     Exhibit C, p. 426
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                                                              #:17605



                  Asserted Claims                                  Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
                                                        Alternatively, Ray in view of Suehiro ’797 discloses this element.

                                                        See, e.g., Suehiro ‘797 at [0111]:

                                                              Since the wavelength conversion portion 2 is fo1med by light emitting device in the third
                                                              preferred embodiment of the sandwiching the thin-film phosphor layer 2A fo1med on the glass
                                                              sheet 201 with the glass sheet 202 and by the1mally fusing them, the shape and thickness of
                                                              phosphor layer 2A can be easily and accurately controlled. Also, the amount of phosphor used
                                                              can be accurately controlled. In case of using an expensive phosphor such as YAG
                                                              (yttriumaluminum-gamet), the cost of light emitting device 1 can be reduced since the wasting of
                                                              phosphor can be prevented.

                                                        See also, e.g., Suehiro ‘797 at [0159], [0180].


                  Asserted Claims                         Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797 and One of Hohn,
                                                                                                 Takashima, and Debray
Claim 11
11. The light emitting device according to claim 6, Ray discloses this element. See above at 1[c] and claim 6. It was well known in the art that a phosphor having a
wherein an average particle size of the phosphor is 3 μm particle size of 3 μm or more would be advantageous.
or more.
                                                         Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                        As discussed above (see supra at claim 6), Suehiro ‘897 teaches the use of a phosphor, and it was well known in
                                                        the art that a particle size of 3 μm or more would be advantageous.

                                                        Alternatively, Ray in view of Suehiro ’797 discloses this element.

                                                        As discussed above (see supra at claim 6), Suehiro ‘797 teaches the use of a phosphor, and it was well known in
                                                        the art that a particle size of 3 μm or more would be advantageous.

                                                        Alternatively, Ray in view of Suehiro’897 or Suehiro ‘797 and one of Hohn, Takashima, and Debray
                                                        discloses this element.

                                                        See, e.g., Hohn at col. 2, lns. 20-21: “…the luminous substance pigments having grain sizes ≤ 20 μm ...”

                                                        See, e.g., Takashima at [17:7-10]: “Particle size of the fluorescent material 11 is preferably in a range from 1 μm

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                                                                          Exhibit C, p. 427
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                                                            to 20 μm, more preferably in a range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.”
                                                            See, e.g., Debray at Claim 7: “Light source arrangement according to Claim 6, characterized in that the
                                                            luminescent material pigments have grain sizes of ≤ 20 µm …”


                    Asserted Claims                                  Prior Art Reference, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
Claim 12
12. The light emitting device according to claim 1, Ray teaches that a plurality of light emitting element chips is electrically connected in series.
wherein the plurality of light emitting element chips is
electrically connected in series.                        See, e.g, Ray at [2:47-51]: “In accordance with this invention, the so-called LED array may consist of one light-
                                                         emitting diode (LED) or a plurality of series-connected LEDs, depending upon the light intensity required.”

                                                            See, e.g., Ray at Fig. 5 (showing LEDs connected in series):




                                                            See also above discussion at 1[b].
Claim 13
13. The light emitting device according to claim 1,         Ray discloses this element. Use of a variety of LEDs, including blue LEDs, in light emitting devices was well
wherein the plurality of light emitting element chips is    known and commonly used in the art. Further, the main peak light emission wavelength of blue light, which
so configured that a main peak light emission               includes a range between 420 nm and 490 nm, was well known in the art.
wavelength of the light emitting element is varied within
a range between 420 nm and 490 nm.                          Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                            Suehiro ‘897 teaches the use of blue LEDs and discloses a wavelength within this range. It was well known in
                                                            the art that the main peak light emission wavelength of blue light includes a range between 420 nm and 490 nm.

                                                            See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                                                            emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                                                            39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                                                                                       31


                                                                              Exhibit C, p. 428
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                                                       yellow light are mixed to develop white light.”

                                                       See, e.g., Suehiro ‘897 at col. 19, lns. 32-33: “The LED 3 comprises a flip-chip type GaN-based LED element 31
                                                       to radiate blue light…”

                                                       See, e.g., Suehiro ‘897 at col. 25, lns. 6-7: “The phosphor layer 39 may be omitted to allow a blue light source.”

                                                       See also above at 1[c].

                                                       Alternatively, Ray in view of Suehiro ’797 discloses this element.

                                                       Suehiro ‘797 also teaches the use of blue LEDs, and it was well known in the art that the main peak light
                                                       emission wavelength of blue light includes a range between 420 nm and 490 nm.

                                                       See, e.g., Suehiro ‘797 at [0158]: “The LED element 111 is GaN based blue LED element. It may be a GaN
                                                       based ultraviolet LED element or another LED element other than GaN based LED elements.”
                                                       See also, e.g., Suehiro ‘797 at [0159].

                                                       See also, discussion above at 1[c].


                  Asserted Claims                        Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797 and One of Hohn,
                                                                                                Takashima, and Debray
Claim 14
14. The light emitting device according to claim 1, Ray discloses this element as this configuration of nitride semiconductor for light emitting element chips was
wherein each of the light emitting element chips well known and commonly used in the art. See, e.g., Hohn, Takashima, and Debray.
comprises nitride semiconductor made of InxAlyGa1-x-yN
(0≦x, 0≦y, x+y≦1).                                     Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                       Suehiro ‘897 teaches the use of GaN-based LEDs. See, e.g., Suehiro at col. 4, lns. 64-66: “The LED 3, as shown
                                                       in FIG. 1B, comprises the LED element 31, as a solid-state element, which is of flip-chip type and made of a
                                                       GaN-based semiconductor material….” A POSITA would have understood that the specific claimed GaN-based
                                                       LED would have been obvious to select, as selecting one from a finite number of options.

                                                       Alternatively, Ray in view of Suehiro ’797 discloses this element.

                                                       Suehiro ‘797 teaches the use of GaN-based LEDs. See, e.g., Suehiro at [0158]: “The LED element 111 is GaN
                                                       based blue LED element. It may be a GaN based ultraviolet LED element or another LED element other than

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                                                                         Exhibit C, p. 429
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                                                               #:17608



                                                          GaN based LED elements.” See also, e.g., Suehiro at [0117], [0187]. A POSITA would have understood that the
                                                          specific claimed GaN-based LED would have been obvious to select, as selecting one from a finite number of
                                                          options.

                                                          Alternatively, Ray in view of one of Suehiro ’897 and Suehiro ‘797 and one of Hohn, Takashima, and
                                                          Debray discloses this element.

                                                          See, e.g., Hohn at col. 4, lns. 42-45: “Preferably, the casting composition according to the invention is used in a
                                                          radiation-emitting semiconductor body, in particular with an active semiconductor layer or semiconductor layer
                                                          sequence of GaxIn1-xN or Gax Al1-xN …”.

                                                          See, e.g., Takashima at [18:27-31]: “The semiconductor light emitting element capable of emitting light of
                                                          wavelength not longer than 500 nm in ultraviolet to visible region can be made of various semiconductors such
                                                          as BN, SiC, ZnSe, GaN, InCaN, InAlGaN, AlGaN, BalGaN and BinAlGaN.”

                                                          See, e.g., Debray at lns. 115-117: “In connection with the present invention, a luminescence diode chip based on
                                                          GaN or InGaN is to be understood in principle as a luminescence diode chip whose radiation-emitting zone has
                                                          GaN, InGaN and / or related nitrides and mixed crystals based thereon, such as Ga (Al, In) N.”


                    Asserted Claims                               Prior Art References, Ray Alone or in View of One of Suehiro ’897 and Suehiro ’797
Claim 15
15. The light emitting device according to claim 1, Ray discloses this element. Rather than individually encapsulate each light emitting element in a fluorescent,
wherein     the    wavelength      conversion member transparent resin, it was well known in the art to encapsulate a plurality of light emitting elements in a single
substantially surrounds the board.                   fluorescent, transparent resin to reduce material costs, simplify manufacturing, reduce manufacturing costs, and
                                                     improve the optical properties of a device. See., e.g., Suehiro ’897 and Suehiro ’797. Also, as explained above at
                                                     1[h], it was well known in the art to include a fluorescent, transparent resin on both the first and second surfaces
                                                     of a board in an omni-directional lighting device (see, e.g., Ray at [2:30-32]).

                                                          Alternatively, Ray in view of Suehiro ‘897 discloses this element.

                                                          As discussed above at l[c], and l[h], a POSITA would have found it obvious and been motivated to combine Ray
                                                          and Suehiro ’897 to incorporate the wavelength conversion member of Suehiro ‘897 with the LED bulb of Ray,
                                                          and for the wavelength conversion member to be on both sides of the board. Thus, the wavelength conversion
                                                          member substantially surrounds the board.

                                                          See, e.g., Suehiro ‘897 at Fig. 13:


                                                                                      33


                                                                            Exhibit C, p. 430
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                                  #:17609




                   Alternatively, Ray in view of Suehiro ’797 discloses this element.

                   As discussed above at l[c], l[h], a POSITA would have found it obvious and been motivated to combine Ray and
                   Suehiro ‘797 to incorporate the wavelength conversion member of Suehiro ‘797 with the LED bulb of Ray, and
                   for the wavelength conversion member to be on both sides of the board. Thus, the wavelength conversion
                   member substantially surrounds the board.

                   See, e.g., Suehiro ‘797 at Fig. 9:




                                               34


                                     Exhibit C, p. 431
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                                                               #:17610




                                                            See also, e.g., Suehiro ‘797 at Figs. 3, 6A, 7-8, 10-11.
Claim 17
17. The light emitting device according to claim 1,         Ray discloses this element. See above at 1[c] and 1[h].
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting        Alternatively, Ray in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
element chips on the first surface side of the board
forwards outside of the light emitting device through the   Alternatively, Ray in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,         Ray discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light     Alternatively, Ray in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
emitting element chips into light with a different
wavelength such that the converted light with the           Alternatively, Ray in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
different wavelength is radiated along a first direction
from the first surface side of the board to an outer        As discussed above at 1[c], the wavelength conversion member of Suehiro ‘897 and Suehiro ‘797 is capable of
periphery of the wavelength conversion member, and          converting light emitted from the LEDs into light with a different wavelength. As such, the converted light with
along a second direction from the second surface of the     the different wavelength is radiated along a first direction from the first surface side of the board to an outer
board to the outer periphery of the wavelength              periphery of the wavelength conversion member, and along a second direction from the second surface of the
conversion member.                                          board to the outer periphery of the wavelength conversion member.

                                                                                       35


                                                                              Exhibit C, p. 432
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Claim 19
19. The light emitting device according to claim 1, Ray teaches this element.
wherein all light emitting element chips mounted on the
first surface side of the board are aligned along a line. See, e.g., Ray at Fig. 7 (all of the LEDs 40 are aligned along, for example, the line representing the
                                                          circuit):




                                                            Alternatively, Ray in view of Suehiro ’897 discloses this element.

                                                            Suehiro ‘897 similarly teaches embodiments where all light emitting element chips mounted on the first surface
                                                            side of the board are aligned along the same line.

                                                            See, e.g., Suehiro at Figs. 27As and 27B:




                                                                                       36


                                                                              Exhibit C, p. 433
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                                  #:17612




                   As discussed above at l[c], l[g], and l[k], a POSITA would have found it obvious to combine the light emitting
                   device of Suehiro ‘897 with Ray, and would have been motivated to do so to reduce cost, for ease of
                   manufacturing, to obtain desired optical and/or aesthetic properties.

                   Alternatively, Ray in view of Suehiro ’797 discloses this element.

                   Suehiro ‘797 also teaches embodiments where all light emitting element chips mounted on the first surface side
                   of the board are aligned along the same line.

                   See, e.g., Suehiro ‘797 at Fig. 20:




                                               37


                                     Exhibit C, p. 434
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                                                              #:17613




                                                         See also, e.g., Suehiro ‘797 at Figs. 15, 18-19, 21-22, [0035]-[0039], [0060], [0063]-[0067], [0153]-[0161],
                                                         [0180],
                                                         [0182], [0185]-[0199].

                                                         As discussed above at l[c], l[e], l[g]-l[k], a POSITA would have found it obvious to combine the light emitting
                                                         device of Suehiro ‘797 with Ray, and would have been motivated to do so to reduce cost, for ease of
                                                         manufacturing, to obtain desired optical and/or aesthetic properties
Claim 20
20. The light emitting device according to claim 1, Ray discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface Alternatively, Ray in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
side of the board.
                                                          Alternatively, Ray in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
Claim 21
21. The light emitting device according to claim 19, Ray discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface Alternatively, Ray in view of Suehiro ‘897 discloses this element. See above at 1[c] and 1[h].
side of the board.
                                                          Alternatively, Ray in view of Suehiro ‘797 discloses this element. See above at 1[c] and 1[h].
Claim 22
22. The light emitting device according to claim 1, Ray discloses this element. See above at 1[i], l[j], and claim 19.
wherein the first set of light emitting element chips and
the second set of light emitting element chips are Alternatively, Ray in view of Suehiro ‘897 discloses this element. See above at 1[i], l[j], and claim 19.

                                                                                   38


                                                                          Exhibit C, p. 435
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 436 of 954 Page ID
                                                               #:17614



aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion Alternatively, Ray in view of Suehiro ‘797 discloses this element. See above at 1[i], l[j], and claim 19.
member.
Claim 24
24. The light emitting device according to claim 1, Ray discloses this element.
wherein one of the support leads is positioned between
one of the metal plates and the support base.             See above at l[k] and claim 4 (conductors 30 engaging with metal plates 2).

                                                           As shown in Ray, these support leads (e.g. conductors 22, 24) are between where the metal plates (e.g., the LED
                                                           assembly) would be, and the support base.

                                                           See, e.g., Ray at Fig. 1:




                                                           Alternatively, Ray in view of Suehiro ‘897 discloses this element. See above at 1[e] and 1[g].

                                                           Alternatively, Ray in view of Suehiro ‘797 discloses this element. See above at 1[e] and 1[g].
Claim 25
25. The light emitting device according to claim 1, See above at claim 19.
wherein all of the light emitting element chips mounted
on the first surface side of the board are aligned along a
single line when viewed in plan view of the first surface
side of the board.
Claim 27
                                                                                       39


                                                                             Exhibit C, p. 436
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 437 of 954 Page ID
                                                             #:17615



27. A light emitting device comprising:                 See above at 1[pre].
[27a] through [27j]                                     See above at 1[a] through 1[j].

[27k] wherein one of the support leads is positioned    See above at claim 24.
between one of the metal plates and the support base.




                                                                                   40


                                                                       Exhibit C, p. 437
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                                                                #:17616



                                                                                     Exhibit F

                                                                  Okamoto Alone or in View of Shimizu

      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ‘734 Patent are invalid as anticipated under 35 U.S.C. § 102 by Japanese Publication No. 2000-277808 to
Okamoto (“Okamoto”). Specifically, Okamoto directly or inherently, based on the presumed knowledge of a POSITA, discloses each and every limitation of these claims.

        In the alternate, claims 1, 3, 4, 6, 7, 11, 13, 14, 18, 24 and 27 of the ‘734 Patent are invalid as obvious under 35 U.S.C. § 103 by Okamoto in view of U.S. Patent No.
5,998,925 to Shimizu (“Shimizu”).

        Okamoto view of Shimizu renders the Asserted Claims of the ‘734 Patent obvious under 35 U.S.C. § 103. These references alone or in combination disclose each and
every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and features relating to the same,
and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above prior art to arrive at “[a] light
emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures in a manner that renders the
Asserted Claims obvious.

                    Asserted Claims                                                 Prior Art References, Okamoto Alone or in View of Shimizu
Claim 1
1[pre]. A light emitting device comprising:                To the extent the preamble is limiting, Okamoto discloses a light emitting device.

                                                           See, e.g., Okamoto at [0009]: “An object of the present invention is to provide a light source device with a
                                                           simple configuration and which is visible from all directions.”

                                                             See also, e.g., Okamoto at [0010]-[0011], [0013], [0019]-[0020], [0023], [0024]-[0025], [0027], [0032], [0036]-
                                                             [0037], [0039]-[0043], Figs. 1-2.
1[a] a board having end portions and a center portion Okamoto discloses this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a See, e.g., Okamoto at [0011]:
second surface on a second surface side thereof, the
second surface being an opposite side to the first                 In the light source device set forth in the present invention, the light-emitting element chip for
surface, the first surface including a first region and a          emitting light in all directions is integrally molded on the light-transmissive support member by
second region, the first region extending from the center          the light-transmissive molded body, and thus, a light source device having a simple configuration
portion of the board to one of the end portions, the               and omnidirectional emission characteristics capable of transmitting light across all directions is
second region extending from the center portion of the             obtained.
board to the other of the end portions;
                                                             Okamoto teaches a board having end portions and a center portion therebetween in a longitudinal direction.




                                                                              Exhibit C, p. 438
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 439 of 954 Page ID
                                                               #:17617



                   Asserted Claims                                                 Prior Art References, Okamoto Alone or in View of Shimizu
                                                          See, e.g., Okamoto at [Fig. 3]:




                                                          See also, e.g., Okamoto at [Fig. 1], [0014]-[0017].

                                                          This board has a first surface side (e.g., the side with 5a) and second surface side (e.g., the side with 5b), where
                                                          the second surface is an opposite side to the first surface. The first surface includes a first region and a second
                                                          region, the first region extending from the center portion of the board to one of the end portions, the second
                                                          region extending from the center portion of the board to the other of the end portions.

                                                         See also, e.g., Okamoto at [0010], [0019]-[0020], [0023]-[0024], [0030], [0036], Figs. 1-2, 6.
1[b] a plurality of light emitting element chips mounted Okamoto discloses a plurality of light emitting element chips mounted on the first surface side of the board.
on the first surface side of the board;
                                                         See, e.g., Okamoto at Fig. 3 (e.g., LEDs 3, 4, 5a):




                                                                                      2


                                                                            Exhibit C, p. 439
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 440 of 954 Page ID
                                                             #:17618



                  Asserted Claims                                             Prior Art References, Okamoto Alone or in View of Shimizu




                                                      See also, e.g., Okamoto at [0019]:

                                                            A light source device set forth in a second invention has a plurality of light-emitting element
                                                            chips disposed on a light-transmissive support member, the plurality of light-emitting element
                                                            chips and the light-transmissive support member being integrally molded with a light-
                                                            transmissive material to form a light-transmissive molded body.

                                                      See also, e.g., Okamoto at [0027]:

                                                            In a light source device 1 in FIG. 1 and FIG. 2, a GaN blue LED element 3, a GaN green LED
                                                            element 4, and GaAs red LED element 5a are disposed in a row on a front face of a light-
                                                            transmissive glass substrate 2. The GaN LED elements 3 and 4 are provided only on the front
                                                            face of the glass substrate 2, but the GaAs red LED elements 5a and 5b are provided on the front
                                                            and back of the glass substrate 2.

                                                      See also, e.g., Okamoto at [0004], [0006]-[0007], [0020]-[0021], Figs. 1-2.
1[c] a wavelength conversion member formed unitarily Okamoto discloses a wavelength conversion member formed unitarily with a transparent member that seals the
with a transparent member that seals the plurality of plurality of light emitting element chips.
light emitting element chips;
                                                                                 3


                                                                       Exhibit C, p. 440
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 441 of 954 Page ID
                                          #:17619



Asserted Claims                                   Prior Art References, Okamoto Alone or in View of Shimizu
                           Okamoto teaches a transparent member that seals the plurality of light emitting element chips.

                           See, e.g., Okamoto at [Fig 6]:




                           See also, e.g., Okamoto at [0030]:

                                 A light-transmissive resin 11 is disposed on a portion of the front face and a portion of the back
                                 face of the glass substrate 2 to cover the entirety of the LED elements 3, 4, 5a, and 5b and the
                                 gold wire 7. A dispersant is mixed into the light-transmissive resin 11 to mitigate directivity of
                                 light emitted from the LED elements 3, 4, 5a, and 5b. Type of the dispersant include inorganic
                                 barium titrate, titanium oxide, aluminum oxide, silicon oxide, and the like, and organic
                                 guanaminic acid resin and the like. The glass substrate 2 and the LED elements 3, 4, 5a, and 5b
                                 covered with the light-transmissive resin 11 are integrally molded with a light-transmissive resin
                                 10 to form a light-transmissive molded body.

                           See also, e.g., Okamoto at [0029], [0031]-[0032], [0034], [0036]-[0037], [0039], Figs. 1-3.

                           Okamoto discloses a wavelength conversion member formed unitarily with a transparent member that seals the
                           plurality of light emitting element chips. Okamoto explains that the invention includes LED elements 3, 4, 5a,
                           and 5b. It was well known in the art that LEDs were packaged in a fluorescent transparent resin, wherein the
                           fluorescent material converted wavelength. See, e.g., Suehiro ‘897 and Suehiro ’797.



                                                       4


                                             Exhibit C, p. 441
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 442 of 954 Page ID
                                          #:17620



Asserted Claims                                  Prior Art References, Okamoto Alone or in View of Shimizu
                           Alternatively, Okamoto in view of Shimizu discloses this element.

                           A POSITA would have found it obvious to combine the wavelength conversion member of Shimizu with the
                           invention of Okamoto.

                           Okamoto seeks to “provide a light source device with a simple configuration and which is visible from all
                           directions.” Okamoto at [0009]. This can take the form of a “signal light.” See, e.g., Okamoto at [0041]
                           describing same:
                                 FIG. 8 and FIG. 9 are perspective views of signal lights having the light source 1 of FIG. 1
                                 incorporated therein. The signal lights of FIG. 8 and FIG. 9 are both covered in lighttransmissive
                                 covers 20 and 22 with diamond cuts across all directions. Light emission of this light source 1 is
                                 controlled with power source and electric control circuits 21 and 23. A signal light thus
                                 configured can simultaneously call attention not only to persons positioned in a specific direction
                                 with respect to the light source device 1, but persons in all directions. The signal lights illustrated
                                 in FIG. 8 and FIG. 9 can be used in, for example: advertising lights; signals for notifying of
                                 process abnormalities in factories and the like; signal lights for urging caution such as at
                                 entrances and exits of parking lots, construction sites, and the like; or the like.

                           Okamoto teaches that light of a single color may be desired. See, e.g., Okamoto at [0042]:

                                 Note, in the description of the present embodiment, a type capable of multicolor display, having
                                 red, blue, and green, which are the three primary colors of light, installed on the same glass
                                 substrate 2, but for a single color, the configuration of the light source device is simplified, even,
                                 for example, for only blue.

                           To fulfill this signal light application, it would also have been desirable for certain applications to instead emit
                           white light rather than blue. A POSITA thus motivated would have looked to references such as Shimizu,
                           teaching how to convert the wavelength of blue LEDs to emit white light.

                           See e.g., Shimizu at [8:31-50]:

                                 A light emitting diode 100 of FIG. 1 is a lead type light emitting diode having a mount lead 105
                                 and an inner lead 106, wherein a light emitting component 102 is installed on a cup 105a of the
                                 mount lead 105, and the cup 105a is filled with a coating resin 101 which contains a specified
                                 phosphor to cover the light emitting component 102 and is molded in resin. An n electrode and a
                                 p electrode of the light emitting component 102 are connected to the mount lead 105 and the
                                 inner lead 106, respectively, by means of wires 103. In the light emitting diode constituted as

                                                       5


                                             Exhibit C, p. 442
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 443 of 954 Page ID
                                                              #:17621



                   Asserted Claims                                                 Prior Art References, Okamoto Alone or in View of Shimizu
                                                               described above, part of light emitted by the light emitting component (LED chip) 102
                                                               (hereinafter referred to as LED light) excites the phosphor contained in the coating resin 101 to
                                                               generate fluorescent light having a wavelength different from that of LED light, so that the
                                                               fluorescent light emitted by the phosphor and LED light which is output without contributing to
                                                               the excitation of the phosphor are mixed and output. As a result, the light emitting diode 100 also
                                                               outputs light having a wavelength different from that of LED light emitted by the light emitting
                                                               component 102.

                                                         See also, e.g., Shimizu at [3:23-33], [3:39-67], [4:1-29], [4:63-67], [4:50-67], [5:1-10], [5:40-55], [6:6-45],
                                                         [8:51-67], [9:30-38], [9:47-67], [10:1-13], [10: 17-67], [11:3-27], [12:44-63], [13:5-50], [14:41-62], [16:54-67],
                                                         [17:2-57], [18:3-15], [18:17-65], [19:14-29], [20:24-30], [24:19-55], [25:5-25], [25-29-35], [26:22-36], [26:39-
                                                         50], [26:53-63], [27:60-65], [29:3-39], [30:31-45], [31:8-15], Fig. 6, Figs. 16-22.

                                                         Therefore, a POSITA would have combined the teachings from Shimizu, and incorporated the wavelength
                                                         conversion member into the transparent resin that surrounds the plurality of LEDs mounted on the transparent
                                                         board in Okamoto to convert the wavelength to achieve emission of white light. A POSITA would have found it
                                                         obvious to combine the teachings of Okamoto with Shimizu as it would require simple substitution and routine
                                                         engineering and predictably result in a LED lightbulb that produces wavelength converted light.

                                                        See, e.g., Shimizu at 8:51-54, stating LED 202 is installed in a recess of casing 204, which “is filled with a
                                                        coating material which contains a specified phosphor to form a coating 201.”
1[d] a transparent bulb that encloses the board and the Okamoto discloses a transparent bulb that encloses the board and the plurality of light emitting element chips.
plurality of light emitting element chips;
                                                        See, e.g., Okamoto at Fig. 8 (“light transmissive cover” 20):




                                                                                    6


                                                                           Exhibit C, p. 443
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 444 of 954 Page ID
                                                              #:17622



                   Asserted Claims                                                 Prior Art References, Okamoto Alone or in View of Shimizu




                                                      See, e.g., Okamoto at [0041] describing same: “FIG. 8 and FIG. 9 are perspective views of signal lights having
                                                      the light source 1 of FIG. 1 incorporated therein. The signal lights of FIG. 8 and FIG. 9 are both covered in light-
                                                      transmissive covers 20 and 22[.]”
1[e] support leads that secure the plurality of light Okamoto discloses support leads that secure the plurality of light emitting elements.
emitting element chips inside the transparent bulb;
                                                      See, e.g., Okamoto at Fig. 1 (e.g., lead frame 8):




                                                                                     7


                                                                           Exhibit C, p. 444
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 445 of 954 Page ID
                                                               #:17623



                   Asserted Claims                                                 Prior Art References, Okamoto Alone or in View of Shimizu




                                                           See also, e.g., Okamoto at [0034]:

                                                                Then, as illustrate in FIG. 5 and FIG. 6, the light-transmissive resin 11 containing the dispersant
                                                                is dripped onto the entire region in which the LED elements 3, 4, 5a, and 5b and the gold wire 7
                                                                are disposed, and cured. Thereafter, the lead frame 8 for hybrid IC is attached with the solder
                                                                material 9 to the drawn-out wiring pattern 6 formed on the glass substrate 2. At which time, the
                                                                LED elements 3, 4, 5a, and 5b and the gold wire 7 are protected by the light-transmissive resin
                                                                11. The LED elements 3, 4, 5a, and 5b are integrally molded with the light-transmissive substrate
                                                                10, for example, using a casting molding method, on top of the light-transmissive resin 11
                                                                together with the glass substrate 2 having the lead frame 8 attached thereto.

                                                           See also, e.g., Okamoto at [0029].
1[f] a support base that can be threadedly engaged with Okamoto discloses a support base that can be threadedly engaged with a conventional light bulb socket along a
a conventional light bulb socket along a socket axis; and socket axis. As discussed in 1[c], Okamoto teaches a bulb which can be used in a variety of purposes and
                                                           locations. One such configuration would be to make it readily connectible to power inputs in these varied
                                                           environments, which would entail use of the base of a conventional light bulb (e.g., a support base that can be
                                                           threadedly engaged with a conventional light bulb socket along a socket axis).
1[g] a pair of metal plates protruding at both ends of the Okamoto teaches a pair of metal plates protruding at both ends of the wavelength conversion member.
wavelength conversion member,
                                                           See, e.g., Okamoto at Fig. 1 (showing metal wiring pattern 6 as well as lead frames 8 protruding from translucent
                                                                                      8


                                                                            Exhibit C, p. 445
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                                          #:17624



Asserted Claims                                     Prior Art References, Okamoto Alone or in View of Shimizu
                           resin 11):




                           See also, e.g., Okamoto at [0014]-[0015], [0028]-[0029], [0032]-[0034], [0040].

                           Alternatively, Okamoto in view of Shimizu discloses this element.

                           Shimizu teaches a chip-type LED package, where the LED is positioned on a plate which has a pair of metal
                           plates (e.g., metal terminals 205) on either side.

                           See, e.g., Shimizu at Fig. 2 (at element 205):




                                                       9


                                             Exhibit C, p. 446
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 447 of 954 Page ID
                                                               #:17625



                   Asserted Claims                                                  Prior Art References, Okamoto Alone or in View of Shimizu




                                                           See also, e.g., Shimizu at [8:51-67]:

                                                                 FIG. 2 shows a chip type light emitting diode, wherein light emitting diode (LED chip) 202 is
                                                                 installed in a recess of a casing 204 which is filled with a coating material which contains a
                                                                 specified phosphor to form a coating 201. The light emitting component 202 is fixed by using an
                                                                 epoxy resin or the like which contains Ag, for example, and an in electrode and ap electrode of
                                                                 the light emitting component 202 are connected to metal terminals 205 installed on the casing 204
                                                                 by means of conductive wires 203. In the chip type light emitting diode constituted as described
                                                                 above, similarly to the lead type light emitting diode of FIG. 1, fluorescent light emitted by the
                                                                 phosphor and LED light which is transmitted without being absorbed by the phosphor are mixed
                                                                 and output, So that the light emitting diode 200 also outputs light having a wavelength different
                                                                 from that of LED light emitted by the light emitting component 202.

                                                           See also, e.g., Shimizu at [5:30-35], [8:31-39], [9:3-13], [14:28-31], [15:28-67], [16:1-25], [20:31-44], [24:6-18],
                                                           [27:38-50], [28:61-29:2], [30:9-20], [32:44-53].

                                                          As combined with Shimizu, where the light is emitting white light (rather than three different colors of LEDs in a
                                                          vertical orientation), a POSITA would find it obvious and motivated by the fact that a lower-profile bulb would
                                                          be advantageous in certain applications. This would be achieved by adopting the orientation taught in Fig. 2 of
                                                          Shimizu, rotating the board of Okamoto, placing the metal plates of Shimizu’s Fig. 2 protruding at both ends of
                                                          the wavelength conversion member (with Okamoto’s support leads on either end). This combination would
                                                          require routine engineering and simple substitution as it is involve nothing more than rearranging the existing
                                                          wiring pattern on the board, and would lead to the predictable result of an LED bulb that mimics the look of a
                                                          filament bulb.
1[h] wherein the wavelength conversion member is Okamoto discloses this element.
provided on the first surface side and the second surface

                                                                                       10


                                                                             Exhibit C, p. 447
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 448 of 954 Page ID
                                                              #:17626



                      Asserted Claims                                           Prior Art References, Okamoto Alone or in View of Shimizu
side, the wavelength conversion member is elongated in See e.g., Okamoto at Fig. 6:
the longitudinal direction when viewed in plan view of
the first surface side of the board,




                                                        See above at 1[c].
1[i] wherein a first set of the light emitting element Okamoto discloses this element. Okamoto teaches multiple serially mounted LEDs from the center portion of the
chips are mounted on the first region and arranged from board to the end portions.
the center portion of the board to the one of the end
portions,                                               See, e.g., Okamoto at [Fig. 3]:




                                                                                 11


                                                                         Exhibit C, p. 448
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 449 of 954 Page ID
                                                               #:17627



                   Asserted Claims                                                  Prior Art References, Okamoto Alone or in View of Shimizu
                                                           See also, e.g., Okamoto at [0043]: “Furthermore, when a bright light source is required, it may also be
                                                           configured with a plurality of LED elements connected in parallel or in series to emit light simultaneously.”

                                                           See also, e.g., Okamoto at [0004], [0006]-[0007], [0020]-[0021], Figs. 1-2.

                                                         This includes a first set of chips mounted on the first region and arranged from the center portion of the board to
                                                         the one of the end portions (e.g., chips 3, 4).
1[j] wherein a second set of the light emitting element Okamoto discloses this element.
chips are mounted on the second region and arranged
from the center portion of the board to the other one of As discussed above at 1[i], Okamoto teaches a first set of light emitting element chips (3, 4) mounted on the first
the end portions, and                                    region and arranged from the center portion of the board to one of the end portions, and also teaches that
                                                         additional LEDs can be used to increase light emission.

                                                           Okamoto shows the inclusion of additional LEDs, with a second set of light emitting element chips are mounted
                                                           on the second region and arranged from the center portion of the board to the other one of the end portions.

                                                           See, e.g., Okamoto at Fig. 11 (second set circled in red):




1[k] wherein the pair of metal plates are electrically Okamoto discloses this element.
connected with the support base via the support leads.
                                                       See above at 1[g].

                                                                                      12


                                                                             Exhibit C, p. 449
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 450 of 954 Page ID
                                                              #:17628



                  Asserted Claims                                             Prior Art References, Okamoto Alone or in View of Shimizu
                                                        Alternatively, Okamoto in view of Shimizu discloses this element.

                                                        As discussed above at 1[g], Okamoto, as combined with Shimizu, with incorporate the metal terminals 205 of
                                                        Shimizu at the ends of the board, supported by the support leads 8, in turn connected to the base. This would
                                                        connect the metal plates electrically with the support base via support leads 8.

                                                        The support leads 8 have the purpose of electrical connection. See, e.g., Okamoto at [0034] (“ the lead frame 8
                                                        for hybrid IC is attached with the solder material 9 to the drawn-out wiring pattern 6 formed on the glass
                                                        substrate 2”); Okamoto at [0041] (“Light emission of this light source 1 is controlled with power source and
                                                        electric control circuits 21 and 23.”) Because 21 is shown at the base of the light (see Okamoto at Fig. 8), this
                                                        teaches that electrical connection is provided by support leads 8.
Claim 3
3. The light emitting device according to claim 1, Okamoto discloses this element.
wherein the transparent bulb is made of glass.
                                                     As discussed above in 1[d], Okamoto teaches that its bulb is made of “light translucent cover” 20. One such bulb
                                                     was well known in the art to be glass.
Claim 4
4. The light emitting device according to claim 1, Okamoto discloses this element.
wherein each of the metal plates crosses the support
lead.                                                See above at 1[g]. The structure of a basic lightbulb would require that the each of the metal plates crosses the
                                                     support lead in order to provide a continuous circuit and thus power to the LED elements.

                                                        Alternatively, Okamoto in view of Shimizu discloses this element.

                                                        A POSITA would have found it obvious to provide power to from the support leads to the metal plates would be
                                                        by overlapping the two, thus making the metal plates cross the support leads.

                                                        As discussed above at 1[g], Okamoto, as combined with Shimizu, connects the support leads to the metal plates.
                                                        Knowing this and the structure of a basic lightbulb, a PHOSITA would have found it obvious to provide power
                                                        to from the support leads to the metal plates would be by overlapping the two, thus making the metal plates cross
                                                        the support leads.
Claim 6
6. The light emitting device according to claim 1, Okamoto discloses a wavelength conversion member that comprises a phosphor. See above at 1[c]. Phosphors
wherein the wavelength conversion member comprises a were well known and commonly used in the art in transparent resin of light emitting devices to convert
phosphor therein.                                    wavelength. See, e.g., See, e.g., U.S. Patent No. 7,875,897 (“Suehiro ‘897”) and U.S. Patent Publication No.
                                                     20040257797A1 (“Suehiro ‘797”).


                                                                                  13


                                                                          Exhibit C, p. 450
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 451 of 954 Page ID
                                                            #:17629



                 Asserted Claims                                          Prior Art References, Okamoto Alone or in View of Shimizu
                                                    Alternatively, Okamoto in view of Shimizu discloses this element.

                                                    Shimizu teaches that this wavelength conversion member comprises a phosphor therein.

                                                    See, e.g., Shimizu at [1:10-15]:

                                                          More particularly, [the present invention] relates to a light emitting device (LED) comprising a
                                                          phosphor, which converts the wavelength of light emitted by a light emitting component and
                                                          emits light, and a display device using the light emitting device.

                                                    See also, e.g., Shimizu at [3:22-33]:

                                                          Thus the present invention provides a light emitting device, comprising a light emitting
                                                          component and a phosphor capable of absorbing a part of light emitted by the light emitting
                                                          component and emitting light of wavelength different from that of the absorbed light; wherein
                                                          said light emitting component comprises a nitride compound Semiconductor represented by the
                                                          formula: IniGajAlkN where 0≦i, 0≦j, 0≦k and i+j+k=l) and said phosphor contains a garnet
                                                          fluorescent material comprising 1) at least one element Selected from the group consisting ofY,
                                                          Lu, Sc, La, Gd and Sm, and 2) at least one element Selected from the group consisting of Al, Ga
                                                          and In, and being activated with cerium.

                                                    See also, e.g., Shimizu at [3:23-33], [3:39-67], [4:1-29], [4:63-67], [4:50-67], [5:1-10], [5:40-55], [6:6-45], [8:51-
                                                    67], [9:30-38], [9:47-67], [10:1-13], [10: 17-67], [11:3-27], [12:44-63], [13:5-50], [14:41-62], [16:54-67], [17:2-
                                                    57], [18:3-15], [18:17-65], [19:14-29], [20:24-30], [24:19-55], [25:5-25], [25-29-35], [26:22-36], [26:39-50],
                                                    [26:53-63], [27:60-65], [29:3-39], [30:31-45], [31:8-15], Fig. 6, Figs. 16-22.
Claim 7
7. The light emitting device according to claim 6, Okamoto discloses this element. See above at 1[c] and claim 6. A YAG group phosphor was well known and
wherein the phosphor comprises a YAG group commonly used in the art to convert wavelength. See, e.g., Suehiro ‘897 and Suehiro ’797.
phosphor.
                                                   Alternatively, Okamoto in view of Shimizu discloses this element.

                                                    Shimizu teaches that the phosphor is preferably a YAG group phosphor. See, e.g., Shimizu at [10:25-5]:

                                                          According to the present invention, the fluorescent material is preferably yttrium-aluminum
                                                          garnet fluorescent material (YAG phosphor) activated with cerium, or a fluorescent material
                                                          represented by general formula (Re1-r Smr) (Al1-sGas)5O12:Ce, where 0≦r≦l and 0≦s≦1, and Re is
                                                          at least one selected from Y and Gd. In case the LED light emitted by the light emitting

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                                                                      Exhibit C, p. 451
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 452 of 954 Page ID
                                                              #:17630



                   Asserted Claims                                                Prior Art References, Okamoto Alone or in View of Shimizu
                                                               component employing the gallium nitride compound Semiconductor and the fluorescent light
                                                               emitted by the phosphor having yellow body color are in the relation of complementary colors,
                                                               white color can be output by blending the LED light and the fluorescent light.

                                                         See also, e.g., Shimizu at [3:23-33], [3:39-67], [4:1-29], [4:63-67], [4:50-67], [5:1-10], [5:40-55], [6:6-45],
                                                         [8:51-67], [9:30-38], [9:47-67], [10:1-13], [10: 17-67], [11:3-27], [12:44-63], [13:5-50], [14:41-62], [16:54-67],
                                                         [17:2-57], [18:3-15], [18:17-65], [19:14-29], [20:24-30], [24:19-55], [25:5-25], [25-29-35], [26:22-36], [26:39-
                                                         50], [26:53-63], [27:60-65], [29:3-39], [30:31-45], [31:8-15], Fig. 6, Figs. 16-22.
Claim 11
11. The light emitting device according to claim 6, Okamoto discloses this element. See above at 1[c] and claim 6. It was well known in the art that a phosphor
wherein an average particle size of the phosphor is 3 μm having a particle size of 3 μm or more would be advantageous.
or more.
                                                         Alternatively, Okamoto in view of Shimizu teaches this element.

                                                         Shimizu teaches that the phosphor concentration can be adjusted to achieve desired properties.

                                                         See, e.g., Shimizu at [10:45-61]:

                                                               Distribution of the phosphor concentration has influence also on the color blending and
                                                               durability. That is, when the concentration of phosphor increases from the Surface of the coating
                                                               or molding where the phosphor is contained toward the light emitting component, it becomes less
                                                               likely to be affected by extraneous moisture thereby making it easier to suppress the deterioration
                                                               due to moisture. On the other hand, when the concentration of phosphor increases from the light
                                                               emitting component toward the Surface of the molding, it becomes more likely to be affected by
                                                               extraneous moisture, but less likely to be affected by the heat and radiation from the light
                                                               emitting component, thus making it possible to Suppress the deterioration of the phosphor. Such
                                                               distributions of the phosphor concentration can be achieved by Selecting or controlling the
                                                               material which contains the phosphor, forming temperature and viscosity, and the configuration
                                                               and particle distribution of the phosphor.
Claim 12
12. The light emitting device according to claim 1, Okamoto teaches that a plurality of light emitting element chips is electrically connected in series.
wherein the plurality of light emitting element chips is
electrically connected in series.                        See, e.g., Okamoto at Fig. 3:




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                                                                           Exhibit C, p. 452
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 453 of 954 Page ID
                                                               #:17631



                   Asserted Claims                                                   Prior Art References, Okamoto Alone or in View of Shimizu




                                                            See also, e.g., Okamoto at [0043]: “Furthe1more, when a bright light source is required, it may also be
                                                            configured with a plurality of LED elements connected in parallel or in series to emit light simultaneously.”

                                                            See also, e.g., Okamoto at [0004], [0006]-[0007], [0020]-[0021], Figs. 1-2.
Claim 13
13. The light emitting device according to claim 1,         Okamoto discloses this element. Use of a variety of LEDs, including blue LEDs, in light emitting devices was
wherein the plurality of light emitting element chips is    well known and commonly used in the art. Further, the main peak light emission wavelength of blue light, which
so configured that a main peak light emission               includes a range between 420 nm and 490 nm, was well known in the art.
wavelength of the light emitting element is varied within
a range between 420 nm and 490 nm.                          Alternatively, Okamoto in view of Shimizu discloses this element.

                                                            As discussed above at l[c], a POSITA would have adopted the wavelength conversion member of Shimizu to
                                                            converts the blue light emitted by the LED in Okamoto to white light. While Okamoto does not expressly state
                                                            the wavelength of light emitted by its blue LEDs, Shimizu expressly states that this wavelength would be within
                                                            the claimed range.

                                                            See, e.g., Shimizu at [4:43-49]:

                                                                  Further in the light emitting device of the present invention, it is preferable that main emission
                                                                  peak of the light emitting component is Set within the range from 400 nm to 530 nm and main
                                                                  emission wavelength of the phosphor is set to be longer than the main emission peak of the light

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                                                                              Exhibit C, p. 453
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 454 of 954 Page ID
                                                              #:17632



                  Asserted Claims                                              Prior Art References, Okamoto Alone or in View of Shimizu
                                                              emitting component. This makes it possible to efficiently emit white light.

                                                        See also, e.g., Shimizu at [6:21-46], [11:44-47], [12:59-65], [13:5-21], [14:41-58], [18:47-65], [23:49-60],
                                                        [25:29-35], [27: 12-36], [28:59-67], [29:54-60].
Claim 14
14. The light emitting device according to claim 1, Okamoto teaches the use of GaN-based LED elements.
wherein each of the light emitting element chips
comprises nitride semiconductor made of InxAlyGa1-x-yN See, e.g., Okamoto at [0027]:
(0≦x, 0≦y, x+y≦1).
                                                             In a light source device 1 in FIG. 1 and FIG. 2, a GaN blue LED element 3, a GaN green LED
                                                             element 4, and GaAs red LED element 5a are disposed in a row on a front face of a light
                                                             transmissive glass substrate 2. The GaN LED elements 3 and 4 are provided only on the front
                                                             face of the glass substrate 2, but the GaAs red LED elements 5a and 5b are provided on the front
                                                             and back of the glass substrate 2.

                                                        Alternatively, Okamoto in view of Shimizu discloses this element.

                                                        To the extent that a POSITA did not already understand this to be the claimed composition, this is expressly set
                                                        forth in Shimizu.

                                                        See, e.g., Shimizu at [3:22-33]:

                                                              Thus the present invention provides a light emitting device, comprising a light emitting
                                                              component and a phosphor capable of absorbing a pair of light emitted by the light emitting
                                                              component and emitting light of wavelength different from that of the absorbed light; wherein
                                                              said light emitting component comprises a nitride compound Semiconductor represented by the
                                                              formula: lniGajAlkN where 0≦i, 0≦j, 0≦k and i+j+k=1) and said phosphor contains a garnet
                                                              fluorescent material comprising 1) at least one element Selected from the group consisting of Y,
                                                              Lu, Sc, La, Gd and Sm, and 2) at least one element Selected from the group consisting of Al, Ga
                                                              and In, and being activated with cerium.

                                                        See also, e.g., Shimizu at [4:50-67], [5:41-47], [9:54-67], [10:17-44], [12:7-21 ], [13:52-14:58], [20:24-30], [24:
                                                        19-55], [25:5-25], [25-29-35], [26:22-36], [26:39-50], [26:53-63], [27:60-65], [29:3-39], [30:31-45], [31:8-15],
                                                        Fig. 6, Figs. 16-22.
Claim 15
15. The light emitting device according to claim 1, Okamoto discloses that the wavelength conversion member substantially surrounds the board.
wherein   the   wavelength    conversion    member

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                                                                          Exhibit C, p. 454
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 455 of 954 Page ID
                                                             #:17633



                    Asserted Claims                                                 Prior Art References, Okamoto Alone or in View of Shimizu
substantially surrounds the board.                         See, e.g., Okamoto at [Fig 6]:




                                                           See also, e.g., Okamoto at [0030]:

                                                                 A light-transmissive resin 11 is disposed on a portion of the front face and a portion of the back
                                                                 face of the glass substrate 2 to cover the entirety of the LED elements 3, 4, 5a, and 5b and the
                                                                 gold wire 7. A dispersant is mixed into the light-transmissive resin 11 to mitigate directivity of
                                                                 light emitted from the LED elements 3, 4, 5a, and 5b. Type of the dispersant include inorganic
                                                                 barium titrate, titanium oxide, aluminum oxide, silicon oxide, and the like, and organic
                                                                 guanaminic acid resin and the like. The glass substrate 2 and the LED elements 3, 4, 5a, and 5b
                                                                 covered with the light-transmissive resin 11 are integrally molded with a light-transmissive resin
                                                                 10 to fo1m a light-transmissive molded body.

                                                          See also above at 1[c].
Claim 17
17. The light emitting device according to claim 1, Okamoto discloses this element.
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting See also, e.g., Okamoto at [0031] (e.g., light-transmissive glass substrate 2):
element chips on the first surface side of the board
forwards outside of the light emitting device through the       The light-transmissive glass substrate 2 is an example of a light-transmissive insulating substrate,
second surface of the board.                                    and another type of light-transmissive insulating substrate such as a light-transmissive insulating
                                                                substrate composed of a light-transmissive resin instead of the glass substrate 2 may be used.
                                                                Furthermore, the LED elements 3 and 4 are an example of light-emitting element chips having a
                                                                semiconductor light-emitting layer such as an active layer formed on a light-transmissive
                                                                                      18


                                                                           Exhibit C, p. 455
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 456 of 954 Page ID
                                                               #:17634



                   Asserted Claims                                                Prior Art References, Okamoto Alone or in View of Shimizu
                                                               substrate such a, for example, a sapphire substrate, and another light-emitting element chip may
                                                               be used so long as it is a light-emitting element chip provided with a semiconductor light-emitting
                                                               layer formed on a light-transmissive substrate.

                                                         See also, e.g., Okamoto at [Fig. 3]:




                                                         This means that a light emitted from the plurality of light emitting element chips on the first surface side of the
                                                         board forwards outside of the light emitting device through the second surface of the board.

                                                         See, e.g., Okamoto at [0011]:

                                                               In the light source device set forth in the present invention, the light-emitting element chip for
                                                               emitting light in all directions is integrally molded on the light-transmissive support member by
                                                               the light-transmissive molded body, and thus, a light source device having a simple configuration
                                                               and omnidirectional emission characteristics capable of transmitting light across all directions is
                                                               obtained.

                                                        See also, e.g., Okamoto at [0004], [0006]-[0007], [0020]-[0021], Figs. 1-2.
Claim 18
18. The light emitting device according to claim 1, Okamoto discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light Alternatively, Okamoto in view of Shimizu teaches this element.
emitting element chips into light with a different
wavelength such that the converted light with the See, e.g., Shimizu at [3:22-33]:

                                                                                    19


                                                                           Exhibit C, p. 456
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 457 of 954 Page ID
                                                               #:17635



                   Asserted Claims                                                 Prior Art References, Okamoto Alone or in View of Shimizu
different wavelength is radiated along a first direction
from the first surface side of the board to an outer            Thus the present invention provides a light emitting device, comprising a light emitting
periphery of the wavelength conversion member, and              component and a phosphor capable of absorbing a paii of light emitted by the light emitting
along a second direction from the second surface of the         component and emitting light of wavelength different from that of the absorbed light; wherein
board to the outer periphery of the wavelength                  said light emitting component comprises a nitride compound Semiconductor represented by the
conversion member.                                              formula: IniGajAlkN where 0≦i, 0≦j, 0≦k and i+j+k=l) and said phosphor contains a garnet
                                                                fluorescent material comprising 1) at least one element Selected from the group consisting ofY,
                                                                Lu, Sc, La, Gd and Sm, and 2) at least one element Selected from the group consisting of Al, Ga
                                                                and In, and being activated with cerium.

                                                          See also discussion above at 1[c].
Claim 19
19. The light emitting device according to claim 1, Okamoto discloses this element.
wherein all light emitting element chips mounted on the
first surface side of the board are aligned along a line. See, e.g., Okamoto at [Fig. 3]:




                                                           See also, e.g., Okamoto at [0043]: “[W]hen a bright light source is required, it may also be configured with a
                                                           plurality of LED elements connected in parallel or in series to emit light simultaneously.”

                                                           See also, e.g., Okamoto at [0004], [0006]-[0007], [0020]-[0021], Figs. 1-2.
Claim 20
20. The light emitting device according to claim 1, Okamoto discloses this element.
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface As discussed above at 1[c], light translucent resin 11 of Okamoto would contain the wavelength conversion
side of the board.                                        member. This seals all light emitting element chips mounted on the first surface side of the board.

                                                                                     20


                                                                            Exhibit C, p. 457
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 458 of 954 Page ID
                                                            #:17636



                  Asserted Claims                                                Prior Art References, Okamoto Alone or in View of Shimizu

                                                        See, e.g., Okamoto at [Fig 6]:




                                                        See also, e.g., Okamoto at [0030]:

                                                              A light-transmissive resin 11 is disposed on a portion of the front face and a portion of the back
                                                              face of the glass substrate 2 to cover the entirety of the LED elements 3, 4, 5a, and 5b and the
                                                              gold wire 7. A dispersant is mixed into the light-transmissive resin 11 to mitigate directivity of
                                                              light emitted from the LED elements 3, 4, 5a, and 5b. Type of the dispersant include inorganic
                                                              barium titrate, titanium oxide, aluminum oxide, silicon oxide, and the like, and organic
                                                              guanaminic acid resin and the like. The glass substrate 2 and the LED elements 3, 4, 5a, and 5b
                                                              covered with the light-transmissive resin 11 are integrally molded with a light-transmissive resin
                                                              10 to form a light-transmissive molded body.
Claim 21
21. The light emitting device according to claim 19, Okamoto discloses this element. See above at l[c] and l[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface
side of the board.
Claim 22
22. The light emitting device according to claim 1, Okamoto discloses this element. See above at 1[i], l[j], and claim 19.
wherein the first set of light emitting element chips and
the second set of light emitting element chips are
aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion
                                                                                   21


                                                                       Exhibit C, p. 458
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 459 of 954 Page ID
                                                             #:17637



                     Asserted Claims                                                  Prior Art References, Okamoto Alone or in View of Shimizu
member.
Claim 24
24. The light emitting device according to claim 1,          Okamoto in view of Shimizu discloses this element.
wherein one of the support leads is positioned between
one of the metal plates and the support base.                See above discussion at 1[g].
Claim 25
25. The light emitting device according to claim 1,          Okamoto discloses this element.
wherein all of the light emitting element chips mounted
on the first surface side of the board are aligned along a   See, e.g., Okamoto at [Fig. 3]:
single line when viewed in plan view of the first surface
side of the board.




Claim 27
27. A light emitting device comprising:                      See above at 1[pre].
[27a] through [27j]                                          See above at 1[a] through 1[j].

[27k] wherein one of the support leads is positioned         See above at claim 24.
between one of the metal plates and the support base.




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                                                                             Exhibit C, p. 459
                               Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 460 of 954 Page ID
                                                                 #:17638



                                                                                       Exhibit G

           Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797, or Maxik in View of One of Suehiro ‘897 and Suehiro
                                          ‘797 and One of Hohn, Takashima, and Debray

       Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ‘734 Patent are invalid as anticipated under 35 U.S.C. § 102 by U.S. Patent No. 2003/0031015 to Maxik
(“Maxik”). Specifically, Maxik directly or inherently, based on the presumed knowledge of a POSITA, discloses each and every limitation of these claims.

        In the alternative, claims 1, 4, 6, 7, 11, 13-15, 17, 18, 20-22, 24, and 27 of the ‘734 Patent are unpatentable under 35 U.S.C. § 103 by Maxik in view of one of U.S.
Patent No. 7,875,897 to Suehiro (“Suehiro ‘897”) and U.S. Patent Publication No. 2004/0257797 to Suehiro ‘797 (“Suehiro ‘797”), or Maxik in view of one of Suehiro ‘897
and Suehiro ‘797 and one of U.S. Patent No. 6,066,861 (“Hohn”), U.S. Patent No. 7,723,740 (“Takashima”), and European Publication No. 1116419B1 (“Debray”).

         Maxik in view of one of Suehiro ‘897 and Suehiro ‘797 renders the Asserted Claims of the ‘734 Patent obvious under 35 U.S.C. § 103. These references alone or in
combination disclose each and every claim feature. These references are analogous prior art references because they are directed to light-emitting semiconductor devices and
features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of ordinary skill in the art to combine the above
prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to combine the teachings from these disclosures
in a manner that renders the Asserted Claims obvious.

        Maxik in view of one of Suehiro ‘897 and Suehiro ‘797 and one of Hohn, Takashima, and Debray renders the Asserted Claims of the ‘734 Patent obvious under 35
U.S.C. § 103. These references alone or in combination disclose each and every claim feature. These references are analogous prior art references because they are directed to
light-emitting semiconductor devices and features relating to the same, and as such, recourse to logic, judgment, and common sense would have motivated a person of
ordinary skill in the art to combine the above prior art to arrive at “[a] light emitting device.” Therefore, it would have been obvious to a person of ordinary skill in the art to
combine the teachings from these disclosures in a manner that renders the Asserted Claims obvious.


                    Asserted Claims                                    Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
Claim 1
1[pre]. A light emitting device comprising:                 To the extent the preamble is limiting, Maxik teaches a light emitting device.

                                                            See, e.g., Maxik at [1:21-24]: “More specifically, the invention relates to a lighting element for use in light bulbs.
                                                            The lighting element is comprised of light emitting diodes (LEDs) which are mounted on a flexible form which
                                                            can be configured into various shapes for greater light dispersion and functionality.”

                                                            See, e.g., Maxik at [1:37-39]: “In fact, most people desire a light source to provide light onmi-directionally,
                                                            much in the same manner as an incandescent light bulb.”

                                                            See also, e.g., Maxik at [2:30-37]:




                                                                                Exhibit C, p. 460
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 461 of 954 Page ID
                                                                #:17639



                    Asserted Claims                                    Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                                  The present lighting element relates in general terms to an LED light bulb which uses
                                                                  electronically activated light emitting elements to generate individual sources of light. The
                                                                  individual sources of light are arranged in Such manner that the LED light bulb in which the
                                                                  elements are used provides a wide degree of light dispersion to completely avoid the point source
                                                                  of light emission from the light bulb itself.

                                                            See also, e.g., Maxik at Fig. 1:




1[a] a board having end portions and a center portion Maxik teaches this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a See, e.g., Maxik at Figs. 2 and 4, showing board (106) with end portions (e.g., “finger-like projections” 116), and
second surface on a second surface side thereof, the a center portion therebetween in a longitudinal direction:
second surface being an opposite side to the first
surface, the first surface including a first region and a
second region, the first region extending from the center

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                                                                              Exhibit C, p. 461
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 462 of 954 Page ID
                                                            #:17640



                    Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
portion of the board to one of the end portions, the
second region extending from the center portion of the
board to the other of the end portions;




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                                                             Exhibit C, p. 462
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 463 of 954 Page ID
                                          #:17641



Asserted Claims                       Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           See, e.g., Maxik at [5:20-26]:

                                 Referring to FIG. 2, it can be observed that the formed substrate 106 is actually cut or pressed out
                                 from a substrate 126 of circuit board material. The formed substrate 106 is cut in such fashion
                                 that it is provided with a plurality of individual finger-like projections 116 and each of which
                                 further carry light emitting elements 108 or other light generating elements thereon, in addition to
                                 standoffs 110.

                           See, e.g., Maxik at [3:65-67]: “FIG. 2 illustrates a top elevation view of a pattern of a formed substrate which can
                           be formed from a sheet of circuit board material and used in the LED light bulb.”

                           Opposite end portions 116 (for example, the left and right projections 116) are arranged with a center 118
                           therebetween in a longitudinal direction, as further illustrated in Fig. 1:




                           The board has a first surface on a first surface side thereof (e.g., the side shown in Fig. 4, where the LEDs are
                           located) and a second surface on a second surface side thereof, the second surface being an opposite side to the

                                                       4


                                             Exhibit C, p. 463
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 464 of 954 Page ID
                                                              #:17642



                   Asserted Claims                                   Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                         first surface, the first surface including a first region and a second region, the first region extending from the
                                                         center portion of the board to one of the end portions, the second region extending from the center portion of the
                                                         board to the other of the end portions.

                                                         See, e.g., Maxik at [9:14-17]: “The substrate 126 can be any material that supports the function of holding light
                                                         emitting elements 108 and lensless light emitting elements 302 in place and providing Support for the electrical
                                                         leads.”

                                                         See, e.g., Maxik at [9:35-39]: “The substrate 126 of the present lighting element generally is shaped in
                                                         rectangular configuration when placed flat on a flat Surface. These substrates 126 also generally have a front
                                                         face and a back face.”
1[b] a plurality of light emitting element chips mounted Maxik teaches a plurality of light emitting element chips mounted on the first surface side of the board.
on the first surface side of the board;
                                                         See, e.g., Maxik at Figs. 2 and 4 (light emitting elements (108)):




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                                                                          Exhibit C, p. 464
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 465 of 954 Page ID
                                                              #:17643



                  Asserted Claims                                   Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                         See, e.g., Maxik at [4:36-39]: “Light is provided by a plurality of light emitting elements 108 that are connected
                                                         to a formed substrate 106 that contours to the form of the inside wall 120 of the housing 102.”

                                                         See, e.g., Maxik at [5:20-26]:

                                                               Referring to FIG. 2, it can be observed that the formed substrate 106 is actually cut or pressed out
                                                               from a substrate 126 of circuit board material. The formed substrate 106 is cut in such fashion
                                                               that it is provided with a plurality of individual finger-like projections 116 and each of which
                                                               further carry light emitting elements 108 or other light generating elements thereon, in addition to
                                                               standoffs 110.

                                                         See, e.g., Maxik at [7:8-15]:

                                                            The light emitting elements 108 are generally light emit ting diodes (LEDs), but may be other
                                                            types of diode lights, such as laser diodes and wide band gap LEDs. Generally, these typical
                                                            LEDs are normally constructed using standard AllnGaN or AllnGaP processes and include a LED
                                                            chip or die mounted to a reflective metal dish or reflector that is generally filled with a
                                                            transparent or semi-transparent epoxy, thus encapsulating the LED chip.
1[c] a wavelength conversion member formed unitarily Maxik discloses a wavelength conversion member formed unitarily with a transparent member that seals the
with a transparent member that seals the plurality of plurality of light emitting element chips. Maxik explains an LED lightbulb that includes light emitting elements

                                                                                     6


                                                                           Exhibit C, p. 465
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                                                              #:17644



                    Asserted Claims                       Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
light emitting element chips;                  108.

                                               Also, Maxik discloses the desirability of emitting various colors of light, depending on the application--and
                                               specifically mentions the desirability of emitting white light.

                                               See, e.g., Maxik at [7:24-40]:

                                                      Any color of LED’s can be used with the present LED light bulb, colored LED’s such as red (R),
                                                      blue (B), and green (G) can be use in addition to white (W) with the present LED light bulb to
                                                      accommodate the desires of the user. For example, mood lighting can be achieved by combining
                                                      the desired colored LEDs together in the LED light bulb. The end desired light product can be
                                                      achieved by using the RGBW LEDs to accomplish the desired lighting. By way of illustration, if a
                                                      3,700 Kelvin color is desired, the mix of the LEDs would be 50 red, 27 green, and 23 blue to
                                                      achieve this color. In this aspect of the LED light bulb, a designed housing 102 incorporating the
                                                      proper micro-optics, such as finishes or thin films, mixes the color to provide the desired end
                                                      product. The number, arrangement, and color selection of the LED’s on the formed substrate 106
                                                      creates a flexible LED light bulb that can meet the desired lighting requirements of a given
                                                      situation.

                                               Thus, to achieve white light as explained above, it was well known in the art to use blue LEDs in combination
                                               with a wavelength conversion member. Indeed, it was well known in the art that LEDs were commonly
                                               packaged in a fluorescent transparent resin, wherein the fluorescent material converted wavelength. See, e.g.,
                                               Suehiro ‘897 and Suehiro ‘797. It was also well known in the art that sealing LEDs in a packaging extracted
                                               greater amounts of light from the LEDs. This in turn made the LEDs more efficient. See, e.g., Suehiro ‘897 and
                                               Suehiro ‘797.

                                               Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                               See, e.g., Suehiro ‘897 at FIG. 13:




                                                                           7


                                                                 Exhibit C, p. 466
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                                          #:17645



Asserted Claims                       Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                           See, e.g., Suehiro at col. 12, lns. 50-52: “The light emitting device of the thirteenth embodiment is different from
                           that of the sixth embodiment in that a transparent resin 40 contains a phosphor.”

                           See, e.g., Suehiro ‘897 at col. 12, lns. 64-col.13. lns. 1-7:

                                 The effects of the thirteenth embodiment are as follows. With the transparent resin 40 containing
                                 the phosphor 8, wavelength conversion is conducted by the phosphor 8. For example, when the
                                 phosphor 8 is composed of a red phosphor, a green phosphor and a blue phosphor, ultraviolet
                                 light emitted from the LED 3 is wavelength-converted by the phosphor 8 and secondary light
                                 radiated therefrom is mixed with primary light emitted from the LED 3 to generate visible light.
                                 Thus, even when the emission wavelength of the LED 3 varies, the light emitting device 1 can be
                                 constant in emission color tone.

                           See, e.g., Suehiro ‘897 at col. 4, lns. 53-59 (explaining that a transparent resin 4 seals the LEDs 3):

                                 As shown in FIG. 1A, the light emitting device 1 comprises: a pair of leads 2 made of silver-
                                 plated copper or copper alloy; an LED3, as a light emitting portion, which is mounted on the lead
                                 2; a transparent resin 4, made of epoxy resin etc., which seals the LED 3 to form a lamp-type
                                 device and is provided with a lens surface 41 as well as a semisphere having an LED element 31
                                 as its origin.

                           See, e.g., Suehiro ‘897 at col. 13, lns. 14-20 (explaining efficiencies of configuration):

                                                        8


                                              Exhibit C, p. 467
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                                          #:17646



Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                Therefore, phosphor contained therein may be deposited and the light extraction efficiency or
                                emission color may be affected thereby. In the invention, since the phosphor 8 is instantly
                                injected
                                while being agitated and then cured into a given form, it can be uniformly spread without
                                deposition in the transparent resin 40.

                           Suehiro ‘897 also discloses configurations where a plurality of LEDs are mounted on a board and sealed by a
                           wavelength conversion member.

                           See, e.g., Suehiro ‘897 at Figs. 27A and 27B:




                           See, e.g., Suehrio ‘897 at col. 19, lns. 44-46: “Although in this embodiment the three LED elements 31 are used,
                           another number of LED elements 31 may be used therein.”

                           See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                           emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                                                      9


                                            Exhibit C, p. 468
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 469 of 954 Page ID
                                          #:17647



Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                           yellow light are mixed to develop white light.”

                           A POSITA would have been motivated to combine the teaching of a wavelength conversion member from
                           Suehiro ‘897 with Maxik to save cost, for ease of manufacturing, and/or to achieve desired aesthetic or optical
                           properties. Also, a POSITA would have found it obvious to combine Suehiro ‘897 with the teachings of Maxik.
                           It would require routine engineering and simple substitution to adopt the LEDs and wavelength conversion
                           material into the bulb of Maxik. This would yield predictable results of emitting wavelength-converted light
                           emitted from the light emitting device.

                           Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                           Suehiro ‘797 specifically teaches that its wavelength conversion member provides for even light distribution and
                           emission. See also, e.g., Suehiro ‘797 at [0198]: “In addition to the effects of the twelfth embodiment, the
                           thirteenth embodiment can have an effect that light can be radiated widely from the light emitting device 101.
                           Especially, it is suitable for use, such as a lighting device, where a wide and uniform light radiation
                           characteristic is required.”

                           See also, e.g., Suehiro ‘797 at [0025], [0026], [0032]:

                                 It is an object of the invention to provide a light emitting device that can offer an even
                                 wavelength conversion characteristic while avoiding the lowering of external radiation efficiency
                                 of LED element.

                                 It is a further object of the invention to provide a light emitting device that can be low-profile
                                 while offering good external radiation efficiency.

                                 The wavelength conversion portion may have an optical shape to radiate the light according to a
                                 desired light distribution characteristic from the light emitting element portion.

                           Maxik also seeks to achieve this objective--attaining the uniform light diffusion of incandescent bulbs. See, e.g.,
                           Maxik at [1:37-39; 1:22-25; 2:23-26]:

                                 The lighting element is comprised of light emitting diodes (LED’s) which are mounted on a
                                 flexible
                                 form which can be configured into various shapes for greater light dispersion and functionality.

                                 In fact, most people desire a light source to provide light onmi-directionally, much in the same
                                                      10


                                             Exhibit C, p. 469
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 470 of 954 Page ID
                                          #:17648



Asserted Claims                     Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                 manner as an incandescent light bulb.

                                 However, there still is a need for a light bulb using electronically activated light emitting
                                 elements
                                 and which provides, in combination, a wide degree of light dispersion as well as a method of
                                 making same.

                           Thus, a POSITA would have understood Suehiro ‘797 to teach an improvement that would allow for light
                           emission in furtherance of the goal stated in Maxik of emulating an incandescent bulb, and thus would have been
                           motivated to combine it. Motivation to combine these references is also provided by ease of manufacturing,
                           fewer parts, cost saving, obtaining desired optical or aesthetic properties.

                           Further, Suehiro ‘797 teaches a wavelength conversion member formed unitarily with a transparent member that
                           seals the plurality of light emitting element chips.

                           See, e.g., Suehiro ‘797 at [0003]: “The invention relates to a light emitting device where light emitted from a
                           light emitting diode (hereinafter refe1Ted to as LED) is absorbed and wavelength-converted by phosphor and
                           then the wavelength-converted light with a different wavelength is radiated therefrom.”

                           See also, e.g., Suehiro ‘797 at [0021]: “It is preferable that the wavelength conversion portion surrounds and
                           seals the light emitting element portion, and the phosphor is shaped like a thin film and disposed around the light
                           emitting element portion.”

                           See, e.g., Suehiro ‘797 at Fig. 11:




                                                       11


                                             Exhibit C, p. 470
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 471 of 954 Page ID
                                          #:17649



Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                           Suehiro ‘797 also discloses configurations where multiple LEDs are arranged in a strip on a single board. See,
                           e.g., Suehiro at Fig. 20:




                           See also, e.g., Suehiro ‘797 at Figs. 15A, 15B, 19A, 19B, 21, 22, [0199]. A POSITA would have found it
                           obvious

                                                     12


                                            Exhibit C, p. 471
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 472 of 954 Page ID
                                                              #:17650



                   Asserted Claims                                  Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                         to combine the strip configuration shown in these embodiments with the embodiments shown in Figs. 3, 7-
                                                         11,14, to improve optical and aesthetic properties by adding additional LEDs.

                                                        A POSITA would have found it obvious to combine Suehiro ‘797 with the teachings of Maxik. It would require
                                                        routine engineering and simple substitution to adopt the LEDs and wavelength conversion material into the bulb
                                                        of Maxik. This would yield predictable results of emitting wavelength-converted light emitted from the light
                                                        emitting device.
1[d] a transparent bulb that encloses the board and the Maxik teaches a transparent bulb that encloses the board and the plurality of light emitting element chips.
plurality of light emitting element chips;
                                                        See, e.g., Maxik at [2:38-40]: “The light bulb of the present invention uses an outer bulb housing which may be
                                                        pre-formed with either a glass or a generally transparent or light translucent composition.”

                                                         See, e.g., Maxik at Fig. 1 (bulb 100):




                                                         See also, e.g., Maxik at [4:28-36]:

                                                                                    13


                                                                           Exhibit C, p. 472
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 473 of 954 Page ID
                                                              #:17651



                  Asserted Claims                                 Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797

                                                            Referring to FIG. 1, the present LED light bulb 100 comprises a housing 102 with a base 104
                                                            connected thereto. The housing 102 can be in the form of a standard incandescent light bulb
                                                            housing, or any other desirable form or shape and includes an inside wall 120. The base 104
                                                            normally adopts the form of a conventional Edison base, although any base could be used. The
                                                            housing 102 of the LED light bulb 100 is transparent or at least light translucent.
1[e] support leads that secure the plurality of light Maxik teaches this element.
emitting element chips inside the transparent bulb;
                                                      See, e.g., Maxik at [4:52-55]: “Electrical power is provided to the light emitting elements 108 via electrical
                                                      connectors 112 which connect to each light emitting element 108 and to the base 104.”

                                                        See, e.g., Maxik at [4:55-62]:

                                                              In order to provide power to the light emitting elements 108 which are mounted on the formed
                                                              substrate 106, there is provided, in one aspect of the invention, the support 114 which may be
                                                              suitably connected to the base 104 in such manner that the electrical connectors 112 extending
                                                              upwardly through the Support 114 can provide electrical current to the formed substrate 106 and
                                                              the light emitting elements 108.

                                                        See also, e.g., Maxik at Fig. 1 (electrical connectors 112 and support 114 that secure the plurality of
                                                        light emitting element chips 108 inside the transparent bulb 100):




                                                                                   14


                                                                          Exhibit C, p. 473
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 474 of 954 Page ID
                                                               #:17652



                   Asserted Claims                                    Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                          Maxik discusses that the bulb can be in the form of a “standard incandescent lamp.” Maxik at [4:30-31]. A
                                                          POSITA would have known that, in an incandescent bulb, individual filaments are supported by sets of support
                                                          leads within a bulb, and that the appearance of a traditional incandescent bulb would be emulated by adopting
                                                          this configuration.
1[f] a support base that can be threadedly engaged with Maxik teaches this element.
a conventional light bulb socket along a socket axis; and
                                                          See, e.g., Maxik at [10:28-31]: “The base 104 also generally includes a formed socket a socket piece for inserting
                                                          into a standard Socket, Edison-style or standard electrical Socket or connection.”

                                                           See also, e.g., Maxik at Fig. 1:




                                                                                       15


                                                                              Exhibit C, p. 474
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 475 of 954 Page ID
                                                                #:17653



                    Asserted Claims                                    Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




1[g] a pair of metal plates protruding at both ends of the Maxik discloses this element. See, e.g., Maxik at [4:52-55]:
wavelength conversion member,
                                                                The formed substrate 106 is constructed of flexible material that generally has electrical
                                                                connectors 112 formed within its layered construction, Such as printed circuit board and flexible
                                                                circuit board material, so that it is capable of being bent to a substantial degree without interfering
                                                                with the electrical conductivity of all of the light emitting elements 108 and lensless light emitting
                                                                elements 302 mounted on the surface of the formed substrate 106.

                                                            In addition, it was well known in the art that a pair of metal plates could be the “electrical connectors” that
                                                            connect the light emitting elements to the board 106. See, e.g. Suehiro ‘897 and Suehiro ‘797. Further, a pair of
                                                            metal plates would be required to protrude from both ends of the LEDs to establish contact with the electrical
                                                            circuit to power each LED.

                                                            Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

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                                                                              Exhibit C, p. 475
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 476 of 954 Page ID
                                          #:17654



Asserted Claims                       Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797

                           Suehiro ‘897 teaches that a pair of metal plates protrude from the wavelength conversion member.

                           See, e.g., Suehiro ‘897 at FIG. 13:




                           See, e.g., Suehiro ‘897 at col. 5, lns. 52-59 (explaining the construction of a light emitting device):

                                 Then, the pair of leads 2 is linearly disposed opposite with a given distance. The LED 3 is
                                 mounted on the thinned portion of the leads 2, and the circuit pattern 33 of the LED 3 is solder-
                                 boned to the leads 2. Then, the transparent resin 4 of acrylic resin is injected in injection molding
                                 to seal an exposed part of the LED 3 and a tip portion of the leads 2 and to have the lens surface
                                 41 on the top thereof. Thus, the light emitting device 1 is obtained.

                           See, e.g., Suehiro ‘897 at col. 19, lns. 4-7: “This glass sealed LED can be also overmolded with the transparent
                           resin as described in the earlier embodiment. In this case, the lead 2 for mounting the LED element 31 may be
                           drawn out as a lead from the transparent resin 4.”

                           A POSITA would have found the modification of Ishibashi with Suehiro ‘897 obvious, requiring simple
                           substitution of known components, to produce predictable results.
                           Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                           Suehiro ‘797 similarly teaches a pair of metal plates protruding at both ends of the wavelength conversion
                                                       17


                                             Exhibit C, p. 476
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                                        #:17655



Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           member.

                           See, e.g., Suehiro ‘797 at Fig. 11 (e.g., wiring pattern 91 on ceramic board 9).




                           Similarly, see Suehiro ‘797 at Fig. 9 (e.g., lead frame 5):




                                                       18


                                           Exhibit C, p. 477
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 478 of 954 Page ID
                                                               #:17656



                   Asserted Claims                                    Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                            See also, e.g., Suehiro ‘797 at [0070]:

                                                                  The wavelength conversion portion 2 is composed such that a thin-film phosphor layer 2A is laid
                                                                  between two layers of transparent low-melting glass with a refractive index of 1.5 and the two
                                                                  glass layers are thermally fused to be integrated with the phosphor layer 2A. Further, the
                                                                  wavelength conversion portion 2 is formed into a dome-like optical shape according to a desired
                                                                  light distribution characteristic by hot pressing, and it Seals the LED element 3 while being
                                                                  thermally fused and bonded onto the lead frame 5. The phosphor layer 2A is shaped like a convex
                                                                  polygon to cover the emission observation Surface of LED element 3 in accordance with the
                                                                  formation of wavelength conversion portion 2.

                                                            A POSITA would have found the modification of Maxik with Suehiro ‘797 obvious, requiring simple
                                                            substitution of known components, to produce predictable results.
1[h] wherein the wavelength conversion member is            Maxik discloses this element. See, e.g., Maxik at [9:14-17]. Maxik describes an omni-directional light emitting
provided on the first surface side and the second surface   device that creates white light. See, e.g., Maxik at [1:19-24] and [7:24-40]. In addition, it was well known in the
side, the wavelength conversion member is elongated in      art that circuit boards upon which light emitting elements were fixed would allow light to pass through. Also, To
the longitudinal direction when viewed in plan view of      achieve these objectives, it was well known in the art to use fluorescent transparent resin on the top and bottom
the first surface side of the board,                        surfaces of the board to achieve wavelength conversion in light radiating from both the top and bottom surfaces
                                                            of the board. See, e.g., Suehiro ‘897 and ‘797.

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                                                                              Exhibit C, p. 478
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                                          #:17657



Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797

                           Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                           Suehiro ‘897 teaches this element. See above at 1[c].

                           See, e.g., Suehiro ‘897 at Fig. 13 (having the wavelength conversion member provided on a second surface side
                           and showing a sectional view of a rectangular-shaped resin, which appears elongated in the longitudinal
                           direction, and thus, would also be elongated in the longitudinal direction when viewed in plan view of the first
                           surface side of the board):




                           See, e.g., Suehiro ‘897 at col. 2, lns. 57-59: “Further, the resin for sealing the light-emitting portion can be
                           formed into arbitrary shape and therefore the freedom in shape or formation process can be enhanced.”

                           Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                           Suehiro ‘797 teaches this element as it teaches various embodiments with a gap provided under the LED,
                           allowing light to emit downward. See also above at 1[c].


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                                             Exhibit C, p. 479
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 480 of 954 Page ID
                                          #:17658



Asserted Claims                        Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                           See, e.g., Suehiro ‘797 at Fig. 11:




                           See also, e.g., Suehiro ‘797 at Figs. 3, 5B, 6A, 7-11, 14.

                           In the third embodiment, Suehiro teaches using a sheet of “whitish glass” to utilize light emitted downward from
                           the LED (e.g., through the board submount 4) by reflecting it back upward.

                           See, e.g., Suehiro ‘797 at [0124]:

                                 In addition to the effects of the first embodiment, the third embodiment has an effect that, by
                                 providing the glass Sealing portion 6 of whitish glass to protect the bottom surface of lead frame
                                 5, light heading from the LED element 3 to the bottom side of light emitting device 1 can be
                                 reflected by the whitish glass and radiated in the direction of wavelength conversion portion 2.
                                 Thus, the light radiation efficiency can be enhanced.

                           See also, e.g., Suehiro ‘797 at [0122]-[0123].

                           In other embodiments, the glass sealing portion (6) provided on the bottom of the board (4) is described as the
                           same as that used in the wavelength conversion portion.

                           See, e.g., Suehiro ‘797 at [0074]: “The glass sealing portion 6 is of the same glass material as the low-melting

                                                      21


                                             Exhibit C, p. 480
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 481 of 954 Page ID
                                                               #:17659



                   Asserted Claims                                   Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                          glass to compose the wavelength conversion portion 2. It protects the bottom Surface of lead frame 5 while
                                                          being integrated with the wavelength conversion portion 2 by the hot pressing mentioned above.”

                                                          A POSITA would have understood this to allow light to emit from the bottom of the device, and as emphasizing
                                                          that the wavelength conversion present on the top face of the board also be implemented on the bottom of the
                                                          board.

                                                          See also, e.g., Suehiro ‘797 at [0072].

                                                          Suehiro ‘797 teaches that the wavelength conversion member is elongated in the longitudinal direction when
                                                          viewed in plan view of the first surface side of the board.

                                                          See, e.g., Suehiro ‘797 at Fig. 9:




                                                        See also, e.g., Suehiro ‘797 at Figs. 3-4, 5B, 6A, 6C, 7-16, 18-22, [0199].
1[i] wherein a first set of the light emitting element Maxik teaches this element.
chips are mounted on the first region and arranged from
the center portion of the board to the one of the end See, e.g., Maxik at Figs. 2 and 4:
portions,



                                                                                      22


                                                                             Exhibit C, p. 481
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 482 of 954 Page ID
                                          #:17660



Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                           Figures 2 and 4 shows a first set of the light emitting elements 108 mounted on a first region and arranged from
                                                     23


                                            Exhibit C, p. 482
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 483 of 954 Page ID
                                                               #:17661



                   Asserted Claims                                  Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                         the center portion of the board 106 to one of the end portions 116 (for example, the pair positioned on the left
                                                         along the horizontally-oriented portion of the board 106).
1[j] wherein a second set of the light emitting element Maxik teaches this element.
chips are mounted on the second region and arranged
from the center portion of the board to the other one of See, e.g., Maxik at Figs. 2 and 4:
the end portions, and




                                                                                    24


                                                                           Exhibit C, p. 483
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 484 of 954 Page ID
                                                              #:17662



                  Asserted Claims                                 Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                       Figures 2 and 4 show a second set of the light emitting elements 108 mounted on a second region and arranged
                                                       from the center portion of the board 106 to the other one of the end portions 116 (for example, the pair
                                                       positioned on the right along the horizontally-oriented portion of the board 106).
1[k] wherein the pair of metal plates are electrically Maxik discloses this element. See above at 1[g].
connected with the support base via the support leads.
                                                       Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                                        As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                        device taught in Suehiro ‘897 with the LED bulb taught in Maxik.

                                                        And, as further discussed above at 1[c] and 1[g], Suehiro ‘897 teaches the use of its metal plates for electrical
                                                        connection, while Maxik teaches electrical connection from the support base through support leads. A POSITA
                                                        thus would have found it obvious to combine Suehiro ‘897 with Maxik such that the pair of metal plates are
                                                        electrically connected with the support base via the support leads.

                                                        Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                                                        As discussed above at 1[c] and 1[g], a POSITA would have found it obvious to combine the light emitting
                                                                                  25


                                                                         Exhibit C, p. 484
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 485 of 954 Page ID
                                                              #:17663



                  Asserted Claims                                 Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
                                                        device taught in Suehiro ‘797 with the LED bulb taught in Maxik.

                                                        And, as further discussed above at 1[c] and 1[g], Suehiro ‘797 teaches the use of its metal plates for electrical
                                                        connection, while Maxik teaches electrical connection from the support base through support leads. A POSITA
                                                        thus would have found it obvious to combine Suehiro ‘797 with Maxik such that the pair of metal plates are
                                                        electrically connected with the support base via the support leads.
Claim 3
3. The light emitting device according to claim 1, Maxik teaches this element.
wherein the transparent bulb is made of glass.
                                                     See, e.g., Maxik at [2:38-40]: “The light bulb of the present invention uses an outer bulb housing which may be
                                                     pre-formed with either a glass or a generally transparent or light translucent composition.”
Claim 4
4. The light emitting device according to claim 1, Maxik discloses this element. See above at 1[g] and 1[k].
wherein each of the metal plates crosses the support
lead.                                                Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                                        See above at 1[g] and 1[k]. A POSITA would have understood that it would have been obvious to provide power
                                                        from the support leads to metal plates by physically overlapping the two (e.g., with the metal plates crossing the
                                                        support leads), and would have been motivated to do so to save cost, for ease of manufacturing, and/or to
                                                        achieve desired aesthetic or optical properties.

                                                        Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                                                        See above at 1[g] and 1[k]. A POSITA would have understood that it would have been obvious to provide power
                                                        from the support leads to metal plates by physically overlapping the two (e.g., with the metal plates crossing the
                                                        support leads), and would have been motivated to do so to save cost, for ease of manufacturing, and/or to
                                                        achieve desired aesthetic or optical properties.
Claim 6
6. The light emitting device according to claim 1, Maxik discloses this element. See above at 1[c]. Phosphors were well known and commonly used in the art in
wherein the wavelength conversion member comprises a transparent resin of light emitting devices to convert wavelength. See, e.g., Suehiro 897 and Suehiro ‘797.
phosphor therein.
                                                     Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                                        Suehiro ‘897 teaches this element. See above at 1[c].

                                                        See, e.g., Suehiro ‘897 at Fig. 13 (e.g. phosphor 8 within transparent resin 40):


                                                                                   26


                                                                          Exhibit C, p. 485
        Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 486 of 954 Page ID
                                          #:17664



Asserted Claims                      Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                           See, e.g., Suehiro ‘897 at col. 12, lns. 50-52: “The light emitting device of the thirteenth embodiment is different
                           from that of the sixth embodiment in that a transparent resin 40 contains a phosphor.”

                           Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                           See, e.g., Suehiro ‘797 at Fig. 11 (e.g. element 2A, within element 2):




                                                      27


                                             Exhibit C, p. 486
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 487 of 954 Page ID
                                                            #:17665



                 Asserted Claims                               Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797




                                                    See, e.g., Suehiro ‘797 at [0003]: “The invention relates to a light emitting device where light emitted from a
                                                    light emitting diode (hereinafter referred to as LED) is absorbed and wavelength-converted by phosphor and
                                                    then the wavelength-converted light with a different wavelength is radiated therefrom.”

                                                    See also, e.g., Suehiro ‘797 at Figs. 3-4, 5B-11, 12B-22; [0029]-[0031], [0033], [0034], [0037]-[0042], [0044],
                                                    [0069]-[0070], [0081]-[0089], [0098]-[0099], [0106], [0109]-[0113], [0126]-[0127], [0129]-[0131], [0134],
                                                    [0147]-[0148], [0152], [0154]-[0155], [0159], [0173], [0176], [0179]-[0183], [0187], [0190]-[0195].
Claim 7
7. The light emitting device according to claim 6, Maxik discloses this element. See above at 1[c] and claim 6. A YAG group phosphor was well known and
wherein the phosphor comprises a YAG group commonly used in the art in light emitting devices to convert wavelength. See, e.g., Suehiro ‘897 and Suehiro
phosphor.                                          ’797.

                                                    Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                                    See, e.g., Suehiro ‘897 at col. 12, lns. 53-58:

                                                          The phosphor 8 may be YAG (yttrium aluminum garnet), silicate phosphor, or a mixture thereof.
                                                          The phosphor 8 is composed of one kind or plural kinds of phosphors. For example, a
                                                          combination of plural kinds of phosphors is a phosphor to radiate red light, a phosphor to radiate
                                                          green light
                                                          and a phosphor to radiate blue light.

                                                                                28


                                                                      Exhibit C, p. 487
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 488 of 954 Page ID
                                                              #:17666



                  Asserted Claims                                 Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797

                                                        Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                                                        See, e.g., Suehiro ‘797 at [0111]:

                                                              Since the wavelength conversion portion 2 is fo1med by light emitting device in the third
                                                              preferred embodiment of the sandwiching the thin-film phosphor layer 2A fo1med on the glass
                                                              sheet 201 with the glass sheet 202 and by the1mally fusing them, the shape and thickness of
                                                              phosphor layer 2A can be easily and accurately controlled. Also, the amount of phosphor used
                                                              can be accurately controlled. In case of using an expensive phosphor such as YAG
                                                              (yttriumaluminum-gamet), the cost of light emitting device 1 can be reduced since the wasting of
                                                              phosphor can be prevented.

                                                        See also, e.g., Suehiro ‘797 at [0159], [0180].


                  Asserted Claims                        Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797 and One of Hohn,
                                                                                                 Takashima, and Debray
Claim 11
11. The light emitting device according to claim 6, Maxik discloses this element. See above at 1[c] and claim 6. It was well known in the art that a phosphor having
wherein an average particle size of the phosphor is 3 μm a particle size of 3 μm or more would be advantageous.
or more.
                                                         Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                                        As discussed above (see supra at claim 6), Suehiro ‘897 teaches the use of a phosphor, and it was well known in
                                                        the art that a particle size of 3 μm or more would be advantageous.

                                                        Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                                                        As discussed above (see supra at claim 6), Suehiro ‘797 teaches the use of a phosphor, and it was well known in
                                                        the art that a particle size of 3 μm or more would be advantageous.

                                                        Alternatively, Maxik in view of Suehiro’897 or Suehiro ‘797 and one of Hohn, Takashima, and Debray
                                                        discloses this element.

                                                        See, e.g., Hohn at col. 2, lns. 20-21: “…the luminous substance pigments having grain sizes ≤ 20 μm ...”


                                                                                   29


                                                                          Exhibit C, p. 488
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                                                            See, e.g., Takashima at [17:7-10]: “Particle size of the fluorescent material 11 is preferably in a range from 1 μm
                                                            to 20 μm, more preferably in a range from 2 μm to 8 μm, and most preferably in a range from 5 μm to 8 μm.”
                                                            See, e.g., Debray at Claim 7: “Light source arrangement according to Claim 6, characterized in that the
                                                            luminescent material pigments have grain sizes of ≤ 20 µm …”


                    Asserted Claims                                  Prior Art Reference, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797
Claim 12
12. The light emitting device according to claim 1, Maxik discloses this element. It was well known in the art that circuit elements may either be connected in series
wherein the plurality of light emitting element chips is or in parallel, and thus, the plurality of light emitting elements 108 could be connected in series.
electrically connected in series.
                                                         See, e.g., Maxik at Figs. 2:




Claim 13
13. The light emitting device according to claim 1,         Maxik discloses this element. As discussed above at 1[c], Maxik teaches use of a variety of LEDs, including blue
wherein the plurality of light emitting element chips is    LEDs, and it was well known in the art that the main peak light emission wavelength of blue light includes a
so configured that a main peak light emission               range between 420 nm and 490 nm.
wavelength of the light emitting element is varied within
a range between 420 nm and 490 nm.                          See, e.g., Maxik at [7:24-40]:

                                                                  Any color of LED’s can be used with the present LED light bulb, colored LED’s such as red (R),
                                                                  blue (B), and green (G) can be use in addition to white (W) with the present LED light bulb to
                                                                                       30


                                                                              Exhibit C, p. 489
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                                  #:17668



                         accommodate the desires of the user. For example, mood lighting can be achieved by combining
                         the desired colored LEDs together in the LED light bulb. The end desired light product can be
                         achieved by using the RGBW LEDs to accomplish the desired lighting. By way of illustration, if a
                         3,700 Kelvin color is desired, the mix of the LEDs would be 50 red, 27 green, and 23 blue to
                         achieve this color. In this aspect of the LED light bulb, a designed housing 102 incorporating the
                         proper micro-optics, such as finishes or thin films, mixes the color to provide the desired end
                         product. The number, arrangement, and color selection of the LED’s on the formed substrate 106
                         creates a flexible LED light bulb that can meet the desired lighting requirements of a given
                         situation.

                   Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                   Suehiro ‘897 also teaches the use of blue LEDs and discloses a wavelength within this range. It was well known
                   in the art that the main peak light emission wavelength of blue light includes a range between 420 nm and 490
                   nm.

                   See, e.g., Suehiro ‘897 at col. 20, lns. 59-65: “Upon the supply of power, the LED element 31 of the LED 3
                   emits blue light with an emission wavelength of about 470 nm. This blue light is irradiated to the phosphor layer
                   39 formed on the glass 35, whereby the phosphor is excited and radiates yellow light. The blue light and the
                   yellow light are mixed to develop white light.”

                   See, e.g., Suehiro ‘897 at col. 19, lns. 32-33: “The LED 3 comprises a flip-chip type GaN-based LED element 31
                   to radiate blue light…”

                   See, e.g., Suehiro ‘897 at col. 25, lns. 6-7: “The phosphor layer 39 may be omitted to allow a blue light source.”

                   See also above at 1[c].

                   Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                   Suehiro ‘797 also teaches the use of blue LEDs.

                   See, e.g., Suehiro ‘797 at [0158]: “The LED element 111 is GaN based blue LED element. It may be a GaN
                   based ultraviolet LED element or another LED element other than GaN based LED elements.”

                   See also, e.g., Suehiro ‘797 at [0159].

                   See also, discussion above at 1[c].

                                              31


                                     Exhibit C, p. 490
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 491 of 954 Page ID
                                                              #:17669




                  Asserted Claims                        Prior Art References, Maxik Alone or in View of One of Suehiro ‘897 and Suehiro ‘797 and One of Hohn,
                                                                                                 Takashima, and Debray
Claim 14
14. The light emitting device according to claim 1, Maxik discloses this element as this configuration of nitride semiconductor for use in light emitting devices was
wherein each of the light emitting element chips well known in the art. See, e.g., Maxik at [7:10-13]: (“Generally, these typical LEDs are normally constructed
comprises nitride semiconductor made of InxAlyGa1-x-yN using standard AllnGaN or AllnGaP processes and include a LED chip or die…”).
(0≦x, 0≦y, x+y≦1).
                                                       Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                                        Suehiro ‘897 teaches the use of GaN-based LEDs. See, e.g., Suehiro at col. 4, lns. 64-66: “The LED 3, as shown
                                                        in FIG. 1B, comprises the LED element 31, as a solid-state element, which is of flip-chip type and made of a
                                                        GaN-based semiconductor material….” A POSITA would have understood that the specific claimed GaN-based
                                                        LED would have been obvious to select, as selecting one from a finite number of options.

                                                        Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                                                        Suehiro ‘797 teaches the use of GaN-based LEDs. See, e.g., Suehiro at [0158]: “The LED element 111 is GaN
                                                        based blue LED element. It may be a GaN based ultraviolet LED element or another LED element other than
                                                        GaN based LED elements.” See also, e.g., Suehiro at [0117], [0187]. A POSITA would have understood that the
                                                        specific claimed GaN-based LED would have been obvious to select, as selecting one from a finite number of
                                                        options.

                                                        Alternatively, Maxik in view of one of Suehiro ‘897 and Suehiro ‘797 and one of Hohn, Takashima, and
                                                        Debray discloses this element.

                                                        See, e.g., Hohn at col. 4, lns. 42-45: “Preferably, the casting composition according to the invention is used in a
                                                        radiation-emitting semiconductor body, in particular with an active semiconductor layer or semiconductor layer
                                                        sequence of GaxIn1-xN or Gax Al1-xN …”.

                                                        See, e.g., Takashima at [18:27-31]: “The semiconductor light emitting element capable of emitting light of
                                                        wavelength not longer than 500 nm in ultraviolet to visible region can be made of various semiconductors such
                                                        as BN, SiC, ZnSe, GaN, InCaN, InAlGaN, AlGaN, BalGaN and BinAlGaN.”

                                                        See, e.g., Debray at lns. 115-117: “In connection with the present invention, a luminescence diode chip based on
                                                        GaN or InGaN is to be understood in principle as a luminescence diode chip whose radiation-emitting zone has

                                                                                   32


                                                                         Exhibit C, p. 491
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 492 of 954 Page ID
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                                                          GaN, InGaN and / or related nitrides and mixed crystals based thereon, such as Ga (Al, In) N.”


                    Asserted Claims                               Prior Art Reference, Maxik alone or in view of one of Suehiro ‘897 and Suehiro ‘797
Claim 15
15. The light emitting device according to claim 1, Maxik discloses this element. Rather than individually encapsulate each light emitting element in a fluorescent,
wherein     the    wavelength      conversion member transparent resin, it was well known in the art to encapsulate a plurality of light emitting elements in a single
substantially surrounds the board.                   fluorescent, transparent resin to reduce material costs, simplify manufacturing, reduce manufacturing costs, and
                                                     improve the optical properties of a device. See., e.g., Suehiro ’897 and Suehiro ’797. Also, as explained above at
                                                     1[h], it was well known in the art to include a fluorescent, transparent resin on both the first and second surfaces
                                                     of a board in an omni-directional lighting device.

                                                          Alternatively, Maxik in view of Suehiro ‘897 discloses this element.

                                                          As discussed above at l[c] and l[h], a POSITA would have found it obvious and been motivated to combine
                                                          Maxik and Suehiro ‘897 to incorporate the wavelength conversion member of Suehiro ‘897 with the LED bulb
                                                          of Maxik, and for the wavelength conversion member to be on both sides of the board. Thus, the wavelength
                                                          conversion member substantially surrounds the board.

                                                          See, e.g., Suehiro ‘897 at Fig. 13:




                                                                                      33


                                                                            Exhibit C, p. 492
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                                  #:17671




                   Alternatively, Maxik in view of Suehiro ‘797 discloses this element.

                   As discussed above at l[c] and l[h], a POSITA would have found it obvious and been motivated to combine
                   Maxik and Suehiro ‘797 to incorporate the wavelength conversion member of Suehiro ‘797 with the LED bulb
                   of Maxik, and for the wavelength conversion member to be on both sides of the board. Thus, the wavelength
                   conversion member substantially surrounds the board.

                   See, e.g., Suehiro ‘797 at Fig. 9:




                                               34


                                     Exhibit C, p. 493
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                                                               #:17672




                                                            See also, e.g., Suehiro ‘797 at Figs. 3, 6A, 7-8, 10-11.
Claim 17
17. The light emitting device according to claim 1,         See above at 1[c] and 1[h].
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting
element chips on the first surface side of the board
forwards outside of the light emitting device through the
second surface of the board.
Claim 18
18. The light emitting device according to claim 1,         See above at 1[c] and 1[h].
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light     As discussed above at 1[c], the wavelength conversion member of Suehiro ‘897 and Suehiro ‘797 is capable of
emitting element chips into light with a different          converting light emitted from the LEDs into light with a different wavelength. As such, the converted light with
wavelength such that the converted light with the           the different wavelength is radiated along a first direction from the first surface side of the board to an outer
different wavelength is radiated along a first direction    periphery of the wavelength conversion member, and along a second direction from the second surface of the
from the first surface side of the board to an outer        board to the outer periphery of the wavelength conversion member.
periphery of the wavelength conversion member, and
along a second direction from the second surface of the
board to the outer periphery of the wavelength
conversion member.

                                                                                          35


                                                                              Exhibit C, p. 494
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 495 of 954 Page ID
                                                               #:17673



Claim 19
19. The light emitting device according to claim 1, Maxik teaches this element.
wherein all light emitting element chips mounted on the
first surface side of the board are aligned along a line. See, e.g., Maxik at Fig. 1 (for example, showing that all of the light emitting element chips 108 mounted on the
                                                          first surface side of the board 106 are aligned along a line (from an end portion 116 to another end portion 116)):




Claim 20
20. The light emitting device according to claim 1, See above at l[c] and l[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface
side of the board.
Claim 21
21. The light emitting device according to claim 19, See above at l[c] and l[h].
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface
side of the board.
Claim 22
22. The light emitting device according to claim 1, See above at 1[i], l[j], and claim 19.
                                                                                      36


                                                                             Exhibit C, p. 495
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 496 of 954 Page ID
                                                             #:17674



wherein the first set of light emitting element chips and
the second set of light emitting element chips are
aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion
member.
Claim 24
24. The light emitting device according to claim 1,          See above discussion at 1[e]-1[g].
wherein one of the support leads is positioned between
one of the metal plates and the support base.
Claim 25
25. The light emitting device according to claim 1,          See above at claim 19.
wherein all of the light emitting element chips mounted
on the first surface side of the board are aligned along a
single line when viewed in plan view of the first surface
side of the board.
Claim 27
27. A light emitting device comprising:                      See above at 1[pre].
[27a] through [27j]                                          See above at 1[a] through 1[j].

[27k] wherein one of the support leads is positioned         See above at claim 24.
between one of the metal plates and the support base.




                                                                                        37


                                                                            Exhibit C, p. 496
                               Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 497 of 954 Page ID
                                                                 #:17675



                                                                                       Exhibit H

                                                                                         Minato

       Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ‘734 Patent are invalid as anticipated under 35 U.S.C. § 102 by Japanese Publication No. 2001-126515 to
Minato (“Minato”). Specifically, Minato directly or inherently, based on the presumed knowledge of a POSITA, discloses each and every limitation of the these claims.

                    Asserted Claims                                                                    Prior Art Reference, Minato
Claim 1
1[pre]. A light emitting device comprising:                 To the extent the preamble is limiting, Minato discloses a light emitting device.

                                                            See, e.g., Minato at [Problem]: “To provide a lighting device using an LED that emits light in all directions, that
                                                            is, over 360 degrees.”

                                                             See, e.g., Minato at [0001]: “The present invention relates to a lighting device using a light-emitting unit such as
                                                             a light-emitting diode (LED) and, more specifically, to a lighting device using an LED that emits light in all
                                                             directions, that is, over 360 degrees.”
1[a] a board having end portions and a center portion Minato teaches this element.
therebetween in a longitudinal direction, the board
having a first surface on a first surface side thereof and a See, e.g., Minato at Fig. 2 (at transparent substrate 21):
second surface on a second surface side thereof, the
second surface being an opposite side to the first
surface, the first surface including a first region and a
second region, the first region extending from the center
portion of the board to one of the end portions, the
second region extending from the center portion of the
board to the other of the end portions;




                                                                                Exhibit C, p. 497
                           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 498 of 954 Page ID
                                                             #:17676



                   Asserted Claims                                                                   Prior Art Reference, Minato




1[b] a plurality of light emitting element chips mounted Minato teaches this element.
on the first surface side of the board;
                                                         See, e.g., Minato at Fig. 2 (at LED chips 25, 26, 27 mounted on the first surface side of the substrate 21):




                                                                                       2


                                                                           Exhibit C, p. 498
                          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 499 of 954 Page ID
                                                            #:17677



                  Asserted Claims                                                                Prior Art Reference, Minato




1[c] a wavelength conversion member formed unitarily Minato teaches a transparent member that seals the plurality of light emitting element chips.
with a transparent member that seals the plurality of
light emitting element chips;                         See, e.g., Minato at Fig. 2:




                                                                                   3


                                                                        Exhibit C, p. 499
                            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 500 of 954 Page ID
                                                              #:17678



                   Asserted Claims                                                                  Prior Art Reference, Minato




                                                         See., e.g., Minato at [0011] (at transparent or translucent resin material 34):

                                                               In a lighting device 20 using three LEDs, three LED chips 25, 26, 27 are mounted, respectively,
                                                               on first to third conductor portions 22, 23, 24 formed on an insulating transparent substrate 21,
                                                               the surface electrodes of LED chips are connected to the second and third conductor portions 23,
                                                               24 of the adjacent LED chips via wires 28, 29 and the surface electrode of LED chip 27 is
                                                               connected via wiring 31 to the fourth conductor portion 30 formed on the end of the transparent
                                                               substrate 21 so that the three LED chips are connected in series, leads 32, 33 are provided on the
                                                               first and fourth conductor portions 22, 30, and an oval-shaped transparent or translucent resin
                                                               material 34 having lens action is formed so as to cover the transparent substrate 21 having the
                                                               LED chips 25, 26, 27 and some of the leads 32, 33.

                                                        Minato discloses a wavelength conversion member formed unitarily with a transparent member. Minato explains
                                                        a lighting device using LEDs 25, 26, 27 encapsulated in a transparent or translucent resin material 34. It was
                                                        well known in the art that these types of light emitting devices commonly included blue LEDs in combination
                                                        with a wavelength conversion member, such as a phosphor, to create white light. See, e.g., U.S. Patent No.
                                                        7,875,897 and U.S. Patent Publication No. 2004/0257797.
1[d] a transparent bulb that encloses the board and the Minato discloses this element. See, e.g., Minato at [0001]: “The present invention relates to a lighting device
                                                                                     4


                                                                           Exhibit C, p. 500
                              Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 501 of 954 Page ID
                                                                #:17679



                     Asserted Claims                                                                     Prior Art Reference, Minato
plurality of light emitting element chips;                   using a light-emitting unit such as a light-emitting diode (LED) and, more specifically, to a lighting device using
                                                             an LED that emits light in all directions, that is, over 360 degrees.” Moreover, use of bulbs for light emitting
                                                             devices goes back over 100 years to the incandescent light bulb and was well known in the art. See, e.g., U.S.
                                                             Patent Application Publication No. 20030031015A1 and U.S. Patent No. 7,086,756.
1[e] support leads that secure the plurality of light        Minato discloses this element. The light emitting device, such as that depicted in Figure 2, includes support
emitting element chips inside the transparent bulb;          leads as the LEDs are affixed to the board. Indeed, such leads were well known in conjunction with light
                                                             emitting devices, particularly those utilizing LEDs. See, e.g., U.S. Patent Application Publication No.
                                                             20030031015A1 and U.S. Patent No. 7,086,756.
1[f] a support base that can be threadedly engaged with      Minato discloses this element. Use of LEDs within bulbs to emulate incandescent light bulbs was well known in
a conventional light bulb socket along a socket axis; and    the art. See, e.g., U.S. Patent Application Publication No. 20030031015A1 and U.S. Patent No. 7,086,756. Such
                                                             configurations used a support base that could be threadedly engaged with a conventional light bulb socket along
                                                             a socket axis. Id. In addition, as indicated in the claim, such sockets were “conventional” and a natural
                                                             application for any light emitting devices.
1[g] a pair of metal plates protruding at both ends of the   Minato discloses this element. Use of a transparent resin to encapsulate a plurality of LEDs is taught in Minato.
wavelength conversion member,                                See above at 1[c]. Use of such configurations within bulbs to emulate incandescent light bulbs was well known
                                                             in the art. See, e.g., U.S. Patent No. 4,211,955 and U.S. Patent No. 6,568,834. It was also well known in the art
                                                             that such configurations would include a pair of metal plates protruding at both ends of the wavelength
                                                             conversion member to establish contact with a circuit to provide power to the LEDs. See, e.g., Suehiro ‘897 and
                                                             Suehiro ‘797.
1[h] wherein the wavelength conversion member is             Minato teaches that the wavelength conversion member is provided on the first surface side and the second
provided on the first surface side and the second surface    surface side, the wavelength conversion member is elongated in the longitudinal direction when viewed in plan
side, the wavelength conversion member is elongated in       view of the first surface side of the board. See, e.g., Minato at [0001]: “The present invention relates to a lighting
the longitudinal direction when viewed in plan view of       device using a light-emitting unit such as a light-emitting diode (LED) and, more specifically, to a lighting
the first surface side of the board,                         device using an LED that emits light in all directions, that is, over 360 degrees.”

                                                             See above at 1[c].

                                                             See, e.g., Minato at Fig. 4:




                                                                                            5


                                                                                  Exhibit C, p. 501
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 502 of 954 Page ID
                                                               #:17680



                   Asserted Claims                                                                  Prior Art Reference, Minato




1[i] wherein a first set of the light emitting element Minato teaches this element.
chips are mounted on the first region and arranged from
the center portion of the board to the one of the end See, e.g., Minato at Fig. 4:
portions,




                                                         Figure 4 shows a first set of the light emitting elements 52 (for example, the left two mounted on the top surface)
                                                         mounted on a first region and arranged from the center portion of the board 51 to one of the end portions.
1[j] wherein a second set of the light emitting element Minato teaches this element.
chips are mounted on the second region and arranged
from the center portion of the board to the other one of See, e.g., Minato at Fig. 4:
the end portions, and




                                                                                      6


                                                                            Exhibit C, p. 502
                             Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 503 of 954 Page ID
                                                               #:17681



                   Asserted Claims                                                                Prior Art Reference, Minato




                                                         Figure 4 shows a second set of the light emitting elements 52 (for example, the right two mounted on the top
                                                         surface) mounted on a second region and arranged from the center portion of the board 51 to the other one of the
                                                         end portions.
1[k] wherein the pair of metal plates are electrically Minato discloses this element. See above at 1[e] and 1[g]. In order to establish an electrical connection between
connected with the support base via the support leads.   the metal plates and the support base, these elements must connect to one another.
Claim 3
3. The light emitting device according to claim 1, Minato discloses this element. Use of LEDs within bulbs to emulate incandescent light bulbs was well known in
wherein the transparent bulb is made of glass.           the art. See, e.g., U.S. Patent Application Publication No. 20030031015A1 and U.S. Patent No. 7,086,756.
                                                         Indeed, enclosure of light emitting devices in glass casings such as bulbs would be known to a POSITA.
Claim 4
4. The light emitting device according to claim 1, Minato discloses this element. See above at 1[g] and 1[k].
wherein each of the metal plates crosses the support
lead.
Claim 6
6. The light emitting device according to claim 1, Minato discloses this element. See above at 1[c]. Phosphors were widely used in the transparent resin of light
wherein the wavelength conversion member comprises a emitting devices to convert wavelength. See, e.g., U.S. Patent No. 7,875,897 and U.S. Patent Publication No.
phosphor therein.                                        2004/0257797.
Claim 7
7. The light emitting device according to claim 6, Minato discloses this element. See above at 1[c] and claim 6. A YAG group phosphor was commonly used in
wherein the phosphor comprises a YAG group light emitting devices to convert wavelength. See, e.g., U.S. Patent No. 7,875,897 and U.S. Patent Publication
phosphor.                                                No. 2004/0257797.
Claim 11
11. The light emitting device according to claim 6, Minato discloses this element. See above at 1[c] and claim 6. It was well known in the art that a phosphor having
wherein an average particle size of the phosphor is 3 μm a particle size of 3 μm or more would be advantageous.

                                                                                    7


                                                                           Exhibit C, p. 503
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                    Asserted Claims                                                          Prior Art Reference, Minato
or more.
Claim 12
12. The light emitting device according to claim 1, Minato teaches that the plurality of LEDs is electrically connected in series.
wherein the plurality of light emitting element chips is
electrically connected in series.                        See, e.g., Minato at [0011]:

                                                                  In a lighting device 20 using three LEDs, three LED chips 25, 26, 27 are mounted, respectively,
                                                                  on first to third conductor portions 22, 23, 24 formed on an insulating transparent substrate 21,
                                                                  the surface electrodes of LED chips are connected to the second and third conductor portions 23,
                                                                  24 of the adjacent LED chips via wires 28, 29 and the surface electrode of LED chip 27 is
                                                                  connected via wiring 31 to the fourth conductor portion 30 formed on the end of the transparent
                                                                  substrate 21 so that the three LED chips are connected in series, leads 32, 33 are provided on the
                                                                  first and fourth conductor portions 22, 30, and an oval-shaped transparent or translucent resin
                                                                  material 34 having lens action is formed so as to cover the transparent substrate 21 having the
                                                                  LED chips 25, 26, 27 and some of the leads 32, 33.
Claim 13
13. The light emitting device according to claim 1,         Minato discloses this element. See above at 1[c]. Indeed, a POSITA would understand that an initial limitation of
wherein the plurality of light emitting element chips is    LEDs was their color such that mechanisms were needed for conversion. Blue LEDs were well known in the art
so configured that a main peak light emission               and commonly used in such applications. Thus, it was also well known in the art that the main peak light
wavelength of the light emitting element is varied within   emission wavelength of blue light includes a range between 420 nm and 490 nm.
a range between 420 nm and 490 nm.
Claim 14
14. The light emitting device according to claim 1,         Minato discloses this element as this configuration of nitride semiconductor for use in light emitting devices was
wherein each of the light emitting element chips            well known in the art. See, e.g., U.S. Patent No. 7,875,897 and U.S. Patent Publication No. 2004/0257797.
comprises nitride semiconductor made of InxAlyGa1-x-yN
(0≦x, 0≦y, x+y≦1).
Claim 15
15. The light emitting device according to claim 1,         Minato teaches this element.
wherein     the    wavelength      conversion    member
substantially surrounds the board.                          See above at 1[c].

                                                            See, e.g., Minato at Figs. 2, 4, and 5 (showing that the transparent resin 34 substantially surrounds the board):




                                                                                        8


                                                                              Exhibit C, p. 504
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                                        #:17683



Asserted Claims                                          Prior Art Reference, Minato




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                                     Exhibit C, p. 505
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                  Asserted Claims                                                             Prior Art Reference, Minato




Claim 17
17. The light emitting device according to claim 1, Minato teaches this element.
wherein the board is configured to be transparent so that
a light emitted from the plurality of light emitting See, e.g., Minato at Fig. 2 (showing light forwarding outside of the light emitting device through the second
element chips on the first surface side of the board surface of the board):
forwards outside of the light emitting device through the
second surface of the board.



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                                                                        Exhibit C, p. 506
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                                                               #:17685



                   Asserted Claims                                                                  Prior Art Reference, Minato




Claim 18
18. The light emitting device according to claim 1, Minato discloses this element. See above at 1[c] and 1[h].
wherein the wavelength conversion member is capable
of converting light emitted from the plurality of light
emitting element chips into light with a different
wavelength such that the converted light with the
different wavelength is radiated along a first direction
from the first surface side of the board to an outer
periphery of the wavelength conversion member, and
along a second direction from the second surface of the
board to the outer periphery of the wavelength
conversion member.
Claim 19
19. The light emitting device according to claim 1, Minato teaches this element.
wherein all light emitting element chips mounted on the
first surface side of the board are aligned along a line. See, e.g., Minato at Figs. 2, 4, and 5 (showing all light emitting element chips mounted on the first surface side
                                                          of the board are aligned along a line):




                                                                                     11


                                                                            Exhibit C, p. 507
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Asserted Claims                                          Prior Art Reference, Minato




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                                     Exhibit C, p. 508
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                   Asserted Claims                                                                Prior Art Reference, Minato




Claim 20
20. The light emitting device according to claim 1, Minato teaches this element.
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface See above at 1[c].
side of the board.
                                                          See, e.g., Minato at Figs. 2, 4, and 5 (showing the transparent resin material 34, 55, and 63 sealing all light
                                                          emitting element chips mounted on the first surface side of the board):



                                                                                    13


                                                                           Exhibit C, p. 509
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Asserted Claims                                          Prior Art Reference, Minato




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                                     Exhibit C, p. 510
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                                                                #:17689



                   Asserted Claims                                                                   Prior Art Reference, Minato




Claim 21
21. The light emitting device according to claim 19, Minato teaches this element.
wherein the wavelength conversion member seals all
light emitting element chips mounted on the first surface See above at 1[c].
side of the board.
                                                          See, e.g., Minato at Figs. 2, 4, and 5 (showing the transparent resin material 34, 55, 63 sealing all light emitting
                                                          element chips mounted on the first surface side of the board):



                                                                                      15


                                                                             Exhibit C, p. 511
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Asserted Claims                                          Prior Art Reference, Minato




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                                     Exhibit C, p. 512
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                  Asserted Claims                                                               Prior Art Reference, Minato




Claim 22
22. The light emitting device according to claim 1, Minato teaches this element. See above at 1[i], l[j], and claim 19.
wherein the first set of light emitting element chips and
the second set of light emitting element chips are
aligned along substantially a single line that extends in
the longitudinal direction of the wavelength conversion
member.
Claim 24
24. The light emitting device according to claim 1, Minato discloses this element. See above discussion at 1[e]-1[g].
wherein one of the support leads is positioned between
                                                                                  17


                                                                       Exhibit C, p. 513
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                     Asserted Claims                                                         Prior Art Reference, Minato
one of the metal plates and the support base.
Claim 25
25. The light emitting device according to claim 1, Minato teaches this element. See above at claim 19.
wherein all of the light emitting element chips mounted
on the first surface side of the board are aligned along a
single line when viewed in plan view of the first surface
side of the board.
Claim 27
27. A light emitting device comprising:                    See above at 1[pre].
[27a] through [27j]                                        See above at 1[a] through 1[j].

[27k] wherein one of the support leads is positioned    See above at claim 24.
between one of the metal plates and the support base.




                                                                                 18


                                                                      Exhibit C, p. 514
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         EXHIBIT D




                               Exhibit D, p. 515
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  17                          UNITED STATES DISTRICT COURT
  18                     CENTRAL DISTRICT OF CALIFORNIA
  19   NICHIA CORPORATION,                    CASE NO. 2:20-cv-00359-GW-E
  20             Plaintiff,                   Honorable George Wu, Ctrm. 9D
  21               v.                         Magistrate Charles F. Eick
  22   FEIT ELECTRIC COMPANY,                 OPENING EXPERT REPORT OF DR.
  23   INC.,                                  MICHAEL S. LEBBY

  24             Defendant.

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                                  Exhibit D, p. 516
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   1   I.      INTRODUCTION & QUALIFICATIONS
   2           1.      My name is Michael S. Lebby. I have been retained as an expert by
   3   counsel for Defendant Feit Electric Company, Inc. (“Feit Electric”) in connection
   4   with a patent infringement suit relating to U.S. Patent No. 9,752,734 (the “’734
   5   Patent”) initiated by Plaintiff Nichia Corporation (“Nichia”) before the United
   6   States District Court for the Central District of California.
   7           2.      I have been informed that in this matter, Nichia asserts that Feit
   8   Electric infringes claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 of the ’734
   9   Patent (collectively, the “Asserted Claims”), and that Feit Electric denies
  10   infringement and asserts the Asserted Claims are invalid and unenforceable.
  11           3.      I have been asked to opine on the validity/invalidity of the Asserted
  12   Claims of the ’734 Patent. My analysis in this report relates only to the Asserted
  13   Claims. I reserve the right to address additional claims should they become
  14   relevant to this matter.
  15           4.      This report contains a statement of the opinions that I have formed
  16   regarding the validity/invalidity of the Asserted Claims of the ’734 Patent to date
  17   and provides the bases and reasons for my opinions. In connection with those
  18   opinions, I understand the parties’ definitions of the level of skill of a person of
  19   ordinary skill in the art (“POSA”) and the disputed claim terms. I may offer
  20   additional opinions based on further review of materials in this case, including
  21   opinions and/or testimony of other experts, including Dr. Christian Wetzel.
  22           5.      I am being compensated for my time in connection with this matter at
  23   my standard hourly rate of $400/hour. My compensation is not affected by my
  24   opinions or the outcome of this action. I do not have any financial interest in the
  25   outcome of this action.
  26           6.      I reserve the right to amend and/or supplement my opinions to
  27   respond to any declarations, reports, or testimony from any of Nichia’s experts or
  28   witnesses; any briefs or pleadings that Nichia may file; and any other matters

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   1   relating to validity/invalidity of the ’734 Patent, the level of skill of a POSA, and
   2   the interpretation of disputed claim terms. I also reserve the right to prepare and
   3   rely on demonstrative exhibits concerning the opinions and their bases as an aid for
   4   trial or to assist the District Court Judge with this action.
   5   II.     SUMMARY OF MY QUALIFICATIONS
   6           A.      Education, Employment, and Research
   7           7.      I am currently the CEO of Lightwave Logic, a company engaged in
   8   developing optical polymer modulators for the fiber optic communications
   9   industry. I am also the CEO and CTO of Oculi LLC, where I perform expert
  10   witness consulting concerning photonics, optoelectronics, semiconductors, and
  11   fiber optic telecommunications technology. I am also currently a technical expert
  12   for the Photonics Unit of the European Commission, where I participate in
  13   organizing workshops and lectures, evaluating photonics proposals, and advising
  14   the European Commission on projects. I was voted the Photonic Integrated Circuits
  15   Conference Entrepreneur and Business Leader of the Year in March 2018.
  16           8.      A copy of my curriculum vitae (CV) is attached as Appendix A. As
  17   set forth more fully in my CV, over the course of my 40-year career in
  18   optoelectronics, I have worked in nearly every aspect of optoelectronics, including
  19   light-emitting diodes (“LEDs”), LED packaging, and light extraction. Accordingly,
  20   I have experience and expertise relating to epitaxial wafer growth, LED/device
  21   fabrication, implementation of LEDs/devices into packages, and packaging
  22   materials such as plastics, metallic-based, semiconductor-based, and ceramic-
  23   based. I have also designed LED/device packages (e.g., through-pin, surface
  24   mount, flip-chip, and various combinations thereof) for printed circuit board
  25   mounting. Many of the designed packages were implemented into modules and
  26   sub-system/luminaire applications, i.e., fixtures in which LED packages are
  27   incorporated. The modules have been fiber-optic, display, lighting, and sensing
  28   based. In particular, I have designed optoelectronic devices such as LEDs, laser

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   1   diodes, photodiodes, and solar cells with a focus on efficient optical device design
   2   that maximizes LED/device performance. For example, I have worked on
   3   improving light extraction efficiency from LEDs.
   4           9.      I am a chartered engineer in the United Kingdom, which is a status
   5   equivalent to a United States professional engineer. I started my career in 1977 at
   6   the Ministry of Defence (United Kingdom) in the Royal Electrical and Mechanical
   7   Engineer division as a telecommunications apprentice. At the Ministry of Defence,
   8   I also studied material and characterization issues of Gallium Arsenide (GaAs) and
   9   Indium Phosphide (InP) optoelectronic devices as well as semiconductor device
  10   design, fabrication, and characterization, particularly with materials using III-V
  11   semiconductors. I also worked on ceramic-based radiofrequency (RF) electronic
  12   packaging that included low-temperature co-fired ceramic.
  13           10.     I attended the University of Bradford, where I obtained a Bachelor of
  14   Engineering (Electrical Engineering), with honors, in 1984, an MBA in 1985, and
  15   a Ph.D. (Electrical Engineering) in 1987. My Ph.D. thesis related to the
  16   characterization        and    fabrication   of      both   optoelectronic   and   electronic
  17   semiconductor devices. In 2004, I was awarded a Doctor of Engineering (a
  18   Doctorate degree higher than a Ph.D.) from the University of Bradford for my
  19   “Technical Contributions to Optoelectronics.” This was only the second time in the
  20   University of Bradford’s history that a Doctor of Engineering was granted based
  21   on industry experience.
  22           11.     At the same time I attended the University of Bradford, and afterward
  23   from 1985 to 1989, I worked as a researcher in the Photonics Research Department
  24   of AT&T Bell Labs (“Bell Labs”). At Bell Labs, I focused my research on novel
  25   device designs using III-V semiconductor material systems that included FETs,
  26   bipolar transistors, LEDs, laser diodes, and photodetectors. My research at Bell
  27   Labs became the subject of my Ph.D. thesis.
  28

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   1           12.     After I completed my Ph.D. at the University of Bradford and my
   2   work at Bell Labs, I became a Research and Development Manager (“R&D
   3   Manager”) in the photonics division of Motorola’s Corporate R&D Labs
   4   (“Motorola”) from 1989 to 1998. My responsibilities at Motorola included research
   5   and development of optical interconnects, displays, LEDs, and laser devices, as
   6   well as the packaging and reliability of mobile product prototypes. While at
   7   Motorola, I was the inventor or co-inventor of over 150 utility patents. In 1998, I
   8   received a special award from the Chairman of Motorola for exemplary patent
   9   accomplishments. At that time, I had the highest number of issued utility patents in
  10   the history of Motorola.
  11           13.     LEDs, LED packaging, and light extraction were an integral part of
  12   my work at Motorola. In the early 1990s, full LED color displays were not viable.
  13   Mature LED technologies at the time included Phosphide (Gallium Arsenide
  14   Phosphide (GaAsP) and/or Aluminum Indium Gallium Phosphide (AlInGaP)) and
  15   Aluminum Gallium Arsenide (AlGaAs)-based materials that produced visible red
  16   and orange colors with good emission properties. Green wavelength Gallium
  17   Phosphide (GaP)-based LEDs had low emission output, and blue wavelength
  18   emission LEDs were only available using pure Silicon Carbide (SiC) on Silicon
  19   Carbide (SiC) substrate wafers, with extremely low emission output. I worked
  20   closely with Motorola’s mobile divisions on new and novel display prototypes to
  21   research and develop how best to innovate with full color red, green, and blue
  22   displays. In the early 1990s, single (red wavelength) and dual (orange and red
  23   wavelength) color displays were designed and made into LED packaged
  24   prototypes. After consumer testing, it was found that full color displays were more
  25   attractive and then a number of alternative technologies were evaluated, such as
  26   Liquid Crystal Displays (LCDs), organic LEDs (OLEDs), and, in the late 1990s,
  27   Gallium Nitride (GaN) and Indium Gallium Nitride (InGaN) materials grown on
  28   sapphire. I designed packages for these devices, which included standard

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   1   Transistor Output (TO) cans, over-molded plastic dual inline (DIL) solutions, and
   2   ceramic and semiconductor-based technology.
   3           14.     As an R&D Manager at Motorola, I worked on a number of other
   4   projects, with a particular interest in miniature displays using technologies such as
   5   LEDs, organic LEDs, lasers, and LCDs, as well as technological problems related
   6   to package lenses and molding unique and innovative shapes. One of the devices I
   7   worked on at Motorola was the Vertical-Cavity Surface-Emitting Laser
   8   (“VCSEL”). This device design required special attention to optical efficiency and
   9   distributed Bragg reflectors (“DBR”), as well as transparent packaging similar to
  10   the approach in LED packaging. I also initiated Motorola’s work in optical
  11   interconnect (Optobus™) technology, and I was involved in research and
  12   development of the IC chip designs that this parallel interconnect module utilized.
  13   In this project, transparent plastics were developed and process overmolded onto
  14   standard metallic lead frames for both light-emitting devices (e.g., LEDs,
  15   VCSELs) as well as photodetectors, which collect light and convert it into an
  16   electronic signal. These transparent lead frame packages were developed in volume
  17   production at Motorola.
  18           15.     I also worked on GaAs-based LED opto-couplers, which are
  19   optoelectronic packages that optically isolate the LED from a photodetector in a
  20   plastic package. These optoelectronic packages are usually designed with either a
  21   glass transparent plate or transparent organic polymer positioned between the LED
  22   and the photodetector. My work at Motorola also addressed full color display and
  23   display electronics composed of red, green and blue LEDs, and specifically how to
  24   package these technologies to allow for high electrical, optical, and thermal
  25   performance. I also worked with displays that included large arrays of visible
  26   LEDs (i.e., 10,000 LEDs on a chip) and phosphor technology. I also worked on
  27   photonics prototypes, which were subject to optimized optical device design and
  28   optical/transparent packaging, and consumer products that utilized LEDs in opto-

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   1   coupler, display and imager platforms that were all driven using standard
   2   electronic ICs and electronic signaling, as well as packages that included
   3   transparent plastic packaging varieties where the transparent plastic material was
   4   molded to a variety of conventional stamped metallic lead frames and flexible tape
   5   automated bonding (TAB) using materials such as Kapton®.
   6           16.     In 1998, I left Motorola to join TE Connectivity (previously Tyco
   7   Electronics) as Director of Technology and Business Development, where I helped
   8   develop technology strategy for optical communications products for the Global
   9   Optoelectronics Division. My work included designing and characterizing LED-
  10   and laser-based packages and modules for customer qualification specifications.
  11           17.     In 1999, I joined Intel Capital (“Intel”) as Director of Business
  12   Development, and also as a corporate investor. My work at Intel included sourcing,
  13   negotiating, and closing private placement equity deals in the optical networking,
  14   component, and semiconductor industries. My work at Intel also included
  15   investigating the investment in photonic devices, packaging and modules, as well
  16   as LEDs, lasers, and displays. I also was one of the founders of Intel’s silicon
  17   photonics division, which worked to establish a fabrication facility in South San
  18   Jose to investigate the integration of silicon FET electronics with optoelectronics
  19   into the same silicon semiconductor wafer.
  20           18.     From 2005 to 2010, I became the Executive Director, President, and
  21   CEO of the Optoelectronic Industry Development Association (OIDA), a trade
  22   association that represented photonics manufacturers in the fields of fiber optics,
  23   display, sensing, defense, aerospace, LED lighting and motor vehicles. I was
  24   responsible for organizing technical conferences, workshops and forecasts using
  25   industry roadmaps that featured LEDs, fiber optics, optics, fiber, optical sensors,
  26   displays and their associated packaging.
  27           19.     In 2010, I became the General Manager and CTO of Translucent, Inc.,
  28   a start-up company that developed and manufactured silicon and rare earth oxide-

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   1   based epitaxial semiconductor wafers. Part of my work there was to help develop
   2   novel platforms for the growth of GaN and InGaN onto silicon and the growth of
   3   single crystal layers of GaN/InGaN/AlN onto single crystal rare earth oxides for
   4   LED fabrication. I also researched various epitaxial semiconductor layer structures
   5   for improved LED performance during my time at Translucent.
   6           20.      I joined Glyndŵr University from 2013 to 2015 as a Professor of
   7   Optoelectronics, where I focused on the design, simulation and testing of
   8   100G/400G photonic integrated circuits, optoelectronic integrated circuits, laser
   9   diodes, optics and solar cells.
  10           21.      From 2013 to 2015, I was also the President and CEO of OneChip
  11   Photonics Corporation, where I served as an elected independent board member
  12   focusing on the technical and business operational strategy for communications
  13   based on InP photonic integrated circuits and optoelectronic integrated circuits.
  14           22.      Over the course of my career, I have also given a number of peer-
  15   reviewed presentations, speeches, and talks at workshops and conferences,
  16   including on optoelectronic devices, optoelectronic components, and packaging
  17   technology.
  18           B.       Patents
  19           23.      I am a named inventor of over 200 issued patents or published patent
  20   applications, as set forth more fully in my CV. I am a named inventor of the
  21   following exemplary patents relating to LEDs and LED packaging.
  22                 • U.S. Patent No. 5,416,870, entitled “Optoelectronic interface device
  23                    and method with reflective surface,” issued May 16, 1995;
  24                 • U.S. Patent No. 5,708,280, entitled “Integrated electro-optical
  25                    package and method of fabrication,” issued January 13, 1998;
  26                 • U.S. Patent No. 5,358,880, entitled “Method of manufacturing closed
  27                    cavity LED,” issued October 25, 1994;
  28

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   1                 • U.S. Patent No. 5,563,900, entitled “Broad spectrum surface emitting
   2                    LED,” issued October 8, 1996;
   3                 • U.S. Patent No. 5,699,073, entitled “Integrated electro-optical
   4                    package with carrier ring and method of fabrication,” issued
   5                    December 16, 1997;
   6                 • U.S. Patent No. 5,741,724, entitled “Method of growing gallium
   7                    nitride on a spinel substrate,” issued April 12, 1998;
   8                 • U.S. Patent No. 5,739,800, entitled “Integrated electro-optical
   9                    package with LED display chip and substrate with drivers and central
  10                    opening,” issued April 14, 1998;
  11                 • U.S. Patent No. 5,818,404, entitled “Integrated electro-optical
  12                    package,” issued October 6, 1998; and
  13                 • U.S. Patent No. 7,605,531, entitled “Full color display including
  14                    LEDs with rare earth active areas and different radiative transitions,”
  15                    issued October 20, 2009.
  16           C.       Publications
  17           24.      I have authored or co-authored numerous publications, which are set
  18   forth fully in my CV. I am an author or co-author of the below exemplary
  19   publications relating to LEDs and LED packaging.
  20                 • F. Erdem Arkun, Rytis Dargis, Andrew Clark, Robin S. Smith,
  21                    Michael S. Lebby, Jeffrey M. Leathersich and F. Shahedipour-
  22                    Sandvik, Growth of GaN by MOCVD on Rare Earth Oxide on
  23                    Si(111), ECS Transactions, Oct. 31, 2013.
  24                 • Rytis Dargis, Andrew Clark, Erdem Arkun, Radek Roucka, David
  25                    Williams, Robin S. Smith and Michael S. Lebby, Epitaxial Si and
  26                    Gd2O3 Heterostructures – Distributed Bragg Reflectors with Stress
  27                    Management Function for GaN on Si Light Emitting Devices, ECS
  28                    Transactions, 2013.

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   1                 • F. Erdem Arkun, Rytis Dargis, Robin Smith, David Williams, Andrew
   2                   Clark, Michael S. Lebby, Integrated High Reflectivity Silicon
   3                   Substrates for GaN LEDs, Physica Status Solidi, Jan. 13, 2012.
   4                 • David Williams, Andrew Clark, Erdem Arkun, Aleta Jamora, Gary
   5                   Vosters, Michael S. Lebby, Silicon Light Emitting Device Based on
   6                   Rare Earth Oxide Superlattice, 7th IEEE International Conference on
   7                   Group IV Photonics, Beijing, China, Sep. 2010.
   8                 • Wenbin Jiang, Michael S. Lebby, Packaging of Optical Components
   9                   and Systems, Wiley Encyclopedia of Electrical Electronics and
  10                   Engineering, 27 Dec., 1999.
  11                 • Wenbin Jiang, Michael S. Lebby, Semiconductor Laser and Light
  12                   Emitting Diode Fabrication, Handbook of Fiber Optic Data
  13                   Communication, February 2002.
  14           25.     I believe that my education and experience give me expertise, and I
  15   consider myself to be an expert in, the area of LEDs, LED packaging, and light
  16   extraction, including the technologies described and claimed in the ’734 Patent.
  17           D.      Prior Testimony
  18           26.     I have previously served as a testifying expert witness in patent cases
  19   as set forth more fully in my CV.
  20   III.    SUMMARY OF MY OPINIONS
  21           27.     For the reasons described in this expert report, it is my opinion that
  22   the Asserted Claims of the ’734 Patent are invalid because they are anticipated
  23   and/or rendered obvious by the prior art. Furthermore, the Asserted Claims are
  24   invalid because they are indefinite, not enabled, and lack support in the
  25   specification so as to lack written description.
  26           28.     The primary prior art references I have relied on in support of my
  27   opinion are: U.S. Publication Application No. 2004/023942A1 (“Mano”), U.S.
  28   Patent No. 7,086,756 (“Maxik”), U.S. Patent Application Publication No.

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   1   2003/0031015          (“Ishibashi”),   U.S.    Patent   Application   Publication   No.
   2   2004/0008525 (“Shibata”), U.S. Patent No. 7,875,897 (“Suehiro”), JP Publication
   3   No. JP2003249692A (“Yamazaki”), and JP Publication No. JP2000277808A
   4   (“Okamoto”). I have also relied on the additional prior art references identified in
   5   this report.
   6           29.     In my opinion, Mano anticipates and/or renders obvious all of the
   7   Asserted Claims in the ’734 Patent. Mano pre-dates the ’734 Patent because it was
   8   filed on December 3, 2003 and published on December 2, 2004, which predates the
   9   priority date of the ’734 Patent by more than one year.1 Therefore, I understand
  10   that Mano is prior art to the ’734 Patent.
  11           30.     In my opinion, Maxik anticipates and/or renders obvious all of the
  12   Asserted Claims in the ’734 Patent. Maxik pre-dates the ’734 Patent because it was
  13   filed on August 9, 2004 and published on September 22, 2005, which predates the
  14   priority date of the ’734 Patent by more than one year. Therefore, I understand that
  15   Maxik is prior art to the ’734 Patent.
  16           31.     In my opinion, Ishibashi anticipates and/or renders obvious all of the
  17   Asserted Claims in the ’734 Patent. Ishibashi pre-dates the ’734 Patent because it
  18   was filed on May 16, 2002 and issued on February 13, 2003, which predates the
  19   priority date of the ’734 Patent by more than one year. Therefore, I understand that
  20   Ishibashi is prior art to the ’734 Patent.
  21           32.     In my opinion, Shibata anticipates and/or renders obvious all of the
  22   Asserted Claims in the ’734 Patent. Shibata pre-dates the ’734 Patent because it
  23   was filed on August 3, 1999 and issued on October 30, 2001, which predates the
  24   priority date of the ’734 Patent by more than one year. Therefore, I understand that
  25   Shibata is prior art to the ’734 Patent.
  26
  27   1
         The earliest effective filing date of the ’734 Patent is December 14, 2006, which
  28   is prior to March 16, 2013, and therefore 35 U.SC. pre-AIA applies and any
       reference herein to such statute is understood to be 35 U.SC. pre-AIA.
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   1           33.     In my opinion, Suehiro anticipates and/or renders obvious all of the
   2   Asserted Claims in the ’734 Patent. Suehiro pre-dates the ’734 Patent because it
   3   was filed on September 8, 2005, which predates the priority date of the ’734 Patent
   4   by more than one year. Therefore, I understand that Suehiro is prior art to the ’734
   5   Patent.
   6           34.     In my opinion, Yamazaki anticipates and/or renders obvious all of the
   7   Asserted Claims in the ’734 Patent. Yamazaki pre-dates the ’734 Patent because it
   8   was filed on February 25, 2002 and published on September 5, 2003, which
   9   predates the priority date of the ’734 Patent by more than one year. Therefore, I
  10   understand that Yamazaki is prior art to the ’734 Patent.
  11           35.     In my opinion, Okamoto anticipates and/or renders obvious all of the
  12   Asserted Claims in the ’734 Patent. Okamoto pre-dates the ’734 Patent because it
  13   was filed on March 23, 1999 and published on October 6, 2000, which predates the
  14   priority date of the ’734 Patent by more than one year. Therefore, I understand that
  15   Okamoto is prior art to the ’734 Patent.
  16           36.     In my opinion, the ’734 Patent is invalid under 35 U.S.C. 112 for lack
  17   of written description, lack of enablement, and indefiniteness.
  18           A.      Materials Considered
  19           37.     I have considered information from various sources in forming my
  20   opinions. Besides drawing from more than 40 years of experience in
  21   optoelectronics, including LEDs, LED packaging, and light extraction, I have also
  22   reviewed the ’734 Patent, its file history, the parties’ proposed claim constructions,
  23   deposition transcripts of witnesses (including a named inventor of the ’734 Patent),
  24   and numerous prior art references (including those discussed in this report). In
  25   forming my opinions, I have considered the materials listed in Appendix B and all
  26   other materials identified in this report (including the appendices).
  27
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   1           B.      Legal Standards Applied in this Report
   2           38.     I am not an attorney and will not offer opinions on the law. I have,
   3   however, an understanding of several principles concerning invalidity that I have
   4   used in arriving at my stated conclusions in this report.
   5           C.      Overview of the ’734 Patent
   6           39.     The ’734 Patent is entitled “Light Emitting Device” and lists Yuichiro
   7   Tanda and Toshio Matsushita of Japan as the inventors. The application for the
   8   ’734 Patent was filed on August 8, 2016, but I am informed that Nichia asserts
   9   priority to December 14, 2006 based on U.S. Patent 8,366,295. The ’734 Patent
  10   issued on September 5, 2017.
  11           40.     Although titled “Light Emitting Device,” the ’734 Patent does not
  12   cover all light emitting devices or even all LED based light emitting devices.
  13   Indeed, there are innumerable applications, configurations, and types of each. The
  14   ’734 Patent explains one light emitting device with the following general
  15   components: a board, light emitting element chips (or LED chips), a wavelength
  16   conversion member, a transparent blub, support leads, metal plates, and a support
  17   base. Notably, however, these components are not novel to the ’734 Patent. Rather,
  18   they were well known components for LED devices.
  19                   1.       Effective Filing Date
  20           41.     Counsel has explained to me that different effective filing dates may
  21   apply to the ’734 Patent.
  22                   2.       Person of Ordinary Skill in the Art
  23           42.     Having reviewed the ’734 Patent and its prosecution history, in my
  24   opinion, a POSA would have had at least a Ph.D. degree in electrical engineering
  25   or the equivalent, and have mechanical, electrical, thermal and optical expertise in
  26   LED lamp design.
  27           43.     As explained above, I understand that the relevant timeframe runs up
  28   to December 16, 2005.

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   1           44.     As shown in my CV, I have extensive experience in the relevant
   2   technical field (“semiconductor optoelectronic devices and packaging”). Based on
   3   my experience, I have an understanding of the relevant field in the relevant
   4   timeframe.
   5           45.     I consider myself to be a person of at least ordinary skill in the art for
   6   the ’734 Patent. As of 1988, I had a Bachelor’s degree in electrical engineering and
   7   at least three years of professional experience with semiconductor optoelectronics
   8   devices and packaging. As discussed above in detail, I received a Bachelor’s
   9   degree in electrical engineering in 1984, and by no later than 1988, had at least
  10   three years of professional experience with semiconductor optoelectronics devices
  11   and packaging through my Ph.D. and post-doctoral research performed at Bell
  12   Labs (thesis related to the characterization and fabrication of optoelectronic and
  13   electronic semiconductor devices).
  14                   3.       Prosecution History
  15           46.     In preparing my report, I have reviewed the file history for the ’734
  16   Patent as well as the file histories of its parent applications. While I discuss only
  17   portions of the file histories herein, I reserve the right to rely on any other portions
  18   for my opinions.
  19                   4.       Limitations of the ’734 Patent
  20           47.     The ’734 Patent describes various embodiments of a light emitting
  21   device. Independent claims 1 and 27 are reproduced below:
  22
               Claim 1: A light emitting device comprising:
  23                    a board having end portions and a center portion therebetween in a
                            longitudinal direction, the board having a first surface on a first
  24
                            surface side thereof and a second surface on a second surface side
  25                        thereof, the second surface being an opposite side to the first
                            surface, the first surface including a first region and a second
  26                        region, the first region extending from the center portion of the
                            board to one of the end portions, the second region extending from
  27                        the center portion of the board to the other of the end portions;
  28                    a plurality of light emitting element chips mounted on the first surface
                            side of the board;
                                         13
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   1                        a wavelength conversion member formed unitarily with a transparent
                                member that seals the plurality of light emitting element chips;
   2                        a transparent bulb that encloses the board and the plurality of light
                                emitting element chips;
   3                        support leads that secure the plurality of light emitting element chips
   4                            inside the transparent bulb;
                            a support base that can be threadedly engaged with a conventional
   5                            light bulb socket along a socket axis; and
                            a pair of metal plates protruding at both ends of the wavelength
   6                            conversion member,
                            wherein the wavelength conversion member is provided on the first
   7                            surface side and the second surface side, the wavelength
   8                            conversion member is elongated in the longitudinal direction when
                                viewed in plan view of the first surface side of the board,
   9                        wherein a first set of the light emitting element chips are mounted on
                                the first region and arranged from the center portion of the board to
  10                            the one of the end portions,
                            wherein a second set of the light emitting element chips are mounted
  11                            on the second region and arranged from the center portion of the
  12                            board to the other one of the end portions, and
                            wherein the pair of metal plates are electrically connected with the
  13                            support base via the support leads.

  14                      outer, resilient catheter having shape memory and a hook shaped
                             distal end configured for cannulation of the coronary sinus with at
  15
                             least one curved bend;
  16                     an inner, pliable catheter slidably disposed in the outer catheter and of
                             greater length than the outer catheter so that a distal end portion of
  17                         the inner catheter can be extended or retracted from a distal end
                             opening of the outer catheter to vary the overall length of the
  18                         double catheter, the inner catheter having an internal lumen
                             configured for the introduction of contrast media and a pacing lead
  19
                             into the coronary sinus; and
  20                     a mechanism operable from the proximal end of the outer catheter for
                             changing the curvature of the distal end of the outer catheter.
  21           Claim 27: A light emitting device comprising:
                         a board having end portions and a center portion therebetween in a
  22                         longitudinal direction, the board having a first surface on a first
  23                         surface side thereof and a second surface on a second surface side
                             thereof, the second surface being an opposite side to the first
  24                         surface, the first surface including a first region and a second
                             region, the first region extending from the center portion of the
  25                         board to one of the end portions, the second region extending from
                             the center portion of the board to the other of the end portions;
  26                     a plurality of light emitting element chips mounted on the first surface
  27                         side of the board;
                         a wavelength conversion member formed unitarily with a transparent
  28                         member that seals the plurality of light emitting element chips;

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   1                        a transparent bulb that encloses the board and the plurality of light
                                emitting element chips;
   2                        support leads that secure the plurality of light emitting element chips
                                inside the transparent bulb;
   3                        a support base that can be threadedly engaged with a conventional
   4                            light bulb socket along a socket axis; and
                            a pair of metal plates protruding at both ends of the wavelength
   5                            conversion member,
                            wherein the wavelength conversion member is provided on the first
   6                            surface side and the second surface side, the wavelength
                                conversion member is elongated in the longitudinal direction when
   7                            viewed in plan view of the first surface side of the board,
   8                        wherein a first set of the light emitting element chips are mounted on
                                the first region and arranged from the center portion of the board to
   9                            the one of the end portions,
                            wherein a second set of the light emitting element chips are mounted
  10                            on the second region and arranged from the center portion of the
                                board to the other one of the end portions, and
  11                        wherein one of the support leads is positioned between one of the
  12                            metal plates and the support base.

  13           48.     The limitations of claims 1 and 27 are concepts that were well known
  14   in the art at the time of the alleged invention. For example, a board having end
  15   portions and a center portion therebetween in a longitudinal direction was well
  16   known in the art. Wetzel Tr. at 76:17-77:9 (“At Uniroyal Optoelectronics [in the
  17   time frame of 2000 to 2004], yes, we worked with semiconductors that had a shape
  18   of a board.”); Matsushita Sept. 29, 2021 Tr. at 69:15-18
  19
  20                                                         ; id. at 71:17-18
  21                                                                                    ; see, e.g., Mano
  22   at Figs. 14A-14C and 15; see, e.g., Maxik at Figs. 1, 2, and 4; see, e.g., Ishibashi at
  23   Figs. 1 and 2; see, e.g., Okamoto at Figs. 2, 3, and 6. As another example, a
  24   plurality of light emitting element chips mounted on a first surface side of a board
  25   was well known in the art. Matsushita Sept. 29, 2021 Tr. at 70:6-7 (
  26                                                                                                    ); see,
  27   e.g., Mano at Figs. 14A-14C, 20-21, and 26-27; see, e.g., Maxik at Figs. 1, 2, and
  28   4; see, e.g., Ishibashi at Figs. 1 and 2; see, e.g., Okamoto at Figs. 2, 3, 6, 8, and 11.
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   1   Further, a wavelength conversion member that seals a plurality of light emitting
   2   element chips was well known in the art. Wetzel Tr. at 175:15-23 (confirming that
   3   “[p]rior to the disclosure of the ’734 Patent, [ ] a wavelength conversion member
   4   [was] a known term in the art.”); Matsushita June 10, 2021 Tr. at 121:14-18
   5
   6                                                      ; id.at 124:23-125:1-12
   7
   8
   9
  10                    ; id. at 125:13-18
  11                                                                                         ;
  12   Matsushita Sept. 29, 2021 Tr. at 84:18-21
  13                                                                                         ;
  14   see, e.g., Mano at Figs. 13, 14A-14C, 15, and 18; see, e.g., Suehiro at Fig. 13; see,
  15   e.g., Yamazaki at Fig. 1. Moreover, a transparent bulb that encloses the board and
  16   the plurality of light emitting element chips was well known in the art. Matsushita
  17   Sept. 29, 2021 Tr. at 89:8-9
  18                   ; see, e.g., Mano at Fig 13; see, e.g., Maxik at Fig. 1; see, e.g.,
  19   Ishibashi at Fig. 1; see, e.g., Shibata at Fig. 1. Support leads that secure the
  20   plurality of light emitting element chips inside the transparent bulb was also well
  21   known in the art. Matsushita Sept. 29, 2021 Tr. at 92:13-15
  22
  23             ; see, e.g., Mano at Figs. 4 and 13; see, e.g., Maxik at Fig. 1; see, e.g.,
  24   Ishibashi at Fig. 1; see, e.g., Shibata at Fig. 1. As a further example, a support base
  25   that can be threadedly engaged with a conventional light bulb socket along a socket
  26   axis was well known in the art. Matsushita June 10, 2021 Tr. at 92:16-19
  27                                                                                         ;
  28

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   1   see, e.g., Mano at Figs. 4 and 13; see, e.g., Maxik at Fig. 1; see, e.g., Ishibashi at
   2   Fig. 1; see, e.g., Shibata at Fig. 1.
   3                   5.       Claim Construction
   4           49.     I understand that the Court has construed the following claim terms
   5   (Dkt. No. 90):
   6
   7
   8
   9
  10
  11
  12
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               50.     I have used the above constructions throughout my report. However,
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       in many instances, Nichia appears to have failed to apply these terms as construed.
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       In such cases, such as with the claimed wavelength conversion member formed
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   1   unitarily with a transparent member, I have used Nichia’s application of the term,
   2   because I am informed by counsel that a limitation must be applied consistently for
   3   infringement as well as validity. In such instances, I have also addressed validity
   4   applying the Court’s construction as well. In addition, as a result of Nichia’s
   5   application of these limitations, many of these claim terms are unworkable and fail
   6   to provide a person of skill in the art with reasonable certainty regarding the scope
   7   of the claims, as discussed in further detail later in this report. I further understand
   8   that the Court in this case has left open the issue of whether the terms, as
   9   construed, are indefinite. See Markman Hearing Tr. at 55:1-2, 57:1-4.
  10                   6.       Technical Background: LED Lighting Devices As of 2005
  11           51.     The invention of the incandescent light bulb more than a century ago
  12   so profoundly changed the world that the light bulb became the very icon of
  13   invention. Thomas Edison invented the first practical filament light bulb in 1879.
  14   This discovery marked the beginning of commercially manufactured light bulbs
  15   and in 1880, Thomas Edison’s company, Edison Electric Light Company began
  16   marketing its new product.
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  24           52.     The next big change in the incandescent bulb came with the invention
  25   of the tungsten filament by European inventors in 1904. The ductile tungsten
  26   filament used in modern incandescent bulbs came shortly after in 1909. Indeed,
  27   the shape of the incandescent light bulb, which still resembles Thomas Edison’s
  28   original design, has become a cultural symbol for innovation and bright ideas.
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   1   Also, many LED light bulb products on the market today, which were designed to
   2   replace incandescent light bulbs, are called “Edison” or “vintage” LED light bulbs
   3   because they resemble Edison’s iconic light bulbs with glowing filaments visible
   4   inside glass bulbs.
   5           53.     Texas Instruments researchers fabricated the earliest practical LEDs in
   6   1961 on a GaAs substrate, which emitted near-infrared light. A General Electric
   7   researcher developed the first visible LED (red) in 1962. Progress continued over
   8   the next three decades and by 1994, red, yellow, yellow-green, green, blue, orange,
   9   and amber LEDs were characterized, including high-brightness blue LEDs, which
  10   were developed and commercialized using InGaN with GaN buffer layers and
  11   sapphire substrates. Blue LEDs have a main peak light emission wavelength
  12   within a range of between 420 nm and 490 nm.2 The advent of high brightness
  13   blue LEDs led to the development of phosphor-converted white LEDs, wherein
  14   some of the blue light is converted by phosphor to yellow light, resulting in an
  15   LED package that appears to emit white light.
  16           54.     Phosphors are inorganic luminescent materials that have been
  17   researched and developed since the advent of cathode-ray tubes (CRTs) in the
  18   early-to-mid 20th century. While I was at Motorola in the early 1990s, I reviewed
  19   and worked with various phosphor technologies for wavelength conversion in
  20   developing field-emission displays, which were essentially improved CRTs.
  21   Phosphors consist of an inorganic host material, such as garnet, doped with an
  22   optically active element.3         Particularly common host materials are yttrium
  23   aluminum garnets (“YAG”) and are fittingly named YAG phosphors.4 The size of
  24   the phosphor granules are in the micron range, wherein an average particle size
  25   used in LED applications is usually in the range of between 5 μm to 20 μm, which
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       2
  27     U.S. Patent No. 7,723,740 (“’740 Patent”) at [4:58-62] (“[W]avelength in blue region (420-490
       nm) is used and a YAG fluorescent material is included in the fluorescent material.”).
  28   3
         Schubert, Light-Emitting Diodes, 1st Ed. (2003) at 351.
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         Id.
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   1   allows them to be suspended in a number of materials such as resins, organic
   2   plastics, silicones etc.5 This has been successfully driven since the mid-1990s in
   3   LED packaging.6
   4           55.     Specifically, it was well known in the LED industry by the early
   5   2000s that the phosphor component could be distributed in different manners in the
   6   wavelength conversion members of white LED lamps, including proximate and
   7   remote phosphor distribution.7 In a proximate phosphor distribution, as shown in
   8   shown in Fig. 21.11(a) and (b) below, the phosphor component is positioned
   9   closely to the semiconductor chip within the wavelength conversion member. Id.
  10   In remote a phosphor distribution, as shown in Fig. 21.11(c), the phosphor
  11   component is spatially removed from the semiconductor chip in the wavelength
  12   conversion member. Id.
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  19     Xie, et al., Nitride Phosphors and Solid State Lighting, Taylor and Francis Group, LLC (2011)
       at 76; ’740 Patent at [17:7-10] (“Particle size of the fluorescent material 11 is preferably in a
  20   range from 1 μm to 20 μm, more preferably in a range from 2 μm to 8 μm, and most preferably
       in a range from 5 μm to 8 μm.”).
  21   6
         See Schubert (2003).
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          Schubert, Light-Emitting Diode, 2nd Ed. (2006) at 356 (citing Goetz W. “White lighting
  22   (illumination) with LEDs” Fifth International Conference on Nitride Semiconductors, Nara,
  23   Japan, May 25–30 (2003); Holcomb M. O., Mueller-Mach R., Mueller G. O., Collins D.,
       Fletcher R. M., Steigerwald D. A., Eberle S., Lim Y. K., Martin P. S., and Krames M. “The LED
  24   light bulb: Are we there yet? Progress and challenges for solid-state illumination” Conference on
       Lasers and Electro-Optics (CLEO), Baltimore, Maryland, June 1–6 (2003); Kim J. K., Luo H.,
  25   Schubert E. F., Cho J., Sone C., and Park Y. “Strongly enhanced phosphor efficiency in GaInN
       white light-emitting diodes using remote phosphor configuration and diffuse reflector cup” Jpn.
  26   J. Appl. Phys. – Express Letter 44, L 649 (2005); Luo H., Kim J. K., Schubert E. F., Cho J., Sone
  27   C., and Park Y. “Analysis of high-power packages for phosphor-based white-light-emitting
       diodes” Appl. Phys. Lett. 86, 243505 (2005); Narendran N., Gu Y., Freyssinier-Nova J. P., and
  28   Zhu Y. “Extracting phosphor-scattered photons to improve white LED efficiency” Phys. Stat.
       Sol. (a) 202, R60 (2005)).
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   6           56.     It was well known in the LED industry in the 1970s that phosphors
   7   could be used to convert blue light to yellow light, resulting in what appears to be
   8   white light, if a high brightness blue LED could be designed. This was successfully
   9   achieved by Nichia in 1994 with their work on InGaN/GaN/Al GaN based blue
  10   LEDs. Phosphor-conversion LEDs (PC-LEDs) operated by optically pumping a
  11   yellow phosphor (e.g., Ce3+ doped yttrium aluminum garnet (Ce3+:YAG)) with a
  12   blue LED, the bichromatic situation of blue LED light plus the yellow phosphor
  13   will generate a white light. In laymen’s terms, the mixture of blue light emitted by
  14   the LED and yellow light emitted by the phosphor (which converts the blue light)
  15   combines to form “white” light. Initial phosphor-converted white light had a cool
  16   color temperature such as blue white light as is noted in the undergraduate text
  17   book (1st Edition, 2003) by Schubert (see footnote).             Further development of
  18   phosphor technology permitted warmer color temperatures in the late 1990s, and
  19   early 2000s. Just recently in the last few months, Nichia issued a press release for
  20   the 25th anniversary of the white LED in 1996.8
  21           57.     Many companies have developed, patented, and published phosphor
  22   converted white LEDs (PC-LEDs) for general illumination and lighting.                   The
  23   applications include residential lighting, commercial lighting, automobile lighting,
  24   signal lighting, displays, instrument panels, wireless communications etc. The late
  25   1990s and early 2000s were a rich period for the advancement of LED chips, LED
  26   modules, and LED lighting in general.
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            https://www.led-professional.com/all/25th-anniversary-of-the-white-led-2013-nichia2019s-
       innovation
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   1                   7.       LED device and packaging
   2           58.     An LED die (also called an LED chip) is a semiconductor that
   3   converts electricity into light. The LED die is often small in light emitting area,
   4   e.g., about one square millimeter. LED die present a number of challenges for use
   5   in general lighting applications.        Connecting electrical leads to an LED die
   6   typically requires wire binding, that is fusing a very fine usually gold wire to a
   7   very particular small area of the LED die. In addition, when electrical current is
   8   applied to an LED die, not only is light emitted but heat is also produced that
   9   requires dissipation to preserve efficiency. LED die emit light in all directions and
  10   thus means to direct the light in a desired pattern and direction are typically
  11   employed. Currently generally available LEDs do not naturally emit white light so
  12   blue light emitting LED die are used in combination with a phosphor that converts
  13   the light to what humans perceive as white light. Means to reducing the difficulty
  14   in handling LED chips in a manufacturing environment are also desirable.
  15           59.     As practical applications for LEDs were developed, scientists and
  16   engineers have worked on addressing the foregoing issues and numerous structures
  17   have been proposed in papers, books, prototypes, and patent applications and many
  18   adopted.
  19           60.     One or more LED die are typically arranged in a structure called a that
  20   protects the die, facilitates handling, enables ready electric connection, enables a
  21   thermal path, and provides a space for light conversion material (“LED package”).
  22   As noted in further detail below, the LED package protects the LED semiconductor
  23   chip and allows electrical connections to the outside world (such as large metallic
  24   terminals on printed circuit boards for example). The package also acts as a route
  25   for the emitted LED light to exit the chip, sometimes via a lens or a series of
  26   lenses. Furthermore, the package may provide a thermal heat sink path for heat
  27   generated from the LED chip which may enhance the performance of the LED.
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   1           61.     The most common types of LED packages presently employed for
   2   general lighting applications are dual in-line package (“DIP”), surface mount
   3   device (“SMD”), chip on board (“COB”), and LED filament.
   4           62.     LED die conventionally include two or more types of semiconductor
   5   materials which form a junction or active region that emits light as well as
   6   electrical contacts connected to leads or other electrical connections for providing
   7   power to the LED die.             The junction is an interface between “p-type”
   8   semiconductor material, which has a deficiency of electrons (resulting in “holes”)
   9   and “n-type” semiconductor material, which has an excess of electrons.            Put
  10   another way, the n-type material supplies carriers that are electrons, and the p-type-
  11   materials supplies carriers that are holes. Electrical contacts connected to the
  12   device permit the electrons and holes to recombine and permit an electrical current
  13   to flow through the junction. The recombination of electrons and holes causes
  14   emission of light in a certain wavelength, e.g., red, orange, blue, ultraviolet (UV)
  15   wavelengths, etc. For clarity as is further detailed below, white light as seen in
  16   household LEDs is typically generated in two ways: 1) using a blue light emitting
  17   LED with a coating of yellow phosphor where the combination produces white
  18   light, and 2) using three LED chips, one emitting red, another green, and the last
  19   blue, where the color mixing produces white LED emission. While the majority of
  20   blue LED emission is converted by the phosphor to yellow light, because the
  21   conversion is not perfect and there is energy lost resulting in a wavelength shift for
  22   some converted photons, a range of wavelengths are emitted by the phosphor. The
  23   entirety of the wavelengths, that is the spectral power distribution, appears as what
  24   we call white light. Further, most phosphors are actually a blend of phosphor
  25   material to further spread the phosphor emitted light.
  26           63.     One of the approaches for low cost LED packaging is through a chip-
  27   on-board technique where LED chips are mounted directly to underlying boards.
  28   The board platforms can consist of ceramic, printed circuit boards, dielectric

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   1   materials, and even metallic platforms. This technique essentially reduces the
   2   packaging to simply providing solder joints between the LED and the board
   3   platform. Many LEDs are flip-chiped using solder bumps which connect the LED
   4   chip to the underlying board platform.             The process will pass through a
   5   temperature cycle that allows the solder bumps to reflow and create a weld that
   6   fixes the LED chip to the underlying board both from a structural as well as an
   7   electrical standpoint.
   8           64.     The electrical contacts to the LED die are called the anode and the
   9   cathode.       The anode is an electrical conductor that connects to the p-type
  10   semiconductor of the LED die, while the cathode is an electrical conductor that
  11   connects to the n-type semiconductor of the LED die. The electrons enter the LED
  12   die through the cathode and exit through the anode. This provides current through
  13   the device that permits the device to operate as intended and emit light when
  14   powered. An LED cannot function without an anode and a cathode. Electrical
  15   connections to the n-type semiconductor region and the p-type semiconductor
  16   region conventionally have been provided for many years via thin metal layers
  17   deposited onto those regions (called metallization layers, or just metallization) to
  18   which bond wires or other electrical connections (e.g., solder bumps) can be made.
  19   Due to some variation in terminology in the art, the metal layer in contact with the
  20   n-type material may be referred to as the cathode, or the electrical connection to
  21   that metal layer may be referred to as the cathode, or both. Similarly, the metal
  22   layer in contact with the p-type material may be referred to as the anode, or the
  23   electrical connection to that metal layer may be referred to as the anode, or both.
  24   Also, the metal layer or layers in contact with the n-type material and the metal
  25   layer or layers in contact with the p-type material are often referred to as
  26   electrodes. Also, for many years, such metal layers for the anode and cathode have
  27   been made thin enough to also be light transmissive. Additionally, anode and
  28   cathode may be a transparent and electrically conducting layer of indium-tin-oxide

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   1   (or ITO), indium oxide, or other similar materials between the p-type region and
   2   the metallization layer. A variety of metals conventionally may be used for such
   3   metallization layers, such as, e.g., Ti, Al, Ni, Au, multilayers thereof, alloys
   4   thereof, etc. The metal contacts are typically thickened using another metallization
   5   process called electro-plating. Not all LEDs use this process, but those that do
   6   have the advantage of thicker metallic contacts that act as better thermal heat sinks,
   7   and have electrical properties of lower resistivity (which helps reduce the heat
   8   generated in the device).
   9           65.     To effectively implement the use of LED die as light sources in
  10   general lighting devices such as bulbs, the individual LED die need to be
  11   “packaged” by assembling them into a protective package that permits electrical
  12   connection to a power source. Generally, the LED package provides a housing or
  13   substrate, an optical reflector that may be provided by a suitable shape of the
  14   housing or substrate, electrical leads, an optical window for the light to escape,
  15   transparent or translucent encapsulation materials depending on design. Packaging
  16   of LEDs have also been utilized with opaque organic materials that have been
  17   selectively molded in designs that allow for light emission. The LED package can
  18   also be designed to improve heat dissipation through selective thermal paths that
  19   could be through the molded material or via metallic films and/or electrodes.
  20   Embedded heat sinks both integral and adjacent to LED packages aid in thermal
  21   dissipation to remove heat from the LED chip.
  22           66.     There are a variety of methods for packaging LED devices. In one
  23   example, LED die can be simply die-bonded or soldered to a surface of a substrate,
  24   such as a printed circuit board (PCB), and electrical connections, such as bond
  25   wires, may connect the anode and the cathode of the LED die to corresponding
  26   electrical leads of the package. In another example, a lead-frame and associated
  27   housing may be used to package the LED die. In a lead-frame package which
  28   dates back to the early 1960s, a plastic housing is typically molded around a metal

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   1   frame that has electrical leads, e.g., by injection or transfer molding, providing a
   2   cavity in which to mount the LED die, and providing electrical connections to the
   3   electrical leads of the lead frame. Glob-top is another technique to package LEDs
   4   using organic molding material where the material can be dispensed from a small
   5   nozzle like tool.
   6           67.     LED die may be structured to have both the anode and cathode at the
   7   same face or side of the LED die. Such LED die can be packaged with two top
   8   electrical contacts with bond wires connecting the top electrical contacts of the
   9   LED die to electrical connections of the package. This configuration can be
  10   considered a “face-up” configuration. Alternatively, such LED die may be
  11   packaged such that the anode and cathode both face the package substrate. This
  12   configuration may be considered a “face-down” or “flip-chip” configuration.
  13           68.     Alternatively, LED die may be configured such that the anode is at
  14   one side of the LED die and the cathode is at the opposing side of the LED die.
  15   This type of structure for LED die is often called a vertical LED structure, since it
  16   requires current to flow vertically through the die (relative to the planes of the
  17   layer structure of the LED die). Such an LED die may be packaged such that a
  18   bond wire connects the one top electrical lead to an electrical connection of the
  19   package and such that the second electrical connection is achieved by an electrical
  20   connection of bottom of the LED die to another electrical connection of the
  21   package. In this case, the substrate on which the LEDs are grown, and fabricated
  22   can be conductive. For face-up or face-down LEDs engineers have the choice of
  23   utilizing insulating (or non-conducting) substrates for the LED devices.
  24           69.     To save space and permit ease of mounting, it has long been
  25   conventional practice to provide electrical connections of the LED package at the
  26   bottom of the package, e.g., by providing electrical leads in a bent-down
  27   configuration along sides of the package or by providing the electrical
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   1   interconnections through the substrate in the form of vias that was first used by the
   2   silicon industry back in the 1960s.
   3           70.     Red (R), green (G), and blue (B) LED die may be packaged together
   4   such that their combined emission is perceived by the human eye as white light.
   5   This is called color mixing and is different than phosphor-conversion where there
   6   is a wavelength conversion using materials such as phosphor granules.
   7           71.     The LED devices that utilized a phosphor material, absorbs light
   8   radiation emitted from an LED die and then reemits visible light of different
   9   wavelengths. For instance, a GaN-based LED die may emit blue light, and a
  10   phosphor material located nearby may absorb a portion of that light and may
  11   reemit light of a broader range of wavelengths, e.g., green, yellow, orange and red
  12   (depending on the type of phosphor). The combination of unabsorbed blue light
  13   from the LED die and light emitted from the phosphor may be perceived by the
  14   human eye as white light.
  15           72.     When high-power visible LED devices based on GaN and InGaN
  16   became readily available in the late 1990’s, the problem of managing the
  17   significant heat generated by these LED devices became a concern in the industry.
  18   It was recognized, due to the efficiency limitations in LEDs, that a significant
  19   amount of energy injected into LEDs would not be converted into light but rather
  20   into heat, which would increase the operation temperatures of LEDs and lead to
  21   reliability concerns and performance degradations in packaged LEDs. To improve
  22   heat dissipation in LED packages, heat sinks with low thermal resistivity were
  23   therefore provided and are commonly used in today’s devices and have been used
  24   in LED devices for many years. The LED may be mounted to the heat sink, e.g.,
  25   by soldering using a metal-based solder, either with or without a sub-mount
  26   positioned between the LED die and the heat sink. In any case, a surface of the
  27   heat sink, either in contact with the LED die or in close proximity to the LED die,
  28   provides a thermal path for extracting heat from the LED die and transferring the

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   1   heat outside the package. For example, Al and Cu heat sinks with low thermal
   2   resistivity are widely used so that LED packages have a direct, thermal conductive
   3   path from the LED chip to outside the packages. This design can allow for more
   4   efficient heat dissipation of the packaged LED devices.                  In fact, the thermal
   5   package designs follow similar design features of that used in the silicon
   6   semiconductor and laser diode industries over the past 3-4 decades. While thermal
   7   designs that were required when driving LEDs hard to achieve increase light
   8   output have been a focus of the industry for many years, the recent increased
   9   efficiency of the LED chips has mitigated the reliance on thermal designs.
  10                   8.       LED Chips
  11           73.     A light-emitting diode (LED) is a semiconductor die that emits light
  12   when electric current flows through it. LEDs can be made from a variety of
  13   semiconductor materials to emit different colors of visible light. For example, red
  14   LEDs can be made from Gallium Arsenide Phosphide (GaAsP), Gallium
  15   Phosphide (GaP), and Aluminum Gallium Arsenide (AlGaAs). Yellow LEDs can
  16   be made from GaAsP, GaP, and Aluminum Indium Gallium Phosphide (AlInGaP).
  17   Green LEDs can be made from GaP, AlInGaP, and from Indium Gallium Nitride
  18   (InGaN). Blue LEDs can be made from InGaN.
  19           74.     Most of the technologically important semiconductor materials for
  20   LEDs are known as III-V compound semiconductors (see Table 1.1).9 Among
  21   these semiconductors, III-nitride wide-band-gap semiconductors, such as
  22   AlGaInN, are recognized as a very important material system for the fabrication of
  23   short-wavelength-emitting diodes (UV-to-blue LEDs).10,11
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         Xie, et al., Nitride Phosphors and Solid State Lighting, Taylor and Francis Group, LLC (2011)
  25   at 76 (citing Madelung, O. 1996. Semiconductors, basic data. 2nd ed. Berlin: Springer-
  26   Verlag.; Steranka, F. M. 1997. High brightness light emitting diodes. In Semiconductors and
       semimetals, ed. G. B. Stringfellow and M. G. Craford, 65–95. Vol. 48. San Diego: Academic
  27   Press.; Schubert (2003); Gessmann, Th., and Schubert, E. F. 2004. High-efficiency AlGaInP
       light-emitting diodes for solid-state lighting applications. J. Appl. Phys. 95:2203–2216.).
  28   10
          Id. (citing Strite, S., and Morkoc, H. 1992. GaN, AlN, and InN: A review. J. Vac. Sci. Technol.
       B 10:1237–1266.; Morkoc, H., Strite, S., Gao, G. B., Lin, M. E., Sverdlov, B., and Burns, M.
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  11           75.     Additionally, the figure below is taken from a review article published
  12   in 1997 in Nature Magazine: F. A. Ponce and D. P. Bour, Nitride-based
  13   semiconductors for blue and green light-emitting devices, Nature 386, 351-359
  14   (1997) (“Nature 1997 Article”). Ponce was published in 1997, which is more than
  15   eight years before the earliest asserted priority date. Accordingly, I understand it is
  16   prior art to the ’734 Patent. It shows colors that could be produced by
  17   commercially available LEDs at the time.
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       1994. Large-band-gap SiC, III-V nitride, and II-VI ZnSe-based semiconductor device
  25   technology. J. Appl. Phys. 76:1363–1398; Morkoc and Mohammad 1995; Ponce, F. A., and
       Bour, D. P. 1997. Nitride-based semiconductors for blue and green light-emitting devices.
  26   Nature 386:351–359; Hirayama, H. 2005. Quaternary InAlGaN-based high-efficiency ultraviolet
       light-emitting diodes. J. Appl. Phys. 97:091101; Wu, J. 2009. When group-III nitrides go
  27   infrared: New properties and perspectives. J. Appl. Phys. 106:011101).
       11
          ’740 Patent at [18:27-31] (“The semiconductor light emitting element capable of emitting light
  28   of wavelength not longer than 500 nm in ultraviolet to visible region can be made of various
       semiconductors such as … InAlGaN …”).
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               76.     The 1997 Nature article contains a review of the development of LED
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       technology that I do not repeat here.
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                       9.       The Tektite Mark-Lite Fire Fly Product
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               77.     In 1994, Tektite published a four-page catalog advertising its “marker
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       lights” for sale, to be used for diving or running at night. See TEKTITE0000001-
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       002. Specifically, the catalog advertised the “Mark-Lite Fire Fly LED” product
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       (the “Mark-Lite”), which at the time was a “latest development[] in subminiature
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       Light Emitting Diode technology.” Id. The Mark-Lite was similarly advertised in
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       later     catalogs        published    by    Tektite.   See   TEKTITE0000003-004,
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       TEKTITE0000005-016, TEKTITE0000017-028. Accordingly, I understand this
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       product is prior art to the ’734 Patent.
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   1           78.     The images below are from the 1994 catalog page shown on
   2   TEKTITE0000002 (left) and the 2000 catalog page shown on TEKTITE0000004
   3   (right).
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  16   IV.     MY        OPINIONS          FOR    GROUNDS       OF     INVALIDITY        BY

  17           ANTICIPATION

  18           A.      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are anticipated by

  19                   Mano.

  20                   1.       Claim 1:

  21                            a.    A light emitting device comprising:

  22           79.     To the extent the preamble is limiting, Mano discloses the limitations

  23   therein. For example, Mano is entitled “Light-emitting Unit and Illuminator

  24   Utilizing the Same” and discloses that “[t]he present invention relates to a light-

  25   emitting unit, in particular, of the type which includes a printed circuit board or

  26   substrate, a light-emitting element mounted on the board, and a lens.” Mano at

  27   [0002]. Mano also discloses “an all-directional light emitting unit that can emit

  28   light as if a spherical light source is employed.” Id. at [0007]. The light emitting

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   1   device shown in FIG. 13, for instance, constitutes “a light emitting device” as
   2   recited in claim 1. See, e.g., id. at [0008], [0013], Figs. 1-2, Figs. 8-9, Figs. 14-16.
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  12                            b.    a board having end portions and a center portion
  13                                  therebetween in a longitudinal direction, the board
  14                                  having a first surface on a first surface side thereof
  15                                  and a second surface on a second surface side thereof,
  16                                  the second surface being an opposite side to the first
  17                                  surface, the first surface including a first region and a
  18                                  second region, the first region extending from the
  19                                  center portion of the board to one of the end portions,
  20                                  the second region extending from the center portion
  21                                  of the board to the other of the end portions;
  22           80.     For the reasons discussed elsewhere in my report, these claim
  23   limitations are indefinite. See infra, Section VIII. However, to the extent these
  24   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  25   in its infringement contentions, Mano discloses these limitations. For example,
  26   Mano discloses that the light emitting device shown in Fig. 14B (as well as its
  27   other embodiments) has a board 110 that has a first surface side 113 and second
  28   surface side 114, where the second surface 114 is an opposite side to the first
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   1   surface 113. Mano also discloses “[a] light-emitting unit 101 … includes a
   2   rectangular substrate 110 having an obverse surface 113 and a reverse surface
   3   114.” Id. at [0086]. Also, the board of the light emitting device of Fig. 14B
   4   includes the first and second regions, where the first region extends from the center
   5   portion of the board to one of the end portions and the second region extends from
   6   the center portion of the board to the other of the end portions.
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               81.     I understand that Mano was cited by the Examiner during the
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       prosecution of the ’734 patent. Specifically, in a September 2, 2016 Office Action,
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       the Examiner found that:
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  15           Mano discloses a light emitting device comprising: a board 10 having
  16           a first surface 13 on a first surface side thereof and a second surface
               14 on a second surface side thereof, the second surface being an
  17           opposite side to the first surface; a light emitting element chip 21 (see
  18           embodiment of Figures 11-12) mounted on the first surface side of
               the board; a wavelength conversion member (collective 30 including
  19           fluorescent material, see Figure 1 Band paragraph [0083]) formed
  20           unitarily with a transparent member that seals the plurality of light
               emitting element chips; a transparent bulb 81 that encloses the board
  21           and the light emitting element chip 21; support leads (41a,41b) that
  22           secure the light emitting element chip inside the transparent bulb; and
               a support base 82 that can be threadedly engaged with a conventional
  23           socket along a socket axis, wherein the wavelength conversion
  24           member 30 is provided on the first surface side and the second
               surface side, and the wavelength conversion member is elongated in a
  25           longitudinal direction (see generally Figures 1-13, particularly
  26           Figures 11-13 and paragraphs [0067]-[0084]).
  27           82.     The Examiner further found that:
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   1           Mano teaches embodiments where a plurality of light emitting chips
               21 are mounted on a first surface side of the board and aligned along a
   2
               line that extends in a longitudinal direction (see Mano, at least Figures
   3           14A-32). Accordingly it would have been obvious to one of ordinary
               skill in the art at the time the invention was made to mount a plurality
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               of light emitting element chips 21 on the first surface side of the board
   5           along a line that extends in the longitudinal direction in Figures 12-13
               of Mano as suggested in other embodiments in Mano in order to
   6
               increase the light output and brightness of the lighting device.
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               83.     In a December 2, 2016 Amendment responding to that Office Action,
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       Nichia amended the claims to include most of the language found in this these
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       limitations, which I have denoted below in underline:
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  11           a board having end portions and a center portion therebetween in a
               longitudinal direction, the board having a first surface on a first
  12
               surface side thereof and a second surface on a second surface side
  13           thereof, the second surface being an opposite side to the first surface.
  14           the first surface including a first region and a second region, the first
               region extending from the center portion of the board to one of the
  15           end portions, the second region extending from the center portion of
  16           the board to the other of the end portions;

  17           84.     Specifically, Nichia argued that Mano did not disclose the newly-
  18   added limitations to the claim.
  19           85.     On January 10, 2017, the Examiner issued another Office Action, a
  20   Final Rejection, in which the Examiner rejected Nichia’s prior arguments
  21   regarding Mano, and further found that:
  22
               Mano discloses a light emitting device comprising: a board 110
  23           having end portions (see Figure 14A and end portions of board
  24           beyond wavelength conversion member 30) and a center portion
               therebetween (see Figure 14A and center portion between light
  25           emitting elements 20) in a longitudinal direction, the board having a
  26           first surface 113 on a first surface side thereof and a second surface
               114 on a second surface side thereof, the second surface being an
  27           opposite side to the first surface, the first surface including a first
  28           region and a second region, the first region extending from the center
               portion of the board to one of the end portions, the second region
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   1           extending from the center portion of the board to the other of the end
               portions; a plurality of light emitting element chips 21 mounted on the
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               first surface side of the board; a wavelength conversion member
   3           (collective 130 including fluorescent material, see Figure 14B and
               paragraph [0083]) formed unitarily with a transparent member that
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               seals the plurality of light emitting element chips; a transparent bulb
   5           81 that encloses the board and the light emitting element chip 21;
               support leads 23a,23b (see Figure 10 and paragraphs [0080] and
   6
               [0087]) that secure the light emitting element chips 21 inside the
   7           transparent bulb; and a support base 82 that can be threadedly
               engaged with a conventional socket along a socket axis, wherein the
   8
               wavelength conversion member 130 is provided on the first surface
   9           side and the second surface side, and the wavelength conversion
  10           member is elongated in the longitudinal direction when viewed in plan
               view of the first surface side of the board 110 (the wavelength
  11           conversion member 130 is elongated in both the longitudinal direction
  12           and the lateral direction of board 110 (see Figure 14A) relative to the
               height/thickness direction of the wavelength conversion member 130
  13           (see Figure 14B), thus the wavelength conversion member 130 is still
  14           elongated in the longitudinal direction when viewed in plan view of
               Figure 14A of the first surface side of the board), wherein a first set of
  15           the light emitting element chips 21 are mounted in the first region and
  16           arranged from the center portion of the board to the one of the end
               portions, and wherein a second set of the light emitting element chips
  17           21 are mounted in the second region and arranged from the center
  18           portion of the board to the other one of the end portions (see generally
               Figures 13-25, and paragraphs [0083]-[0100]).
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               86.     I understand that the Examiner then found pending dependent claims
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       25-27, each of which claim aspects of using a support lead, to be “allowable if
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       rewritten in independent form including all of the limitations of the base claim,”
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       i.e., pending claim 1.
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               87.     Rather than continue to engage the examiner over whether or not
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       Mano disclosed, for example, the limitations discussed in this section, I understand
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       that Nichia rewrote dependent claims 25-27 into independent form, and that those
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       issued as claims 1, 26, and 27. I note that, while the Examiner did not find the
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       claimed support leads disclosed by Mano, it is my opinion that Mano discloses
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   1   such leads, for the reasons stated herein and based on how Nichia has applied those
   2   terms in this litigation. See infra, Section 1.f.
   3                            c.    a plurality of light emitting element chips mounted on
   4                                  the first surface side of the board;
   5           88.     Mano discloses this limitation. For instance, Mano discloses that
   6   “[e]ach side of the substrate 110 is provided with a domed lens 130 enclosing a
   7   plurality of packaged light emitting elements 20.” Also, Mano discloses that the
   8   light emitting devices in its Fig. 14-25 show “four elements 20 [ ] provided for
   9   each lens 130 (referring to the lens positioned on the first and second sides of the
  10   board), though the present invention is not limited to this.” Id. at [0086]. Mano
  11   discloses light emitting devices in Figs. 14A and 26, which further illustrate this
  12   limitation.
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  21                            d.    a wavelength conversion member formed unitarily
  22                                  with a transparent member that seals the plurality of
  23                                  light emitting element chips;
  24           89.     For the reasons discussed elsewhere in my report, these claim
  25   limitations are indefinite. See infra, Section VIII. However, to the extent these
  26   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  27   in its infringement contentions, Mano discloses this limitation. For example, Mano
  28   discloses that “a fluorescent material may be added to the transparent resin for
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   1   making the lens 30. In this case, as propagating through the lens 30, the light
   2   (‘original light’) emitted from the element 20 excites the fluorescent additives, and
   3   these additives will emit light (‘secondary light’) as returning to a less excited
   4   state. In this case, the original light and the secondary light are blended to produce
   5   white light. A suitable fluorescent material is selected in accordance with the
   6   frequency of light emitted from the element 20.” Id. at [0083]. Also, the light
   7   emitting devices shown in Figs. 13 and 14B disclose this limitation.
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  18           90.     Further, Nichia’s application of this limitation only requires a
  19   fluorescent material in a transparent resin, which is merely a wavelength
  20   conversion member, was well known in the art, and is disclosed in this reference.
  21   The Court’s construction, however, requires that the wavelength conversion
  22   member and the transparent member be a single component, which is met by this
  23   reference as a POSA could use a fluorescent material alone or could replace the
  24   mixture of a fluorescent material in a transparent resin with a single component
  25   that accomplishes the same goal.
  26                            e.    a transparent bulb that encloses the board and the
  27                                  plurality of light emitting element chips;
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   1           91.     Mano discloses a transparent bulb that encloses the board and the
   2   plurality of light emitting element chips. For example, Mano discloses that in the
   3   light emitting device of Fig. 13 “the light-emitting unit 1 is accommodated in an
   4   envelope 81 made of glass, for example. The unit 1 is electrically connected to a
   5   conductive base or cap 82. As in a conventional lightbulb …” Id. at [0084].
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                                f.    support leads that secure the plurality of light
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                                      emitting element chips inside the transparent bulb;
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               92.     Mano discloses support leads that secure the plurality of light emitting
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       element chips inside the transparent bulb. For instance, Mano discloses that “[t]he
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       details of the light-emitting element 20 are shown in Fig. 10. Specifically, the
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       element 20 includes an elongated rectangular base 22 provided with an anode 23a
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       at one end and a cathode 23b at the other end. A light-emitting diode chip 21 is
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       die-bonded to the cathode 23b, while also being connected to the anode 23a via a
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       metal wire 24.” Id. at [0080]. Mano at Figs. 10 and 12 also disclose this limitation.
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   9           93.     Also, for example, Mano discloses in the light emitting device of Fig.
  10   11 that the metal wire 24 is further connected to support leads 40 and the support
  11   leads 40 secure the plurality of light emitting element chips inside the transparent
  12   bulb 80.
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  23           94.     I am applying Nichia's apparent application of “support leads that
  24   secure the plurality of light emitting element chips inside the transparent bulb”
  25   from its infringement contentions, which does not indicate what support is to be
  26   provided. However, Mano discloses that the leads provide structural support
  27   because they are a component assist in enabling the internal components to stand
  28   upright within the bulb of the light emitting device.

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   1                            g.    a support base that can be threadedly engaged with a
   2                                  conventional light bulb socket along a socket axis; and
   3           95.     Mano discloses a support base that can be threadedly engaged with a
   4   conventional light bulb socket along a socket axis. For instance, Mano discloses
   5   that in the light emitting device of Fig. 13 “the light-emitting unit 1 is
   6   accommodated in an envelope 81 made of glass, for example. The unit 1 is
   7   electrically connected to a conductive base or cap 82. As in a conventional
   8   lightbulb, the base 82 may consist of two electrically insulated contacts, a threaded
   9   ring contact and a tip contact disposed at the bottom of the base 82.” Id. at [0084].
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  18                            h.    a pair of metal plates protruding at both ends of the
  19                                  wavelength conversion member,
  20           96.     Mano discloses a pair of metal plates protruding at both ends of the
  21   wavelength conversion member. For example, Mano discloses in the light emitting
  22   devices of Figs. 29 a pair of metal plates 350 protruding at both ends of the
  23   wavelength conversion member 130.
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   8           97.     In another example, Mano discloses with respect to the light emitting
   9   device of Fig. 30 that “the substrate 410 includes a circular portion 412 and two
  10   rectangular portions 411 projecting oppositely from the circular portion 412. Each
  11   rectangular portion 411 is provided with a pair of connection terminals 450 on the
  12   obverse and the reverse sides of the substrate 410.” Id. at [0111].
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  21                            i.    wherein the wavelength conversion member is
  22                                  provided on the first surface side and the second
  23                                  surface side, the wavelength conversion member is
  24                                  elongated in the longitudinal direction when viewed in
  25                                  plan view of the first surface side of the board,
  26           98.     Mano discloses this limitation. For example, Mano discloses that in
  27   the light emitting devices of Figs. 14-25 that “[e]ach side of the substrate 110 is
  28   provided with a domed lens 130 enclosing a plurality of packaged light emitting

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   1   elements 20.” Id. at [0086]. Furthermore, Mano discloses in the light emitting
   2   devices of Figs. 14A and 14B, a wavelength conversion member 130 that is
   3   elongated in both the longitudinal direction and the lateral direction of the
   4   rectangular substrate 110 (see FIG. 14A) relative to the height/thickness direction
   5   of the wavelength conversion member 130 (see FIG. 14B), thus the wavelength
   6   conversion member 130 is still elongated in the longitudinal direction when viewed
   7   in plan view of FIG. 14A of the first surface side of the board. As another example,
   8   Mano discloses that “[p]referably, the periphery of each lens may be circular,” and
   9   thus the disclosure of Mano contemplates other conventional shapes of a
  10   wavelength conversion member, including an ellipse. Id. at [0010].
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  18           99.     Moreover, having reviewed Nichia’s infringement contentions, Nichia
  19   applies this limitation agnostic to shape such that any shape meets this limitation.
  20   For instance, Nichia asserts infringement under this limitation by Feit Electric’s
  21   curved products. However, those products, in their natural and commercially
  22   available state do not have an elongated board. Rather, the boards are curved and
  23   conical such that as provided to a customer, the wavelength conversion member
  24   component is not elongated in the longitudinal direction when viewed in plan view
  25   of the first surface side of the board. Nichia asserts infringement by breaking the
  26   unit and stretching the board to force this limitation, even though in such a state the
  27   curved Feit Electric device is no longer functional. That same manipulation can
  28   take place with the board of Mano, thus rendering it invalid in the same way
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   1   Nichia applies this limitation. Moreover, Mano meets this limitation without such
   2   manipulation as Mano’s disclosure contemplates other conventional shapes of a
   3   wavelength conversion member, including a rectangle or any other shape (to cover
   4   some or all of the light emitting element chips) (see, e.g, annotated versions of
   5   Figure 14A below).
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  15                            j.    wherein a first set of the light emitting element chips
  16                                  are mounted on the first region and arranged from
  17                                  the center portion of the board to the one of the end
  18                                  portions,
  19           100. For the reasons discussed elsewhere in my report, these claim
  20   limitations are indefinite. See infra, Section VIII. However, to the extent these
  21   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  22   in its infringement contentions, Mano discloses this limitation.
  23           101. I understand that this claim limitation was added by Nichia after the
  24   Examiner’s first rejection based on Mano, and that as with the limitations
  25   previously discussed in Section 1.c, the Examiner nevertheless found that Mano
  26   ultimately discloses this limitation.
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   1           102. For example, Mano discloses in the light emitting device of Figs. 14A
   2   and 22 two of various possible examples of this claim limitation. These figures
   3   show a first pair of the light-emitting elements 20 mounted on the first region of
   4   the board and arranged from the center portion of the board to one of the end
   5   portions.
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  15           103. As another example, Mano discloses with respect to the light emitting

  16   device of Fig. 22 that “the first element set 126 and the second element set 127 on

  17   the obverse surface 113 of the substrate 110 are powered by different current paths

  18   which are electrically independent of each other. Likewise, on the reverse side of

  19   the substrate 113, the first and the second element sets 128 and 129 are

  20   independently powered. Meanwhile, the obverse-side first element set 126 and the

  21   reverse-side first element set 128 are connected in parallel, and the obverse side

  22   second element set 127 and the reverse-side second element set 129 are connected

  23   in parallel.” Id. at [0096].

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   1           104. Further, Mano discloses with respect to the light emitting device of
   2   Fig. 16 that “four packaged light emitting elements 20 are mounted on the obverse
   3   surface 113 of the substrate 110. As seen from the figure, the upper two elements
   4   20 are connected in series by the upper intermediate conductor 141c, thereby
   5   providing a ‘first element set 126.’ Likewise, the lower two elements 20 are
   6   connected in series by the lower intermediate conductor 141c, thereby providing a
   7   ‘second element set 127.’” Id. at [0093].
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  18                            k.    wherein a second set of the light emitting element
  19                                  chips are mounted on the second region and arranged
  20                                  from the center portion of the board to the other one
  21                                  of the end portions, and
  22           105. For the reasons discussed elsewhere in my report, these claim
  23   limitations are indefinite. See infra, Section VIII. However, to the extent these
  24   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  25   in its infringement contentions, like the limitation above, Mano discloses this
  26   limitation. For example, Mano discloses in the light emitting device of Figs. 14A
  27   and 22 two of various possible examples of this claim limitation. These figures
  28   show a first pair of the light-emitting elements 20 mounted on the first region of

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   1   the board and arranged from the center portion of the board to one of the end
   2   portions.
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  12           106. As another example, Mano discloses with respect to the light emitting
  13   device of Fig. 22 that “the first element set 126 and the second element set 127 on
  14   the obverse surface 113 of the substrate 110 are powered by different current paths
  15   which are electrically independent of each other. Likewise, on the reverse side of
  16   the substrate 113, the first and the second element sets 128 and 129 are
  17   independently powered. Meanwhile, the obverse-side first element set 126 and the
  18   reverse-side first element set 128 are connected in parallel, and the obverse side
  19   second element set 127 and the reverse-side second element set 129 are connected
  20   in parallel.” Id. at [0096].
  21           107. Further, Mano discloses with respect to the light emitting device of
  22   Fig. 16 that “four packaged light emitting elements 20 are mounted on the obverse
  23   surface 113 of the substrate 110. As seen from the figure, the upper two elements
  24   20 are connected in series by the upper intermediate conductor 141c, thereby
  25   providing a ‘first element set 126.’ Likewise, the lower two elements 20 are
  26   connected in series by the lower intermediate conductor 141c, thereby providing a
  27   ‘second element set 127.’” Id. at [0093].
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  11                            l.    wherein the pair of metal plates are electrically
  12                                  connected with the support base via the support leads.
  13           108. Mano discloses a light-emitting device where the pair of metal plates
  14   are electrically connected with the support base via the support leads. For example,
  15   Mano discloses with respect to the light emitting device of Fig. 13 that “[t]he unit 1
  16   is electrically connected to a conductive base or cap 82. As in a conventional
  17   lightbulb, the base 82 may consist of two electrically insulated contacts, a threaded
  18   ring contact and a tip contact disposed at the bottom of the base 82. The ring
  19   contact is connected to one of the electrodes 50a, 50b, while the tip contact is
  20   connected to the other.” Id. at [0084].
  21           109. Further, Mano discloses this limitation in the light emitting devices of
  22   Figs. 11 and 12, wherein the pair of metal plates 50 are electrically connected with
  23   the support base via the support leads 24 and 40, as the metal plates 50 connect
  24   with the support base 82 via the support leads 40.
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  12           110. Also, Mano discloses that in the light emitting device of Fig. 30 “the
  13   substrate 410 includes a circular portion 412 and two rectangular portions 411
  14   projecting oppositely from the circular portion 412. Each rectangular portion 411 is
  15   provided with a pair of connection terminals 450 on the obverse and the reverse
  16   sides of the substrate 410.” Id. at [0111].
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   1                   2.       Claim 3: The light emitting device according to claim 1,
   2                            wherein the transparent bulb is made of glass.
   3           111. Mano discloses this limitation. For example, Mano discloses that in
   4   the light emitting device of Fig. 13 “the light-emitting unit 1 is accommodated in
   5   an envelope 81 made of glass, for example.”
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                       3.       Claim 4: The light emitting device according to claim 1,
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                                wherein each of the metal plates crosses the support lead.
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               112. Mano discloses that each of the metal plates crosses the support lead.
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       For instance, Mano the light emitting device in Fig. 20 discloses metal plates 150
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       crossing the support lead 140.
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   1                   4.       Claim 6: The light emitting device according to claim 1,
   2                            wherein the wavelength conversion member comprises a
   3                            phosphor therein.
   4           113. I understand that the Court construed “a wavelength conversion
   5   member formed unitarily with a transparent member” limitation to mean “a single
   6   component that both converts wavelength and allows light to pass through.” Dkt.
   7   No. 90. I understand this construction to mean that “a wavelength conversion
   8   member formed unitarily with a transparent member” must be a single component
   9   and accordingly the recited “phosphor therein” is the wavelength conversion
  10   element and must be indistinctly mixed within the transparent material. An
  11   appropriate analogy would be concrete comprising fine-grain sand (concrete
  12   comprising a single component) versus concrete comprising gravel (concrete
  13   comprising multiple components).
  14           114. With that said, applying this limitation as Nichia appears to in its
  15   infringement contentions, Mano discloses wherein the wavelength conversion
  16   member comprises a phosphor therein. For example, the disclosure of a
  17   wavelength conversion member is discussed in detail with respect to claim 1
  18   above. Additionally, Mano discloses that “[a]s another possible way, a fluorescent
  19   material may be added to the transparent resin for making the lens 30. In this case,
  20   as propagating through the lens 30, the light (‘original light’) emitted from the
  21   element 20 excites the fluorescent additives, and these additives will emit light
  22   (‘secondary light’) as returning to a less excited state. In this case, the original light
  23   and the secondary light are blended to produce white light. A suitable fluorescent
  24   material is selected in accordance with the frequency of light emitted from the
  25   element 20.” Id. at [0083]. Fluorescent material was well known in the art to be a
  26   phosphor.
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   1                   5.       Claim 7: The light emitting device according to claim 6,
   2                            wherein the phosphor comprises a YAG group phosphor.
   3           115. Mano discloses this element. As discussed above with respect to claim
   4   6, Mano discloses the use of a phosphor, and YAG phosphors were well known
   5   and commonly used in the art as they have high stability and excellent
   6   luminescence.
   7                   6.       Claim 11: The light emitting device according to claim 6,
   8                            wherein an average particle size of the phosphor is 3 μm or
   9                            more.
  10           116. Mano discloses this element. As discussed above with respect to claim
  11   6, Mano discloses the use of a phosphor, and it was well known in the art that a
  12   particle size of 3 μm or more would be advantageous.
  13                   7.       Claim 12: The light emitting device according to claim 1,
  14                            wherein the plurality of light emitting element chips is
  15                            electrically connected in series.
  16           117. Mano discloses that the plurality of light emitting element chips is
  17   electrically connected in series. For instance, Mano discloses with respect to the
  18   light emitting device of Fig. 16 that “four packaged light emitting elements 20 are
  19   mounted on the obverse Surface 113 of the substrate 110. As seen from the figure,
  20   the upper two elements 20 are connected in series by the upper intermediate
  21   conductor 141c, thereby providing a ‘first element set 126.’ Likewise, the lower
  22   two elements 20 are connected in Series by the lower intermediate conductor 141c,
  23   thereby providing a ‘second element set 127.’ The first element Set 126 is
  24   connected at one end to the upper left anode 150a and at the other end to the upper
  25   right cathode 150b. The second element set 127 is connected at one end to the
  26   lower left anode 150a and at the other end to the lower right cathode 150b.
  27   Arrangements identical to those shown in FIG. 16 are also built on the other side
  28   (i.e., the reverse surface 114) of the substrate 110. As shown in FIG. 22, a first

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   1   element set 128 consisting of two light-emitting elements 20 is connected between
   2   one anode 150a and one cathode 150b, while a second element set 129 consisting
   3   of another two light-emitting elements 20 is connected between the other anode
   4   150a and the other cathode 150b.” Id. at [0093].
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               118. As another example, Mano discloses this limitation in the light
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       emitting device of Fig. 22, which shows light-emitting element chips 20 connected
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       in series.
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   1                   8.       Claim 13: The light emitting device according to claim 1,
   2                            wherein the plurality of light emitting element chips is so
   3                            configured that a main peak light emission wavelength of
   4                            the light emitting element is varied within a range between
   5                            420 nm and 490 nm.
   6           119. Mano discloses this limitation. It was well known in the art that the
   7   main peak light emission wavelength of the light-emitting elements 20 emitting
   8   blue light (see id. at [0083]) included a range between 420 nm and 490 nm.
   9   Additionally, Mano discloses, for instance, that “[t]o produce white light, each side
  10   of the substrate 10 may be provided with three kinds of light-emitting elements
  11   designed to emit…blue lights, respectively, to be combined into the desired white
  12   light.” Id.
  13                   9.       Claim 14: The light emitting device according to claim 1,
  14                            wherein each of the light emitting element chips comprises
  15                            nitride semiconductor made of InxAlyGa1-x-yN (0≦x, 0≦y,
  16                            x+y≦1).
  17           120. Mano discloses this limitation. The disclosure of light emitting
  18   element chips is discussed in detail above with respect to claim 1. Also, this
  19   configuration of nitride semiconductor for use in light emitting devices was well
  20   known in the art.
  21                   10.      Claim 15: The light emitting device according to claim 1,
  22                            wherein the wavelength conversion member substantially
  23                            surrounds the board.
  24           121. Mano discloses that the wavelength conversion member substantially
  25   surrounds the board. For instance, Mano discloses that in the light emitting devices
  26   of Figs. 1-6 “[t]he lens 30 has a circular periphery 31. According to the present
  27   invention, the periphery 31 may be arranged to overlap with the circular edge of
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   1   the substrate 10 or retreat slightly inward from the edge of the substrate 10.” Id. at
   2   [0067].
   3           122. As another example, Mano discloses that “[a]s another possible way, a
   4   fluorescent material may be added to the transparent resin for making the lens 30.
   5   In this case, as propagating through the lens 30, the light (‘original light’) emitted
   6   from the element 20 excites the fluorescent additives, and these additives will emit
   7   light (‘secondary light’) as returning to a less excited state. In this case, the original
   8   light and the secondary light are blended to produce white light. A suitable
   9   fluorescent material is selected in accordance with the frequency of light emitted
  10   from the element 20.” Id. at [0083].
  11           123. Further, Mano discloses this limitation in the light emitting devices of
  12   Figs. 1B and 18. The wavelength conversion members 30 and 130 substantially
  13   surround the boards 10 and 110.
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  20                   11.      Claim 17: The light emitting device according to claim 1,
  21                            wherein the board is configured to be transparent so that a
  22                            light emitted from the plurality of light emitting element
  23                            chips on the first surface side of the board forwards outside
  24                            of the light emitting device through the second surface of
  25                            the board.
  26           124. Mano discloses this limitation. For example, Mano discloses that
  27   “[r]eference is first made to FIGS. 1-6 illustrating a light-emitting unit 1 according
  28   to a first embodiment of the present invention. In the illustrated example, the unit 1

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   1   includes a transparent substrate 10, packaged light-emitting elements 20, lenses 30
   2   with light-dispersing properties, and wiring patterns 40 formed on the substrate 10.
   3   The substrate 10 has an obverse surface 13 and a reverse surface 14, as shown in
   4   FIGS. 1B and 1C, for example. Each surface is provided with a light-emitting
   5   element 20, a lens 30 and a wiring pattern 40. The lens 30 has a circular periphery
   6   31. According to the present invention, the periphery 31 may be arranged to
   7   overlap with the circular edge of the substrate 10 or retreat slightly inward from the
   8   edge of the substrate 10. In the illustrated example, the latter case is depicted, in
   9   which the periphery 31 is spaced apart from the circular edge of the substrate 10.
  10   The substrate 10 is formed of a transparent material such as glass-reinforced
  11   epoxy, and includes a rectangular portion 11 and a circular portion 12 continuous
  12   with the rectangular portion.” Id. at [0067-0068]. Mano thus discloses that the
  13   board 10 is configured to be transparent.
  14           125. As another example, Mano also discloses that “[f]urther, in the
  15   cruciform opening, the substrate 110 is partially exposed (see reference numeral
  16   161). As in the first embodiment, light from the light emitting element can enter
  17   the transparent substrate 110 via the exposed parts 161, propagate therethrough,
  18   and go out from the side surfaces 116 (see FIG. 18).” Id. at [0091].
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   1                   12.      Claim 18: The light emitting device according to claim 1,
   2                            wherein the wavelength conversion member is capable of
   3                            converting light emitted from the plurality of light emitting
   4                            element chips into light with a different wavelength such
   5                            that the converted light with the different wavelength is
   6                            radiated along a first direction from the first surface side of
   7                            the board to an outer periphery of the wavelength
   8                            conversion member, and along a second direction from the
   9                            second surface of the board to the outer periphery of the
  10                            wavelength conversion member.
  11           126. For the reasons discussed elsewhere in my report, these claim
  12   limitations are indefinite. See infra, Section VIII. However, to the extent these
  13   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  14   in its infringement contentions, Mano discloses this limitation. For example, the
  15   disclosure of a wavelength conversion member is discussed in detail with respect
  16   to claim 1 above, and the omni-directional qualities of the disclosed light emitting
  17   devices is discussed in detail with respect to claim 17 above.
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  27           127. Also, for example, Mano discloses that “[i]n this case, as propagating
  28   through the lens 30, the light (“original light”) emitted from the element 20 excites
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   1   the fluorescent additives, and these additives will emit light (“secondary light”) as
   2   returning to a less excited state. In this case, the original light and the secondary
   3   light are blended to produce white light. A suitable fluorescent material is selected
   4   in accordance with the frequency of light emitted from the element 20.” Id. at
   5   [0083].
   6           128. As another example, Mano also discloses that “[f]urther, in the
   7   cruciform opening, the substrate 110 is partially exposed (see reference numeral
   8   161). As in the first embodiment, light from the light emitting element can enter
   9   the transparent substrate 110 via the exposed parts 161, propagate therethrough,
  10   and go out from the side surfaces 116 (see FIG. 18).” Id. at [0091].
  11                   13.      Claim 19: The light emitting device according to claim 1,
  12                            wherein all light emitting element chips mounted on the
  13                            first surface side of the board are aligned along a line.
  14           129. Mano discloses this limitation in both a geographical and electrical
  15   context. For example, with respect to a geographical context, Mano discloses in the
  16   light emitting device of Fig. 14B, which provides a sectional view of the light
  17   emitting device, that the light emitting element chips 20 on the first surface side of
  18   the board 110 are shown as being aligned along a line.
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   1           130. In another example, Mano discloses this limitation in the light
   2   emitting device of Fig. 14A as the light emitting element chips 20 on the first
   3   surface side of the board 110 are aligned along a line in various respects. For
   4   instance, as shown in annotated version of Fig. 14A below, the light emitting
   5   element chips 20 on the first surface side of the board 110 are aligned along a line
   6   that divides the width of the board 110 in half (left annotated Fig. 14A) or that
   7   divides the length of the board 110 in half (right annotated Fig. 14A).
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               131. As another example, as shown in another annotation of Fig. 14A
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       below, if only a portion of the light emitting element chips 20 are necessary to be
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       mounted on the first surface side of the board, the light emitting element chips 20
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       on the first surface side of the board 110 may be aligned along those chips.
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   1           132. With respect to an electrical context, Mano further discloses that all
   2   light emitting element chips mounted on the first surface side of the board are
   3   aligned along a line, that is, connected in series. For instance, Mano discloses that
   4   “[t]hen, as shown in FIG. 16, four packaged light emitting elements 20 are
   5   mounted on the obverse surface 113 of the substrate 110. As seen from the figure,
   6   the upper two elements 20 are connected in series by the upper intermediate
   7   conductor 141c, thereby providing a ‘first element set 126.’ Likewise, the lower
   8   two elements 20 are connected in series by the lower intermediate conductor 141c,
   9   thereby providing a ‘second element set 127.’ The first element set 126 is
  10   connected at one end to the upper left anode 150a and at the other end to the upper
  11   right cathode 150b. The second element set 127 is connected at one end to the
  12   lower left anode 150a and at the other end to the lower right cathode 150b.
  13   Arrangements identical to those shown in FIG. 16 are also built on the other side
  14   (i.e., the reverse surface 114) of the substrate 110. As shown in FIG. 22, a first
  15   element set 128 consisting of two light-emitting elements 20 is connected between
  16   one anode 150a and one cathode 150b, while a second element set 129 consisting
  17   of another two light-emitting elements 20 is connected between the other anode
  18   150a and the other cathode 150b.” Id. at [0093].
  19           133. Mano also discloses this limitation in the light emitting device of Fig.
  20   22, which shows light-emitting element chips 20 connected in series.
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   1                   14.      Claim 20: The light emitting device according to claim 1,
   2                            wherein the wavelength conversion member seals all light
   3                            emitting element chips mounted on the first surface side of
   4                            the board.
   5           134. Mano discloses that the wavelength conversion member seals all light
   6   emitting element chips mounted on the first surface side of the board. The
   7   disclosure of a wavelength conversion member is discussed in detail with respect
   8   to claims 1. Also, for example, Mano discloses that “[a] light-emitting element 20
   9   is disposed at the center of the circular portion 12 on each side of the substrate 10,
  10   with the element 20 covered by a lens 30.” Id. at [0068].
  11           135. As another example, Mano discloses that “[i]n this state, the supplied
  12   resin is hardened to provide the lens 30, with the light-emitting element 20
  13   enclosed therein.” Id. at [0069].
  14           136. Mano further discloses this limitation in the light emitting devices of
  15   Figs. 14B and 15. The figures disclose that all light emitting element chips 20
  16   mounted on the first surface side 113 of the board 110 are sealed by the
  17   wavelength conversion member 130.
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   1                   15.      Claim 21: The light emitting device according to claim 19,
   2                            wherein the wavelength conversion member seals all light
   3                            emitting element chips mounted on the first surface side of
   4                            the board.
   5           137. Mano discloses this limitation. The disclosure of a wavelength
   6   conversion member is discussed in detail with respect to claims 1 and 20 above.
   7                   16.      Claim 22: The light emitting device according to claim 1,
   8                            wherein the first set of light emitting element chips and the
   9                            second set of light emitting element chips are aligned along
  10                            substantially a single line that extends in the longitudinal
  11                            direction of the wavelength conversion member.
  12           138. Mano discloses this limitation. Such a configuration of the first set of
  13   light emitting element chips and the second set of light emitting element chips is
  14   discussed in detail with respect to claim 19 above.
  15                   17.      Claim 24: The light emitting device according to claim 1,
  16                            wherein one of the support leads is positioned between one
  17                            of the metal plates and the support base.
  18           139. Mano discloses this limitation. For example, Mano discloses that
  19   “[t]he unit 1 is electrically connected to a conductive base or cap 82. As in a
  20   conventional lightbulb, the base 82 may consist of two electrically insulated
  21   contacts, a threaded ring contact and a tip contact disposed at the bottom of the
  22   base 82. The ring contact is connected to one of the electrodes 50a, 50b, while the
  23   tip contact is connected to the other.” Id. at [0084].
  24           140. As another example, Mano discloses this limitation in the light
  25   emitting devices of Figs. 4 and 13 as the support lead 40 would extend from the
  26   metal plates 50 into the support base 82 to make an electrical connection.
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  13                   18.      Claim 25: The light emitting device according to claim 1,
  14                            wherein all of the light emitting element chips mounted on
  15                            the first surface side of the board are aligned along a single
  16                            line when viewed in plan view of the first surface side of the
  17                            board.
  18           141. Mano discloses this limitation. Such a configuration of the light
  19   emitting element chips is discussed in detail with respect to claim 19 above.
  20                   19.      Claim 27: See claims 1 and 24.
  21           142. Mano discloses these limitations. Each of these limitations is
  22   discussed in detail with respect to claims 1 and 24 above.
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   1           B.      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are anticipated by
   2                   Maxik.
   3                   1.       Claim 1:
   4                            a.    A light emitting device comprising:
   5           143. To the extent the preamble of claim 1 is limiting, Maxik discloses the
   6   limitations therein. For instance, Maxik is entitled “Lighting Element Using
   7   Electronically Activated Light Emitting Elements and Method of Making Same”
   8   and discloses that “the invention relates to a lighting element for use in light bulbs.
   9   The lighting element is comprised of light emitting diodes (LEDs) which are
  10   mounted on a flexible form which can be configured into various shapes for greater
  11   light dispersion and functionality.” Maxik at [1:21-24].
  12           144. Also, for example, Maxik discloses that “[i]n fact, most people desire
  13   a light source to provide light omni-directionally, much in the same manner as an
  14   incandescent light bulb.” Id. at [1:37-39]. Further, Maxik discloses that “[t]he
  15   present lighting element relates in general terms to an LED light bulb which uses
  16   electronically activated light emitting elements to generate individual sources of
  17   light. The individual sources of light are arranged in Such manner that the LED
  18   light bulb in which the elements are used provides a wide degree of light
  19   dispersion to completely avoid the point source of light emission from the light
  20   bulb itself.” Id. at [2:30-37].
  21           145.     Maxik discloses in the light emitting device of Fig. 1, a light emitting
  22   device as recited in claim 1.
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  11                            b.    a board having end portions and a center portion
  12                                  therebetween in a longitudinal direction, the board
  13                                  having a first surface on a first surface side thereof
  14                                  and a second surface on a second surface side thereof,
  15                                  the second surface being an opposite side to the first
  16                                  surface, the first surface including a first region and a
  17                                  second region, the first region extending from the
  18                                  center portion of the board to one of the end portions,
  19                                  the second region extending from the center portion
  20                                  of the board to the other of the end portions;
  21           146. Maxik discloses this limitation. For example, Maxik discloses in the
  22   light emitting devices of Figs. 2 and 4 a board 106 with end portions (e.g., “finger-
  23   like projections” 116), and a center portion therebetween in a longitudinal
  24   direction. Id. at [5:24].
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  11           147. As another example, Maxik discloses with respect to the light emitting

  12   device in Fig. 2 that “it can be observed that the formed substrate 106 is actually

  13   cut or pressed out from a substrate 126 of circuit board material. The formed

  14   substrate 106 is cut in such fashion that it is provided with a plurality of individual

  15   finger-like projections 116 and each of which further carry light emitting elements

  16   108 or other light generating elements thereon, in addition to standoffs 110.” Id. at

  17   [5:20-26]. Maxik also discloses that “FIG. 2 illustrates a top elevation view of a

  18   pattern of a formed substrate which can be formed from a sheet of circuit board

  19   material and used in the LED light bulb.” Id. at [3:65-67]. Opposite end portions

  20   116 (for example, the left and right projections 116) in Fig. 2 are arranged with a

  21   center portion 118 therebetween in a longitudinal direction.

  22           148. Further, Maxik discloses that “[t]he substrate 126 can be any material

  23   that supports the function of holding light emitting elements 108 and lensless light

  24   emitting elements 302 in place and providing support for the electrical leads.” Id.

  25   at [9:14-17].

  26           149. Maxik also discloses at that “[t]he substrate 126 of the present lighting

  27   element generally is shaped in rectangular configuration when placed flat on a flat

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   1   surface. These substrates 126 also generally have a front face and a back face.” Id.
   2   at [9:35-39].
   3           150. I am applying Nichia's apparent application of “a board,” “end
   4   portions and a center portion therebetween in a longitudinal direction” and “a
   5   first/second region” from its infringement contentions, and as discussed below in
   6   Sections VI and VIII, believe these limitations are invalid under 35. U.S.C. Section
   7   112.
   8                            c.    a plurality of light emitting element chips mounted on
   9                                  the first surface side of the board;
  10           151. Maxik discloses this limitation. For example, Maxik discloses in the
  11   light emitting devices of Figs. 2 and 4 light emitting elements 108. Maxik further
  12   discloses that “[l]ight is provided by a plurality of light emitting elements 108 that
  13   are connected to a formed substrate 106 that contours to the form of the inside wall
  14   120 of the housing 102.” Id. at [4:36-39].
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   1           152. As another example, Maxik discloses that the light emitting device in
   2   Fig. 2 “can be observed that the formed substrate 106 is actually cut or pressed out
   3   from a substrate 126 of circuit board material. The formed substrate 106 is cut in
   4   such fashion that it is provided with a plurality of individual finger-like projections
   5   116 and each of which further carry light emitting elements 108 or other light
   6   generating elements thereon, in addition to standoffs 110.” Id. at [5:20-26].
   7           153. Further, Maxik discloses that “[t]he light emitting elements 108 are
   8   generally light emit ting diodes (LEDs), but may be other types of diode lights,
   9   such as laser diodes and wide band gap LEDs. Generally, these typical LEDs are
  10   normally constructed using standard AllnGaN or AllnGaP processes and include a
  11   LED chip or die mounted to a reflective metal dish or reflector that is generally
  12   filled with a transparent or semi-transparent epoxy, thus encapsulating the LED
  13   chip.” Id. at [7:8-15].
  14                            d.    a wavelength conversion member formed unitarily
  15                                  with a transparent member that seals the plurality of
  16                                  light emitting element chips;
  17           154. For the reasons discussed elsewhere in my report, these claim
  18   limitations are indefinite. See infra, Section VIII. However, to the extent these
  19   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  20   in its infringement contentions, Maxik discloses this limitation. For instance,
  21   Maxik discloses that “[a]ny color of LED’s can be used with the present LED light
  22   bulb, colored LED’s such as … white (W) with the present LED light bulb to
  23   accommodate the desires of the user …. [t]he number, arrangement, and color
  24   selection of the LED’s on the formed substrate 106 creates a flexible LED light
  25   bulb that can meet the desired lighting requirements of a given situation.” Id. at
  26   [7:24-40]. The use of white LEDs in Maxik implies that such LEDs are phosphor
  27   converting LEDs (“PC LED”) and include a resin or other material with phosphors
  28   distributed therein to convert blue light radiating from a blue LED to white light.
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   1           155. Further, Nichia’s application of this limitation only requires
   2   phosphors in a transparent resin, which is merely a wavelength conversion
   3   member, was well known in the art, and is disclosed in this reference. The Court’s
   4   construction, however, requires that the wavelength conversion member and the
   5   transparent member be a single component, which is met by this reference as a
   6   POSA could use phosphors alone or could replace the mixture of phosphors in a
   7   transparent resin with a single component that accomplishes the same goal.
   8                            e.    a transparent bulb that encloses the board and the
   9                                  plurality of light emitting element chips;
  10           156. Maxik discloses this limitation. For instance, Maxik discloses that
  11   “[t]he light bulb of the present invention uses an outer bulb housing which may be
  12   pre-formed with either a glass or a generally transparent or light translucent
  13   composition.” Id. at [2:38-40].
  14           157. Further, Maxik discloses this limitation in the light emitting device of
  15   Fig. 1.
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  25           158. As another example, Maxik discloses with respect to the light emitting
  26   device of Fig. 1 that “the present LED light bulb 100 comprises a housing 102 with
  27   a base 104 connected thereto. The housing 102 can be in the form of a standard
  28   incandescent light bulb housing, or any other desirable form or shape and includes
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   1   an inside wall 120. The base 104 normally adopts the form of a conventional
   2   Edison base, although any base could be used. The housing 102 of the LED light
   3   bulb 100 is transparent or at least light translucent.” Id. at [4:28-36].
   4                            f.    support leads that secure the plurality of light
   5                                  emitting element chips inside the transparent bulb;
   6           159. Maxik discloses this limitation. For example, Maxik discloses that
   7   “[e]lectrical power is provided to the light emitting elements 108 via electrical
   8   connectors 112 which connect to each light emitting element 108 and to the base
   9   104.” Id. at [4:52-55]. Further, Maxik discloses that “[i]n order to provide power to
  10   the light emitting elements 108 which are mounted on the formed substrate 106,
  11   there is provided, in one aspect of the invention, the support 114 which may be
  12   suitably connected to the base 104 in such manner that the electrical connectors
  13   112 extending upwardly through the support 114 can provide electrical current to
  14   the formed substrate 106 and the light emitting elements 108.” Id. at [4:55-62].
  15           160. As another example, Maxik discloses in the light emitting device of
  16   Fig. 1, electrical connectors 112 and supports 114 that secure the plurality of light
  17   emitting element chips 108 inside the transparent bulb 100.
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  11                            g.    a support base that can be threadedly engaged with a

  12                                  conventional light bulb socket along a socket axis; and

  13           161. Maxik discloses this limitation. For example, Maxik discloses that

  14   “[t]he base 104 also generally includes a formed socket a socket piece for inserting

  15   into a standard socket, Edison-style or standard electrical Socket or connection.”

  16   Id. at [10:28-31]. Further, Maxik discloses in the light emitting device of Fig. 1 this

  17   limitation.

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   1                            h.    a pair of metal plates protruding at both ends of the
   2                                  wavelength conversion member,
   3           162. Maxik discloses this limitation. For instance, Maxik discloses that
   4   “[t]he formed substrate 106 is constructed of flexible material that generally has
   5   electrical connectors 112 formed within its layered construction, such as printed
   6   circuit board and flexible circuit board material, so that it is capable of being bent
   7   to a substantial degree without interfering with the electrical conductivity of all of
   8   the light emitting elements 108 and lensless light emitting elements 302 mounted
   9   on the surface of the formed substrate 106.” Id. at [4:52-55]. Also, it was well
  10   known in the art that a pair of metal plates could be the “electrical connectors” that
  11   connect the light emitting elements to the board 106. Further, a pair of metal plates
  12   would be required to protrude from both ends of the light emitting elements to
  13   establish contact with the electrical circuit to power each light emitting element.
  14                            i.    wherein the wavelength conversion member is
  15                                  provided on the first surface side and the second
  16                                  surface side, the wavelength conversion member is
  17                                  elongated in the longitudinal direction when viewed in
  18                                  plan view of the first surface side of the board,
  19           163. Maxik discloses this limitation. For example, Maxik discloses an
  20   omni-directional light emitting device (“most people desire a light source to
  21   provide light omni-directionally,” id at [1:37-38]) that creates white light. In one
  22   instance, Maxik discloses “[a]ny color of LED’s can be used with the present LED
  23   light bulb, colored LED’s such as … white (W) with the present LED light bulb to
  24   accommodate the desires of the user … [t]he number, arrangement, and color
  25   selection of the LED’s on the formed substrate 106 creates a flexible LED light
  26   bulb that can meet the desired lighting requirements of a given situation.” Id. at
  27   [7:24-40]. The use of white LEDs in Maxik implies that such LEDs are PC LEDs
  28   and include a resin or other material with phosphors distributed therein to convert
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   1   blue light radiating from a blue LED to white light. Maxik discloses in the light
   2   emitting devices of Figs. 2 and 4, a longitudinal board (from one finger-like
   3   projection 116 to its longitudinally opposite finger-like projection 116 of the board
   4   106) having light emitting element chips 108 aligned along such longitudinal board
   5   106 (at 116). Based on existing art, it would make sense to provide an elongated
   6   wavelength conversion member on the first surface side and the second surface
   7   side commensurate with the longitudinal board.
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  18           164. Additionally, it was also well known in the art that omni-directional
  19   light emitting devices, such as the light emitting device of Maxik (“most people
  20   desire a light source to provide light omni-directionally,” id at [1:37-38]), would
  21   include fluorescent, transparent resin on the top and bottom surfaces of the light
  22   emitting device to achieve wavelength conversion in any direction. Thus, to
  23   achieve an omni-directional, white light emitting device as discussed above (“most
  24   people desire a light source to provide light omni-directionally,” id at [1:37-38]),
  25   Maxik would have included the fluorescent, transparent resin at both the top and
  26   bottom surfaces of the board 106 to achieve wavelength conversion in any
  27   direction of light emission.
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   1                            j.    wherein a first set of the light emitting element chips
   2                                  are mounted on the first region and arranged from
   3                                  the center portion of the board to the one of the end
   4                                  portions,
   5           165. For the reasons discussed elsewhere in my report, these claim
   6   limitations are indefinite. See infra, Section VIII. However, to the extent these
   7   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   8   in its infringement contentions, Maxik discloses this limitation. For instance,
   9   Maxik discloses in the light emitting devices of Figs. 2 and 4 a first set of the light
  10   emitting elements 108 mounted on a first region and arranged from the center
  11   portion 118 of the board 106 to the one of the end portions 116 (for example, the
  12   light emitting element chips positioned on the left along the horizontally-oriented
  13   portion of the board 106).
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  23                            k.    wherein a second set of the light emitting element
  24                                  chips are mounted on the second region and arranged
  25                                  from the center portion of the board to the other one
  26                                  of the end portions, and
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   1           166. For the reasons discussed elsewhere in my report, these claim
   2   limitations are indefinite. See infra, Section VIII. However, to the extent these
   3   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   4   in its infringement contentions, Maxik discloses this limitation. For instance,
   5   Maxik discloses in the light emitting devices of Figs. 2 and 4 a second set of the
   6   light emitting elements 108 mounted on a second region and arranged from the
   7   center portion 118 of the board 106 to the other one of the end portions 116 (for
   8   example, the light emitting element chips positioned on the right along the
   9   horizontally-oriented portion of the board 106).
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  20                            l.    wherein the pair of metal plates are electrically

  21                                  connected with the support base via the support leads.

  22           167. Maxik discloses this limitation. For instance, Maxik discloses that in a

  23   light emitting device “[e]lectricity is supplied to the light emitting elements 108

  24   and lensless light emitting elements 302 via electrical connectors 112 that are

  25   formed within the formed substrate 106 and that are connected to the base 104 of

  26   the LED light bulb 100, 200, 250, and 300. The electrical connectors 112 can be

  27   routed through the support 114 or through an elongated projection 152 of the

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   1   formed substrate 106.” Each of the metal plates 106 (at 116) is electrically
   2   connected with the support base 104 via the support leads 112.
   3           168. Maxik further discloses this limitation in the light emitting device of
   4   Fig. 1.
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  15                   2.       Claim 3: The light emitting device according to claim 1,
  16                            wherein the transparent bulb is made of glass.
  17           169. Maxik discloses this limitation. For instance, Maxik discloses that
  18   “[t]he light bulb of the present invention uses an outer bulb housing which may be
  19   pre-formed with either a glass or a generally transparent or light translucent
  20   composition.” Id. at [2:38-40].
  21                   3.       Claim 4: The light emitting device according to claim 1,
  22                            wherein each of the metal plates crosses the support lead.
  23           170. Maxik discloses this limitation. For example, Maxik discloses in the
  24   light emitting device of Fig. 1 each of the metal plates 106 (at 116) crosses the
  25   support lead 112 and 114 as the metal plates 106 must cross the support leads 112
  26   and 114 in order to provide a continuous electrical connection to the base 104.
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  12                   4.       Claim 6: The light emitting device according to claim 1,
  13                            wherein the wavelength conversion member comprises a
  14                            phosphor therein.
  15           171. Maxik discloses this limitation. The disclosure of a wavelength
  16   conversion member is discussed in detail above with respect to claim 1. The use of
  17   white LEDs in Maxik implies that such LEDs are PC LEDs and include a resin or
  18   other material with phosphors distributed therein to convert blue light radiating
  19   from a blue LED to white light.
  20                   5.       Claim 7: The light emitting device according to claim 6,
  21                            wherein the phosphor comprises a YAG group phosphor.
  22           172. Maxik discloses this limitation. The disclosure of a wavelength
  23   conversion member is discussed in detail above with respect to claim 1 and the
  24   disclosure of a phosphor is discussed in detail above with respect to claim 6. The
  25   use of white LEDs in Maxik implies that such LEDs are PC LEDs and include a
  26   resin or other material with phosphors distributed therein to convert blue light
  27   radiating from a blue LED to white light. A YAG group phosphor was well known
  28   and commonly used as the phosphor in these applications.
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   1                   6.       Claim 11: The light emitting device according to claim 6,
   2                            wherein an average particle size of the phosphor is 3 μm or
   3                            more.
   4           173. Maxik discloses this limitation. The disclosure of a wavelength
   5   conversion member is discussed in detail above with respect to claim 1 and the
   6   disclosure of a phosphor is discussed in detail above with respect to claim 6.
   7   Further, it was well known in the art that a phosphor having a particle size of 3 μm
   8   or more would be advantageous.
   9                   7.       Claim 12: The light emitting device according to claim 1,
  10                            wherein the plurality of light emitting element chips is
  11                            electrically connected in series.
  12           174. Maxik discloses this limitation. For example, Maxik discloses in the
  13   light emitting devices of Figs. 2 and 4 the plurality of light emitting element chips
  14   is electrically connected in series. Also, it was well known in the art that circuit
  15   elements may either be connected in series or in parallel, and thus, the plurality of
  16   light emitting elements 108 could be connected in series.
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   1                   8.       Claim 13: The light emitting device according to claim 1,
   2                            wherein the plurality of light emitting element chips is so
   3                            configured that a main peak light emission wavelength of
   4                            the light emitting element is varied within a range between
   5                            420 nm and 490 nm.
   6           175. Maxik discloses this limitation. For example, Maxik discloses that
   7   “[a]ny color of LED’s can be used with the present LED light bulb, colored LED’s
   8   such as … white (W) with the present LED light bulb to accommodate the desires
   9   of the user…. [t]he number, arrangement, and color selection of the LED’s on the
  10   formed substrate 106 creates a flexible LED light bulb that can meet the desired
  11   lighting requirements of a given situation” Id. at [7:24-40]. The use of white LEDs
  12   in Maxik implies that such LEDs are PC LEDs and include a resin or other
  13   material with phosphors distributed therein to convert blue light radiating from a
  14   blue LED to white light. It was well known that the main peak light emission
  15   wavelength of blue light includes a range between 420 nm and 490 nm.
  16                   9.       Claim 14: The light emitting device according to claim 1,
  17                            wherein each of the light emitting element chips comprises
  18                            nitride semiconductor made of InxAlyGa1-x-yN (0≦x, 0≦y,
  19                            x+y≦1).
  20           176. Maxik discloses this limitation. The disclosure of light emitting
  21   element chips is discussed in detail above with respect to claim 1. Also, for
  22   example, Maxik discloses that “[g]enerally, these typical LEDs are normally
  23   constructed using standard AllnGaN or AllnGaP processes and include a LED chip
  24   or die…” Id. at [7:10-13]. Additionally, this configuration of nitride semiconductor
  25   for use in light emitting devices was well known in the art.
  26                   10.      Claim 15: The light emitting device according to claim 1,
  27                            wherein the wavelength conversion member substantially
  28                            surrounds the board.
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   1           177. Maxik discloses this limitation. The disclosure of a wavelength
   2   conversion member is discussed in detail above with respect to claim 1.
   3   Additionally, Maxik discloses in the light emitting devices of Figs. 2 and 4 that a
   4   longitudinal board (from one finger-like projection 116 to its longitudinally
   5   opposite finger-like projection 116 of the board 106) having light emitting element
   6   chips 108 aligned along such longitudinal board 106 (at 116). It was well known in
   7   the art to encapsulate a plurality of light emitting elements in a single fluorescent,
   8   transparent resin, which would thereby substantially surround the board 106. Also,
   9   as explained in detail above with respect to claim 1, it was well known in the art to
  10   include a fluorescent, transparent resin on both the first and second surfaces of a
  11   board in an omni-directional lighting device such as disclosed in Maxik.
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   1                   11.      Claim 17: The light emitting device according to claim 1,
   2                            wherein the board is configured to be transparent so that a
   3                            light emitted from the plurality of light emitting element
   4                            chips on the first surface side of the board forwards outside
   5                            of the light emitting device through the second surface of
   6                            the board.
   7           178. Maxik discloses this limitation. The omni-directional effect of the
   8   light emitting devices disclosed in Maxik is discussed in detail with respect to
   9   claim 1 above.
  10                   12.      Claim 18: The light emitting device according to claim 1,
  11                            wherein the wavelength conversion member is capable of
  12                            converting light emitted from the plurality of light emitting
  13                            element chips into light with a different wavelength such
  14                            that the converted light with the different wavelength is
  15                            radiated along a first direction from the first surface side of
  16                            the board to an outer periphery of the wavelength
  17                            conversion member, and along a second direction from the
  18                            second surface of the board to the outer periphery of the
  19                            wavelength conversion member.
  20           179. For the reasons discussed elsewhere in my report, these claim
  21   limitations are indefinite. See infra, Section VIII. However, to the extent these
  22   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  23   in its infringement contentions, Maxik discloses this limitation. The omni-
  24   directional effect of the light emitting devices disclosed in Maxik is discussed in
  25   detail with respect to claim 1 above.
  26                   13.      Claim 19: The light emitting device according to claim 1,
  27                            wherein all light emitting element chips mounted on the
  28                            first surface side of the board are aligned along a line.
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   1           180. Maxik discloses this limitation. For instance, Maxik discloses in the
   2   light emitting devices of Figs. 1 and 2 light emitting element chips 108 mounted on
   3   the first surface side of the board 106 that are aligned along a line. Specifically, the
   4   light emitting element chips 108 along any two corresponding longitudinal finger-
   5   like projections 116 of the board 106 are aligned along a line commensurate with
   6   the length of the corresponding two finger-like projections 116.
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                       14.      Claim 20: The light emitting device according to claim 1,
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                                wherein the wavelength conversion member seals all light
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                                emitting element chips mounted on the first surface side of
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                                the board.
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               181. Maxik discloses this limitation. The disclosure of a wavelength
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       conversion member is discussed in detail with respect to claim 1 above.
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   1                   15.      Claim 21: The light emitting device according to claim 19,
   2                            wherein the wavelength conversion member seals all light
   3                            emitting element chips mounted on the first surface side of
   4                            the board.
   5           182. Maxik discloses this limitation. The disclosure of a wavelength
   6   conversion member is discussed in detail with respect to claim 1 above.
   7                   16.      Claim 22: The light emitting device according to claim 1,
   8                            wherein the first set of light emitting element chips and the
   9                            second set of light emitting element chips are aligned along
  10                            substantially a single line that extends in the longitudinal
  11                            direction of the wavelength conversion member.
  12           183. Maxik discloses this limitation. Such a configuration of the first set of
  13   light emitting element chips and the second set of light emitting element chips is
  14   discussed in detail with respect to claim 19 above.
  15                   17.      Claim 24: The light emitting device according to claim 1,
  16                            wherein one of the support leads is positioned between one
  17                            of the metal plates and the support base.
  18           184. Maxik discloses this limitation. Such a configuration of the support
  19   leads, metal plates, and support base is discussed in detail with respect to claim 1
  20   above.
  21                   18.      Claim 25: The light emitting device according to claim 1,
  22                            wherein all of the light emitting element chips mounted on
  23                            the first surface side of the board are aligned along a single
  24                            line when viewed in plan view of the first surface side of the
  25                            board.
  26           185. Maxik discloses this limitation. Such a configuration of the light
  27   emitting element chips is discussed in detail with respect to claim 19 above.
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   1                   19.      Claim 27: See claims 1 and 24.
   2           186. Maxik discloses these limitations. Each of these limitations is
   3   discussed in detail with respect to claims 1 and 24 above.
   4           C.      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are anticipated by
   5                   Ishibashi.
   6                   1.       Claim 1:
   7                            a.    A light emitting device comprising:
   8           187. To the extent the preamble of claim 1 is limiting, Ishibashi discloses
   9   the limitations therein. For instance, Ishibashi is entitled “LED Bulb” and discloses
  10   “a light bulb using a plurality of LEDs as light sources.” Ishibashi at [0001]. As
  11   another example Ishibashi discloses that “[p]rovided is an LED bulb with a higher
  12   distribution of luminous intensity which is close to those of tungsten bulbs, in
  13   which the problem in directivity of the prior art LED bulbs has been solved while
  14   maintaining the advantages of an LED, that is, a long life and an energy saving
  15   characteristic. The LED bulb comprises a printed circuit board 5 which is flat when
  16   developed and is bendable to fo1m a cage, a plurality of LEDs 6 which are
  17   disposed on the printed circuit board 5, and a transparent or Semi-transparent cover
  18   2 which encloses the printed circuit board 5 fo1med into the cage. The printed
  19   circuit board 5 may have a plurality of belt-like branches. 5a which extend in radial
  20   directions from the center of the printed circuit board 5. The LED bulb may further
  21   comprise a power unit housing 8 for containing a power unit which Supplies
  22   electric current to each of the LEDs 6.” Id. at Abstract.
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   1           188. The light emitting device disclosed in Fig. 1 below constitutes a “light
   2   emitting device” as recited in claim 1.
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  15                            b.    a board having end portions and a center portion
  16                                  therebetween in a longitudinal direction, the board
  17                                  having a first surface on a first surface side thereof
  18                                  and a second surface on a second surface side thereof,
  19                                  the second surface being an opposite side to the first
  20                                  surface, the first surface including a first region and a
  21                                  second region, the first region extending from the
  22                                  center portion of the board to one of the end portions,
  23                                  the second region extending from the center portion
  24                                  of the board to the other of the end portions;
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   1           189. Ishibashi discloses this limitation. For example, Ishibashi discloses
   2   light emitting devices in Figs. 1 and 2, which show a board 5 with end portions
   3   (e.g., the ends of “belt-like branch[es]” 5a), and a center portion (at 7a and 7b)
   4   therebetween in a longitudinal direction.
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  15           190. Further, Ishibashi discloses in the light emitting devices of Figs. 1 and
  16   2 the board 5 having a first surface on a first surface side thereof (e.g., the side
  17   shown in Fig. 2, where the light emitting elements are located) and a second
  18   surface on a second surface side thereof, the second surface being an opposite side
  19   to the first surface, the first surface including a first region and a second region, the
  20   first region extending from the center portion of the board 5 (at 7a and 7b) to one
  21   of the end portions (one end of a “belt-like branch” 5a), the second region
  22   extending from the center portion (at 7a and 7b) of the board 5 to the other of the
  23   end portions (the opposite end of the a longitudinally corresponding “belt-like
  24   branch” 5a).
  25           191. I am applying Nichia’s apparent application of “a board,” “end
  26   portions and a center portion therebetween in a longitudinal direction” and “a
  27   first/second region” from its infringement contentions, and as discussed below in
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   1   Sections VI and VIII, believe these limitations are invalid under 35. U.S.C. Section
   2   112.
   3                            c.    a plurality of light emitting element chips mounted on
   4                                  the first surface side of the board;
   5           192. Ishibashi discloses this limitation. For example, Ishibashi discloses in
   6   the light emitting devices of Figs. 1 and 2 a plurality of light emitting element
   7   chips 6 mounted on the first surface side of the board 5. As another example,
   8   Ishibashi discloses that “[p]rovided is an LED bulb with a higher distribution of
   9   luminous intensity which is close to those of tungsten bulbs, in which the problem
  10   in directivity of the prior art LED bulbs has been solved while maintaining the
  11   advantages of an LED, that is, a long life and an energy saving characteristic. The
  12   LED bulb comprises a printed circuit board 5 which is flat when developed and is
  13   bendable to form a cage, a plurality of LEDs 6 which are disposed on the printed
  14   circuit board 5, and a transparent or semi-transparent cover 2 which encloses the
  15   printed circuit board 5 formed into the cage. The printed circuit board 5 may have
  16   a plurality of belt-like branches 5a which extend in radial directions from the
  17   center of the printed circuit board 5. The LED bulb may further comprise a power
  18   unit housing 8 for containing a power unit which supplies electric current to each
  19   of the LEDs 6.” Id. at Abstract.
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  12                            d.    a wavelength conversion member formed unitarily
  13                                  with a transparent member that seals the plurality of
  14                                  light emitting element chips;
  15           193. For the reasons discussed elsewhere in my report, these claim
  16   limitations are indefinite. See infra, Section VIII. However, to the extent these
  17   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  18   in its infringement contentions, Ishibashi discloses this limitation. For example,
  19   Ishibashi discloses that “[t]he color of the LED chips 6 can be selected depending
  20   on the purposes. As a substitute for a conventional incandescent lamp, a white
  21   LED is used.” Id. at [0026]. The use of white LEDs in Ishibashi implies that such
  22   LEDs are PC LEDs and include a resin or other material with phosphors
  23   distributed therein to convert blue light radiating from a blue LED to white light.
  24           194. Further, Nichia’s application of this limitation only requires
  25   phosphors in a transparent resin, which is merely a wavelength conversion
  26   member, was well known in the art, and is disclosed in this reference. The Court’s
  27   construction, however, requires that the wavelength conversion member and the
  28   transparent member be a single component, which is met by this reference as a
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   1   POSA could use phosphors alone or could replace the mixture of phosphors in a
   2   transparent resin with a single component that accomplishes the same goal.
   3                            e.    a transparent bulb that encloses the board and the
   4                                  plurality of light emitting element chips;
   5           195. Ishibashi discloses this limitation. For example, Ishibashi discloses in
   6   the light emitting device of Fig. 1 a transparent bulb that encloses the board 5 and
   7   the plurality of light emitting element chips 6.
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               196. As another example, Ishibashi discloses that “[t]he cover 2 may
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       comprise a transparent or semitransparent plastic material. If the cover 2 is
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       transparent, each one of a plurality of LED chips can be seen as a separate light
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       Source. On the other hand, if the cover 2 is semi-transparent or milky white, the
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       whole surface of the cover 2 appears to emit light due to the effect of diffused
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       reflection. Although the inside of the cover 2 need not be vacuum like an
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       incandescent lamp, it is preferable that the cover 2 is filled with dry air or an inert
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       nitrogen gas to prevent dust or moisture from entering the inside.” Id. at [0023].
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   1                            f.    support leads that secure the plurality of light
   2                                  emitting element chips inside the transparent bulb;
   3           197. Ishibashi discloses this limitation. For instance. Ishibashi discloses in
   4   Fig. 1 the use of support leads 3 and 7 that secure the plurality of light emitting
   5   element chips inside the transparent bulb. Ishibashi discloses with respect to the
   6   light emitting device of Fig. 1 that “[e]lectricity applied to each of the LED chips 6
   7   is … converted to low voltage direct current by a power circuit (not shown) housed
   8   in the power source housing 8, and the current is supplied to the electrode units 7a
   9   and 7b of the printed circuit board 5 through the supporting rod 3.” Id. [0022].
  10   Also, Ishibashi shows more clearly in the light emitting device of Fig. 2 the
  11   electrode unit 7 portion of the support leads, which secure the plurality of light
  12   emitting element chips inside the transparent bulb.
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  24           198. As another example, Ishibashi discloses that the light emitting device
  25   is “similar to conventional bulbs, by attaching the cap 1 to a socket, direct current
  26   is supplied to the electrode units 7a and 7b on the printed circuit board 5 from the
  27   power circuit housed in the power source housing 8 through the supporting rod 3,
  28   thereby lighting each of the LED chips 6.” Id. at [0025].
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   1                            g.    a support base that can be threadedly engaged with a
   2                                  conventional light bulb socket along a socket axis; and
   3           199. Ishibashi discloses this limitation. For instance, Ishibashi discloses
   4   that “[i]f the power source is commercial alternate current, a power source unit for
   5   lighting the LEDS is housed inside the bulb, which enables the LED bulb to be
   6   used in a manner similar to conventional incandescent lamps.” Id. at [0012].
   7   Further, Ishibashi discloses with respect to the light emitting devices in its figures,
   8   particularly Fig. 1, that “1 denotes a cap which is attachable to an ordinary bulb
   9   socket.” Id. at [0019].
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                                h.    a pair of metal plates protruding at both ends of the
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                                      wavelength conversion member,
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               200. Ishibashi discloses this limitation. For example, Ishibashi discloses
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       with respect to the light emitting device of Fig. 2 that “[t]he printed circuit board 5
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       has a structure in which a wiring pattern formed by punching or etching a
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       conductive material is sandwiched and held by thin flexible films made of an
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       insulating material such as polyimide resin … On the printed circuit board 5, a
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   1   plurality of the LED chips 6 are packaged on the wiring pattern by soldering or the
   2   like.” Id. at [0020]. The board 5 is thus conductive, and it was well known in the
   3   art that such conductivity could be accomplished by including one of various
   4   electrical connecting means, such as a pair of metal plates. Further, the metal plates
   5   would be required to protrude from both ends of the plurality of light emitting
   6   element chips 6 to establish contact with the electrical circuit to power each light
   7   emitting element chip 6.
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                                i.    wherein the wavelength conversion member is
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                                      provided on the first surface side and the second
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                                      surface side, the wavelength conversion member is
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                                      elongated in the longitudinal direction when viewed in
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                                      plan view of the first surface side of the board,
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               201. Ishibashi discloses this limitation. For example, Ishibashi discloses
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       that “[t]he color of the LED chips 6 can be selected depending on the purposes. As
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       a substitute for a conventional incandescent lamp, a white LED is used.” Id. at
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       [0026]. The use of white LEDs in Ishibashi implies that such LEDs are PC LEDs
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   1   and include a resin or other material with phosphors distributed therein to convert
   2   blue light radiating from a blue LED to white light. Ishibashi discloses in the light
   3   emitting device of Fig. 2, a longitudinal board 5 (from one “belt-like branch” 5a to
   4   the opposite end of the a longitudinally corresponding “belt-like branch” 5a)
   5   having light emitting element chips 6 aligned along such longitudinal board. Based
   6   on existing art, it would make sense to provide an elongated wavelength
   7   conversion member on the first surface side commensurate with the longitudinal
   8   board.
   9            202. It was also well known in the art that omni-directional light emitting
  10   devices, such as in Ishibashi (“thereby providing a light source of a bulb in a small
  11   spherical form, direct light of the LEDS can radiate in various directions, which
  12   enables light emission in all directions,” id. at [0010]), would include fluorescent,
  13   transparent resin on the top and bottom surfaces of the board of the light emitting
  14   device to achieve wavelength conversion in any direction. Thus, to achieve an
  15   omni-directional, white light emitting device as discussed above, Ishibashi would
  16   have included a fluorescent, transparent resin of the light emitting element chip 6
  17   package at both the top and bottom surfaces of the circuit board 5 to achieve
  18   wavelength conversion in any direction of light emission.
  19                            j.    wherein a first set of the light emitting element chips
  20                                  are mounted on the first region and arranged from
  21                                  the center portion of the board to the one of the end
  22                                  portions,
  23            203. For the reasons discussed elsewhere in my report, these claim
  24   limitations are indefinite. See infra, Section VIII. However, to the extent these
  25   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  26   in its infringement contentions, Ishibashi discloses this limitation. For example,
  27   Ishibashi discloses in the light emitting device of Fig. 2 a first set of the light
  28   emitting element chips 6 mounted on a first region and arranged from the center
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   1   portion (at 7a and 7b) of the board 5 to one of the end portions (a “belt-like
   2   branch” 5a). For instance, the pair of light emitting element chips 6 positioned on
   3   the left horizontally-oriented portion 5a of the board 5.
   4                            k.    wherein a second set of the light emitting element
   5                                  chips are mounted on the second region and arranged
   6                                  from the center portion of the board to the other one
   7                                  of the end portions, and
   8           204. For the reasons discussed elsewhere in my report, these claim
   9   limitations are indefinite. See infra, Section VIII. However, to the extent these
  10   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  11   in its infringement contentions, Ishibashi discloses this limitation. Similar to the
  12   limitation above, for example, Ishibashi discloses in the light emitting device of
  13   Fig. 2 a second set of the light emitting element chips 6 mounted on a second
  14   region and arranged from the center portion (at 7a and 7b) of the board 5 to the
  15   other one of the end portions (the longitudinally opposite “belt-like branch” 5a).
  16   For instance, the pair of light emitting element chips 6 positioned on the right
  17   horizontally-oriented portion 5a of the board 5 (opposite to the left referenced
  18   above).
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   1                            l.    wherein the pair of metal plates are electrically
   2                                  connected with the support base via the support leads.
   3           205. Ishibashi discloses this limitation. For example, Ishibashi discloses
   4   with respect to the light emitting device of Fig. 1 that “[e]lectricity applied to each
   5   of the LED chips 6 is, if the power supplied from the cap 1 is commercial alternate
   6   current of 100 V, converted to low voltage direct current by a power circuit (not
   7   shown) housed in the power source housing 8, and the current is supplied to the
   8   electrode units 7a and 7b of the printed circuit board 5 through the supporting rod
   9   3.” Id. at [0022]. As shown in Fig. 1, the board 5 which includes conductive
  10   material, such as metal plates, are electrically connected with the support base 1
  11   via the support leads 3 and 7.
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  21                   2.       Claim 3: The light emitting device according to claim 1,
  22                            wherein the transparent bulb is made of glass.
  23           206. Ishibashi discloses this limitation. For example, Ishibashi discloses
  24   that the bulb 2 in the light emitting device of Fig. 1 “may comprise a transparent or
  25   semi-transparent plastic material.” It was well known in the art to use glass as the
  26   material for this bulb, to save cost, for ease of manufacturing, and/or to achieve
  27   desired aesthetic or optical properties.
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  11                   3.       Claim 4: The light emitting device according to claim 1,
  12                            wherein each of the metal plates crosses the support lead.
  13           207. Ishibashi discloses this limitation. For instance, Ishibashi discloses in
  14   the light emitting devices of Figs. 1 and 2, each of the metal plates 5 (at 5a) crosses
  15   the support lead 3 and 7 as the metal plates 5 must cross the support leads 3 and 7
  16   in order to provide a continuous electrical connection to the base 1.
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   1                   4.       Claim 6: The light emitting device according to claim 1,
   2                            wherein the wavelength conversion member comprises a
   3                            phosphor therein.
   4           208. Ishibashi discloses this limitation. The disclosure of a wavelength
   5   conversion member is discussed in detail above with respect to claim 1. The use of
   6   white LEDs in Ishibashi implies that such LEDs are PC LEDs and include a resin
   7   or other material with phosphors distributed therein to convert blue light radiating
   8   from a blue LED to white light.
   9                   5.       Claim 7: The light emitting device according to claim 6,
  10                            wherein the phosphor comprises a YAG group phosphor.
  11           209. Ishibashi discloses this limitation. The disclosure of a wavelength
  12   conversion member is discussed in detail above with respect to claim 1 and the
  13   disclosure of a phosphor is discussed in detail above with respect to claim 6. The
  14   use of white LEDs in Ishibashi implies that such LEDs are PC LEDs and include a
  15   resin or other material with phosphors distributed therein to convert blue light
  16   radiating from a blue LED to white light. A YAG group phosphor was well known
  17   and commonly used as the phosphor in these applications.
  18                   6.       Claim 11: The light emitting device according to claim 6,
  19                            wherein an average particle size of the phosphor is 3 μm or
  20                            more.
  21           210. Ishibashi discloses this limitation. The disclosure of a wavelength
  22   conversion member is discussed in detail above with respect to claim 1 and the
  23   disclosure of a phosphor is discussed in detail above with respect to claim 6.
  24   Further, it was well known in the art that a phosphor having a particle size of 3 μm
  25   or more would be advantageous.
  26                   7.       Claim 12: The light emitting device according to claim 1,
  27                            wherein the plurality of light emitting element chips is
  28                            electrically connected in series.
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   1           211. Ishibashi discloses this limitation. For instance, Ishibashi discloses
   2   that in the light emitting device of Fig. 2 “[t]he LED chips 6 are usually connected
   3   to the electrode units 7 a and 7b in a series.” Id. at [0020].
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  14                   8.       Claim 13: The light emitting device according to claim 1,
  15                            wherein the plurality of light emitting element chips is so
  16                            configured that a main peak light emission wavelength of
  17                            the light emitting element is varied within a range between
  18                            420 nm and 490 nm.
  19           212. Ishibashi discloses this limitation. For example, Ishibashi discloses
  20   that “[t]he color of the LED chips 6 can be selected depending on the purposes. As
  21   a substitute for a conventional incandescent lamp, a white LED is used.” Id. at
  22   [0026]. The use of white LEDs in Ishibashi implies that such LEDs are PC LEDs
  23   and include a resin or other material with phosphors distributed therein to convert
  24   blue light to the white light. It was well known that the main peak light emission
  25   wavelength of blue light includes a range between 420 nm and 490 nm.
  26                   9.       Claim 14: The light emitting device according to claim 1,
  27                            wherein each of the light emitting element chips comprises
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   1                            nitride semiconductor made of InxAlyGa1-x-yN (0≦x, 0≦y,
   2                            x+y≦1).
   3           213. Ishibashi discloses this limitation. The disclosure of light emitting
   4   element chips is discussed in detail above with respect to claim 1. Also, the recited
   5   configuration of nitride semiconductor for light emitting element chips was well
   6   known and commonly used in the art.
   7                   10.      Claim 15: The light emitting device according to claim 1,
   8                            wherein the wavelength conversion member substantially
   9                            surrounds the board.
  10           214. Ishibashi discloses this limitation. The disclosure of a wavelength
  11   conversion member is discussed in detail above with respect to claim 1.
  12   Additionally, Ishibashi discloses in the light emitting device of Fig. 2 a
  13   longitudinal board (from one “belt-like branch” 5a to its longitudinally opposite
  14   “belt-like branch” 5a of the board 5) having light emitting element chips 6 aligned
  15   along such longitudinal board 5 (at 5a). It was well known in the art to encapsulate
  16   a plurality of light emitting elements in a single fluorescent, transparent resin,
  17   which would thereby substantially surround the board 5. Also, as explained in
  18   detail above with respect to claim 1, it was well known in the art to include a
  19   fluorescent, transparent resin on both the first and second surfaces of a board in an
  20   omni-directional lighting device. Ishibashi discloses that “thereby providing a light
  21   source of a bulb in a small spherical form, direct light of the LEDS can radiate in
  22   various directions, which enables light emission in all directions.” Id. at [0010].
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   1                   11.      Claim 17: The light emitting device according to claim 1,
   2                            wherein the board is configured to be transparent so that a
   3                            light emitted from the plurality of light emitting element
   4                            chips on the first surface side of the board forwards outside
   5                            of the light emitting device through the second surface of
   6                            the board.
   7           215. Ishibashi discloses this limitation. For instance, Ishibashi discloses
   8   omni-directional light emitting devices: “[a]ccording to the present invention, by
   9   bending a printed circuit board with a plurality of LEDs disposed on the surface
  10   thereof to form a cage, thereby providing a light source of a bulb in a small
  11   spherical form, direct light of the LEDs can radiate in various directions, which
  12   enables light emission in all directions.” Id. at [0010]. To accomplish an omni-
  13   directional light emitting device, the light emitting devices of Ishibashi would
  14   include a board that is configured to be transparent. Thus, a light emitted from the
  15   plurality of light emitting element chips 6 on the first surface side of the board 5
  16   would forward outside of the light emitting device through the second surface of
  17   the board 5.
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   1                   12.      Claim 18: The light emitting device according to claim 1,
   2                            wherein the wavelength conversion member is capable of
   3                            converting light emitted from the plurality of light emitting
   4                            element chips into light with a different wavelength such
   5                            that the converted light with the different wavelength is
   6                            radiated along a first direction from the first surface side of
   7                            the board to an outer periphery of the wavelength
   8                            conversion member, and along a second direction from the
   9                            second surface of the board to the outer periphery of the
  10                            wavelength conversion member.
  11           216. For the reasons discussed elsewhere in my report, these claim
  12   limitations are indefinite. See infra, Section VIII. However, to the extent these
  13   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  14   in its infringement contentions, Ishibashi discloses this limitation. For example, the
  15   disclosure of a wavelength conversion member is discussed in detail with respect
  16   to claim 1 above, and the omni-directional qualities of the disclosed light emitting
  17   devices is discussed in detail with respect to claim 17 above.
  18                   13.      Claim 19: The light emitting device according to claim 1,
  19                            wherein all light emitting element chips mounted on the
  20                            first surface side of the board are aligned along a line.
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   1           217. Ishibashi discloses this limitation. For instance, Ishibashi discloses in
   2   the light emitting devices of Figs. 1 and 2 light emitting element chips 6 mounted
   3   on the first surface side of the board 5 that are aligned along a line. Specifically,
   4   the light emitting element chips 6 along any corresponding longitudinal belt-like
   5   branches 5a of the board 5 are aligned along a line commensurate with the length
   6   of the corresponding branches 5a.
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                       14.      Claim 20: The light emitting device according to claim 1,
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                                wherein the wavelength conversion member seals all light
  22
                                emitting element chips mounted on the first surface side of
  23
                                the board.
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               218. Ishibashi discloses this limitation. The disclosure of a wavelength
  25
       conversion member is discussed in detail with respect to claim 1 above.
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   1                   15.      Claim 21: The light emitting device according to claim 19,
   2                            wherein the wavelength conversion member seals all light
   3                            emitting element chips mounted on the first surface side of
   4                            the board.
   5           219. Ishibashi discloses this limitation. The disclosure of a wavelength
   6   conversion member is discussed in detail with respect to claim 1 above.
   7                   16.      Claim 22: The light emitting device according to claim 1,
   8                            wherein the first set of light emitting element chips and the
   9                            second set of light emitting element chips are aligned along
  10                            substantially a single line that extends in the longitudinal
  11                            direction of the wavelength conversion member.
  12           220. Ishibashi discloses this limitation. Such a configuration of the first set
  13   of light emitting element chips and the second set of light emitting element chips is
  14   discussed in detail with respect to claim 19 above.
  15                   17.      Claim 24: The light emitting device according to claim 1,
  16                            wherein one of the support leads is positioned between one
  17                            of the metal plates and the support base.
  18           221. Ishibashi discloses this limitation. Such a configuration of the support
  19   leads, metal plates, and support base is discussed in detail with respect to claim 1
  20   above.
  21                   18.      Claim 25: The light emitting device according to claim 1,
  22                            wherein all of the light emitting element chips mounted on
  23                            the first surface side of the board are aligned along a single
  24                            line when viewed in plan view of the first surface side of the
  25                            board.
  26           222. Ishibashi discloses this limitation. Such a configuration of the light
  27   emitting element chips is discussed in detail with respect to claim 19 above.
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   1                   19.      Claim 27: See claims 1 and 24.
   2           223. Ishibashi discloses these limitations. Each of these limitations is
   3   discussed in detail with respect to claims 1 and 24 above.
   4   V.      MY        OPINIONS          FOR    GROUNDS        OF     INVALIDITY          BY
   5           OBVIOUSNESS
   6           A.      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are obvious over
   7                   Mano in view of Shibata.
   8                   1.       Claim 1:
   9                            a.    A light emitting device comprising:
  10           224. To the extent the preamble is limiting, Mano discloses the limitations
  11   therein. For example, Mano is entitled “Light-emitting Unit and Illuminator
  12   Utilizing the Same” and discloses that “[t]he present invention relates to a light-
  13   emitting unit, in particular, of the type which includes a printed circuit board or
  14   substrate, a light-emitting element mounted on the board, and a lens.” Mano at
  15   [0002]. Mano also discloses “an all-directional light emitting unit that can emit
  16   light as if a spherical light source is employed.” Id. at [0007]. The light emitting
  17   device shown in FIG. 13, for instance, constitutes “a light emitting device” as
  18   recited in claim 1. See, e.g., id. at [0008], [0013], Figs. 1-2, Figs. 8-9, Figs. 14-16.
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                                b.    a board having end portions and a center portion
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                                      therebetween in a longitudinal direction, the board
  11
                                      having a first surface on a first surface side thereof
  12
                                      and a second surface on a second surface side thereof,
  13
                                      the second surface being an opposite side to the first
  14
                                      surface, the first surface including a first region and a
  15
                                      second region, the first region extending from the
  16
                                      center portion of the board to one of the end portions,
  17
                                      the second region extending from the center portion
  18
                                      of the board to the other of the end portions;
  19
               225. Mano discloses these limitations. For example, Mano discloses that
  20
       the light emitting device shown in Fig. 14B (as well as its other embodiments) has
  21
       a board 110 that has a first surface side 113 and second surface side 114, where the
  22
       second surface 114 is an opposite side to the first surface 113. Mano also discloses
  23
       “[a] light-emitting unit 101 … includes a rectangular substrate 110 having an
  24
       obverse surface 113 and a reverse surface 114.” Id. at [0086]. Also, the board of
  25
       the light emitting device of Fig. 14B includes the first and second regions, where
  26
       the first region extends from the center portion of the board to one of the end
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                                        104
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   1   portions and the second region extends from the center portion of the board to the
   2   other of the end portions.
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  10           226. I understand that Mano was cited by the Examiner during the

  11   prosecution of the ’734 patent. Specifically, in a September 2, 2016 Office Action,

  12   the Examiner found that:

  13           Mano discloses a light emitting device comprising: a board 10 having
  14           a first surface 13 on a first surface side thereof and a second surface
               14 on a second surface side thereof, the second surface being an
  15           opposite side to the first surface; a light emitting element chip 21 (see
  16           embodiment of Figures 11-12) mounted on the first surface side of
               the board; a wavelength conversion member (collective 30 including
  17           fluorescent material, see Figure 1 Band paragraph [0083]) formed
  18           unitarily with a transparent member that seals the plurality of light
               emitting element chips; a transparent bulb 81 that encloses the board
  19           and the light emitting element chip 21; support leads (41a,41b) that
  20           secure the light emitting element chip inside the transparent bulb; and
               a support base 82 that can be threadedly engaged with a conventional
  21
               socket along a socket axis, wherein the wavelength conversion
  22           member 30 is provided on the first surface side and the second
               surface side, and the wavelength conversion member is elongated in a
  23
               longitudinal direction (see generally Figures 1-13, particularly
  24           Figures 11-13 and paragraphs [0067]-[0084]).
  25           227. The Examiner further found that:
  26
               Mano teaches embodiments where a plurality of light emitting chips
  27
               21 are mounted on a first surface side of the board and aligned along a
  28           line that extends in a longitudinal direction (see Mano, at least Figures
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   1           14A-32). Accordingly it would have been obvious to one of ordinary
               skill in the art at the time the invention was made to mount a plurality
   2
               of light emitting element chips 21 on the first surface side of the board
   3           along a line that extends in the longitudinal direction in Figures 12-13
               of Mano as suggested in other embodiments in Mano in order to
   4
               increase the light output and brightness of the lighting device.
   5
               228. In a December 2, 2016 Amendment responding to that Office Action,
   6
       Nichia amended the claims to include most of the language found in this these
   7
       limitations, which I have denoted below in underline:
   8
   9           a board having end portions and a center portion therebetween in a
               longitudinal direction, the board having a first surface on a first
  10
               surface side thereof and a second surface on a second surface side
  11           thereof, the second surface being an opposite side to the first surface.
               the first surface including a first region and a second region, the first
  12
               region extending from the center portion of the board to one of the
  13           end portions, the second region extending from the center portion of
  14           the board to the other of the end portions;

  15           229. Specifically, Nichia argued that Mano did not disclose the newly-
  16   added limitations to the claim.
  17           230. On January 10, 2017, the Examiner issued another Office Action, a
  18   Final Rejection, in which the Examiner rejected Nichia’s prior arguments
  19   regarding Mano, and further found that:
  20
               Mano discloses a light emitting device comprising: a board 110
  21           having end portions (see Figure 14A and end portions of board
  22           beyond wavelength conversion member 30) and a center portion
               therebetween (see Figure 14A and center portion between light
  23           emitting elements 20) in a longitudinal direction, the board having a
  24           first surface 113 on a first surface side thereof and a second surface
               114 on a second surface side thereof, the second surface being an
  25           opposite side to the first surface, the first surface including a first
  26           region and a second region, the first region extending from the center
               portion of the board to one of the end portions, the second region
  27           extending from the center portion of the board to the other of the end
  28           portions; a plurality of light emitting element chips 21 mounted on the

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   1           first surface side of the board; a wavelength conversion member
               (collective 130 including fluorescent material, see Figure 14B and
   2
               paragraph [0083]) formed unitarily with a transparent member that
   3           seals the plurality of light emitting element chips; a transparent bulb
               81 that encloses the board and the light emitting element chip 21;
   4
               support leads 23a,23b (see Figure 10 and paragraphs [0080] and
   5           [0087]) that secure the light emitting element chips 21 inside the
               transparent bulb; and a support base 82 that can be threadedly
   6
               engaged with a conventional socket along a socket axis, wherein the
   7           wavelength conversion member 130 is provided on the first surface
               side and the second surface side, and the wavelength conversion
   8
               member is elongated in the longitudinal direction when viewed in plan
   9           view of the first surface side of the board 110 (the wavelength
  10           conversion member 130 is elongated in both the longitudinal direction
               and the lateral direction of board 110 (see Figure 14A) relative to the
  11           height/thickness direction of the wavelength conversion member 130
  12           (see Figure 14B), thus the wavelength conversion member 130 is still
               elongated in the longitudinal direction when viewed in plan view of
  13           Figure 14A of the first surface side of the board), wherein a first set of
  14           the light emitting element chips 21 are mounted in the first region and
               arranged from the center portion of the board to the one of the end
  15           portions, and wherein a second set of the light emitting element chips
  16           21 are mounted in the second region and arranged from the center
               portion of the board to the other one of the end portions (see generally
  17           Figures 13-25, and paragraphs [0083]-[0100]).
  18           231. I understand that the Examiner then found pending dependent claims
  19   25-27, each of which claim aspects of using a support lead, to be “allowable if
  20   rewritten in independent form including all of the limitations of the base claim,”
  21   i.e., pending claim 1.
  22           232. Rather than continue to engage the examiner over whether or not
  23   Mano disclosed, for example, the limitations discussed in this section, I understand
  24   that Nichia rewrote dependent claims 25-27 into independent form, and that those
  25   issued as claims 1, 26, and 27. I note that, while the Examiner did not find the
  26   claimed support leads disclosed by Mano, it is my opinion that Mano discloses
  27   such leads, for the reasons stated herein and based on how Nichia has applied those
  28   terms in this litigation. See infra, Section 1.f.
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   1                            c.    a plurality of light emitting element chips mounted on
   2                                  the first surface side of the board;
   3           233. Mano discloses this limitation. For instance, Mano discloses that
   4   “[e]ach side of the substrate 110 is provided with a domed lens 130 enclosing a
   5   plurality of packaged light emitting elements 20.” Also, Mano discloses that the
   6   light emitting devices in its Fig. 14-25 show “four elements 20 [ ] provided for
   7   each lens 130 (referring to the lens positioned on the first and second sides of the
   8   board), though the present invention is not limited to this.” Id. at [0086]. Mano
   9   discloses light emitting devices in Figs. 14A and 26, which further illustrate this
  10   limitation.
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                                d.    a wavelength conversion member formed unitarily
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                                      with a transparent member that seals the plurality of
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                                      light emitting element chips;
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               234. For the reasons discussed elsewhere in my report, these claim
  23
       limitations are indefinite. See infra, Section VIII. However, to the extent these
  24
       limitations are not found indefinite, applying them indistinctly as Nichia appears to
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       in its infringement contentions, Mano discloses this limitation. For example, Mano
  26
       discloses that “a fluorescent material may be added to the transparent resin for
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       making the lens 30. In this case, as propagating through the lens 30, the light
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   1   (‘original light’) emitted from the element 20 excites the fluorescent additives, and
   2   these additives will emit light (‘secondary light’) as returning to a less excited
   3   state. In this case, the original light and the secondary light are blended to produce
   4   white light. A suitable fluorescent material is selected in accordance with the
   5   frequency of light emitted from the element 20.” Id. at [0083]. Also, the light
   6   emitting devices shown in Figs. 13 and 14B disclose this limitation.
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  17           235. Further, Nichia’s application of this limitation only requires a
  18   fluorescent material in a transparent resin, which is merely a wavelength
  19   conversion member, was well known in the art, and is disclosed in this reference.
  20   The Court’s construction, however, requires that the wavelength conversion
  21   member and the transparent member be a single component, which is met by this
  22   reference as a POSA could use a fluorescent material alone or could replace the
  23   mixture of a fluorescent material in a transparent resin with a single component
  24   that accomplishes the same goal.
  25                            e.    a transparent bulb that encloses the board and the
  26                                  plurality of light emitting element chips;
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   1           236.     Mano discloses a transparent bulb that encloses the board and the
   2   plurality of light emitting element chips. For example, Mano discloses that in the
   3   light emitting device of Fig. 13 “the light-emitting unit 1 is accommodated in an
   4   envelope 81 made of glass, for example. The unit 1 is electrically connected to a
   5   conductive base or cap 82. As in a conventional lightbulb …” Id. at [0084].
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  15                            f.    support leads that secure the plurality of light
  16                                  emitting element chips inside the transparent bulb;
  17           237. Mano in view of Shibata discloses support leads that secure the
  18   plurality of light emitting element chips inside the transparent bulb. For instance,
  19   Mano discloses that “[t]he details of the light-emitting element 20 are shown in
  20   Fig. 10. Specifically, the element 20 includes an elongated rectangular base 22
  21   provided with an anode 23a at one end and a cathode 23b at the other end. A light-
  22   emitting diode chip 21 is die-bonded to the cathode 23b, while also being
  23   connected to the anode 23a via a metal wire 24.” Id. at [0080]. Mano at Figs. 10
  24   and 12 also show this limitation.
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                                        110
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  10           238. Also, for example, Mano discloses in the light emitting device of Fig.
  11   11 that the metal wire 24 is further connected to support leads 40 and the support
  12   leads 40 secure the plurality of light emitting element chips inside the transparent
  13   bulb 80.
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  24           239. I am applying Nichia’s apparent application of “support leads that
  25   secure the plurality of light emitting element chips inside the transparent bulb”
  26   from its infringement contentions, which does not indicate what support is to be
  27   provided. However, Mano discloses that the leads provide structural support
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   1   because they assist in enabling the internal components to stand upright within the
   2   bulb of the light emitting device.
   3           240. Mano does not explicitly disclose support leads. However, Shibata
   4   discloses this limitation. Shibata, like Mano, is directed to omnidirectional LED
   5   light emitting devices. Shibata is entitled “LED Electric Bulb” and discloses “an
   6   LED electric bulb which can obtain a desired quantity of light and a desired range
   7   of emission.” Shibata at [0006]. For example, Shibata discloses a light emitting
   8   device in Fig. 1 as recited in claim 1.
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               241. For example, Shibata discloses in the light emitting device of Fig. 1
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       that “the stem 1c supports an LED chain body 2 instead of a filament, and both
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       ends of the LED chain body 2 are respectively connected to two internal lead-in
  21
       wires 1d, which extend into the glass bulb 1a from the stem 1c.” Id. at [0014].
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       Shibata further discloses that the lead-in wires 1d are connected to “flexible
  23
       members 4, which are composed of thin metallic plates.” Id.
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               242. A POSA would have looked to Shibata for guidance regarding
  25
       implementing light emitting devices as disclosed by Mano, particularly because
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       Shibata and Mano are references in the same field that disclose light emitting
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       devices with many common features. Having looked to Shibata, such a POSA
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                                        112
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   1   would have found it obvious to implement the support leads in the light emitting
   2   device of Mano such that the components internal to the bulb are configured
   3   horizontally, rather than vertically, to resemble a conventional incandescent bulb,
   4   wherein the inventions of both Mano and Shibata both seek to emulate the
   5   appearance of a traditional incandescent bulb. Id. at [0006]; Mano at [0006].
   6                            g.    a support base that can be threadedly engaged with a
   7                                  conventional light bulb socket along a socket axis; and
   8           243. Mano discloses a support base that can be threadedly engaged with a
   9   conventional light bulb socket along a socket axis. For instance, Mano discloses
  10   that in the light emitting device of Fig. 13 “the light-emitting unit 1 is
  11   accommodated in an envelope 81 made of glass, for example. The unit 1 is
  12   electrically connected to a conductive base or cap 82. As in a conventional
  13   lightbulb, the base 82 may consist of two electrically insulated contacts, a threaded
  14   ring contact and a tip contact disposed at the bottom of the base 82.” Id. at [0084].
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  23                            h.    a pair of metal plates protruding at both ends of the

  24                                  wavelength conversion member,

  25           244. Mano discloses a pair of metal plates protruding at both ends of the

  26   wavelength conversion member. For example, Mano discloses in the light emitting

  27   device of Fig. 29 a pair of metal plates 350 protruding at both ends of the

  28   wavelength conversion member 130.

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                                  #:17811


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   9           245. In another example, Mano discloses with respect to the light emitting
  10   device of Fig. 30 that “the substrate 410 includes a circular portion 412 and two
  11   rectangular portions 411 pro-jecting oppositely from the circular portion 412. Each
  12   rectangular portion 411 is provided with a pair of connection terminals 450 on the
  13   obverse and the reverse sides of the substrate 410.” Id. at [0111].
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  22                            i.    wherein the wavelength conversion member is
  23                                  provided on the first surface side and the second
  24                                  surface side, the wavelength conversion member is
  25                                  elongated in the longitudinal direction when viewed in
  26                                  plan view of the first surface side of the board,
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                                       Exhibit D, p. 633
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                                  #:17812


   1           246. Mano discloses this limitation. For example, Mano discloses that in
   2   the light emitting devices of Figs. 14-25 that “[e]ach side of the substrate 110 is
   3   provided with a domed lens 130 enclosing a plurality of packaged light emitting
   4   elements 20.” Id. at [0086]. Furthermore, Mano discloses in the light emitting
   5   devices of Figs. 14A and 14B, a wavelength conversion member 130 that is
   6   elongated in both the longitudinal direction and the lateral direction of the
   7   rectangular substrate 110 (see FIG. 14A) relative to the height/thickness direction
   8   of the wavelength conversion member 130 (see FIG. 14B), thus the wavelength
   9   conversion member 130 is still elongated in the longitudinal direction when viewed
  10   in plan view of FIG. 14A of the first surface side of the board. As another example,
  11   Mano discloses that “[p]referably, the periphery of each lens may be circular,” and
  12   thus the disclosure of Mano contemplates other conventional shapes of a
  13   wavelength conversion member, including an ellipse. Id. at [0010].
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   1           247. Moreover, having reviewed Nichia’s infringement contentions, Nichia
   2   applies this limitation agnostic to shape such that any shape meets this limitation.
   3   For instance, Nichia asserts infringement under this limitation by Feit Electric’s
   4   curved products. However, those products, in their natural and commercially
   5   available state do not have an elongated board. Rather, the boards are curved and
   6   conical such that as provided to a customer, the wavelength conversion member
   7   component is not elongated in the longitudinal direction when viewed in plan view
   8   of the first surface side of the board. Nichia asserts infringement by breaking the
   9   unit and stretching the board to force this limitation, even though in such a state the
  10   curved Feit Electric device is no longer functional. That same manipulation can
  11   take place with the Mano board, thus rendering it invalid in the same way Nichia
  12   applies this limitation Moreover, Mano meets this limitation without such
  13   manipulation as Mano’s disclosure contemplates other conventional shapes of a
  14   wavelength conversion member, including a rectangle or any other shape (to cover
  15   some or all of the light emitting element chips) (see, e.g, annotated versions of
  16   Figure 14A below).
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   1                            j.    wherein a first set of the light emitting element chips
   2                                  are mounted on the first region and arranged from
   3                                  the center portion of the board to the one of the end
   4                                  portions,
   5           248. For the reasons discussed elsewhere in my report, these claim
   6   limitations are indefinite. See infra, Section VIII. However, to the extent these
   7   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   8   in its infringement contentions, Mano discloses this limitation.
   9           249. I understand that this claim limitation was added by Nichia after the
  10   Examiner’s first rejection based on Mano, and that as with the limitations
  11   previously discussed in Section 1.c, the Examiner nevertheless found that Mano
  12   ultimately discloses this limitation.
  13           250. For example, Mano discloses in the light emitting device of Figs. 14A
  14   and 22 two of various possible examples of this claim limitation. These figures
  15   show a first pair of the light-emitting elements 20 mounted on the first region of
  16   the board and arranged from the center portion of the board to one of the end
  17   portions.
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  26           251. As another example, Mano discloses with respect to the light emitting
  27   device of Fig. 22 that “the first element set 126 and the second element set 127 on
  28   the obverse surface 113 of the substrate 110 are powered by different current paths
                                               117
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   1   which are electrically independent of each other. Likewise, on the reverse side of
   2   the substrate 113, the first and the second element sets 128 and 129 are
   3   independently powered. Meanwhile, the obverse-side first element set 126 and the
   4   reverse-side first element set 128 are connected in parallel, and the obverse side
   5   second element set 127 and the reverse-side second element set 129 are connected
   6   in parallel.” Id. at [0096].
   7           252. Further, Mano discloses with respect to the light emitting device of
   8   Fig. 16 that “four packaged light emitting elements 20 are mounted on the obverse
   9   surface 113 of the substrate 110. As seen from the figure, the upper two elements
  10   20 are connected in series by the upper intermediate conductor 141c, thereby
  11   providing a ‘first element set 126.’ Likewise, the lower two elements 20 are
  12   connected in series by the lower intermediate conductor 141c, thereby providing a
  13   ‘second element set 127.’” Id. at [0093].
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  23                            k.    wherein a second set of the light emitting element
  24                                  chips are mounted on the second region and arranged
  25                                  from the center portion of the board to the other one
  26                                  of the end portions, and
  27           253. For the reasons discussed elsewhere in my report, these claim
  28   limitations are indefinite. See infra, Section VIII. However, to the extent these
                                               118
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   1   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   2   in its infringement contentions, like the limitation above, Mano discloses this
   3   limitation. For example, Mano discloses in the light emitting device of Figs. 14A
   4   and 22 two of various possible examples of this claim limitation. These figures
   5   show a first pair of the light-emitting elements 20 mounted on the first region of
   6   the board and arranged from the center portion of the board to one of the end
   7   portions.
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  17           254. As another example, Mano discloses with respect to the light emitting
  18   device of Fig. 22 that “the first element set 126 and the second element set 127 on
  19   the obverse surface 113 of the substrate 110 are powered by different current paths
  20   which are electrically independent of each other. Likewise, on the reverse side of
  21   the substrate 113, the first and the second element sets 128 and 129 are
  22   independently powered. Meanwhile, the obverse-side first element set 126 and the
  23   reverse-side first element set 128 are connected in parallel, and the obverse side
  24   second element set 127 and the reverse-side second element set 129 are connected
  25   in parallel.” Id. at [0096].
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   1           255. Further, Mano discloses with respect to the light emitting device of
   2   Fig. 16 that “four packaged light emitting elements 20 are mounted on the obverse
   3   surface 113 of the substrate 110. As seen from the figure, the upper two elements
   4   20 are connected in series by the upper intermediate conductor 141c, thereby
   5   providing a ‘first element set 126.’ Likewise, the lower two elements 20 are
   6   connected in series by the lower intermediate conductor 141c, thereby providing a
   7   ‘second element set 127.’” Id. at [0093].
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                                l.    wherein the pair of metal plates are electrically
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                                      connected with the support base via the support leads.
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               256. Mano discloses a light-emitting device where the pair of metal plates
  21
       are electrically connected with the support base via the support leads. For example,
  22
       Mano discloses with respect to the light emitting device of Fig. 13 that “[t]he unit 1
  23
       is electrically connected to a conductive base or cap 82. As in a conventional
  24
       lightbulb, the base 82 may consist of two electrically insulated contacts, a threaded
  25
       ring contact and a tip contact disposed at the bottom of the base 82. The ring
  26
       contact is connected to one of the electrodes 50a, 50b, while the tip contact is
  27
       connected to the other.” Id. at [0084].
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                                        120
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   1           257. Further, Mano discloses this limitation in the light emitting devices of
   2   Figs. 11 and 12, wherein the pair of metal plates 50 are electrically connected with
   3   the support base via the support leads 24 and 40, as the metal plates 50 connect
   4   with the support base 82 via the support leads 40.
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  16           258. Also, Mano discloses that in the light emitting device of Fig. 30 “the

  17   substrate 410 includes a circular portion 412 and two rectangular portions 411 pro-

  18   jecting oppositely from the circular portion 412. Each rectangular portion 411 is

  19   provided with a pair of connection terminals 450 on the obverse and the reverse

  20   sides of the substrate 410.” Id. at [0111].

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                       2.       Claim 3: The light emitting device according to claim 1,
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                                wherein the transparent bulb is made of glass.
  11
               259. Mano discloses this limitation. For example, Mano discloses that in
  12
       the light emitting device of Fig. 13 “the light-emitting unit 1 is accommodated in
  13
       an envelope 81 made of glass, for example.”
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   1                   3.       Claim 4: The light emitting device according to claim 1,
   2                            wherein each of the metal plates crosses the support lead.
   3           260. Mano discloses that each of the metal plates crosses the support lead.
   4   For instance, Mano the light emitting device in Fig. 20 discloses metal plates 150
   5   crossing the support lead 14.
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                       4.       Claim 6: The light emitting device according to claim 1,
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                                wherein the wavelength conversion member comprises a
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                                phosphor therein.
  17
               261. Mano discloses wherein the wavelength conversion member
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       comprises a phosphor therein. For example, the disclosure of a wavelength
  19
       conversion member is discussed in detail with respect to claim 1 above.
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       Additionally, Mano discloses that “[a]s another possible way, a fluorescent
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       material may be added to the transparent resin for making the lens 30. In this case,
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       as propagating through the lens 30, the light (‘original light’) emitted from the
  23
       element 20 excites the fluorescent additives, and these additives will emit light
  24
       (‘secondary light’) as returning to a less excited state. In this case, the original light
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       and the secondary light are blended to produce white light. A suitable fluorescent
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       material is selected in accordance with the frequency of light emitted from the
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                                        123
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   1   element 20.” Id. at [0083]. Fluorescent material was well known in the art to be a
   2   phosphor.
   3                   5.       Claim 7: The light emitting device according to claim 6,
   4                            wherein the phosphor comprises a YAG group phosphor.
   5           262. Mano discloses this element. As discussed above with respect to claim
   6   6, Mano discloses the use of a phosphor, and YAG phosphors were well known
   7   and commonly used in the art as they have high stability and excellent
   8   luminescence.
   9                   6.       Claim 11: The light emitting device according to claim 6,
  10                            wherein an average particle size of the phosphor is 3 μm or
  11                            more.
  12           263. Mano discloses this element. As discussed above with respect to claim
  13   6, Mano discloses the use of a phosphor, and it was well known in the art that a
  14   particle size of 3 μm or more would be advantageous.
  15                   7.       Claim 12: The light emitting device according to claim 1,
  16                            wherein the plurality of light emitting element chips is
  17                            electrically connected in series.
  18           264. Mano discloses that the plurality of light emitting element chips is
  19   electrically connected in series. For instance, Mano discloses with respect to the
  20   light emitting device of Fig. 16 that “four packaged light emitting elements 20 are
  21   mounted on the obverse Surface 113 of the substrate 110. As seen from the figure,
  22   the upper two elements 20 are connected in series by the upper intermediate
  23   conductor 141c, thereby providing a ‘first element set 126.’ Likewise, the lower
  24   two elements 20 are connected in Series by the lower intermediate conductor 141c,
  25   thereby providing a ‘second element set 127.’ The first element Set 126 is
  26   connected at one end to the upper left anode 150a and at the other end to the upper
  27   right cathode 150b. The second element set 127 is connected at one end to the
  28   lower left anode 150a and at the other end to the lower right cathode 150b.
                                        124
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   1   Arrangements identical to those shown in FIG. 16 are also built on the other side
   2   (i.e., the reverse surface 114) of the substrate 110. As shown in FIG. 22, a first
   3   element set 128 consisting of two light-emitting elements 20 is connected between
   4   one anode 150a and one cathode 150b, while a second element set 129 consisting
   5   of another two light-emitting elements 20 is connected between the other anode
   6   150a and the other cathode 150b.” Id. at [0093].
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  16           265. As another example, Mano discloses this limitation in the light
  17   emitting device of Fig. 22, which shows light-emitting element chips 20 connected
  18   in series.
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   1                   8.       Claim 13: The light emitting device according to claim 1,
   2                            wherein the plurality of light emitting element chips is so
   3                            configured that a main peak light emission wavelength of
   4                            the light emitting element is varied within a range between
   5                            420 nm and 490 nm.
   6           266. Mano discloses this limitation. It was well known in the art that the
   7   main peak light emission wavelength of the light-emitting elements 20 emitting
   8   blue light (see id. at [0083]) included a range between 420 nm and 490 nm.
   9   Additionally, Mano discloses, for instance, that “[t]o produce white light, each side
  10   of the substrate 10 may be provided with three kinds of light-emitting elements
  11   designed to emit…blue lights, respectively, to be combined into the desired white
  12   light.” Id.
  13                   9.       Claim 14: The light emitting device according to claim 1,
  14                            wherein each of the light emitting element chips comprises
  15                            nitride semiconductor made of InxAlyGa1-x-yN (0≦x, 0≦y,
  16                            x+y≦1).
  17           267. Mano discloses this limitation. The disclosure of light emitting
  18   element chips is discussed in detail above with respect to claim 1. Also, this
  19   configuration of nitride semiconductor for use in light emitting devices was well
  20   known in the art.
  21                   10.      Claim 15: The light emitting device according to claim 1,
  22                            wherein the wavelength conversion member substantially
  23                            surrounds the board.
  24           268. Mano discloses that the wavelength conversion member substantially
  25   surrounds the board. For instance, Mano discloses that in the light emitting devices
  26   of Figs. 1-6 “[t]he lens 30 has a circular periphery 31. According to the present
  27   invention, the periphery 31 may be arranged to overlap with the circular edge of
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                                         126
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                                       Exhibit D, p. 645
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   1   the substrate 10 or retreat slightly inward from the edge of the substrate 10.” Id. at
   2   [0067].
   3           269. As another example, Mano discloses that “[a]s another possible way, a
   4   fluorescent material may be added to the transparent resin for making the lens 30.
   5   In this case, as propagating through the lens 30, the light (‘original light’) emitted
   6   from the element 20 excites the fluorescent additives, and these additives will emit
   7   light (‘secondary light’) as returning to a less excited state. In this case, the original
   8   light and the secondary light are blended to produce white light. A suitable
   9   fluorescent material is selected in accordance with the frequency of light emitted
  10   from the element 20.” Id. at [0083].
  11           270. Further, Mano discloses this limitation in the light emitting devices of
  12   Figs. 1B and 18. The wavelength conversion members 30 and 130 substantially
  13   surround the boards 10 and 110.
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  20                   11.      Claim 17: The light emitting device according to claim 1,
  21                            wherein the board is configured to be transparent so that a
  22                            light emitted from the plurality of light emitting element
  23                            chips on the first surface side of the board forwards outside
  24                            of the light emitting device through the second surface of
  25                            the board.
  26           271. Mano discloses this limitation. For example, Mano discloses that
  27   “[r]eference is first made to FIGS. 1-6 illustrating a light-emitting unit 1 according
  28   to a first embodiment of the present invention. In the illustrated example, the unit 1
                                        127
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   1   includes a transparent substrate 10, packaged light-emitting elements 20, lenses 30
   2   with light-dispersing properties, and wiring patterns 40 formed on the substrate 10.
   3   The substrate 10 has an obverse surface 13 and a reverse surface 14, as shown in
   4   FIGS. 1B and 1C, for example. Each surface is provided with a light-emitting
   5   element 20, a lens 30 and a wiring pattern 40. The lens 30 has a circular periphery
   6   31. According to the present invention, the periphery 31 may be arranged to
   7   overlap with the circular edge of the substrate 10 or retreat slightly inward from the
   8   edge of the substrate 10. In the illustrated example, the latter case is depicted, in
   9   which the periphery 31 is spaced apart from the circular edge of the substrate 10.
  10   The substrate 10 is formed of a transparent material such as glass-reinforced
  11   epoxy, and includes a rectangular portion 11 and a circular portion 12 continuous
  12   with the rectangular portion.” Id. at [0067-0068]. Mano thus discloses that the
  13   board 10 is configured to be transparent.
  14           272. As another example, Mano also discloses that “[f]urther, in the
  15   cruciform opening, the substrate 110 is partially exposed (see reference numeral
  16   161). As in the first embodiment, light from the light emitting element can enter
  17   the transparent substrate 110 via the exposed parts 161, propagate therethrough,
  18   and go out from the side surfaces 116 (see FIG. 18).” Id. at [0091].
  19                   12.      Claim 18: The light emitting device according to claim 1,
  20                            wherein the wavelength conversion member is capable of
  21                            converting light emitted from the plurality of light emitting
  22                            element chips into light with a different wavelength such
  23                            that the converted light with the different wavelength is
  24                            radiated along a first direction from the first surface side of
  25                            the board to an outer periphery of the wavelength
  26                            conversion member, and along a second direction from the
  27                            second surface of the board to the outer periphery of the
  28                            wavelength conversion member.
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   1           273. For the reasons discussed elsewhere in my report, these claim
   2   limitations are indefinite. See infra, Section VIII. However, to the extent these
   3   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   4   in its infringement contentions, Mano discloses this limitation. For example, the
   5   disclosure of a wavelength conversion member is discussed in detail with respect
   6   to claim 1 above, and the omni-directional qualities of the disclosed light emitting
   7   devices is discussed in detail with respect to claim 17 above.
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               274. Also, for example, Mano discloses that “[i]n this case, as propagating
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       through the lens 30, the light (“original light”) emitted from the element 20 excites
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       the fluorescent additives, and these additives will emit light (“secondary light”) as
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       returning to a less excited state. In this case, the original light and the secondary
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       light are blended to produce white light. A suitable fluorescent material is selected
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       in accordance with the frequency of light emitted from the element 20.” Id. at
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       [0083].
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               275. As another example, Mano also discloses that “[f]urther, in the
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       cruciform opening, the substrate 110 is partially exposed (see reference numeral
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       161). As in the first embodiment, light from the light emitting element can enter
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       the transparent substrate 110 via the exposed parts 161, propagate therethrough,
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       and go out from the side surfaces 116 (see FIG. 18).” Id. at [0091].
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   1                   13.      Claim 19: The light emitting device according to claim 1,
   2                            wherein all light emitting element chips mounted on the
   3                            first surface side of the board are aligned along a line.
   4           276. Mano discloses this limitation in both a geographical and electrical
   5   context. For example, with respect to a geographical context, Mano discloses in the
   6   light emitting device of Fig. 14B, which provides a sectional view of the light
   7   emitting device, that the light emitting element chips 20 on the first surface side of
   8   the board 110 are shown as being aligned along a line.
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  14           277. In another example, Mano discloses this limitation in the light
  15   emitting device of Fig. 14A as the light emitting element chips 20 on the first
  16   surface side of the board 110 are aligned along a line in various respects. For
  17   instance, as shown in annotated version of Fig. 14A below, the light emitting
  18   element chips 20 on the first surface side of the board 110 are aligned along a line
  19   that divides the width of the board 110 in half (left annotated Fig. 14A) or that
  20   divides the length of the board 110 in half (right annotated Fig. 14A).
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               278. As another example, as shown in another annotation of Fig. 14A
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       below, if only a portion of the light emitting element chips 20 are necessary to be
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       mounted on the first surface side of the board, the light emitting element chips 20
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       on the first surface side of the board 110 may be aligned along those chips.
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  23           279. With respect to an electrical context, Mano further discloses that all
  24   light emitting element chips mounted on the first surface side of the board are
  25   aligned along a line, that is, connected in series. For instance, Mano discloses that
  26   “[t]hen, as shown in FIG. 16, four packaged light emitting elements 20 are
  27   mounted on the obverse surface 113 of the substrate 110. As seen from the figure,
  28   the upper two elements 20 are connected in series by the upper intermediate
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   1   conductor 141c, thereby providing a ‘first element set 126.’ Likewise, the lower
   2   two elements 20 are connected in series by the lower intermediate conductor 141c,
   3   thereby providing a ‘second element set 127.’ The first element set 126 is
   4   connected at one end to the upper left anode 150a and at the other end to the upper
   5   right cathode 150b. The second element set 127 is connected at one end to the
   6   lower left anode 150a and at the other end to the lower right cathode 150b.
   7   Arrangements identical to those shown in FIG. 16 are also built on the other side
   8   (i.e., the reverse surface 114) of the substrate 110. As shown in FIG. 22, a first
   9   element set 128 consisting of two light-emitting elements 20 is connected between
  10   one anode 150a and one cathode 150b, while a second element set 129 consisting
  11   of another two light-emitting elements 20 is connected between the other anode
  12   150a and the other cathode 150b.” Id. at [0093].
  13           280. Mano also discloses this limitation in the light emitting device of Fig.
  14   22, which shows light-emitting element chips 20 connected in series.
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   1                   14.      Claim 20: The light emitting device according to claim 1,
   2                            wherein the wavelength conversion member seals all light
   3                            emitting element chips mounted on the first surface side of
   4                            the board.
   5           281. Mano discloses that the wavelength conversion member seals all light
   6   emitting element chips mounted on the first surface side of the board. The
   7   disclosure of a wavelength conversion member is discussed in detail with respect
   8   to claims 1. Also, for example, Mano discloses that “[a] light-emitting element 20
   9   is disposed at the center of the circular portion 12 on each side of the substrate 10,
  10   with the element 20 covered by a lens 30.” Id. at [0068].
  11           282. As another example, Mano discloses that “[i]n this state, the supplied
  12   resin is hardened to provide the lens 30, with the light-emitting element 20
  13   enclosed therein.” Id. at [0069].
  14           283. Mano further discloses this limitation in the light emitting devices of
  15   Figs. 14B and 15. The figures disclose that all light emitting element chips 20
  16   mounted on the first surface side 113 of the board 110 are sealed by the
  17   wavelength conversion member 130.
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   1                   15.      Claim 21: The light emitting device according to claim 19,
   2                            wherein the wavelength conversion member seals all light
   3                            emitting element chips mounted on the first surface side of
   4                            the board.
   5           284. Mano discloses this limitation. The disclosure of a wavelength
   6   conversion member is discussed in detail with respect to claims 1 and 20 above.
   7                   16.      Claim 22: The light emitting device according to claim 1,
   8                            wherein the first set of light emitting element chips and the
   9                            second set of light emitting element chips are aligned along
  10                            substantially a single line that extends in the longitudinal
  11                            direction of the wavelength conversion member.
  12           285. Mano discloses this limitation. Such a configuration of the first set of
  13   light emitting element chips and the second set of light emitting element chips is
  14   discussed in detail with respect to claim 19 above.
  15                   17.      Claim 24: The light emitting device according to claim 1,
  16                            wherein one of the support leads is positioned between one
  17                            of the metal plates and the support base.
  18           286. Mano in view of Shibata discloses or suggests this limitation. Such a
  19   configuration of the support leads, metal plates and the support base is discussed in
  20   detail with respect to claims 1 above.
  21                   18.      Claim 25: The light emitting device according to claim 1,
  22                            wherein all of the light emitting element chips mounted on
  23                            the first surface side of the board are aligned along a single
  24                            line when viewed in plan view of the first surface side of the
  25                            board.
  26           287. Mano discloses this limitation. Such a configuration of the light
  27   emitting element chips is discussed in detail with respect to claim 19 above.
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   1                   19.      Claim 27: See claims 1 and 24.
   2           288. Mano discloses these limitations. Each of these limitations is
   3   discussed in detail with respect to claims 1 and 24 above.
   4           B.      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are obvious over
   5                   Maxik in view of Suehiro, or in the alternative, Yamazaki.
   6                   1.       Claim 1:
   7                            a.    A light emitting device comprising:
   8           289. To the extent the preamble of claim 1 is limiting, Maxik discloses the
   9   limitations therein. For instance, Maxik is entitled “Lighting Element Using
  10   Electronically Activated Light Emitting Elements and Method of Making Same”
  11   and discloses that “the invention relates to a lighting element for use in light bulbs.
  12   The lighting element is comprised of light emitting diodes (LEDs) which are
  13   mounted on a flexible form which can be configured into various shapes for greater
  14   light dispersion and functionality.” Maxik at [1:21-24].
  15           290. Also, for example, Maxik discloses that “[i]n fact, most people desire
  16   a light source to provide light omni-directionally, much in the same manner as an
  17   incandescent light bulb.” Id. at [1:37-39]. Further, Maxik discloses that “[t]he
  18   present lighting element relates in general terms to an LED light bulb which uses
  19   electronically activated light emitting elements to generate individual sources of
  20   light. The individual sources of light are arranged in Such manner that the LED
  21   light bulb in which the elements are used provides a wide degree of light
  22   dispersion to completely avoid the point source of light emission from the light
  23   bulb itself.” Id. at [2:30-37].
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   1           291. Maxik discloses in the light emitting device of Fig. 1, a light emitting
   2   device as recited in claim 1.
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  13                            b.    a board having end portions and a center portion
  14                                  therebetween in a longitudinal direction, the board
  15                                  having a first surface on a first surface side thereof
  16                                  and a second surface on a second surface side thereof,
  17                                  the second surface being an opposite side to the first
  18                                  surface, the first surface including a first region and a
  19                                  second region, the first region extending from the
  20                                  center portion of the board to one of the end portions,
  21                                  the second region extending from the center portion
  22                                  of the board to the other of the end portions;
  23           292. Maxik discloses this limitation. For example, Maxik discloses in the
  24   light emitting devices of Figs. 2 and 4 a board 106 with end portions (e.g., “finger-
  25   like projections” 116), and a center portion therebetween in a longitudinal
  26   direction. Id. at [5:24].
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               293. As another example, Maxik discloses with respect to the light emitting
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       device in Fig. 2 that “it can be observed that the formed substrate 106 is actually
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       cut or pressed out from a substrate 126 of circuit board material. The formed
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       substrate 106 is cut in such fashion that it is provided with a plurality of individual
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       finger-like projections 116 and each of which further carry light emitting elements
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       108 or other light generating elements thereon, in addition to standoffs 110.” Id. at
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       [5:20-26]. Maxik also discloses that “FIG. 2 illustrates a top elevation view of a
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       pattern of a formed substrate which can be formed from a sheet of circuit board
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       material and used in the LED light bulb.” Id. at [3:65-67]. Opposite end portions
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       116 (for example, the left and right projections 116) in Fig. 2 are arranged with a
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       center portion 118 therebetween in a longitudinal direction.
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               294. Further, Maxik discloses that “[t]he substrate 126 can be any material
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       that supports the function of holding light emitting elements 108 and lensless light
  23
       emitting elements 302 in place and providing support for the electrical leads.” Id.
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       at [9:14-17].
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               295. Maxik also discloses at that “[t]he substrate 126 of the present lighting
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       element generally is shaped in rectangular configuration when placed flat on a flat
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   1   surface. These substrates 126 also generally have a front face and a back face.” Id.
   2   at [9:35-39].
   3           296. I am applying Nichia’s apparent application of “a board,” “end
   4   portions and a center portion therebetween in a longitudinal direction” and “a
   5   first/second region” from its infringement contentions, and as discussed below in
   6   Sections VI and VIII, believe these limitations are invalid under 35. U.S.C. Section
   7   112.
   8                            c.    a plurality of light emitting element chips mounted on
   9                                  the first surface side of the board;
  10           297. Maxik discloses this limitation. For example, Maxik discloses in the
  11   light emitting devices of Figs. 2 and 4 light emitting elements 108. Maxik further
  12   discloses that “[l]ight is provided by a plurality of light emitting elements 108 that
  13   are connected to a formed substrate 106 that contours to the form of the inside wall
  14   120 of the housing 102.” Id. at [4:36-39].
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  25           298. As another example, Maxik discloses that the light emitting device in
  26   Fig. 2 “can be observed that the formed substrate 106 is actually cut or pressed out
  27   from a substrate 126 of circuit board material. The formed substrate 106 is cut in
  28   such fashion that it is provided with a plurality of individual finger-like projections
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   1   116 and each of which further carry light emitting elements 108 or other light
   2   generating elements thereon, in addition to standoffs 110.” Id. at [5:20-26].
   3           299. Further, Maxik discloses that “[t]he light emitting elements 108 are
   4   generally light emit ting diodes (LEDs), but may be other types of diode lights,
   5   such as laser diodes and wide band gap LEDs. Generally, these typical LEDs are
   6   normally constructed using standard AllnGaN or AllnGaP processes and include a
   7   LED chip or die mounted to a reflective metal dish or reflector that is generally
   8   filled with a transparent or semi-transparent epoxy, thus encapsulating the LED
   9   chip.” Id. at [7:8-15].
  10                            d.    a wavelength conversion member formed unitarily
  11                                  with a transparent member that seals the plurality of
  12                                  light emitting element chips;
  13           300. For the reasons discussed elsewhere in my report, these claim
  14   limitations are indefinite. See infra, Section VIII. However, to the extent these
  15   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  16   in its infringement contentions, Maxik in view of Suehiro discloses or suggests this
  17   limitation. For example, Maxik discloses that “[a]ny color of LED’s can be used
  18   with the present LED light bulb, colored LED’s such as … white (W) with the
  19   present LED light bulb to accommodate the desires of the user … [t]he number,
  20   arrangement, and color selection of the LED’s on the formed substrate 106 creates
  21   a flexible LED light bulb that can meet the desired lighting requirements of a given
  22   situation.” Id. at [7:24-40]. The use of white LEDs in Maxik implies that such
  23   LEDs are phosphor converting LEDs (“PC LED”) and include a resin or other
  24   material with phosphors distributed therein to convert blue light radiating from a
  25   blue LED to white light.
  26           301. Maxik does not explicitly disclose a wavelength conversion member
  27   “that seals the plurality of light emitting element chips.” However, Suehiro
  28   discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
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   1   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
   2   device with a light emitting element such as an LED chip and, particularly, to a
   3   light emitting device that can prevent deterioration of a seal material and damage
   4   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15]. Suehiro
   5   also discloses that “the resin for sealing the light-emitting portion can be formed
   6   into arbitrary shape and therefore the freedom in shape or formation process can be
   7   enhanced.” Id. at [2:57-59].
   8           302. For example, Suehiro discloses a light emitting device having this
   9   limitation at Figs. 27A and 27B. With respect to these figures, Suehiro discloses
  10   that “[t]he LED 3 comprises a flip-chip type GaN-based LED element 31 to radiate
  11   blue light, a substrate 32, made of Al-O (with a thermal expansion coefficient of
  12   7.2x10-6/ C.), on which the LED element 31 is mounted, glass 35 which seals the
  13   LED element 31 … Although in this embodiment the three LED elements 31 are
  14   used, another number of LED elements 31 may be used therein.” Id. at [19:32-46].
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   1           303. Suehiro also discloses that “[u]pon the supply of power, the LED
   2   element 31 of the LED 3 emits blue light with an emission wavelength of about
   3   470 nm. This blue light is irradiated to the phosphor layer 39 formed on the glass
   4   35, whereby the phosphor is excited and radiates yellow light. The blue light and
   5   the yellow light are mixed to develop white light.” Id. at [20:59-65].
   6           304. A POSA would have looked to Suehiro (as well as any text book on
   7   LEDs during the relevant timeframe, such as those discussed in Section III above)
   8   for guidance regarding implementing light emitting devices as disclosed by Maxik,
   9   particularly because Suehiro and Maxik are references in the same field that
  10   disclose light emitting devices with many common features. Having looked to
  11   Suehiro, such a POSA would have found it obvious to implement the wavelength
  12   conversion member in the light emitting device of Maxik to save cost, for ease of
  13   manufacturing, to achieve desired aesthetic or optical properties, and/or to prolong
  14   the lifetime of light emitting element chips and thus the light source. Also, a POSA
  15   would have found it obvious to combine Maxik with the teachings of Suehiro. It
  16   would require routine engineering and simple substitution to adopt the wavelength
  17   conversion member into the light emitting device of Maxik. This would yield
  18   predictable results of emitting wavelength-converted light emitted from the light
  19   emitting device.
  20           305. Further, Nichia’s application of this limitation only requires
  21   phosphors in a transparent resin, which is merely a wavelength conversion
  22   member, was well known in the art, and is disclosed in this reference. The Court’s
  23   construction, however, requires that the wavelength conversion member and the
  24   transparent member be a single component, which is met by this reference as a
  25   POSA could use phosphors alone or could replace the mixture of phosphors in a
  26   transparent resin with a single component that accomplishes the same goal.
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   1                            e.    a transparent bulb that encloses the board and the
   2                                  plurality of light emitting element chips;
   3           306. Maxik discloses this limitation. For instance, Maxik discloses that
   4   “[t]he light bulb of the present invention uses an outer bulb housing which may be
   5   pre-formed with either a glass or a generally transparent or light translucent
   6   composition.” Id. at [2:38-40].
   7           307. Further, Maxik discloses this limitation in the light emitting device of
   8   Fig. 1.
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  17           308. As another example, Maxik discloses with respect to the light emitting
  18   device of Fig. 1 that “the present LED light bulb 100 comprises a housing 102 with
  19   a base 104 connected thereto. The housing 102 can be in the form of a standard
  20   incandescent light bulb housing, or any other desirable form or shape and includes
  21   an inside wall 120. The base 104 normally adopts the form of a conventional
  22   Edison base, although any base could be used. The housing 102 of the LED light
  23   bulb 100 is transparent or at least light translucent.” Id. at [4:28-36].
  24                            f.    support leads that secure the plurality of light
  25                                  emitting element chips inside the transparent bulb;
  26           309. Maxik discloses this limitation. For example, Maxik discloses that
  27   “[e]lectrical power is provided to the light emitting elements 108 via electrical
  28   connectors 112 which connect to each light emitting element 108 and to the base
                                        142
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   1   104.” Id. at [4:52-55]. Further, Maxik discloses that “[i]n order to provide power to
   2   the light emitting elements 108 which are mounted on the formed substrate 106,
   3   there is provided, in one aspect of the invention, the support 114 which may be
   4   suitably connected to the base 104 in such manner that the electrical connectors
   5   112 extending upwardly through the support 114 can provide electrical current to
   6   the formed substrate 106 and the light emitting elements 108.” Id. at [4:55-62].
   7           310. As another example, Maxik discloses in the light emitting device of
   8   Fig. 1, electrical connectors 112 and supports 114 that secure the plurality of light
   9   emitting element chips 108 inside the transparent bulb 100.
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  19                            g.    a support base that can be threadedly engaged with a
  20                                  conventional light bulb socket along a socket axis; and
  21           311. Maxik discloses this limitation. For example, Maxik discloses that
  22   “[t]he base 104 also generally includes a formed socket a socket piece for inserting
  23   into a standard socket, Edison-style or standard electrical socket or connection.” Id.
  24   at [10:28-31].
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   1           312. Further, Maxik discloses in the light emitting device of Fig. 1 this
   2   limitation.
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  12           313. As another example, Maxik discloses with respect to the light emitting
  13   device of Fig. 1 that “the present LED light bulb 100 comprises a housing 102 with
  14   a base 104 connected thereto. The housing 102 can be in the form of a standard
  15   incandescent light bulb housing, or any other desirable form or shape and includes
  16   an inside wall 120. The base 104 normally adopts the form of a conventional
  17   Edison base, although any base could be used. The housing 102 of the LED light
  18   bulb 100 is transparent or at least light translucent.” Id. at [4:28-36].
  19                            h.    a pair of metal plates protruding at both ends of the
  20                                  wavelength conversion member,
  21           314. Maxik in view of Suehiro, or in the alternative, Yamazaki discloses or
  22   suggests this limitation. For instance, Maxik discloses that “[t]he formed substrate
  23   106 is constructed of flexible material that generally has electrical connectors 112
  24   formed within its layered construction, such as printed circuit board and flexible
  25   circuit board material, so that it is capable of being bent to a substantial degree
  26   without interfering with the electrical conductivity of all of the light emitting
  27   elements 108 and lensless light emitting elements 302 mounted on the surface of
  28   the formed substrate 106.” Id. at [4:52-55]. Also, it was well known in the art that a
                                        144
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   1   pair of metal plates could be the “electrical connectors” that connect the light
   2   emitting elements to the board 106. Further, a pair of metal plates would be
   3   required to protrude from both ends of the light emitting elements to establish
   4   contact with the electrical circuit to power each light emitting element chip.
   5           315. Maxik does not explicitly disclose this limitation. However, Suehiro
   6   discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
   7   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
   8   device with a light emitting element such as an LED chip and, particularly, to a
   9   light emitting device that can prevent deterioration of a seal material and damage
  10   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15].
  11           316. For example, Suehiro discloses a light emitting device having this
  12   limitation at Fig. 13. With respect to Fig. 13, Suehiro discloses a pair of metal
  13   plates protruding at both ends of the wavelength conversion member 8 and 40.
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  24           317. A POSA would have looked to Suehiro for guidance regarding
  25   implementing light emitting devices as disclosed by Maxik, particularly because
  26   Suehiro and Maxik are references in the same field that disclose light emitting
  27   devices with many common features. Having looked to Suehiro, such a POSA
  28   would have found it obvious to implement the metal plates of Suehiro in the light
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   1   emitting device of Maxik to save cost, for ease of manufacturing, to achieve
   2   desired aesthetic or optical properties, and/or to prolong the lifetime of LED chips
   3   and thus the light source. Also, a POSA would have found it obvious to combine
   4   Maxik with the teachings of Suehiro. It would require routine engineering and
   5   simple substitution to adopt the metal plates into the light emitting device of
   6   Maxik. This would yield predictable results of emitting wavelength-converted light
   7   emitted from the light emitting device.
   8           318. Further, in the alternative, Yamzaki discloses this limitation.
   9   Yamazaki, like Maxik, is directed to LED light emitting devices. Yamazaki is
  10   entitled “Semiconductor Light-Emitting Device” and discloses “a semiconductor
  11   light-emitting device that emits light in a plurality of directions through a simple
  12   structure.” Yamazaki at Abstract.
  13           319. For example, Yamazaki discloses a light emitting device having this
  14   limitation at Fig. 1. Yamazaki discloses “[t]he chip substrate 11 is structured as a
  15   flat chip substrate made from a transparent material … and an electrically
  16   conductive pattern 11a is provided on the surface thereof.” Id. at [0026].
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  24           320. In addition, Yamazaki discloses that the metal plates 11a protrude at
  25   both ends of a wavelength conversion member. For instance, Yamazaki discloses
  26   that the metal plates 11a protrude from “[t]he first resin molding portion 13
  27   [which] is structured through mixing a fluorescent material into, for example, a
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                                        146
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   1   thermally curable epoxy resin, and is molded through an arbitrary molding
   2   method.” Id. at [0028].
   3           321. A POSA would have looked to Yamazaki for guidance regarding
   4   implementing light emitting devices as disclosed by Maxik, particularly because
   5   Yamazaki and Maxik are references in the same field that disclose light emitting
   6   devices with many common features. Having looked to Yamazaki, such a POSA
   7   would have found it obvious to implement the metal plates of Yamzaki in the light
   8   emitting device of Maxik to save cost, for ease of manufacturing, to achieve
   9   desired aesthetic or optical properties, and/or to prolong the lifetime of LED chips
  10   and thus the light source. Also, a POSA would have found it obvious to combine
  11   Maxik with the teachings of Yamzaki. It would require routine engineering and
  12   simple substitution to adopt the metal plates into the light emitting device of
  13   Maxik. This would yield predictable results of emitting wavelength-converted light
  14   emitted from the light emitting device.
  15                            i.    wherein the wavelength conversion member is
  16                                  provided on the first surface side and the second
  17                                  surface side, the wavelength conversion member is
  18                                  elongated in the longitudinal direction when viewed in
  19                                  plan view of the first surface side of the board,
  20           322. Maxik in view of Suehiro discloses or suggests this limitation. For
  21   example, Maxik discloses an omni-directional light emitting device that creates
  22   white light. In one instance, Maxik discloses “[a]ny color of LED’s can be used
  23   with the present LED light bulb, colored LED’s such as … white (W) with the
  24   present LED light bulb to accommodate the desires of the user … [t]he number,
  25   arrangement, and color selection of the LED’s on the formed substrate 106 creates
  26   a flexible LED light bulb that can meet the desired lighting requirements of a given
  27   situation.” Id. at [7:24-40]. The use of white LEDs in Maxik implies that such
  28   LEDs are PC LEDs and include a resin or other material with phosphors
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   1   distributed therein to convert blue light radiating from a blue LED to white light,
   2   which is a wavelength conversion member.
   3           323. It was also well known in the art that circuit boards upon which LED
   4   chips were fixed could be fabricated from various materials that would allow light
   5   to pass through. It was also well known in the art that omni-directional light
   6   emitting devices, such as in Maxik (“[i]n fact, most people desire a light source to
   7   provide light omni-directionally, much in the same manner as an incandescent light
   8   bulb.” Id. at [1:37-39]), would include fluorescent, transparent resin on the top and
   9   bottom surfaces of the light emitting device to achieve wavelength conversion in
  10   any direction. Thus, to achieve an omni-directional, white light emitting device as
  11   discussed above, Maxik would have included the fluorescent, transparent resin at
  12   both the top and bottom surfaces of the board 106 to achieve wavelength
  13   conversion in any direction of light emission.
  14           324. Maxik does not explicitly disclose this limitation. However, Suehiro
  15   discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
  16   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
  17   device with a light emitting element such as an LED chip and, particularly, to a
  18   light emitting device that can prevent deterioration of a seal material and damage
  19   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15]. Suehiro
  20   also discloses that “the resin for sealing the light-emitting portion can be formed
  21   into arbitrary shape and therefore the freedom in shape or formation process can be
  22   enhanced.” Id. at [2:57-59].
  23           325. For example, Suehiro discloses a light emitting device having this
  24   limitation at Fig. 13. With respect to Fig. 13, Suehiro discloses a light emitting
  25   device having a wavelength conversion member 8 and 40 provided on the first
  26   surface side and the second surface side of the board 32. Figure 13 also shows a
  27   sectional view of the light emitting device 1, wherein the wavelength conversion
  28   member 8 and 40 is elongated in the longitudinal direction, and thus, would also be
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   1   elongated in the longitudinal direction when viewed in plan view of the first
   2   surface side of the board.
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  13           326. A POSA would have looked to Suehiro for guidance regarding
  14   implementing light emitting devices as disclosed by Maxik, particularly because
  15   Suehiro and Maxik are references in the same field that disclose light emitting
  16   devices with many common features. Having looked to Suehiro, such a POSA
  17   would have found it obvious to implement the wavelength conversion member in
  18   the light emitting device of Maxik to save cost, for ease of manufacturing, to
  19   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  20   LED chips and thus the light source. Also, a POSA would have found it obvious to
  21   combine Maxik with the teachings of Suehiro. It would require routine engineering
  22   and simple substitution to adopt the wavelength conversion member into the light
  23   emitting device of Maxik. This would yield predictable results of emitting
  24   wavelength-converted light emitted from the light emitting device.
  25                            j.    wherein a first set of the light emitting element chips
  26                                  are mounted on the first region and arranged from
  27                                  the center portion of the board to the one of the end
  28                                  portions,
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   1           327. For the reasons discussed elsewhere in my report, these claim
   2   limitations are indefinite. See infra, Section VIII. However, to the extent these
   3   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   4   in its infringement contentions, Maxik discloses this limitation. For instance,
   5   Maxik discloses in the light emitting devices of Figs. 2 and 4 a first set of the light
   6   emitting elements 108 mounted on a first region and arranged from the center
   7   portion 118 of the board 106 to the one of the end portions 116 (for example, the
   8   light emitting element chips positioned on the left along the horizontally-oriented
   9   portion of the board 106).
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                                k.    wherein a second set of the light emitting element
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                                      chips are mounted on the second region and arranged
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                                      from the center portion of the board to the other one
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                                      of the end portions, and
  22
               328. For the reasons discussed elsewhere in my report, these claim
  23
       limitations are indefinite. See infra, Section VIII. However, to the extent these
  24
       limitations are not found indefinite, applying them indistinctly as Nichia appears to
  25
       in its infringement contentions, Maxik discloses this limitation. For instance,
  26
       Maxik discloses in the light emitting devices of Figs. 2 and 4 a second set of the
  27
       light emitting elements 108 mounted on a second region and arranged from the
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                                        150
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   1   center portion 118 of the board 106 to the other one of the end portions 116 (for
   2   example, the light emitting element chips positioned on the right along the
   3   horizontally-oriented portion of the board 106).
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                                l.    wherein the pair of metal plates are electrically
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                                      connected with the support base via the support leads.
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               329. Maxik discloses this limitation. For instance, Maxik discloses that in a
  15
       light emitting device “[e]lectricity is supplied to the light emitting elements 108
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       and lensless light emitting elements 302 via electrical connectors 112 that are
  17
       formed within the formed substrate 106 and that are connected to the base 104 of
  18
       the LED light bulb 100, 200, 250, and 300. The electrical connectors 112 can be
  19
       routed through the support 114 or through an elongated projection 152 of the
  20
       formed substrate 106.” Each of the metal plates 106 (at 116) is electrically
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       connected with the support base 104 via the support leads 112.
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               330. Maxik further discloses this limitation in the light emitting device of
  23
       Fig. 1.
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  11                   2.       Claim 3: The light emitting device according to claim 1,
  12                            wherein the transparent bulb is made of glass.
  13           331. Maxik discloses this limitation. For instance, Maxik discloses that
  14   “[t]he light bulb of the present invention uses an outer bulb housing which may be
  15   pre-formed with either a glass or a generally transparent or light translucent
  16   composition.” Id. at [2:38-40].
  17                   3.       Claim 4: The light emitting device according to claim 1,
  18                            wherein each of the metal plates crosses the support lead.
  19           332. Maxik discloses this limitation. For example, Maxik discloses in the
  20   light emitting device of Fig. 1 each of the metal plates 106 (at 116) crosses the
  21   support lead 112 and 114 as the metal plates 106 must cross the support leads 112
  22   and 114 in order to provide a continuous electrical connection to the base 104.
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  10                   4.       Claim 6: The light emitting device according to claim 1,
  11                            wherein the wavelength conversion member comprises a
  12                            phosphor therein.
  13           333. Maxik in view of Suehiro discloses or suggests this limitation. For
  14   example, Maxik discloses that “[a]ny color of LED’s can be used with the present
  15   LED light bulb, colored LED’s such as … white (W) with the present LED light
  16   bulb to accommodate the desires of the user … [t]he number, arrangement, and
  17   color selection of the LED’s on the formed substrate 106 creates a flexible LED
  18   light bulb that can meet the desired lighting requirements of a given situation.” Id.
  19   at [7:24-40]. The use of white LEDs in Maxik implies that such LEDs are PC
  20   LEDs and include a resin or other material with phosphors distributed therein to
  21   convert blue light radiating from a blue LED to white light.
  22           334. Maxik does not explicitly disclose this limitation. However, Suehiro
  23   discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
  24   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
  25   device with a light emitting element such as an LED chip and, particularly, to a
  26   light emitting device that can prevent deterioration of a seal material and damage
  27   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15].
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   1           335. For example, Suehiro discloses a light emitting device in Fig. 13
   2   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
   3   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
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               336. A POSA would have looked to Suehiro for guidance regarding
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       implementing light emitting devices as disclosed by Maxik, particularly because
  16
       Suehiro and Maxik are references in the same field that disclose light emitting
  17
       devices with many common features. Having looked to Suehiro, such a POSA
  18
       would have found it obvious to implement the wavelength conversion member in
  19
       the light emitting device of Maxik to save cost, for ease of manufacturing, to
  20
       achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  21
       LED chips and thus the light source. Also, a POSA would have found it obvious to
  22
       combine Maxik with the teachings of Suehiro. It would require routine engineering
  23
       and simple substitution to adopt the wavelength conversion member into the light
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       emitting device of Maxik. This would yield predictable results of emitting
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       wavelength-converted light emitted from the light emitting device.
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   1                   5.       Claim 7: The light emitting device according to claim 6,
   2                            wherein the phosphor comprises a YAG group phosphor.
   3           337. Maxik in view of Suehiro discloses or suggests this limitation. For
   4   example, the disclosure of a wavelength conversion member is discussed in detail
   5   above with respect to claim 1 and the disclosure of a phosphor is discussed in
   6   detail above with respect to claim 6. The use of white LEDs in Maxik implies that
   7   such LEDs are PC LEDs and include a resin or other material with phosphors
   8   distributed therein to convert blue light radiating from a blue LED to white light. A
   9   YAG group phosphor was well known and commonly used as the phosphor in
  10   these applications.
  11           338. Maxik does not explicitly disclose this limitation. However, Suehiro
  12   discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
  13   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
  14   device with a light emitting element such as an LED chip and, particularly, to a
  15   light emitting device that can prevent deterioration of a seal material and damage
  16   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15].
  17           339. For example, Suehiro discloses a light emitting device in Fig. 13
  18   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
  19   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
  20   Suehiro further discloses that “[t]he phosphor 8 may be YAG (yttrium aluminum
  21   garnet), silicate phosphor, or a mixture thereof. The phosphor 8 is composed of one
  22   kind or plural kinds of phosphors. For example, a combination of plural kinds of
  23   phosphors is a phosphor to radiate red light, a phosphor to radiate green light and a
  24   phosphor to radiate blue light.” Id. at [12:53-58].
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  12           340. A POSA would have looked to Suehiro for guidance regarding
  13   implementing light emitting devices as disclosed by Maxik, particularly because
  14   Suehiro and Maxik are references in the same field that disclose light emitting
  15   devices with many common features. Having looked to Suehiro, such a POSA
  16   would have found it obvious to implement the wavelength conversion member in
  17   the light emitting device of Maxik to save cost, for ease of manufacturing, to
  18   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  19   LED chips and thus the light source. Also, a POSA would have found it obvious to
  20   combine Maxik with the teachings of Suehiro. It would require routine engineering
  21   and simple substitution to adopt the wavelength conversion member into the light
  22   emitting device of Maxik. This would yield predictable results of emitting
  23   wavelength-converted light emitted from the light emitting device.
  24                   6.       Claim 11: The light emitting device according to claim 6,
  25                            wherein an average particle size of the phosphor is 3 μm or
  26                            more.
  27           341. Maxik in view of Suehiro discloses or suggests this limitation. Maxik
  28   discloses this limitation. The disclosure of a wavelength conversion member is
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   1   discussed in detail above with respect to claim 1 and the disclosure of a phosphor
   2   is discussed in detail above with respect to claim 6. Further, it was well known in
   3   the art that a phosphor having a particle size of 3 μm or more would be
   4   advantageous.
   5           342. Maxik does not explicitly disclose this limitation. However, Suehiro
   6   discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
   7   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
   8   device with a light emitting element such as an LED chip and, particularly, to a
   9   light emitting device that can prevent deterioration of a seal material and damage
  10   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15].
  11           343. For example, Suehiro discloses a light emitting device in Fig. 13
  12   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
  13   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
  14   Suehiro further discloses that “[t]he phosphor 8 may be YAG (yttrium aluminum
  15   garnet), silicate phosphor, or a mixture thereof. The phosphor 8 is composed of one
  16   kind or plural kinds of phosphors. For example, a combination of plural kinds of
  17   phosphors is a phosphor to radiate red light, a phosphor to radiate green light and a
  18   phosphor to radiate blue light.” Id. at [12:53-58]. In almost every case in such light
  19   applications, an average particle size of a phosphor is 3 μm or more.
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  12           344. A POSA would have looked to Suehiro for guidance regarding
  13   implementing light emitting devices as disclosed by Maxik, particularly because
  14   Suehiro and Maxik are references in the same field that disclose light emitting
  15   devices with many common features. Having looked to Suehiro, such a POSA
  16   would have found it obvious to implement the wavelength conversion member in
  17   the light emitting device of Maxik to save cost, for ease of manufacturing, to
  18   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  19   LED chips and thus the light source. Also, a POSA would have found it obvious to
  20   combine Maxik with the teachings of Suehiro. It would require routine engineering
  21   and simple substitution to adopt the wavelength conversion member into the light
  22   emitting device of Maxik. This would yield predictable results of emitting
  23   wavelength-converted light emitted from the light emitting device.
  24                   7.       Claim 12: The light emitting device according to claim 1,
  25                            wherein the plurality of light emitting element chips is
  26                            electrically connected in series.
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   1           345. Maxik discloses this limitation. For example, Maxik discloses in the
   2   light emitting devices of Figs. 2 and 4 the plurality of light emitting element chips
   3   is electrically connected in series. Also, it was well known in the art that circuit
   4   elements may either be connected in series or in parallel, and thus, the plurality of
   5   light emitting elements 108 could be connected in series.
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                       8.       Claim 13: The light emitting device according to claim 1,
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                                wherein the plurality of light emitting element chips is so
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                                configured that a main peak light emission wavelength of
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                                the light emitting element is varied within a range between
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                                420 nm and 490 nm.
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               346. Maxik in view of Suehiro discloses or suggests this limitation. For
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       example, For example, Maxik discloses that “[a]ny color of LED’s can be used
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       with the present LED light bulb, colored LED’s such as … white (W) with the
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       present LED light bulb to accommodate the desires of the user…. [t]he number,
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       arrangement, and color selection of the LED’s on the formed substrate 106 creates
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       a flexible LED light bulb that can meet the desired lighting requirements of a given
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       situation” Id. at [7:24-40]. The use of white LEDs in Maxik implies that such
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       LEDs are PC LEDs and include a resin or other material with phosphors
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       distributed therein to convert blue light radiating from a blue LED to white light. It
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   1   was well known that the main peak light emission wavelength of blue light
   2   includes a range between 420 nm and 490 nm.
   3           347. Maxik does not explicitly disclose this limitation. However, Suehiro
   4   discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
   5   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
   6   device with a light emitting element such as an LED chip and, particularly, to a
   7   light emitting device that can prevent deterioration of a seal material and damage
   8   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15].
   9           348. For example, Suehiro discloses that “[u]pon the supply of power, the
  10   LED element 31 of the LED 3 emits blue light with an emission wavelength of
  11   about 470 nm. This blue light is irradiated to the phosphor layer 39 formed on the
  12   glass 35, whereby the phosphor is excited and radiates yellow light. The blue light
  13   and the yellow light are mixed to develop white light.” Id. at [20:59-65]. Suehiro
  14   also discloses that “[t]he LED 3 comprises a flip-chip type GaN-based LED
  15   element 31 to radiate blue light….” Id. at [19:32-33].
  16           349. A POSA would have looked to Suehiro for guidance regarding
  17   implementing light emitting devices as disclosed by Maxik, particularly because
  18   Suehiro and Maxik are references in the same field that disclose light emitting
  19   devices with many common features. Having looked to Suehiro, such a POSA
  20   would have found it obvious to implement blue LEDs in the light emitting device
  21   of Maxik to save cost, for ease of manufacturing, to achieve desired aesthetic or
  22   optical properties, and/or to prolong the lifetime of LED chips and thus the light
  23   source. Also, a POSA would have found it obvious to combine Maxik with the
  24   teachings of Suehiro. It would require routine engineering and simple substitution
  25   to adopt blue LEDs into the light emitting device of Maxik. This would yield
  26   predictable results of emitting wavelength-converted light emitted from the light
  27   emitting device.
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   1                   9.       Claim 14: The light emitting device according to claim 1,
   2                            wherein each of the light emitting element chips comprises
   3                            nitride semiconductor made of InxAlyGa1-x-yN (0≦x, 0≦y,
   4                            x+y≦1).
   5           350. Maxik discloses this limitation. The disclosure of light emitting
   6   element chips is discussed in detail above with respect to claim 1. Also, for
   7   example, Maxik discloses that “[g]enerally, these typical LEDs are normally
   8   constructed using standard AllnGaN or AllnGaP processes and include a LED chip
   9   or die…” Id. at [7:10-13]. Additionally, this configuration of nitride semiconductor
  10   for use in light emitting devices was well known in the art.
  11                   10.      Claim 15: The light emitting device according to claim 1,
  12                            wherein the wavelength conversion member substantially
  13                            surrounds the board.
  14           351. Maxik in view of Suehiro discloses or suggests this limitation. The
  15   disclosure of a wavelength conversion member is discussed in detail above with
  16   respect to claim 1. Additionally, Maxik discloses in the light emitting devices of
  17   Figs. 2 and 4 that a longitudinal board (from one finger-like projection 116 to its
  18   longitudinally opposite finger-like projection 116 of the board 106) having light
  19   emitting element chips 108 aligned along such longitudinal board 106 (at 116). It
  20   was well known in the art to encapsulate a plurality of light emitting elements in a
  21   single fluorescent, transparent resin, which would thereby substantially surround
  22   the board 106. Also, as explained in detail above with respect to claim 1, it was
  23   well known in the art to include a fluorescent, transparent resin on both the first
  24   and second surfaces of a board in an omni-directional lighting device such as
  25   disclosed in Maxik.
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               352. Maxik does not explicitly disclose this limitation. However, Suehiro
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       discloses this limitation. Suehiro, like Maxik, is directed to LED light emitting
  11
       devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
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       device with a light emitting element such as an LED chip and, particularly, to a
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       light emitting device that can prevent deterioration of a seal material and damage
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       or deformation of LED chip due to the seal material.” Suehiro at [1:10-15]. Suehiro
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       also discloses that “the resin for sealing the light-emitting portion can be formed
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       into arbitrary shape and therefore the freedom in shape or formation process can be
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       enhanced.” Id. at [2:57-59].
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               353. For example, Suehiro discloses a light emitting device having this
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       limitation at Figs. 13, 27A and 27B. With respect to these figures, Suehiro
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       discloses that the wavelength conversion member 8 and 40, or 39, substantially
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       surrounds the board 32.
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               354. A POSA would have looked to Suehiro for guidance regarding
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       implementing light emitting devices as disclosed by Maxik, particularly because
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       Suehiro and Maxik are references in the same field that disclose light emitting
  13
       devices with many common features. Having looked to Suehiro, such a POSA
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       would have found it obvious to implement the wavelength conversion member in
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       the light emitting device of Maxik to save cost, for ease of manufacturing, to
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       achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
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       LED chips and thus the light source. Also, a POSA would have found it obvious to
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       combine Maxik with the teachings of Suehiro. It would require routine engineering
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       and simple substitution to adopt the wavelength conversion member into the light
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       emitting device of Maxik. This would yield predictable results of emitting
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       wavelength-converted light emitted from the light emitting device.
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   1                   11.      Claim 17: The light emitting device according to claim 1,
   2                            wherein the board is configured to be transparent so that a
   3                            light emitted from the plurality of light emitting element
   4                            chips on the first surface side of the board forwards outside
   5                            of the light emitting device through the second surface of
   6                            the board.
   7           355. Maxik discloses this limitation. The omni-directional effect of the
   8   light emitting devices disclosed in Maxik is discussed in detail with respect to
   9   claim 1 above.
  10                   12.      Claim 18: The light emitting device according to claim 1,
  11                            wherein the wavelength conversion member is capable of
  12                            converting light emitted from the plurality of light emitting
  13                            element chips into light with a different wavelength such
  14                            that the converted light with the different wavelength is
  15                            radiated along a first direction from the first surface side of
  16                            the board to an outer periphery of the wavelength
  17                            conversion member, and along a second direction from the
  18                            second surface of the board to the outer periphery of the
  19                            wavelength conversion member.
  20           356. For the reasons discussed elsewhere in my report, these claim
  21   limitations are indefinite. See infra, Section VIII. However, to the extent these
  22   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  23   in its infringement contentions, Maxik discloses this limitation. The omni-
  24   directional effect of the light emitting devices disclosed in Maxik is discussed in
  25   detail with respect to claim 1 above.
  26                   13.      Claim 19: The light emitting device according to claim 1,
  27                            wherein all light emitting element chips mounted on the
  28                            first surface side of the board are aligned along a line.
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   1           357. Maxik discloses this limitation. For instance, Maxik discloses in the
   2   light emitting devices of Figs. 1 and 2 light emitting element chips 108 mounted on
   3   the first surface side of the board 106 that are aligned along a line. Specifically, the
   4   light emitting element chips 108 along any two corresponding longitudinal finger-
   5   like projections 116 of the board 106 are aligned along a line commensurate with
   6   the length of the corresponding two finger-like projections 116.
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  17                   14.      Claim 20: The light emitting device according to claim 1,
  18                            wherein the wavelength conversion member seals all light
  19                            emitting element chips mounted on the first surface side of
  20                            the board.
  21           358. Maxik discloses this limitation. The disclosure of a wavelength
  22   conversion member is discussed in detail with respect to claim 1 above.
  23                   15.      Claim 21: The light emitting device according to claim 19,
  24                            wherein the wavelength conversion member seals all light
  25                            emitting element chips mounted on the first surface side of
  26                            the board.
  27           359. Maxik discloses this limitation. The disclosure of a wavelength
  28   conversion member is discussed in detail with respect to claim 1 above.
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   1                   16.      Claim 22: The light emitting device according to claim 1,
   2                            wherein the first set of light emitting element chips and the
   3                            second set of light emitting element chips are aligned along
   4                            substantially a single line that extends in the longitudinal
   5                            direction of the wavelength conversion member.
   6           360. Maxik discloses this limitation. Such a configuration of the first set of
   7   light emitting element chips and the second set of light emitting element chips is
   8   discussed in detail with respect to claim 19 above.
   9                   17.      Claim 24: The light emitting device according to claim 1,
  10                            wherein one of the support leads is positioned between one
  11                            of the metal plates and the support base.
  12           361. Maxik discloses this limitation. Such a configuration of the support
  13   leads, metal plates, and support base is discussed in detail with respect to claim 1
  14   above.
  15                   18.      Claim 25: The light emitting device according to claim 1,
  16                            wherein all of the light emitting element chips mounted on
  17                            the first surface side of the board are aligned along a single
  18                            line when viewed in plan view of the first surface side of the
  19                            board.
  20           362. Maxik discloses this limitation. Such a configuration of the light
  21   emitting element chips is discussed in detail with respect to claim 19 above.
  22                   19.      Claim 27: See claims 1 and 24.
  23           363. Maxik discloses these limitations. Each of these limitations is
  24   discussed in detail with respect to claims 1 and 24 above.
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   1           C.      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are obvious over
   2                   Ishibashi in view of Suehiro, or in the alternative, Yamazaki.
   3                   1.       Claim 1:
   4                            a.    A light emitting device comprising:
   5           364. To the extent the preamble of claim 1 is limiting, Ishibashi discloses
   6   the limitations therein. For instance, Ishibashi is entitled “LED Bulb” and discloses
   7   “a light bulb using a plurality of LEDs as light sources.” Ishibashi at [0001]. As
   8   another example Ishibashi discloses that “[p]rovided is an LED bulb with a higher
   9   distribution of luminous intensity which is close to those of tungsten bulbs, in
  10   which the problem in directivity of the prior art LED bulbs has been solved while
  11   maintaining the advantages of an LED, that is, a long life and an energy saving
  12   characteristic. The LED bulb comprises a printed circuit board 5 which is flat when
  13   developed and is bendable to fo1m a cage, a plurality of LEDs 6 which are
  14   disposed on the printed circuit board 5, and a transparent or Semi-transparent cover
  15   2 which encloses the printed circuit board 5 fo1med into the cage. The printed
  16   circuit board 5 may have a plurality of belt-like branches. 5a which extend in radial
  17   directions from the center of the printed circuit board 5. The LED bulb may further
  18   comprise a power unit housing 8 for containing a power unit which Supplies
  19   electric current to each of the LEDs 6.” Id. at Abstract.
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   1           365. The light emitting device shown in Fig. 1 below constitutes a “light
   2   emitting device” as recited in claim 1.
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                                b.    a board having end portions and a center portion
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                                      therebetween in a longitudinal direction, the board
  16
                                      having a first surface on a first surface side thereof
  17
                                      and a second surface on a second surface side thereof,
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                                      the second surface being an opposite side to the first
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                                      surface, the first surface including a first region and a
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                                      second region, the first region extending from the
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                                      center portion of the board to one of the end portions,
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                                      the second region extending from the center portion
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                                      of the board to the other of the end portions;
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   1           366. Ishibashi discloses this limitation. For example, Ishibashi discloses
   2   light emitting devices in Figs. 1 and 2, which show a board 5 with end portions
   3   (e.g., the ends of “belt-like branch[es]” 5a), and a center portion (at 7a and 7b)
   4   therebetween in a longitudinal direction.
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  15           367. Further, Ishibashi discloses in the light emitting devices of Figs. 1 and
  16   2 the board 5 having a first surface on a first surface side thereof (e.g., the side
  17   shown in Fig. 2, where the light emitting elements are located) and a second
  18   surface on a second surface side thereof, the second surface being an opposite side
  19   to the first surface, the first surface including a first region and a second region, the
  20   first region extending from the center portion of the board 5 (at 7a and 7b) to one
  21   of the end portions (one end of a “belt-like branch” 5a), the second region
  22   extending from the center portion (at 7a and 7b) of the board 5 to the other of the
  23   end portions (the opposite end of the a longitudinally corresponding “belt-like
  24   branch” 5a).
  25           368. I am applying Nichia’s apparent application of “a board,” “end
  26   portions and a center portion therebetween in a longitudinal direction” and “a
  27   first/second region” from its infringement contentions, and as discussed below in
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   1   Sections VI and VIII, believe these limitations are invalid under 35. U.S.C. Section
   2   112.
   3                            c.    a plurality of light emitting element chips mounted on
   4                                  the first surface side of the board;
   5           369. Ishibashi discloses this limitation. For example, Ishibashi discloses in
   6   the light emitting devices of Figs. 1 and 2 a plurality of light emitting element
   7   chips 6 mounted on the first surface side of the board 5. As another example,
   8   Ishibashi discloses that “[p]rovided is an LED bulb with a higher distribution of
   9   luminous intensity which is close to those of tungsten bulbs, in which the problem
  10   in directivity of the prior art LED bulbs has been solved while maintaining the
  11   advantages of an LED, that is, a long life and an energy saving characteristic. The
  12   LED bulb comprises a printed circuit board 5 which is flat when developed and is
  13   bendable to form a cage, a plurality of LEDs 6 which are disposed on the printed
  14   circuit board 5, and a transparent or semi-transparent cover 2 which encloses the
  15   printed circuit board 5 formed into the cage. The printed circuit board 5 may have
  16   a plurality of belt-like branches 5a which extend in radial directions from the
  17   center of the printed circuit board 5. The LED bulb may further comprise a power
  18   unit housing 8 for containing a power unit which supplies electric current to each
  19   of the LEDs 6.” Id. at Abstract.
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   1                            d.    a wavelength conversion member formed unitarily
   2                                  with a transparent member that seals the plurality of
   3                                  light emitting element chips;
   4           370. For the reasons discussed elsewhere in my report, these claim
   5   limitations are indefinite. See infra, Section VIII. However, to the extent these
   6   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   7   in its infringement contentions, Ishibashi in view of Suehiro discloses or suggests
   8   this limitation. For example, Ishibashi discloses this limitation. For example,
   9   Ishibashi discloses that “[t]he color of the LED chips 6 can be selected depending
  10   on the purposes. As a substitute for a conventional incandescent lamp, a white
  11   LED is used.” Id. at [0026]. The use of white LEDs in Ishibashi implies that such
  12   LEDs are PC LEDs and include a resin or other material with phosphors
  13   distributed therein to convert blue light radiating from a blue LED to white light.
  14           371. Ishibashi does not explicitly disclose a wavelength conversion
  15   member “that seals the plurality of light emitting element chips.” However,
  16   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
  17   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  18   emitting device with a light emitting element such as an LED chip and,
  19   particularly, to a light emitting device that can prevent deterioration of a seal
  20   material and damage or deformation of LED chip due to the seal material.” Suehiro
  21   at [1:10-15]. Suehiro also discloses that “the resin for sealing the light-emitting
  22   portion can be formed into arbitrary shape and therefore the freedom in shape or
  23   formation process can be enhanced.” Id. at [2:57-59].
  24           372. For example, Suehiro discloses a light emitting device having this
  25   limitation at Figs. 27A and 27B. With respect to these figures, Suehiro discloses
  26   that “[t]he LED 3 comprises a flip-chip type GaN-based LED element 31 to radiate
  27   blue light, a substrate 32, made of Al-O (with a thermal expansion coefficient of
  28   7.2x10-6/ C.), on which the LED element 31 is mounted, glass 35 which seals the
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   1   LED element 31 … Although in this embodiment the three LED elements 31 are
   2   used, another number of LED elements 31 may be used therein.” Id. at [19:32-46].
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               373. Suehiro also discloses that “[u]pon the supply of power, the LED
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       element 31 of the LED 3 emits blue light with an emission wavelength of about
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       470 nm. This blue light is irradiated to the phosphor layer 39 formed on the glass
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       35, whereby the phosphor is excited and radiates yellow light. The blue light and
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       the yellow light are mixed to develop white light.” Id. at [20:59-65].
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               374. A POSA would have looked to Suehiro for guidance regarding
  21
       implementing light emitting devices as disclosed by Ishibashi, particularly because
  22
       Suehiro and Ishibashi are references in the same field that disclose light emitting
  23
       devices with many common features. Having looked to Suehiro, such a POSA
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       would have found it obvious to implement the wavelength conversion member in
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       the light emitting device of Ishibashi to save cost, for ease of manufacturing, to
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       achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
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       LED chips and thus the light source. Also, a POSA would have found it obvious to
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   1   combine Ishibashi with the teachings of Suehiro. It would require routine
   2   engineering and simple substitution to adopt the wavelength conversion member
   3   into the light emitting device of Ishibashi. This would yield predictable results of
   4   emitting wavelength-converted light emitted from the light emitting device.
   5           375. Further, Nichia’s application of this limitation only requires
   6   phosphors in a transparent resin, which is merely a wavelength conversion
   7   member, was well known in the art, and is disclosed in this reference. The Court’s
   8   construction, however, requires that the wavelength conversion member and the
   9   transparent member be a single component, which is met by this reference as a
  10   POSA could use phosphors alone or could replace the mixture of phosphors in a
  11   transparent resin with a single component that accomplishes the same goal.
  12                            e.    a transparent bulb that encloses the board and the
  13                                  plurality of light emitting element chips;
  14           376. Ishibashi discloses this limitation. For example, Ishibashi discloses in
  15   the light emitting device of Fig. 1 a transparent bulb that encloses the board 5 and
  16   the plurality of light emitting element chips 6.
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  12           377. As another example, Ishibashi discloses that “[t]he cover 2 may
  13   comprise a transparent or semitransparent plastic material. If the cover 2 is
  14   transparent, each one of a plurality of LED chips can be seen as a separate light
  15   Source. On the other hand, if the cover 2 is semi-transparent or milky white, the
  16   whole surface of the cover 2 appears to emit light due to the effect of diffused
  17   reflection. Although the inside of the cover 2 need not be vacuum like an
  18   incandescent lamp, it is preferable that the cover 2 is filled with dry air or an inert
  19   nitrogen gas to prevent dust or moisture from entering the inside.” Id. at [0023].
  20                            f.    support leads that secure the plurality of light
  21                                  emitting element chips inside the transparent bulb;
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   1           378. Ishibashi discloses this limitation. For instance. Ishibashi discloses in
   2   Fig. 1 the use of support leads 3 and 7 that secure the plurality of light emitting
   3   element chips inside the transparent bulb. Ishibashi discloses with respect to the
   4   light emitting device of Fig. 1 that “[e]lectricity applied to each of the LED chips 6
   5   is … converted to low voltage direct current by a power circuit (not shown) housed
   6   in the power source housing 8, and the current is supplied to the electrode units 7a
   7   and 7b of the printed circuit board 5 through the supporting rod 3.” Id. [0022].
   8   Also, Ishibashi shows more clearly in the light emitting device of Fig. 2 the
   9   electrode unit 7 portion of the support leads, which secure the plurality of light
  10   emitting element chips inside the transparent bulb.
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  22           379. As another example, Ishibashi discloses that the light emitting device
  23   is “similar to conventional bulbs, by attaching the cap 1 to a socket, direct current
  24   is supplied to the electrode units 7a and 7b on the printed circuit board 5 from the
  25   power circuit housed in the power source housing 8 through the supporting rod 3,
  26   thereby lighting each of the LED chips 6.” Id. at [0025].
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   1                            g.    a support base that can be threadedly engaged with a
   2                                  conventional light bulb socket along a socket axis; and
   3           380. Ishibashi discloses this limitation. For instance, Ishibashi discloses
   4   that “[i]f the power source is commercial alternate current, a power source unit for
   5   lighting the LEDS is housed inside the bulb, which enables the LED bulb to be
   6   used in a manner similar to conventional incandescent lamps.” Id. at [0012].
   7   Further, Ishibashi discloses with respect to the light emitting devices in its figures,
   8   particularly Fig. 1, that “1 denotes a cap which is attachable to an ordinary bulb
   9   socket.” Id. at [0019].
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  19                            h.    a pair of metal plates protruding at both ends of the

  20                                  wavelength conversion member,

  21           381. Ishibashi in view of Suehiro, or in the alternative, Yamazaki discloses

  22   this limitation. For example, in the light emitting devices disclosed in Ishibashi,

  23   “[t]he printed circuit board 5 has a structure in which a wiring pattern formed by

  24   punching or etching a conductive material is sandwiched and held by thin flexible

  25   films made of an insulating material such as polyimide resin … On the printed

  26   circuit board 5, a plurality of the LED chips 6 are packaged on the wiring pattern

  27   by soldering or the like.” Id. at [0020]. The board 5 is thus conductive, and it was

  28   well known in the art that such conductivity could be accomplished by including

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   1   one of various electrical connecting means, such as a pair of metal plates. Further,
   2   the metal plates would be required to protrude from both ends of the plurality of
   3   light emitting element chips 6 to establish contact with the electrical circuit to
   4   power each light emitting element chip 6.
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  15           382. Ishibashi does not explicitly disclose this limitation. However,
  16   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
  17   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  18   emitting device with a light emitting element such as an LED chip and,
  19   particularly, to a light emitting device that can prevent deterioration of a seal
  20   material and damage or deformation of LED chip due to the seal material.” Suehiro
  21   at [1:10-15].
  22           383. For example, Suehiro discloses a light emitting device having this
  23   limitation at Fig. 13. With respect to Fig. 13, Suehiro discloses a pair of metal
  24   plates protruding at both ends of the wavelength conversion member 8 and 40.
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  11           384. A POSA would have looked to Suehiro for guidance regarding
  12   implementing light emitting devices as disclosed by Ishibashi, particularly because
  13   Suehiro and Ishibashi are references in the same field that disclose light emitting
  14   devices with many common features. Having looked to Suehiro, such a POSA
  15   would have found it obvious to implement the metal plates of Suehiro in the light
  16   emitting device of Ishibashi to save cost, for ease of manufacturing, to achieve
  17   desired aesthetic or optical properties, and/or to prolong the lifetime of LED chips
  18   and thus the light source. Also, a POSA would have found it obvious to combine
  19   Ishibashi with the teachings of Suehiro. It would require routine engineering and
  20   simple substitution to adopt the metal plates into the light emitting device of
  21   Ishibashi. This would yield predictable results of emitting wavelength-converted
  22   light emitted from the light emitting device.
  23           385. Further, in the alternative, Yamzaki discloses this limitation.
  24   Yamazaki, like Maxik, is directed to LED light emitting devices. Yamazaki is
  25   entitled “Semiconductor Light-Emitting Device” and discloses “a semiconductor
  26   light-emitting device that emits light in a plurality of directions through a simple
  27   structure.” Yamazaki at Abstract.
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   1           386. For example, Yamazaki discloses a light emitting device having this
   2   limitation at Fig. 1. Yamazaki discloses “[t]he chip substrate 11 is structured as a
   3   flat chip substrate made from a transparent material … and an electrically
   4   conductive pattern 11a is provided on the surface thereof.” Id. at [0026].
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  12           387. In addition, Yamazaki discloses that the metal plates 11a protrude at
  13   both ends of a wavelength conversion member. For instance, Yamazaki discloses
  14   that the metal plates 11a protrude from “[t]he first resin molding portion 13
  15   [which] is structured through mixing a fluorescent material into, for example, a
  16   thermally curable epoxy resin, and is molded through an arbitrary molding
  17   method.” Id. at [0028].
  18           388. A POSA would have looked to Yamazaki for guidance regarding
  19   implementing light emitting devices as disclosed by Ishibashi, particularly because
  20   Yamazaki and Ishibashi are references in the same field that disclose light emitting
  21   devices with many common features. Having looked to Yamazaki, such a POSA
  22   would have found it obvious to implement the metal plates of Yamzaki in the light
  23   emitting device of Ishibashi to save cost, for ease of manufacturing, to achieve
  24   desired aesthetic or optical properties, and/or to prolong the lifetime of LED chips
  25   and thus the light source. Also, a POSA would have found it obvious to combine
  26   Ishibashi with the teachings of Yamzaki. It would require routine engineering and
  27   simple substitution to adopt the metal plates into the light emitting device of
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   1   Ishibashi. This would yield predictable results of emitting wavelength-converted
   2   light emitted from the light emitting device.
   3                            i.    wherein the wavelength conversion member is
   4                                  provided on the first surface side and the second
   5                                  surface side, the wavelength conversion member is
   6                                  elongated in the longitudinal direction when viewed in
   7                                  plan view of the first surface side of the board,
   8           389. Ishibashi in view of Suehiro discloses or suggests this limitation. For
   9   example, Ishibashi discloses that “[t]he color of the LED chips 6 can be selected
  10   depending on the purposes. As a substitute for a conventional incandescent lamp, a
  11   white LED is used.” Id. at [0026]. The use of white LEDs in Ishibashi implies that
  12   such LEDs are PC LEDs and include a resin or other material with phosphors
  13   distributed therein to convert blue light radiating from a blue LED to white light.
  14   Ishibashi discloses in the light emitting device of Fig. 2, a longitudinal board 5
  15   (from one “belt-like branch” 5a to the opposite end of the a longitudinally
  16   corresponding “belt-like branch” 5a) having light emitting element chips 6 aligned
  17   along such longitudinal board. Based on existing art, it would make sense to
  18   provide an elongated wavelength conversion member on the first surface side
  19   commensurate with the longitudinal board.
  20           390. It was also well known in the art that circuit boards upon which LED
  21   chips were fixed could be fabricated from various materials that would allow light
  22   to pass through. It was also well known in the art that omni-directional light
  23   emitting devices, such as in Ishibashi (“thereby providing a light source of a bulb
  24   in a small spherical form, direct light of the LEDS can radiate in various directions,
  25   which enables light emission in all directions,” id. at [0010]), would include
  26   fluorescent, transparent resin on the top and bottom surfaces of the light emitting
  27   device to achieve wavelength conversion in any direction. Thus, to achieve an
  28   omni-directional, white light emitting device as discussed above, Ishibashi would
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   1   have included the fluorescent, transparent resin at both the top and bottom surfaces
   2   of the circuit board 5 to achieve wavelength conversion in any direction of light
   3   emission.
   4           391. Ishibashi does not explicitly disclose this limitation. However,
   5   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
   6   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
   7   emitting device with a light emitting element such as an LED chip and,
   8   particularly, to a light emitting device that can prevent deterioration of a seal
   9   material and damage or deformation of LED chip due to the seal material.” Suehiro
  10   at [1:10-15]. Suehiro also discloses that “the resin for sealing the light-emitting
  11   portion can be formed into arbitrary shape and therefore the freedom in shape or
  12   formation process can be enhanced.” Id. at [2:57-59].
  13           392. For example, Suehiro discloses a light emitting device having this
  14   limitation at Fig. 13. With respect to Fig. 13, Suehiro discloses a light emitting
  15   device having a wavelength conversion member 8 and 40 provided on the first
  16   surface side and the second surface side of the board 32. Figure 13 also shows a
  17   sectional view of the light emitting device 1, wherein the wavelength conversion
  18   member 8 and 40 is elongated in the longitudinal direction, and thus, would also be
  19   elongated in the longitudinal direction when viewed in plan view of the first
  20   surface side of the board.
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  11           393. A POSA would have looked to Suehiro for guidance regarding
  12   implementing light emitting devices as disclosed by Ishibashi, particularly because
  13   Suehiro and Ishibashi are references in the same field that disclose light emitting
  14   devices with many common features. Having looked to Suehiro, such a POSA
  15   would have found it obvious to implement the wavelength conversion member in
  16   the light emitting device of Ishibashi to save cost, for ease of manufacturing, to
  17   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  18   LED chips and thus the light source. Also, a POSA would have found it obvious to
  19   combine Ishibashi with the teachings of Suehiro. It would require routine
  20   engineering and simple substitution to adopt the wavelength conversion member
  21   into the light emitting device of Ishibashi. This would yield predictable results of
  22   emitting wavelength-converted light emitted from the light emitting device.
  23                            j.    wherein a first set of the light emitting element chips
  24                                  are mounted on the first region and arranged from
  25                                  the center portion of the board to the one of the end
  26                                  portions,
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   1           394. For the reasons discussed elsewhere in my report, these claim
   2   limitations are indefinite. See infra, Section VIII. However, to the extent these
   3   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   4   in its infringement contentions, Ishibashi discloses this limitation. For example,
   5   Ishibashi discloses in the light emitting device of Fig. 2 a first set of the light
   6   emitting element chips 6 mounted on a first region and arranged from the center
   7   portion (at 7a and 7b) of the board 5 to one of the end portions (a “belt-like
   8   branch” 5a). For instance, the pair of light emitting element chips 6 positioned on
   9   the left horizontally-oriented portion 5a of the board 5.
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  20                            k.    wherein a second set of the light emitting element
  21                                  chips are mounted on the second region and arranged
  22                                  from the center portion of the board to the other one
  23                                  of the end portions, and
  24           395. For the reasons discussed elsewhere in my report, these claim
  25   limitations are indefinite. See infra, Section VIII. However, to the extent these
  26   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  27   in its infringement contentions, Ishibashi discloses this limitation. Similar to the
  28   limitation above, for example, Ishibashi discloses in the light emitting device of
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   1   Fig. 2 a second set of the light emitting element chips 6 mounted on a second
   2   region and arranged from the center portion (at 7a and 7b) of the board 5 to the
   3   other one of the end portions (the longitudinally opposite “belt-like branch” 5a).
   4   For instance, the pair of light emitting element chips 6 positioned on the right
   5   horizontally-oriented portion 5a of the board 5 (opposite to the left referenced
   6   above).
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  18                            l.    wherein the pair of metal plates are electrically

  19                                  connected with the support base via the support leads.

  20           396. Ishibashi discloses this limitation. For example, Ishibashi discloses

  21   with respect to the light emitting device of Fig. 1 that “[e]lectricity applied to each

  22   of the LED chips 6 is, if the power supplied from the cap 1 is commercial alternate

  23   current of 100 V, converted to low voltage direct current by a power circuit (not

  24   shown) housed in the power source housing 8, and the current is supplied to the

  25   electrode units 7a and 7b of the printed circuit board 5 through the supporting rod

  26   3.” Id. at [0022]. As shown in Fig. 1, the board 5 which includes conductive

  27   material, such as metal plates, are electrically connected with the support base 1

  28   via the support leads 3 and 7.

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                       2.       Claim 3: The light emitting device according to claim 1,
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                                wherein the transparent bulb is made of glass.
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               397. Ishibashi discloses this limitation. For example, Ishibashi discloses
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       that the bulb 2 in the light emitting device of Fig. 1 “may comprise a transparent or
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       semi-transparent plastic material.” It was well known in the art to use glass as the
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       material for this bulb, to save cost, for ease of manufacturing, and/or to achieve
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       desired aesthetic or optical properties.
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                       3.       Claim 4: The light emitting device according to claim 1,
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                                wherein each of the metal plates crosses the support lead.
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               398. Ishibashi discloses this limitation. For instance, Ishibashi discloses in
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       the light emitting devices of Figs. 1 and 2, each of the metal plates 5 (at 5a) crosses
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       the support lead 3 and 7 as the metal plates 5 must cross the support leads 3 and 7
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       in order to provide a continuous electrical connection to the base 1.
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   1                   4.       Claim 6: The light emitting device according to claim 1,
   2                            wherein the wavelength conversion member comprises a
   3                            phosphor therein.
   4           399. Ishibashi discloses this limitation. The disclosure of a wavelength
   5   conversion member is discussed in detail above with respect to claim 1. The use of
   6   white LEDs in Ishibashi implies that such LEDs are PC LEDs and include a resin
   7   or other material with phosphors distributed therein to convert blue light radiating
   8   from a blue LED to white light.
   9           400. Ishibashi does not explicitly disclose this limitation. However,
  10   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
  11   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  12   emitting device with a light emitting element such as an LED chip and,
  13   particularly, to a light emitting device that can prevent deterioration of a seal
  14   material and damage or deformation of LED chip due to the seal material.” Suehiro
  15   at [1:10-15].
  16           401. For example, Suehiro discloses a light emitting device in Fig. 13
  17   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
  18   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
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   1           402. A POSA would have looked to Suehiro for guidance regarding
   2   implementing light emitting devices as disclosed by Ishibashi, particularly because
   3   Suehiro and Ishibashi are references in the same field that disclose light emitting
   4   devices with many common features. Having looked to Suehiro, such a POSA
   5   would have found it obvious to implement the wavelength conversion member in
   6   the light emitting device of Ishibashi to save cost, for ease of manufacturing, to
   7   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
   8   LED chips and thus the light source. Also, a POSA would have found it obvious to
   9   combine Ishibashi with the teachings of Suehiro. It would require routine
  10   engineering and simple substitution to adopt the wavelength conversion member
  11   into the light emitting device of Ishibashi. This would yield predictable results of
  12   emitting wavelength-converted light emitted from the light emitting device.
  13                   5.       Claim 7: The light emitting device according to claim 6,
  14                            wherein the phosphor comprises a YAG group phosphor.
  15           403. Ishibashi in view of Suehiro discloses this limitation. The disclosure
  16   of a wavelength conversion member is discussed in detail above with respect to
  17   claim 1 and the disclosure of a phosphor is discussed in detail above with respect
  18   to claim 6. The use of white LEDs in Ishibashi implies that such LEDs are PC
  19   LEDs and include a resin or other material with phosphors distributed therein to
  20   convert blue light radiating from a blue LED to white light. A YAG group
  21   phosphor was well known and commonly used as the phosphor in these
  22   applications.
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   1           404. Ishibashi does not explicitly disclose this limitation. However,
   2   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
   3   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
   4   emitting device with a light emitting element such as an LED chip and,
   5   particularly, to a light emitting device that can prevent deterioration of a seal
   6   material and damage or deformation of LED chip due to the seal material.” Suehiro
   7   at [1:10-15].
   8           405. For example, Suehiro discloses a light emitting device in Fig. 13
   9   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
  10   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
  11   Suehiro further discloses that “[t]he phosphor 8 may be YAG (yttrium aluminum
  12   garnet), silicate phosphor, or a mixture thereof. The phosphor 8 is composed of one
  13   kind or plural kinds of phosphors. For example, a combination of plural kinds of
  14   phosphors is a phosphor to radiate red light, a phosphor to radiate green light and a
  15   phosphor to radiate blue light.” Id. at [12:53-58].
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  26           406. A POSA would have looked to Suehiro for guidance regarding
  27   implementing light emitting devices as disclosed by Ishibashi, particularly because
  28   Suehiro and Ishibashi are references in the same field that disclose light emitting
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   1   devices with many common features. Having looked to Suehiro, such a POSA
   2   would have found it obvious to implement the wavelength conversion member in
   3   the light emitting device of Ishibashi to save cost, for ease of manufacturing, to
   4   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
   5   LED chips and thus the light source. Also, a POSA would have found it obvious to
   6   combine Ishibashi with the teachings of Suehiro. It would require routine
   7   engineering and simple substitution to adopt the wavelength conversion member
   8   into the light emitting device of Ishibashi. This would yield predictable results of
   9   emitting wavelength-converted light emitted from the light emitting device.
  10                   6.       Claim 11: The light emitting device according to claim 6,
  11                            wherein an average particle size of the phosphor is 3 μm or
  12                            more.
  13           407. Ishibashi in view of Suehiro discloses or suggests this limitation.
  14   Ishibashi discloses this limitation. The disclosure of a wavelength conversion
  15   member is discussed in detail above with respect to claim 1 and the disclosure of a
  16   phosphor is discussed in detail above with respect to claim 6. Further, it was well
  17   known in the art that a phosphor having a particle size of 3 μm or more would be
  18   advantageous.
  19           408. Ishibashi does not explicitly disclose this limitation. However,
  20   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
  21   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  22   emitting device with a light emitting element such as an LED chip and,
  23   particularly, to a light emitting device that can prevent deterioration of a seal
  24   material and damage or deformation of LED chip due to the seal material.” Suehiro
  25   at [1:10-15].
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   1           409. For example, Suehiro discloses a light emitting device in Fig. 13
   2   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
   3   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
   4   Suehiro further discloses that “[t]he phosphor 8 may be YAG (yttrium aluminum
   5   garnet), silicate phosphor, or a mixture thereof. The phosphor 8 is composed of one
   6   kind or plural kinds of phosphors. For example, a combination of plural kinds of
   7   phosphors is a phosphor to radiate red light, a phosphor to radiate green light and a
   8   phosphor to radiate blue light.” Id. at [12:53-58]. In almost every case in such light
   9   applications, an average particle size of a phosphor is 3 μm or more.
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               410. A POSA would have looked to Suehiro for guidance regarding
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       implementing light emitting devices as disclosed by Ishibashi, particularly because
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       Suehiro and Ishibashi are references in the same field that disclose light emitting
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       devices with many common features. Having looked to Suehiro, such a POSA
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       would have found it obvious to implement the wavelength conversion member in
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       the light emitting device of Ishibashi to save cost, for ease of manufacturing, to
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       achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
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   1   LED chips and thus the light source. Also, a POSA would have found it obvious to
   2   combine Ishibashi with the teachings of Suehiro. It would require routine
   3   engineering and simple substitution to adopt the wavelength conversion member
   4   into the light emitting device of Ishibashi. This would yield predictable results of
   5   emitting wavelength-converted light emitted from the light emitting device.
   6                   7.       Claim 12: The light emitting device according to claim 1,
   7                            wherein the plurality of light emitting element chips is
   8                            electrically connected in series.
   9           411. Ishibashi discloses this limitation. For instance, Ishibashi discloses
  10   that in the light emitting device of Fig. 2 “[t]he LED chips 6 are usually connected
  11   to the electrode units 7 a and 7b in a series.” Id. at [0020].
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   1                   8.       Claim 13: The light emitting device according to claim 1,
   2                            wherein the plurality of light emitting element chips is so
   3                            configured that a main peak light emission wavelength of
   4                            the light emitting element is varied within a range between
   5                            420 nm and 490 nm.
   6           412. Ishibashi in view of Suehiro discloses or suggests this limitation. For
   7   example, Ishibashi discloses that “[t]he color of the LED chips 6 can be selected
   8   depending on the purposes. As a substitute for a conventional incandescent lamp, a
   9   white LED is used.” Id. at [0026]. The use of white LEDs in Ishibashi implies that
  10   such LEDs are PC LEDs and include a resin or other material with phosphors
  11   distributed therein to convert blue light to the white light. It was well known that
  12   the main peak light emission wavelength of blue light includes a range between
  13   420 nm and 490 nm.
  14           413. Ishibashi does not explicitly disclose this limitation. However,
  15   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
  16   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  17   emitting device with a light emitting element such as an LED chip and,
  18   particularly, to a light emitting device that can prevent deterioration of a seal
  19   material and damage or deformation of LED chip due to the seal material.” Suehiro
  20   at [1:10-15].
  21           414. For example, Suehiro discloses that “[u]pon the supply of power, the
  22   LED element 31 of the LED 3 emits blue light with an emission wavelength of
  23   about 470 nm. This blue light is irradiated to the phosphor layer 39 formed on the
  24   glass 35, whereby the phosphor is excited and radiates yellow light. The blue light
  25   and the yellow light are mixed to develop white light.” Id. at [20:59-65]. Suehiro
  26   also discloses that “[t]he LED 3 comprises a flip-chip type GaN-based LED
  27   element 31 to radiate blue light….” Id. at [19:32-33].
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   1           415. A POSA would have looked to Suehiro for guidance regarding
   2   implementing light emitting devices as disclosed by Ishibashi, particularly because
   3   Suehiro and Ishibashi are references in the same field that disclose light emitting
   4   devices with many common features. Having looked to Suehiro, such a POSA
   5   would have found it obvious to implement blue LEDs in the light emitting device
   6   of Ishibashi to save cost, for ease of manufacturing, to achieve desired aesthetic or
   7   optical properties, and/or to prolong the lifetime of LED chips and thus the light
   8   source. Also, a POSA would have found it obvious to combine Ishibashi with the
   9   teachings of Suehiro. It would require routine engineering and simple substitution
  10   to adopt blue LEDs into the light emitting device of Ishibashi. This would yield
  11   predictable results of emitting wavelength-converted light emitted from the light
  12   emitting device.
  13                   9.       Claim 14: The light emitting device according to claim 1,
  14                            wherein each of the light emitting element chips comprises
  15                            nitride semiconductor made of InxAlyGa1-x-yN (0≦x, 0≦y,
  16                            x+y≦1).
  17           416. Ishibashi in view of Suehiro discloses or suggests this limitation. The
  18   disclosure of light emitting element chips is discussed in detail above with respect
  19   to claim 1. Also, the recited configuration of nitride semiconductor for light
  20   emitting element chips was well known and commonly used in the art.
  21           417. Ishibashi does not explicitly disclose this limitation. However,
  22   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
  23   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  24   emitting device with a light emitting element such as an LED chip and,
  25   particularly, to a light emitting device that can prevent deterioration of a seal
  26   material and damage or deformation of LED chip due to the seal material.” Suehiro
  27   at [1:10-15].
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   1           418. For example, Suehiro discloses that “[t]he LED 3, as shown in FIG.
   2   1B, comprises the LED element 31, as a solid-state element, which is of flip-chip
   3   type and made of a GaN-based semiconductor material….” A POSA would have
   4   understood that the claimed GaN-based LED would have been obvious to select, as
   5   it would involve selecting one from a finite number of options.
   6           419. A POSA would have looked to Suehiro for guidance regarding
   7   implementing light emitting devices as disclosed by Ishibashi, particularly because
   8   Suehiro and Ishibashi are references in the same field that disclose light emitting
   9   devices with many common features. Having looked to Suehiro, such a POSA
  10   would have found it obvious to implement the light emitting element chips in the
  11   light emitting device of Ishibashi to save cost, for ease of manufacturing, to
  12   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  13   LED chips and thus the light source. Also, a POSA would have found it obvious to
  14   combine Ishibashi with the teachings of Suehiro. It would require routine
  15   engineering and simple substitution to adopt the light emitting element chips into
  16   the light emitting device of Ishibashi. This would yield predictable results of
  17   emitting wavelength-converted light emitted from the light emitting device.
  18                   10.      Claim 15: The light emitting device according to claim 1,
  19                            wherein the wavelength conversion member substantially
  20                            surrounds the board.
  21           420. Ishibashi in view of Suehiro discloses or suggests this limitation. The
  22   disclosure of light emitting element chips is discussed in detail above with respect
  23   to claim 1. Additionally, Ishibashi discloses in the light emitting device of Fig. 2 a
  24   longitudinal board (from one “belt-like branch” 5a to its longitudinally opposite
  25   “belt-like branch” 5a of the board 5) having light emitting element chips 6 aligned
  26   along such longitudinal board 5 (at 5a). It was well known in the art to encapsulate
  27   a plurality of light emitting elements in a single fluorescent, transparent resin,
  28   which would thereby substantially surround the board 5. Also, as explained in
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   1   detail above with respect to claim 1, it was well known in the art to include a
   2   fluorescent, transparent resin on both the first and second surfaces of a board in an
   3   omni-directional lighting device. Ishibashi discloses that “thereby providing a light
   4   source of a bulb in a small spherical form, direct light of the LEDS can radiate in
   5   various directions, which enables light emission in all directions.” Id. at [0010].
   6           421. Ishibashi does not explicitly disclose this limitation. However,
   7   Suehiro discloses this limitation. Suehiro, like Ishibashi, is directed to LED light
   8   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
   9   emitting device with a light emitting element such as an LED chip and,
  10   particularly, to a light emitting device that can prevent deterioration of a seal
  11   material and damage or deformation of LED chip due to the seal material.” Suehiro
  12   at [1:10-15]. Suehiro also discloses that “the resin for sealing the light-emitting
  13   portion can be formed into arbitrary shape and therefore the freedom in shape or
  14   formation process can be enhanced.” Id. at [2:57-59].
  15           422. For example, Suehiro discloses a light emitting device having this
  16   limitation at Figs. 13, 27A and 27B. With respect to these figures, Suehiro
  17   discloses that the wavelength conversion member 8 and 40, or 39, substantially
  18   surrounds the board 32.
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   1           423. A POSA would have looked to Suehiro for guidance regarding
   2   implementing light emitting devices as disclosed by Ishibashi, particularly because
   3   Suehiro and Ishibashi are references in the same field that disclose light emitting
   4   devices with many common features. Having looked to Suehiro, such a POSA
   5   would have found it obvious to implement the wavelength conversion member in
   6   the light emitting device of Ishibashi to save cost, for ease of manufacturing, to
   7   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
   8   LED chips and thus the light source. Also, a POSA would have found it obvious to
   9   combine Ishibashi with the teachings of Suehiro. It would require routine
  10   engineering and simple substitution to adopt the wavelength conversion member
  11   into the light emitting device of Ishibashi. This would yield predictable results of
  12   emitting wavelength-converted light emitted from the light emitting device.
  13                   11.      Claim 17: The light emitting device according to claim 1,
  14                            wherein the board is configured to be transparent so that a
  15                            light emitted from the plurality of light emitting element
  16                            chips on the first surface side of the board forwards outside
  17                            of the light emitting device through the second surface of
  18                            the board.
  19           424. Ishibashi discloses this limitation. For instance, Ishibashi discloses
  20   omni-directional light emitting devices: “[a]ccording to the present invention, by
  21   bending a printed circuit board with a plurality of LEDs disposed on the surface
  22   thereof to form a cage, thereby providing a light source of a bulb in a small
  23   spherical form, direct light of the LEDs can radiate in various directions, which
  24   enables light emission in all directions.” Id. at [0010]. To accomplish an omni-
  25   directional light emitting device, the light emitting devices of Ishibashi would
  26   include a board that is configured to be transparent. Thus, a light emitted from the
  27   plurality of light emitting element chips 6 on the first surface side of the board 5
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   1   would forward outside of the light emitting device through the second surface of
   2   the board 5.
   3                   12.      Claim 18: The light emitting device according to claim 1,
   4                            wherein the wavelength conversion member is capable of
   5                            converting light emitted from the plurality of light emitting
   6                            element chips into light with a different wavelength such
   7                            that the converted light with the different wavelength is
   8                            radiated along a first direction from the first surface side of
   9                            the board to an outer periphery of the wavelength
  10                            conversion member, and along a second direction from the
  11                            second surface of the board to the outer periphery of the
  12                            wavelength conversion member.
  13           425. For the reasons discussed elsewhere in my report, these claim
  14   limitations are indefinite. See infra, Section VIII. However, to the extent these
  15   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  16   in its infringement contentions, Ishibashi discloses this limitation. For example, the
  17   disclosure of a wavelength conversion member is discussed in detail with respect
  18   to claim 1 above, and the omni-directional qualities of the disclosed light emitting
  19   devices is discussed in detail with respect to claim 17 above.
  20                   13.      Claim 19: The light emitting device according to claim 1,
  21                            wherein all light emitting element chips mounted on the
  22                            first surface side of the board are aligned along a line.
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   1           426. Ishibashi discloses this limitation. For instance, Ishibashi discloses in
   2   the light emitting devices of Figs. 1 and 2 light emitting element chips 6 mounted
   3   on the first surface side of the board 5 that are aligned along a line. Specifically,
   4   the light emitting element chips 6 along any corresponding longitudinal belt-like
   5   branches 5a of the board 5 are aligned along a line commensurate with the length
   6   of the corresponding branches 5a.
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                       14.      Claim 20: The light emitting device according to claim 1,
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                                wherein the wavelength conversion member seals all light
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                                emitting element chips mounted on the first surface side of
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                                the board.
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               427. Ishibashi discloses this limitation. The disclosure of a wavelength
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       conversion member is discussed in detail with respect to claim 1 above.
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                       15.      Claim 21: The light emitting device according to claim 19,
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                                wherein the wavelength conversion member seals all light
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                                emitting element chips mounted on the first surface side of
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                                the board.
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               428. Ishibashi discloses this limitation. The disclosure of a wavelength
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       conversion member is discussed in detail with respect to claim 1 above.
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   1                   16.      Claim 22: The light emitting device according to claim 1,
   2                            wherein the first set of light emitting element chips and the
   3                            second set of light emitting element chips are aligned along
   4                            substantially a single line that extends in the longitudinal
   5                            direction of the wavelength conversion member.
   6           429. Ishibashi discloses this limitation. Such a configuration of the first set
   7   of light emitting element chips and the second set of light emitting element chips is
   8   discussed in detail with respect to claim 19 above.
   9                   17.      Claim 24: The light emitting device according to claim 1,
  10                            wherein one of the support leads is positioned between one
  11                            of the metal plates and the support base.
  12           430. Ishibashi discloses this limitation. Such a configuration of the support
  13   leads, metal plates, and support base is discussed in detail with respect to claim 1
  14   above.
  15                   18.      Claim 25: The light emitting device according to claim 1,
  16                            wherein all of the light emitting element chips mounted on
  17                            the first surface side of the board are aligned along a single
  18                            line when viewed in plan view of the first surface side of the
  19                            board.
  20           431. Ishibashi discloses this limitation. Such a configuration of the light
  21   emitting element chips is discussed in detail with respect to claim 19 above.
  22                   19.      Claim 27: See claims 1 and 24.
  23           432. Ishibashi discloses these limitations. Each of these limitations is
  24   discussed in detail with respect to claims 1 and 24 above.
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   1           D.      Claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are obvious over
   2                   Okamoto in view of Suehiro, or in the alternative Yamazaki, and
   3                   further in view of Maxik.
   4                   1.       Claim 1:
   5                            a.    A light emitting device comprising:
   6           433. To the extent the preamble of claim 1 is limiting, Okamoto discloses
   7   the limitations therein. For instance, Okamoto is entitled “Light Source Device and
   8   Its Manufacture” and discloses that “[a]n object of the present invention is to
   9   provide a light source device with a simple configuration and which is visible from
  10   all directions.” Okamoto at [0009].
  11           434. Okamoto discloses in Figs. 8 and 11 light emitting devices as recited
  12   in claim 1.
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   1                            b.    a board having end portions and a center portion
   2                                  therebetween in a longitudinal direction, the board
   3                                  having a first surface on a first surface side thereof
   4                                  and a second surface on a second surface side thereof,
   5                                  the second surface being an opposite side to the first
   6                                  surface, the first surface including a first region and a
   7                                  second region, the first region extending from the
   8                                  center portion of the board to one of the end portions,
   9                                  the second region extending from the center portion
  10                                  of the board to the other of the end portions;
  11           435. Okamoto discloses this limitation. For example, Okamoto discloses
  12   that “[i]n the light source device set forth in the present invention, the light-
  13   emitting element chip for emitting light in all directions is integrally molded on the
  14   light-transmissive support member by the light-transmissive molded body, and
  15   thus, a light source device having a simple configuration and omnidirectional
  16   emission characteristics capable of transmitting light across all directions is
  17   obtained.” Id. at [0011].
  18           436. Also, for instance, Okamoto discloses a light emitting device in Fig. 3
  19   that shows a board having end portions and a center portion therebetween in a
  20   longitudinal direction. Specifically, the board has a first surface side (e.g., the side
  21   with 5a) and second surface side (e.g., the side with 5b), where the second surface
  22   is an opposite side to the first surface. The first surface includes a first region and a
  23   second region, the first region extending from the center portion of the board to
  24   one of the end portions, the second region extending from the center portion of the
  25   board to the other of the end portions.
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               437. I am applying Nichia’s apparent application of “a board,” “end
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       portions and a center portion therebetween in a longitudinal direction” and “a
  12
       first/second region” from its infringement contentions, and as discussed below in
  13
       Sections VI and VIII, believe these limitations are invalid under 35. U.S.C. Section
  14
       112.
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                                c.    a plurality of light emitting element chips mounted on
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                                      the first surface side of the board;
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               438. Okamoto discloses this limitation. For example, Okamoto discloses a
  18
       light emitting device in Fig. 3 that includes a plurality of light emitting element
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       chips mounted on the first surface side of the board (e.g., LEDs 3, 4, 5a).
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               439. As another example, Okamoto discloses that “[a] light source device
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       set forth in a second invention has a plurality of light-emitting element chips
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       disposed on a light-transmissive support member, the plurality of light-emitting
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       element chips and the light-transmissive support member being integrally molded
  13
       with a light-transmissive material to form a light-transmissive molded body.” Id. at
  14
       [0019].
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               440. Further, Okamoto discloses that in the light emitting devices of Figs. 1
  16
       and 2, “a GaN blue LED element 3, a GaN green LED element 4, and GaAs red
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       LED element 5a are disposed in a row on a front face of a light-transmissive glass
  18
       substrate 2. The GaN LED elements 3 and 4 are provided only on the front face of
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       the glass substrate 2, but the GaAs red LED elements 5a and 5b are provided on
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       the front and back of the glass substrate 2.” Id. at [0027].
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  11                            d.    a wavelength conversion member formed unitarily
  12                                  with a transparent member that seals the plurality of
  13                                  light emitting element chips;
  14           441. For the reasons discussed elsewhere in my report, these claim
  15   limitations are indefinite. See infra, Section VIII. However, to the extent these
  16   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  17   in its infringement contentions, Okamoto in view of Suehiro discloses or suggests
  18   this limitation. For example, Okamoto discloses in the light emitting device of Fig.
  19   6 a light transmissive resin that seals the plurality of light emitting element chips.
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   1           442. Also, Okamoto discloses with respect to the light emitting device of
   2   Fig. 6 that “[a] light-transmissive resin 11 is disposed on a portion of the front face
   3   and a portion of the back face of the glass substrate 2 to cover the entirety of the
   4   LED elements 3, 4, 5a, and 5b and the gold wire 7. A dispersant is mixed into the
   5   light-transmissive resin 11 to mitigate directivity of light emitted from the LED
   6   elements 3, 4, 5a, and 5b. Type of the dispersant include inorganic barium titrate,
   7   titanium oxide, aluminum oxide, silicon oxide, and the like, and organic
   8   guanaminic acid resin and the like. The glass substrate 2 and the LED elements 3,
   9   4, 5a, and 5b covered with the light-transmissive resin 11 are integrally molded
  10   with a light-transmissive resin 10 to form a light-transmissive molded body.” Id. at
  11   [0030].
  12           443. Okamoto does not explicitly disclose “a wavelength conversion
  13   member” that seals the plurality of light emitting element chips. However, Suehiro
  14   discloses this limitation. Suehiro, like Okamoto, is directed to LED light emitting
  15   devices. Suehiro is entitled “Light Emitting Device” and discloses “a light emitting
  16   device with a light emitting element such as an LED chip and, particularly, to a
  17   light emitting device that can prevent deterioration of a seal material and damage
  18   or deformation of LED chip due to the seal material.” Suehiro at [1:10-15]. Suehiro
  19   also discloses that “the resin for sealing the light-emitting portion can be formed
  20   into arbitrary shape and therefore the freedom in shape or formation process can be
  21   enhanced.” Id. at [2:57-59].
  22           444. For example, Suehiro discloses a light emitting device having this
  23   limitation at Figs. 27A and 27B. With respect to these figures, Suehiro discloses
  24   that “[t]he LED 3 comprises a flip-chip type GaN-based LED element 31 to radiate
  25   blue light, a substrate 32, made of Al-O (with a thermal expansion coefficient of
  26   7.2x10-6/ C.), on which the LED element 31 is mounted, glass 35 which seals the
  27   LED element 31 … Although in this embodiment the three LED elements 31 are
  28   used, another number of LED elements 31 may be used therein.” Id. at [19:32-46].
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               445. Suehiro also discloses that “[u]pon the supply of power, the LED
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       element 31 of the LED 3 emits blue light with an emission wavelength of about
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       470 nm. This blue light is irradiated to the phosphor layer 39 formed on the glass
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       35, whereby the phosphor is excited and radiates yellow light. The blue light and
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       the yellow light are mixed to develop white light.” Id. at [20:59-65].
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               446. A POSA would have looked to Suehiro for guidance regarding
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       implementing light emitting devices as disclosed by Okamoto, particularly because
  21
       Suehiro and Okamoto are references in the same field that disclose light emitting
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       devices with many common features. Having looked to Suehiro, such a POSA
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       would have found it obvious to implement the wavelength conversion member in
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       the light emitting device of Okamoto to save cost, for ease of manufacturing, to
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       achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
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       LED chips and thus the light source. Also, a POSA would have found it obvious to
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       combine Okamoto with the teachings of Suehiro. It would require routine
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   1   engineering and simple substitution to adopt the wavelength conversion member
   2   into the light emitting device of Okamoto. This would yield predictable results of
   3   emitting wavelength-converted light emitted from the light emitting device.
   4           447. Further, Nichia’s application of this limitation only requires
   5   phosphors in a transparent resin, which is merely a wavelength conversion
   6   member, was well known in the art, and is disclosed in this reference. The Court’s
   7   construction, however, requires that the wavelength conversion member and the
   8   transparent member be a single component, which is met by this reference as a
   9   POSA could use phosphors alone or could replace the mixture of phosphors in a
  10   transparent resin with a single component that accomplishes the same goal.
  11                            e.    a transparent bulb that encloses the board and the
  12                                  plurality of light emitting element chips;
  13           448. Okamoto discloses this limitation. For example, Okamoto discloses in
  14   the light emitting devices of Figs. 8 and 11 a transparent bulb that encloses the
  15   board and the plurality of light emitting element chips.
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               449. Further, Okamoto discloses that the light emitting device of Figs. 8
  26
       and 9 “are perspective views of signal lights having the light source 1 of FIG. 1
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   1   incorporated therein. The signal lights of FIG. 8 and FIG. 9 are both covered in
   2   light-transmissive covers 20 and 22[.]” Id. at [0041].
   3                            f.    support leads that secure the plurality of light
   4                                  emitting element chips inside the transparent bulb;
   5           450. Okamoto discloses this limitation. For example, Okamoto discloses in
   6   the light emitting device of Fig. 1 a lead frame 8.
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  16           451. As another example, Okamoto discloses with respect to the light

  17   emitting devices of Figs. 5 and 6 that “the light-transmissive resin 11 containing

  18   the dispersant is dripped onto the entire region in which the LED elements 3, 4, 5a,

  19   and 5b and the gold wire 7 are disposed, and cured. Thereafter, the lead frame 8 for

  20   hybrid IC is attached with the solder material 9 to the drawn-out wiring pattern 6

  21   formed on the glass substrate 2. At which time, the LED elements 3, 4, 5a, and 5b

  22   and the gold wire 7 are protected by the light-transmissive resin 11. The LED

  23   elements 3, 4, 5a, and 5b are integrally molded with the light-transmissive

  24   substrate 10, for example, using a casting molding method, on top of the light-

  25   transmissive resin 11 together with the glass substrate 2 having the lead frame 8

  26   attached thereto.” Id. at [0034].

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   1                            g.    a support base that can be threadedly engaged with a
   2                                  conventional light bulb socket along a socket axis; and
   3           452. Okamoto in view of Maxik discloses or suggests this limitation. For
   4   example, Okamoto discloses a bulb which can be used in a variety of purposes and
   5   locations. One such configuration would be to make it readily connectible to power
   6   inputs in these varied environments, which would entail use of the base of a
   7   conventional light bulb (e.g., a support base that can be threadedly engaged with a
   8   conventional light bulb socket along a socket axis).
   9           453. Okamoto does not explicitly disclose this limitation. However, Maxik
  10   discloses this limitation. Maxik, like Okamoto, is directed to is directed to LED
  11   light emitting devices. Maxik is entitled “Lighting Element Using Electronically
  12   Activated Light Emitting Elements and Method of Making Same” and discloses
  13   that “the invention relates to a lighting element for use in light bulbs. The lighting
  14   element is comprised of light emitting diodes (LEDs) which are mounted on a
  15   flexible form which can be configured into various shapes for greater light
  16   dispersion and functionality.” Maxik at [1:21-24].
  17           454. For example, Maxik discloses that “[t]he light bulb of the present
  18   invention uses an outer bulb housing which may be pre-formed with either a glass
  19   or a generally transparent or light translucent composition.” Id. at [2:38-40].
  20           455. Further, Maxik discloses in the light emitting device of Fig. 1 this
  21   limitation.
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  10           456. As another example, Maxik discloses with respect to the light emitting
  11   device of Fig. 1 that “the present LED light bulb 100 comprises a housing 102 with
  12   a base 104 connected thereto. The housing 102 can be in the form of a standard
  13   incandescent light bulb housing, or any other desirable form or shape and includes
  14   an inside wall 120. The base 104 normally adopts the form of a conventional
  15   Edison base, although any base could be used. The housing 102 of the LED light
  16   bulb 100 is transparent or at least light translucent.” Id. at [4:28-36].
  17           457. A POSA would have looked to Maxik for guidance regarding
  18   implementing light emitting devices as disclosed by Okamoto, particularly because
  19   Maxik and Okamoto are references in the same field that disclose light emitting
  20   devices with many common features. Having looked to Maxik, such a POSA
  21   would have found it obvious to implement the housing 102 in the light emitting
  22   device of Okamoto to save cost, for ease of manufacturing, to achieve desired
  23   aesthetic or optical properties, and/or to prolong the lifetime of LED chips and thus
  24   the light source. Also, a POSA would have found it obvious to combine Okamoto
  25   with the teachings of Maxik. It would require routine engineering and simple
  26   substitution to adopt the housing 102 into the light emitting device of Okamoto.
  27   This would yield predictable results of emitting wavelength-converted light
  28   emitted from the light emitting device.
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   1                            h.    a pair of metal plates protruding at both ends of the
   2                                  wavelength conversion member,
   3           458. Okamoto discloses this limitation. For example, Okamoto discloses in
   4   the light emitting device of Fig. 1 a metal wiring pattern 6 as well as lead frames 8
   5   protruding from translucent resin 11.
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  15           459. In the alternative, Okamoto in view of Suehiro, or in the alternative,
  16   Yamazaki, discloses this limitation. For example, Okamoto discloses in the light
  17   emitting device of Fig. 1 a metal wiring pattern 6 as well as lead frames 8
  18   protruding from translucent resin 11.
  19           460. Okamoto does not explicitly disclose this limitation. However,
  20   Suehiro discloses this limitation. Suehiro, like Okamoto, is directed to LED light
  21   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  22   emitting device with a light emitting element such as an LED chip and,
  23   particularly, to a light emitting device that can prevent deterioration of a seal
  24   material and damage or deformation of LED chip due to the seal material.” Suehiro
  25   at [1:10-15].
  26           461. For example, Suehiro discloses a light emitting device having this
  27   limitation at Fig. 13. With respect to Fig. 13, Suehiro discloses a pair of metal
  28   plates protruding at both ends of the wavelength conversion member 8 and 40.
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  11           462. A POSA would have looked to Suehiro for guidance regarding
  12   implementing light emitting devices as disclosed by Okamoto, particularly because
  13   Suehiro and Okamoto are references in the same field that disclose light emitting
  14   devices with many common features. Having looked to Suehiro, such a POSA
  15   would have found it obvious to implement the metal plates of Suehiro in the light
  16   emitting device of Okamoto to save cost, for ease of manufacturing, to achieve
  17   desired aesthetic or optical properties, and/or to prolong the lifetime of LED chips
  18   and thus the light source. Also, a POSA would have found it obvious to combine
  19   Okamoto with the teachings of Suehiro. It would require routine engineering and
  20   simple substitution to adopt the metal plates into the light emitting device of
  21   Okamoto. This would yield predictable results of emitting wavelength-converted
  22   light emitted from the light emitting device.
  23           463. Further, in the alternative, Yamzaki discloses this limitation.
  24   Yamazaki, like Okamoto, is directed to LED light emitting devices. Yamazaki is
  25   entitled “Semiconductor Light-Emitting Device” and discloses “a semiconductor
  26   light-emitting device that emits light in a plurality of directions through a simple
  27   structure.” Yamazaki at Abstract.
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   1           464. For example, Yamazaki discloses a light emitting device having this
   2   limitation at Fig. 1. Yamazaki discloses “[t]he chip substrate 11 is structured as a
   3   flat chip substrate made from a transparent material … and an electrically
   4   conductive pattern 11a is provided on the surface thereof.” Id. at [0026].
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  12           465. In addition, Yamazaki discloses that the metal plates 11a protrude at
  13   both ends of a wavelength conversion member. For instance, Yamazaki discloses
  14   that the metal plates 11a protrude from “[t]he first resin molding portion 13
  15   [which] is structured through mixing a fluorescent material into, for example, a
  16   thermally curable epoxy resin, and is molded through an arbitrary molding
  17   method.” Id. at [0028].
  18           466. A POSA would have looked to Yamazaki for guidance regarding
  19   implementing light emitting devices as disclosed by Okamoto, particularly because
  20   Yamazaki and Okamoto are references in the same field that disclose light emitting
  21   devices with many common features. Having looked to Yamazaki, such a POSA
  22   would have found it obvious to implement the metal plates of Yamzaki in the light
  23   emitting device of Okamoto to save cost, for ease of manufacturing, to achieve
  24   desired aesthetic or optical properties, and/or to prolong the lifetime of LED chips
  25   and thus the light source. Also, a POSA would have found it obvious to combine
  26   Okamoto with the teachings of Yamzaki. It would require routine engineering and
  27   simple substitution to adopt the metal plates into the light emitting device of
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   1   Okamoto. This would yield predictable results of emitting wavelength-converted
   2   light emitted from the light emitting device.
   3                            i.    wherein the wavelength conversion member is
   4                                  provided on the first surface side and the second
   5                                  surface side, the wavelength conversion member is
   6                                  elongated in the longitudinal direction when viewed in
   7                                  plan view of the first surface side of the board,
   8           467. Okamoto discloses this limitation. For example, Okamoto discloses in
   9   the light emitting device of Fig. 6 a light transmissive resin 11 that is provided on
  10   the first surface side and the second surface side, and wherein the wavelength
  11   conversion member is elongated in the longitudinal direction when viewed in plan
  12   view of the first surface side of the board.
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                                j.    wherein a first set of the light emitting element chips
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                                      are mounted on the first region and arranged from
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                                      the center portion of the board to the one of the end
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                                      portions,
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   1           468. For the reasons discussed elsewhere in my report, these claim
   2   limitations are indefinite. See infra, Section VIII. However, to the extent these
   3   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   4   in its infringement contentions, Okamoto discloses this limitation. For example,
   5   Okamoto discloses in the light emitting devices of Figs. 3 and 11 multiple serially
   6   mounted LEDs that are mounted from the center portion of the board to the one of
   7   the end portions of the board (e.g., chips 3 and 4 in Fig. 3).
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  19           469. As another example, Okamoto discloses that “when a bright light
  20   source is required, it may also be configured with a plurality of LED elements
  21   connected in parallel or in series to emit light simultaneously.” Id. at [0043]. This
  22   includes a first set of chips mounted on the first region and arranged from the
  23   center portion of the board to the one of the end portions (e.g., chips 3 and 4) in
  24   Fig. 3 or a similar set configuration in Fig. 11.
  25                            k.    wherein a second set of the light emitting element
  26                                  chips are mounted on the second region and arranged
  27                                  from the center portion of the board to the other one
  28                                  of the end portions, and
                                        216
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   1           470. For the reasons discussed elsewhere in my report, these claim
   2   limitations are indefinite. See infra, Section VIII. However, to the extent these
   3   limitations are not found indefinite, applying them indistinctly as Nichia appears to
   4   in its infringement contentions, Okamoto discloses this limitation. For example,
   5   Okamoto discloses in the light emitting devices of Figs. 3 and 11 multiple serially
   6   mounted LEDs that are mounted from the center portion of the board to the other
   7   one of the end portions of the board (e.g., chips 4 and 5 in Fig. 3).
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  20           471. As another example, Okamoto discloses that “when a bright light
  21   source is required, it may also be configured with a plurality of LED elements
  22   connected in parallel or in series to emit light simultaneously.” Id. at [0043]. This
  23   includes a second set of chips mounted on the second region and arranged from the
  24   center portion of the board to the other one of the end portions (e.g., chips 4 and 5)
  25   in Fig. 3 or a similar set configuration in Fig. 11.
  26                            l.    wherein the pair of metal plates are electrically
  27                                  connected with the support base via the support leads.
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   1           472. Okamoto discloses this limitation. Specifically, Okamoto discloses in
   2   the light emitting device of Figs. 1 and 8 a metal wiring pattern 6 and lead frames
   3   8, which are electrically connected with the base 21.
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                       2.       Claim 3: The light emitting device according to claim 1,
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                                wherein the transparent bulb is made of glass.
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               473. Okamoto in view of Maxik discloses or suggests this limitation. For
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       example, Okamoto discloses that its light emitting devices include a “light
  18
       transmissive cover 20.” One such cover was well known in the art to be glass.
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               474. Okamoto does not explicitly disclose this limitation. However, Maxik
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       discloses this limitation. Maxik discloses this limitation. For instance, Maxik
  21
       discloses that “[t]he light bulb of the present invention uses an outer bulb housing
  22
       which may be pre-formed with either a glass or a generally transparent or light
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       translucent composition.” Id. at [2:38-40].
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                       3.       Claim 4: The light emitting device according to claim 1,
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                                wherein each of the metal plates crosses the support lead.
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   1           475. Okamoto discloses this limitation. For example, Okamoto discloses
   2   metal plates and support leads as discussed in detail above. Specifically, Okamoto
   3   discloses in the light emitting device of Fig. 1 a metal wiring pattern 6 and lead
   4   frames 8. The structure requires that the metal wiring pattern 6 and lead frames 8
   5   cross each other in order to provide a continuous circuit and thus power to the LED
   6   elements.
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  16                   4.       Claim 6: The light emitting device according to claim 1,

  17                            wherein the wavelength conversion member comprises a

  18                            phosphor therein.

  19           476. Okamoto in view of Suehiro discloses or suggests this limitation.

  20   Phosphors were well known and commonly used in the art in transparent resin of

  21   light emitting devices to convert wavelength.

  22           477. However, Suehiro discloses this limitation. Suehiro, like Okamoto, is

  23   directed to LED light emitting devices. Suehiro is entitled “Light Emitting Device”

  24   and discloses “a light emitting device with a light emitting element such as an LED

  25   chip and, particularly, to a light emitting device that can prevent deterioration of a

  26   seal material and damage or deformation of LED chip due to the seal material.”

  27   Suehiro at [1:10-15].

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   1           478. For example, Suehiro discloses a light emitting device in Fig. 13
   2   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
   3   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
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  12           479. A POSA would have looked to Suehiro for guidance regarding
  13   implementing light emitting devices as disclosed by Okamoto, particularly because
  14   Suehiro and Okamoto are references in the same field that disclose light emitting
  15   devices with many common features. Having looked to Suehiro, such a POSA
  16   would have found it obvious to implement the wavelength conversion member in
  17   the light emitting device of Okamoto to save cost, for ease of manufacturing, to
  18   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  19   LED chips and thus the light source. Also, a POSA would have found it obvious to
  20   combine Okamoto with the teachings of Suehiro. It would require routine
  21   engineering and simple substitution to adopt the wavelength conversion member
  22   into the light emitting device of Okamoto. This would yield predictable results of
  23   emitting wavelength-converted light emitted from the light emitting device.
  24                   5.       Claim 7: The light emitting device according to claim 6,
  25                            wherein the phosphor comprises a YAG group phosphor.
  26           480. Okamoto in view of Suehiro discloses or suggests this limitation. For
  27   example, to achieve white light, it was well known in the art to use blue LEDs in
  28   combination with a wavelength conversion member, wherein such phosphor would
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   1   comprise a YAG group phosphor. A YAG group phosphor was well known and
   2   commonly used in the art to convert wavelength.
   3           481. Okamoto does not explicitly disclose this limitation. However,
   4   Suehiro discloses this limitation. Suehiro, like Okamoto, is directed to LED light
   5   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
   6   emitting device with a light emitting element such as an LED chip and,
   7   particularly, to a light emitting device that can prevent deterioration of a seal
   8   material and damage or deformation of LED chip due to the seal material.”
   9           482. For example, Suehiro discloses a light emitting device in Fig. 13
  10   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
  11   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
  12   Suehiro further discloses that “[t]he phosphor 8 may be YAG (yttrium aluminum
  13   garnet), silicate phosphor, or a mixture thereof. The phosphor 8 is composed of one
  14   kind or plural kinds of phosphors. For example, a combination of plural kinds of
  15   phosphors is a phosphor to radiate red light, a phosphor to radiate green light and a
  16   phosphor to radiate blue light.” Id. at [12:53-58].
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  25           483. A POSA would have looked to Suehiro for guidance regarding
  26   implementing light emitting devices as disclosed by Okamoto, particularly because
  27   Suehiro and Okamoto are references in the same field that disclose light emitting
  28   devices with many common features. Having looked to Suehiro, such a POSA
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   1   would have found it obvious to implement the wavelength conversion member in
   2   the light emitting device of Okamoto to save cost, for ease of manufacturing, to
   3   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
   4   LED chips and thus the light source. Also, a POSA would have found it obvious to
   5   combine Okamoto with the teachings of Suehiro. It would require routine
   6   engineering and simple substitution to adopt the wavelength conversion member
   7   into the light emitting device of Okamoto. This would yield predictable results of
   8   emitting wavelength-converted light emitted from the light emitting device.
   9                   6.       Claim 11: The light emitting device according to claim 6,
  10                            wherein an average particle size of the phosphor is 3 μm or
  11                            more.
  12           484. Okamoto in view of Suehiro discloses or suggests this limitation. For
  13   example, to achieve white light, it was well known in the art to use blue LEDs in
  14   combination with a wavelength conversion member, wherein such wavelength
  15   conversion member would comprise a phosphor. A phosphor having an average
  16   particle size of the phosphor is 3 μm or more was well known to be advantageous.
  17           485. Okamoto does not explicitly disclose this limitation. However,
  18   Suehiro discloses this limitation. Suehiro, like Okamoto, is directed to LED light
  19   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
  20   emitting device with a light emitting element such as an LED chip and,
  21   particularly, to a light emitting device that can prevent deterioration of a seal
  22   material and damage or deformation of LED chip due to the seal material.”
  23           486. For example, Suehiro discloses a light emitting device in Fig. 13
  24   having this limitation. With respect to Fig. 13, Suehiro discloses a light emitting
  25   device that has “a transparent resin 40 contain[ing] a phosphor.” Id. at [12:50-52].
  26   Suehiro further discloses that “[t]he phosphor 8 may be YAG (yttrium aluminum
  27   garnet), silicate phosphor, or a mixture thereof. The phosphor 8 is composed of one
  28   kind or plural kinds of phosphors. For example, a combination of plural kinds of
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   1   phosphors is a phosphor to radiate red light, a phosphor to radiate green light and a
   2   phosphor to radiate blue light.” Id. at [12:53-58]. In almost every case in such light
   3   applications, an average particle size of a phosphor is 3 μm or more.
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  15           487. A POSA would have looked to Suehiro for guidance regarding
  16   implementing light emitting devices as disclosed by Okamoto, particularly because
  17   Suehiro and Okamoto are references in the same field that disclose light emitting
  18   devices with many common features. Having looked to Suehiro, such a POSA
  19   would have found it obvious to implement the wavelength conversion member in
  20   the light emitting device of Okamoto to save cost, for ease of manufacturing, to
  21   achieve desired aesthetic or optical properties, and/or to prolong the lifetime of
  22   LED chips and thus the light source. Also, a POSA would have found it obvious to
  23   combine Okamoto with the teachings of Suehiro. It would require routine
  24   engineering and simple substitution to adopt the wavelength conversion member
  25   into the light emitting device of Okamoto. This would yield predictable results of
  26   emitting wavelength-converted light emitted from the light emitting device.
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   1                   7.       Claim 12: The light emitting device according to claim 1,
   2                            wherein the plurality of light emitting element chips is
   3                            electrically connected in series.
   4           488. Okamoto discloses this limitation. For example, Okamoto discloses in
   5   the light emitting devices of Figs. 3 and 11 multiple serially mounted LEDs
   6   electrically connected in series (e.g., chips 3, 4 and 5 in Fig. 3 and a horizontal
   7   grouping of chips in Fig. 11).
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  19           489. As another example, Okamoto discloses that “when a bright light
  20   source is required, it may also be configured with a plurality of LED elements
  21   connected in parallel or in series to emit light simultaneously.” Id. at [0043].
  22                   8.       Claim 13: The light emitting device according to claim 1,
  23                            wherein the plurality of light emitting element chips is so
  24                            configured that a main peak light emission wavelength of
  25                            the light emitting element is varied within a range between
  26                            420 nm and 490 nm.
  27           490. Okamoto in view of Suehiro discloses or suggests this limitation. For
  28   example, Okamoto discloses a “GaN blue LED element 3.” Id. at [0027]. It was
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   1   well known in the art that the main peak light emission wavelength of blue light
   2   includes a range between 420 nm and 490 nm.
   3           491. Okamoto does not explicitly disclose this limitation. However,
   4   Suehiro discloses this limitation. Suehiro, like Okamoto, is directed to LED light
   5   emitting devices. Suehiro is entitled “Light Emitting Device” and discloses “a light
   6   emitting device with a light emitting element such as an LED chip and,
   7   particularly, to a light emitting device that can prevent deterioration of a seal
   8   material and damage or deformation of LED chip due to the seal material.”
   9           492. For example, Suehiro discloses that “[u]pon the supply of power, the
  10   LED element 31 of the LED 3 emits blue light with an emission wavelength of
  11   about 470 nm. This blue light is irradiated to the phosphor layer 39 formed on the
  12   glass 35, whereby the phosphor is excited and radiates yellow light. The blue light
  13   and the yellow light are mixed to develop white light.” Id. at [20:59-65]. Suehiro
  14   also discloses that “[t]he LED 3 comprises a flip-chip type GaN-based LED
  15   element 31 to radiate blue light….” Id. at [19:32-33].
  16           493. A POSA would have looked to Suehiro for guidance regarding
  17   implementing light emitting devices as disclosed by Okamoto, particularly because
  18   Suehiro and Okamoto are references in the same field that disclose light emitting
  19   devices with many common features. Having looked to Suehiro, such a POSA
  20   would have found it obvious to implement blue LEDs in the light emitting device
  21   of Okamoto to save cost, for ease of manufacturing, to achieve desired aesthetic or
  22   optical properties, and/or to prolong the lifetime of LED chips and thus the light
  23   source. Also, a POSA would have found it obvious to combine Okamoto with the
  24   teachings of Suehiro. It would require routine engineering and simple substitution
  25   to adopt blue LEDs into the light emitting device of Okamoto. This would yield
  26   predictable results of emitting wavelength-converted light emitted from the light
  27   emitting device.
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   1                   9.       Claim 14: The light emitting device according to claim 1,
   2                            wherein each of the light emitting element chips comprises
   3                            nitride semiconductor made of InxAlyGa1-x-yN (0≦x, 0≦y,
   4                            x+y≦1).
   5           494. Okamoto discloses this limitation. For example, Okamoto discloses
   6   with respect to the light emitting devices of Figs. 1 and 2, “a GaN blue LED
   7   element 3, a GaN green LED element 4, and GaAs red LED element 5a are
   8   disposed in a row on a front face of a light transmissive glass substrate 2. The GaN
   9   LED elements 3 and 4 are provided only on the front face of the glass substrate 2,
  10   but the GaAs red LED elements 5a and 5b are provided on the front and back of
  11   the glass substrate 2.” Id. at [0027]. Also, the recited configuration of nitride
  12   semiconductor for light emitting element chips was well known and commonly
  13   used in the art.
  14                   10.      Claim 15: The light emitting device according to claim 1,
  15                            wherein the wavelength conversion member substantially
  16                            surrounds the board.
  17           495. Okamoto discloses this limitation. For example, Okamoto discloses
  18   with respect to the light emitting device of Fig. 6 “[a] light-transmissive resin 11 is
  19   disposed on a portion of the front face and a portion of the back face of the glass
  20   substrate 2 to cover the entirety of the LED elements 3, 4, 5a, and 5b and the gold
  21   wire 7. A dispersant is mixed into the light-transmissive resin 11 to mitigate
  22   directivity of light emitted from the LED elements 3, 4, 5a, and 5b. Type of the
  23   dispersant include inorganic barium titrate, titanium oxide, aluminum oxide,
  24   silicon oxide, and the like, and organic guanaminic acid resin and the like. The
  25   glass substrate 2 and the LED elements 3, 4, 5a, and 5b covered with the light-
  26   transmissive resin 11 are integrally molded with a light-transmissive resin 10 to
  27   fo1m a light-transmissive molded body.” Id. at [0030].
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  10                   11.      Claim 17: The light emitting device according to claim 1,

  11                            wherein the board is configured to be transparent so that a

  12                            light emitted from the plurality of light emitting element

  13                            chips on the first surface side of the board forwards outside

  14                            of the light emitting device through the second surface of

  15                            the board.

  16           496. Okamoto discloses this limitation. For example, Okamoto discloses

  17   that “[t]he light-transmissive glass substrate 2 is an example of a light-transmissive

  18   insulating substrate, and another type of light-transmissive insulating substrate

  19   such as a light-transmissive insulating substrate composed of a light-transmissive

  20   resin instead of the glass substrate 2 may be used. Furthermore, the LED elements

  21   3 and 4 are an example of light-emitting element chips having a semiconductor

  22   light-emitting layer such as an active layer formed on a light-transmissive substrate

  23   such a, for example, a sapphire substrate, and another light-emitting element chip

  24   may be used so long as it is a light-emitting element chip provided with a

  25   semiconductor light-emitting layer formed on a light-transmissive substrate.” Id. at

  26   [0031]. This means that a light emitted from the plurality of light emitting element

  27   chips on the first surface side of the board forwards outside of the light emitting

  28   device through the second surface of the board.

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   1           497. As another example, Okamoto discloses that “[i]n the light source
   2   device set forth in the present invention, the light-emitting element chip for
   3   emitting light in all directions is integrally molded on the light-transmissive
   4   support member by the light-transmissive molded body, and thus, a light source
   5   device having a simple configuration and omnidirectional emission characteristics
   6   capable of transmitting light across all directions is obtained.” Id. at [0011].
   7                   12.      Claim 18: The light emitting device according to claim 1,
   8                            wherein the wavelength conversion member is capable of
   9                            converting light emitted from the plurality of light emitting
  10                            element chips into light with a different wavelength such
  11                            that the converted light with the different wavelength is
  12                            radiated along a first direction from the first surface side of
  13                            the board to an outer periphery of the wavelength
  14                            conversion member, and along a second direction from the
  15                            second surface of the board to the outer periphery of the
  16                            wavelength conversion member.
  17           498. For the reasons discussed elsewhere in my report, these claim
  18   limitations are indefinite. See infra, Section VIII. However, to the extent these
  19   limitations are not found indefinite, applying them indistinctly as Nichia appears to
  20   in its infringement contentions, Okamoto discloses this limitation. The omni-
  21   directional effect of the light emitting devices disclosed in Okamoto is discussed in
  22   detail with respect to claims 1 and 17 above.
  23                   13.      Claim 19: The light emitting device according to claim 1,
  24                            wherein all light emitting element chips mounted on the
  25                            first surface side of the board are aligned along a line.
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   1           499. Okamoto discloses this limitation. For example, Okamoto discloses
   2   this limitation in the light emitting devices of Figs. 3 and 8, wherein all light
   3   emitting element chips mounted on the first surface side of the board are aligned
   4   along a line.
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                       14.      Claim 20: The light emitting device according to claim 1,
  16
                                wherein the wavelength conversion member seals all light
  17
                                emitting element chips mounted on the first surface side of
  18
                                the board.
  19
               500. Okamoto discloses this limitation. For example, Okamoto discloses
  20
       with respect to the light emitting device of Fig. 6 “[a] light-transmissive resin 11 is
  21
       disposed on a portion of the front face and a portion of the back face of the glass
  22
       substrate 2 to cover the entirety of the LED elements 3, 4, 5a, and 5b and the gold
  23
       wire 7. A dispersant is mixed into the light-transmissive resin 11 to mitigate
  24
       directivity of light emitted from the LED elements 3, 4, 5a, and 5b. Type of the
  25
       dispersant include inorganic barium titrate, titanium oxide, aluminum oxide,
  26
       silicon oxide, and the like, and organic guanaminic acid resin and the like. The
  27
       glass substrate 2 and the LED elements 3, 4, 5a, and 5b covered with the light-
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   1   transmissive resin 11 are integrally molded with a light-transmissive resin 10 to
   2   fo1m a light-transmissive molded body.” Id. at [0030].
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                       15.      Claim 21: The light emitting device according to claim 19,
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                                wherein the wavelength conversion member seals all light
  16
                                emitting element chips mounted on the first surface side of
  17
                                the board.
  18
               501. Okamoto discloses this limitation. The disclosure of a wavelength
  19
       conversion member is discussed in detail with respect to claim 1 above.
  20
                       16.      Claim 22: The light emitting device according to claim 1,
  21
                                wherein the first set of light emitting element chips and the
  22
                                second set of light emitting element chips are aligned along
  23
                                substantially a single line that extends in the longitudinal
  24
                                direction of the wavelength conversion member.
  25
               502. Okamoto discloses this limitation. Such a configuration of the first set
  26
       of light emitting element chips and the second set of light emitting element chips is
  27
       discussed in detail with respect to claim 19 above.
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   1                   17.      Claim 24: The light emitting device according to claim 1,
   2                            wherein one of the support leads is positioned between one
   3                            of the metal plates and the support base.
   4           503. Okamoto discloses this limitation. Such a configuration of the support
   5   leads, metal plates, and support base is discussed in detail with respect to claim 1
   6   above.
   7                   18.      Claim 25: The light emitting device according to claim 1,
   8                            wherein all of the light emitting element chips mounted on
   9                            the first surface side of the board are aligned along a single
  10                            line when viewed in plan view of the first surface side of the
  11                            board.
  12           504. Okamoto discloses this limitation. Such a configuration of the light
  13   emitting element chips is discussed in detail with respect to claim 19 above.
  14                   19.      Claim 27: See claims 1 and 24.
  15           505. Okamoto discloses these limitations. Each of these limitations is
  16   discussed in detail with respect to claims 1 and 24 above.
  17   VI.     THE ’734 PATENT IS INVALID FOR LACK OF WRITTEN
  18           DESCRIPTION AND LACK OF ENABLEMENT
  19           A.      “end portions,” “a center portion,” “a first region,” “a second
  20                   region”
  21           506. Claims 1 and 27 contain the above terms. After claim construction, I
  22   understand that Nichia argued that these limitations should be construed as being
  23   relational to each other, and further that the center portion should be treated as
  24   what Nichia refers to as “the geometric center” of the board.
  25           507. Adopting Nichia’s application of the Court’s construction, it is my
  26   opinion that the ’734 specification does not reasonably convey, with reasonable
  27   clarity to those skilled in the art, as of the filing date, that the applicants were in
  28   possession of the invention as now claimed. The ’734 patent specification is
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   1   completely silent as to these terms and does not include any language, explanatory
   2   description, or detail as to the structure of these terms.
   3           508. During Mr. Matsushita’s 30(b)(6) deposition,
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   5
   6
   7           509. In light of the lack of support in the specification,
   8                                  the ’734 patent specification does not demonstrate that
   9   the inventors possessed the invention as claimed. In fact, the ’734 patent is entirely
  10   devoid of any discussion or depiction of a end portions, center portions, and first
  11   and second regions.
  12           510. As such, the ’734 patent specification therefore contains insufficient
  13   detail such that a POSA can reasonably conclude that the applicant had possession
  14   of the claimed invention. Therefore, the Asserted Claims are invalid for lack of
  15   written description.
  16           B.      “a board”
  17           511. Claims 1 and 27 contain the limitation “a board.” I understand from
  18   Nichia’s infringement contentions that it has accused Feit Electric products that
  19   have straight filaments, but also Feit Electric products that have curved filaments,
  20   i.e., more flexible filaments in which the filament itself is twisted into the shape of
  21   a spiral or other curved configuration.
  22           512. There is no disclosure in the ’734 patent of a board in any other
  23   configuration other than a flat board, i.e., at most a straight filament. None of the
  24   figures of the ’734 patent depict a curved filament.
  25           513. During Mr. Matsushita’s deposition,
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   1
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   3           514.
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   5                      the ’734 patent specification only discloses “Sapphire, GaN,
   6   beryllium oxide (beryllia), ZnO, SiC, Si, ZnO, ZnS, Al, Cu, W, AlN, SiC,
   7   diamond, copper diamond, ruby, and single crystal or polycrystal of GaN, Si.” ’734
   8   Patent at 3:36-38. In my opinion, none of these materials are suitable for providing
   9   the type of flexibility required for curved filaments.
  10           515. In light of the lack of support in the specification,
  11                                  the ’734 patent specification does not demonstrate that
  12   the inventors possessed the invention as claimed, at least with respect to Nichia’s
  13   assertions of infringement regarding any Curved Filament Accused Products. In
  14   fact, the ’734 patent is entirely devoid of any discussion or depiction of a curved
  15   filament, nor does the specification include any disclosure indicating that such a
  16   configuration would be desirable, let alone possible.
  17           516. As such, the ’734 patent specification therefore contains insufficient
  18   detail such that a POSA can reasonably conclude that the applicant had possession
  19   of the claimed invention insofar as it claims a bulb with a curved filament. As
  20   such, claims 1 and 27 are invalid for lack of written description as to the Curved
  21   Filament Accused Products.
  22   VII. THE ’734 PATENT IS INVALID FOR LACK OF ENABLEMENT
  23           A.      “a wavelength conversion member formed unitarily with a
  24                   transparent member.”
  25           517. Claims 1 and 27 of the ’734 patent contain the term “a wavelength
  26   conversion member formed unitarily with a transparent member.”
  27           518. For example, as discussed in the previous section, the specification
  28   includes a section with the header “Wavelength Conversion Member 50” that
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   1   states, “[t]he wavelength conversion member 50 containing a phosphor is
   2   composed of resin with the aforementioned phosphors mixed therein.” ’734 patent
   3   at 12:35-38. The specification also adds that “the phosphor is substantially
   4   uniformly contained in the phosphor-containing resin. However, a phosphor
   5   material may be unevenly mixed so as to partially exist.” Id. at 12. The
   6   specification does not provide any specific combinations of a resin/phosphor
   7   mixture and a light emission wavelength that result in a desired, or even actual,
   8   wavelength conversion, let alone teach the difference between what it labels a
   9   “wavelength conversion member” versus a “wavelength conversion member
  10   formed unitarily with a transparent member.”
  11           B.      “wherein the wavelength conversion member is capable of … to
  12                   the outer periphery of the wavelength conversion member”
  13           519. Claim 18 of the ’734 patent contains the term “wherein the
  14   wavelength conversion member is capable of … to the outer periphery of the
  15   wavelength conversion member.” When read in light of the specification, claims,
  16   and file history, this term fails to inform a POSA about how to practice the alleged
  17   invention of claim 18.
  18           520. The claim terms “wherein the wavelength conversion member is
  19   capable of … to the outer periphery of the wavelength conversion member” are
  20   confusing as they seem to conflate two concepts: converting wavelengths of light
  21   and directing the radiation of light. These concepts behave independently relative
  22   to one another. As a result, the claim does not apprise a POSA of its scope.
  23   Moreover, the disclosure is silent as to the concepts encompassing the terms
  24   “wherein the wavelength conversion member is capable of … to the outer
  25   periphery of the wavelength conversion member.”
  26           521. Nichia’s application highlights this deficiency in that it fails to
  27   provide a specific direction but rests on the mere fact that light travels in all
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   1   directions from a light emitting device. Specifically, there is no identification of
   2   specific light emanating in the specific directions articulated.
   3   VIII. THE ’734 PATENT IS INVALID FOR INDEFINITENESS
   4           A.      “a wavelength conversion member formed unitarily with a
   5                   transparent member.”
   6           522. Claims 1 and 27 of the ’734 patent contain the term “a wavelength
   7   conversion member formed unitarily with a transparent member.”
   8           523. But the specification of the ’734 patent fails to distinguish between
   9   this limitation and a mere “wavelength conversion member,” and instead appears
  10   to use these terms synonymously, even though I understand the Court has
  11   construed them to have different meanings.12
  12           524. The claim term requires that a “wavelength conversion member” must
  13   be “formed unitarily with the transparent member,” and the Court has construed
  14   this as requiring that the entire limitation be “a single component.” See Dkt. No. 90
  15   (construing the “wavelength conversion member formed unitarily with a
  16   transparent member” term as “a single component that both converts wavelength
  17   and allows light to pass through”). But the specification does not make such a
  18
       12
  19      I note here that in U.S. Patent No. 8,366,295, the patent issuing from the parent
       application to the ’734 Patent, which shares the same specification as the ’734
  20   Patent, claims a “second transparent member [that] has a wavelength conversion
  21   member that can absorb light emitted by the light emitting element and convert its
       wavelength so as to emit luminescent radiation with different wavelength.” U.S.
  22   Patent No. 9,491,812, also in the same family and sharing the same specification,
  23   claims a “wavelength conversion member [that] is covered on the transparent
       member,” a “wavelength conversion member [that] is dispersed in the transparent
  24   member,” and a “wavelength conversion member [that] is uniformly formed on a
  25   curved surface of the transparent member.” Finally, U.S. Patent No. 9,491,813,
       also sharing the same specification and in the same family, claims a “wavelength
  26
       conversion member which is disposed on the second transparent member and
  27   includes a phosphor therein” and a “wavelength conversion member [that] is
       disposed around and is directly in contact with an entire outer periphery of the
  28
       second transparent member,”
                                                235
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   1   distinction, and instead uses several terms interchangeably. For example, the
   2   specification describes “a phosphor 48 is mixed into a silicone resin that forms the
   3   covering member 46B so that the covering member 46B serves as both a covering
   4   member and a wavelength conversion member.” Id. at 7:56-59. “In addition, the
   5   second transparent member 40 can additionally serve as the wavelength conversion
   6   member 50.” Id. at 7:48-49. The ’734 Patent provides that the covering member,
   7   transparent member, second transparent member -- query what the difference
   8   between the first and second may be -- all may serve as the wavelength conversion
   9   member and vice versa. The express language of the specification does not provide
  10   any delineation by which a POSA can distinguish one from the other. In fact, each
  11   is composed of the same materials: a resin with a phosphor. See, e.g., id. at 6:55-
  12   56; id. at 7:48-59; id. at 12:36-38. This lack of specificity fails to provide any
  13   certainty to these terms such that they cannot be meaningfully defined. A POSA is
  14   unable to differentiate a device that uses a wavelength conversion member versus a
  15   transparent member versus a wavelength conversion member unitarily formed with
  16   a transparent member (or covering member unitarily formed with a transparent
  17   member or second transparent member unitarily formed with a transparent
  18   member).
  19           525. After reading Nichia’s responses to interrogatories on this subject, I
  20   note that Nichia itself appears unable to explain how to determine the difference
  21   between a “wavelength conversion member formed unitarily with a transparent
  22   member,” i.e., as a single component, and a “wavelength conversion member.” For
  23   example, Nichia claims that “methodologies or tests to determine that a member
  24   that both converts wavelength and allows light to pass through is ‘a single
  25   component’ include at least visual inspection of the member and material analysis
  26   (e.g., EDS testing). These methodologies or tests may determine that a member is a
  27   transparent (e.g., resin) matrix having particles (e.g., phosphor) mixed in it, and is
  28   therefore a single component.” See Nichia’s First Supplemental Response to
                                        236
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                                      Exhibit D, p. 755
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   1   Interrogatory No. 13. And Nichia appears to suggest that these are the same tests
   2   that can be used to determine what constitutes a wavelength conversion member.
   3             526. Furthermore, Nichia asserts that “Feit’s products encompass a
   4   wavelength conversion member formed unitarily with a transparent member
   5   because Feit’s Accused Products have a resin–phosphor mixture” and that “[t]his
   6   resin-phosphor mixture of Feit’s Accused Products is a single component that both
   7   converts wavelength and allows light to pass through.” Id.
   8             527. But Nichia’s descriptions fail to differentiate between the “wavelength
   9   conversion member formed unitarily with a transparent member,” and a mere
  10   “wavelength conversion member,” as the testing here is solely focused on the
  11   result.
  12             528. A POSA is unable to differentiate a device that uses a wavelength
  13   conversion member versus a transparent member versus a wavelength conversion
  14   member unitarily formed with a transparent member (or covering member unitarily
  15   formed with a transparent member or second transparent member unitarily formed
  16   with a transparent member).
  17             B.    “end portions and a center portion therebetween in a longitudinal
  18                   direction” “a first/second region”
  19             529. Claims 1 and 27 of the ’734 patent contain the term “end portions and
  20   a center portion therebetween in a longitudinal direction.” Claims 1 and 27 of the
  21   ’734 patent also contain the term “a first region and a second region.” And claims
  22   1 and 27 of the ’734 patent further contain the terms “a first/second set of the light
  23   emitting element chips are mounted on the first/second region and arranged from
  24   the center portion of the board to the one/other of the end portions.” When read in
  25   light of the specification, claims, and file history, these terms, alone or taken
  26   together, fails to inform a POSA about the scope of the alleged invention of claims
  27   1 and 27.
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                                          237
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   1           530. The claim term “end portions and a center portion therebetween in a
   2   longitudinal direction” is ambiguous and equivocal, even in the context of the
   3   claims as a whole. As discussed above in paragraph 507, the specification does not
   4   even contain these terms either in the body or in the figures. That is, the disclosure
   5   is completely silent as to the terms “end portions,” “center portion,” and
   6   “therebetween,” as well as to “in a longitudinal direction” in relation to the board.
   7   Therefore, the ’734 patent fails to provide any parameters, such as reference points
   8   as to size, elemental constituents, electrical components, shape, or other ways to
   9   recognize the metes and bounds of the claimed “portion(s)” or “region(s).”
  10           531. Furthermore, I understand that throughout the litigation, Nichia has
  11   posited multiple interpretations of these terms, in particular the “center portion”
  12   term, in terms of whether the term refers to merely the “geometric center” of a
  13   board, or whether the “center portion” has a width.
  14           532. For example, Nichia’s claim construction expert, Dr. Wetzel, admitted
  15   during his deposition early on that “[a] number of sizes are possible for the end
  16   portion,” and further offered up that an end portion could be a square, a circle, or
  17   other shape and be of various sizes. Wetzel Tr. at 117-18, 139. Dr. Wetzel went on
  18   to state that there is no limitation other than less than the whole such that 5%, 10%,
  19   or even 25% of the board could potentially constitute one of the claimed “end
  20   portions.” Id. at 140-42. Dr. Wetzel further testified that the “center portion” does
  21   not have to be the same size as either of the “end portions,” and also testified that
  22   there can be more than one center portion. Id. at 122-23.
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                                      Exhibit D, p. 757
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   1           533. I further note that when Dr. Wetzel was asked to apply his
   2   interpretation of the claims in practice to proportionally identical demonstratives
   3   based on Figure 15 of the ’734 patent, he drew varying sized “center portions,” as
   4   shown below (identifying the “center portion” in red and “end portions” in blue):
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  23   (Exhibit numbers above refer to Wetzel Deposition Exhibits).

  24           534. Dr. Wetzel, in attempting to identify a “center portion,” conceded that

  25   the center portion could be at least any of the range of options he marked in red,

  26   and that the center portion could be one of a myriad of shapes and sizes, and

  27   moreover that the end portions and center portions would not even have to be

  28   consistent with one another. Id. at 128-31, 137-39.

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                                  #:17937


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  10           536. Nichia itself has also taken varying positions regarding the “center
  11   portion” limitation specifically. In its response to Feit Electric’s Interrogatory No.
  12   16 requesting that Nichia identify the “center portion,” Nichia also appears to take
  13   two different views. On one hand, Nichia states that it “understands the center of
  14   the board in each of the Accused Products, as the Court has construed the ‘center
  15   portion’ term, to refer to a geometric center such that the board’s center is
  16   equidistant from the board’s ends in a lengthwise direction.” See Nichia’s Second
  17   Supplemental Response to Feit Electric Interrogatory No. 16 at 44. Nichia
  18   illustrates this first understanding as follows:
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                    OPENING EXPERT REPORT OF DR. MICHAEL S. LEBBY
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   7           537. In the same response, Nichia then also describes the center portion
   8   having a width, noting that “[f]or each of the values of w identified . . . (i.e., 0 < w
   9   < l, with two chips to the left and right of the area), the ‘beginning’ of the center
  10   portion is at a distance w/2 from the board’s geometric center (shown as dotted
  11   line) to one end of the board, and the “end” of the center portion is at a distance
  12   w/2 from the board’s geometric center to the other end of the board.” Id. Nichia
  13   then provides the following illustration:
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  20           538. Nichia further notes that “[w]hether any LED chips are within this
  21   center portion depends on the size of w.” Id. at Appendix A. For some Accused
  22   Products, Nichia then states that “there exists some w > 0 such that there is only
  23   one LED chip within this center portion,” while for others, Nichia states that “there
  24   exists some w > 0 such that there are no LED chips within this center portion.” Id.
  25           539. None of Nichia’s examples provide any meaningful limits regarding
  26   the metes and bounds of, for example, the width or length variables that Nichia
  27   uses to define the center portion. Nichia’s interpretation is similarly not bound by
  28   whether or not, for example, a center portion contains any LED chips, or if so,
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                                      Exhibit D, p. 760
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   1   whether there is a maximum or minimum amount of LED chips that would define
   2   the boundaries of such a limitation. For these reasons, the claim term “a first region
   3   and a second region” is similarly arbitrary and equivocal, even in the context of the
   4   claims as a whole. As with the “end portion” and “center portion” terms, the
   5   disclosure is completely silent as to the term in relation to the board, let alone at
   6   all. Moreover, none of the drawings depict what constitutes “a first region” or “a
   7   second region.”
   8           540. Moreover, Nichia does not appear to know what components, if any,
   9   fall within either the center portion or end portions, or even if such a thing is
  10   possible at all. See id.
  11           541. For these reasons, a POSA would not be able to determine the scope
  12   of these limitations with any level of reasonable certainty, and these terms are
  13   therefore indefinite.
  14           C.      “a first/second set of the light emitting element chips are mounted
  15                   on the first/second region and arranged from the center portion of
  16                   the board to the one/other of the end portions”
  17           542. Claims 1 and 27 of the ’734 patent contain the term “a first/second set
  18   of the light emitting element chips are mounted on the first/second region and
  19   arranged from the center portion of the board to the one/other of the end portions.”
  20   When read in light of the specification, claims, and file history, this term fails to
  21   inform a POSA about the scope of the alleged invention of claims 1 and 27.
  22           543. As these terms relate to the “center portion,” “end portion,” and “first
  23   /second region” limitations described above, which are themselves indefinite, a
  24   POSA is left to surmise as to which set is the “first set” versus the “second set” as
  25   well as the specific positioning of these sets along the board.
  26           544. I further understand that Nichia has applied these terms at various
  27   times throughout this litigation inconsistently and with ambiguity.
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   1           545. For example, I understand that Nichia takes the position that, of all the
   2   figures disclosed in the ’734 patent, only Figure 15 meets this limitation. See
   3   Markman Tutorial Tr. at 40:10-13. That is, the only disclosure of how to delineate
   4   between a first set and a second set in the specification and accompanying Figures
   5   defines the sets as separate series of LEDs distinguished by a parallel connection,
   6   as shown in Figure 15 below (each set shown by a green box):
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  16           546. By contrast, I understand that Nichia has stated that Figure 14 does
  17   not meet this limitation (see id.):
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   1           547. When asked to identify corresponding sets in a device with seven
   2   lighting chips, Dr. Wetzel selected the following (each set denoted by a green box):
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               548. But with respect to the above example, Dr. Wetzel also testified that a
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       POSA could identify no less than 25 different sets in the above example. Wetzel
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       Tr. at 163:24-164:22. For example, the seven chips all connected in one series
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       could be a single set, or it could be deemed three separate sets, with the middle
  12
       LED chip constituting its own set. Id. I understand that Dr. Wetzel testified that the
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       claimed “first set” and “second set” did not depend on whether the LED chips were
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       wired in series or parallel, but rather where they were arranged on the board.
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   6           552. Nichia’s interrogatory response, also discussed above, adds even more
   7   ambiguity when it fails to define the center portion in a way that makes clear which
   8   LED chips are part of the center portion, and thus not part of a set, and which are
   9   not part of the center portion. See Nichia’s Second Supplemental Response to
  10   Interrogatory No. 16 at Appendix A (indicating only that for some w > 0,
  11   “[w]hether any LED chips are within this center portion depends on the size
  12   of w”).
  13           553. The disclosure leaves a POSA with too much uncertainty regarding
  14   the metes and bounds of what constitutes a first/second region defining a
  15   first/second set of LED chips, and accordingly it is my opinion that these terms are
  16   also indefinite.
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                    2   Date: December 7, 2021              __________________________
                    3                                       Dr. Michael S. Lebby
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               APPENDIX A




                               Exhibit D, p. 767
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                                  #:17946
                                        Michael Lebby Curriculum Vitae (CV)




                                                 Michael Lebby




 EDUCATION:

                 2004, Doctor of Engineering (D. Eng.)
                 University of Bradford, United Kingdom
                 Citation, “Technical Contributions to Optoelectronics”
                 (NB: This is a higher doctorate awarded on technical contribution to the field)

                 1987, Ph.D.
                 University of Bradford, United Kingdom
                 Thesis, “Characterization and Fabrication of the HFET and BICFET”

                 1985, MBA
                 University of Bradford, United Kingdom
                 Thesis, “Small Business Planning for a Start-up”

                 1984, Bachelors (B. Eng. – Honours)
                 University of Bradford, United Kingdom
                 Thesis, “Computer Aided Testing of Semiconductor Devices”


 SUMMARY OF TECHNICAL EXPERTISE:

                  Industry roles (majority of career): Dr, Lebby has founded and ran a number of companies in various
       positions including CEO and CTO (Ignis Optics, Oculi, One Chip Photonics, OIDA, Translucent Photonics). Dr.
       Lebby is currently CEO of a public company (Lightwave Logic Inc. LWLG:OTCQB).
                  Academia role: Dr. Lebby has been a full professor (part-time) in optoelectronics at Glyndŵr University,
       Wales, UK (2013-15). Dr. Lebby has over 60 publications and has a google scholar h-index = 46, i10-index = 165, and
       over 8400 citations.
                  Key professional bodies: Dr. Lebby is a Fellow of the National Academy of Inventors (NAI), the IEEE
       (Institute of Electrical and Electronic Engineers), and the OSA (Optical Society of America).
                  Dr. Lebby started work in telecommunications and has generated over 40years of experience in a number of
       technical disciplines and technologies. Dr. Lebby is well versed in electronics, semiconductor physics, optoelectronics,
       optics, materials, electrical engineering in general. Dr. Lebby has experience in commercial and industrial research of
       technologies such as silicon, compound semiconductors, manufacturing, fabrication, design, simulation, testing,
       evaluation, reliability, qualification of new ideas, concepts and products.
                  Dr. Lebby is co-inventor of the first oxide VCSEL (semiconductor laser) that is now being utilized for
       consumer applications (Face ID of Apple’s iPhone as an example, laser mice for PCs as another example). US Patent
       #5359618 “High Efficiency VCSEL and Method of Fabrication” issued 25th October 1994.
                  Dr. Lebby has over 230 issued utility patents with the USPTO in subjects such as electronics, optoelectronics,
       photonics, packaging, transceiver modules, optical sub-assemblies, materials, epitaxial growth, device design,
       assembly, and various active and passive components (both electronic and optoelectronic). Dr. Lebby regularly
       receives invites to speak at technical conferences. Dr. Lebby has appeared in panels and interviews many times. Dr.


                                                                                                                        Page 1

     Professor Michael S. Lebby, B. Eng. (Hons), MBA, Ph.D., D. Eng, Fellow NAI, IEEE, OSA; C. Eng.
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                                         Michael Lebby Curriculum Vitae (CV)


       Lebby is currently chairman of the International PIC conference based in Europe (for the past 5years since it’s
       conception in 2015). Dr. Lebby is inventor or co-inventor of ~230 issued USPTO utility patents (or over 450 if
       international derivatives are included), as well as over 80 published patent applications.
                  Dr. Lebby has participated in over 100 patent litigation cases as a technical expert witness, including over 10
       trials and over 30 depositions. Dr. Lebby has authored numerous expert reports and is familiar with State (District),
       Federal (ITC) and PTAB-IPR court processes for expert witness testimony.
                  The types of products that Dr. Lebby understands include, but are not limited to; Light Emitting Diodes
       (LEDs), Laser Diodes (LDs), photodetectors (PDs), optical waveguides, fiber optics, displays (LCD, LED, OLED),
       plastic photonics, optical polymers, sensors, LIDAR, solar cells, lighting, data communication, CMOS, and even new
       opportunities such as medical and life science applications for photonics. Dr. Lebby is internationally known for his
       work with integrated photonics, PICs (Photonic Integrated Circuits), silicon photonics, and semiconductor technologies
       such as InP, GaAs, III-GaN, silicon, as well as SiGe and silicon ICs (MOSFETs, FinFETs, bipolar), power FETs, RF
       FETs, various display technologies such as LCD, OLED, LED etc. Dr. Lebby has worked with DC current as well as
       AC current, high frequency design, microwave design, and multi-wavelength, visible wavelengths, in addition to
       850nm/1310nm/1500nm/NIR fiber optic communications. Dr. Lebby has worked extensively in fiber optics which
       includes Fiber based systems, chassis’, trays, modules, adapters, splice devices, connectors, transceivers, packaging as
       well as architecture and optical communication standards/protocols.

 BIOGRAPHY:

       Biography: Michael S. Lebby joined Lightwave Logic as a member of the Board of Directors in 2015. In May 2018,
       Dr. Lebby assumed the role of CEO, Lightwave Logic Inc (LWLG:OTCQB). Lightwave Logic is a leading
       technological company commercializing Electro-Optical polymers. Dr. Lebby (born 1961, London, UK) is an Anglo-
       American entrepreneur and intrapreneur in the fields of optoelectronics/photonics electronics and semiconductors. Dr.
       Lebby’s career started with the British Government in 1977 in telecommunications and he did research at their research
       labs (RSRE Malvern) in the early 1980s. Dr. Lebby worked at AT&T’s research labs: Bell Labs (1985-1989) in
       photonics, and subsequently drove the development (and co-authored the first patent) of the oxide VCSEL diode laser
       at Motorola in the 1990s (which is now used in laser mice, 3D structured light sensing/FaceID in mobile phones,
       optical interconnects; where volumes of the laser are over 1B units today). From 2005-2010 he led the USA trade
       association in optoelectronics (OIDA) and represented the optoelectronics and photonics industry on Capitol Hill. Dr.
       Lebby has run technical start-ups and commercialized optoelectronic and photonics technology into volume
       manufacturing. Dr. Lebby has also had roles as a Venture Capitalist specializing in Optical Communications. He is
       currently a technical expert to the European Commission. He is a Fellow member of NAI (National Academy of
       Inventors), IEEE, and OSA, and has been voted PIC (Photonic Integrated Circuit) business leader of the year by the
       PIC International Conference in 2018. Dr. Lebby holds over 450 issued international patents in photonics and
       electronics, that have been derived from over 230 issued USPTO utility patents, mostly in the field of optoelectronics,
       photonics and semiconductors. He has been cited by the USPTO to be in the most prolific 75 inventors in USA from
       1988-1997. Dr. Lebby is passionate about photonics and has focused his efforts over the last 30years to drive new
       photonics manufacturing programs in USA and Europe as well as industry-based photonics technology roadmaps.

 WORK HISTORY:

       2003 – Present                Oculi LLC, CEO and CTO (part-time consulting)

                 Oculi provides consulting in expert witness, trial, deposition, expert reports, infringement, invalidity, and
                 various patent and IP litigation in photonics, optoelectronics, semiconductors, and fiber optic
                 telecommunication technology segments. Patent agencies have included: IMS Expert Services, Thomson
                 Reuters Expert Witness Services (now Round Table Group), LitXpert Expert Witness Group, Teklicon
                 Expert Witness Agency, Beche Expert Services Group, Forensis Group: Expert Witness Services, and
                 Expertconnect.

       2015 – Present                Lightwave Logic (LWLG:OTCQB), CEO & Director, Board of Directors




                                                                                                                          Page 2

     Professor Michael S. Lebby, B. Eng. (Hons), MBA, Ph.D., D. Eng, Fellow NAI, IEEE, OSA; C. Eng.
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                                       Michael Lebby Curriculum Vitae (CV)


                In 2015 Dr. Lebby became a director of Lightwave Logic to assist in the company for competitive optical
                modulator products and associated packaging, manufacturing, and technology roadmaps/marketing. In May
                2017, Dr. Lebby became CEO of Lightwave Logic.

       2014 – 2016                  University Southern California, Director CFR (Corporate & Foundation
                          Relations)

                Dr. Lebby assisted USC Viterbi Engineering to foster tighter faculty-industry relationships in high
                technology, IT, social media, graphic arts, electronics, photonics (solar, display, medical) and fiber
                communications segments.

       2013 – Present               European Commission, Technical Expert

                In 2013 Dr. Lebby became a technical expert for the Photonics Unit of the European Commission. Dr. Lebby
                has participated in organizing workshops, lectures, evaluating photonics proposals, and advising the
                Commission on funded projects. Dr. Lebby currently is an advisor on 6 photonics pilot lines (MIRPHAB, PI-
                SCALE, PIX4LIFE, PIXAPP, InPULSE, Phabulous) and photonics based cardiovascular disease programs
                (CARDIS and InSide). Work includes displays, LEDs, lighting, OLEDs, micro-optics, InP/Silicon photonics,
                near infra-red technologies, fiber optics, sensing etc.

       2013 – 2015                  OneChip Photonics Corporation, President and CEO

                In 2008 Dr. Lebby was elected independent board member for One Chip Photonics Inc. He was elected CEO
                in 2013. One Chip Photonics focused on technical and business operational strategy for communications
                based InP Photonic Integrated Circuit (PIC) and optoelectronic Integrated Circuit (OEIC) platforms.

       2013 – 2015                  Glyndŵr University, Professor, Chair of Optoelectronics

                In 2013 Dr. Lebby became full Professor of Optoelectronics (part-time) to assist Glyndwr University to
                position itself as a leader in optoelectronics and photonics. Areas of focus include design, simulation, and
                testing of photonic integrated circuits (PICs) and optoelectronics integrated circuits (OEICs), laser diodes,
                displays, optics, and solar cells.

       2010 – 2013                  Translucent, Inc., GM and CTO

                Dr. Lebby positioned Translucent on the product development and manufacture of epitaxial semiconductor
                wafers for the solar, power and lighting industries. Dr. Lebby led the R&D and development of MBE based
                rare earth oxide single crystal epitaxial layers deposited onto large silicon wafers. On top of these wafers both
                MBE and MOCVD Gallium Nitride epitaxial device layers were grown for devices. The use of GaN-on-Si is
                expected to be a strong catalyst for change in the power electronics and LED lighting industries. In a parallel
                program at Translucent, Dr. Lebby led the development efforts to develop and productize Germanium-Tin
                (GeSn) template wafers onto large format silicon wafers (Ge-on-Si) to enable cost effective, and ultra-high
                efficiency multi-junction solar cells for the CPV industry. Areas of advanced interconnect using new and
                novel material compounds were explored.

       2005 – 2010                  OIDA (Optoelectronic Industry Development Association), Executive Director,
                                    President, and CEO (Board Member)

                Dr. Lebby represented the optoelectronics industry and organized technical conferences/workshops/forecasts
                with industry roadmaps. Initiated green photonics metrics. Dr. Lebby positioned OIDA as a national resource
                in the field of optoelectronics and has represented industry in many capacities ranging from talks, papers,
                expert witness, testimony, market and technical reports. Dr. Lebby created new industry-based initiatives in



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                fiber optics broadband as well as the green photonics movement (solar technologies, displays, LED lighting
                technologies) that is now occurring globally.

       2003 – 2005                  OCLARO, VP Technology and Business Development

                Telecommunication optoelectronic components, San Jose, Ca. Focus on technology strategy for components
                and sub-systems.

       2001–- 2003                  Ignis Optics, President and CEO (Founder/Board Member)

                Venture-backed start-up, San Jose, California manufacturing 10Gbps fiber optic transceivers.

       1999 – 2001                  Intel Capital, Director Business Development/Investor (w/Board observer positions on
                                    Investment)

                Intel Capital, Santa Clara, California. In 1999, Dr. Lebby joined Intel as a corporate investor and was
                responsible for sourcing, negotiating, and closing private placement equity deals in the optical networking,
                component, display, projection technologies, LED lighting, and semiconductor arenas.

       1998 – 1999                  TE Connectivity, Director Technology/BD (Fiber Optics)

                Global Optoelectronics Division: Technology strategy for optical communications products.

       1989 – 1998                  Motorola, R&D Manager

                Corporate R&D Labs, Tempe, Arizona. Optoelectronics: VCSEL based product solutions (OPTOBUS); materials,
                devices, packaging, systems. Other technologies included displays, field emission, LED, LCD, OLED, virtual/micro
                and projection. Dr. Lebby was also the lead inventor in Motorola's history with over 150 issued utility patents. Dr.
                Lebby worked in the silicon and compound semiconductor fabrication plants (fabs) to become proficient in
                deposition/etching/alignment tooling as well as design and simulation.

       1985 – 1989                  AT&T, Researcher

                AT&T Bell Labs - Photonics Research Dept (Dept 11366), Holmdel, NJ. Dr. Lebby designed and fabricated new GaAs
                and InP optoelectronic devices that were grown both by MOCVD and MBE.

       1977 – 1984                  UK Ministry of Defense, Apprenticeship/Journeyman + Electronics Engineer (REME – Royal
                                    Electrical and Mechanical Engineers, and RSRE – Royal Signals and Radar Establishment)

                Dr. Lebby started his career at the Royal Electrical and Mechanical Engineer (REME) division of the Ministry of
                Defence in the UK. Lebby was a telecommunications apprentice, and repaired all types of radio/RF communications
                equipment. Lebby qualified as a fully qualified Journeyman or Apprentice specializing in telecommunications in 1980.
                Dr. Lebby moved to the Royal Signal and Radar Establishment (RSRE) to study material and characterization issues of
                GaAs and InP devices.


 SELECTED PROFESSIONAL ACTIVITIES & AWARDS:

               Elected Fellow of the National Academy of Inventors (NAI) in 2020.
               Voted winner at the PIC Conference (Photonic Integrated Circuits) as PIC Entrepreneur and Business
                Leader of the Year (March 2018).



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               Dr. Lebby is co-inventor of the oxide VCSEL (semiconductor laser) that is now being utilized for consumer
                applications (Face ID of Apple’s iPhone as an example). US Patent #5359618 “High Efficiency VCSEL and
                Method of Fabrication” issued 25th October 1994.
               Dr. Lebby was recognized professionally as a Fellow of IEEE (2005) and OSA (2007) with his technical
                contributions to the field of optoelectronics.
               Dr. Lebby is a member of the Fellows review committee of IEEE.
               As an inventor Dr. Lebby has achieved >230 issued utility patents with the USPTO.
               As an inventor Dr. Lebby has ~80 published utility patent applications with the USPTO
               As an inventor Dr. Lebby has over 450 issued patents world-wide if international derivatives are counted.
               Dr. Lebby’s novel laser-based device, packaging, modules designs led Motorola to sell their patent portfolio
                independently where a number of the patents have “very high licensing coefficients.” Dr. Lebby was given a
                special award from the Chairman of Motorola for exemplary patent invention accomplishments in 1998 and #
                1 prolific inventor in Motorola’s history.
               Over 60 publications (www.linkedin.com/in/lebby )
               Over 250 public media activities (that include: Books, Chapters, Reports, Abstracts, Videos, Lectures,
                Speeches, Reviews, Courses, Talks, Invited Talks, Keynote Talks, Plenary Talks, Webinars, Interviews,
                Articles, etc.). See at www.linkedin.com/in/lebby
               Author of OIDA’s annual market optoelectronics report and forecast (2009 version is over 600 pages),
                which receives international exposure and recognition. Regularly interacts with government agencies in
                Washington DC on photonics-based projects (DARPA, ARPA-E, NIH, NSF, DOE, NIST, DoD etc.). Typical
                chapters included: LEDs, laser diodes, fiber optic communications, sensors, displays, solar, green photonics,
                military photonics, and applications of photonics such as solid-state lighting, automotive, medical, etc.
               Is the recipient of a 2nd doctorate (higher) from Bradford University, UK, and only the second in the
                universities history to receive a D.Eng from industry (rest being academia).
               Intrepreneur at: (i) Motorola: Co-founded Optobus division – VCSEL laser based parallel optical interconnect
                solution, and (ii) Intel: Co-founded the Intel optics division for silicon photonics where over $300M was
                initially invested for the division.
               Entrepreneur: Founded (and CEO) Ignis Optics Inc., a venture backed company (>$30M) that designed and
                manufactured 10Gbps fiber optic transceivers. Sold the company to Bookham (Naq: BKHM) in 2003.
                Restructured OneChip Photonics (as CEO) through bankruptcy, and new VC-based funding. Assisted in the
                raising of >$50M VC funding as a member of BoD. Founded Oculi LLC and Obsidian Motors LLC.
               IEEE CPMT Board of Governors (’98- ‘02); IEEE Phoenix Waves and Devices Junior Engineer of the Year
                (1993); CPMT Distinguished lecturer (2000), CPMT technical committee (TC-10 & ECTC) 1991 to 2011
               Advised at Board of Director level for a number of technical start-ups
               Chartered Engineer (C.Eng) from IEE (UK). The chartered engineering status is equivalent to the US PE
                (professional engineer)

 EXPERT WITNESS EXPERIENCE:

                    1.   Active case work: 1Q2009 (March 24th 2009); Testimony: US-China Economic and security review commission
                         on the optoelectronics industry. US Congress, Capitol Hill; Written statement on the status of the USA
                         optoelectronics industry with aural cross-examination by the commission. Trial experience.
                              a.    Deposition: 0 (Cumulative total: 0)
                              b.    Trial/Hearing/Court appearance: 1 (Cumulative total: 1)
                              c.    Technology: Optoelectronics (optical storage, fiber optic communications, sensors, high power lasers,
                                    LED lighting, etc).
                    2.   Active case work: 3Q2010-1Q2011; Finisar Corp. v. Optical Communication Products Inc., No. 10-CV-05617
                         and No. 11-cv-00104 (retained by plaintiff - Morgan, Lewis & Bockius LLP).
                              a.    Deposition: 0 (Cumulative total: 0)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 1)
                              c.    Technology: semiconductor lasers/VCSELs, fiber optic transceiver modules
                    3.   Active case work: 1Q2011; Ziptronix, Inc. v. OmniVision Technologies, Inc., Taiwan Semiconductor
                         Manufacturing Company Ltd., and TSMC North America Corp., No. 11-CV-5235 (retained by plaintiff – Alston
                         Bird LLP).
                              a.    Deposition: 0 (Cumulative total: 0)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 1)
                              c.    Technology: CMOS image sensors; design and fabrication



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                    4.    Active case work: 3Q2011 to 3Q2012; Certain Light-Emitting Diodes and Products Containing Same, Inv. No.
                          337-TA-798 (USITC filed July 15, 2011) (retained by respondent Samsung – Covington & Burling LLP).
                          Deposition (x2) and trial experience.
                                a.     Deposition: 3 (Cumulative total: 3)
                                b.     Trial/Hearing/Court appearance: 1 (Cumulative total: 2)
                                c.     Technology: LEDs, device design, color gamut, packaging, optical lensing.
                    5.    Active case work: 3Q2011 to 2Q2015; Cheetah Omni, LLC v. Alcatel-Lucent USA Inc., No. 11-CV-390 (E.D.
                          Tex. filed July 29, 2011) (retained by plaintiff – Brooks Kushman). Deposition experience (x2).
                                a.     Deposition: 1 (Cumulative total: 4)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 2)
                                c.     Technology: Fiber optic networks, optical switches, ROADMs and optical filters.
                    6.    Active case work: 4Q2012 to 3Q2014; Finisar Corp. v. Cheetah Omni, LLC, No. 11-CV-15625 (E.D. Mich.
                          filed Dec. 23, 2011) (retained by defendant – Brooks Kushman). Deposition experience (x1).
                                a.     Deposition: 1 (Cumulative total: 5)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 2)
                                c.     Technology: Wavelength optical switches, optical filters, and optical components.
                    7.    Active case work: 4Q2012 to 3Q2013; Certain Optoelectronic Devices for Fiber Optic Communications,
                          Components Thereof, and Prods. Containing the Same, Inv. No. 337-TA-860 (USITC filed Sept. 24, 2012)
                          (retained by respondent – Mellanox, IPtronics and FCI Inc and counsel Alston & Bird LLP). Deposition (x2)
                          and trial experience.
                                a.     Deposition: 2 (Cumulative total: 7)
                                b.     Trial/Hearing/Court appearance: 1 (Cumulative total: 3)
                                c.     Technology: IC design, layout, and operation; especially laser driver chips for VCSELs. High speed
                                       laboratory testing.
                    8.    Active case work: 3Q2014 to 2Q2015; Microscan Sys., Inc. v. Cognex Corp., No. 14-CV-6952 (S.D.N.Y. filed
                          Aug. 27, 2014) (retained by plaintiff – Morrison & Foerster LLP). Deposition (x1) and trail experience.
                                a.     Deposition: 1 (Cumulative total: 8)
                                b.     Trial/Hearing/Court appearance: 1 (Cumulative total: 4)
                                c.     Technology: Bar code scanners and associated optics such as imagers, lasers, LEDs, molded optics.
                                       Laboratory testing.
                    9.    Active case work: 2Q2014 to 1Q2016; Avago Techs. Fiber IP (Singapore) PTE Ltd. v. IPtronics Inc., No. 10-
                          CV-2863 (N.D. Cal. filed June 29, 2010) (retained by respondent – Alston & Bird LLP).
                                a.     Deposition: 0 (Cumulative total: 8)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 4)
                                c.     Technology: IC design, layout, and operation; especially laser driver chips for VCSELs. High speed
                                       laboratory testing.
                    10.   Active case work: 1Q2015 to 3Q2015; Regarding certain optical disc drives, Inv. No. 337-TA-897 (USITC filed
                          Oct. 21, 2013) (retained by respondent – O’Melveny & Myers LLP).
                                a.     Deposition: 0 (Cumulative total: 8)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 4)
                                c.     Technology: CD, CVD, BluRay optical disk drives, optical components, laser diodes, and optical
                                       beam patterns. Laboratory testing of visible optics.
                    11.   Active case work: 1Q2015 to 2Q2015; BMW of N. Am., LLC v. Innovative Display Techs., LLC, No. IPR2015-
                          00933, IPR2015-00934 (P.T.A.B. filed Mar. 24, 2015) (retained by plaintiff – Crowell Moring LLP).
                                a.     Deposition: 0 (Cumulative total: 8)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 4)
                                c.     Technology: LED backlights for vehicles; LED package and optical module/luminaire design.
                    12.   Active case work: 1Q2015 to 2Q2015; BMW of N. Am., LLC v. Innovative Display Techs., LLC, No. IPR2015-
                          00934 (P.T.A.B. filed Mar. 24, 2015) (retained by plaintiff – Crowell Moring LLP).
                                a.     Deposition: 0 (Cumulative total: 8)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 4)
                                c.     Technology: LED backlights for vehicles; LED package and optical module/luminaire design.
                    13.   Active case work: 1Q2015 to 3Q2016; OneChip Photonics Inc., Pre-litigation IP Case No. TBD; (retained by
                          plaintiff – Patent Monetization Inc. (PMI)).
                                a.     Deposition: 0 (Cumulative total: 8)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 4)
                                c.     Technology: Photonic Integrated Circuits using InP (Indium Phosphide); lasers, detectors,
                                       waveguides, mux/demux, spot size converters.
                    14.   Active case work: 2Q2016; IDT v. Hyundai Motor Co., No. 14-CV-201 (E.D. Tex. filed May 4, 2015) (retained
                          by defendant – DLA Piper LLP).
                                a.     Deposition: 0 (Cumulative total: 8)
                                b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 4)
                                c.     Technology: LED devices, packages and modules for vehicles.




                                                                                                                                Page 6

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                    15. Active case work: 1Q2015 to 3Q2015; Cree Inc., v. Honeywell Int’l Inc., No. 3:14-CV-737 (W.D. Wisc. filed
                        Oct. 28, 2014) (retained by defendant - Arnold & Porter LLP). Deposition experience (x1).
                              a.   Deposition: 1 (Cumulative total: 9)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 4)
                              c.   Technology: LEDs for mobile phones; LED epitaxial layers, device designs, optical lensing,
                                   packaging. Laboratory reverse engineering using TEM/SEM/EDAX etc.
                    16. Active case work: 2Q2015 to 4Q2015; Trs. of Boston Univ. v. Everlight Elecs. Co., Nos. 12-CV-11935, 12-CV-
                        12326, 12-CV-12330 (D. Mass. filed Oct. 17, 2012) (retained by plaintiff - Shore Chan DePumpo LLP).
                        Deposition (x1) and trial experience.
                              a.   Deposition: 1 (Cumulative total: 10)
                              b.   Trial/Hearing/Court appearance: 1 (Cumulative total: 5)
                              c.   Technology: GaN buffer layers for LEDs, and associated technical marketing, sales and import
                                   process into USA.
                    17. Active case work: 3Q2015 to 3Q2016; LG Elecs. Inc. v. Toshiba Samsung Storage Tech. Corp., No. 12-CV-
                        1063 (D. Del. filed Aug. 22, 2012) and IPR2015-01659 (PTAB filed Jul. 31st 2015 (retained by plaintiff – DLA
                        Piper & Nixon Law). IPR deposition (i.e. trial) experience (x1).
                              a.   Deposition: 1 (Cumulative total: 11)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 1 (Cumulative total: 1)
                              d.   Technology: Optical storage using laser diodes, photodetectors and optical materials
                    18. Active case work: 3Q2015 to 3Q2016; LG Elecs. Inc. v. Toshiba Samsung Storage Tech. Corp., No. 12-CV-
                        1063 (D. Del. filed Aug. 22, 2012) and IPR2015-01642 (PTAB filed Jul. 30th 2015) (retained by plaintiff –
                        DLA Piper & Nixon Law).
                              a.   Deposition: 0 (Cumulative total: 11)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 1)
                              d.   Technology: Optical storage using laser diodes, photodetectors and optical materials
                    19. Active case work: 3Q2015 to 3Q2016; LG Elecs. Inc. v. Toshiba Samsung Storage Tech Corp., IPR2016-01677
                        (PTAB filed Aug. 24th 2016 (retained by plaintiff – DLA Piper & Nixon Law).
                              a.   Deposition: 0 (Cumulative total: 11)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 1)
                              d.   Technology: Optical storage using laser diodes, photodetectors and optical materials
                    20. Active case work: 3Q2015 to 3Q2016; LG Elecs. Inc. v. Toshiba Samsung Storage Tech. Corp., IPR2015-01678
                        (PTAB filed Aug. 24th 2016) (retained by plaintiff – DLA Piper & Nixon Law).
                              a.   Deposition: 0 (Cumulative total: 11)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 1)
                              d.   Technology: Optical storage using laser diodes, photodetectors and optical materials
                    21. Active case work: 3Q2015 to 3Q2016; LG Elecs. Inc. v. Toshiba Samsung Storage Tech. Corp., IPR2015-01644
                        (PTAB filed Jul. 30th 2015) (retained by plaintiff – DLA Piper & Nixon Law).
                              a.   Deposition: 0 (Cumulative total: 11)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 1)
                              d.   Technology: Optical storage using laser diodes, photodetectors and optical materials
                    22. Active case work: 3Q2015 to 3Q2016; LG Elecs. Inc. v. Toshiba Samsung Storage Tech. Corp., IPR2015-01653
                        (PTAB filed Jul. 31st 2015) (retained by plaintiff – DLA Piper & Nixon Law).
                              a.   Deposition: 0 (Cumulative total: 11)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 1)
                              d.   Technology: Optical storage using laser diodes, photodetectors and optical materials
                    23. Active case work: 3Q2015; Heptagon Pre-litigation IPR petition; (retained by plaintiff – Proskaurer Rose LLP).
                              a.   Deposition: 0 (Cumulative total: 11)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 1)
                              d.   Technology: Proximity sensors using LEDs, photodetectors and innovative semiconductor packaging.
                    24. Active case work: 1Q2016 to 2Q2017; Dentsply v. Am. Orthodontics Inc., No. 15-CV-1706 (D. Pa. filed Sept.
                        1, 2015) and IPR2016-01652 (PTAB filed Aug. 19th 2016) (retained by defendant – Godfrey Kahn LLP). IPR
                        deposition (x1) experience.
                              a.   Deposition: 1 (Cumulative total: 12)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.   IPR/PTAB trial/deposition: 1 (Cumulative total: 2)
                              d.   Technology: High power lasers (YAG, CO2) to engrave and scribe dental orthodontic brackets.




                                                                                                                             Page 7

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                    25. Active case work: 2Q2016 to 2Q2017; Koninklijke Philips N.V. v. Elect-tech Int’l (H.K.), No. 14-CV-2737 (N.D.
                        Cal. filed Aug. 12, 2015) (retained by plaintiff – Reed Smith LLP).
                              a.    Deposition: 0 (Cumulative total: 12)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 2)
                              d.    Technology: Trade secret MOCVD epitaxial growth techniques for high power GaN/InGaN LED
                                    technology
                    26. Active case work: 2Q2016 to 4Q2016; Bluestone Innovations llc. v. E. Mishan & Co. Inc., Pre-litigation IP Case
                        No. TBD; (retained by defendant - Notaro, Michalos, & Zaccaria P.C.).
                              a.    Deposition: 0 (Cumulative total: 12)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 2)
                              d.    Technology: GaN/InGaN LEDs on structured substrates with reverse engineering laboratory analysis.
                    27. Active case work: 3Q2016-1Q2017; 511 Innovations Inc. v. HTC Am., Inc., No. 15-CV-1524 (E.D. Tex. Filed
                        June 30, 2016) (retained by plaintiff – The Davis Firm). Deposition (x2)
                              a.    Deposition: 2 (Cumulative total: 14)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 2)
                              d.    Technology: Proximity sensors for mobile phones.
                    28. Active case work: 3Q2016-4Q2016; Mellanox Techs. Ltd. v. Methode Elecs. Inc., No. 15-CV-3730 (N.D. Cal.
                        filed Aug. 16, 2015) (retained by plaintiff – Alston & Bird).
                              a.    Deposition: 0 (Cumulative total: 14)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 2)
                              d.    Technology: Fiber optic transceiver modules.
                    29. Active case work: 4Q2016-1Q2017; Novanta Inc., v Iradion Inc., No. 15-CV-01033 (D. Del. filed Nov. 9, 2015)
                        (retained by defendant – Barnes and Thornburg LLP).
                              a.    Deposition: 0 (Cumulative total: 14)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 2)
                              d.    Technology: High power gas laser design and operation.
                    30. Active case work: 1Q2017-1Q2017; Optolum Inc., v Cree Inc., No. 16-CV-03828; (D. Az. filed Nov. 3, 2016)
                        (retained by defendant – Jones Day).
                              a.    Deposition: 0 (Cumulative total: 14)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 2)
                              d.    Technology: LED packaging for illumination.
                    31. Active case work: 1Q2017-4Q2017; Polygroup Macau Ltd (BVI)., v Willlis Electric Co., Ltd., 15-CV-00552
                        (W.D. NC. Filed: Apr 21st 2016), (retained by plaintiff - Troutman Sanders LLP). Deposition experience (x2)
                              a.    Deposition: 2 (Cumulative total: 16)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 1 (Cumulative total: 3)
                              d.    Technology: Electrical connector, IC, and LED light product design.
                    32. Active case work: 1Q2017-4Q2017; Polygroup Macau Ltd (BVI)., v Willlis Electric Co., Ltd., IPR2017-00309
                        (PTAB filed Nov. 21st 2017), (retained by plaintiff - Troutman Sanders LLP).
                              a.    Deposition: 0 (Cumulative total: 16)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                              d.    Technology: Electrical connector, IC, and LED light product design.
                    33. Active case work: 1Q2017-4Q2017; Polygroup Macau Ltd (BVI)., v Willlis Electric Co., Ltd., IPR2017-00330
                        (PTAB filed Nov. 24th 2017), (retained by plaintiff - Troutman Sanders LLP).
                              a.    Deposition: 0 (Cumulative total: 16)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                              d.    Technology: Electrical connector, IC, and LED light product design.
                    34. Active case work: 1Q2017-4Q2017; Polygroup Macau Ltd (BVI)., v Willlis Electric Co., Ltd., IPR2017-00331
                        (PTAB filed Nov. 24th 2017), (retained by plaintiff - Troutman Sanders LLP).
                              a.    Deposition: 0 (Cumulative total: 16)
                              b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                              c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                              d.    Technology: Electrical connector, IC, and LED light product design.
                    35. Active case work: 1Q2017-4Q2017; Polygroup Macau Ltd (BVI)., v Willlis Electric Co., Ltd., IPR2017-00332
                        (PTAB filed Nov. 25th 2017), (retained by plaintiff - Troutman Sanders LLP).
                              a.    Deposition: 0 (Cumulative total: 16)



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                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Electrical connector, IC, and LED light product design.
                    36.   Active case work: 1Q2017-4Q2017; Polygroup Macau Ltd (BVI)., v Willlis Electric Co., Ltd., IPR2017-00334
                          (PTAB filed Nov. 25th 2017), (retained by plaintiff - Troutman Sanders LLP).
                                 a.   Deposition: 0 (Cumulative total: 16)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Electrical connector, IC, and LED light product design.
                    37.   Active case work: 1Q2017-4Q2017; Polygroup Macau Ltd (BVI)., v Willlis Electric Co., Ltd., IPR2017-00335
                          (PTAB filed Nov. 25th 2017), (retained by plaintiff - Troutman Sanders LLP).
                                 a.   Deposition: 0 (Cumulative total: 16)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Electrical connector, IC, and LED light product design.
                    38.   Active case work: 1Q2017-4Q2017; Macom Technology Solutions Holdings Inc., and Nitronex, LLC., v. Infineon
                          Technologies AG and Infineon Technologies North American Corp., 16-CV-02859 (C.D. Ca. filed Apr 26, 2016)
                          (retained by plaintiff – Baker Botts LLP).
                                 a.   Deposition: 0 (Cumulative total: 16)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: High performance GaN based RF FET device design and operation.
                    39.   Active case work: 1Q2017-1Q2017; Quanergy Systems, Inc. v. Velodyne LiDAR, Inc. (16-cv-05251; N.D. Ca.
                          filed: Sep 13th 2016 (retained by plaintiff Velodyne) - Latham & Watkins LLP
                                 a.   Deposition: 0 (Cumulative total: 16)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Laser/photodetector based LIDAR design and operation for self-driving vehicles.
                    40.   Active case work: 1Q2017-2Q2017; The Chamberlain Group Inc., v. Techtronic Industries Co., Ltd, Techtronic
                          Industries North America et al., Challenge to U.S Patent No. 7,862,209 (retained by plaintiff – The Chamberlain
                          Group) – Morgan, Lewis & Brockius, LLP.
                                 a.   Deposition: 0 (Cumulative total: 16)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 5)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: LED based luminaire design for lighting.
                    41.   Active case work: 1Q2017-1Q2018; Uber Technologies Inc., Ottomottto LLC., Otto Trucking LLC., v. Waymo
                          LLC (Google), 17-CV-00939 (N.D. Ca filed: Mar 10th, 2017), (retained by defendant Uber Technologies Inc.) –
                          Morrison and Foerster LLP. Deposition experience (x3) and trial experience (case settled at trial).
                                 a.   Deposition: 3 (Cumulative total: 19)
                                 b.   Trial/Hearing/Court appearance: 1 (Cumulative total: 6)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Optical and electrical device, optics, and package designs for LIDAR based self-driving
                                      vehicles.
                    42.   Active case work: 2Q2017-2Q2017; Heptagon v. ST Mircoelectronics IPR petition; (retained by plaintiff
                          Heptagon) – Proskaurer Rose LLP).
                                 a.   Deposition: 0 (Cumulative total: 19)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Optoelectronic based proximity sensors using LEDs and photodetectors.
                    43.   Active case work: 2Q2017-2Q2018; AT&T Inc., v. Sycamore Holdings LLC., 16-CV-00588 (E. D. Tx filed: Jun
                          6th 2016); (retained by defendant AT&T Inc.) - Kirkland and Ellis LLP. Deposition experience (x1)
                                 a.   Deposition: 1 (Cumulative total: 20)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Coding designs of optical digital signals for high performance optical networks.
                    44.   Active case work: 2Q2017 – 4Q2017; Clearfield Inc., v. CommScope, ADC, Tyco, and TE Connectivity, 17-CV-
                          00307 (D.C. Minn. filed Jan 31st 2017); (retained by defendant Clearfield, Inc.) – Pepper Hamilton LLP
                                 a.   Deposition: 0 (Cumulative total: 20)
                                 b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                 c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                 d.   Technology: Fiber optic connectors, panels, and distribution switches using optoelectronic
                                      components.
                    45.   Active case work: 2Q2017 – 4Q2017; Clearfield Inc., v. CommScope, ADC, Tyco, and TE Connectivity, IPR2017-
                          02122 (PTAB filed Sep. 15th 2017); (retained by defendant Clearfield, Inc.) – Pepper Hamilton LLP



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                               a.     Deposition: 0 (Cumulative total: 20)
                               b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                               c.     IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                               d.     Technology: Fiber optic connectors, panels, and distribution switches using optoelectronic
                                      components.
                    46.   Active case work: 2Q2017 – 4Q2017; Clearfield Inc., v. CommScope, ADC, Tyco, and TE Connectivity, IPR2018-
                          00003 (PTAB filed Oct. 6th 2017); (retained by defendant Clearfield, Inc.) – Pepper Hamilton LLP
                                a.    Deposition: 0 (Cumulative total: 20)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Fiber optic connectors, panels, and distribution switches using optoelectronic
                                      components.
                    47.   Active case work: 2Q2017 – 4Q2017; Clearfield Inc., v. CommScope, ADC, Tyco, and TE Connectivity, IPR2018-
                          00154 (PTAB filed Nov. 7th 2017); (retained by defendant Clearfield, Inc.) – Pepper Hamilton LLP
                                a.    Deposition: 0 (Cumulative total: 20)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Fiber optic connectors, panels, and distribution switches using optoelectronic
                                      components.
                    48.   Active case work: 4Q2016-2Q2017; Antunes Inc., Pre-litigation IP patent review; Case No. TBD; (retained by
                          plaintiff – Antunes Inc. and Chapman Spingola LLP).
                                a.    Deposition: 0 (Cumulative total: 20)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: High power grating surface emitter laser diodes, and associated packaging and device
                                      design for laser-based cooking ovens.
                    49.   Active case work: 1Q2017-2Q2017; Core Optical Technologies LLC. v. Fujitsu Network Communications, Inc.,
                          16-CV-00437 (C. D. Ca filed: Mar 7th 2016); (retained by defendant Fujitsu Network Communications) –
                          Morrison & Foerster LLP.
                                a.    Deposition: 0 (Cumulative total: 20)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Fiber optic based optical communications for coherent technologies
                    50.   Active case work: 3Q2017-4Q2018; Oyster Optics LLC v. Coriant America, et al, 16-CV-01302 (E. D. Tx filed:
                          Nov 24th 2016); (retained by plaintiff Oyster Optics LLC) – Russ August & Kabat LLP.
                                a.    Deposition: 1 (Cumulative total: 21)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Fiber optic based optoelectronic semiconductor component design and operation.
                    51.   Active case work: 3Q2017-4Q2018; Oyster Optics LLC v. Infinera, Alcatel-Lucent, Fujitsu, Cisco Systems,
                          Huawei, 16-CV-01295, 16-CV-01297, 16-CV-01299, 16-CV-01301, 16-CV-01303 (E. D. Tx filed: Nov 24th
                          2016); (retained by plaintiff Oyster Optics LLC) – Russ August & Kabat LLP. Deposition experience (x1).
                                a.    Deposition: 1 (Cumulative total: 22)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Fiber optic based optoelectronic semiconductor component design and operation.
                    52.   Active case work: 3Q2017-4Q2017; Olympus, Pre-litigation IP and Due Diligence; Case No. TBD; (retained by
                          plaintiff – Olympus and Fish & Richardson P.C.)
                                a.    Deposition: 0 (Cumulative total: 22)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: High volume, low cost optical lens and optics technology.
                    53.   Active case work: 3Q2017-1Q2018; Honeywell International, Inc et al v. Code Corporation et al., ITC No 337-
                          TA-1061 (filed Jun 28th 2017), “Certain barcode readers, scan engines, products containing the same, and
                          components thereof,” (retained by respondent – Honeywell and Alston and Bird LLP
                                a.    Deposition: 1 (Cumulative total: 23)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Bar-code scanners and associated optical/optoelectronic component performance and
                                      operation.
                    54.   Active case work: 4Q2017-1Q2019; Godo Kaisha IP Bridge 1 v. Intel Corp., 17-CV-00676 (filed Sep 29th 2017),
                          (retained by plaintiff – Godo Kaisha IP Bridge 1) - Ropes and Gray, LLP.
                                a.    Deposition: 0 (Cumulative total: 23)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 6)



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                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Fabrication, design, and reverse engineering of silicon-based FET ICs.
                    55.   Active case work: 4Q2017-3Q2018; Maxim Integrated Products, Inc. and Volterra Semiconductor LLC., v.
                          Silicon Mitus Inc., and Silicon Mitus Technology Inc., 17-CV-03507 (N. D. Ca: filed Jun 16th 2017), (retained by
                          defendant Silicon Mitus) – Pillsbury Winthrop Shaw Pittman, LLP. (Deposition and trial experience X1)
                                a.    Deposition: 1 (Cumulative total: 24)
                                b.    Trial/Hearing/Court appearance: 1 (Cumulative total: 7)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Fabrication, design, characterization, and packaging of silicon-based FET ICs for power
                                      applications
                    56.   Active case work: 2Q2018-3Q2018; Cree, Inc., v. Document Security Systems Inc., 17-CV-4263 (C.D. Ca filed:
                          Apr 17th 2017), (retained by defendant Cree Inc.) - Jones Day, LLP
                                a.    Deposition: 0 (Cumulative total: 24)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 7)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Design and packaging of high brightness GaN based LEDs
                    57.   Active case work: 2Q2018-2Q2018; Weisen v., Ram Telecom International (RTI)., CGC-16-554331 (Sup Ca:
                          filed 3rd May 2017) (retained by plaintiff Weisen, J) - Yetter Coleman, LLP. Deposition experience (x1) and trial
                          experience (x1).
                                a.    Deposition: 1 (Cumulative total: 25)
                                b.    Trial/Hearing/Court appearance: 1 (Cumulative total: 8)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Submarine and subsea fiber optic cables: technology, markets, economic impact, and
                                      history.
                    58.   Active case work: 2Q2018-3Q2018; Seoul Semiconductor., v. Document Security Systems Inc., 17-CV-00981
                          (C.D. Ca filed: Apr 17th 2017), (retained by defendant Seoul Semiconductor) - Latham and Watkins LLP
                                a.    Deposition: 1 (Cumulative total: 26)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Design and packaging of high brightness GaN based LEDs
                    59.   Active case work: 3Q2018-4Q2018; NEC Display Solutions Inc., and NEC Display Solutions of America, Inc.,
                          v. Ultravision., ITC Case# 337-TA-1114 (filed 24th May 2018), “Certain Modular LED Display Panels and
                          Components Thereof,” (retained by respondent Jones Day, LLP)
                                a.    Deposition: 0 (Cumulative total: 26)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: Large LED Panels, LED displays, LED modular panel design, LED thermal engineering
                                      and color displays for outdoor environments.
                    60.   Active case work: 3Q2018-3Q2018; IFT (Innovative Foundry Technologies) (pre-lit), retained by plaintiff Mintz
                          Levin, Cohen, Ferris, Glovsky, and Popeo PC.)
                                a.    Deposition: 0 (Cumulative total: 26)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 3)
                                d.    Technology: CMOS device (inc FinFETs) and IC fabrication techniques at 40, 28, 20, 16nm nodes.
                    61.   Active case work: 4Q2018-2Q2019; Eidolon Optical LLC., v. Haag-Streit AG., IPR2018-01311, (retained by
                          patent owner Eidolon Optical LLC) - McInnes & McLane LLP
                                a.    Deposition: 0 (Cumulative total: 26)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                                c.    IPR/PTAB trial/deposition: 1 (Cumulative total: 4)
                                d.    Technology: High brightness InGaAlP, GaP, AlGaAs, and GaN/InGaN based LEDs for use in medical
                                      instruments
                    62.   Active case work: 3Q2018-3Q2018; Voxtel Inc., v. Joseph Lachapelle & Luminar Technologies Inc., 18-CV-
                          27356 (D. Or. filed: Dec 18th 2017), (retained by plaintiff Voxtel Inc.) - Ater Wynne LLP
                                a.    Deposition: 0 (Cumulative total: 26)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.    Technology: LIDAR optical and electronic component and system technology
                    63.   Active case work: 3Q2018-1Q2019; Alta Devices, v. LG Electronics Inc., 18-CV-00404 (N.D. Ca. filed: May 7th
                          2018), (retained by defendant LG Electronics Inc.) - Hogan Lovells LLP
                                a.    Deposition: 0 (Cumulative total: 26)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.    Technology: Trade Secret GaAs based solar cell design, fabrication, manufacturing, and device
                                      performance



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                    64. Active case work: 3Q2018-3Q18; Opterna AM Inc., v. Commscope Technologies Inc., Pre-litigation preparation,
                        (retained by defendant Opterna AM Inc.) - Sterne Kessler LLP
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: Fiber optic connectors, panels, and distribution switches using optoelectronic
                                   components.
                    65. Active case work: 4Q2018 – 1Q2019; U.D. Electronic Corp., v. Pulse Electronics, Inc., Preparation for IPR filing:
                        IPR2019-00508 (PTAB filed Dec 26th 2018); and support for 18-CV-00373 (S.D. Ca. filed: Feb 16th 2018)
                        (retained by petitioner U. D. Electronic Corp.) – Procopio, Cory, Hargreaves and Savitch LLP
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: Electrical and fiber optic connectors, panels, and distribution switches using both
                                   electronic and optoelectronic components.
                    66. Active case work: 4Q2018 – 1Q2019; U.D. Electronic Corp., v. Pulse Electronics, Inc., Preparation for IPR filing:
                        IPR2019-00515 (PTAB filed Dec 31st 2018); and support for 18-CV-00373 (S.D. Ca. filed: Feb 16th 2018)
                        (retained by petitioner U. D. Electronic Corp.) – Procopio, Cory, Hargreaves and Savitch LLP
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: Electrical and fiber optic connectors, panels, and distribution switches using both
                                   electronic and optoelectronic components.
                    67. Active case work: 4Q2018 – 1Q2019; U.D. Electronic Corp., v. Pulse Electronics, Inc., Preparation for IPR filing:
                        IPR2019-00262 (PTAB filed Nov 9th 2018); and support for 18-CV-00373 (S.D. Ca. filed: Feb 16th 2018)
                        (retained by petitioner U. D. Electronic Corp.) – Procopio, Cory, Hargreaves and Savitch LLP
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: Electrical and fiber optic connectors, panels, and distribution switches using both
                                   electronic and optoelectronic components.
                    68. Active case work: 4Q2018 – 1Q2019; U.D. Electronic Corp., v. Pulse Electronics, Inc., Preparation for IPR filing:
                        IPR2019-00511 (PTAB filed Dec 28th 2018); and support for 18-CV-00373 (S.D. Ca. filed: Feb 16th 2018)
                        (retained by petitioner U. D. Electronic Corp.) – Procopio, Cory, Hargreaves and Savitch LLP
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: Electrical and fiber optic connectors, panels, and distribution switches using both
                                   electronic and optoelectronic components.
                    69. Active case work: 4Q2018 – 1Q2019; Semiconductor Energy Laboratory Co. Ltd., v. Bluehouse Global Ltd.,
                        Preparation for IPR filing: IPR2018-01405 (PTAB filed Jul 18th 2018); (retained by patent owner SEL Co Ltd.)
                        – Robinson Intellectual Law Office, P.C. (Counsel represented by Fish and Richardson LLP).
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: Semiconductor displays using active matrix LCD and thin film transistor technology.
                                   Design, fabrication, and circuit layout.
                    70. Active case work: 4Q2018 – 1Q2019; Semiconductor Energy Laboratory Co. Ltd., v. Bluehouse Global Ltd.,
                        Preparation for IPR filing: IPR2018-01393 (PTAB filed Jul 13th 2018); (retained by patent owner SEL Co Ltd.)
                        – Robinson Intellectual Law Office, P.C. (Counsel represented by Fish and Richardson LLP)
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 8)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: Semiconductor displays using active matrix LCD and thin film transistor technology.
                                   Design and fabrication technology.
                    71. Active case work: 4Q2018 - 1Q2019; The Sloan Company dba SloanLED, v. Principle Lighting Group, LLC.,
                        18-CV-06449 (C.D. Ca. filed: Jul 26th 2018), (retained by defendant SloanLED.) - Ferguson Case Orr Paterson
                        LLP
                              a.   Deposition: 0 (Cumulative total: 26)
                              b.   Trial/Hearing/Court appearance: 1 (Cumulative total: 9)
                              c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.   Technology: LED lighting, LED luminaires, LED performance, electrical and mechanical design and
                                   construction.




                                                                                                                              Page 12

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                    72. Active case work: 1Q2019 - 1Q2019; HTC Corporation, v. Lemire Illumination Technologies., 18-CV-00021
                        (E.D. Tx. filed: Jan 21st 2018), (retained by defendant HTC Corporation) - Perkins Coie LLP
                               a.    Deposition: 0 (Cumulative total: 26)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: LEDs for mobile phones
                    73. Active case work: 1Q2019 - 2Q2019; Frys Electronics, v. Seoul Semiconductor Co, and Seoul Viosys Co.,, 2:18-
                        CV-00386-JRG (E. D. Tx. filed: Nov 20th 2018), (retained by defendant Frys Electronics) - Lamkin IP Defense
                               a.    Deposition: 0 (Cumulative total: 26),
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: LED chips, LED packaging, LED lenses, LED luminaires, backlights, displays, and
                                     televisions/monitors
                    74. Active case work: 2Q2019 – 4Q2019; Hanwha Q CELLS & Advance Materials Corporation, v. JinkoSolar,
                        LONGi Solar, REC Solar, ITC 337-TA-1151 (filed: Apr 4th 2019), (“Certain Photovoltaic Cells and Products
                        Containing Same,”), retained by patent owner and plaintiff Hanwha Q CELLS) - Covington and Burling LLP
                               a.    Deposition: 2 (Cumulative total: 28)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                    75. Active case work: 2Q2019-3Q2019; Hanwha Q CELLS & Advance Materials Corporation, v. JinkoSolar and
                        affiliates, 19-CV-00450 (D. Del. filed: Jan 21st 2018), (retained by patent owner and plaintiff Hanwha Q CELLS)
                        - Covington and Burling LLP
                               a.    Deposition: 0 (Cumulative total: 28)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: Silicon solar cells and materials analysis of passivation layers
                    76. Active case work: 2Q2019-2Q2019; Oyster Optics LLC v. Infinera Inc, 2:18-CV-00206 (E. D. Tx filed: May 15th
                        2018); (retained by plaintiff Oyster Optics LLC) – Russ August & Kabat LLP.
                               a.    Deposition: 0 (Cumulative total: 28)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: Fiber optic based optoelectronic semiconductor component design and operation.
                    77. Active case work: 2Q2019 – 2Q2019; Nichia Corporation & Osram Opto Semiconductors Inc., v. Lighting
                        Science Group Corp., IPR filing: IPR2019-01259 (PTAB filed Jun 28th 2019); (retained by petitioner Nichia and
                        Osram Opto.) – Shearman and Sterling, LLP
                               a.    Deposition: 0 (Cumulative total: 28)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: LED chips, LED packaging and ceramic thermal heat sinking technology.
                    78. Active case work: 2Q2019 – 3Q2019; Nichia Corporation v. Lighting Science Group Corp., 2:17-CV-08849 (C.
                        D. Ca filed Jul 12th 2017); (retained by defendant Nichia) – Shearman and Sterling, LLP
                               a.    Deposition: 0 (Cumulative total: 28)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: LED chips, LED packaging and ceramic thermal heat sinking technology
                    79. Active case work: 3Q2019-3Q2019; Applied Optoelectronics Inc v. Class Action Lawsuit, 4:17-CV-02399 (S. D.
                        Tx filed: Mar 6th 2018); (retained by plaintiff Class Action Lawsuit) – Levi and Korsinsky, LLP
                               a.    Deposition: 0 (Cumulative total: 28)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: Fiber optic based optoelectronic semiconductor components, transceivers, and sub-
                                     systems.
                    80. Active case work: 3Q2019-3Q2019; DNA Motor v. Kuen Hwa Traffic Industrial Co., 18-CV-05664 (C. D. Ca
                        filed: Jan 15th 2019); (defendant DNA Motor) – Elizabeth Yang, Law and Mediation Office
                               a.    Deposition: 0 (Cumulative total: 28)
                               b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 9)
                               c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                               d.    Technology: LED design patent, and the design of an aftermarket LED based headlight assembly for
                                     an automobile.
                    81. Active case work: 3Q2019 – 1Q2020; Nichia Corporation, Osram Opto Semiconductors Inc., Philips Lumileds,
                        GE Consumer Lighting, Cree, and Signify v. Lighting Science Group Corp., ITC 337-TA-1168 (filed: Apr 30th
                        2019), (“Certain Light-Emitting-Diode products, systems, and components thereof (III)”) (retained by
                        respondents Nichia, Osram Optoelectronics, Philips Lumileds, GE Consumer Lighting, Cree Hong Kong., Signify
                        Corp.) – Shearman and Sterling, LLP



                                                                                                                            Page 13

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                                                  Exhibit D, p. 780
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                                a.   Deposition: 1 (Cumulative total: 29)
                                b.   Trial/Hearing/Court appearance: 1 (Cumulative total: 10)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: LED chips, LED packaging and ceramic thermal heat sinking technology (LTCC).
                    82.   Active case work: 4Q2019 – 1Q2020; Amazon.com Inc, Bed, Bath and Beyond, IKEA, Target, and Walmart Inc.,
                          v. Regents of the University of California, ITC 337-TA-1172 (filed: July 30th 2019), (“Certain Filament Light-
                          Emitting-Diodes and products containing same”) (retained by respondents Amazon.com Inc, Bed, Bath and
                          Beyond, IKEA, Target, and Walmart Inc.) – Morrison and Foerster, LLP
                                a.   Deposition: 2 (Cumulative total: 31)
                                b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 10)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: LED chips, LED packaging and light bulb filaments with transparent sub-mounts.
                    83.   Active case work: 4Q2019 – 4Q2019; U.D. Electronic Corp., v. Pulse Electronics, Inc., IPR2019-00511 (PTAB
                          filed Dec 28th 2018), (retained by petitioner U. D. Electronic Corp.) – Procopio, Cory, Hargreaves and Savitch
                          LLP
                                a.   Deposition: 0 (Cumulative total: 31)
                                b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 10)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: Electrical and fiber optic connectors, panels, and distribution switches using both
                                     electronic and optoelectronic components.
                    84.   Active case work: 1Q2020 – 2Q2020; IKEA, v. Regents of the University of California, ITC 337-TA-1172 (filed:
                          July 30th 2019), (“Certain Filament Light-Emitting-Diodes and products containing same”) (retained by
                          respondents IKEA) – Flaster and Greenberg, LLP
                                a.   Deposition: 2 (Cumulative total: 31)
                                b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 10)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: LED chips, LED packaging and light bulb filaments with transparent sub-mounts.
                    85.   Active case work: 1Q2020-1Q2020; Hanwha Solutions Corporation, v. Longi Green Energy, Longi Solar
                          Technology, Longi Trading et al., IPR2019-01072 (PTAB filed 13th May 2019), (retained by patent owner
                          Hanwha Solutions Corporation) - Covington and Burling LLP
                                a.   Deposition: 0 (Cumulative total: 31)
                                b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 10)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: Silicon solar cells and materials analysis of passivation layers
                    86.   Active case work: 1Q2020-1Q2020; Hanwha Solutions Corporation, v. REC Solar Pte. Ltd. and JinkSolar (U.S.)
                          Inc. IPR2019-01145 (PTAB filed 6th March 2019), (retained by patent owner Hanwha Solutions Corporation) -
                          Covington and Burling LLP
                                a.   Deposition: 0 (Cumulative total: 31)
                                b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 10)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: Silicon solar cells and materials analysis of passivation layers
                    87.   Active case work: 4Q2019 – 2Q2020; Viavi Solutions Inc., v Optrontec Inc., ITC 337-TA-1187 (filed: 18th
                          November 2019), (“Certain Electronic devices with Optical Filters and Optical Sensor Systems and Components
                          Thereof”) (retained by complainant Viavi Solutions Inc.,) – Venable, LLP
                                a.   Deposition: 0 (Cumulative total: 31)
                                b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 10)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: Optical filters and optical sensor systems, design and fabrication of dielectric materials
                                     for passband filters in applications such as optical communications, imaging, sensing, medical,
                                     automotive.
                    88.   Active case work: 2Q2020 – 4Q2020; Leviton Manufacturing Co., v. Corning Optical Communications LLC.,
                          ITC 337-TA-1194 (filed: 19th March 2020), (“Certain High-Density Fiber Optic Equipment and Components
                          Thereof”) (retained by respondent Leviton Manufacturing Co.,) – Morrison & Foerster, LLP
                                a.   Deposition: 1 (Cumulative total: 32)
                                b.   Trial/Hearing/Court appearance: 1 (Cumulative total: 11)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                                d.   Technology: Fiber optic adapters, fiber optic connectors (simplex, duplex, quad, multi-fiber), fiber
                                     trays, racks, and fiber cabinet equipment.
                                e.   Technology: LED chips, LED packaging and light bulb filaments with transparent sub-mounts.
                    89.   Active case work: 2Q2020 – 2Q2020; Amazon.com Inc., v. Regents of the University of California, Post Grant
                          Review petition for proceedings (US Patent # 10,593,3854), retained by Morrison and Foerster, LLP
                                a.   Deposition: 0 (Cumulative total: 32)
                                b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 11)
                                c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 4)



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                              d.     Optoelectronics
                    90. Active case work: 1Q2020-3Q2020; Cellect LLC, v. Samsung Electronics Co., LTD and Samsung Electronics
                        America, Inc., IPR2020-00560 (PTAB filed 16th Feb 2020), (retained by patent owner Cellect LLC) – retained by
                        Kramer Levin Naftalis & Frankel LLP
                              a.     Deposition: 0 (Cumulative total: 32)
                              b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 11)
                              c.     IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.     Technology: Silicon CMOS image sensors, drive electronics, smart pixels and CCD technology
                    91. Active case work: 2Q2020-2Q2020; Panasonic, v. 3M Innovative Properties Company., Preparation for IPR
                        filing, (retained by defendant Panasonic) – retained by Westerman Hattori Daniels & Adrian LLP
                              a.     Deposition: 0 (Cumulative total: 32)
                              b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 11)
                              c.     IPR/PTAB trial/deposition: 0 (Cumulative total: 4)
                              d.     Technology: Touch sensor (resistive, optical, and capacitive) technology for mobile displays.
                                     Analysis of display, electronic, and optical technologies.
                    92. Active case work: 2Q2020-3Q2020; Longi Green Energy Technology Co, Longi Solar Technology Co, Long
                        Solar Technology (H.K., Kuching, Taizhou, Zhejiang, Hefei, US) v. Hanwha Solutions Corporation., IPR 2019-
                        01072, (retained by patent owner Hanwha Solutions Corporation) – Quinn Emanuel Urquhart & Sullivan, LLP
                              a.     Deposition: 1 (Cumulative total: 33)
                              b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 11)
                              c.     IPR/PTAB trial/deposition: 1 (Cumulative total: 5)
                              d.     Optoelectronics; solar cell design, fabrication, device performance, packaging, and interface issues
                                     relating to passivation (both chemical and electric field enhanced).
                    93. Active case work: 3Q2020-3Q2020; Oyster Optics LLC v. Ciena Corp, 4:17-CV-05920 (N. D. CA filed: April
                        22nd 2020); (retained by plaintiff Oyster Optics LLC) – Russ August & Kabat LLP.
                              a.     Deposition: 0 (Cumulative total: 33)
                              b.     Trial/Hearing/Court appearance: 1 (Cumulative total: 12)
                              c.     IPR/PTAB trial/deposition: 0 (Cumulative total: 5)
                              d.     Technology: Fiber optic based optoelectronic semiconductor component design and operation,
                                     especially phase shift keying and phase based coherent communications.
                    94. Active case work: 3Q2020-2Q2021; Capella Photonics Inc., v. Infinera Corporation, Tellabs, Tellabs Operations
                        Inc., Coriant American Inc., and Coriant USA Inc., 2:20-CV-00077 (E. D. TX filed: March 16th 2020); (retained
                        by defendant Infinera Inc.) – Baker Botts LLP.
                              a.     Deposition: 1 (Cumulative total: 34)
                              b.     Trial/Hearing/Court appearance: 1 (Cumulative total: 12)
                              c.     IPR/PTAB trial/deposition: 0 (Cumulative total: 5)
                              d.     Technology: Fiber optic wavelength selective switches (WSS), reconfigurable add-drop multiplexors
                                     (ROADMs), and their design. Technical issues include polarization, wavelength selection, coupling,
                                     mux/demux and operation in optical networks.
                    95. Active case work: 3Q2020-3Q2020; Longi Green Energy Technology Co, Longi Solar Technology Co, Long
                        Solar Technology (H.K., Kuching, Taizhou, Zhejiang, Hefei, US) v. Hanwha Solutions Corporation., IPR 2020-
                        00353, (retained by patent owner Hanwha Solutions Corporation) – Quinn Emanuel Urquhart & Sullivan, LLP
                              a.     Deposition: 0 (Cumulative total: 34)
                              b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 12)
                              c.     IPR/PTAB trial/deposition: 1 (Cumulative total: 6)
                              d.     Optoelectronics: solar cell design, fabrication, device performance, packaging, and interface issues
                                     relating to passivation (both chemical and electric field enhanced).
                    96. Active case work: 3Q2020-2Q2021; Appotronics Corporation Ltd. v. Delta Electronics Inc., 2:19-CV-00466 (E.
                        D. Va filed: July 22nd 2020); (retained by defendant Delta Corporation Inc) – Pillsbury Winthorp Shaw Pitman
                        LLP.
                              a.     Deposition: 1 (Cumulative total: 35)
                              b.     Trial/Hearing/Court appearance: 0 (Cumulative total: 12)
                              c.     IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                              d.     Technology: Light projectors for display and the color wheel, phosphor technology, high power visible
                                     lasers for projection, and the associated packaging of the modules/projectors for efficient cost design..
                    97. Active case work: 3Q2020 – 2Q2021; Ideal Industries Lighting LLC (dba Cree Lighting) v. RAB Lighting Inc.,
                        ITC 337-TA-1213 (filed: 15th July 2020), (“Certain Light-emitting Diode Products, Fixtures, and Components
                        thereof”), (retained by plaintiff Ideal Industries Lighting LLC (dba Cree Lighting) – Quinn Emanuel Urquhart an
                        Sullivan, LLP
                              a.     Deposition: 1(Cumulative total: 36)
                              b.     Trial/Hearing/Court appearance: 2(twice at the stand); (Cumulative total: 14)
                              c.     IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                              d.     Technology: Visible GaN based LEDs and various packaging optical lens designs for directing and
                                     re-directing LED light output with applications in street lighting.



                                                                                                                                   Page 15

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                    98. Active case work: 3Q2020-3Q2020; Cellect LLC, v. Samsung Electronics Co., LTD and Samsung Electronics
                         America, Inc., ex parte declaration entitled, ‘Hand-held computers incorporating reduced area imaging devices’,
                         for U.S. Patent 6,982,742 (control number 90/014,453), (retained by patent owner Cellect LLC) – retained by
                         Kramer Levin Naftalis & Frankel LLP
                               a.   Deposition: 0 (Cumulative total: 36)
                               b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                               c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                               d.   Technology: Hand-held silicon CMOS image sensors, drive electronics, smart pixels and CCD
                                    technology. Technical history of CCD v. CMOS image sensors in the 1990s and associated
                                    performance criteria.
                    99. Active case work: 3Q2020-3Q2020; Cellect LLC, v. Samsung Electronics Co., LTD and Samsung Electronics
                         America, Inc., ex parte declaration entitled, ‘Communication devices incorporating reduced area imaging
                         devices’, for U.S. Patent 6,452,626 (control number 90/014,455), (retained by patent owner Cellect LLC) –
                         retained by Kramer Levin Naftalis & Frankel LLP
                               a.   Deposition: 0 (Cumulative total: 36)
                               b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                               c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                               d.   Technology: Hand-held silicon CMOS image sensors, drive electronics, smart pixels and CCD
                                    technology. Technical history of CCD v. CMOS image sensors in the 1990s and associated
                                    performance criteria.
                    100. Active case work: 4Q2020-4Q2020; Cellect LLC, v. Samsung Electronics Co., LTD and Samsung Electronics
                         America, Inc., IPR declaration for U.S. Patent 9,198,565 (IPR2020-00476), (retained by patent owner Cellect
                         LLC) – retained by Kramer Levin Naftalis & Frankel LLP
                               a.   Deposition: 0 (Cumulative total: 36)
                               b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                               c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                               d.   Technology: Hand-held silicon CMOS image sensors, drive electronics, smart pixels and CCD
                                    technology. Technical history of CCD v. CMOS image sensors in the 1990s and associated
                                    performance criteria.
                    101. Active case work: 4Q2020-4Q2020; Cellect LLC, v. Samsung Electronics Co., LTD and Samsung Electronics
                         America, Inc., IPR declaration for U.S. Patent 9,667,896 (IPR2020-00477), (retained by patent owner Cellect
                         LLC) – retained by Kramer Levin Naftalis & Frankel LLP
                               a.   Deposition: 0 (Cumulative total: 36)
                               b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                               c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                               d.   Technology: Hand-held silicon CMOS image sensors, drive electronics, smart pixels and CCD
                                    technology. Technical history of CCD v. CMOS image sensors in the 1990s and associated
                                    performance criteria.
                    102. Active case work: 4Q2020 – 1Q2021; U.D. Electronic Corp., v. Pulse Electronics, Inc., 3:18-CV-00373 (Filed
                         Fed 16th 2018), (retained by petitioner U. D. Electronic Corp.) – retained by defendant Perkins Coie LLP.
                               a.   Deposition: 1 (Cumulative total: 37)
                               b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                               c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                               d.   Technology: Electrical and fiber optic connectors, panels, and distribution switches using both
                                    electronic and optoelectronic components. Noise suppression using EMI between electrical
                                    components and connectors.
                    103. Active case work: 4Q2020-4Q2020; Cellect LLC, v. Samsung Electronics Co., LTD and Samsung Electronics
                         America, Inc., IPR declaration for U.S. Patent 9,186,052 (IPR2020-00512), (retained by patent owner Cellect
                         LLC) – retained by Kramer Levin Naftalis & Frankel LLP
                               a.   Deposition: 1 (Cumulative total: 38)
                               b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                               c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                               d.   Technology: Hand-held silicon CMOS image sensors, drive electronics, smart pixels and CCD
                                    technology. Technical history of CCD v. CMOS image sensors in the 1990s and associated
                                    performance criteria.
                    104. Active case work: 4Q2020-4Q2020; Cellect LLC, v. Samsung Electronics Co., LTD and Samsung Electronics
                         America, Inc., IPR declaration for U.S. Patent 9,186,052 (IPR2020-00475), (retained by patent owner Cellect
                         LLC) – retained by Kramer Levin Naftalis & Frankel LLP
                               a.   Deposition: 1 (Cumulative total: 39)
                               b.   Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                               c.   IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                               d.   Technology: Hand-held silicon CMOS image sensors, drive electronics, smart pixels and CCD
                                    technology. Technical history of CCD v. CMOS image sensors in the 1990s and associated
                                    performance criteria.



                                                                                                                             Page 16

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                     105. Active case work: 1Q2021 – present; IKEA et al., v. Regents of the University of California, ITC 337-TA-1220
                          (filed: 29th September 2020), (“Certain filament light-emitting diodes and products containing same (II)”),
                          (retained by respondent JDG: IKEA, Global Value Lighting, Signify, Home Depot, GE, Satco) – retained by
                          Flaster Greenberg PC, Kirkland and Ellis, GT Law, Alston and Bird, Jones Day and Goodwin Law as JDG
                          counsel.
                                a.    Deposition: 2 (Cumulative total: 41)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                                d.    Technology: LED chips, LED packaging and light bulb filaments with transparent sub-mounts.
                     106. Active case work 4Q2020 – 1Q2021; Uber Technologies Inc., v. Anthony Scott Levandowski; Case No. 20-30242
                          (HLB) and 20-03050 (filed 16th September 2020), retained by defendant Uber Technologies Inc., retained by
                          Jenner and Block LLP.
                                a.    Deposition: 0 (Cumulative total: 41)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                                d.    Technology: LIDAR technology for motor vehicles that includes fiber amplifiers, LIDAR hardware,
                                      laser diodes, photodetectors, fiber links, and free space communications.
                     107. Active case work: 1Q2021 – present; CoSemi Technologies, v. Everpro Technologies, Fibbr Technologies,
                          Logitech, and Facebook Technologies, ITC 337-TA-1233 (filed: 29th October 2020), (“Certain active optical
                          cables and products containing same”, (retained by claimant Cosemi Technologies) – retained by Rutan & Tucker
                          LLP.
                                a.    Deposition: 1 (Cumulative total: 42)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                                d.    Technology: Active optical cables with embedded silicon modulator ICs, copper cable, fiber optic
                                      cable, VCSEL laser diodes, photodetectors and cable sheathing for consumer applications such as
                                      gaming, HDMI, USB, etc.
                     108. Active case work: 2Q2021 – present; Acuity Brands Lighting ,Inc. v. Heavy Duty Lighting (HDL), LLC., 20-CV-
                          03648-SCJ (GA N. D. Filed 2nd September 2020), (retained by defendant Acuity Brands Lighting) – retained by
                          defendant Duane Morris LLP.
                                a.    Deposition: 0 (Cumulative total: 42)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                                d.    Technology: LED lighting, LED chips, LED packages and LED packaging technologies such as
                                      molding, glob-top, substrates, die mounting, optical reflectors, and electrical interconnect layouts.
                     109. Active case work: 2Q2021 – present; Jiaxing Super Lighting Electric Appliance Co., LTD and Obert Inc. v. CH
                          Lighting Technology co., LTD., Elliott Electric Supply Inc., and Shaoxing Ruising Lighting co., Ltd., 20-CV-
                          00018-ADA (TX W D. Filed16th March 2020), (retained by defendant CH Lighting et al) – retained by defendant
                          Holland and Knight LLP.
                                a.    Deposition: 0 (Cumulative total: 42)
                                b.    Trial/Hearing/Court appearance: 0 (Cumulative total: 14)
                                c.    IPR/PTAB trial/deposition: 0 (Cumulative total: 6)
                                d.    Technology: LED lighting and LED packaging technologies for T8 and T12 form factor tube lighting.
                                      Technologies such as LED luminaire/tube packaging, mechanical structure, thermal heat dissipation,
                                      electronic circuitry, printed circuit boards, and LED chips.


 PUBLISHED PATENT APPLICATIONS:

       As per USPTO website are recent published patent applications:

        PUB.
        APP.               Title
        NO.
        1                  20210005720                 ELECTRONIC DEVICE WITH 2-DIMENSIONAL ELECTRON GAS
                                                       BETWEEN POLAR-ORIENTED RARE-EARTH OXIDE LAYER
                                                       GROWN OVER A SEMICONDUCTOR
        2                  20200285085                 DIRECT DRIVE REGION-LESS POLYMER MODULATOR
                                                       METHODS OF FABRICATING AND MATERIALS THEREFOR




                                                                                                                                Page 17

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                                      Michael Lebby Curriculum Vitae (CV)


       As per USPTO website patent applications that have been published:

        PUB.
        APP.               Title
        NO.
        1                  20200183245            ELECTRO-OPTIC POLYMER DEVICES HAVING HIGH
                                                  PERFORMANCE CLADDINGS, AND METHODS OF PREPARING
                                                  THE SAME
        2                  20200183201            ACTIVE REGION-LESS POLYMER MODULATOR INTEGRATED
                                                  ON A COMMON PIC PLATFORM AND METHOD
        3                  20200161417            III-N TO RARE EARTH TRANSITION IN A SEMICONDUCTOR
                                                  STRUCTURE
        4                  20200150363            CONDUCTIVE MULTI-FIBER/PORT HERMETIC CAPSULE AND
                                                  METHOD
        5                  20200119516            HERMETIC CAPSULE AND METHOD
        6                  20200091398            JOSEPHSON JUNCTION USING MOLECULAR BEAM EPITAXY
        7                  20200088941            PROTECTION LAYERS FOR POLYMER
                                                  MODULATORS/WAVEGUIDES
        8                  20200088939            GUIDE TRANSITION DEVICE AND METHOD
        9                  20200083668            GUIDE TRANSITION DEVICE WITH DIGITAL GRATING
                                                  DEFLECTORS AND METHOD
        10                 20190353843            FABRICATION PROCESS OF POLYMER BASED PHOTONIC
                                                  APPARATUS AND THE APPARTUS
        11                 20190305039            EPITAXIAL AIN/cREO STRUCTURE FOR RF FILTER
                                                  APPLICATIONS
        12                 20190278036            EMBEDDED HERMETIC CAPSULE AND METHOD
        13                 20190237930            HERMETIC CAPSULE AND METHOD
        14                 20190227233            RE-based Integrated Photonic and Electronic Layered Structures
        15                 20190221993            POROUS DISTRIBUTED BRAGG REFLECTORS FOR LASER
                                                  APPLICATIONS
        16                 20190204506            PROTECTION LAYERS FOR POLYMER
                                                  MODULATORS/WAVEGUIDES
        17                 20190172923            Integrated Epitaxial Metal Electrodes
        18                 20190148913            GUIDE TRANSITION DEVICE WITH DIGITAL GRATING
                                                  DEFLECTORS AND METHOD
        19                 20190139761            Pnictide Buffer Structures and Devices for GaN Base Applications
        20                 20190122885            GROUP III SEMICONDUCTOR EPITAXY FORMED ON SILICON
                                                  VIA SINGLE CRYSTAL REN AND REO BUFFER LAYERS
        21                 20190079243            GUIDE TRANSITION DEVICE AND METHOD
        22                 20190074365            Integrated Epitaxial Metal Electrodes
        23                 20190064436            POLYMER MODULATOR AND LASER INTEGRATED ON A
                                                  COMMON PLATFORM AND METHOD
        24                 20190028081            LAYER STRUCTURES FOR RF FILTERS FABRICATED USING
                                                  RARE EARTH OXIDES AND EPITAXIAL ALUMINUM NITRIDE
        25                 20180259798            DIRECT-DRIVE POLYMER MODULATOR METHODS OF
                                                  FABRICATING AND MATERIALS THEREFOR
        26                 20180138284            Integrated Epitaxial Metal Electrodes
        27                 20180013053            Josephson Junction using Molecular Beam Epitaxy



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        28               20180012858         RARE EARTH INTERLAYS FOR MECHANICALLY LAYERING
                                             DISSIMILAR SEMICONDUCTOR WAFERS
        29               20170353002         Rare Earth Pnictides for Strain Management
        30               20170141750         LAYER STRUCTURES FOR RF FILTERS FABRICATED USING
                                             RARE EARTH OXIDES AND EPITAXIAL ALUMINUM NITRIDE
        31               20160133708         STRAIN COMPENSATED REO BUFFER FOR III-N ON SILICON
        32               20150014676         III-N MATERIAL GROWN ON REN EPITAXIAL BUFFER ON Si
                                             SUBSTRATE
        33               20140357014         HIGH EFFICIENCY SOLAR CELL USING IIIB MATERIAL
                                             TRANSITION LAYERS
        34               20140239307         REO GATE DIELECTRIC FOR III-N DEVICE ON Si SUBSTRATE
        35               20140231818         AlN CAP GROWN ON GaN/REO/SILICON SUBSTRATE
                                             STRUCTURE
        36               20140231817         III-N MATERIAL GROWN ON ALO/ALN BUFFER ON SI
                                             SUBSTRATE
        37               20140225123         REO/ALO/AlN TEMPLATE FOR III-N MATERIAL GROWTH ON
                                             SILICON
        38               20140167057         REO/ALO/AlN TEMPLATE FOR III-N MATERIAL GROWTH ON
                                             SILICON
        39               20140077339         DELTA DOPING AT Si-Ge INTERFACE
        40               20140077338         Si-Ge-Sn ON REO TEMPLATE
        41               20140077240         IV MATERIAL PHOTONIC DEVICE ON DBR
        42               20140076390         III-V SEMICONDUCTOR INTERFACE WITH GRADED GeSn ON
                                             SILICON
        43               20140053894         GRADED GeSn ON SILICON
        44               20140008644         OXYGEN ENGINEERED SINGLE-CRYSTAL REO TEMPLATE
        45               20130334536         SINGLE-CRYSTAL REO BUFFER ON AMORPHOUS SiOx
        46               20130248853         NUCLEATION OF III-N ON REO TEMPLATES
        47               20130214282         III-N ON SILICON USING NANO STRUCTURED INTERFACE
                                             LAYER
        48               20130153918         REO-Si TEMPLATE WITH INTEGRATED REO LAYERS FOR
                                             LIGHT EMISSION
        49               20130099357         STRAIN COMPENSATED REO BUFFER FOR III-N ON SILICON
        50               20130071960         INTEGRATED RARE EARTH DEVICES
        51               20130062610         LATTICE MATCHED CRYSTALLINE REFLECTOR
        52               20130062609         III-N FET ON SILICON USING FIELD SUPPRESSING REO
        53               20130032858         RARE EARTH OXY-NITRIDE BUFFERED III-N ON SILICON
        54               20120280276         Single Crystal Ge On Si
        55               20120256232         Multilayer Rare Earth Device
        56               20120183767         HEXAGONAL REO TEMPLATE BUFFER FOR III-N LAYERS ON
                                             SILICON
        57               20120147906         LASER COOLING OF MODIFIED SOI WAFER
        58               20120145243         SOLAR CELLS WITH MAGNETICALLY ENHANCED UP-
                                             CONVERSION
        59               20120104567         IIIOxNy ON REO/Si
        60               20120104443         IIIOxNy ON SINGLE CRYSTAL SOI SUBSTRATE AND III n
                                             GROWTH PLATFORM



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        61                 20120090672                REO-Ge Multi-Junction Solar Cell
        62                 20120085399                REO-Ge Multi-Junction Solar Cell
        63                 20120073648                Photovoltaic conversion using rare earths plus Group IV Sensitizers
        64                 20120019902                INTERGRATED PUMP LASER AND RARE EARTH WAVEGUIDE
                                                      AMPLIFIER
        65                 20110290313                SOLAR CELLS WITH ENGINEERED SPECTRAL CONVERSION
        66                 20110220173                ACTIVE SOLAR CONCENTRATOR WITH MULTI-JUNCTION
                                                      DEVICES
        67                 20110203666                HIGH EFFICIENCY SOLAR CELL USING IIIB MATERIAL
                                                      TRANSITION LAYERS
        68                 20110188533                INTEGRATED RARE EARTH DEVICES
        69                 20110108908                MULTILAYERED BOX IN FDSOI MOSFETS
        70                 20100122720                Passive Rare Earth Tandem Solar Cell
        71                 20100116315                Active rare earth tandem solar cell
        72                 20100112736                FULL COLOR DISPLAY
        73                 20100109047                Multijunction rare earth solar cell
        74                 20100084680                SPONTANEOUS/STIMULATED LIGHT EMITTING .mu.-CAVITY
                                                      DEVICE
        75                 20090291535                STACKED TRANSISTORS AND PROCESS
        76                 20080135924                Multilayered box in FDSOI MOSFETS
        77                 20080093670                SIGNAL AND/OR GROUND PLANES WITH DOUBLE BURIED
                                                      INSULATOR LAYERS AND FABRICATION PROCESS
        78                 20070018203                Strain inducing multi-layer cap
        79                 20070018166                Stacked transistors and process
        80                 20060246691                Signal and/or ground planes with double buried insulator layers and
                                                      fabrication process




 PATENTS ISSUED:

       As per the USPTO website the following are recent utility patents:

        PAT.                                     Titl
        NO.                                      e
        1                  10,989,871                             Protection layers for polymer modulators/waveguides
        2                  10,886,694                             Hermetic capsule and method
        3                  10,825,912                             Integrated epitaxial metal electrodes
        4                  10,754,093                             Fabrication process of polymer based photonic apparatus
                                                                  and the apparatus

       As per the USPTO website the following are utility patents issued:

        PAT.                                   Titl
        NO.                                    e




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        1              10,615,141                     Pnictide buffer structures and devices for GaN base
                                                      applications
        2              10,605,987                     Re-based integrated photonic and electronic layered structures
        3              10,591,755                     Direct-drive polymer modulator methods of fabricating and
                                                      materials therefor
        4              10,574,025                     Hermetic capsule and method for a monolithic photonic
                                                      integrated circuit
        5              10,573,686                     Epitaxial AIN/cREO structure for RF filter applications
        6              10,566,944                     Layer structures for RF filters fabricated using rare earth
                                                      oxides and epitaxial aluminum nitride
        7              10,527,786                     Polymer modulator and laser integrated on a common
                                                      platform and method
        8              10,520,673                     Protection layers for polymer modulators/waveguides
        9              10,511,146                     Guide transition device with digital grating deflectors and
                                                      method
        10             10,509,164                     Guide transition device and method
        11             10,431,729                     Josephson junction using molecular beam epitaxy
        12             10,332,857                     Rare earth pnictides for strain management
        13             10,162,111                     Multi-fiber/port hermetic capsule sealed by metallization and
                                                      method
        14             10,128,350                     Integrated epitaxial metal electrodes
        15             10,075,143                     Layer structures for RF filters fabricated using rare earth
                                                      oxides and epitaxial aluminum nitride
        16             9,496,132                      Nucleation of III-N on REO templates
        17             9,443,939                      Strain compensated REO buffer for III-N on silicon
        18             9,236,249                      III-N material grown on REN epitaxial buffer on Si substrate
        19             9,105,471                      Rare earth oxy-nitride buffered III-N on silicon
        20             8,889,978                      III-V semiconductor interface with graded GeSn on silicon
        21             8,878,188                      REO gate dielectric for III-N device on Si substrate
        22             8,872,308                      AlN cap grown on GaN/REO/silicon substrate structure
        23             8,835,955                      IIIO.sub.xN.sub.y on single crystal SOI substrate and III n
                                                      growth platform
        24             8,823,055                      REO/ALO/A1N template for III-N material growth on silicon
        25             8,823,025                      III-N material grown on AIO/AIN buffer on Si substrate
        26             8,794,010                      Laser cooling of modified SOI wafer
        27             8,748,900                      Re-silicide gate electrode for III-N device on Si substrate
        28             8,680,507                      A1N inter-layers in III-N material grown on DBR/silicon
                                                      substrate
        29             8,637,763                      Solar cells with engineered spectral conversion
        30             8,636,844                      Oxygen engineered single-crystal REO template
        31             8,633,569                      AlN inter-layers in III-N material grown on REO/silicon
                                                      substrate
        32             8,623,747                      Silicon, aluminum oxide, aluminum nitride template for
                                                      optoelectronic and power devices



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        33             8,559,097                      Integrated pump laser and rare earth waveguide amplifier
        34             8,553,741                      Integrated rare earth devices
        35             8,542,437                      Earth abundant photonic structures
        36             8,501,635                      Modification of REO by subsequent III-N EPI process
        37             8,455,756                      High efficiency solar cell using IIIB material transition layers
        38             8,394,194                      Single crystal reo buffer on amorphous SiO.sub.x
        39             8,331,413                      Integrated rare earth devices
        40             8,331,410                      Spontaneous/stimulated light emitting .mu.-cavity device
        41             8,049,100                      Multijunction rare earth solar cell
        42             8,039,738                      Active rare earth tandem solar cell
        43             8,039,737                      Passive rare earth tandem solar cell
        44             7,968,384                      Stacked transistors and process
        45             7,967,653                      Full color display
        46             7,821,066                      Multilayered BOX in FDSOI MOSFETS
        47             7,643,526                      Spontaneous/stimulated light emitting .mu.-cavity device
        48             7,605,531                      Full color display including LEDs with rare earth active areas
                                                      and different radiative transistions
        49             7,579,623                      Stacked transistors and process
        50             7,538,016                      Signal and/or ground planes with double buried insulator
                                                      layers and fabrication process
        51             7,388,230                      Selective colored light emitting diode
        52             7,365,357                      Strain inducing multi-layer cap
        53             7,355,269                      IC on non-semiconductor substrate
        54             7,323,396                      Signal and/or ground planes with double buried insulator
                                                      layers and fabrication process
        55             6,999,644                      Discrete optoelectric package
        56             6,966,703                      Self eject latch mechanism for an optical transceiver module
        57             6,795,461                      Optoelectric module
        58             6,663,296                      Optoelectric module
        59             6,412,989                      Directable laser transmission module
        60             6,243,056                      Transceiver with miniature virtual image display
        61             6,228,440                      Perishable media information storage mechanism and method
                                                      of fabrication
        62             6,161,106                      Perishable media system and method of operation
        63             6,158,884                      Integrated communicative watch
        64             6,156,582                      Method of fabricating top emitting ridge VCSEL with self-
                                                      aligned contact and sidewall reflector
        65             6,131,017                      Dual system portable electronic communicator
        66             6,122,023                      Non-speckle liquid crystal projection display
        67             6,121,068                      Long wavelength light emitting vertical cavity surface
                                                      emitting laser and method of fabrication
        68             6,115,618                      Portable electronic device with removable display


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        69             6,111,839                      Optical pickup head including a coherent first order mode
                                                      laser light source
        70             6,097,748                      Vertical cavity surface emitting laser semiconductor chip with
                                                      integrated drivers and photodetectors and method of
                                                      fabrication
        71             6,097,528                      Microscanner for portable laser diode displays
        72             6,096,666                      Holographic textile fiber
        73             6,091,754                      VCSEL having integrated photodetector for automatic power
                                                      control
        74             6,084,697                      Integrated electro-optical package
        75             6,080,690                      Textile fabric with integrated sensing device and clothing
                                                      fabricated thereof
        76             6,069,593                      Display carrier and electronic display control for multiple
                                                      displays in a portable electronic device
        77             6,064,780                      Interconnect substrate with a single contact accessible in an
                                                      upper and an end surface
        78             6,061,485                      Method for wavelength division multiplexing utilizing donut
                                                      mode vertical cavity surface emitting lasers
        79             6,061,380                      Vertical cavity surface emitting laser with doped active region
                                                      and method of fabrication
        80             6,029,073                      Display carrier with binocular viewing for a portable
                                                      electronic device
        81             6,026,111                      Vertical cavity surface emitting laser device having an
                                                      extended cavity
        82             6,022,760                      Integrated electro-optical package and method of fabrication
        83             6,021,147                      Vertical cavity surface emitting laser for high power single
                                                      mode operation and method of fabrication
        84             6,021,146                      Vertical cavity surface emitting laser for high power single
                                                      mode operation and method of fabrication
        85             6,008,067                      Fabrication of visible wavelength vertical cavity surface
                                                      emitting laser
        86             5,978,398                      Long wavelength vertical cavity surface emitting laser
        87             5,974,071                      VCSEL with integrated photodetectors for automatic power
                                                      control and signal detection in data storage
        88             5,966,399                      Vertical cavity surface emitting laser with integrated
                                                      diffractive lens and method of fabrication
        89             5,959,315                      Semiconductor to optical link
        90             5,956,364                      Vertical cavity surface emitting laser with shaped cavity
                                                      mirror and method of fabrication
        91             5,956,363                      Long wavelength vertical cavity surface emitting laser with
                                                      oxidation layers and method of fabrication
        92             5,953,355                      Semiconductor laser package with power monitoring system
        93             5,946,121                      IrDA data link with VCSEL light source
        94             5,943,359                      Long wavelength VCSEL
        95             5,943,357                      Long wavelength vertical cavity surface emitting laser with
                                                      photodetector for automatic power control and method of
                                                      fabrication



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        96             5,939,773                      Semiconductor laser package including a lead frame and
                                                      plastic resin housing
        97             5,936,929                      Optical submodule and method for making
        98             5,923,696                      Visible light emitting vertical cavity surface emitting laser
                                                      with gallium phosphide contact layer and method of
                                                      fabrication
        99             5,914,973                      Vertical cavity surface emitting laser for high power operation
                                                      and method of fabrication
        100            5,906,004                      Textile fabric with integrated electrically conductive fibers
                                                      and clothing fabricated thereof
        101            5,905,750                      Semiconductor laser package and method of fabrication
        102            5,903,586                      Long wavelength vertical cavity surface emitting laser
        103            5,898,722                      Dual wavelength monolithically integrated vertical cavity
                                                      surface emitting lasers and method of fabrication
        104            5,886,972                      Recording information in a phase change optical medium with
                                                      a vertical cavity surface emitting laser
        105            5,883,912                      Long wavelength VCSEL
        106            5,881,084                      Semiconductor laser for package with power monitoring
                                                      system
        107            5,848,086                      Electrically confined VCSEL
        108            5,838,707                      Ultraviolet/visible light emitting vertical cavity surface
                                                      emitting laser and method of fabrication
        109            5,838,703                      Semiconductor laser package with power monitoring system
                                                      and optical element
        110            5,835,521                      Long wavelength light emitting vertical cavity surface
                                                      emitting laser and method of fabrication
        111            5,831,960                      Integrated vertical cavity surface emitting laser pair for high
                                                      density data storage and method of fabrication
        112            5,821,571                      Dual sided integrated electro-optical package
        113            5,818,404                      Integrated electro-optical package
        114            5,815,524                      VCSEL including GaTlP active region
        115            5,796,769                      Red light vertical cavity surface emitting laser
        116            5,789,733                      Smart card with contactless optical interface
        117            5,774,486                      Waveguide power monitoring system for vertical cavity
                                                      surface emitting lasers
        118            5,764,671                      VCSEL with selective oxide transition regions
        119            5,757,836                      Vertical cavity surface emitting laser with laterally integrated
                                                      photodetector
        120            5,757,829                      Flip chip power monitoring system for vertical cavity surface
                                                      emitting lasers
        121            5,757,741                      CD ROM head with VCSEL or VCSEL array
        122            5,751,757                      VCSEL with integrated MSM photodetector
        123            5,751,471                      Switchable lens and method of making
        124            5,748,665                      Visible VCSEL with hybrid mirrors
        125            5,748,161                      Integrated electro-optical package with independent menu bar




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        126            5,742,630                      VCSEL with integrated pin diode
        127            5,741,724                      Method of growing gallium nitride on a spinel substrate
        128            5,739,800                      Integrated electro-optical package with LED display chip and
                                                      substrate with drivers and central opening
        129            5,732,103                      Long wavelength VCSEL
        130            5,719,893                      Passivated vertical cavity surface emitting laser
        131            5,719,892                      Hybrid mirror structure for a visible emitting VCSEL
        132            5,710,441                      Microcavity LED with photon recycling
        133            5,708,280                      Integrated electro-optical package and method of fabrication
        134            5,706,306                      VCSEL with distributed Bragg reflectors for visible light
        135            5,703,664                      Integrated electro-optic package for reflective spatial light
                                                      modulators
        136            5,699,073                      Integrated electro-optical package with carrier ring and
                                                      method of fabrication
        137            5,661,075                      Method of making a VCSEL with passivation
        138            5,654,228                      VCSEL having a self-aligned heat sink and method of making
        139            5,644,369                      Switchable lens/diffuser
        140            5,638,392                      Short wavelength VCSEL
        141            5,636,298                      Coalescing optical module and method for making
        142            5,633,886                      Short wavelength VCSEL with Al-free active region
        143            5,625,734                      Optoelectronic interconnect device and method of making
        144            5,574,744                      Optical coupler
        145            5,563,900                      Broad spectrum surface-emitting led
        146            5,557,626                      Patterned mirror VCSEL with adjustable selective etch region
        147            5,555,341                      Waveguide with an electrically conductive channel
        148            5,550,941                      Optoelectronic interface module
        149            5,546,413                      Integrated light emitting device
        150            5,545,359                      Method of making a plastic molded optoelectronic interface
        151            5,543,958                      Integrated electro-optic package for reflective spatial light
                                                      modulators
        152            5,540,799                      Method of fabricating optical waveguide from a laminate
        153            5,539,554                      Integrated electro-optic package for reflective spatial light
        154            5,539,200                      Integrated optoelectronic substrate
        155            5,538,919                      Method of fabricating a semiconductor device with high heat
                                                      conductivity
        156            5,534,888                      Electronic book
        157            5,530,715                      Vertical cavity surface emitting laser having continuous
                                                      grading
        158            5,521,992                      Molded optical interconnect
        159            5,517,348                      Voltage controlled transparent layer for a bi-directinal device
        160            5,511,138                      Interlocking waveguide and method of making




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        161            5,498,883                      Superluminescent edge emitting device with apparent vertical
                                                      light emission and method of making
        162            5,493,437                      External communication link for a credit card pager
        163            5,491,491                      Portable electronic equipment with binocular virtual display
        164            5,486,946                      Integrated electro-optic package for reflective spatial light
                                                      modulators
        165            5,485,318                      Dual image manifestation apparatus with integrated electro-
                                                      optical package
        166            5,482,891                      VCSEL with an intergrated heat sink and method of making
        167            5,482,658                      Method of making an optoelectronic interface module
        168            5,478,774                      Method of fabricating patterned-mirror VCSELs using
                                                      selective growth
        169            5,473,716                      Fiber bundle interconnect and method of making same
        170            5,469,185                      Remote sensory unit and driver
        171            5,468,656                      Method of making a VCSEL
        172            5,468,582                      Fused optical layer and method of making
        173            5,467,215                      Integrated electro-optic package for reflective spatial light
                                                      modulators
        174            5,466,633                      Optical reading head and method for making same
        175            5,452,387                      Coaxial optoelectronic mount and method of making same
        176            5,446,752                      VCSEL with current blocking layer offset
        177            5,437,092                      Method of making contact areas on an optical waveguide
        178            5,432,809                      VCSEL with Al-free cavity region
        179            5,432,630                      Optical bus with optical transceiver modules and method of
                                                      manufacture
        180            5,428,704                      Optoelectronic interface and method of making
        181            5,422,901                      Semiconductor device with high heat conductivity
        182            5,416,870                      Optoelectronic interface device and method with reflective
                                                      surface
        183            5,408,547                      Optical read/write head
        184            5,400,423                      Molded star coupler and method of making same
        185            5,400,352                      Semiconductor laser and method therefor
        186            5,390,275                      Molded waveguide and method for making same
        187            5,389,312                      Method of fabricating molded optical waveguides
        188            5,388,120                      VCSEL with unstable resonator
        189            5,369,529                      Reflective optoelectronic interface device and method of
                                                      making
        190            5,369,415                      Direct retinal scan display with planar imager
        191            5,367,593                      Optical/electrical connector and method of fabrication
        192            5,361,317                      Assembly with fixture aligning and affixing an optical fiber to
                                                      an optical device
        193            5,359,686                      Interface for coupling optical fibers to electronic circuitry
        194            5,359,669                      Remote retinal scan identifier



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        195            5,359,618                      High efficiency VCSEL and method of fabrication
        196            5,358,880                      Method of manufacturing closed cavity LED
        197            5,351,331                      Method and apparatus for splicing optical fibers with signal
                                                      I/O
        198            5,351,257                      VCSEL with vertical offset operating region providing a
                                                      lateral waveguide and current limiting and method of
                                                      fabrication
        199            5,349,210                      Optical reading head with angled array
        200            5,348,616                      Method for patterning a mold
        201            5,345,530                      Molded waveguide and method for making same
        202            5,345,527                      Intelligent opto-bus with display
        203            5,345,524                      Optoelectronic transceiver sub-module and method for
                                                      making
        204            5,337,397                      Optical coupling device and method for making
        205            5,337,391                      Optoelectronic sub-module and method of making same
        206            5,335,300                      Method of manufacturing I/O node in an optical channel
                                                      waveguide and apparatus for utilizing
        207            5,325,451                      Modular optical waveguide and method for making
        208            5,324,964                      Superluminescent surface light emitting device
        209            5,323,477                      Contact array imager with integral waveguide and electronics
        210            5,313,545                      Molded waveguide with a unitary cladding region and method
                                                      of making
        211            5,309,537                      Optoelectronic coupling device and method of making
        212            5,286,982                      High contrast ratio optical modulator
        213            5,282,071                      Contact areas on an optical waveguide and method of making
        214            5,276,762                      Magnetic holding methods for optical fiber I/O assembly
        215            5,276,754                      Optoelectronic mount and method for making
        216            5,271,083                      Molded optical waveguide with contacts utilizing leadframes
                                                      and method of making same
        217            5,265,184                      Molded waveguide and method for making same
        218            5,249,245                      Optoelectroinc mount including flexible substrate and method
                                                      for making same
        219            5,230,030                      Interface coupling electronic circuitry
        220            5,228,101                      Electrical to optical links using metalization
        221            5,225,816                      Electrical connector with display
        222            5,218,465                      Intelligent interconnects for broadband optical networking
        223            5,172,384                      Low threshold current laser
        224            5,170,448                      Optical waveguide apparatus and method for partially
                                                      collecting light
        225            5,125,054                      Laminated polymer optical waveguide interface and method
                                                      of making same
        226            5,116,461                      Method for fabricating an angled diffraction grating
        227            5,068,007                      Etching of materials in a noncorrosive environment



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        228            5,067,829                      Dynamic optical beam steering
        229            5,045,908                      Vertically and laterally illuminated p-i-n photodiode
        230            5,034,092                      Plasma etching of semiconductor substrates




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   9. F. Erdem Arkuna, Michael Lebbyb, Rytis Dargisb, Radek Rouckab, Robin S. Smithb and



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    4) Talk and abstract: RIE and MIE comparison for optoelectronic integrated circuit
       processing

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     Professor Michael S. Lebby, B. Eng. (Hons), MBA, Ph.D., D. Eng, Fellow NAI, IEEE, OSA; C. Eng.
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           a. Nov 1988
           b. IEEE LEOS Conference, Santa Clara, California
           c. http://books.google.com/books/about/LEOS_88.html?id=LUS0cQAACAAJ
   5) Reviewer: European Commission ICT-29-2016: Photonics KET 2016 (a(iii) Pervasive
       high-specificity and high-sensitivity sensing for a safer environment)
           a. 12th May 2016
           b. European Commission
           c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
               pics/5094-ict-29-2016.html
   6) Paper: Study of the Structural and Thermal Properties of Single Crystalline Epitaxial
       Rare-Earth-Metal Oxide Layers Grown on Si(111)
           a. 2011
           b. ECS Transactions 16, 161 (2011)
           c. http://ecst.ecsdl.org/content/41/3/161
   7) Invited talk and abstract: Use of VCSELs for the MONSOON parallel digital computer
           a. Jan 1991
           b. International workshop on architectures for free-space digital computing,
               Colorado.
   8) Invited talk and abstract: VCSEL Technology and Progress
           a. 1993
           b. IEEE Waves and Devices, Phoenix Section, Tempe, Arizona, Arizona State
               University
   9) Paper: An inversion channel technology for opto-electronic integration
           a. Sep 1988
           b. "Optical Communication, 1988. (ECOC 88). Fourteenth European Conference on
               (Conf. Publ. No.292), Publication Year: 1988, Page(s): 211 - 214 vol.1"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=93560
   10) Invited Talk/Panel session: EPIC technology workshop on Photonic Integrated Circuits
       (PIC) packaging standardization
           a. 18th Jun 2014
           b. EPIC
           c. http://epic-assoc.com/contact-us/?at=94
   11) Invited talk and abstract: Packaging VCSELs with GUIDECAST(tm) an overmolded
       waveguide packaging platform
           a. Aug/1994
           b. IEEE Tropical workshop on optoelectronic packaging, Breckenridge, Colorado
   12) Invited talk/keynote lecture: Compound semiconductors driving photonics technologies
       to become the future for high-speed communications through integration, performance,
       and sustainability
           a. 12th Jun 2014
           b. Glyndwr University, Wales, UK
           c. http://www.glyndwr.ac.uk/en/AboutGlyndwrUniversity/Newsandmediacentre/Ne
               wsarchive/PressReleases2014/UniWeek/

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   13) Invited talk and abstract: Ridge waveguide VCSELs: improvement over planar VCSELs
            a. May/1994
            b. USA Laser workshop, CLEO, Baltimore, MD
   14) Special invited talk: "10 Grand Challenges in Photonics"
            a. 31st Oct 2007
            b. Sixth annual symposium UNCC Optoelectronics Center
            c. http://opticscenter.uncc.edu/node/265
   15) Keynote talk: Entitled "The rise of PIC based technologies over the next decade and how
       datacenters and telecom may enable other exciting applications"
            a. 1st May 2017
            b. Xilinx as part of their; "Xilinx silicon technology series seminars"
            c. http://www.xilinx.com
   16) Invited talk: Worldwide Optoelectronic Trends and Economic Opportunities.
            a. 18th Nov 2005
            b. UNCC 4th Annual symposium: UNC Charlotte Center for Optoelectronics and
                Optical Communications
            c. http://opticscenter.uncc.edu/node/275
   17) Reviewer: European Commission ICT-29-2016: Photonics KET 2016 (section a(i)
       Biophotonics: advanced imaging for in-depth disease diagnosis)
            a. 10th May 2016
            b. European Commission
            c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
                pics/5094-ict-29-2016.html
   18) Invited talk: Global optoelectronics technology roadmaps and trends
            a. 27th Oct 2006
            b. UNCC 5th Annual Symposium: UNC Charlotte Center for Optoelectronics and
                Optical Communications
            c. http://opticscenter.uncc.edu/node/268
   19) Keynote talk: Global optoelectronics and green photonics trends
            a. 28th Oct 2009
            b. UNCC 8th Annual Symposium: Optoelectronics Center
            c. http://opticscenter.uncc.edu/node/255
   20) Invited talk and abstract: Optoelectronic Devices and Applications
            a. 1993
            b. IEEE workshop on optical interconnects
   21) Reviewer: European Commission ICT-29-2016 Photonics KET (b) Innovation Actions
       (ii) Pilot line for assembly and packaging
            a. 15th May 2016
            b. European Commission
            c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
                pics/5094-ict-29-2016.html
   22) Keynote talk and abstract: Is this the rise of green photonics?
            a. Dec 2009

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           b. ICFO (Institut de Ciancies Fotoniques) Barcelona, Spain
           c. http://www.icfo.es/images/news/ICFO%20CLP%20DAY%20Program.pdf
   23) Paper: Low-cost high-performance optical interconnect
           a. 1996
           b. Proceedings, Conference on Lasers and Electro-Optics, (CLEO), vol 9, 1996
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=864750
   24) Technical Advisor/Expert: 2nd review of MIRPHAB pilot line consortium funded by
       H2020 at European Commission
           a. 20th Feb 2017
           b. 2nd review for MIRPHAB consortium at the European Commission, Brussels
           c. European Commission, Brussels
           d. https://www.iaf.fraunhofer.de/en/research/research-areas/semiconductor-
               lasers/mirphab.html
   25) Paper: Performance and advantages of BICFETs versus HBTs
           a. Sep 1988
           b. "Bipolar Circuits and Technology Meeting, 1988., Proceedings of the 1988
               Digital Object Identifier: 10.1109/BIPOL.1988.51041 Publication Year: 1988 ,
               Page(s): 41- 45"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=51041
   26) Talk and abstract: Magnetron Ion Etching of self aligned HFETs
           a. May 1987
           b. Electrochemical Society (ECS) Conference proceedings SOTAPOCS VI,
               Compound Semiconductors, Philadelphia
           c. http://www.electrochem.org/meetings/biannual/past_meetings_list.htm
   27) Project advisor: European Commission ICT-28-2015 Cross-Cutting ICT KETs:
       Innovation Action (b) Pilot line for PIC fabrication on III-V and/or dielectric based
       platforms for PICs (Photonic Integrated Circuits)
           a. 24th Sep 2015
           b. European Commission
           c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
               pics/916-ict-28-2015.html
   28) Paper: Integrated high reflectivity silicon substrates for GaN LEDs
           a. 13th Jan 2012
           b. Volume 9, Issue 3-4, pages 814-817, March 2012, physica status solidi (c)
           c. http://onlinelibrary.wiley.com/doi/10.1002/pssc.201100393/abstract
   29) Paper: Silicon light emitting device based on rare earth oxide superlattice
           a. Sep 2010
           b. 7th IEEE International conference on Group IV photonics, Beijing China
           c. http://ieeexplore.ieee.org/xpl/login.jsp?tp=&arnumber=5643407&url=http%3A%
               2F%2Fieeexplore.ieee.org%2Fiel5%2F5623516%2F5643317%2F05643407.pdf
               %3Farnumber%3D5643407
   30) Paper: Integrated high reflectivity silicon substrates for GaN LEDs
           a. 13th Jan 2012

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           b. "Conference Publication: ICNS-9 “Contributed Article Integrated high reflectivity
               silicon substrates for GaN LEDs
           c. F. Erdem Arkun*,Rytis Dargis, Robin Smith, David Williams, Andrew Clark,
               Michael Lebby
           d. Article first published online: 13 JAN 2012" ICNS-9 “Contributed Article
               Integrated high reflectivity silicon substrates for GaN LEDs
           e. http://onlinelibrary.wiley.com/doi/10.1002/pssc.201100393/abstract
   31) Cover story/Interview: Does a foundry model add up for InP optoelectronics
           a. Jul 2005
           b. Interview with Michael Hatcher from Compound Semiconductor magazine.
               Volume 11, Number 7, August 2005 pp 17-19
           c. Compound Semiconductor: Three-fives and silicon heterostructures
           d. http://www.compoundsemiconductor.net
   32) Paper: A low-cost high-performance optical interconnect
           a. 1996
           b. "Components, Packaging, and Manufacturing Technology, Part B: Advanced
               Packaging, IEEE Transactions on Volume: 19 , Issue: 3 Digital Object Identifier:
               10.1109/96.533892 Publication Year: 1996 , Page(s): 532- 539"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=533892
   33) Co-Chairman Optopelectronics session, 48th ECTC Conference
           a. 25th May 1998
           b. Co-chairman Optoelectronics session, 48th ECTC Conference Seattle,
               Washington
           c. ECTC, IEEE-CPMT, EIA/ECA
           d. http://www.ectc.net
   34) Paper: GaAs/AlGaAs inversion channel devices for an integrated opto-electronic
       technology
           a. Jun 1988
           b. "Electron Devices, IEEE Transactions on Volume: 35, Issue: 12 Digital Object
               Identifier: 10.1109/16.8871 Publication Year: 1988"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=8871
   35) Paper & Poster: 100Gb/s Multi-guide vertical integration transmitter PIC in InP for fiber-
       optics interconnects
           a. 24th Sep 2013
           b. Sasa Ristic and Michael Lebby, Valery Tolstikhin, and Kirill Pimenov,
           c. ECOC 2013
           d. http://www.ecoc2013.org/sc2.html
   36) Paper: Photonic Intgeration: what is the Holy Grail?
           a. 14th Oct 2009
           b. Compound Semiconductor
           c. http://compoundsemiconductor.net/csc/features-details.php?id=40435
   37) Paper: Optical components and their role in optical networks
           a. 2001

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           b. Electronic Components and Technology Conference, 2001. Proceedings., 51st
           c. http://ieeexplore.ieee.org/xpl/login.jsp?tp=&arnumber=927765&url=http%3A%2
               F%2Fieeexplore.ieee.org%2Fxpls%2Fabs_all.jsp%3Farnumber%3D927765
   38) Paper: Green photonics technology and markets
           a. Sep 2009
           b. Green photonics technology will open up opportunities over the next decade for
               new and creative products to be designed as the interest in a green, clean and
               energy efficient lifestyle continues to grow. This overview forecasts the
               optoelectronics expectations for green photonics technology and associated
               markets over the next decade and explores just a few of the exciting opportunities
               from green photonics technology.
           c. Electronics Letters, Vol 45, issue 20
           d. http://ieeexplore.ieee.org/xpl/login.jsp?tp=&arnumber=5270369&url=http%3A%
               2F%2Fieeexplore.ieee.org%2Fiel5%2F2220%2F5270368%2F05270369.pdf%3F
               arnumber%3D5270369
   39) Paper: OEICs: commercialization at last
           a. Jul 2001
           b. Compound Semiconductor, vol. 7. no. 6, pp. 81-2, 85, July 2001
           c. http://www.compoundsemiconductor.net/csc/features-
               details.php?cat=features&id=11719
   40) Report: Photonics industry-university collaborations (PICs)
           a. 1st Jun 2009
           b. OIDA Final Technical Report
           c. http://oai.dtic.mil/oai/oai?verb=getRecord&metadataPrefix=html&identifier=AD
               A502737
   41) Invited Paper and Presentation: Approaching the problem of high density interconnects in
       the 'Monsoon' data-flow parallel processor with optics"
           a. 28th Jan1991
           b. AFOSR, ONR, DARPA: A compendium of position papers from the workshop on
               architectures for free space digital optical computing
           c. http://www.researchgate.net/publication/235184814_A_Compendium_of_Positio
               n_Papers_from_the_Workshop_on_Architectures_for_Free_Space_Digital_Optic
               al_Computing_Held_in_Vail_Colorado_on_28-30_January_1991
   42) Session organizer/Committee member: Market Focus at ECOC exhibit 2015
           a. 28th Sep 2015
           b. Session organizer/Committee member: Market Focus at ECOC exhibit 2015 with
               sessions in broadband access, datacentres, service provider optical transmission,
               network agility/SDN, photonics integration and packet optical transport. Nexus
               Business Media Ltd
           c. http://webcache.googleusercontent.com/search?q=cache:Qb68vjzhV5IJ:www.eco
               cexhibition.com/visitorhome/marketfocus2015/cfs+&cd=1&hl=en&ct=clnk&gl=
               us&client=safari


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   43) Invited Presentation and Abstract: VCSEL Technology - VCSEL technology is discussed
       with the work between AMP and MODE (division of EMCORE) fiber optics.
           a. Sep 1998
           b. ECOC European Laser Workshop (in association with ECOC 1998, Madrid,
               Spain
           c. https://openlibrary.org/books/OL22322573M/ECOC_'98_24th_European_Confer
               ence_on_Optical_Communication
   44) Paper and Invited talk: VCSEL Devices and Packaging for Fiber Optic Transceivers
           a. 30th Mar 1998
           b. OSA Technical Digest: Integrated Photonics Research (IPR) 1998 paper: IWD1
           c. http://www.opticsinfobase.org/abstract.cfm?URI=IPR-1998-IWD1
   45) Invited Paper: Elegant cost effective optical subsystems for next generation optical
       networks
           a. 13th Nov 2002
           b. Electronicast: 4th Annual OADM and advanced photonics communication
               networks conference - market and technology trends, San Mateo, California
           c. http://www.electronicastconsultants.com/
   46) Paper: Key challenges and results of VCSELs in data links
           a. 1996
           b. "Lasers and Electro-Optics Society Annual Meeting, 1996. LEOS 96., IEEE
               Volume: 2 Digital Object Identifier: 10.1109/LEOS.1996.571604 Publication
               Year: 1996 , Page(s): 167 - 168 vol.2"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=571604
   47) Paper: A p-channel BICFET in the InGaAs/InAlAs material system
           a. Jun 1988
           b. "Electron Device Letters, IEEE Volume: 9, Issue: 6 Digital Object Identifier:
               10.1109/55.716 Publication Year: 1988 , Page(s): 278 - 280"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=716&tag=1
   48) Interview Optcon (Japan), "Ignis Optics: Small is beautiful"
           a. 15th Aug 2002
           b. Overview of Ignis Optics strategy for fiber optic transceivers with innovative
               optoelectronic devices and packaging (in Japanese).
           c. Optcon volume 8, no 161, pp50-51
           d. http://magissuelist.nichigai.co.jp/detail?id=000000098732
   49) Book: Research in optoelectronic devices volume II
           a. 1996
           b. Annual collection of optoelectronic device and reliability department papers at the
               photonics technology center, Motorola, Tempe, USA. Key focus was the
               commercialization of VCSEL technology, especially at 850nm for the optobus
               parallel array product and other associated VCSEL prototypes. Demonstration of
               660nm VCSELs discussed.
           c. Motorola


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   50) Keynote invited speech: Green Photonics and GaN-on-Si for LEDs and Ge-on-Si for high
       Efficiency Multi-junction for PVs
           a. Dec 2011
           b. Conference proceedings: High Capacity Optical Networks and Enabling
               Technologies (HONET), 2011
           c. http://honet.uncc.edu/archive/honet11/speakers.htm
   51) Invited Presentation: "Starting a company and hitting the ground running"
           a. 7th Feb 2001
           b. Storm Ventures limited partner meeting
           c. http://www.stormventures.com
   52) Book: Research in VCSEL devices - Annual technical review              1995
           a. 1995
           b. Annual collection of optoelectronic device and reliability department papers at the
               photonics technology center, Motorola, Tempe, USA.
           c. Key focus was the commercialization of VCSEL technology, especially at 850nm
               for the Optobus™ parallel array product and other associated VCSEL prototypes.
                       Motorola
   53) Paper: Optical bistability in vertical cavity surface emitting lasers with a simple intra-
       cavity epitaxial absorber layer
           a. 4th Oct 1998
           b. Conference Digest: Semiconductor Laser Conference, 1998. ISLC 1998 NARA.
               1998 IEEE 16th International
   54) Invited Paper (extended abstract) and Presentation: Automated commercial fabrication of
       wideband tunable lasers using ultra-high resolution e-beam lithography
           a. 27th Oct 2004
           b. IoP/CS-MAX extended abstract at the Compound Semiconductor Manufacturing
               Expo, Monterey, California, pp92-94 in the technical digest.
           c. http://www.compoundsemiconductor.net
   55) Trial & Cross: Testimony before the US-China economic and security review
       commission on the optoelectronics industry
           a. 24th Mar 2009
           b. "Expert witness and testimony on Capitol Hill
           c. Final oral comments: In preparing this testimony, many people I contacted
               stressed the importance of decisive action by the U.S. government and industry
               now. Optoelectronics sits at the intersection of multiple technical disciplines. U.S.
               universities and industry are particularly adept at bringing diverse people together
               to work on complex problems. We have, by the nature of our inherent diversity,
               an advantage. What for many presents a challenge, for us comes naturally. Thank
               you for this opportunity to present our industry’s perspective. "
           d. United States China Commission
           e. http://www.uscc.gov/hearings/2009hearings/written_testimonies/09_03_24_wrts/
               09_03_24_lebby_statement.pdf
   56) Paper: Growing at light speed

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           a. The article discusses the significance of optoelectronics in high technology
              manufacturing industries. Optoelectronics components are being used in the
              manufacturing cameras of mobile phones, plasma display panel TVs and LCD
              TVs, among others. Since its application allows product differentiation and
              innovation, it has spurred growth in segments such as the
              consumer/entertainment, computer and communications industries. The article
              also discusses the differences in the material and processing equipment such as
              silicon photonics.
           b. Sep 2007
           c. IEEE Circuits Assembly; Sep 2007, Vol. 18 Issue 9, p44
           d. http://www.thefreelibrary.com/Growing+at+light+speed%3a+after+a+false+start
              %2c+OE+is+fast+becoming+a...-a0168812805
   57) Paper: Fiber optic sensing technology: emerging markets and trends
           a. 2007
           b. Third European Workshop on Optical Fibre Sensors.
           c. Edited by Cutolo, Antonello; Culshaw, Brian; Lopez-Higuera, Joshua Miguel.
           d. Proceedings of the SPIE, Volume 6619, pp. 661902 (2007). (SPIE Homepage)
           e. http://adsabs.harvard.edu/abs/2007SPIE.6619E...2H
   58) Paper: O/e-MCM packaging with new, patternable dielectric and optical materials
           a. May 1998
           b. Electronic Components &amp; Technology Conference, 1998. 48th IEEE
           c. http://ieeexplore.ieee.org/xpl/login.jsp?tp=&arnumber=678929&url=http%3A%2
              F%2Fieeexplore.ieee.org%2Fiel4%2F5582%2F14953%2F00678929.pdf%3Farnu
              mber%3D678929
   59) Video Interview: ECOC Market Focus on Datacenters and emerging new PIC
       technologies that include silicon and polymer photonics
           a. 3rd Oct 2016
           b. Video taped interview by ECOC Exhibition Market Focus on Datacenters and
              emerging new PIC technologies that include polymer photonics.
           c. ECOC Exhibition
           d. http://www.ecocexhibition.com/interviews2016
   60) Paper: Characteristics of VCSELs and VCSEL arrays for Optical Data Links
           a. 10th Dec 1996
           b. Motorola: Technical Enrichment Matrix Conference, Motorola SPS- SABA,
              Hilton Pavilion, Mesa, Az
   61) Paper: Very high-transconductance heterojunction field-effect transistor (HFET)
           a. Jan 1987
           b. "A new form of FET has been demonstrated in the GaAs/AlGaAs material
              system. Designated the HFET, it has shown a transconductance of 500mS/mm at
              300 K for a nominal Lg = 2/un and a drain current of 430mA/mm. The
              conduction occurs in an inversion channel at the heterointerface"
           c. "Electronics Letters Volume: 23, Issue: 2 Digital Object Identifier:
              10.1049/el:19870056 Publication Year: 1987 , Page(s): 77 - 79"

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           d. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=4257306
   62) Keynote Talk: Industry 'Optomism'
           a. 30th Apr 2001
           b. Electronicast; Fiber Optics for the next decade conference; 13th Annual Monterey
               conference      http://www.electronicastconsultants.com
   63) Invited talk and moderator: Integrated photonics pilot lines
           a. 14th Nov 2014
           b. "Photonics Pilot Line Workshop 14 November 2014 - Brussels, Belgium
           c. European Commission and Photonics21
           d. http://www.photonics21.org/download/Events/DraftagendaPhotonicsPilotLinewor
               kshop-Website.pdf
   64) Invited Talk and Abstract: VCSEL/detector technology for parallel optical interconnects
           a. 17th Jun 1997
           b. International Workshop for new technologies, interconnects, and communications
               in distributed and parallel systems by IRIT, ONERA, CERT, CNRS, and LAAS
               (France)
   65) Invited Talk: OIDA optoelectronics markets, technology and opportunities for
       optofluidics
           a. 20th Oct 2006
           b. Organized by the DARPA center for optofluidics: translational research and
               commercialization workshop.
           c. DARPA Optofluidics industry forum, UCSD San Diego, CA
           d. http://www.biophot.caltech.edu/optofluidics/
   66) Article: "Optoelectronics Technology: New and Exciting Markets in Consumer and
       Entertainment"
           a. 10th Jan 2007
           b. "The total optoelectronics components and enabled products grew 20% in 2005 to
               $364 billion, from $304 billion in 2004. Components grew 17% in 2005 to $104
               billion, from $89 billion in 2004. When flat panel displays are excluded as
               components, components grew 10% in 2005 to $30 billion, from $27 billion in the
               previous year. Enabled products grew 21% to $260 billion in 2005, from $215
               billion in 2004.
           c. IEEE CPMT Santa Clara
           d. http://www.cpmt.org/scv/meetings/cpmt0701.html
   67) Paper: Characteristics of VCSEL arrays for parallel optical interconnects
           a. 1996
           b. "Electronic Components and Technology Conference, 1996. Proceedings., 46th
               Digital Object Identifier: 10.1109/ECTC.1996.517404 Publication Year: 1996 ,
               Page(s): 279 - 291"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=517404
   68) Paper: Demonstration of a p-channel GaAs/AlGaAs BICFET
           a. Feb 1988


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           b. "Electron Device Letters, IEEE Volume: 9, Issue: 2 Digital Object Identifier:
               10.1109/55.2048 Publication Year: 1988 , Page(s): 84 - 86"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=2048
   69) Reviewer: European Commission ICT-29-2016 Photonics KET (b) Innovation Actions (i)
       Application driven core photonic devices integrated in systems.
           a. 14th May 2016
           b. European Commission
           c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
               pics/5094-ict-29-2016.html
   70) Paper: Optoelectronics Roadmap OIDA-iNEMI
           a. May 2007
           b. IEEE Packaging and Assembly
   71) Article: A New Model for the Optoelectronic Indium-based Semiconductor Industry
           a. May 2006
           b. OSA: Optics and Photonics News
           c. http://www.osa-opn.org/Content/ViewFile.aspx?id=10456
   72) Book: Optoelectronic Markets 2005
           a. Jun 2005
           b. Comprehensive market report and forecast of current optoelectronics markets,
               needs, technologies, and applications. This report forecasts the current state and
               direction of the optoelectronics industry.
           c. OIDA
           d. http://www.oida.org/home/publications/oida-publication-report-library/
   73) Book: Worldwide Optoelectronics Markets and Trends 2006
           a. Jun 2006
           b. Comprehensive market report and forecast of current optoelectronics markets,
               needs, technologies, and applications. This report forecasts the current state and
               direction of the optoelectronics industry.
           c. OIDA, 431 pages
           d. http://www.oida.org/home/publications/oida_publication_report_library/2006_glo
               bal_optoelectronics_industry_market_report/
   74) Project advisor: European Commission ICT-28-2015 Cross-Cutting ICT KETs:
       Innovation Action (b) Pilot line for analytical mid-infrared (MIR) micro-sensors
           a. 22nd Sep 2015
           b. European Commission
           c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
               pics/916-ict-28-2015.html
   75) Video: The importance of photonics roadmapping
           a. 30th Jan 2017
           b. Video on the importance of roadmapping photonics technologies at Photonics
               West San Francisco, 30th Jan 2017. Interview by Photon Delta.
           c. http://www.photondelta.eu
   76) Invited Presentation and Abstract: An investor's perspective on optical interconnects

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           a. 24th May 2000
           b. The talk discusses the investor's perspective on optical interconnects from Intel
               Capital.
           c. IEEE: Workshop on interconnections within high=speed digital systesm
           d. http://www.oi-ieee.org/
   77) Paper: A new heterostructure FET
           a. Dec 1986
           b. "Electron Devices Meeting, 1986 International Volume: 32 Digital Object
               Identifier: 10.1109/IEDM.1986.191323 Publication Year: 1986, Page(s): 817
                       - 821"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=1486581
   78) Panel Session: Semiconductors to Optics
           a. 6th Nov 2000
           b. Representing Intel at the conference, the panel explored the reasons why Intel was
               investing into photonics, optics, and fiber optic communications. Panel
               moderator was Drew Lanza, VC Morgenthaler.
           c. JP Morgan communications components conference: the convergence of optical
               components and communications ICs
           d. http://www.thefreelibrary.com/Endwave+Founder+and+EVP+To+Speak+at+JP+
               Morgan+Communications...-a067529552
   79) Growth of GaN by MOCVD on rare earth oxide on Si(111)
           a. 31th Oct 2013
           b. ECS Transactions, 58, 455 (2013)
           c. http://ecst.ecsdl.org/content/58/4/455.short
   80) Article: OPTICAL MATERIALS: 'On-silicon' engineered substrates speed photonic
       device development
           a. 1st Apr 2013
           b. Laser Focus World
           c. http://www.laserfocusworld.com/articles/print/volume-49/issue-
               04/features/optical-materials---on-silicon--engineered-substrates-speed-phot.html
   81) Panel Session: An adventure into venture capital - lessons from silicon valley
           a. 12th Sep 2002
           b. Evening forum discussion chaired by Professor Richard Harrison, Chair, with
               panel members Pitch Johnson (VC), Brendan Hyland (Nutrior Ventures), Jane
               Karwoski (All-hotels Ltd), and Colin Rutherford (Intelli Partners). Sponsored by
               Scottish Development International, University of Edinburgh, British Council
   82) Paper: Vertical cavity surface emitting laser packaging with auto power control
           a. 18th May 1997
           b. Electronic Components and Technology Conference, 1997. Proceedings., 47th
           c. http://ieeexplore.ieee.org/xpl/articleDetails.jsp?tp=&arnumber=606195&contentT
               ype=Conference+Publications&sortType%3Dasc_p_Sequence%26filter%3DAN
               D(p_IS_Number%3A13278)
   83) Webinar and presentation

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          a. 29th Mar 2011
          b. "The future of photonics webinar and presentation: The Future of Photonics:
              Three Perspectives brings together three expert viewpoints on the future of the
              photonics industry (Michael Lebby will be the expert on market trends and
              photonic integrated circuits (PICs)). You will learn: global optoelectronics market
              outlook through 2021 trends in photonic integrated circuits over the next two
              decades."
          c. Photonics Media
          d. http://www.photonics.com/Webinar.aspx?WebinarID=7
   84) Book: 2007 Global Optoelectronics Industry Market Report and Forecast
          a. Jun 2007
          b. Comprehensive market report and forecast of current optoelectronics markets,
              needs, technologies, and applications. This report forecasts the current state and
              direction of the optoelectronics industry.
          c. OIDA, 517 pages
          d. http://www.oida.org/home/publications/oida_publication_report_library/2007_glo
              bal_optoelectronics_industry_market_report/
   85) Paper: Use of VCSEL arrays for parallel optical interconnects
          a. 10th Apr 1996
          b. Proc. SPIE 2683, Fabrication, Testing, and Reliability of Semiconductor Lasers,
              81 (April 10, 1996); doi:10.1117/12.237679
          c. http://proceedings.spiedigitallibrary.org/proceeding.aspx?articleid=1015866
   86) Book: 2009 Global Optoelectronics Industry Market Report and Forecast
          a. Dec 2009
          b. Comprehensive market report and forecast of current optoelectronics markets,
              needs, technologies, and applications. This report forecasts the current state and
              direction of the optoelectronics industry.
          c. OIDA, 545 pages
          d. http://www.oida.org/home/publications/oida_publication_report_library/2009_glo
              bal_optoelectronics_industry_market_report/
   87) Workshop: The Challenge for Indium Phosphide Photonic Development and the Optical
       Foundry
          a. 2006
          b. "Workshop chairman and editor of the report.
          c. Abstract: Indium Phosphide, InP, is a semiconductor material with properties that
              make it particularly suitable for optoelectronic devices. Optical communications
              requirements drove its initial development. Recently, the applications for InP
              semiconductor devices have broadened to include high-speed electronics and
              optical sensors. This report examines the current state of the InP device market
              and its future direction. Addresses challenges for a pure foundry play and the role
              for InP devices. Seeks to find the best ways to address the needs for InP device
              development in the U.S."
          d. OIDA

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          e. http://www.oida.org/home/publications/oida_publication_report_library/the_chall
              enge_for_indium_phosphide_photonic_develo/
   88) Workshop: Nitride LED and Laser Technology and Its Impact on the Display, Medical,
       and Storage Industries
          a. 2006
          b. Workshop chairman and editor of the report:
          c. Abstract: Since the development of p-type material in 1989, research in nitride
              emitter technology has developed rapidly over the last 15 years. This material
              system provided a new range of color applications that could be better utilized
              and with far better reliability than the II-VI material system. This report examines
              material systems and developments for short wavelength (green-ultraviolet) lasers
              and LEDs.
          d. OIDA
          e. http://www.oida.org/home/publications/oida_publication_report_library/nitride_le
              d_and_laser_technology_and_its_impact_on/
   89) Workshop: High Power Diode Laser Sources and Their Impact on Industrial, Medical,
       and Military Laser Industries
          a. 1st Jul 2006
          b. Workshop chairman and editor of the report:
          c. Abstract: High power semiconductor laser diodes are used in several different
              market segments today. The technology continues to advance and improvements
              in efficiency and power are reported each year. Semiconductor laser diodes are
              used either directly or indirectly to enable new applications or as a replacement
              for older technology approaches. This report examines practical implementations
              and limitations for lasers in the 100 W to 100 kW range and roadmaps and
              developments anticipated over the next five years.
          d. OIDA
          e. http://www.oida.org/home/publications/oida_publication_report_library/high_po
              wer_diode_laser_sources_and_their_impact_on/
   90) Keynote talk and invited abstract: "Integrated photonics as a vehicle for the next
       generation IC"
          a. 9th Sep 2015
          b. Internet Technology Applications (ITA) ITA-15 conference Wrexham, Wales,
              UK 8-11th Sept 2015
          c. http://www.ita15.net/keynote-speaker/
   91) Talk and panel session: Approaches for combining 3-5 and silicon, add functionality to Si
       photonics, heterogeneous versus hybrid integration, introduction of photonic platforms
          a. 5th Dec 2013
          b. Short presentation on PICs, OEICs, Si photonics, and combinations of these
              technologies from a revenue, investment, application and technology standpoint.
          c. EPIC workshop: Meet or eat? collaboration and/or competition in photonic
              integrated circuits (PICs)
          d. http://epic-assoc.com/contact-us/?at=94

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   92) Invited talk: Feedback USA/International related events
           a. 5th Dec 2013
           b. Feedback on the subject of InP PICs, OEICs, and silicon photonics from
               workshops and related international events from around the globe.
           c. EPIC workshop: Meet or eat? Collaboration and/or competition in Photonic
               Integrated Circuits (PICs)?
           d. http://epic-assoc.com/contact-us/?at=94
   93) Course: Optoelectronics Components and Modules for Datacom and Telecom
           a. May 2000
           b. Optoelectronics components and modules for the Telecommunication industry
               and Datacom Networks are rapidly advancing in terms of speed, lower cost and
               design. The main objectives of this course are to review the current and future
               trends for active devices and packaging technology for discrete components and
               data network modules. The course will cover in detail the fundamental active III-
               V devices and components used today and review current trends in both III-V
               device technology and packaging for telecom and datacom applications.
           c. Proceedings 50th Electronics Components and Technology Conference May 2000
           d. http://www.thierry-lequeu.fr/data/Ectc/ECTC2000/ECTC2000.pdf
   94) Thesis: Fabrication and characterization of the heterojunction field effect transistor and
       the bipolar inversion channel field effect transistor
           a. 1987
           b. Characterization of HFETs and BICFETs fabricated from GaAs/AlGaAs with
               magnetron ion etching, sputtered tungsten gates, ion implanted source/drain
               contacts and rapid thermal anneals.
           c. University of Bradford, UK 1987
           d. http://www.edt.brad.ac.uk/home/
   95) Technical Advisor/Expert: 2nd review of PIX4LIFE pilot line consortium funded by
       H2020 at European Commission
           a. 14th Mar 2017
           b. 2nd review of PIX4LIFE pilot line consortium at the European Commission,
               Brussels.
           c. European Commission, Brussels, Belgium
           d. http://www.pix4life.eu
   96) Invited Presentation: Optoelectronic Integration for Metro DWDM: Intel's perspective...
           a. 3rd Sep 2000
           b. As part of the ECOC conference in Munich Germany, this workshop invited 9
               speakers to discuss the future of optical networking in metropolitan environments.

         c. Electronicast Europe
         d. http://www.electronicastconsultants.com
   97) Workshop: Biophotonic Sensors and Smart Fiber Optic Sensor Networks
         a. 1st Aug 2006
         b. Workshop chairman and editor of the report:

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           c. Abstract: This roadmap report examines biophotonic sensor opportunities from
               many perspectives including; government, industrial, university and venture
               capital. The markets, technologies, commercialization, and roadmap trends are
               presented in addition to promising areas for R & D.
           d. OIDA
           e. http://www.oida.org/home/publications/oida_publication_report_library/biophoto
               nic_sensors_and_smart_fiber_optic_sensor_n/
   98) Paper: Parallel optical interconnects using VCSELs
           a. 1995
           b. "High Speed Semiconductor Devices and Circuits, 1995. Proceedings.,
               IEEE/Cornell Conference on Advanced Concepts in Digital Object Identifier:
               10.1109/CORNEL.1995.482526 Publication Year: 1995 , Page(s): 348 - 356"
           c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=482526
   99) Poster paper: A versatile InP OEIC (PIC) platform enabling 100G+ coherent receiver and
       client-side transceiver engines
           a. 12th Nov 2013
           b. Poster paper describing OneChip's latest results in coherent receivers, LR4 optical
               engines, and PSM4 optical engines.
           c. Silicon Photonics Workshop, Southampton University, UK
           d. http://www.orc.soton.ac.uk/UKSP_presents.html
   100)        Keynote Presentation: Optoelectronics Integration for Metro DWDM, Intel's
       Perspective
           a. 9th Oct 2000
           b. Electronicast Corporations: Optical communications start-up and emerging
               companies conference
           c. http://www.electronicastconsultants.com
   101)        Workshop: Wide Area Surveillance
           a. 1st Oct 2006
           b. Workshop chairman and editor of the report:
           c. Abstract: This report examines wide area surveillance of pipelines and other
               strategic infrastructure as it is rapidly becoming an important issue on a
               worldwide basis. The increasing need for surveillance for both homeland security
               as well as defense applications should make this commercially attractive to both
               the defense as well as to commercial industry. (Report is 62 pages followed by
               hard copies of presentations from the forum.)
           d. OIDA
           e. http://www.oida.org/home/publications/oida_publication_report_library/wide_are
               a_surveillance/
   102)        Invited Panel Session: Opto Electronic Integrated Circuits - More IC than OE?
           a. 5th Mar 2000
           b. "The panel session focused on optical integration for communications. Other
               panel members included Brendan Hyland CEO of Kymata amongst others.


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            c. OSA Executive Forum: Photonics and Telecommunications: the tidal wave of the
               new millennium
            d. http://www.laserfocusworld.com/articles/2000/02/osa-executive-forum-at-ofc-
               2000.html
   103)        Keynote talk and abstract: "PIC the next generation IC..."
            a. 23rd Sep 2015
            b. Photonic Integration Conference, organized by Jakajima, Netherlands
            c. http://www.phiconference.com/program/
   104)        Workshop: 100 Gb Ethernet: The Next Challenge for Communications Systems
            a. 1st Oct 2006
            b. Workshop chairman and editor of the report: Abstract: The communications
               market is continuously evolving to provide better and cheaper services. These
               changes have led to the movement away from the traditional voice-switched
               networks to more data-centric packet networks. This report seeks to examine the
               next generation of Ethernet devices as we strain the technology limits at 100
               Gb/s? How will datacom and telecom networks differ in their approaches? OIDA
                       http://www.oida.org/home/publications/oida_publication_report_library/1
               00_gb_ethernet_the_next_challenge_for_communi_(1)/
   105)        Paper: Vertical cavity surface emitting laser-based parallel optical data link
            a. Dec 1998
            b. Optical Engineering, vol 37, no. 12, pp.3113-18, Dec. 1998.
            c. http://spie.org/x648.html?product_id=318648
   106)        Workshop: Artificial vision systems
            a. 1st Dec 2006
            b. Workshop chairman and editor of the report:
            c. Abstract: The ability to identify objects of interest and emerging threats around a
               vehicle in real time or by a warfighter looking for threats in a large field of view
               is currently severely hampered by the limitations of current algorithms and
               processing platforms. There have been recent advances in several technology
               areas, which if combined intelligently could solve this hard problem in enhancing
               situational awareness cost effectively. This report looks at the issues surrounding
               automated surveillance systems specifically looking at enhanced binoculars and
               convoy vehicle automated protection systems.
            d. OIDA
            e. http://www.oida.org/home/publications/oida_publication_report_library/artificial_
               vision_systems/
   107)        Workshop: Silicon Photonics: Challenges and Future, 2007
            a. 2007
            b. Workshop chairman and editor of the report:
            c. Abstract: Copper interconnects are currently used extensively within the data
               center environment. Fiber optic technology is used as a connectivity solution
               when higher performance is required and the cost differential compared to a
               copper solution is affordable. Fiber optic technology offers several key

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              advantages over copper solutions for data transmission. This report looks at
              silicon photonics as a potential optical interconnect solution and addresses the
              issues and technology paths being pursued.
          d. OIDA
          e. http://www.oida.org/home/publications/oida_publication_report_library/silicon_p
              hotonics_challenges_and_future,_2007/
   108)       Invited talk/plenary: High-Performance Datacenter Platform: Using InP for
      Silicon Photonics
          a. 8th Jan 2014
          b. IEEE-CPMT/Photonics Society local chapter meeting, Santa Clara, California
          c. http://www.cpmt.org/scv/meetings/cpmt1401.html
   109)       Paper: ORMOCERs - new photo-patternable dielectric and optical materials for
      MCM-packaging
          a. Jan 1998
          b. Hybrid inorganic-organic polymers (ORMOCERs*) have been developed and
              tested in an ongoing EU-program (BE 7250 DONDOMCM) for evaluation in
              MCM applications. The photopattemable materials with negative resist behavior
              are composed o f inorganic oxidic structures cross-linked or substituted by
              organic groups. They are prepared from organosilane precursors by sol-gel-
              processing in combination with organic crosslinking of polymerizable organic
              functions. As a result of these functionalities the properties of the
              ORMOCERs can be adjusted to particular applications. Systematic variation of
              composition combined with adaptation to micro system technology allows great
              flexibility in processing. Some features of these materials are: Postbaking at
              moderate temperatures (120 "C - 180 "C) enables processing on substrates such
              as FR-4 and BT. Combined use as dielectric and passivation layers in electrical
              systems and devices as well as core and cladding for optical applications enables
              e/o applications with high integration levels. Easily adaptable to thin film
              technology: spin-on with planarization >90% and via diameters down to 20 pm
              have been achieved
          c. Proceedings of the 1998 48th Electronic Components and Technology Conference
          d. http://ieeexplore.ieee.org/xpl/articleDetails.jsp?reload=true&arnumber=678838&
              contentType=Conference+Publications
   110)       Technical Advisor/Expert: 2nd review of PI-SCALE project pilot line funded by
      H2020, European Commission
          a. 21st Feb 2017
          b. 2nd review of PI-SCALE consortium pilot line at European Commission,
              Brussels
          c. European Commission, Brussels, Belgium
          d. http://pi-scale.eu
   111)       Short Article: President's Letter to OIDA Membership
          a. Nov 2005
          b. OIDA Newsletter, quarterly from 2005-2009

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          c. http://www.wsr-ods.com/files/oidanews_0408.pdf
   112)      Workshop: Photonic Sensors Roadmapping Report, 2007
          a. 2007
          b. Workshop chairman and editor of the report:
          c. Abstract: This OIDA workshop report examines application specific sensor needs
             for both the government and the private sector with an emphasis on the oil and
             gas market, sensing function integration, cost reduction opportunities, and barriers
             and competing technologies.
          d. OIDA
          e. http://www.oida.org/home/publications/oida_publication_report_library/photonic
             _sensors_roadmapping_report,_2007/
   113)      Paper: A low-cost high-performance optical interconnect
          a. Aug 1996
          b. The Optobus™ link is a ten channel parallel bidirectional data link based on
             multimode fiber ribbons. The guiding principal of the Optobus™ design was to
             produce an optical interconnect capable of competing with copper on price, not
             just performance. Recognizing that packaging dominates the cost of optical
             interconnects, the design focused on minimizing the complexity of the optical
             subassembly. A key component of this strategy is the use of AlGaAs/GaAs
             vertical cavity surface emitting lasers (VCSELs). Another is designing the silicon
             receiver and transmitter arrays around the module level packaging parasitics. The
             resulting parallel transceiver modules achieve a minimum throughput of 1.5 Gb/s
             in each direction with a power dissipation of 1.6 W
          c. Components, Packaging, and Manufacturing Technology, Part B: Advanced
             Packaging, IEEE Transactions on Volume: 19 , Issue: 3 Page(s): 532- 539
          d. http://ieeexplore.ieee.org/xpl/articleDetails.jsp?arnumber=533892
   114)      Workshop: Micropackaging for the Next Generation of Optical and Electrical
      Components
          a. 2007
          b. Workshop chairman and editor of the report:
          c. Abstract: Optical components are ubiquitous. Applications that use them include
             DVD players, audio devices, cell phones, re-writable drives, projection displays,
             and communication devices. This report concentrates on the role of
             micropackaging for the for next generation fiber optic components with an eye
             towards lower cost and higher volume.
          d. OIDA
          e. http://www.oida.org/home/publications/oida_publication_report_library/micropac
             kaging_for_the_next_generation_of_optical/
   115)      Paper: ORMOCERs(TM)-new photo-patternable dielectric and optical materials
      for MCM-packaging
          a. May 1998
          b. Hybrid inorganic-organic polymers (ORMOCERs*) have been developed and
             tested in an ongoing EU-program (BE 7250 DONDOMCM) for evaluation in

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                 MCM applications. The photo-pattemable materials with negative resist behavior
                 are composed of inorganic oxidic structures cross-linked or substituted by
                 organic groups. They are prepared from organosilane precursors by sol-gel-
                 processing in combination with organic crosslinking of polymerizable organic
                 functions. As a result of these functionalities the properties of the
                 ORMOCERs can be adjusted to particular applications. Systematic variation of
                 composition combined with adaptation to micro system technology allows great
                 flexibility in processing. Some features of these materials are: Post baking at
                 moderate temperatures (120 "C - 180 "C) enables processing on substrates such
                 as FR-4 and BT. Combined use as dielectric and passivation layers in electrical
                 systems and devices as well as core and cladding for optical applications enables
                 e/o applications with high integration levels. Easily adaptable to thin film
                 technology: spin-on with planarization >90% and via diameters down to 20 pm
                 have been achieved
            c.   1998 Proceeedings. 48th Electronic Components and Technology Conference
            d.   http://ieeexplore.ieee.org/xpl/articleDetails.jsp?reload=true&arnumber=678838&
                 contentType=Conference+Publications
   116)          Invited talk/plenary: Next generation ICs using photonics integration
            a.   10th Dec 2013
            b.   Talk that reviews OneChip Photonics technology and in general PICs, OEICs,
                 Silicon photonics, and how these technologies play into datacenters (data centers)
                 for client side high speed 100G fiber (fibre) optic transceiver interconnects and
                 cabling.
            c.   IQE Capital markets day, Sky Pavillion, Rothschild Building, London, UK
            d.   http://www.euroinvestor.com/news/2013/12/10/iqe-plc-capital-markets-
                 day/12617916
   117)          Workshop: 100 Gbit Interconnects and Above: The Need for Speed
            a.   1st May 2007
            b.   Workshop chairman and editor of the report:
            c.   Abstract: The electronic society we live in today is seeing increased demand for
                 data transfer, internet downloads, online applications, video sharing and storage.
                 The electronic world of banks, companies, universities and governments require
                 large secure datacenters connected to secure networks. This continuously drives
                 for the development of more powerful servers and computer systems. This report
                 examines needs and motivations for optical interconnect implementation. Looks
                 at the applications, history, market drivers, and future issues that affect this
                 crossover.
            d.   OIDA
            e.   http://www.oida.org/home/publications/oida_publication_report_library/100_gb_
                 ethernet_the_next_challenge_for_communicati/
   118)          Paper: VCSEL devices and packaging
            a.   Dec 1998
            b.   Proceedings of SPIE, ISSN 0277-786X, 05/2003, Volume 3289, Issue 1

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          c. http://proceedings.spiedigitallibrary.org/proceeding.aspx?articleid=935769
   119)       Workshop: Perspectives on the Optoelectronics Industry: Manufacturing in the
      21st Century, 2008
          a. 2008
          b. Workshop chairman and editor of the report:
          c. Abstract: This report provides insight and perspectives by senior-level
              representatives from industry on global trade and manufacturing practices in the
              field of optoelectronics. Three areas examined are: 1) Can automation or optical
              integration relieve the momentum to outsource and off-shore manufacturing from
              North America? 2) The supply chain and the economics of manufacturing in the
              U.S., Europe, and Asia, and 30 The implications of offshore manufacturing on
              both the U.S. defense and commercial market sectors within the different fields of
              optoelectronics.
          d. OIDA
          e. http://www.oida.org/home/publications/oida_publication_report_library/perspecti
              ves_on_the_optoelectronics_industry_manuf/
   120)       Workshop: Perspectives on the Optoelectronics Industry: Innovation, 2008
          a. 2008
          b. Workshop chairman and editor of the report: Abstract: This report documents
              some of the issues raised at the Optoelectronics Industry Development
              Association (OIDA) forum and provides a review on the critical issue of
              innovation in the U.S. and the impact it has on future American competitiveness
              and technology leadership. This report looks at innovation and R&D from many
              perspectives: global, business. university, government funding agencies.
          c. OIDA
          d. http://www.oida.org/home/publications/oida_publication_report_library/perspecti
              ves_on_the_optoelectronics_industry_innov/
   121)       Technical Advisor/Expert: 1st review of PIXAPP pilot line consortium funded by
      H2020 at European Commission
          a. 21st Feb 2017
          b. 1st Review of Pixapp project at EU Commission as part of the pilot line project.
          c. European Commission, Brussels
          d. http://www.fabiodisconzi.com/open-h2020/projects/206352/index.html
   122)       Invited talk and Chair panel session: EPIC workshop on photonic integrated
      circuits; "Global integrated photonics update and roadmaps"
          a. 9th Jun 2015
          b. "Invited talk: Global integrated photonics update and roadmaps
          c. Panel Session: Integrated photonics foundry status
          d. EPIC trade association, Europe
          e. http://www.epic-assoc.com/epic-workshop-on-photonic-integrated-circuits/
   123)       Paper: Epitaxial Si and Gd2O3 Heterostructures - Distributed Bragg Reflectors
      with Stress Management Function for GaN on Si Light Emitting Devices
          a. 1st Oct 2012

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         b. ECS J. Solid State Sci. Technol. 1, 246 (2012)
         c. http://jss.ecsdl.org/content/1/5/P246.full
   124)      Invited Talk: Lightwave Logic Inc Annual Shareholder Meeting "High
      Performance Polymer Photonics for Next Generation PICs"
         a. 18/th May 2017
         b. Presentation of corporate technology and strategy for Lightwave Logic Inc and
             polymer PIC platforms.
         c. Lightwave Logic Inc (OTCQB:LWLG)
         d. http://www.lightwavelogic.com/presentations
   125)      Course and Tutorial: Optoelectronic Devices and Packaging: VCSEL Technology
         a. Jan 1998
         b. "Optoelectronic devices and packaging have found increasing use in many new
             products over the last 20 Yrs. This tutorial primarily will focus on semiconductor
             laser based technology with particular emphasis on emerging new technologies
             such as the Vertical Cavity Surface Emitting Laser (VCSEL) and how to take
             advantage of itâ€™s uniqueness in packaging. The tutorial will look at the
             driving factors required for low cost high volume VCSEL based packages and
             what impact they will have in tomorrows products. As there are many packaging
             solutions for VCSEL based technology proposed, the course will show the
             relative merits of popular new technologies with respect to high volume and low
             cost manufacturing.
         c. 4th IEEE Workshop on AST Phoenix Research Center
         d. http://www.ewh.ieee.org/soc/cpmt/ast98/lebby-01.ppt
   126)      Invited talk/Panel session: InP based photonics integration platform for datacenter
      and coherent communications
         a. 4/2/2014
         b. Invited talk/panel session on the future of integrated photonics. Discussion was
             on both InP and silicon photonics technologies over the next decade.
         c. Workshop on the future of Integrated Photonics organized by the Netherlands
             Office for Science & Technology is pleased to invite you to a workshop,
             occurring In conjunction with the upcoming Photonics West conference
         d. http://www.hollandinthevalley.com/panel-discussion-on-the-future-of-integrated-
             photonics/
   127)      Paper: An n-channel BICFET in the InGaAs/InAlGaAs/InAlAs material system
         a. 1989
         b. "Electron Device Letters, IEEE Volume: 10 , Issue: 7           Digital Object
             Identifier: 10.1109/55.29660 Publication Year: 1989 , Page(s): 304           - 306"
         c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=29660&tag=1
   128)      Workshop: Perspectives on the Optoelectronics Industry, 2008
         a. 2008
         b. Workshop chairman and editor of the report:
         c. Abstract: The United States is falling behind in the manufacturing, packaging,
             and assembling of optoelectronics products. Innovating technology may also be

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              imperiled. This report is the result of the first of three optoelectronic forums
              sponsored by the Defense Advanced Research Projects Agency (DARPA), This
              report details the trends, findings, and directions for optoelectronics in each of
              these market applications. Included in the first chapter of this report is the global
              optoelectronics summary that was compiled by OIDA in 2007.
         d. OIDA
         e. http://www.oida.org/home/publications/oida_publication_report_library/perspecti
              ves_on_the_optoelectronics_industry,_2008/
   129)       Workshop: Future Optical Communication Systems, 2008
         a. 2008
         b. Workshop chairman and editor of the report:
         c. Abstract: This report examines future optical communication needs and
              technologies. Topics include: Networks, Core, Metro, and Access Technology,
              photonic integration, and markets.
         d. OIDA
         e. http://www.oida.org/home/publications/oida_publication_report_library/future_op
              tical_communication_systems,_2008/
   130)       Workshop: Green Photonics: The Role of Optoelectronics in a Sustainable
      Future, 2009
         a. 2009
         b. Workshop chairman and editor of the report:
         c. Abstract: This report explores the optoelectronics expectations for green
              photonics technology, and forecasts the associated markets through 2020. The
              cultural impact for a green, clean, and energy efficient lifestyle is just beginning.
              Over the next decade, many innovative new products will emerge in a variety of
              industries that will better define and demonstrate green photonics technology. It is
              clear to many that a broad range of products and services that the economy will
              utilize over the next decade will contain optoelectronics (interchangeable with the
              term photonics), either as key components or as components that enable better
              and more efficient systems.
         d. OIDA
         e. http://www.oida.org/home/publications/oida_publication_report_library/green_ph
              otonics_the_role_of_optoelectronics_in_a_s/
   131)       Paper: Automatic power control of a VCSEL using an angled lid TO56 package
         a. 05/1998
         b. 1998 Proceedings. 48th Electronic Components and Technology Conference
         c. http://ieeexplore.ieee.org/xpl/login.jsp?tp=&arnumber=678694&url=http%3A%2
              F%2Fieeexplore.ieee.org%2Fiel4%2F5582%2F14953%2F00678694.pdf%3Farnu
              mber%3D678694
   132)       Workshop: Fabrication Challenges and Opportunities in Photonics, 2010
         a. 2010
         b. Workshop chairman and editor of the report: Abstract: This report examines
              different operational models employed by industry (fabless, fab-lite, pure play

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             foundry and vertically integrated companies), and the role of governments in
             stimulating the growth of the photonics industry.
         c. OIDA
         d. http://www.oida.org/home/publications/oida_publication_report_library/fabricatio
             n_challenges_and_opportunities_in_photon/
   133)      Conference: Optomism: “Powering the green revolution through photonics”
         a. 1/4/2009
         b. "Co-chairman of Optomism conference with Pennwell.
         c. OIDA and Pennwell (Laser Focus World)
         d. http://www.laserfocusworld.com/articles/print/volume-45/issue-4/world-
             news/conference-preview-optomism-to-emphasize-lsquogreenrsquo-growth.html
   134)      Paper: Characteristics of VCSELs and VCSEL arrays for optical data links
         a. 02/1997
         b. Proc. SPIE 3004, Fabrication, Testing, and Reliability of Semiconductor Lasers
             II, 122 (May 1, 1997); doi:10.1117/12.273825
         c. http://proceedings.spiedigitallibrary.org/proceeding.aspx?articleid=918720
   135)      Paper: Epitaxial Si, SiGe and Ge on binary and ternary rare earth oxide buffers
         a. 2012
         b. Phys. Status Solidi C 9, 2031 (2012)
         c. http://onlinelibrary.wiley.com/doi/10.1002/pssc.201200255/abstract
   136)      Paper: Expitaxial Si and Gd2O3 Heterostructures - Distributed Bragg Reflectors
      with Stress Management Function for GaN on Si Light Emitting Devices
         a. 2013
         b. ECS Trans 2013 volume 50, issue 4, 47-52
         c. http://ecst.ecsdl.org/content/50/4/47.short
   137)      Keynote talk: Photonic integration in InP: A regrowth-free platform for fabless
      manufacturing model
         a. 19/3/2014
         b. CS International Conference Frankfurt, March 17th-20th 2014
         c. http://cs-international.net/agenda.php
   138)      Paper: An Inversion Channel Technology For Opto-Electronic Integration
         a. 8/2/1989
         b. A new approach to optoelectronic integration is reported which combines
             electronic and optical devices fabricated with a common sequence and a single
             MBE wafer growth. The devices have in common, an inversion layer structure
             produced by charge sheet doping.
         c. Proceedings Vol. 0994 Optoelectronic Materials, Devices, Packaging, and
             Interconnects II, Glen M. McWright; Henry J. Wojtunik, Editors, pp.251-510
             Date: 9 February 1989 ISBN: 9780819400291
         d. http://spie.org/x648.html?product_id=960136
   139)      Invited talk/Panel session “Optical interconnect in datacenters”
         a. 18/3/2014


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          b. "The 1st Optical Interconnect in Data Centers Symposium takes place on the 18th
              and 19th of March 2014 in Berlin/ Germany.
          c. It is focused on high-performance, low-energy and low-cost and small-size optical
              interconnects across the different hierarchy levels in data center and high-
              performance computing systems: on-board, board-to-board and rack-to-rack.
          d. EPIC: Symposium on optical interconnect in datacenters
          e. http://www.phoxtrot.eu/1st-optical-interconnect-in-data-centers-symposium/
   140)       Conference and workshop: 3rd Annual Green Photonics Forum (OIDA Green
      2010)
          a. 10/6/2010
          b. Conference chairman: OIDA’s innovative green photonics forums have become a
              focal point for photonics and optics in the area of sustainable energy. The annual
              forum on green photonics, brings together key players involved in developing the
              technical and business roles of photonics in building a more sustainable and
              renewable future. Efficiency, monitoring, and energy generation are areas where
              photonics technology will play a key role and the photonics industry will deliver
              solutions.
          c. OIDA
          d. http://www.clocate.com/conference/3rd-Annual-Green-Photonics-Forum-OIDA-
              Green-2010/4045/
   141)       Invited talk, short abstract, and session chairman: Energy Efficient Photonics
          a. 19/3/2009
          b. Summary: Green photonics initiatives: The role of optoelectronics in a sustainable
              future...
          c. European Commission: High Level Event on ICT for Energy Efficiency
          d. http://ec.europa.eu/information_society/events/cf/ee09/item-display.cfm?id=2174
   142)       Paper: Vertical cavity surface emitting laser packaging with auto power control
          a. 05/1997
          b. Proceedings, 47th Electronic Components and Technology Conference, pp. 368-
              370, May 1007
          c. http://www.researchgate.net/publication/3700010_Vertical_cavity_surface_emitti
              ng_laser_packaging_with_auto_powercontrol
   143)       Invited presentation for Day of Photonics at Glyndwr University: Photonics -
      markets, applications, integrated, next generation IC
          a. 21/10/2014
          b. Invited presentation/lecture on photonics at the Glyndwr University.
          c. Welsh Optoelectronic Forum (WOF)
          d. http://www.wof.org.uk/home.php?page_id=4&event_id=317
   144)       Paper: Reactive ion etching (RIE) and magnetron ion etching (MIE) combinations
      for opto-electronic integrated circuit (OEIC) processing
          a. 11/1988
          b. Proc. SPIE Vol. 1037, p. 88, Monitoring and Control of Plasma-Enhanced
              Processing of Semiconductors, James E. Griffiths; Ed.

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          c. http://spie.org/x648.html?product_id=951018
   145)       Paper: Scalable GaN-on-Silicon using rare earth oxide buffer layers
          a. 9/10/2012
          b. ECS Trans 2013 volume 50, issue 9, 1065-1071
          c. http://ma.ecsdl.org/content/MA2012-02/30/2538.short
   146)       Video and presentation: Green Photonics: Will it Change our Lives over the Next
      Decade?
          a. 04/2010
          b. Photonics is growing to enable new green technologies and products. Photonics
              already has a large presence in various modules and components with
              opportunities to expand to home displays, solar cells, lighting, and various
              consumer applications. The global optoelectronics industry has a strong outlook
              for growth in the near future, with even faster growth in green photonics. Green
              photonics can help reduce greenhouse gas emissions, generate or conserve energy,
              reduce pollution, and improve human health.
          c. University of California, Santa Barbara: Institute of Energy Efficiency
          d. http://iee.ucsb.edu/node/1024
   147)       Invited Talk and Panelist: Emerging Technologies Summit; Integrated Photonics
      session, Stanford University, as part of the Kingdom of the Netherlands trade mission to
      Silicon Valley
          a. 10/1/2017
          b. "Discussion with HRH Prince Constantijn and DG Bertolt Leeftink about
              photonics ecosystem and startups. Photonics highlights (Michael Lebby)
          c. Consulate General San Francisco, The Kingdom of Netherlands
          d. https://ez.atavist.com/emerging-technologies-summit
   148)       Invited talk and abstract: Coherent Receiver Chip for 100G DP-QPSK
          a. 30/4/2014
          b. SIOE (Semiconductor and integrated optoelectronics) Conference, Cardiff, Wales,
              UK 29th April-1st May 2014, Institute of Physics
          c. http://www.astro.cardiff.ac.uk/research/cmp/events/resources/Sioeprogramme14fi
              nal.pdf
   149)       Invited Talk: Annual Shareholder Meeting 2016 - Market Perspective LWLG
      Polymer Photonics vs Legacy Devices
          a. 20/5/2016
          b. Presentation to investor group at Lightwave Logic's Annual Shareholder Meeting
                      Lightwave Logic
          c. http://lightwavelogic.com/company-updates/
   150)       Project advisor: European Commission ICT-28-2015 Cross-Cutting ICT KETs:
      Innovation Action (b) Pilot line for OLEDs on flexible substrates
          a. 20/9/2015
          b. European Commission
          c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
              pics/916-ict-28-2015.html

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   151)      Invited talk: Compound Semiconductors (CS) driving photonics
          a. 11/6/2014
          b. Invited presentation for Welsh Gvt and commercial industry in epitaxial growth.
             The talk covered photonics: global markets, green photonics, photonics
             technology sectors (lighting, solar, displays, sensors, communications), integrated
             photonics and silicon photonics. Commercial industry invite by International
             Quantum Epitaxy (IQE)
          c. Growth and application of epitaxial heterostructures with polymorphous rare earth
             oxides
          d. Journal of Crystal Growth
          e. http://www.sciencedirect.com/science/article/pii/S0022024812009487
   152)      Engineering of the Interface Between Silicon and Rare-Earth Oxide Buffer for
      GaN growth
          a. 09/2012
          b. ECS Meeting Oct 2013, San Francisco, USA
          c. http://scholar.googleusercontent.com/scholar?q=cache:l3-
             oHWxNDzwJ:scholar.google.com/+%22michael+lebby%22&hl=en&as_sdt=1,5
             &as_ylo=2013&as_vis=1
   153)      Paper: Parallel interconnect for a novel system approach to short distance high
      information transfer data links
          a. 04/1997
          b. Proceedings of SPIE, ISSN 0277-786X, 04/1997, Volume 3038, Issue 1
          c. http://www.deepdyve.com/lp/spie/parallel-interconnect-for-a-novel-system-
             approach-to-short-distance-RFreDaEJjb
   154)      Abstract and conference invited talk: The case for a photonics foundry in USA
          a. 27/4/2007
          b. European Conference on Integrated Optics (2007): Towards foundries for
             photonic ICs
          c. http://www.epixnet.org/index.php?id=393
   155)      Scalable virtual Ge templates for III-V integration on Si wafers
          a. 18/4/2012
          b. AIP Conference Proceedings / Volume 1477 / CONCENTRATOR SOLAR
             CELLS, CELL ASSEMBLIES AND RELATED MATERIALS
          c. http://proceedings.aip.org/resource/2/apcpcs/1477/1/36_1?bypassSSO=1
   156)      Video presentation: Living at the speed of light
          a. 10/12/2009
          b. Living at the speed of light, hosted by renown physicist Michael Lebby, takes us
             on a fast paced fly through of the many facets of photonics and how the use of
             light touches the many aspects of our lives
          c. National Research Council: Canadian Photonics Fabrication Centre
          d. http://www.youtube.com/watch?v=t8EB-1-1irY
   157)      Keynote address: Global perspectives in optoelectronics and photonics
          a. 6/12/2006

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         b. Photonics 21: European Union's 7th Framework Program Key Photonics Platform
         c. http://www.photonics21.org/downloads/download_presentations.php
   158)      Book chapter: Being an Intrapreneur and Entrepreneur in the Optoelectronics
      Industry
         a. 2008
         b. This book provides actual entrepreneurial stories giving insight into the pitfalls
             and successes one might find in starting or even continuing with a small high-tech
             business. Insights into innovative, speculative, and (largely) successful new
             ventures, as experienced by those who went through the process, are
             complemented by comments and observations from others in the field including
             researchers, economists, investors, regional development agencies, technology
             transfer organizations, and universities. The book is recommended to
             entrepreneurs in all high technology disciplines and in particular for students and
             early career professionals. It can be also useful for undergraduate and
             postgraduate courses in entrepreneurship, which many institutions are currently
             introducing, and to those who are interested in how a high-tech business might
             develop.
         c. SPIE: Engineering a High-Tech Business: Entrepreneurial Experiences and
             Insights By JosÃ© Miguel LÃ³pez-Higuera, B. Culshaw (Editors) ISBN 978-0-
             8194-7180-2
         d. http://books.google.com/books?hl=en&lr=&id=wXV9tffoGeYC&oi=fnd&pg=PR
             9&dq=michael+lebby&ots=cYEwXIHMDC&sig=KlCtj2ZDgbOYEhnqKdHiMo
             6SdzA#v=onepage&q=michael%20lebby&f=false
   159)      Book chapter: Packaging of Optical Components and Systems
         a. 27/12/2009
         b. "In this article, several types of semiconductor optical components are
             introduced, and packaging of optical components and systems will be
             discussed. Specifically, three common types of optical sources will be
             addressed: light emitting diodes (LED), edge-emitting semiconductor lasers,
             and vertical cavity surface emitting lasers (VCSEL).
         c. Wiley Encyclopedia of Electrical and Electronics Engineering; DOI:
             10.1002/047134608X.W2106; originally published in 1999, Vol 15, pp 499-516;
             John G Webster (Editor)
         d. http://onlinelibrary.wiley.com/doi/10.1002/047134608X.W2106/abstract
   160)      Invited talk: Integrated photonics roadmap synthesis
         a. 7/5/2015
         b. Integrated Photonics Institute for Manufacturing Innovation (IP-IMI) site visit
             technical review:
         c. The University of Southern Californiaâ€™s (USC) Information Sciences Institute
             (ISI) is leading an effort with partner universities at the University of California-
             Los Angeles (UCLA), the University of California-Berkeley (UCB), the
             University of California-San Diego (UCSD), Arizona State University, the
             University of New Mexico, and the Ohio State University, as well as numerous

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              industry partners, to develop the only California-based and led proposal to
              compete for the IP-IMI award. If successful, the proposal will receive a federal
              award of up to $110 million over five years. A successful proposal requires 100
              percent or more in matching funds (cash or in-kind) from state and local
              governments and from industry partners.
         d. IPI-CDMS (Integrated Photonics Institute and Center for Design and
              Manufacturing Services)
         e. http://www.isi.edu/news/story/531784
   161)       Video interview: World Photonic Mapping Forum; s'Hertogenbosch, Netherlands
         a. 15/6/2017
         b. Interview on photonics roadmaps.
         c. PhotonDelta (via Videographer Jonathan Marks)
         d. https://worldtechnologymappingforum.org/the-programme
   162)       Paper: Relative intensity noise of 780nm vertical cavity surface emitting lasers
         a. 01/1997
         b. Proceedings of the 1997 Pacific Rim Conference on Lasers and Electro-Optics,
              CLEO/Pacific Rim, No 46984, Jan 1997
         c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=610586
   163)       Invited Presentation and abstract: "High-Performance Polymer Photonics for
      Next-Generation Photonic Integrated Circuits"
         a. 3/10/2016
         b. ECOC Market Focus by ECOC Exhibition
         c. http://www.ecocexhibition.com/marketfocus
   164)       Paper: Effect of proton implantation on the degradation of GaAs/AlGaAs vertical
      cavity surface emitting lasers
         a. 1997
         b. Electronics Letters, ISSN 0013-5194, 1997, Volume 33, Issue 2, p. 137
         c. http://ieeexplore.ieee.org/xpl/articleDetails.jsp?arnumber=579434
   165)       Invited Talk: Photonics Integration Circuits - Global Market Analysis 2017
         a. 13/3/2017
         b. Invite by The Netherlands Department of Economics to review PIC technology
              and markets for potential investment.
         c. The Dutch Government - Dept of Economics, The Hague together with Photon
              Delta, The Netherlands
         d. http://www.photondelta.eu
   166)       Invited Talk: Belgium LWLG Investor Group at the Royal Antwerp Golf Club
         a. 6th Mar 2017
         b. Invited talk entitled "High performance polymer photonics for next generation
              PICs"
         c. Belgium LWLG Investor Group
         d. http://www.lightwavelogic.com
   167)       Technical presentation for Lightwave Logic Inc., at the Annual Shareholder
      Meeting (ASM).

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          a. 20th May 2016
          b. Lightwave logic Inc., Boulder, Colorado.
          c. Annual shareholder meeting for Lightwave Logic Inc., with live presentation with
              live Q&A from investors
   168)       Paper: Optical bistability in vertical cavity surface emitting lasers with a simple
      intra-cavity epitaxial absorber layer
          a. 4th Oct 1998
          b. Conference Digest: Semiconductor Laser Conference, 1998. ISLC 1998 NARA.
              1998 IEEE 16th International
   169)       Course (peer reviewed): "Optoelectronic devices and packaging"
          a. May 1997
          b. IEEE ECTC
          c. http://www.ectc.net
   170)       Course (peer reviewed): "Optoelectronic devices and packaging: VCSEL
      technology"
          a. May 1998
          b. IEEE ECTC
          c. http://www.ectc.net
          d.
   171)       Course (peer reviewed): "Optoelectronic devices and packaging: VCSEL and
      edge emitter technology"
          a. May 1999
          b. IEEE Electronics and components technology conference; San Diego, California
          c. http://www.ectc.net
   172)       Plenary Talk: Global Market Research at the World Technology Mapping Forum,
      s'Hertogenbosch, Netherlands
          a. 14th Jun 2017
          b. "PhotonDelta and the AIM Photonics Academy are organising the first meeting of
              the World Technology Mapping Forum. The goal of the forum is to produce the
              first International Photonic Systems Roadmap, looking ahead to global
              technology needs in 2030 and beyond.
          c. PhotonDelta, Netherlands as part of the International Photonics System Roadmap
              (IPSR) conference
          d. https://worldtechnologymappingforum.org/the-programme
   173)       Paper: Rare-earth-metal oxide buffer for epitaxial growth of single crystal GeSi
      and Ge on Si(111)
          a. 1st Mar 2012
          b. Conference and journal publication."Rare-earth-metal oxide buffer for epitaxial
              growth of single crystal GeSi and Ge on Si(111)"
          c. With publication details: 28th North American Molecular Beam Epitaxy
              Conference, Published by AVS through the American Institute of Physics, 2012
              ISBN 978-0-9836933-0-7 ISSN: 2166-27646 J.Vac.Sci.Technol B 30(2),
              Mar/Apr 2012 pp02B110-1 to pp-3B110-6

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         d. http://ieeexplore.ieee.org/xpl/articleDetails.jsp?reload=true&arnumber=6118290
              &contentType=Journals+%26+Magazines
   174)       Invited talk and abstract: Vertical cavity surface emitting lasers and applications
         a. Sep 1997
         b. European Laser Workshop, Glasgow, Scotland
   175)       Invited talk and abstract: VCSEL Transceiver technology
         a. Sep 1998
         b. European Laser Workshop, Madrid, Spain
   176)       Press interview: "Building Big Business with the Next Generation Integrated
      Circuits!"
         a. 15th Sep 2015
         b. "Insights from Michael Lebby, CEO OneChip Photonics Corporation, the keynote
              speaker at the Photonics Integration Conference
         c. Photonics Integration Conference, organized by Jakajima, Netherlands
         d. http://www.phiconference.com/photonics/building-big-business-with-the-next-
              generation-integrated-circuits/
   177)       Chairman: PIC (Photonic Integrated Circuits) International Conference, Brussels,
      Belgium
         a. 7th Mar 2017
         b. "Photonic Integrated Circuits International
         c. CS International
         d. http://www.picinternational.net
   178)       Management/CEO presentation for Lightwave Logic Inc., at the Annual
      Shareholder Meeting (ASM).
         a. 18th May 2017
         b. Lightwave logic Inc., Boulder, Colorado.
         c. Annual shareholder meeting for Lightwave Logic Inc., with live presentation with
              live Q&A from investors.
   179)       Paper (invited): Laser safety issues with VCSEL arrays in OPTOBUS(tm)
         a. 1997
         b. Optical Society of America (OSA); Annual Meeting, Micro-optics session
   180)       Paper and Interviewed Article: Commercial VCSEL Manufacturing
         a. Apr 1999
         b. Compound Semiconductor
   181)       Invited talk and abstract: Vertical cavity surface emitting lasers for
      communication applications
         a. Oct 1996
         b. Optical Society of America (OSA) Annual meetings, proceedings, paper WR1,
              Rochester, NY
   182)       Paper: Structural and Thermal Properties of Single Crystalline Epitaxial Gd2O3
      and Er2O3 Grown on Si(111)
         a. 2012
         b. ECS Journal of Solid State Science and Technology 1, N24 (2012)

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          c. http://jss.ecsdl.org/content/1/2/N24.full.pdf+html
   183)      Invited talk and abstract: VCSEL Arrays and GUIDECAST(tm) packaging
      technology as used in OPTOBUS(tm)
          a. Sep 1995
          b. European Laser Workshop, Eindhoven, Netherlands
   184)      Invited talk and abstract: Ridge Waveguide and Planar VCSEL Device Reliability
          a. Sep 1996
          b. European Laser Workshop, Olso, Norway
   185)      Paper: An n-channel BICFET in the GaAs/AlGaAs material system
          a. Feb 1989
          b. "Electron Device Letters, IEEE Volume: 10, Issue: 2          Digital Object
             Identifier: 10.1109/55.32438 Publication Year: 1989 , Page(s): 88 - 90"
          c. http://ieeexplore.ieee.org/stamp/stamp.jsp?tp=&arnumber=32438&tag=1
   186)      Book chapter: "Optical sources: Light-emitting diodes and laser technology"
          a. Published 2002
          b. "The Handbook includes chapters on all the major industry standards, quick
             reference tables, helpful appendices, plus a new glossary and list of acronyms.
             This practical handbook can stand alone or as a companion volume to DeCusatis:
             Fiber Optic Data Communication: Technological Advances and Trends (February
             2002, ISBN: 0-12-207892-6), which was developed in tandem with this book.
          c. Academic Press (1998, 2002); ISBN: 0-12-207892-6; Handbook of Fiber Optic
             Data Communication By Casimer DeCusatis
          d. http://books.google.com/books?id=Rlb61Kknl8IC&printsec=frontcover&source=
             gbs_ge_summary_r&cad=0#v=onepage&q&f=false
   187)      Book chapter: "Semiconductor laser and light emitting diode fabrication"
          a. Published 2002
          b. "The Handbook includes chapters on all the major industry standards, quick
             reference tables, helpful appendices, plus a new glossary and list of acronyms.
             This practical handbook can stand alone or as a companion volume to DeCusatis:
             Fiber Optic Data Communication: Technological Advances and Trends (February
             2002, ISBN: 0-12-207892-6), which was developed in tandem with this book.
          c. Academic Press: Editor DeCusatis: Fiber Optic Data Communication:
             Technological Advances and Trends (February 2002, ISBN: 0-12-207892-6)
          d. http://books.google.com/books?id=Rlb61Kknl8IC&lpg=PP1&pg=PP1#v=onepag
             e&q&f=false
   188)      Invited talk and abstract: Ridge waveguide VCSEL device performance
          a. May 1995
          b. USA Laser workshop, CLEO, Anaheim, California
   189)      Keynote speech: Next decade in fiber optic communications
          a. 30th Apr 2001
          b. Electroicast: 13th Annual Fiber Optics for the Next Decade Conference
          c. http://www.photonics.com/Article.aspx?AID=8916


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   190)       Reviewer: European Commission ICT-29-2016: Photonics KET 2016 (section
      a(ii) Breakthrough in miniaturization of SSL light engines and systems)
           a. 5th Nov 2016
           b. European Commission: Reviewing submitted technical photonics proposals for
              Horizon 2020, and rate proposals to EU guidelines.
           c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020/to
              pics/5094-ict-29-2016.html
   191)       Invited talk and abstract: Polymer based PICs
           a. 14th Sep 2017
           b. ECOC, Datacenter technologies. Sweden
   192)       Video: Polymer based PICs
           a. 15th Sep 2017 ECOC, Sweden as part of Market Focus at the ECOC Exhibit.
              (youtube: Michael Lebby ECOC 2017)
   193)       Keynote invited talk and abstract: PIC based technologies
           a. 22nd Sep 2017
           b. PIC Conference, The Netherlands
   194)       Invited talk and abstract: Polymer PIC technology as part of the Photonics
      Integrated Circuits (PIC) conference in Eindhoven, Netherlands.
           a. 5th Oct 2017
           b. PIC technologies and polymer photonics
   195)       Invited talk: PIC Training conference/workshop in Sunnyvale, Silicon Valley
           a. PIC training session/workshop
   196)       Invited talk: Photonics Pilot Lines
           a. 8th Dec 2017
           b. European Commission, Photonics Proposers Meeting, Brussels
   197)       International Roadmap meeting at Berenshot, Utrecht, Netherlands
           a. 20th Jan 2018
           b. Invited talk: International Roadmap meeting: Datacom/Telecom ICT markets,
              AOC, and Polymer PIC technology platforms
   198)       Co-Chairman: PIC (Photonic Integrated Circuits), International Conference,
      Brussels, Belgium
           a. 10th Apr 2018
           b. Photonic Integrated Circuits International
           c. CS International
           d. http://www.picinternational.net
   199)       Session chair and moderator: High volume, high performance PICs (Photonic
      Integrated Circuits) at the International Conference, Brussels, Belgium
           a. 10th Apr 2018
           b. Photonic Integrated Circuits International
           c. CS International
           d. http://www.picinternational.net
   200)       Session chair and moderator: Silicon Photonics (SiP) PICs (Photonic Integrated
      Circuits) at the International Conference, Brussels, Belgium

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            a.11th Apr 2018
            b.Photonic Integrated Circuits International
            c.CS International
            d.http://www.picinternational.net
   201)       Invited Talk: Scalable PIC platforms: “The impact of using polymer PICs for 100
      and 400Gbps datacom applications,” PICs (Photonic Integrated Circuits) at the
      International Conference, Brussels, Belgium
           a. 10th Apr 2018
           b. Photonic Integrated Circuits International
           c. CS International
           d. http://www.picinternational.net
   202)       Management/CEO presentation for Lightwave Logic Inc., at the Annual
      Shareholder Meeting (ASM).
           a. 17th May 2018
           b. Lightwave logic Inc., Denver, Colorado.
           c. Annual shareholder meeting for Lightwave Logic Inc., with live presentation with
              live Q&A from investors.
   203)       Workgroup chair and moderator: Telecom, Datacom, and ICT roadmap
      committee at the International world mapping conference, Enschede, Netherlands
           a. 20th Jun 2018
           b. Photondelta Conference: chairing technical workgroup meetings to address
              photonics roadmap trends and challenges.
           c. Photondelta in coordination with iNEMI, and AIM photonics.
           d. https://www.photondelta.eu
   204)       Workgroup chair and moderator: Telecom long haul roadmap committee at the
      International world mapping conference, Enschede, Netherlands
           a. 20th Jun 2018
           b. Photondelta Conference: chairing technical workgroup meetings to address
              photonics roadmap trends and challenges.
           c. Photondelta in coordination with iNEMI, and AIM photonics.
           d. https://www.photondelta.eu
   205)       Reviewer: European Commission ICT-03-2018: Photonics Pilot lines (InP and
      silicon photonics PICs)
           a. 11th Jun 2018
           b. European Commission: Reviewing submitted technical photonics proposals for
              Horizon 2020, and rate proposals to EU guidelines.
           c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020
   206)       Reviewer: European Commission ICT-04-2018: Tbps optical fiber optic
      transceivers
           a. 11th Jun 2018
           b. European Commission: Reviewing submitted technical photonics proposals for
              Horizon 2020, and rate proposals to EU guidelines.
           c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020

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   207)          Reviewer: European Commission ICT-04-2018: Connected lighting
            a.   11th Jun 2018
            b.   European Commission: Reviewing submitted technical photonics proposals for
                 Horizon 2020, and rate proposals to EU guidelines.
            c.   http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020
   208)          Invited talk and abstract: Pushing the performance of 50Gbps NRZ polymer
                 modulators towards 100Gbps NRZ in a PIC platform to access 400 and 800Gbps
                 data-rates
            a.   25th Sep 2018
            b.   ECOC, Datacenter technologies. Sweden
   209)          Video: Pushing the performance of 50Gbps NRZ polymer modulators towards
                 100Gbps NRZ in a PIC platform to access 400 and 800 Gbps datarates.
            a.   25th Sept 2018
            b.   ECOC, Market Focus at the ECOC Exhibit, (Youtube: Michael Lebby ECOC
                 2018)
   210)          Invited talk and abstract: ECOC International Symposium on Hybrid PICs
                 entitled “Polymer PICs: technology and prospects"
            a.   26th Sept 2018
            b.   International Symposium on Hybrid PICs co-located at the ECOC conference,
                 Rome, Italy.
   211)          Reviewer (European Commission) for pilot line PISCALE
            a.   18th Sept 2018
            b.   European Commission, Brussels
            c.   PISCALE is a pilot line that is focused on bringing to commercial market flexible
                 organic display technologies in both panel and reel to reel formats.
   212)          Reviewer (European Commission) for pilot line MIPHAB
            a.   19th Sept 2018
            b.   European Commission, Brussels
            c.   MIPHAB is a pilot line that is focused on bringing to commercial market near
                 infra-red devices and packaging for industrial, defense, military and high volume
                 applications.
   213)          Reviewer (European Commission) for pilot line PIXAPP
            a.   2nd Oct 2018
            b.   European Commission, Brussels
            c.   PIXAPP is a pilot line that is focused on bringing to commercial market PIC
                 (photonic integrated circuit) packaging solutions for InP and silicon photonics
                 based technologies.
   214)          Reviewer (European Commission) for pilot line PIX4LIFE
            a.   3rd Oct 2018
            b.   European Commission, Brussels




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          c. PIX4LIFE is a pilot line that is focused on bringing to commercial market PIC
              dielectric solutions for applications in the visible wavelength range in the medical
              applications market.
   215)       Reviewer (European Commission) for pilot line MIPHAB
          a. 16th Feb 2019
          b. European Commission, Brussels
          c. MIPHAB is a pilot line that is focused on bringing to commercial market near
              infra-red devices and packaging for industrial, defense, military and high volume
              applications.
   216)       Reviewer (European Commission) for pilot line PIX4LIFE
          a. 25th Mar 2019
          b. European Commission, Brussels
          c. PIX4LIFE is a pilot line that is focused on bringing to commercial market PIC
              dielectric solutions for applications in the visible wavelength range in the medical
              applications market.
   217)       Reviewer (European Commission) for project CARDIS
          a. 18th Apr 2019
          b. European Commission, Brussels
          c. CARDIS is an EU project for PIC based technology to monitor blood flow and
              artery stiffness in the human body using long wavelength lasers and silicon
              photonics.
   218)       Reviewer: European Commission ICT-03-2019: Fiber optic communications and
      bio-photonics for medical applications
          a. 6th June 2019
          b. European Commission: Reviewing submitted technical photonics proposals for
              Horizon 2020, and rate proposals to EU guidelines.
          c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020
   219)       Reviewer: European Commission ICT-05-2019: Pilot lines (free form optics and
      integrated photonics for bio-medical applications
          a. 16th June 2019
          b. European Commission: Reviewing submitted technical photonics proposals for
              Horizon 2020, and rate proposals to EU guidelines.
          c. http://ec.europa.eu/research/participants/portal/desktop/en/opportunities/h2020
   220)       Reviewer (European Commission) for pilot line PISCALE
          a. 11th Sept 2019
          b. European Commission, Brussels
          c. PISCALE is a pilot line that is focused on bringing to commercial market flexible
              organic display technologies in both panel and reel to reel formats.
   221)       Invited talk: Polymer modulators and polymer PIC technologies: PIC Training
      conference/workshop in Sunnyvale, Silicon Valley
          a. 28th Jan 2019
          b. PIC training session/workshop at Keysight facility


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   222)       Co-Chairman: PIC (Photonic Integrated Circuits), International Conference,
      Brussels, Belgium
          a. 26-27th Mar 2019
          b. Photonic Integrated Circuits International
          c. CS International
          d. http://www.picinternational.net
   223)       Session chair and moderator: High volume, high performance PICs (Photonic
      Integrated Circuits) for Foundries at the International Conference, Brussels, Belgium
          a. 26th Mar 2019
          b. Photonic Integrated Circuits International
          c. CS International
          d. http://www.picinternational.net
   224)       Session chair and moderator: High volume PICs (Photonic Integrated Circuits) at
      the International Conference, Brussels, Belgium
          a. 27th Mar 2019
          b. Photonic Integrated Circuits International
          c. CS International
          d. http://www.picinternational.net
   225)       Invited Talk: Polymer PICs for 400Gbps+ datacom applications,” PICs (Photonic
      Integrated Circuits) at the International Conference, Brussels, Belgium
          a. 27th Mar 2019
          b. Photonic Integrated Circuits International
          c. CS International
          d. http://www.picinternational.net
   226)       Management/CEO presentation for Lightwave Logic Inc., at the Annual
      Shareholder Meeting (ASM).
          a. 16th May 2019
          b. Lightwave logic Inc., Denver, Colorado.
          c. Annual shareholder meeting for Lightwave Logic Inc., with live presentation with
              live Q&A from investors with presentation:
              https://drive.google.com/file/d/1wh8irF8rmi9bU6VeGKAHFqVURyUcytdX/vie
              w?usp=sharing
   227)       Workgroup chair and moderator: Datacom roadmap committee at the
      International world mapping conference, Berlin, Germany
          a. 12th June 2019
          b. Photondelta Conference: chairing technical workgroup meetings to address
              photonics roadmap trends and challenges.
          c. Photondelta in coordination with iNEMI, and AIM photonics.
          d. https://www.photondelta.eu
   228)       Keynote speaker: ‘Global markets for PIC technologies’ at the 3rd International
      world mapping conference, at the Fraunhofer HHI, Berlin, Germany
          a. 15th June 2019


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          b. Photondelta Conference: chairing technical workgroup meetings to address
              photonics roadmap trends and challenges.
          c. Photondelta in coordination with iNEMI, and AIM photonics.
          d. https://www.photondelta.eu
   229)       Invited speaker: ‘Lightwave Logic polymer modulator platform’ at the Spring
      Investor Conference, NYC, NY
          a. 2nd April 2019
          b. Spring Investor Summit (Microcap Conference) (www.springinvestorsummit.com
   230)       Invited video ‘Lightwave Logic polymer modulator platform’ at the Spring
      Investor Conference, NYC, NY
          a. 2nd April 2019
          b. Spring Investor Summit (Microcap Conference)
          c. https://www.youtube.com/watch?v=Mn4oICQpVTQ
   231)        Invited video Interview by EPIC CTO Jose Pozo in EPIC’s Photonics Industry
      Luminary video series.
          a. 28th Jan 2019 (at Photonics West conference in San Francisco)
          b. EPIC Trade Association, Europe
          c. https://www.youtube.com/watch?v=e_V4TeTSwaM
   232)        Invited video ‘Global Markets and Trends’ at the 3rd International Roadmap
      conference, Faunhofer HHI, Berlin Germany
          a. 16th June 2019
          b. PhotonDelta video PR team
          c. https://vimeo.com/341952732
   233)        Invited video ‘Lightwave Logic roadmaps for polymer photonics at the 3rd
      International Roadmap conference, Eindhoven, Netherlands
          a. 16th June 2017
          b. PhotonDelta video PR team
          c. https://vimeo.com/317216466
   234)       Invited video ‘Welcome to WTMF 18’ at the 2nd International Roadmap
      conference, Eindhoven, Netherlands
          a. 12th June 2018
          b. PhotonDelta video PR team
          c. https://vimeo.com/275376937
   235)       Reviewer (European Commission) for pilot line PISCALE
          a. 11th Sept 2019
          b. European Commission, Brussels
          c. PISCALE is a pilot line that is focused on bringing to commercial market flexible
              organic display technologies in both panel and reel to reel formats.
   236)       Invited talk and abstract: “Polymer modulators with >50GHz performance for
              power consumption reduction at 400, 800, and 1600 Gbaud aggregated data-rates”
          a. 24th Sept 2019
          b. Market Focus Session, Photonics Integration and Digital Silicon Photonics,


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                                           Exhibit D, p. 837
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                                  #:18016
                                   Michael Lebby Curriculum Vitae (CV)


         c. ECOC 2019, Dublin, Ireland
         d. https://www.ecocexhibition.com/visit/market-focus/market-focus-2019-timetable/
   237)       Video: Polymer modulators with >50GHz performance for power consumption
      reduction at 400, 800, and 1600 Gbaud aggregated datarates”
         a. 24th Sept 2019
         b. ECOC, Market Focus at the ECOC Exhibit, (Youtube: Michael Lebby ECOC
              2019)
         c. ECOC 2019, Dublin, Ireland
   238)       Invited talk and abstract: ECOC International Symposium on Hybrid PICs
              entitled “Polymer modulators enable the next generation of speeds and low power
              in optical networks”
         a. 22nd Sept 2019
         b. International Symposium and workshop (WO5) on Hybrid PICs,
         c. ECOC conference 2019, Dublin, Ireland
         d. https://www.ecoc2019.org/workshop.html
   239)       Chairman and moderator, Market Focus ECOC 2019 session: Service and Content
      Provider Optical Transmission
         a. 24th Sept 2019
         b. Market Focus Session #5, ECOC 2019, Dublin, Ireland
         c. https://www.ecocexhibition.com/visit/market-focus/market-focus-2019-timetable/
   240)       Chairman and moderator, Market Focus ECOC 2019 session: Optical Network
      Agility/Software Defined Networks
         a. 24th Sept 2019
         b. Market Focus Session #7, ECOC 2019, Dublin, Ireland
         c. https://www.ecocexhibition.com/visit/market-focus/market-focus-2019-timetable/
   241)       Reviewer (European Commission) for pilot line MIPHAB
         a. 10th Dec 2019
         b. European Commission, Brussels
         c. MIPHAB is a pilot line that is focused on bringing to commercial market near
              infra-red devices and packaging for industrial, defense, military and high-volume
              applications.
   242)       Webinar: Wall Street resource
         a. 9th Jan 2020
         b. Lightwave Logic HQ facilities in Denver, Colorado
         c. A 30min recorded webinar answering questions on Lightwave Logic and its
              business plans, technology and plans for the future.
   243)       Invited video Interview by EPIC in EPIC’s Photonics Industry video series on
      European funded pilot lines.
         a. 5th Feb 2020 (at Photonics West conference in San Francisco)
         b. EPIC Trade Association, Europe
   244)       Reviewer (European Commission) for pilot line InPULSE
         a. 19th Mar 2020


                                                                                                  Page 71

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                                           Exhibit D, p. 838
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                                  #:18017
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          b. European Commission, Brussels
          c. InPULSE is a pilot line that is focused on bringing to commercial market InP
              based photonic integrated circuits (PICs) for fiber communications, both datacom
              as well as telecom high-volume applications.
   245)       Keynote and Plenary speaker SPIE Photonics Europe International Conference
          a. Originally 31st March (then moved to 7th April 2020)
          b. Strasbourg, France (the plenary talk was completed using audio embedded
              powerpoint video remotely).
          c. The conference was held virtually in 2020 and the talk was attended by over 1000
              attendees/visits.
          d. https://spie.org/profile/michael.lebby-4009?SSO=1
   246)       Co-Chair (and summit host) of online summit for PIC International virtual session
      with live Q&A.
          a. 19th May 2020
          b. Hosted by Angel Tech (https://onlinesummit.angel-tech.net/breakout/pic-
              international)
          c. Virtual conference with combination of pre-recorded presentations, live
              presentations, and live Q&A. Over 150 attendees.
   247)       Chairman (elected) of ECOC Market Focus technical committee as part of the
      ECOC Exhibition.
          a. 10th May 2020
          b. Committee hosted and organized by ECOC Exhibition
          c. Market Focus Committee at: : https://www.ecocexhibition.com/visit/market-
              focus/
          d.
   248)       Invited video clip on PIC technologies for online summit of PIC International
      conference.
          a. 19th May 2020
          b. Video clip (2:04) can be found at https://onlinesummit.angel-
              tech.net/breakout/pic-international
          c. Summit host’s introduction to the online summit PIC conference.
   249)       Invited speaker, EPIC 24hr Photonics World Tour virtual conference with talked
      entitled; “EO Polymers enable high speed and low power modulators at 1550nm and
      1310nm.”
          a. 24th Jun 2020
          b. EPIC 24hr Photonics World Tour final talk #72 and concluding remarks.
          c. https://www.epic-assoc.com/24hours/ and video on Youtube at:
              https://www.youtube.com/watch?v=aiUSlfxP1z0 starting at 46:00
   250)       Invited speaker and presentation at Lightwave Logic Annual Shareholder
      meetings 2020 with Business Management Update, and presentation entitled, “Lightwave
      logic business review”
          a. 14th May 2020


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     Professor Michael S. Lebby, B. Eng. (Hons), MBA, Ph.D., D. Eng, Fellow NAI, IEEE, OSA; C. Eng.
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                                  #:18018
                                   Michael Lebby Curriculum Vitae (CV)


          b. Presentation can be found at:
              https://drive.google.com/file/d/1xfisLKe6QIykCAIMjOZ0XdiR-
              Ht_O7zZ/view?usp=sharing
          c. Hosted by Lightwave Logic Inc. and MZ Group (Investor Relations)
   251)       Invited paper/article entitled, “Electro-Optic Polymers Improve Speed and Power
      Efficiency” with co-authors Karen Liu and Cory Pecinovsky, Lightwave Logic Inc.
          a. 5th Aug 2020
          b. Published by Photonics Spectra magazine,
          c. Hosted by photonics.com https://www.photonics.com/Articles/Electro-
              Optic_Polymers_Improve_Speed_and_Power/p5/vo180/i1193/a65902
   252)       Invited video interview, “2020 Market Focus and technology trends for ECOC
      2020, Brussels, Belgium” as Chairman of ECOC 2020 Market Focus Technical
      Committee
          a. 5th Aug 2020
          b. Market Focus Exhibition for ECOC 2020,
          c. Hosted by ECOC exhibition: https://www.ecocexhibition.com/visit/market-focus/
   253)       Invited speaker, EPIC Virtual Conference on Datacenters (in collaboration with
      EA and COBO) with presentation entitled; “Using polymer modulators to upgrade your
      PIC + Industry Roadmaps.”
          a. 4th Nov 2020
          b. EPIC Trade Association and subsequent YouTube video
              (https://www.youtube.com/watch?v=tHh-z724D2g ) and also at EPIC:
              https://www.epic-assoc.com/epic-online-technology-meeting-on-datacenter-
              interconnects-in-cooperation-with-cobo-and-ea/
          c. Hosted by EPIC
   254)       Chair and invited speaker, PIC International virtual conference on PICs: PIC
      Virtual II with presentation entitled; “Optical devices and industry roadmaps.”
          a. 2nd Nov 2020
          b. PIC International Conference,
              (https://picmagazine.net/article/112351/AngelTech_Virtual_2_-
              _The_Sequel_Proves_A_Hit_Success ) and (https://onlinesummit.angel-tech.net )
          c. Hosted by CS International and PIC International (Angel Business, London)
   255)       Reviewer (European Commission) for pilot line PIX4LIFE
          a. 2nd Dec 2020
          b. European Commission, Brussels (virtual review)
          c. PIX4LIFE is a pilot line that is focused on bringing to commercial market PIC
              dielectric solutions for applications in the visible wavelength range in the medical
              applications market.
   256)       Invited speaker, EPIC Photonics Plus conference (virtual) with a talk entitled
      “Polymer Plus™: Upgrading your PIC with Ultrafast and Low Power Modulators.”
          a. 16th Feb 2021
          b. EPIC Trade Association https://photonicsplus.com and also at EPIC:
              https://photonicsplus.com/exhibitors/

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                                  #:18019
                                   Michael Lebby Curriculum Vitae (CV)


          c. Hosted by EPIC
   257)        Invited video ‘Lightwave Logic advancing its silicon photonic prototypes” by
      Proactive, (https://www.proactiveinvestors.com )NY
          a. 2nd April 2019
          b. Proactive video (Wall St) series:
               https://www.youtube.com/watch?v=3B0oGXvyogA
          c. Lightwave Logic, Inc. (OTCQX: LWLG) CEO Michael Lebby tells Proactive the
               Englewood, Colorado-based technology platform company is in discussions with
               large and small players within the telecommunications and data-communications
               space, including companies who are involved in the manufacturing routers.
   258)        Invited speaker (updated virtual presentation), EPIC Photonics Plus conference
      (virtual) with a talk entitled “Commercializing Polymer Modulators.”
          a. 10th Mar 2021
          b. EPIC Trade Association https://photonicsplus.com and also at
               https://www.lightwavelogic.com/presentation/video-presentation-
               commercializing-polymer-modulators/
          c. Hosted by EPIC
   259)        Invited Webinar and panelist: Roth Capital Partners
      (https://www.roth.com/Page/Corporate-Access-Past-Conferences )
          a. 17th Mar 2021
          b. 33rd Annual Roth Conference
          c. Financial investment conference for public company review. Panelist for
               answering questions by bankers, investment specialists, and fund managers on
               Lightwave Logic and its business plans, technology and plans for the future.
   260)        Invited white paper/article entitled, “Polymers for Fiber Optic Communications:
      What does the Integrated Photonics Roadmap Say” co-authors Michael Lebby and Karen
      Liu, Lightwave Logic Inc.
          a. 24th Mar 2021
          b. Published by Lightwave Logic Inc., (https://www.lightwavelogic.com/wp-
               content/uploads/sites/319/2021/03/WP_IPSR-Roadmap-Decoded.pdf )
          c. Executive summary: The IPSR (Integrated Photonic Systems Roadmap), a recent
               broad collaboration that unified the efforts of multiple established photonics
               roadmap efforts, describes the key technology bottlenecks for a broad array of
               applications and most promising solutions to overcome them. This whitepaper
               highlights the portion of the roadmap specific to fiber optic communications and
               within that the implications for the role of electro-optic polymers. Key findings
               identify critical advances that will be needed over the next decade to support the
               growth of very high data rate applications. By the end of the decade, integration
               of electronics with photonics will be part of broad integrated platforms.
               Innovative materials technologies such as polymers can be useful to enhance
               integrated photonics platforms with the use of high- speed modulators and passive
               optical interconnects.
   261)        Reviewer (European Commission) for pilot line Phabulous

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          a. 31st Mar 2021
          b. Via European Commission (virtual review)
          c. Phabulous is a pilot line that is focused on bringing to commercial market micro-
              optics and free-form optics technology. Focus is on SMEs, prototyping and small
              volume manufacturing.
   262)       Chair and invited speaker, PIC International virtual conference on PICs: PIC
      Virtual III with presentation entitled; “Integrated photonic roadmaps.”
          a. 12th Apr 2021
          b. PIC International Conference,
              (https://picmagazine.net/article/112351/AngelTech_Virtual_2_-
              _The_Sequel_Proves_A_Hit_Success ) and (https://onlinesummit.angel-tech.net)
          c. Hosted by CS International and PIC International (Angel Business, London)
   263)       Reviewer (European Commission) for pilot line InPULSE (also known as Jeppix)
          a. 23rd Apr 2021
          b. Via European Commission (virtual review)
          c. InPULSE is a pilot line that is focused on bringing to commercial market InP
              based photonic integrated circuits (PICs) for fiber communications, both datacom
              as well as telecom high-volume applications.
   264)       Invited speaker, EPIC Virtual Conference on PIC Packaging with presentation
      entitled; “Integrated photonics roadmaps: enabling high performance packaging.”
          a. 26th Apr 2021
          b. EPIC Trade Association and subsequent YouTube video
              (https://www.youtube.com/watch?v=tHh-z724D2g ) and also at EPIC:
              https://www.epic-assoc.com/epic-online-technology-meeting-on-pic-packaging/
          c. Hosted by EPIC
   265)       Invited conference and panelist: Oppenheimer 6th Annual Virtual Emerging
      Growth Conference (https://www.oppenheimer.com/events/2021/6th-annual-emerging-
      growth-conference.aspx )
          a. 11th May 2021
          b. Oppenheimer 6th Annual Virtual Emerging Growth Conference.
          c. Financial investment conference for public company review. Panelist for
              answering questions with a variety of bankers, investment specialists, and fund
              managers on Lightwave Logic and its business plans, technology and plans for the
              future.
   266)       Invited speaker and presentation at Lightwave Logic Annual Shareholder
      meetings 2021 with Business Management Update, and presentation entitled, “Lightwave
      logic business review”
          a. 27th May 2021
          b. Presentation can be found at: https://www.lightwavelogic.com/presentation/2021-
              asm-business-update-por-lightwave-logic-ceo-dr-michael-lebby/
          c. Hosted by Lightwave Logic Inc. and MZ Group (Investor Relations)
   267)       Keynote speaker for PITC opening ceremony with presentation entitled,
      “Photonic Integrated Circuits (PICs): Enabling our future…”

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                                   Michael Lebby Curriculum Vitae (CV)


          a. 2nd June 2021
          b. Agenda at: https://brainporteindhoven.com/en/events/launch-photonics-
             integration-techology-center and presentation at:
             https://www.lightwavelogic.com/presentation/photonic-integration-technology-
             center-keynote/
          c. Hosted by PITC (Photonics Integrated Technology Center); Photon Delta, TNO,
             Eindhoven University, Twente University.
   268)      Invited speaker at the LD Micro Invitational XI conference (virtual) with
      presentation entitled, “Lightwave Logic Investor Presentation”
          a. 10th June 2021
          b. Presentation at: https://api.mziq.com/mzfilemanager/v2/d/307dbc8b-e212-48ba-
             9968-8cef3f6b5188/8c054319-48a6-bd6b-2a0c-66e56f5f489f?origin=2
          c. Hosted by LD Micro NASDAQ: SRAX
   269)      Invited video interview, “2021 Market Focus and technology trends for ECOC
      2021, Bordeaux, France” as Chairman of ECOC 2021 Market Focus Technical
      Committee
          a. 15th June 2021
          b. Market Focus Exhibition for ECOC 2021,
          c. Hosted by ECOC exhibition: https://www.ecocexhibition.com/visit/market-focus/
   270)




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     Professor Michael S. Lebby, B. Eng. (Hons), MBA, Ph.D., D. Eng, Fellow NAI, IEEE, OSA; C. Eng.
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               APPENDIX B




                               Exhibit D, p. 844
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                               APPENDIX B
              OPENING EXPERT REPORT OF DR. MICHAEL S. LEBBY
                         MATERIALS CONSIDERED

 Description                                                           Bates Range
 U.S. Patent No. 6,310,364 (“Uemura”)                                  FE 473193 - FE 473203
 U.S. Patent No. 7,086,756 (“Maxik”)                                   FE 473204 - FE 473216
 U.S. Patent No. 7,723,740 (Takashima et al.)                          FE 473217 - FE 473283
 U.S. Patent No. 7,875,897 (“Suehiro”)                                 FE 473284 - FE 473327
 U.S. Patent No. 8,366,295 B2 (Tanda et al.)                           FE 473328 - FE 473351
 U.S. Patent No. 9,491,812 B2 (Tanda et al.)                           FE 473352 - FE 473375
 U.S. Patent No. 9,491,813 B2 (Tanda et al.)                           FE 473376 - FE 473398
 U.S. Patent No. 9,752,734 B2 (Tanda et al.)                           FE 473399 - FE 473422
 U.S. Patent Publication No. 2004/0257797A1 (“Suehiro 797”)            FE 473460 - FE 473492
 U.S. Patent Application Publication No. 2003/0031015 (“Ishibashi”)    FE 473455 - FE 473459
                                                                       Mori-Ward0006279 –
 U.S. Patent Application Publication No. 2004/0008525 (“Shibata”)
                                                                       Mori-Ward0006284
 U.S. Patent Application Publication No. 2004/0239242 A1
 (“Mano”)
 Prosecution History of U.S. Patent No. 8,366,295 B2                   FE 470179 - FE 470939
 Prosecution History of U.S. Patent No. 9,491,812 B2                   FE 470940 - FE 472108
 Prosecution History of U.S. Patent No. 9,491,813 B2                   FE 472109 - FE 473189
                                                                       NichiaFeit0000001 –
 Prosecution History of U.S. Patent No. 9,752,734
                                                                       NichiaFeit0000268
 1994 Tektite Catalog page (TEKTITE0000001-2)                          FE 473450 - FE 473451
 2000 Tektite Catalog page (TEKTITE0000003-4)                          FE 473452 - FE 473453
 Federal Express Label (TEKTITE000033)                                 FE 473454 - FE 473454
 2014 Tektite Catalog
 2020 Tektite Catalog
 Deposition Transcript of Christian Wetzel, Nov. 20, 2020 and
 exhibits
 Deposition Transcript of Toshio Matsushita Sept. 30, 2021 and
 exhibits
 Deposition Transcript of Toshio Matsushita, June 10, 2021 and
 exhibits
 Deposition Transcript of Toshio Matsushita, June 11, 2021 and
 exhibits
 Deposition Transcript of Toshio Matsushita, Sept. 29, 2021 and
 exhibits
 Feit Electric’s Preliminary Invalidity Contentions
 Feit Electric’s Final Invalidity Contentions
 Plaintiff Nichia’s Preliminary Infringement Contentions
 Plaintiff Nichia Corporation’s Final Infringement Contentions, Mar.
 21, 2021




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 Description                                                               Bates Range
 Parties Proposed Claim Constructions, Exhibit A to Joint Claim
 Construction and Prehearing Statement (Dkt. 51), Oct. 23, 2020
 Plaintiff Nichia Corporation’s Opening Claim Construction Brief
 (Dkt. 61), Nov. 30, 2020
 Defendant Feit Electric Company, Inc.’s Responsive Claim
 Construction Brief (Dkt. 67), Dec. 14, 2020
 Plaintiff Nichia Corporation’s Reply Claim Construction Brief (Dkt.
 70), Dec. 21, 2020
 Defendant Feit Electric Company, Inc.’s Claim Construction
 Statement (Dkt. 84), Jan. 27, 2021
 Plaintiff Nichia Corporation’s Supplemental Claim Construction
 Brief (Dkt. 87), Feb. 5, 2021
 Nichia v. Feit Markman Tutorial
 Claim Construction Order (Dkt. 90), Feb. 19, 2021
 Markman Tutorial Hearing Transcript, Jan. 7, 2021
 Markman Hearing Transcript, Jan. 21, 2021
 Nichia Corporation’s First Supplemental Response to Feit Electric’s
 Third Set of Interrogatories (Nos. 12-20), Aug. 16, 2021
 Nichia Corporation’s Fourth Supplemental Objections and
 Responses to Feit Electric’s Third Set of Interrogatories (Nos. 12-
 20), Nov. 9, 2021
 Nichia Corporation’s Objections and Responses to Feit Electric’s
 Third Set of Interrogatories (Nos. 12-20), Jun. 14, 2021
 Nichia Corporation’s Second Supplemental Objections and
 Responses to Feit Electric’s Third Set of Interrogatories (Nos. 12-
 20), Aug. 17, 2021
 Nichia Corporation’s Third Supplemental Objections and Responses
 to Feit Electric’s Third Set of Interrogatories (Nos. 12-20), Sept. 15,
 2021
 Gessmann, Th., and Schubert, E. F. 2004. High-efficiency AlGaInP
 light-emitting diodes for solid-state lighting applications. J. Appl.
 Phys. 95:2203–2216.
 Goetz W. “White lighting (illumination) with LEDs” Fifth
 International Conference on Nitride Semiconductors, Nara, Japan,
 May 25–30 (2003)
 High brightness light emitting diodes: Semiconductors and
 semimetals, G. B. Stringfellow and M. G. Craford, 65–95. Vol. 48.         FE 473423 - FE 473449
 San Diego: Academic Press.
 Hirayama, H. 2005. Quaternary InAlGaN-based high-efficiency
 ultraviolet light-emitting diodes. J. Appl. Phys. 97:091101
 Holcomb M. O., Mueller-Mach R., Mueller G. O., Collins D.,
 Fletcher R. M., Steigerwald D. A., Eberle S., Lim Y. K., Martin P.
                                                                           Mori-Ward0006361 –
 S., and Krames M. “The LED light bulb: Are we there yet? Progress
                                                                           Mori-Ward0006364
 and challenges for solid-state illumination” Conference on Lasers
 and Electro-Optics (CLEO), Baltimore, Maryland, June 1–6 (2003)


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                                        Exhibit D, p. 846
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 Description                                                          Bates Range
 https://www.led-professional.com/all/25th-anniversary-of-the-white-
                                                                      FE 473493 - FE 473493
 led-2013-nichia2019s-innovation
                                                                      Mori-Ward0003302 –
 JP Publication No. JP2000277808A (“Okamoto”)
                                                                      Mori-Ward0003319
 JP Publication No. JP2003249692A (“Yamazaki”)
 Kim J. K., Luo H., Schubert E. F., Cho J., Sone C., and Park Y.
 “Strongly enhanced phosphor efficiency in GaInN white light-
                                                                      FE 473190 - FE 473192
 emitting diodes using remote phosphor configuration and diffuse
 reflector cup” Jpn. J. Appl. Phys. – Express Letter 44, L 649 (2005)
 Luo H., Kim J. K., Schubert E. F., Cho J., Sone C., and Park Y.
 “Analysis of high-power packages for phosphor-based white-light-
 emitting diodes” Appl. Phys. Lett. 86, 243505 (2005)
 Madelung, O. 1996. Semiconductors, basic data. 2nd ed. Berlin:
 Springer-Verlag.; Steranka, F. M. 1997.
 Morkoc, H., Strite, S., Gao, G. B., Lin, M. E., Sverdlov, B., and
 Burns, M. 1994 Large-band-gap SiC, III-V nitride, and II-VI ZnSe-
 based semiconductor device technology. J. Appl. Phys. 76:1363–
 1398; Morkoc and Mohammad 1995
 Narendran N., Gu Y., Freyssinier-Nova J. P., and Zhu Y.
 “Extracting phosphor-scattered photons to improve white LED
 efficiency” Phys. Stat. Sol. (a) 202, R60 (2005))
 Ponce, F. A., and Bour, D. P. 1997. Nitride-based semiconductors
 for blue and green light-emitting devices. Nature 386: 351–359
 Schubert, Light-Emitting Diode, 2nd Ed. (2006)
 Schubert, Light-Emitting Diodes, 1st Ed. (2003)
 Strite, S., and Morkoc, H. 1992. GaN, AlN, and InN: A review. J.
 Vac. Sci. Technol. B 10:1237–1266.
                                                                      NichiaFeit0000155 –
 Toshio Matsushita 30(b)(6) Deposition Ex. 10
                                                                      NichiaFeit0000194
 Wu, J. 2009. When group-III nitrides go infrared: New properties
 and perspectives. J. Appl. Phys. 106:011101
 Xie, et al., Nitride Phosphors and Solid State Lighting, Taylor and
 Francis Group, LLC (2011)




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                                     Exhibit D, p. 847
           Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 848 of 954 Page ID
                                             #:18026


                   1                            CERTIFICATE OF SERVICE
                   2         I hereby certify that on the 7th day of December, 2021, I electronically served
                   3    the OPENING EXPERT REPORT OF DR. MICHAEL S. LEBBY to the
                   4    attorneys of record for Plaintiff NICHIA CORPORATION as follows:
                   5         WILLIAM S. O’HARE (SBN 82562)
                             wohare@swlaw.com
                   6
                             ELIZABETH M. WELDON (SBN 223452)
                   7         eweldon@swlaw.com
                             JENNY HUA (SBN 298984)
                   8
                             jhua@swlaw.com
                   9         SNELL & WILMER L.L.P.
                             600 Anton Blvd., Suite 1400
                   10
                             Costa Mesa, CA 92626
                   11        Telephone: (714) 427-7000
                             Facsimile: (714) 427-7799
                   12
                   13        ROBERT P. PARKER (pro hac vice)
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                             MARTIN ZOLTICK (pro hac vice)
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                   19        dmccallum@rfem.com
                   20        MARK RAWLS (pro hac vice)
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                   27                                          Attorney for Defendant Feit
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                   28
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C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH

                                                                                              20-cv-00359
                                                  Exhibit D, p. 848
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 849 of 954 Page ID
                                  #:18027




          EXHIBIT E




                               Exhibit E, p. 849
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 850 of 954 Page ID
                                  #:18028

  From:           Robert P. Parker
  To:             "Shah, Kal"
  Cc:             Weinstein, Michael S.; NichiaLIT
  Subject:        RE: Nichia v. Feit (18-cv-1390) Settlement Counter pursuant to Rule 408
  Date:           Thursday, December 16, 2021 12:03:41 PM


 Kal,

 In general, we have at least three concerns regarding the Lebby report. First, the report relies on
 the Yamazaki reference (Sections V(B)-(D)), which was not included in the contentions. Second,
 some of the combinations – including Mano (Section V(A)) and Okamoto (Section D V(D)) grounds –
 are new. Third, some of the §112 positions – including lack of enablement of claim 18 (Section VI)
 and lack of written description of “board” (Section VII) – are new.

 In addition, if we can’t resolve this and we have to file a motion, we want to coordinate with you on
 timing to avoid the holidays.

 I sent a separate invite for our call tomorrow at 3:00 eastern.

 Best,

 Bob



 From: Shah, Kal <KShah@beneschlaw.com>
 Sent: Thursday, December 16, 2021 10:39 AM
 To: Robert P. Parker <rparker@rothwellfigg.com>
 Cc: Weinstein, Michael S. <MWeinstein@beneschlaw.com>; NichiaLIT <NichiaLIT@rothwellfigg.com>
 Subject: RE: Nichia v. Feit (18-cv-1390) Settlement Counter pursuant to Rule 408

 I am pretty tied up today. How about tomorrow at 11am EST?

 Also, please send us in advance your concerns regarding Lebby’s opinions so we can adequately
 address.

 Best,

 Kal


 Kal K. Shah
       ​




 Chair, Intellectual Property Litigation Practice Group
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 From: Robert P. Parker <rparker@rothwellfigg.com>

                                                 Exhibit E, p. 850
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 851 of 954 Page ID
                                  #:18029




          EXHIBIT F




                               Exhibit F, p. 851
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 852 of 954 Page ID
                                  #:18030

  From:            Shah, Kal
  To:              Robert P. Parker
  Cc:              NichiaLIT; Bali, Salil; Feit20-359
  Subject:         RE: Nichia v. Feit (18-cv-1390) Settlement Counter pursuant to Rule 408
  Date:            Friday, December 17, 2021 12:11:58 PM


 Hello Bob,

 Thank you for providing your concerns. I address each in turn.

 Prior Art
 As it relates to the Yamazaki reference, this reference is used on a limited basis and redundant of
 other art. It is also of record through discovery in this case.

 With respect to the Mano and Okamoto combination, both references were disclosed and used in
 combinations. Moreover, it is common for experts to provide preferred combinations based on
 disclosed references. And, of course, Feit Electric included the corresponding reservation of rights.
 Final Invalidity Contentions at 6 (“Feit Electric further reserves the right to rely on any combination
 of the references cited in Exhibits A-H, even if not explicitly set forth therein.”).

 Ultimately, at this juncture, we are not sure we will proceed with Yamazaki or the Mano/Okamoto
 combination on the merits. Thus, while we stand by our position at this stage, rather than engage in
 premature motion practice, our suggestion is that the parties reserve their rights should this be an
 issue. Frankly, given the number of experts retained by Nichia, it should not be prejudicial and
 certainly should be more efficient to simply address these positions and reserve the right to
 challenge. Indeed, we have similar concerns with the overreach by Nichia’s experts, but will raise
 them at the appropriate time should Nichia actually seek to proceed with them on the merits in
 summary judgment or at trial.

 35 USC § 112
 We are perplexed. These positions were disclosed in Feit Electric’s contentions and discovery. For
 example, Section IV (Lack of Enablement) of the contentions includes the position that all of the
 Asserted Claims are invalid for lack of enablement. Id. at 22 (“The Asserted Claims are invalid under
 35 U.S.C. § 112 for failing to properly enable one of skill in the art to practice the claimed
 invention.”). That section also discusses how the specification fails to enable one of skill in the art as
 to light conversion and light transmission of the wavelength conversion member, features found in
 claim 18. Id. Further, Section V (Lack of Written Description) of the contentions includes the position
 that all of the Asserted Claims are invalid for lack of written description. Id. (“The Asserted Claims are
 invalid under 35 U.S.C. § 112 for failing to provide an adequate written description.”). Additionally,
 that section discusses how the specification fails to provide a clear depiction of many features of the
 board, including the “end portions,” “a center portion,” “a first region,” and “a second region.” We
 stand by these positions.

 Best,

 Kal


                                                  Exhibit F, p. 852
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                                  #:18031




         EXHIBIT G




                               Exhibit G, p. 853
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 854 of 954 Page ID
                                  #:18032

  From:               Robert P. Parker
  To:                 "Papacostas, Simeon"; Smith, Katherine A.; NichiaLIT; O"Hare, Bill; Weldon, Elizabeth
  Cc:                 Feit20-359; Salil Bali; Crummett-Smith, Jennifer
  Subject:            RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20-0359 (C.D. Cal.)
  Date:               Monday, December 20, 2021 11:12:03 AM


 Kal, Simeon, et al.,

 Thanks for the call last week. Here is a summary of the points we discussed, so they don’t get lost in
 the ether.

             1. Nichia agrees to the proposed stipulation on the extension of time for responsive expert
             reports as Simeon proposed. Will Feit be preparing a stipulation to that effect?

             2. As to the Matsumoto deposition, we asked for a LR 37 letter so we are clear on what
             motion Feit proposes to file, and the basis for the motion. Someone on the Feit side (Kal or
             Katie, I believe) also mentioned case law to the effect that there is no attorney-client
             privilege/work product protection with respect to verification matters, and we would
             appreciate citations to the relevant cases.

             3. With respect to the Lebby report, Feit will look into whether it will continue to assert
             grounds of invalidity based on (i) the Yamazaki reference, and (ii) the Mano and Okamoto
             combinations. We look forward to receiving Feit’s response so that we can plan accordingly,
             including whether to file a motion in early January.

 Please let us know if you have any comments.

 Many thanks,

 Bob




 From: Papacostas, Simeon <SPapacostas@beneschlaw.com>
 Sent: Thursday, December 16, 2021 1:38 PM
 To: Robert P. Parker <rparker@rothwellfigg.com>; Smith, Katherine A. <KSmith@beneschlaw.com>;
 NichiaLIT <NichiaLIT@rothwellfigg.com>; O'Hare, Bill <wohare@swlaw.com>; Weldon, Elizabeth
 <eweldon@swlaw.com>
 Cc: Feit20-359 <Feit20-359@beneschlaw.com>; Salil Bali <SBali@stradlinglaw.com>; Crummett-Smith,
 Jennifer <jcrummett@stradlinglaw.com>
 Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20-0359 (C.D. Cal.)

 Hi Bob—

 Thanks. That’s correct. We served an opening report only from Dr. Lebby, and we received the four
 reports from Nichia listed in your two emails below.



                                                      Exhibit G, p. 854
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                                  #:18033




         EXHIBIT H




                               Exhibit H, p. 855
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 856 of 954 Page ID
                                  #:18034



               UNITED STATES INTERNATIONAL TRADE COMMISSION
                               WASHINGTON, D.C.

                             Before The Honorable Clark S. Cheney
                                   Administrative Law Judge


  In the Matter of
                                                        Investigation No. 337-TA-1220
  CERTAIN FILAMENT LIGHT-
  EMITTING DIODES AND PRODUCTS
  CONTAINING SAME (II)


                         RESPONDENTS’ NOTICE OF PRIOR ART

        Pursuant to the Procedural Schedule (Order No. 10) and Ground Rule 8 (Order No. 2), and

 based on the claims asserted by Complainant The Regents of the University of California

 (“Complainant”), Respondents IKEA Supply AG, IKEA U.S. Retail LLC, and IKEA of Sweden

 AB (collectively, “Ikea”), Respondents General Electric Company, Consumer Lighting (US) LLC

 d/b/a GE Lighting, and Savant Systems, Inc. (collectively, “GE”), Respondents The Home Depot,

 Inc., Home Depot U.S.A., Inc., and Home Depot Product Authority, LLC (collectively, “Home

 Depot”), Respondent Satco Products, Inc. (“Satco”), Respondent Feit Electric Company, Inc.

 (“Feit”), Intervenor Global Value Lighting LLC (“GVL”), and Intervenor Signify North America

 Corporation (“Signify”) (collectively, “Respondents”), by their undersigned attorneys, hereby

 submit this Notice of Prior Art (“Notice”). The attached Exhibit 1 sets forth prior art relevant to

 the patents asserted by Complainant in this Investigation, i.e., U.S. Patent Nos. 10,593,854 (“the

 ’854 patent”), 9,240,529 (“the ’529 patent”), 9,859,464 (“the ’464 patent”), 10,644,213 (“the ’213

 patent”), and 10,658,557 (“the ’557 patent”).

        Respondents intend to rely on the prior art references identified in Exhibit 1 as invalidating

 prior art under 35 U.S.C. §§ 102 or 103, as anticipatory or as rendering obvious (alone or in




                                                  1
                                         Exhibit H, p. 856
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 combination), as proof of an invalidating prior use, sale, or offer for sale, or to otherwise invalidate

 one or more claims of the asserted patents. Respondents may also rely on the references listed in

 Exhibit 1 for other purposes, including showing the state of the art during the relevant time periods

 and the information that would have been known to one of ordinary skill in the art. Respondents

 further may rely upon the persons identified herein as the prior inventors or as persons having

 knowledge of or having previously used or offered for sale the alleged inventions of the asserted

 patents. Respondents also reserve their right to rely upon Complainant’s employees, former

 employees, consultants and/or other persons affiliated with Complainant who may have

 knowledge of, or have previously used or offered for sale, the alleged inventions of the asserted

 patents and whose identities, knowledge, and whereabouts are within Complainant’s possession,

 custody, and control.

         Each reference, publication, and patent or patent application listed in Exhibit 1 includes

 and incorporates all references cited therein, regardless of whether a cited reference appears

 separately in Exhibit 1. In addition, identification of a patent or patent application should be

 understood as identifying any applications to which the patent or application claims priority, and

 any publication of the underlying or priority application. Identification of a patent application or

 patent application publication should be understood as identifying any patents that issued from the

 identified application or publication. Similarly, identification of a product should be understood

 as identifying the product itself as well as any related documentation. Identification of product

 documentation should be understood as identification of the product itself.

         In addition to the references identified in Exhibit 1, Respondents may rely upon, and hereby

 incorporate into the Notice, the following: (i) prior art contained within the prosecution histories

 of the asserted patents; (ii) prior art contained within the prosecution histories of patents or patent




                                                    2
                                           Exhibit H, p. 857
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 applications related to the asserted patents; (iii) prior art identified by the Staff or any other party

 in a notice of prior art; and (iv) prior art identified during the remainder of the discovery including

 but not limited to, prior art identified in any interrogatory responses, hearing exhibits, and/or expert

 reports served in this Investigation.

         This Notice is based on the priority dates set forth in Respondents’ initial invalidity

 contentions. See Respondents’ Joint Disclosure of Initial Invalidity Contentions in Response to

 Individual Interrogatories (served on December 7, 2020). Complainant has not met its burden of

 showing on a claim-by-claim basis that it is entitled to a priority date earlier than any of those

 dates. If Complainant contends or demonstrates that any of the asserted claims is entitled to an

 earlier priority date, Respondents reserve their right to amend this Notice, including identifying

 additional prior art references not currently listed in Exhibit 1.

         Discovery is ongoing in this Investigation, and Complainant has not yet provided all the

 discovery requested by Respondents or supplied all of its contentions regarding certain issues,

 including validity. Accordingly, Respondents reserve the right to supplement, amend, or otherwise

 modify this notice as necessary based upon Complainant’s contentions, further discovery and

 investigation, review of newly or yet-to-be produced documents, any discovery provided by third

 parties, and the disclosures of witnesses not yet deposed.




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                                           Exhibit H, p. 858
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 859 of 954 Page ID
                                  #:18037



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                                      4
                               Exhibit H, p. 859
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 860 of 954 Page ID
                                  #:18038



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                               Exhibit H, p. 860
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 861 of 954 Page ID
                                  #:18039



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                               Exhibit H, p. 861
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                                  #:18040



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                                      7
                               Exhibit H, p. 862
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 863 of 954 Page ID
                                  #:18041



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                                     Product Authority, LLC




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                               Exhibit H, p. 863
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 864 of 954 Page ID
                                  #:18042



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                                     LLC




                                      9
                               Exhibit H, p. 864
Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 865 of 954 Page ID
                                  #:18043



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                                     Counsel for Intervenor Signify North America
                                     Corporation




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                               Exhibit H, p. 865
                  Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 866 of 954 Page ID
                                                    #:18044



                                                             Exhibit 1
                                                 To Respondents’ Notice Of Prior Art

       In the following sections, Table 1 identifies each prior art patent or patent application by its country, number, title, first named

inventor, priority date or filing date, and date of issue or publication. Table 2 identifies each non-patent prior art publication by, where

possible, its first author or publisher, reference title and relevant page numbers, date of publication, and short name. Table 3 identifies

each prior art product or system by, where possible, its brand name, product or model name, the date and location of the offer or sale,

and the name and address of any corroborating witnesses.

Table 1: Prior Art Patents and Publications

                                                                                             Name of First Filing Date
    Country        Patent / Appl.                            Title                          Named Inventor / Priority Published /
                                                                                                                       Issue Date
                                                                                               / Patentee      Date
       US            3,607,463       Method for growing tin-doped n-type epitaxial          Kinoshita      08/02/1968 09/21/1971
                                     gallium arsenide from the liquid state
       US            3,938,177       Narrow lead contact for automatic face down            Hansen               06/25/1973 02/10/1976
                                     bonding of electronic chips
       US            3,999,280       Narrow lead contact for automatic face down            Hansen               06/25/1973 12/28/1976
                                     bonding of electronic chips
       US            4,026,692       Press molding optical articles from acid hydrated      Bartholomew          12/15/1975 05/31/1977
                                     glasses
       US            4,211,955       Solid state lamp                                       Ray                  03/02/1978 07/08/1980
       US            4,727,289       LED lamp                                               Uchida               07/17/1986 02/23/1988
       US            4,497,974       Realization of a thin film solar cell with a           Deckman              03/25/2004 07/07/2010
                                     detached reflector
       US            5,376,580       Wafer bonding of light emitting diode layers           Kish                 03/19/1993 12/27/1994
       US            5,416,870       Optoelectronic interface device and method with        Chun                 12/03/1993 05/16/1995
                                     reflective surface
       US            5,696,389       Light-emitting semiconductor device                    Ishikawa             03/13/1995 12/09/1997


                                                               Exhibit 1 - 1

                                                            Exhibit H, p. 866
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 867 of 954 Page ID
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                                                                                Name of First Filing Date
                                                                               Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                    Issue Date
                                                                                  / Patentee      Date
  US        5,708,280      Integrated electro-optical package and method of    Lebby          06/21/1996 01/13/1998
                           fabrication
  US        5,726,535      LED retrofit lamp for exit signs                    Yan              04/10/1996 03/10/1998
  US        5,775,792      Localized illumination using TIR technology         Goji             10/27/2011 09/09/2015
  US        5,779,924      Ordered interface texturing for a light emitting    Krames           03/22/1996 07/14/1998
                           device
  US        5,780,867      Broadband light-emitting diode                      Fritz            03/07/1996 07/14/1998
  US        5,814,870      Semiconductor component                             Spaeth           01/06/1997 09/29/1998
  US        5,886,401      Structure and fabrication method for                Liu              09/02/1997 03/23/1999
                           interconnecting light emitting diodes with
                           metallization extending through vias in a polymer
                           film overlying the light emitting diodes
  US        5,905,275      Gallium nitride compound semiconductor light-       Nunoue           06/16/1997 05/18/1999
                           emitting device
  US        5,924,784      Microprocessor based simulated electronic flame     Chliwnyj         08/15/1996 07/20/1999
  US        5,925,898      Optoelectronic transducer and production            Spath            01/26/1998 07/20/1999
                           methods
  US        5,932,048      Method of fabricating direct-bonded                 Furukawa         06/25/1997 08/03/1999
                           semiconductor wafers
  US        5,952,681      Light emitting diode emitting red, green and blue   Chen             11/24/1997 09/14/1999
                           light
  US        5,998,232      Planar technology for producing light-emitting      Maruska          01/16/1998 12/07/1999
                           devices
  US        5,998,925      Light emitting device having a nitride compound     Shimizu          07/29/1997 12/07/1999
                           semiconductor and a phosphor containing a
                           garnet fluorescent material
  US        6,015,719      Transparent substrate light emitting diodes with    Kish             10/24/1997 01/18/2000
                           directed light output
  US        6,042,248      LED assembly for illuminated signs                  Hannah           10/15/1997 03/28/2000
  US        6,091,085      GaN LEDs with improved output coupling              Lester           02/19/1998 07/18/2000
                           efficiency
  US        6,133,589      AlGaInN-based LED having thick epitaxial layer      Krames           06/08/1999 10/17/2000
                           for improved light extraction
  US        6,155,699      Efficient phosphor-conversion led structure         Miller           03/15/1999 12/05/2000
  US        6,252,254      Light emitting device with phosphor composition     Soules           11/30/1998 06/26/2001

                                                   Exhibit 1 - 2

                                                Exhibit H, p. 867
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 868 of 954 Page ID
                                            #:18046


                                                                                   Name of First Filing Date
                                                                                 Named Inventor / Priority Published   /
Country   Patent / Appl.                          Title                                                      Issue Date
                                                                                    / Patentee       Date
  US        6,262,534      Lamp having light source mounted directly to          Johnson, Jr.    11/12/1998 07/17/2001
                           stem
  US        6,310,364      Light-emitting apparatus                              Uemura           08/03/1999   10/30/2001
  US        6,331,063      LED luminaire with light control means                Kamada           11/25/1997   12/18/2001
  US        6,335,548      Semiconductor radiation emitter package               Roberts          03/15/1999   01/01/2002
  US        6,357,889      Color tunable light source                            Duggal           12/01/1999   03/19/2002
  US        6,373,188      Efficient solid-state light emitting device with      Johnson          12/22/1998   04/16/2002
                           excited phosphors for producing a visible light
                           output
  US        6,376,851      Opto-coupler applications suitable for low            Worley           09/21/1998 04/23/2002
                           efficiency silicon based LEDs
  US        6,396,082      Light-emitting diode                                  Fukasawa         03/23/2001 05/28/2002
  US        6,417,019      Phosphor converted light emitting diode               Mueller          04/04/2001 07/09/2002
  US        6,452,217      High power LED lamp structure using phase             Wojnarowski      06/30/2000 09/17/2002
                           change cooling enhancements for LED lighting
                           products
  US        6,482,664      Method for manufacturing white light-emitting         Lee              10/12/2001 11/19/2002
                           diodes
  US        6,483,196      Flip chip led apparatus                               Wojnarowski      04/03/2000 11/19/2002
  US        6,509,584      Optical unit incorporating light-emitting or light-   Suzuki           12/10/2001 01/21/2003
                           receiving element coated by resin protector
  US        6,515,308      Nitride-based VCSEL or light emitting diode           Kneissl          12/21/2001 02/04/2003
                           with p-n tunnel junction current injection
  US        6,523,978      Lamp bulb with stretchable lamp beads therein         Huang            10/30/2000 02/25/2003
  US        6,525,464      Stacked light-mixing LED                              Chin             09/08/2000 02/25/2003
  US        6,547,423      LED collimation optics with improved                  Marshall         12/22/2000 04/15/2003
                           performance and reduced size
  US        6,548,956      Transparent contacts for organic devices              Forrest          12/01/2000   04/15/2003
  US        6,550,953      Light emitting diode lamp device                      Ichikawa         08/18/2000   04/22/2003
  US        6,568,834      Omidirectional lighting device                        Scianna          03/04/1999   05/27/2003
  US        6,569,544      Electroluminescent device                             Alain            07/31/1998   05/27/2003
  US        6,573,530      Multiple quantum well optoelectronic devices          Sargent          02/09/2001   06/03/2003
  US        6,573,537      Highly reflective ohmic contacts to III-nitride       Steigerwald      12/22/1999   06/03/2003
                           flip-chip LEDs


                                                    Exhibit 1 - 3

                                                 Exhibit H, p. 868
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 869 of 954 Page ID
                                            #:18047


                                                                                   Name of First   Filing Date   Published /
Country   Patent / Appl.                          Title                          Named Inventor     / Priority   Issue Date
                                                                                     / Patentee        Date
  US        6,583,550      Fluorescent tube with light emitting diodes           Iwasa             10/23/2001    06/24/2003
  US        6,586,882      Lighting system                                       Harbers           04/17/2000    07/01/2003
  US        6,603,151      Method and structure for packaging a high             Lin               03/01/2002    08/05/2003
                           efficiency electro-optics device
  US        6,607,286      Lens and lens cap with sawtooth portion for light     West              05/04/2001 08/19/2003
                           emitting diode
  US        6,607,931      Method of producing an optically transparent          Streubel          02/26/2001 08/19/2003
                           substrate and method of producing a light-
                           emitting semiconductor chip
  US        6,608,333      Organic light emitting diode device                   Lee               12/19/2002 08/19/2003
  US        6,608,439      Inorganic-based color conversion matrix element       Sokolik           09/22/1998 08/19/2003
                           for organic color display devices and method of
                           fabrication
  US        6,614,058      Light emitting semiconductor device with a            Lin               07/09/2002 09/02/2003
                           surface-mounted and flip-chip package structure
  US        6,635,902      Serial connection structure of light emitting diode   Lin               05/24/2002 10/21/2003
                           chip
  US        6,639,360      High power radiation emitter device and heat          Roberts           01/31/2001 10/02/2003
                           dissipating package for electronic components
  US        6,649,939      Light-emitting diode with a structured surface        Wirth             09/04/2000 11/18/2003
  US        6,657,236      Enhanced light extraction in LEDs through the         Thibeault         12/03/1999 12/02/2003
                           use of internal and external optical elements
  US        6,657,767      Rearview mirror assembly construction                 Bonardi           05/21/2001 12/02/2003
  US        6,661,167      LED devices                                           Eliashevich       03/14/2001 12/09/2003
  US        6,674,096      Light-emitting diode (LED) package and                Sommers           06/08/2001 01/06/2004
                           packaging method for shaping the external light
                           intensity distribution
  US        6,677,610      Light-emitting device and display apparatus using     Choi              04/16/2002 01/13/2004
                           the same
  US        6,682,950      Light emitting diode and method of making the         Yang              04/05/2001 01/27/2004
                           same
  US        6,686,218      Method for packaging a high efficiency electro-       Lin               01/15/2003 02/03/2004
                           optics device



                                                    Exhibit 1 - 4

                                                 Exhibit H, p. 869
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 870 of 954 Page ID
                                            #:18048


                                                                                 Name of First Filing Date
                                                                                Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                     Issue Date
                                                                                  / Patentee       Date
  US        6,686,676      UV reflectors and UV-based light sources having      McNulty        04/30/2001 02/03/2004
                           reduced UV radiation leakage incorporating the
                           same
  US        6,717,362      Light emitting diode with gradient index layering    Lee              02/20/2003 04/06/2004
  US        6,719,936      Method of making a solid compacted pellet of         Carlton          08/23/2002 04/13/2004
                           organic material for vacuum deposition of OLED
                           displays
  US        6,729,746      Light source device                                  Suehiro          03/14/2001   05/04/2004
  US        6,730,939      Radiation emitting semiconductor device              Eisert           02/12/2001   05/04/2004
  US        6,737,532      Organic electroluminescent materials                 Chen             04/05/2002   05/18/2004
  US        6,746,295      Method of producing an LED light source with         Sorg             06/05/2003   06/08/2004
                           lens
  US        6,759,804      Illumination device with at least one LED as light   Ellens           09/12/2002 07/06/2004
                           source
  US        6,762,436      Double-side display structure for transparent        Huang            01/14/2003 07/13/2004
                           organic light emitting diodes and method of
                           manufacturing the same
  US        6,765,236      Optical device and method for manufacturing the      Sakurai          12/21/2001 07/20/2004
                           same, and electronic apparatus
  US        6,777,871      Organic electroluminescent devices with              Duggal           03/31/2000 08/17/2004
                           enhanced light extraction
  US        6,784,460      Chip shaping for flip-chip light emitting diode      Ng               10/10/2002 08/31/2004
  US        6,791,116      Light emitting diode                                 Takahashi        04/28/2003 09/14/2004
  US        6,791,119      Light emitting diodes including modifications for    Slater, Jr.      02/01/2001 09/14/2004
                           light extraction
  US        6,791,259      Solid state illumination system containing a light   Stokes           08/22/2000 09/14/2004
                           emitting diode, a light scattering material and a
                           luminescent material
  US        6,794,685      Nitride semiconductor light emitting device and      Hata             09/06/2002 09/21/2004
                           manufacturing method thereof
  US        6,803,607      Surface mountable light emitting device              Chan             06/13/2003 10/12/2004
  US        6,809,345      Semiconductor light emitting element and             Watanabe         06/20/2003 10/26/2004
                           semiconductor light emitting device
  US        6,841,934      White light source from light emitting diode         Wang             02/26/2003 01/11/2005


                                                    Exhibit 1 - 5

                                                 Exhibit H, p. 870
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 871 of 954 Page ID
                                            #:18049


                                                                                  Name of First Filing Date
                                                                                 Named Inventor / Priority Published  /
Country   Patent / Appl.                          Title                                                     Issue Date
                                                                                    / Patentee      Date
  US        6,844,572      Light emitting semiconductor device and method        Sawaki         03/18/2003 01/18/2005
                           of fabricating the same
  US        6,853,151      LED retrofit lamp                                     Leong            04/12/2004 02/08/2005
  US        6,874,910      Light source device using LED, and method of          Sugimoto         12/03/2001 04/05/2005
                           producing same
  US        6,893,890      Method of producing a light-emitting diode            Takekuma         03/28/2003 05/17/2005
  US        6,909,108      Structure of quantum dot light emitting diode and     Tang             11/26/2003 06/21/2005
                           method of fabricating the same
  US        6,914,267      Light emitting diode                                  Fukasawa         04/06/2004 07/05/2005
  US        6,914,268      LED device, flip-chip LED package and light           Shei             02/16/2004 07/05/2005
                           reflecting structure
  US        6,917,057      Layered phosphor coatings for LED devices             Stokes           12/31/2002 07/12/2005
  US        6,921,927      System and method for enhanced LED thermal            Ng               08/28/2003 07/26/2005
                           conductivity
  US        6,922,424      Laser device                                          Weigert          01/09/2003 07/26/2005
  US        6,932,495      Channel letter lighting using light emitting diodes   Sloan            09/30/2002 08/23/2005
  US        6,936,761      Transparent electrode, optoelectronic apparatus       Pichler          03/29/2003 08/30/2005
                           and devices
  US        6,961,190      Bulk lens, light emitting body, lighting device       Tamaoki          01/29/2002 11/01/2005
                           and optical information system
  US        6,964,877      LED power package                                     Chen             03/28/2003 11/15/2005
  US        6,969,874      Flip-chip light emitting diode with resonant          Gee              06/12/2003 11/29/2005
                           optical microcavity
  US        6,969,946      Enhanced brightness light emitting device spot        Steranka         10/29/2002 11/29/2005
                           emitter
  US        6,972,208      Method for manufacturing a light emitting diode       Hsieh            05/21/2004 12/06/2005
                           having a transparent substrate
  US        6,972,212      Method for producing a radiation-emitting             Eisert           09/24/2004 12/06/2005
                           semiconductor chip
  US        6,982,522      LED device including phosphor layers on the           Omoto            09/23/2003 01/03/2006
                           reflecting surface
  US        6,987,613      Forming an optical element on the surface of a        Pocius           03/30/2001 01/17/2006
                           light emitting device for improved light
                           extraction
  US        6,997,580      Multidirectional light emitting diode unit            Wong             09/19/2003 02/14/2006

                                                    Exhibit 1 - 6

                                                 Exhibit H, p. 871
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 872 of 954 Page ID
                                            #:18050


                                                                                 Name of First Filing Date
                                                                                Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                     Issue Date
                                                                                   / Patentee      Date
  US        6,998,281      Solid state lighting device with reduced form        Taskar         10/12/2000 02/14/2006
                           factor including LED with directional emission
                           and package with microoptics
  US        7,008,858      Light emitting diode having an adhesive layer and    Liu              07/04/2003 03/07/2006
                           a reflective layer and manufacturing method
                           thereof
  US        7,009,213      Light emitting devices with improved light           Camras           07/31/2003 03/07/2006
                           extraction efficiency
  US        7,009,217      Light emitting diode having an adhesive layer and    Liu              10/27/2004 03/07/2006
                           a reflective layer and manufacturing method
                           thereof
  US        7,015,514      Light-emitting diode and method for the              Baur             01/15/2002 03/21/2006
                           production thereof
  US        7,018,859      Method of fabricating AlGaInP light-emitting         Liao             08/13/2004 03/28/2006
                           diode and structure thereof
  US        7,019,456      Organic EL display device                            Yasukawa         12/12/2003 03/28/2006
  US        7,026,261      Method for fabricating semiconductor device          Hirose           06/07/2004 04/11/2006
  US        7,026,657      High radiance led chip and a method for              Bogner           04/19/2001 04/11/2006
                           producing same
  US        7,053,419      Light emitting diodes with improved light            Camras           09/12/2000 05/30/2006
                           extraction efficiency
  US        7,071,034      Method of making semiconductor device                Ueda             01/12/2005   07/04/2006
  US        7,072,096      Uniform illumination system                          Holman           12/14/2001   07/04/2006
  US        7,084,435      Light emitting device using LED                      Sugimoto         01/06/2003   08/01/2006
  US        7,086,756      Lighting Element Using Electronically Activated      Maxik            03/18/2004   08/08/2006
                           Light Emitting Elements and Method of Making
                           Same
  US        7,091,653      Phosphor based light sources having a non-planar     Ouderkirk        01/27/2003 08/15/2006
                           long pass reflector
  US        7,091,661      Phosphor based light sources having a reflective     Ouderkirk        01/27/2003 08/15/2006
                           polarizer
  US        7,098,589      Light emitting devices with high light collimation   Erchak           04/15/2003 08/29/2006
  US        7,105,860      Flip chip light-emitting diode package               Shei             07/09/2004 09/12/2006
  US        7,119,271      Wide-bandgap, lattice-mismatched window layer        King             10/12/2001 10/10/2006
                           for a solar conversion device

                                                   Exhibit 1 - 7

                                                Exhibit H, p. 872
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 873 of 954 Page ID
                                            #:18051


                                                                                  Name of First Filing Date
                                                                                Named Inventor / Priority Published   /
Country   Patent / Appl.                         Title                                                      Issue Date
                                                                                     / Patentee     Date
  US        7,126,159      Plural leds mounted within a central cutout of a     Itai            03/03/2003 10/24/2006
                           surrounding circular reflective electrode
  US        7,129,635      Organic EL display device with plural electrode      Tsujimura        08/05/2003 10/31/2006
                           segments
  US        7,135,709      Surface structured light-emitting diode with         Wirth            09/21/2000 11/14/2006
                           improved current coupling
  US        7,157,745      Illumination devices comprising white light          Blonder          04/09/2004 01/02/2007
                           emitting diodes and diode arrays and method and
                           apparatus for making them
  US        7,161,189      LED package including a frame                        Wu               06/01/2005 01/09/2007
  US        7,188,981      Rear-view mirror with a reflected combined           Barros           06/20/2005 03/13/2007
                           signal and optics
  US        7,195,991      Method for producing an electromagnetic              Karnutsch        08/21/2003 03/27/2007
                           radiation-emitting semiconductor chip and a
                           corresponding electromagnetic radiation-emitting
                           semiconductor chip
  US        7,210,806      High-density illumination system                     Holman           01/24/2003 05/01/2007
  US        7,210,818      Flexible LED lighting strip                          Luk              09/27/2004 05/01/2007
  US        7,217,004      Light emitting diode array module for providing      Park             07/14/2004 05/15/2007
                           backlight and backlight unit having the same
  US        7,223,620      Process for the production of light-emitting diode   Jäger            12/11/2003 05/29/2007
                           light sources with a luminescence conversion
                           element
  US        7,223,998      White, single or multi-color light emitting diodes   Schwach          09/10/2004 05/29/2007
                           by recycling guided modes
  US        7,226,189      Light emitting diode illumination apparatus          Lee              04/15/2005   06/05/2007
  US        7,227,304      Image display apparatus                              Tsujimura        02/03/2004   06/05/2007
  US        7,235,817      LED Lamp                                             Yano             08/03/2004   06/26/2007
  US        7,250,728      Bottom and top emission OLED pixel structure         Chen             04/21/2004   07/31/2007
  US        7,253,447      Light emitting element and light emitting device     Oishi            02/24/2004   08/07/2007
                           with the light emitting element and method for
                           manufacturing the light emitting element
  US        7,253,448      Semiconductor radiation emitter package              Roberts          03/15/1999 08/07/2007
  US        7,262,440      Light emitting diode package and fabrication         Choi             12/30/2005 08/28/2007
                           method thereof

                                                    Exhibit 1 - 8

                                                 Exhibit H, p. 873
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 874 of 954 Page ID
                                            #:18052


                                                                              Name of First Filing Date   Published /
Country   Patent / Appl.                        Title                        Named Inventor / Priority    Issue Date
                                                                                / Patentee      Date
  US        7,264,378      Power surface mount light emitting die package    Loh            09/04/2002    09/04/2007
  US        7,268,371      Light extraction from a semiconductor light       Krames         06/03/1997    09/11/2007
                           emitting device via chip shaping
  US        7,273,291      Direct-illumination backlight apparatus having    Kim             05/25/2005 09/25/2007
                           transparent plate acting as light guide plate
  US        7,281,818      Light reflector device for light emitting diode   You             12/11/2003 10/16/2007
                           (LED) array
  US        7,282,853      LED lamp                                          Yano            07/29/2005 10/16/2007
  US        7,286,296      Optical manifold for light-emitting diodes        Chaves          04/23/2004 10/23/2007
  US        7,291,864      Single or multi-color high efficiency light       Weisbuch        02/28/2005 11/06/2007
                           emitting diode (LED) by growth over a patterned
                           substrate
  US        7,309,882      Surface light source with photonic crystal LED    Chen            03/30/2005 12/18/2007
  US        7,312,573      Organic light emitting diode devices              Chang           07/29/2005 12/25/2007
  US        7,317,210      Organic light emitting diode, method for the      Brabec          08/20/2002 01/08/2008
                           production thereof and uses thereof
  US        7,319,246      Luminescent sheet covering for LEDs               Soules          06/23/2005   01/15/2008
  US        7,323,704      Chip type led                                     Itai            06/07/2004   01/29/2008
  US        7,329,982      LED package with non-bonded optical element       Conner          10/29/2004   02/12/2008
  US        7,331,697      LED lighting system with helical fiber filament   Hulse           06/08/2007   02/19/2008
  US        7,344,902      Overmolded lens over LED die                      Basin           02/28/2005   03/18/2008
  US        7,344,958      Method for wafer bonding (A1, In, Ga)N and        Murai           07/06/2004   03/18/2008
                           Zn(S, Se) for optoelectronic applications
  US        7,345,298      Horizontal emitting, vertical emitting, beam      Weisbuch        02/28/2005 03/18/2008
                           shaped, distributed feedback (DFB) lasers by
                           growth over a patterned substrate
  US        7,350,936      Conventionally-shaped light bulbs employing       Ducharme        08/28/2006 04/01/2008
                           white LEDs
  US        7,352,006      Light emitting diodes exhibiting both high        Beeson          09/28/2004 04/01/2008
                           reflectivity and high light extraction
  US        7,354,174      Energy efficient festive lamp                     Yan             12/05/2005 04/08/2008
  US        7,358,537      Light emitting diode and fabrication method       Yeh             03/02/2005 04/15/2008
                           thereof
  US        7,358,539      Flip-chip light emitting diode with indium-tin-   Venugopalan     04/09/2003 04/15/2008
                           oxide based reflecting contacts

                                                  Exhibit 1 - 9

                                                Exhibit H, p. 874
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 875 of 954 Page ID
                                            #:18053


                                                                               Name of First Filing Date   Published /
Country   Patent / Appl.                         Title                        Named Inventor / Priority    Issue Date
                                                                                  / Patentee     Date
  US        7,361,938      Luminescent ceramic for a light emitting device    Mueller        06/03/2004    04/22/2008
  US        7,374,958      Light emitting semiconductor bonding structure     Pan            10/15/2004    05/20/2008
                           and method of manufacturing the same
  US        7,380,962      Optical manifold for light-emitting diodes         Chaves          04/23/2004 06/03/2008
  US        7,396,142      LED light bulb                                     Laizure, Jr.    01/30/2006 07/08/2008
  US        7,390,117      LED package with compound converging optical       Leatherdale     05/02/2006 06/24/2008
                           element
  US        7,391,153      Light emitting device provided with a submount     Suehiro         07/15/2004 06/24/2008
                           assembly for improved thermal dissipation
  US        7,397,177      LED lamp and method for manufacturing the          Takahashi       09/02/2004 07/08/2008
                           same
  US        7,400,439      Uniform illumination system                        Holman          12/14/2001 07/15/2008
  US        7,408,204      Flip-chip packaging structure for light emitting   Tung            08/08/2006 08/05/2008
                           diode and method thereof
  US        7,414,270      Side-emitting LED package having scattering        Kim             03/08/2006 08/19/2008
                           area and backlight apparatus incorporating the
                           LED lens
  US        7,427,145      Backlight unit having light emitting diodes and    Jang            05/30/2006 09/23/2008
                           method for manufacturing the same
  US        7,431,477      Methods and apparatus for an LED light engine      Chou            10/01/2003 10/07/2008
  US        7,435,997      Component comprising a large number of light-      Arndt           08/22/2001 10/14/2008
                           emitting-diode chips
  US        7,449,789      Light-emitting device, planar light source and     Chen            04/03/2006 11/11/2008
                           direct type backlight module
  US        7,463,419      Optoelectronic sensor                              Weber           01/23/2006 12/09/2008
  US        7,465,962      Semiconductor light emitting device and            Kametani        06/30/2006 12/16/2008
                           manufacturing method therefor
  US        7,479,662      Coated LED with improved efficiency                Soules          08/30/2002 01/20/2009
  US        7,479,664      Fiber optic phototherapy devices including LED     Williams        08/17/2004 01/20/2009
                           light sources
  US        7,489,068      Light emitting device                              Hsieh           01/06/2006 02/10/2009
  US        7,489,075      Double-sided light emitting organic                Lee             11/09/2005 02/10/2009
                           electroluminescence display device having a
                           reflection layer and fabrication method thereof


                                                  Exhibit 1 - 10

                                                Exhibit H, p. 875
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 876 of 954 Page ID
                                            #:18054


                                                                                  Name of First Filing Date
                                                                                 Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                      Issue Date
                                                                                    / Patentee      Date
  US        7,498,734      Light emitting device with wavelength converted       Suehiro        06/17/2004 03/03/2009
                           by phosphor
  US        7,504,671      Semiconductor device                                  Ishidu           10/30/2007 03/17/2009
  US        7,507,001      Retrofit LED lamp for fluorescent fixtures            Kit              05/24/2007 03/24/2009
                           without ballast
  US        7,510,289      Light emitting diode and light emitting control       Takekuma         08/19/2005 03/31/2009
                           system using same
  US        7,518,149      Light emitting mesa structures with high aspect       Maaskant         10/28/2005 04/14/2009
                           ratio and near-parabolic sidewalls
  US        7,521,782      Optical device package structure                      Ishii            05/19/2005 04/21/2009
  US        7,531,835      Increased mobility from organic semiconducting        Heeger           12/16/2002 05/12/2009
                           polymers field-effect transistors
  US        7,534,002      Lighting Device                                       Yamaguchi        09/14/2006 05/19/2009
  US        7,534,634      Surface-mountable light-emitting diode light          Jäger            07/10/2006 05/19/2009
                           source and method of producing a light-emitting
                           diode light source
  US        7,545,042      Structure combining an IC integrated substrate        Yang             09/20/2006 06/09/2009
                           and a carrier, and method of manufacturing such
                           structure
  US        7,582,910      High efficiency light emitting diode (LED) with       David            02/28/2005 09/01/2009
                           optimized photonic crystal extractor
  US        7,585,083      Backlight for display device                          Kim              08/05/2005   09/08/2009
  US        7,586,127      Light emitting diode                                  Nomura           03/29/2005   09/08/2009
  US        7,602,118      OLED device having improved light output              Cok              02/24/2005   10/13/2009
  US        7,646,146      OLED display with planar contrast-enhancement         Cok              08/30/2006   01/12/2010
                           element
  US        7,687,813      Standing transparent mirrorless light emitting        Nakamura         11/15/2006 03/30/2010
                           diode
  US        7,692,205      Semiconductor light-emitting device                   Wang             09/29/2006 04/06/2010
  US        7,693,360      Optoelectronic hybrid integrated module and light     Shimizu          04/18/2003 04/06/2010
                           input/output apparatus having the same as
                           component
  US        7,704,763      Highly efficient group-III nitride based light        Fujii            12/09/2003 04/27/2010
                           emitting diodes via fabrication of structures on an
                           N-face surface

                                                   Exhibit 1 - 11

                                                 Exhibit H, p. 876
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 877 of 954 Page ID
                                            #:18055


                                                                                 Name of First Filing Date
                                                                                Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                     Issue Date
                                                                                   / Patentee      Date
  US        7,710,016      Light emitting device provided with lens for         Miki           02/17/2006 05/04/2010
                           controlling light distribution characteristic
  US        7,717,589      Light emitting device using light emitting diode     Nishioka         11/25/2004 05/18/2010
                           chip
  US        7,719,020      (Al,Ga,In)N and ZnO direct wafer bonded              Murai            06/17/2005 05/18/2010
                           structure for optoelectronic applications, and its
                           fabrication method
  US        7,719,182      OLED device having improved light output             Cok              09/22/2005 05/18/2010
  US        7,733,011      Organic light-emitting diode with relief patterns    Cina             05/13/2005 06/08/2010
  US        7,742,677      Method for producing an optoelectronic               Eberhard         06/04/2007 06/22/2010
                           component
  US        7,745,986      Transflective display having full color OLED         Ito              02/09/2004 06/29/2010
                           blacklight
  US        7,748,879      Vehicle lamp                                         Koike            04/19/2004 07/06/2010
  US        7,755,096      Single or multi-color high efficiency light          Weisbuch         02/28/2005 07/13/2010
                           emitting diode (LED) by growth over a patterned
                           substrate
  US        7,759,140      Light-emitting device and method of                  Lee              06/12/2006 07/20/2010
                           manufacturing the same
  US        7,766,508      LED lighting fixture                                 Villard          09/12/2006 08/03/2010
  US        7,772,597      Light emitting diode lamp                            Inoue            04/20/2005 08/10/2010
  US        7,781,787      Light-emitting diode, led light, and light           Suehiro          11/15/2002 08/24/2010
                           apparatus
  US        7,781,789      Transparent mirrorless light emitting diode          DenBaars         11/15/2006 08/24/2010
  US        7,824,937      Solid element device and method for                  Suehiro          03/10/2004 11/02/2010
                           manufacturing the same
  US        7,842,526      Light emitting device and method of producing        Hadame           09/08/2005 11/30/2010
                           same
  US        7,847,302      Blue LED with phosphor layer for producing           Basin            08/26/2005 12/07/2010
                           white light and different phosphor in outer lens
                           for reducing color temperature
  US        7,851,815      Light-emitting element having at least one light-    Diamantidis      10/20/2006 12/14/2010
                           emitting chip crystal
  US        7,860,356      Body and an electronic device                        Van Montfort     08/19/2004 12/28/2010


                                                   Exhibit 1 - 12

                                                 Exhibit H, p. 877
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 878 of 954 Page ID
                                            #:18056


                                                                                 Name of First Filing Date
                                                                                Named Inventor / Priority Published  /
Country   Patent / Appl.                          Title                                                    Issue Date
                                                                                   / Patentee      Date
  US        7,868,341      Optical designs for high-efficacy white-light        Diana          06/27/2007 01/11/2011
                           emitting diodes
  US        7,872,275      Light-emitting diode arrangement                     Diamantidis      05/26/2006 01/18/2011
  US        7,932,111      Substrate removal process for high light             Edmond           02/23/2005 04/26/2011
                           extraction LEDs
  US        7,950,831      Recessed LED lamp unit                               Moon             04/28/2005 05/31/2011
  US        7,956,371      High efficiency light emitting diode (LED)           DenBaars         12/08/2005 06/07/2011
  US        7,964,883      Light emitting diode package assembly that           Mazzochette      02/26/2004 01/21/2011
                           emulates the light pattern produced by an
                           incandescent filament bulb
  US        7,994,527      High light extraction efficiency light emitting      DenBaars         11/04/2005 08/09/2011
                           diode (LED)
  US        8,022,423      Standing transparent mirrorless light emitting       Nakamura         11/15/2006 09/20/2011
                           diode
  US        8,035,117      Multi element, multi color solid state LED/laser     DenBaars         11/19/1999   10/11/2011
  US        8,039,849      LED module                                           Lam              11/23/2005   10/18/2011
  US        8,071,997      LED with light transmissive heat sink                Scotch           10/07/2005   12/06/2011
  US        8,109,635      Integrated retinal imager and method                 Allon            08/12/2004   02/07/2012
  US        8,158,987      Light-emitting diode and method for fabrication      Nabekura         02/16/2011   04/17/2012
                           thereof
  US        8,162,493      Interior rearview mirror assembly for vehicle        Skiver           11/24/1999 04/24/2012
  US        8,212,262      Transparent LED chip                                 Emerson          02/09/2007 07/03/2012
  US        8,258,519      Light emitting diode device having uniform           Hsu              04/10/2009 09/04/2012
                           current distribution
  US        8,294,166      Transparent light emitting diodes                    Nakamura         12/11/2006 10/23/2012
  US        8,368,109      Light emitting diodes with a p-type surface          Iso              07/26/2007 02/05/2013
                           bonded to a transparent submount to increase
                           light extraction efficiency
  US        8,378,368      Light-emitting diode structure                       Hsu              05/03/2010   02/19/2013
  US        8,395,167      External light efficiency of light emitting diodes   Kang             08/16/2007   03/12/2013
  US        8,405,307      LED lamp                                             Yano             07/14/2010   03/26/2013
  US        8,455,909      Semiconductor light emitting devices including       Negley           03/29/2004   06/04/2013
                           flexible unitary film on aluminum nitride
                           substrate


                                                    Exhibit 1 - 13

                                                 Exhibit H, p. 878
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 879 of 954 Page ID
                                            #:18057


                                                                               Name of First Filing Date
                                                                              Named Inventor / Priority Published  /
Country   Patent / Appl.                        Title                                                    Issue Date
                                                                                 / Patentee      Date
  US        8,541,788      LED with current confinement structure and         DenBaars       01/24/2005 09/24/2013
                           surface roughening
  US        8,558,446      Light emitting device provided with lens for       Miki             05/27/2009 10/15/2013
                           controlling light distribution characteristic
  US        8,637,892      LED package and method for manufacturing           Egoshi           09/21/2010 01/28/2014
                           same
  US        8,710,535      Light emitting device and light emitting device    Jo               04/12/2013 04/29/2014
                           package
  US        8,835,959      Transparent light emitting diodes                  Nakamura         12/11/2006 09/16/2014
  US        8,860,051      Textured phosphor conversion layer light           Fellows          11/15/2006 10/14/2014
                           emitting diode
  US        8,882,290      Light-mixing type light-emitting apparatus         Hsieh            05/15/2007 11/11/2014
  US        8,889,440      Light emitting diode optical emitter with          Chen             10/28/2010 11/18/2014
                           transparent electrical connectors
  US        9,276,156      Solar cells having a transparent composition-      King             06/15/2004 03/01/2016
                           graded buffer layer
  US        9,705,059      Light emitting package having a guiding member     Park             05/16/2016 07/11/2017
                           guiding an optical member
  US         9,752,734     Light emitting device                              Tanda            08/08/2016 09/05/2017
  US        10,103,306     Light-emitting element package and light-          Kim              05/20/2016 10/16/2018
                           emitting element module comprising same
  US        10,217,916     Transparent light emitting diodes                  Nakamura         06/03/2004 02/26/2019
  US        10,312,422     Light emitting devices with optical elements and   Camras           09/12/2000 06/04/2019
                           bonding layers
  US        10,374,003     Semiconductor light emitting device and LED        Choi             12/21/2017 08/06/2019
                           module using the same
  US      2001/0002049     Light-radiating semiconductor component with a     Reeh             12/07/2000 05/31/2001
                           luminescence conversion element
  US      2001/0010598     Head mount type display device                     Aritake          01/31/2000 08/02/2001
  US      2001/0033135     Organic electroluminescent devices with            Duggal           03/31/2000 10/25/2001
                           enhanced light extraction
  US      2002/0006040     Led luminaire with light control means             Kamada           06/29/2001 01/17/2002
  US      2002/0066905     Wing-shaped surface mount package for light        Wang             06/20/2000 06/06/2002
                           emitting diodes


                                                  Exhibit 1 - 14

                                                Exhibit H, p. 879
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 880 of 954 Page ID
                                            #:18058


                                                                                Name of First Filing Date
                                                                               Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                    Issue Date
                                                                                 / Patentee       Date
  US      2002/0085601     Light emitting diode with light conversion using    Wang           12/29/2000 07/04/2002
                           scattering optical media
  US      2002/0123204     Method of making a hybrid substrate having a        Torvik           03/01/2001 09/05/2002
                           thin silicon carbide membrane layer
  US      2002/0131726     Method and structure for packaging a high           Lin              03/01/2002 09/19/2002
                           efficiency electro-optics device
  US      2002/0141006     Forming an optical element on the surface of a      Pocius           03/30/2001 10/03/2002
                           light emitting device for improved light
                           extraction
  US      2002/0158578     LED devices                                         Eliashevich      03/14/2001 10/31/2002
  US      2002/0171087     III-nitride light-emitting device with increased    Krames           12/22/1999 11/21/2002
                           light generating capability
  US      2003/0010975     GaN LED with solderable backside metal              Gibb             07/05/2001   01/16/2003
  US      2003/0015959     Display unit                                        Tomoda           07/10/2002   01/23/2003
  US      2003/0031015     LED bulb                                            Ishibashi        05/16/2002   02/13/2003
  US      2003/0039119     Semiconductor light source for providing visible    Cao              08/24/2001   02/27/2003
                           light to illuminate a physical space
  US      2003/0100140     Method for packaging a high efficiency electro-     Lin              01/15/2003 05/29/2003
                           optics device
  US      2003/0124754     Process for efficient light extraction from light   Farahi           03/09/2001 07/03/2003
                           emitting chips
  US      2003/0141506     Nitride semiconductor element with a supporting     Sano             01/27/2003 07/31/2003
                           substrate and a method for producing a nitride
                           semiconductor element
  US      2003/0151361     Light emitting diode                                Ishizaka         02/10/2003 08/14/2003
  US      2003/0193803     Flexible rod light device formed of chip on board   Lin              11/27/2002 10/16/2003
                           based LED lamps and manufacturing method
                           thereof
  US      2003/0213969     GaN based LED lighting extraction efficiency        Wang             11/16/2001 11/20/2003
                           using digital diffractive phase grating
  US      2003/0215766     Light emitting systems and kits that include a      Fischer          01/11/2002 11/20/2003
                           light emitting device and one or more removable
                           lenses
  US      2004/0000727     LED package and the process making the same         Hsu              10/04/2002 01/01/2004


                                                   Exhibit 1 - 15

                                                Exhibit H, p. 880
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 881 of 954 Page ID
                                            #:18059


                                                                                 Name of First Filing Date
                                                                                Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                     Issue Date
                                                                                   / Patentee      Date
  US      2004/0007709     Semiconductor integrated circuit, signal             Kondo          06/02/2003 01/15/2004
                           transmitting device, electro-optical device, and
                           electronic apparatus
  US      2004/0007980     Tubular LED lamp                                     Shibata          07/09/2002   01/15/2004
  US      2004/0007981     Chained LED light source structure                   Shibata          07/09/2002   01/15/2004
  US      2004/0008525     LED electric bulb                                    Shibata          07/09/2002   01/15/2004
  US      2004/0036074     Optical interconnection integrated circuit, method   Kondo            06/13/2003   02/26/2004
                           of manufacturing optical interconnection
                           integrated circuit, electro-optical apparatus, and
                           electronic apparatus
  US      2004/0037079     Flexible LED lighting strip                          Luk              08/26/2002 02/26/2004
  US      2004/0037080     Flexible LED Lighting Strip                          Luk              08/26/2002 02/26/2004
  US      2004/0046179     Radiation-emitting semiconductor component and       Baur             09/09/2003 03/11/2004
                           method for producing the semiconductor
                           component
  US      2004/0070014     Base of optoelectronic device                        Lin              01/06/2003 04/15/2004
  US      2004/0075382     Electroluminescent devices and cathodes              Stegamat         10/22/2002 04/22/2004
  US      2004/0079408     Isoelectronic surfactant suppression of threading    Fetzer           10/23/2002 04/29/2004
                           dislocations in metamorphic epitaxial layers
  US      2004/0089868     Gallium nitride based compound semiconductor         Hon              11/05/2003 05/13/2004
                           light-emitting device and manufacturing method
                           therefor
  US      2004/0094772     Gallium nitride based compound semiconductor         Hon              11/05/2003 05/20/2004
                           light-emitting device and manufacturing method
                           therefor
  US      2004/0095502     Digital camera with a light-sensitive sensor         Losehand         08/28/2003 05/20/2004
  US      2004/0109327     LED light source mimicking a filamented lamp         Coushaine        12/09/2002 06/10/2004
  US      2004/0155565     Method and apparatus for the efficient collection    Holder           02/06/2003 08/12/2004
                           and distribution of light for illumination
  US      2004/0164311     Light emitting apparatus                             Uemura           02/10/2004 08/26/2004
  US      2004/0173807     Garnet phosphors, method of making the same,         Tian             09/17/2003 09/09/2004
                           and application to semiconductor LED chips for
                           manufacturing lighting devices
  US      2004/0173810     Light emitting diode package structure               Lin              03/03/2003 09/09/2004


                                                   Exhibit 1 - 16

                                                Exhibit H, p. 881
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 882 of 954 Page ID
                                            #:18060


                                                                                Name of First Filing Date
                                                                               Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                    Issue Date
                                                                                  / Patentee      Date
  US      2004/0184495     Semiconductor integrated circuit having a           Kondo          02/25/2004 09/23/2004
                           surface-emitting laser, manufacturing method of
                           the same, and electronic equipment
  US      2004/0188700     Light emitting diode                                Fukasawa         04/06/2004 09/30/2004
  US      2004/0211970     Semiconductor light emitting device with            Hayashimoto      05/27/2003 06/21/2005
                           reflectors having cooling function
  US      2004/0239242     Light-emitting unit and illuminator utilizing the   Mano             12/03/2003 12/02/2004
                           same
  US      2004/0239611     Double-sided light emitting backlight module        Huang            06/02/2003 12/02/2004
  US      2004/0245531     Lighting emitting device, manufacturing method      Fuii             01/21/2004 12/09/2004
                           of the same, electronic apparatus having the same
  US      2004/0257797     Light emitting device                               Suehiro          06/17/2004 12/23/2004
  US      2004/0263064     Integrated double-sided organic light-emitting      Huang            06/24/2003 12/30/2004
                           display
  US      2005/0007010     Structure of the stem of LED chip unit bulb         Lee              07/09/2003 01/13/2005
  US      2005/0029528     Semiconductor light emitting device                 Ishikawa         06/25/2004 02/10/2005
  US      2005/0030761     Package LED’s and electronics as a replaceable      Burgess          09/04/2003 02/10/2005
                           light bulb
  US      2005/0032257     Method of forming light emitting devices with       Camras           09/10/2004 10/09/2007
                           improved light extraction efficiency
  US      2005/0035354     Light emiting diodes with current spreading layer   Lin              08/14/2003 02/17/2005
  US      2005/0040410     Tilted cavity semiconductor optoelectronic device   Ledentsov        02/12/2002 02/24/2005
                           and method of making same
  US      2005/0062830     Light irradiating unit and optical fixing unit      Taki             09/20/2004 03/24/2005
  US      2005/0077532     Light emitting device                               Ota              09/30/2004 04/14/2005
  US      2005/0082562     High efficiency nitride based light emitting        Ou               10/15/2003 04/21/2005
                           device
  US      2005/0093008     Light emitting element and light emitting device    Suehiro          10/28/2004   05/05/2005
  US      2005/0111240     Light source unit and projector                     Yonekubo         09/29/2004   05/26/2005
  US      2005/0121688     Light emitting device                               Nagai            12/02/2004   03/13/2007
  US      2005/0133810     Opto-electronic assembly having an encapsulant      Roberts          02/01/2005   06/23/2005
                           with at least two different functional zones




                                                  Exhibit 1 - 17

                                                Exhibit H, p. 882
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 883 of 954 Page ID
                                            #:18061


                                                                               Name of First Filing Date   Published /
Country   Patent / Appl.                       Title                          Named Inventor / Priority    Issue Date
                                                                                  / Patentee     Date
  US      2005/0145865     Semiconductor light emitting element and method Okuyama           02/19/2004    07/07/2005
                           for manufacturing same, integrated
                           semiconductor light-emitting device and method
                           for manufacturing same, image display and
                           method for manufacturing same, and illuminating
                           device and method for manufacturing same
  US      2005/0156510     Device and method for emitting output light using Chua            01/21/2004    07/21/2005
                           group IIB element selenide-based and group IIA
                           element gallium sulfide-based phosphor materials
  US      2005/0184300     Light-emitting semiconductor device and method Tazima             02/16/2005    08/25/2005
                           of fabrication
  US      2005/0189551     High power and high brightness white LED           Peng           02/26/2004    09/01/2005
                           assemblies and method for mass production of the
                           same
  US      2005/0194598     Super bright light emitting diode of nanorod array Kim            02/13/2004    09/08/2005
                           structure having InGaN quantum well and
                           method for manufacturing the same
  US      2005/0196887     Group III-nitride based led having a transparent   Liu            09/12/2003    09/08/2005
                           current spreading layer
  US      2005/0205884     Semiconductor light emitting devices including     Kim            03/19/2004    09/22/2005
                           in-plane light emitting layers
  US      2005/0211997     Solid-state element and solid-state element device Suehiro        03/22/2005    09/29/2005
  US      2005/0212002     Semiconductor light emitting device                Sanga          03/29/2005    09/29/2005
  US      2005/0224830     Illumination devices comprising white light        Blonder        04/09/2004    10/13/2005
                           emitting diodes and diode arrays and method and
                           apparatus for making them
  US      2005/0237005     Electronic light generating element light bulb     Maxik          08/09/2004    10/27/2005
  US      2005/0242734     Light bulb having wide angle light dispersion and Maxik           08/09/2004    11/03/2005
                           method of making same
  US      2005/0243570     Optical manifold for light-emitting diodes         Chaves         04/23/2004    11/03/2005
  US      2005/0248271     Method of applying light-converting material and Ng               05/07/2004    11/10/2005
                           device thereof
  US      2005/0253157     Semiconductor light emitting device and            Ohashi         05/17/2004    11/17/2005
                           semiconductor light emitting apparatus
  US      2005/0253158     White light emitting device                        Yasukawa       09/30/2002    11/17/2005

                                                 Exhibit 1 - 18

                                               Exhibit H, p. 883
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 884 of 954 Page ID
                                            #:18062


                                                                                 Name of First Filing Date   Published /
Country   Patent / Appl.                         Title                          Named Inventor / Priority    Issue Date
                                                                                   / Patentee      Date
  US      2005/0265404     Luminance enhancement apparatus and method           Ashdown        05/28/2004    12/01/2005
  US      2006/0000964     System and method for lithography process            Ye             03/18/2003    01/05/2006
                           monitoring and control
  US      2006/0001036     LED-based edge lit illumination system               Jacob           07/02/2004 01/05/2006
  US      2006/0001186     IOL and method of manufacturing an IOL               Richardson      06/30/2004 01/05/2006
  US      2006/0006408     Light emitting element and method of making          Suehiro         06/06/2005 01/12/2006
                           same
  US      2006/0008941     Growth of planar, non-polar a-plane gallium          Haskell         12/16/2002 01/12/2006
                           nitride by hydride vapor phase epitaxy
  US      2006/0009006     Method for wafer bonding (Al, In, Ga)N and           Murai           07/06/2004 01/12/2006
                           Zn(S, Se) for optoelectronic applications
  US      2006/0017055     Method for manufacturing a display device with       Cropper         07/23/2004 01/26/2006
                           low temperature diamond coatings
  US      2006/0038187     LED and method of manufacturing the same             Ueno            08/09/2005 02/23/2006
  US      2006/0043399     Semiconductor light emitting device                  Miyagaki        08/23/2005 03/02/2006
  US      2006/0054905     White, single or multi-color light emitting diodes   Schwach         09/10/2004 03/16/2006
                           by recycling guided modes
  US      2006/0063028     Two sided light emitting device                      Leurs           04/06/2004 03/23/2006
  US      2006/0082295     Full-color organic light emitting display having     Chin            10/18/2004 04/20/2006
                           red, green, blue, cyan, magenta, and yellow color
                           modulation layers
  US      2006/0091376     Semiconductor light-emitting device with             Kim             04/05/2005 05/04/2006
                           improved light extraction efficiency
  US      2006/0097631     Double-sided light emitting organic                  Lee             11/10/2004 05/11/2006
                           electroluminescence display device and
                           fabrication method thereof
  US      2006/0125385     Active matrix organic electro-luminescence           Lu              12/14/2004 06/15/2006
                           device array and fabricating process thereof
  US      2006/0138439     High radiance LED chip and a method for              Bogner          12/19/2005 12/11/2007
                           producing same
  US      2006/0145170     Nitride based semiconductor light emitting device    Cho             12/28/2005 07/06/2006
  US      2006/0154392     Method of making a vertical light emitting diode     Tran            01/11/2005 07/13/2006
  US      2006/0163586     LED with current confinement structure and           Denbaars        01/24/2005 07/27/2006
                           surface roughening


                                                   Exhibit 1 - 19

                                                 Exhibit H, p. 884
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 885 of 954 Page ID
                                            #:18063


                                                                                 Name of First Filing Date
                                                                                Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                     Issue Date
                                                                                   / Patentee      Date
  US      2006/0163601     Lighting module and method the production            Harle          01/15/2004 07/27/2006
                           thereof
  US      2006/0164836     Light emitting apparatus                             Suehiro          10/28/2004 07/27/2006
  US      2006/0171152     Light emitting device and method of making the       Suehiro          01/19/2006 08/03/2006
                           same
  US      2006/0175624     Semiconductor light-emitting device                  Sharma           02/09/2005 08/10/2006
  US      2006/0186418     External extraction light emitting diode based       Edmond           01/30/2006 09/07/2010
                           upon crystallographic faceted surfaces
  US      2006/0186424     White LED and manufacturing method therefor          Fujimoto         02/09/2006 08/24/2006
  US      2006/0189026     Method for manufacturing a display device with       Cropper          07/23/2004 08/24/2006
                           low temperature diamond coatings
  US      2006/0192217     High efficiency light emitting diode (LED) with      David            02/28/2005 08/31/2006
                           optimized photonic crystal extractor
  US      2006/0193130     LED lighting system                                  Ishibashi        02/08/2006 08/31/2006
  US      2006/0194359     Horizontal emitting, vertical emitting, beam         Weisbuch         02/28/2005 08/31/2006
                           shaped, distributed feedback (DFB) lasers by
                           growth over a patterned substrate
  US      2006/0194363     Method of manufacturing a flexible electronic        Giesberg         03/30/2004 08/31/2006
                           device and flexible device
  US      2006/0202219     Semiconductor light emitting device and              Ohashi           06/03/2005 09/14/2006
                           semiconductor light emitting apparatus
  US      2006/0202226     Single or multi-color high efficiency light          Weisbuch         02/28/2005 09/14/2006
                           emitting diode (LED) by growth over a patterned
                           substrate
  US      2006/0234486     Wafer separation technique for the fabrication of    Speck            04/13/2005 10/19/2006
                           free-standing (Al,In,Ga)N wafers
  US      2006/0237723     Semiconductor device and method of                   Ito              04/21/2006 10/26/2006
                           manufacturing the same
  US      2006/0237732     Light-emitting device, method for making the         Nagai            02/23/2006 10/26/2006
                           same, and nitride semiconductor substrate
  US      2006/0239006     Optical manifold for light-emitting diodes           Chaves           04/23/2004 10/26/2006
  US      2006/0243993     Light emitting diode chip and light emitting diode   Yu               04/28/2006 11/02/2006
                           using the same
  US      2006/0246722     Etching technique for the fabrication of thin (AI,   Speck            04/13/2005 11/02/2006
                           In, Ga)N layers

                                                   Exhibit 1 - 20

                                                 Exhibit H, p. 885
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 886 of 954 Page ID
                                            #:18064


                                                                                 Name of First Filing Date
                                                                                Named Inventor / Priority Published  /
Country   Patent / Appl.                         Title                                                     Issue Date
                                                                                   / Patentee      Date
  US      2006/0261364     Solid element device and method for                  Suehiro        03/10/2003 11/23/2006
                           manufacturing thereof
  US      2006/0267026     White light emitting device                          Kim              05/31/2006 11/30/2006
  US      2006/0273336     Light emitting diode and manufacturing method        Fujikura         09/29/2005 12/07/2006
                           thereof
  US      2006/0273343     A1xInyGa1-x-yN mixture crystal substrate,            Nakahata         08/10/2006 12/07/2006
                           method of growing same and method of
                           producing same
  US      2006/0284195     Semiconductor light emitting device, light           Nagai            08/28/2003 12/21/2006
                           emitting module, lighting apparatus, display
                           element and manufacturing method of
                           semiconductor light emitting device
  US      2006/0289892     Method for preparing light emitting diode device     Lee              06/27/2006 12/28/2006
                           having heat dissipation rate enhancement
  US      2007/0001185     LED backlight module                                 Lu               05/18/2006 01/04/2007
  US      2007/0001186     (Al, Ga, In)N and ZnO direct wafer bonded            Murai            06/17/2005 01/04/2007
                           structure for optoelectronic applications, and its
                           fabrication method
  US      2007/0012940     Wavelength-convertible light emitting diode          Suh              07/14/2005 01/18/2007
                           package
  US      2007/0019409     Light source device with equalized colors split,     Nawashiro        07/24/2006 01/25/2007
                           and method of making same
  US      2007/0065960     Method for producing a light emitting device         Fukshima         11/11/2004 03/22/2007
  US      2007/0085075     Light Emitting Device, Electronic Equipment and      Yamazaki         12/11/2006 04/19/2007
                           Apparatus For Manufacturing the Same
  US      2007/0085100     Photonic structures for efficient light extraction   Diana            10/14/2005 04/19/2007
                           and conversion in multi-color light emitting
                           devices
  US      2007/0102721     High light extraction efficiency light emitting      Denbaars         11/04/2005 05/10/2007
                           diode (LED)
  US      2007/0120135     Coated led with improved efficiency                  Soules           08/30/2002 05/31/2007
  US      2007/0125995     Horizontal emitting, vertical emitting, beam         Weisbuch         12/02/2005 06/07/2007
                           shaped, distributed feedback (DFB) lasers
                           fabricated by growth over a patterned substrate
                           with multiple overgrowth

                                                   Exhibit 1 - 21

                                                 Exhibit H, p. 886
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 887 of 954 Page ID
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                                                                                 Name of First   Filing Date   Published /
Country   Patent / Appl.                         Title                          Named Inventor    / Priority   Issue Date
                                                                                   / Patentee        Date
  US      2007/0139949     Light emitting device                                Tanda            12/14/2006    06/21/2007
  US      2007/0145397     High efficiency light emitting diode (led)           Denbaars         12/08/2005    06/28/2007
  US      2007/0147072     Optical structures that provide directionally        Scobbo           12/23/2005    06/28/2007
                           enhanced luminance
  US      2007/0189013     Light emitting and receiving device                  Ford             02/10/2006 08/16/2007
  US      2007/0252164     METHOD FOR GROWTH OF SEMIPOLAR                       Zhong            02/17/2006 11/01/2007
                           (Al,In,Ga,B)N OPTOELECTRONIC DEVICES
  US      2007/0267976     LED-based light bulb                                 Bohler           05/05/2004 11/22/2007
  US      2007/0290224     Method of manufacturing nitride semiconductor        Ogawa            06/07/2007 12/20/2007
                           light-emitting element and nitride semiconductor
                           light-emitting element
  US      2008/0030691     Light Emitting Device, Manufacturing Method          Godo             04/18/2005 02/07/2008
                           For Light Emitting Device, Illumination Device
                           Using Light Emitting Device, And Projector
  US      2008/0111146     Standing transparent mirrorless light emitting       Nakamura         11/15/2006 05/15/2008
                           diode
  US      2008/0121918     High light extraction efficiency sphere led          DenBaars         11/15/2006 05/29/2008
  US      2008/0128730     Textured phosphor conversion layer light             Fellows          11/15/2007 06/05/2008
                           emitting diode
  US      2008/0128731     Transparent mirrorless light emitting diode          DenBaars         11/15/2006 06/05/2008
  US      2008/0135864     High light extraction efficiency light emitting      David            11/15/2006 06/12/2008
                           diode (led) with emitters within structured
                           materials
  US      2008/0137360     Lighting device                                      Van Jijswick     09/19/2005 06/12/2008
  US      2008/0149949     Lead frame for transparent and mirrorless light      Nakamura         12/11/2006 06/26/2008
                           emitting diodes
  US      2008/0149959     Transparent light emitting diodes                    Nakamura         12/11/2006 06/26/2008
  US      2008/0169752     Light emitting device                                Hattori          09/18/2007 07/17/2008
  US      2008/0182420     Ion beam treatment for the structural integrity of   Hu               11/15/2006 07/31/2008
                           air-gap iii-nitride devices produced by the
                           photoelectrochemical (pec) etching
  US      2008/0191191     Light Emitting Diode of a Nanorod Array              Kim              06/27/2005 08/14/2008
                           Structure Having a Nitride-Based Multi Quantum
                           Well
  US      2008/0191224     Transparent LED Chip                                 Emerson          02/09/2007 08/14/2008

                                                   Exhibit 1 - 22

                                                 Exhibit H, p. 887
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 888 of 954 Page ID
                                            #:18066


                                                                                   Name of First Filing Date
                                                                                  Named Inventor / Priority Published  /
Country   Patent / Appl.                          Title                                                      Issue Date
                                                                                     / Patentee      Date
  US      2009/0078951     Gallium nitride-based compound semiconductor           Miki           06/30/2006 03/26/2009
                           light-emitting device
  US      2009/0114928     Lighting structure comprising at least one light-      Messere          10/10/2006 05/07/2009
                           emitting diode, method for making same and uses
                           thereof
  US      2009/0121250     High light extraction efficiency light emitting        DenBaars         11/15/2006 05/14/2009
                           diode (led) using glass packaging
  US      2009/0140630     Light-emitting device, white light-emitting            Kijima           03/17/2006 06/04/2009
                           device, illuminator, and image display
  US      2009/0146170     High light extraction efficiency nitride based light   Zhong            11/30/2007 06/11/2009
                           emitting diode by surface roughening
  US      2009/0315055     PHOTOELECTROCHEMICAL ROUGHENING                        Tamboli          05/12/2008 12/24/2009
                           OF P-SIDE-UP GaN-BASED LIGHT
                           EMITTING DIODES
  US      2010/0059787     Semiconductor light-emitting apparatus                 Hoshina          05/13/2008 03/11/2010
  US      2010/0090240     Photoelectrochemical etching for chip shaping of       Tamboli          10/09/2008 04/15/2010
                           light emitting diodes
  US      2010/0283078     Transparent mirrorless light emitting diode            DenBaars         11/15/2006 11/11/2010
  US      2010/0289043     High light extraction efficiency light emitting        Aurelien         11/15/2006 11/18/2010
                           diode (led) through multiple extractors
  US      2011/0079806     Light-emitting diode structure                         Hsu              05/03/2010 04/07/2011
  US      2011/0089455     Optical designs for high-efficacy white-light          Diana            06/27/2007 04/21/2011
                           emitting diodes
  US      2011/0193061     Light Emitting Diode Device Having Uniform             Hsu              04/10/2009 08/11/2001
                           Current Distribution and Method for Forming the
                           Same
  US      2012/0043568     Light-emitting devices with substrate coated with      Yan              08/20/2010 02/23/2012
                           optically denser material
  US      2012/0161180     Led package                                            Komatsu          09/16/2011 06/28/2012
  US      2014/0252396     Highly efficient gallium nitride based light           Fujii            12/09/2003 09/11/2014
                           emitting diodes via surface roughening
  US      2014/0292618     Display device and an electronic apparatus using       Yamazaki         06/17/2014 10/02/2014
                           the same
  US      2015/0102378     Light emitting diode package structure                 Huang            10/14/2014 04/16/2015


                                                    Exhibit 1 - 23

                                                 Exhibit H, p. 888
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                                                  #:18067


                                                                                        Name of First Filing Date
                                                                                       Named Inventor / Priority Published  /
  Country        Patent / Appl.                         Title                                                     Issue Date
                                                                                           / Patentee     Date
    US           2015/0270444 HIGH POWER AllnGaN BASED MULTI-CHIP                      Liu            05/13/2003 09/24/2015
                              LIGHT EMITTING DIODE
    US           2018/0190888 Light-emitting element package and light-                Kim               05/20/2016 07/05/2018
                              emitting element module comprising same
  Australia      AU2010257325 High efficiency light source using solid-state           Freyssinier       05/05/2004 01/20/2011
                              emitter and down-conversion material
  Australia       AU754353    Electroluminescent quinolates                            Kathirgamanatha   12/01/1999 11/14/2002
                                                                                       n
 Australia        AU756072     Led lamp                                                Jeganathan        06/15/2001   01/02/2003
  China           CN2831445    Onidirection LED structure                              Song              08/05/2005   10/25/2006
 Germany        DE102004028143 Device for digitizing film material                     Walter            06/10/2004   12/14/2006
 Germany         DE10245932    Light-emitting diode illumination device has            Hohmann           09/30/2002   02/05/2004
                               spaces provided between side edges of adjacent
                               light-emitting diodes for output of emitted light
 Germany         DE10361801    Radiation emitting and/or radiation receiving           Brunner           12/30/2003 08/04/2005
                               semiconductor element with a semiconductor
                               chip useful in LED technology, and in reaction-
                               flow processes and surface mounting technology
                               (SMT)
 Germany        DE112007000313 A method of growing gallium nitride-based               Alenkov           02/06/2007 07/02/2009
                               semiconductor heterostructures
 Germany         DE19807758    Light-emitting diode structure and method for its       Krames            06/03/1997 12/10/1998
                               production
 European         EP1081771    Method of fabricating a light emitting device           Lowery            09/03/1999 03/07/2001
Patent Office
 European          EP1207563      Direct bonding of flip-chip light-emitting diode     Maranowski        11/08/2000 05/22/2002
Patent Office                     and flip-chip ESD protection chip to electrodes in
                                  a package
 European          EP1213773      Bulk lens, light emitting body, lighting device      Tamaoki           07/26/2000 06/12/2002
Patent Office                     and optical information system
 European          EP1225643      High efficiency unilateral light emitting device     Windisch          01/23/2001 07/24/2002
Patent Office                     and method for fabricating such device
 European          EP1416543      Semiconductor light emitting device comprising       Isamu             07/24/2002 05/06/2004
Patent Office                     uneven substrate


                                                          Exhibit 1 - 24

                                                        Exhibit H, p. 889
                Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 890 of 954 Page ID
                                                  #:18068


                                                                                        Name of First Filing Date
                                                                                       Named Inventor / Priority Published  /
  Country       Patent / Appl.                          Title                                                     Issue Date
                                                                                          / Patentee      Date
 European        EP1429395       LED light source mimicking a filamented lamp          Coushaine      12/09/2002 06/16/2004
Patent Office
 European        EP1536487       Light emitting element, light emitting device and     Yamaguchi        05/28/2003 06/01/2005
Patent Office                    surface emission illuminating device using it
 European        EP1603170       Method for manufacturing a solid-state optical        Suehiro          03/10/2004 08/01/2018
Patent Office                    element device
 European        EP1876385       Lamp and bulb for illumination and ambiance           Fisk III         07/02/2003 01/09/2008
Patent Office                    lighting
   France        FR2858859       Lighting panel for displaying image, has light        Fery             08/14/2003 02/18/2005
                                 extractors, each with light input section that is
                                 optically coupled to electroluminescent organic
                                 layer, where zone of organic layer is optically
                                 coupled with extractors
  Spain          ES2338925       Lamp and bulb for lighting and ambient light          Fisk III         07/02/2003 05/13/2010
  United         GP2345954       Light bulb with a plastic bulb mounting portion       Crawford         01/20/1999 07/26/2000
 Kingdom                         and LED light source
  United         GB2371679       Light-emitting devices                                Heeks            10/12/2000 07/31/2002
 Kingdom
  United         GB2413698       Led package and the process making the same           Hsu              04/27/2004 11/02/2005
 Kingdom
  Japan         JP2000277808     Light source device and its manufacture               Okamoto          03/23/1999   10/06/2000
  Japan         JP2001024223     Nitride semiconductor light emitting diode            Morita           07/09/1999   01/26/2001
  Japan         JP2001-44516     Light-emitting diode                                  Fukazawa         07/29/1999   02/16/2001
  Japan         JP2001068731     AlGaInP LIGHT EMITTING DIODE                          Udagawa          08/30/1999   03/16/2001
  Japan         JP2001111112     Light emitter                                         Tamaoki          10/05/1999   04/20/2001
  Japan         JP2001126515     Illuminating device using illuminant                  Minato           10/22/1999   05/11/2001
  Japan         JP2001160629     Chip type semiconductor device                        Okazaki          12/03/1999   06/12/2001
  Japan         JP2002008735     Charging device                                       Ohashi           05/15/2001   01/11/2002
  Japan         JP2002084002     Light source device                                   Nakamura         09/06/2000   03/22/2002
  Japan         JP2002203991     Semiconductive light emitting device                  Kawamoto         10/19/2001   07/19/2002
  Japan         JP2002208735     Light emitting or receiving device                    Nishimura        01/10/2001   07/26/2002
  Japan         JP2002232020     Led, and display, illuminator, liquid display back    Ichihara         01/31/2001   08/16/2002
                                 light device using the led, and light source device
                                 for projector
   Japan        JP2002280614     Light emitting diode                                  Horiuchi         03/14/2001 09/27/2002

                                                          Exhibit 1 - 25

                                                       Exhibit H, p. 890
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 891 of 954 Page ID
                                            #:18069


                                                                                 Name of First Filing Date   Published /
Country   Patent / Appl.                         Title                          Named Inventor / Priority    Issue Date
                                                                                    / Patentee     Date
 Japan    JP2002289925     Light-emitting diode                                 Horiuchi       03/23/2001    10/04/2002
 Japan    JP2002314152     Structure and forming method for high-efficiency     Lin            02/25/2002    10/25/2002
                           electro-optical device
 Japan    JP2003011417     Optical print head                                   Domoto          06/29/2001 01/15/2003
 Japan    JP2003016808     Lighting system                                      Nobuyuki        06/29/2001 01/17/2003
 Japan    JP2003069085     Multilayered wiring structure or electrode lead-     Iwabuchi        08/27/2001 03/07/2003
                           out structure, electric circuit device, and their
                           manufacturing methods
 Japan    JP2003163090     Lighting apparatus                                   Kazutaka        11/26/2001   06/06/2003
 Japan    JP2003249692     Semiconductor light emitting device                  Yamazaki        02/25/2002   09/05/2003
 Japan    JP2003318441     Semiconductor light emitting element                 Niki            07/23/2002   11/07/2003
 Japan    JP2003347586     Semiconductor light-emitting device                  Nitta           07/08/2003   12/05/2003
 Japan    JP2004111981     Semiconductor luminous element and usage of          Hoehn           10/15/2003   04/08/2004
                           semiconductor luminous element
 Japan    JP2004158557     Similar flip chip type light emitting diode device   Hakujin         11/05/2002 06/03/2004
                           package
 Japan    JP2004253743     Light emitting device using substrate containing     Kanbara         02/21/2003 09/09/2004
                           activator
 Japan    JP2004296575     Package for housing light emitting element, and      Sakumoto        03/26/2003 10/21/2004
                           light emitting device
 Japan    JP2004296999     Light emitting diode                                 Takahashi       03/28/2003   10/21/2004
 Japan    JP2004311677     Semiconductor light emitting device                  Yasuike         04/07/2003   11/04/2004
 Japan    JP2005035864     Substrate for mounting luminous element              Miyahara        10/15/2002   02/10/2005
 Japan    JP2005057310     Device for emitting light and method of forming      Yamada          11/29/2004   03/03/2005
                           same
 Japan    JP2005086051     Light emitting device                                Hashimoto       09/10/2003 03/31/2005
 Japan    JP2005150261     Light emitting element provided with multiplex       Fukushima       11/12/2003 06/09/2005
                           reflection preventing structure and manufacturing
                           method therefor
 Japan    JP2005183900     Light emitting device and lighting system            Katabe          03/12/2004   07/07/2005
 Japan    JP2005191197     Light emitting device                                Miyake          12/25/2003   07/14/2005
 Japan    JP2005191514     Light emitting element and light emitting device     Nakajo          04/01/2004   07/14/2005
 Japan    JP2005268323     Semiconductor light emitting device                  Fujiwara        03/16/2004   09/29/2005
 Japan    JP2005347677     Light emitting diode structure                       Baku            06/07/2004   12/15/2005

                                                   Exhibit 1 - 26

                                                 Exhibit H, p. 891
          Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 892 of 954 Page ID
                                            #:18070


                                                                            Name of First Filing Date
                                                                           Named Inventor / Priority Published  /
Country   Patent / Appl.                       Title                                                  Issue Date
                                                                              / Patentee      Date
 Japan    JP2005353816  Light emitting device, method for manufacturing    Goudo          06/10/2004 12/22/2005
                        the same, illuminant using the same, and
                        projector
 Japan     JP2006024615 Led lighting source and manufacturing method       Shimizu          07/06/2004 01/26/2006
                        thereof
 Japan     JP2006032387 Led lamp                                           Ichikawa         07/12/2004 02/02/2006
 Japan     JP2006041479 Light emitting element and its manufacturing       Suehiro          04/28/2005 02/09/2006
                        method
 Japan     JP2006128227 Nitride semiconductor light emitting element       Hiraoka          10/26/2004 05/18/2006
 Japan     JP2006156590 Light emitting diode                               Hiraoka          11/26/2004 06/15/2006
 Japan     JP2006165326 Light emitting diode and its manufacturing         Shoji            12/08/2004 06/22/2006
                        method
 Japan     JP2006191103 Nitride semiconductor light-emitting device        Cho              12/28/2005   07/20/2006
 Japan     JP2006210824 Nitride semiconductor light emitting element       Okagawa          01/31/2005   08/10/2006
 Japan     JP2006229259 Light emitting device                              Miyake           05/30/2006   08/31/2006
 Japan     JP2006237264 Light emitting device and lighting apparatus       Miyake           02/24/2005   09/07/2006
 Japan     JP2006245066 Light emitting diode and method of                 Morita           02/28/2005   09/14/2006
                        manufacturing light emitting diode
 Japan     JP2006261688 Light-emitting device                              Furukawa         05/08/2006 09/28/2006
 Japan     JP2006278751 Garium nitride-based semiconductor light           Kudo             03/29/2005 11/12/2006
                        emitting element
 Japan    JP52006287113 Light emitting element and light emitting device   Goshonoo         04/04/2005 10/19/2006
                        using the same
 Japan     JP2006294907 Nitride gallium based compound semiconductor       Miki             04/12/2005 10/26/2006
                        luminous element
 Japan     JP2006303258 Method for growing p-type nitride semiconductor    Kawaguchi        04/22/2005   11/02/2006
 Japan     JP2007165811 Light emitting device                              Matsushita       12/16/2005   06/28/2007
 Japan     JP2007311626 Light source device                                Ohashi           05/19/2006   11/29/2007
 Japan     JP2007324220 Optical semiconductor device                       Kusaka           05/30/2006   12/13/2007
 Japan     JP2007324326 Light-emitting diode chip and wafer division       Sasaki           05/31/2006   12/13/2007
                        processing method
 Japan       JP3075689  LED bulb                                           Shibata           08/17/200 02/27/2001
 Japan       JP3219000  LED display and manufacturing method thereof       Nagai            12/27/1996 10/15/2001
 Japan      JPH0210395  Chip-on-glass type display device                  Fukuoka          06/29/1988 01/16/1990

                                                Exhibit 1 - 27

                                              Exhibit H, p. 892
            Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 893 of 954 Page ID
                                              #:18071


                                                                                 Name of First   Filing Date   Published /
Country     Patent / Appl.                         Title                        Named Inventor    / Priority   Issue Date
                                                                                    / Patentee       Date
 Japan      JPH08298345      Chip type light emitting diode                     Onikiri          04/26/1995    11/12/1996
 Japan       JPH0927642      Lighting device                                    Yokota           07/13/1995    01/28/1997
 Japan       JPH0955540      Light emitting apparatus                           Sato             08/11/1995    02/25/1997
 Japan        JPH096260      Display device                                     Hara             06/19/1995    01/10/1997
 Japan      JPH10200165      Semiconductor light emitting device                Kawae            01/14/1997    07/31/1998
 Japan       JPH1117223      Gallium nitride based semiconductor light-         Kawamoto         06/25/1997    01/22/1999
                             emitting device and light-emitting device
 Japan       JPS5324300      Method of producing pilot lamp                     Shimada          08/19/1976 03/06/1978
 Japan        JP3970800      Flexible luminous body device and                  Lin              04/25/2002 09/05/2007
                             manufacturing method thereof
 Japan       JP4076329       LED bulb                                           Ishibashi        08/13/2001 04/16/2008
 Korean     KR100618941      Transparent light emitting apparatus and           Kim              11/08/2005 09/01/2006
                             manufacturing method thereof
 Korean     KR100619441      Growth method of easy remove Sudstate              Lee              06/30/2004    09/08/2006
 Korean     KR100626365      Light emitting diode with reflective structure     Jeong            10/28/2005    09/20/2006
 Korean     KR100643582      Light Emitting Diode package                       Oh               04/26/2004    11/10/2006
 Korean     KR100715580      Light source comprising a light-emitting element   군둘라 로쓰           11/19/2001    09/19/2003
 Korean     KR100733903      A method of manufacturing a light emitting         Yamazaki         06/03/2005    07/02/2007
                             device
 Korean     KR100786798      LED lighting module                                Song             02/28/2006 12/18/2007
 Korean     KR100796670      Light Emitting Diode and Method for                Lee              04/27/2006 01/22/2008
                             manufacturing thereof
 Korean     KR100808705      Light emitting device                              Yano             09/29/2004 02/29/2008
 Korean     KR100828174      Lamp having surface mounted light emitting         Yu               08/03/2006 05/08/2008
                             diode and manufacturing method of the same
 Korean     KR100840637      Complexes of form l2mx as phosphorescent           Thompson         12/01/1999 06/24/2008
                             dopants for organic leds
 Korean     KR101147342      Lighting device                                    Martius          09/29/2004    05/22/2012
 Korean     KR200403690      Structure of omnidirectional LED                   Sung             09/26/2005    12/12/2005
   US         RE42636        Window for gallium nitride light emitting diode    Chen             07/26/2000    08/23/2011
Singapore    SG100618        Bulky lens, light emitting unit, and lighting      Satoshi          01/03/2001    12/26/2003
                             instrument
 Taiwan       TW586096       Dual-screen organic electroluminescent display     Chao             04/25/2003 05/01/2004


                                                    Exhibit 1 - 28

                                                  Exhibit H, p. 893
                 Case 2:20-cv-00359-GW-E Document 250-2 Filed 01/10/22 Page 894 of 954 Page ID
                                                   #:18072


                                                                                       Name of First Filing Date
                                                                                      Named Inventor / Priority Published  /
   Country        Patent / Appl.                         Title                                                   Issue Date
                                                                                          / Patentee     Date
 WIPO (PCT) WO2001047037 Light output enhancement using light emitting                Feldman        12/20/1999 06/28/2001
                         diodes
 WIPO (PCT) WO2002090825 Lighting device using light-emitting diode                   Tamaoki              04/23/2001 11/14/2002
 WIPO (PCT) WO2005064666 Highly efficient gallium nitride based light                 Fujii                12/09/2003 07/14/2005
                         emitting diodes via surface roughening
 WIPO (PCT) WO2005083037 Illumination system comprising a radiation source            Schmidt              02/10/2005 09/09/2005
                         and a fluorescent material
 WIPO (PCT) WO2005124879 Group iii nitride semiconductor light emitting               Yasuda               06/18/2004 12/29/2005
                         device
 WIPO (PCT) WO2006009854 Increase of electrospray throughput using                    Gomez                06/18/2004 01/26/2006
                         multiplexed microfabricated sources for the
                         scalable generation of monodisperse droplets
 WIPO (PCT) WO2006098545 Light emitting device having a plurality of light            Lee                  12/14/2004 09/21/2006
                         emitting cells and package mounting the same
 WIPO (PCT) WO2007055455 Transparent light emitting apparatus and                     Lee                  11/08/2005 05/18/2007
                         manufacturing method thereof
Table 2: Non-Patent Prior Art Publications

    First Author or                                                                             Publication /
                                   Reference Title and Relevant Page Number(s)                                    Short Name
       Publisher                                                                                 Use Date
 Adachi S.               “Properties of Gallium Arsenide” EMIS Datareview Ser., 2, 513              1990            Adachi
                         INSPEC
 Bergh, A.A.,et. al      Light-Emitting Diodes                                                      1976            Bergh
 Blackwell, G.R.         The Electronic Packaging Handbook, CRC Press LLC                           2000           Blackwell
 Chen B. J. et al.       Transparent organic light-emitting devices with LiF/Mg:Ag cathode       02/07/2005          Chen
 Chua, C.L., et al.      Dielectrically- bonded long wavelength vertical cavity laser on GaAs       1994             Chua
                         substrates using strain-compensated multiple quantum wells. IEEE
                         Photonics Technology Letters, Volume 6, Issue 12, pp. 1400-1402.
                         DOI: 10.1109/68.392231, IEEE Photonics Technology Letters,
 Craford, M.G.           LEDs Challenge the Incandescents. IEEE Circuits and Devices                1992            Craford
                         Magazine, Volume 8, Issue 5, pp. 24-29. DOI: 10.1109/101.158509,
                         IEEE Circuits and Devices Magazine


                                                          Exhibit 1 - 29

                                                        Exhibit H, p. 894
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                        6, 2004 at http://www.atexled.com/contact.html), p. 1.

Table 3: Prior Art Products or Systems

   Brand                                                     Location of
                                           Date of Prior
                   Model Name / No.                          Prior Offer              Witness(es) Name & Address
   Name                                     Offer / Sale        / Sale
   Tektite   Mark-Lite Fire Fly products 2003 or earlier         U.S.    Scott Mele, 309 N. Clinton Ave., Trenton, NJ 08638, US




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                                 CERTIFICATE OF SERVICE

        I, Colleen Sphar, certify that on January 8, 2021, copies of the foregoing were delivered,
 pursuant to Commission regulations, to the following interested parties as indicated:

  The Honorable Lisa R. Barton, Secretary                   Via EDIS
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  Washington, D.C. 20436

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                                     Exhibit H, p. 900
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                                                         /s/ Colleen Sphar
                                                         Colleen Sphar
                                                         Paralegal




                                     Exhibit H, p. 901
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            EXHIBIT I




                               Exhibit I, p. 902
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  From:            Shah, Kal
  To:              Robert P. Parker; Papacostas, Simeon; Smith, Katherine A.; NichiaLIT; O"Hare, Bill; Weldon, Elizabeth
  Cc:              Feit20-359; Salil Bali; Crummett-Smith, Jennifer
  Subject:         RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20-0359 (C.D. Cal.)
  Date:            Wednesday, December 29, 2021 11:07:59 AM


 Good Morning Bob,

 As discussed last week, Feit Electric also has concerns regarding Nichia’s expert overreach in light of
 what was previously disclosed by Nichia. While our investigation continues, we have identified at least
 four arguments made by Mr. Gershowitz that are improper.

 First, while Nichia provided very limited positions with respect to claims 23 and 26 in infringement
 contentions (see Contentions at pages 6-8), Mr. Gershowitz improperly broadens them in his expert
 report, for example, by applying them for the first time in claim charts. (see, e.g., Claim Chart Exhibit
 CC-01) in a much broader context than disclosed.

 Second, Mr. Gershowitz’s position regarding light emission, e.g., that “light emitted from the plurality
 of LED chips of the Accused Products is converted by the portions of the wavelength conversion
 member on both the first surface side and the second surface at the same time” (Report at para. 150)
 and that “even if the two portions are not physically connected, they function in unison” is not
 disclosed in Nichia’s contentions (id.).

 Third, as it relates to representativeness, Nichia’s Contentions state that “[b]ecause the components
 are the same in all Feit LED filament-style bulbs (they do not materially differ with respect to the
 Straight-Filament Claims or the Curved-Filament Claims), the annotations Nichia provides in the
 accompanying charts can be applied, mutatis mutandis, to each of the accused products.” Yet, Mr.
 Gershowitz opines that the boards are different, the wiring is different and “the different categories
 are germane to the infringement analysis that I have provided in this report and in the accompanying
 claim charts” (see, e.g., Report at paras. 234 and 237).

 Fourth, Nichia provided its positions with respect to the curved filament products in its infringement
 contentions (see, e.g., Contentions at B5 and B18), with all filaments extracted from the units. Mr.
 Gershowitz’s report inappropriately introduces new positions by recategorizing the center portion and
 end portions. See Claim Chart Exhibit CC-23 at 4-9 and 36-41. Moreover Mr. Gershowitz also attempts
 to find infringement by reorienting and labeling the units different from what was disclosed in Nichia’s
 contentions.

 At this juncture, we are still evaluating our options; however, please let me know if Nichia will
 withdraw some or all of these positions. I suggest we have a follow-up discussion next week to discuss
 our respective concerns and the need for corresponding motion practice.

 Best,

 Kal


 Kal K. Shah
       ​




                                                    Exhibit I, p. 903
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            EXHIBIT J




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                               Exhibit J, p. 907
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            EXHIBIT K




                               Exhibit K, p. 909
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                 UNITED STATES INTERNATIONAL TRADE COMMISSION
                                 WASHINGTON, D.C.

                             Before the Honorable Clark S. Cheney
                                  Administrative Law Judge


     In the Matter of

     CERTAIN FILAMENT LIGHT-                     Investigation No. 337-TA-1220
     EMITTING DIODES AND PRODUCTS
     CONTAINING SAME (II)




                           RESPONDENTS’ PRE-HEARING BRIEF (Dkt. 3486)

          In accordance with Order No. 2 and Ground Rule 11.2, Respondents Feit Electric

 Company, Inc. (“Feit Electric”); Home Depot Product Authority, LLC, Home Depot U.S.A., Inc.,

 and The Home Depot, Inc. (collectively, “Home Depot”); IKEA Supply AG, IKEA US Retail

 LLC, and IKEA of Sweden AB (collectively, “IKEA”); Savant Systems, Inc., Savant

 Technologies, LLC and General Electric Company (collectively “GE Lighting”) and Satco

 Products, Inc. (“Satco”) (collectively, “Respondents”), and Intervenors Global Value Lighting

 LLC (“GVL”) and Signify North America Corp. (“Signify”) (collectively, “Intervenors” or,

 collectively with Respondents, “Respondents”) hereby submit the following Pre-Hearing Brief in

 this investigation concerning U.S. Patent Nos. 9,240,529 (“the ʼ529 patent”), 9,859,464 (“the ʼ464

 patent”), 10,593,854 (“the ʼ854 patent”), and 10,658,557 (“the ʼ557 patent”) (collectively, the

 “Asserted Patents”).1



 1
   This brief does not address claims ’529-9, ’464-10, ’854-2, ’854-6, or ’557-2 due to
 Complainant’s planned/filed motion to terminate the investigation as to those claims. If, for any
 reason, the investigation is not terminated as to those claims, Respondents reserve the right to
 address them at trial and to supplement this brief.



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               Depot Product Authority, LLC’s Tenth Supplemental Objections and
               Responses to Complainants’ First Set of Interrogatories (NOS. 1-23),
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 Exhibit B     Excerpts of the Transcript of the Deposition Testimony of E. Fred
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 Exhibit C     JP 2003-249692 (“Yamazaki”)

 Exhibit D     JP 2001-126515 (“Minato”)

 Exhibit E     JP 2000-277808 (“Okamoto-808”)

 Exhibit F     U.S. Patent No. 6,310,364 (“Uemura”)

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 Id. at .0250. “The figure shows the LED die emitting in the blue and the YAG phosphor

 surrounding the die.” Id. The YAG phosphor is “made as powder and suspended in epoxy resin.”

 Id.

        C.      Yamazaki Invalidates The Asserted Claims

        All asserted claims are invalid based on Japanese Patent Application Publication No. 2003-

 249692 (“Yamazaki”) if Respondents’ proposed construction of “lead frame” is not adopted.

                1.      Overview of Yamazaki (RX-0828)

        Yamazaki was published on September 5, 2003 and is § 102(b) prior art to the Asserted

 Patents.

        Yamazaki describes an LED package that “emits light in a plurality of directions through

 a simple structure.” RX-0828, [0008], [0039]; Lebby Opening Rpt., ¶ 458. It was designed for

 applications requiring light to be emitted from both sides of the package, for example “backlighting

 in a doublesided display device.” RX-0828, [0034], [0038]; Lebby Opening Rpt., ¶ 458.




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        Yamazaki’s Figure 1, above, shows an LED chip (12) die-bonded to a transparent plate

 (11). which is “a flat chip substrate made from a transparent material, such as, for example,

 transparent glass, sapphire, SIC, or the like.” RX-0828, [0026]; Lebby Opening Rpt., ¶ 448. The

 LED chip is attached to the glass/sapphire plate with “a transparent adhesive agent 11b.” RX-0828,

 [0025]; Lebby Opening Rpt., ¶ 448.

        The electric connection to the LED chip is provided by “conductive pattern 11a” and “gold

 wires 15.” RX-0828, [0026]; Lebby Opening Rpt., ¶ 449.

        The LED chip is encased in a “first resin molding portion 13” and a “second resin molding

 14.” RX-0828, [0025]; Lebby Opening Rpt. at ¶ 495. These resin moldings are “thermally curable

 epoxy” that “is molded through an arbitrary molding method.” RX-0828, [0028], [0029]; Lebby

 Opening Rpt., ¶ 521. These resin moldings may be “finished to be roughened surface, so as to

 prevent internal reflections.” RX-0828, [0025]; Lebby Opening Rpt., ¶ 501. One or both of the

 resin moldings may contain phosphor to allow the package to emit white light in one or both

 directions. RX-0828, [0014]-[0015]; Lebby Opening Rpt., ¶ 525.

        There is no dispute that Yamazaki discloses most elements of the Asserted Claims, as

 shown in the claim charts below.

        The limitations of the asserted claims that Regents contend are missing from Yamazaki are

 as follows:



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                                   ’464, ’529 patents               ’854, ’213, ’557 patents
                           “lead frame” (all)                  “cathode and anode provide
                                                               structural support…” (all)
                           “the transparent plate is
  Yamazaki                 roughened…” (464-7, 529-6)
                           “transparent substrate is           “patterned sapphire substrate”
                           roughened …” (464-10, 529-9)        (’854-2,’557-2)
                                                               “plurality of LEDs” (557-1)
 Schubert Rebuttal Rpt., ¶¶ 150-167.

        These allegedly missing elements are addressed below.

               2.     Yamazaki’s LED package meets the “lead frame” and “structural
 support” limitations

        The “lead frame” and “structural support” limitations are as follows:

        (’464-1) “a lead frame including a transparent plate; and an LED chip, attached to
        the lead frame”
        (’529-1) “a lead frame to which the LED chip is attached, wherein the LED chip
        resides on or above a transparent plate in the lead frame”
        (’854-1, ’213-1, ’557-1) “wherein the cathode and anode provide structural
        support to the [transparent surface/sapphire plate]”
        The LED package described in Yamazaki meets these limitations. The package uses

 “conductive pattern 11a” and “gold wires 15” to electrically connect the LED chip to the outside

 of the package. RX-0828, [0025]-[0026]; Lebby Opening Rpt., ¶¶ 449, 477. Thus, the left and right

 “conductive pattern 11a” are an “anode” and a “cathode.” Lebby Opening Rpt., ¶¶ 530-31.

        The “conductive pattern 11a” wraps around the glass/sapphire plate 11, as shown in Figure

 1 below. Lebby Opening Rpt., ¶¶ 472-73.




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        A person of ordinary skill would understand this as showing that “conductive pattern 11a”

 is in a “J”-lead configuration that was formed by bending a metal sheet around the glass/sapphire

 plate. Id. This “J”-lead configuration of “conductive pattern 11a” provides structural support to the

 glass/sapphire plate at each of its ends. Id. at ¶¶ 473-74. This satisfies the “structural support”

 limitation of the ’854, ’213, and ’557 patents. Id. at ¶¶ 474-75. It also satisfies the “lead frame”

 limitation of the ’464 and ’529 patents. Id. at ¶ 470.

        Regents contend that the “conductive pattern 11a” is not a metal sheet bent around the

 glass/sapphire plate, but instead “thin portions of conductive material” that “were incapable of

 providing structural support for the LED chip.” Schubert Rebuttal Rpt., ¶ 151. Regents also

 contend that Yamazaki does not have a lead frame because it uses “the ‘chip on board’ approach,”

 which relies “entirely on a ‘board’ or substrate to support the LED chip.” Id.

        Even if these factual contentions were correct—which they are not—Yamazaki would still

 meet the claim limitations. The ’854, ’213, and ’557 claims do not require the cathode and anode

 to provide support to the LED chip, they require the cathode/anode to provide support to the

 [transparent surface/sapphire plate]. That support is provided even if “conductive pattern 11a” is

 a thin film of metal, because the Yamazaki package is intended to be mounted to an external device

 through its metal-tipped ends. An example of this is shown in the image below. Lebby Opening

 Rpt., ¶ 487.



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        Similarly, the glass/sapphire plate and “conductive pattern 11a” are the claimed “lead

 frame,” even if 11a is only “thin portions of conductive material.” There is no dispute that

 Yamazaki shows a package where the LED chip is mounted on a glass/sapphire plate and

 electrically connected to metal-tipped ends. That is very similar to the configuration that Regents’

 accuses of infringement, where the LED chips are mounted on ceramic plates and electrically

 connected to metal-tipped ends.




        The term “lead frame” cannot be construed in manner that both includes the accused metal-

 tipped filaments, and yet excludes Yamazaki’s LED package. In other words, Yamazaki’s LED

 package must meet the “lead frame” and “structural support” limitations if the accused products


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 meet those limitations, because Yamazaki discloses the same structural configuration—an LED

 chip mounted on a plate/board with metal-tipped ends, where the metal-tipped ends are used to

 structurally connect the plate/board to something outside the package.


                        (a)    Alternatively, it was obvious to modify Yamazaki to meet the
                               “lead frame” and “structural support” limitations

        If it is determined that Yamazaki’s LED package does not meet the “lead frame” and

 “structural support” limitations, it nonetheless renders obvious an LED package that does meet

 those limitations. Lebby Opening Rpt., ¶ 476.

        By 2006, there were several known options for the design of the leads in an LED package,

 including the “pin” leads in a through-pin package (as shown in Uemura and Shimizu’s Figure 1),

 and the J-leads in a surface-mount package (as shown in Shimizu’s Figure 2). Lebby Opening Rpt.,

 ¶¶ 480-488.

       Uemura (RX-0779)                    Shimizu (RX-0784)                Shimizu (RX-0784)




         Shimizu shows that these two packaging approaches were known alternatives by the

 1990s. Lebby Opening Rpt., ¶¶ 63-64; see also KSR, 550 U.S. at 421 (if “there are a finite number

 of identified, predictable solutions, a person of ordinary skill has good reason to pursue the known

 options within his or her technical grasp”); Asyst Techs., Inc. v. Emtrak, Inc., 544 F.3d 1310, 1316

 (Fed. Cir. 2008) (finding a “strong case of obviousness in the substitution of the multiplexer, a

 known alternative to Hesser's bus, where the multiplexer operates in a well-known manner”);


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 Application of Bozek, 416 F.2d 1385, 1388 (C.C.P.A. 1969) (“We see nothing unobvious, but only

 a matter of choice between known alternatives in the art”); Graver Tank and Mfg. Co. v. Linde

 Air Products Co., 339 U.S. 605, 609 (1950) (“An important factor [in obviousness] is whether

 persons reasonably skilled in the art would have known of the interchangeability of an

 ingredient not contained in the patent with one that was.”).

         Another example of an LED package with folded metal J-leads is shown below in

 a datasheet for the Nichia NECW017. Lebby Opening Rpt., ¶ 62.




         If Yamazaki’s “conductive pattern 11a” is found not to be a metal sheet bent around the

 glass/sapphire plate, but instead “thin portions of conductive material” that do not provide required

 support, then it would have been obvious that Yamazaki’s package could be made with of folded

 metal J-leads. Lebby Opening Rpt., ¶¶ 479, 483-84. This was a known packaging technique that

 is at least suggested by Yamazaki’s Figure 1, and it would have been easier and cheaper to get the

 metal-tipped ends shown in Yamazaki by folding a metal sheet than by depositing a thin metal

 film. Id. This would be a simple substitution of one known element (folded metal J-leads) for

 another (thin-film metal leads) to obtain predictable results. MPEP § 2141; KSR, 550 U.S. at 417

 (“the simple substitution of one known element for another” is obvious when it leads to predictable

 results).




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        It was also obvious that Yamazaki’s package could be modified to use through-pin leads,

 as shown in Uemura. Lebby Opening Rpt., ¶ 487.




        Through-pin leads were a known packaging approach that is suggested by (i) Uemura’s

 disclosure of how to combine a transparent plate with traditional through-pin leads, Lebby

 Opening Rpt., ¶¶ 485-88, (ii) Shimizu’s disclosure that through-pin and J-lead/surface-mount

 packages were known alternatives, Id. at ¶ 482, and (iii) the widespread commercial availability

 of both through-pin and J-lead/surface-mount LED packages. Thus, modifying Yamazaki’s

 package to use through-pin leads would have been obvious. Id. at ¶¶ 485-88. See also KSR, 550

 U.S. at 421; Asyst Techs., 544 F.3d at 1316; Application of Bozek, 416 F.2d at 1388; Graver Tank,

 339 U.S. at 609. Additionally, using through-pin leads with Yamazaki as shown in Uemura would

 be a combination of known elements with no change to their respective functions, leading to

 predictable results. KSR, 550 U.S. at 415 (“a patent for a combination which only unites old

 elements with no change in their respective functions” is invalid); MPEP §2141.

        Using either the folded-metal J-lead approach or the through-pin approach satisfies the

 “lead frame” and “structural support” limitations. Regents do not dispute that Uemura’s through-

 pins meet these limitations. Schubert 05-07 Depo. Tr. 24:7-9; Schubert Rebuttal Rpt., ¶¶ 168-176.

 And the folded-metal J-lead approach meets the limitations for the reasons explained above.



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                 3.      Yamazaki’s LED package meets the “transparent plate is roughened”
 limitations

          The “transparent plate is roughened” limitations are as follows:

          (’464-7) “wherein the transparent plate is roughened, textured or patterned to
          increase transmission of the light through the transparent plate.”
          (’529-6) “wherein the transparent plate is roughened, textured or patterned to
          increase light extraction from the LED chip through the transparent plate in the lead
          frame.”
          As discussed above, Yamazaki discloses an LED chip attached to a transparent

 (glass/sapphire) plate, which is referred to as “chip substrate 11.” RX-0828, [0025]-[0026]; Lebby

 Opening Rpt., ¶ 448.

          Yamazaki discloses roughening the glass/sapphire plate, because it states that “the surface

 of the chip substrate 12 [sic] is a roughened surface.” RX-0828, [0037]; Lebby Opening Rpt., ¶

 500. Regents argues that the numbering error in Yamazaki [0037]—using “chip substrate 12”

 instead of “chip substrate 11”—means that Yamazaki does not disclose this limitation. Regents is

 wrong because the words “chip substrate” refer to the transparent plate regardless of the numbering

 error.

                         (a)     Alternatively, it was obvious to modify Yamazaki to meet the
                                 “transparent plate is roughened” limitations

          Yamazaki repeatedly describes the benefits of roughening for enhancing light extraction.

 RX-0828, [0017], [0028]-[0030], [0032]-[0033]; Lebby Opening Rpt., ¶ 501. It was also known,

 for example from Hakujin, that a transparent sapphire plate in an LED package can be roughened

 to “enhance” light extraction from the package. RX-0830, [0018]; Lebby Opening Rpt., ¶ 98.

 Thus, when Yamazaki describes roughening “chip substrate 12,” at a minimum this would have

 made it obvious to a person of ordinary skill that the Yamazaki’s sapphire plate could be roughened

 to enhance light extraction.




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               4.      It was obvious to modify Yamazaki to meet the “plurality of LEDs”
 limitation

        The “plurality of LEDs” limitation is as follows:

        (’557-1) “a plurality of III-nitride light emitting diodes (LEDs)”
        As discussed above, Yamazaki discloses a single LED chip attached to a transparent

 (glass/sapphire) plate. Lebby Opening Rpt., ¶ 448.

        It would have been obvious to a person of ordinary skill that multiple LEDs could be used

 instead of a single LED to obtain a higher-power package. Lebby Opening Rpt., ¶ 545. This is

 shown for example in Minato, below, which shows both single-LED packages and multiple-LED

 packages. Lebby Opening Rpt., ¶ 546.




 RX-0723.

        It would have been obvious that Yamazaki could be modified to contain multiple LED

 chips instead of a single LED chip. Lebby Opening Rpt., ¶¶ 543-550. This would be a simple

 substitution of one known element (a single LED chip in the Yamazaki package) for another

 (multiple LED chips in the Yamazaki package) with no change to their respective functions,

 leading to predictable results (a higher power LED package). KSR, 550 U.S. at 415; MPEP §2141.

        Additionally, Yamazaki’s disclosure is as detailed as the disclosure of the asserted patents,

 which do not describe the use of multiple LEDs. Complainant has argued that “[a] person of


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 ordinary skill in the art would understand the number of such diodes in a particular device

 would be a design choice, and the description in the ’557 Patent with respect to a single light

 emitting diode would indicate that the inventor had possession of a device with a plurality of

 such LEDs.” RX-0273C.0057; see also Lebby Opening Rpt., ¶ 551. If this argument is accepted,

 then Yamazaki must at least render obvious a plurality of LEDs instead of a single LED. Id. If

 this argument is not accepted, then the ’557 patent claims are invalid due to lack of written

 description support for the requirement of a plurality of LEDs, and it becomes moot whether

 Yamazaki also renders obvious those claims. Id.

               5.       Yamazaki claim charts

 Claim charts summarizing how Yamazaki meets each element of the asserted claims are

 provided below. More detailed claim charts are also attached as Ex. C.


                        (a)    ’464 and ’529 patents

      ’464 Patent              ’529 Patent                     Yamazaki (RX-0828)
  1. A light emitting     1. A light emitting     Yamazaki describes a compact LED package
  device, comprising:     device, comprising:     “that emits light in a plurality of directions
                                                  through a simple structure.” [0039].




                                                  The LED package includes “a chip substrate
                                                  11 [and] a light emitting chip 12 that is
                                                  mounted on the chip substrate 11.” [0025].
                                                  Chip substrate 11 is a glass/sapphire plate: “a
                                                  flat chip substrate made from a transparent
                                                  material, such as, for example, transparent
                                                  glass, sapphire, SIC, or the like.” [0026].
                          an LED chip emitting    The LED chip preferably “emits a blue light.”
                          light at a first        [0014].



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     ’464 Patent              ’529 Patent                      Yamazaki (RX-0828)
                         wavelength, wherein      Light from the LED chip is extracted through
                         the emitted light is     the glass/sapphire plate and out both sides of
                         extracted from both      the package. [0019], FIG. 1; see also [0038],
                         front and back sides     [0008], [0034]-[0035].
                         of the LED chip;
 a lead frame                                     The LED chip is electrically connected
 including a                                      through “gold wires 15” to the “conductive
 transparent plate;                               pattern 11a.” [0025], [0026].
 and
 an LED chip,            a lead frame to which    FIG. 1 shows that “conductive pattern 11a” is
 attached to the lead    the LED chip is          in a “J” lead configuration that a person of
 frame, for emitting     attached,                ordinary skill would understand was likely
 light;                                           formed by bending a metal sheet around the
 wherein the LED        wherein the LED           glass/sapphire plate.
 chip resides on or     chip resides on or        The LED chip is attached to the glass/sapphire
 above the              above a transparent       plate with a transparent adhesive. [0026].
 transparent plate and  plate in the lead
                        frame
 at least some of the   that allows the           Light from the LED chip is extracted through
 light emitted by the   emitted light to be       the glass/sapphire plate and out both sides of
 LED chip is            extracted out of the      the package. [0019], FIG. 1; see also [0038],
 transmitted through    LED chip through the      [0008], [0034]-[0035].
 the transparent plate; transparent plate in
 and                    the lead frame; and

 wherein at least a                               See previous row.
 portion of the light
 emitted by the LED
 chip is extracted
 from a front side of
 the lead frame and
 another portion of
 the light emitted by
 the LED chip is
 extracted from a
 back side of the lead
 frame.
                         a phosphor for           The blue LED light “is incident into the first or
                         converting the light     second resin molding portion that is structured
                         emitted by the LED       from a transparent resin into which a
                         chip at the first        fluorescent material has been mixed, [so that]
                         wavelength to a          white light is produced.” [0014]; see also
                         second wavelength.       [0015], [0020], [0035].
 7. The device of        6. The device of         Yamazaki discloses roughening the
 claim 1, wherein the    claim 1, wherein the     glass/sapphire plate (“chip substrate 11”),


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      ’464 Patent                 ’529 Patent                      Yamazaki (RX-0828)
 transparent plate is       transparent plate is      because it states that “the surface of the chip
 roughened, textured        roughened, textured       substrate 12 [sic] is a roughened surface.”
 or patterned to            or patterned to           [0037].
 increase                   increase light
 transmission of the        extraction from the
 light through the          LED chip through the
 transparent plate.         transparent plate in
                            the lead frame.
 9. The device of           8. The device             The bonding wires in Yamazaki show that the
 claim 1, wherein the       of claim 1, wherein       LED chip is mounted with its insulating
 LED chip includes a        the LED chip              growth-substrate on the bottom, adjacent the
 transparent substrate      includes a transparent    glass/sapphire plate.
 positioned adjacent        substrate and the
 the transparent plate.     transparent substrate
                            is adjacent the
                            transparent plate.




                          (b)    ’854 and ’557 patents

     ’854 Patent                 ’557 Patent                       Yamazaki (RX-0828)
 1. A light emitting        1. A light emitting       Yamazaki describes a compact LED package
 device, comprising:        device, comprising:       “that emits light in a plurality of directions
                                                      through a simple structure.” [0039].




 a transparent                                        The LED package includes “a chip substrate
 surface,                                             11 [and] a light emitting chip 12 that is
                            a sapphire plate,         mounted on the chip substrate 11.” [0025].
                                                      Chip substrate 11 may be a sapphire plate: “a
                                                      flat chip substrate made from a transparent
                                                      material, such as, for example, transparent
                                                      glass, sapphire, SIC, or the like.” [0026].




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      ’854 Patent              ’557 Patent                       Yamazaki (RX-0828)
 a cathode on a first     a cathode on a first      The LED chip is electrically connected
 end of the               end of the sapphire       through “gold wires 15” to the “conductive
 transparent surface      plate and an anode on     pattern 11a.” [0025], [0026].
 and an anode on a        a second end of the
 second end of the        sapphire plate,
 transparent surface,

 wherein the cathode      wherein the cathode
 and anode provide        and anode provide
 structural support to    structural support to
 the transparent          the transparent           FIG. 1 shows that “conductive pattern 11a” is
 surface                  surface                   on both ends of the sapphire plate. It is the
                                                    cathode on one end and the anode on the other.
 and are adapted to       and are adapted to        FIG. 1 shows that “conductive pattern 11a” is a
 provide an electrical    provide an electrical     “J” lead configuration that a person of ordinary
 connection between       connection between        skill would understand was likely formed by
 the light emitting       the light emitting        bending a metal sheet around the sapphire
 device and a             device and a structure    plate. It provides structural support to the
 structure outside the    outside the light         sapphire plate at each end.
 light emitting           emitting device;
 device;



 at least one III-                                  The LED chip preferably “emits a blue light.”
 nitride light emitting                             [0014]. This would be understood to be a GaN
 diode (LED)                                        (i.e. III-nitride) LED.
 comprising a
 sapphire growth                                    Yamazaki does not disclose using a sapphire
 substrate,                                         growth substrate for the LED chip. Yamazaki
                                                    renders obvious the use of a sapphire growth
                                                    substrate for the LED chip. This appears to be
                                                    undisputed. Schubert Rebuttal Rpt., ¶¶ 150-
                                                    167.
                          a plurality of III-       Yamazaki does not disclose using multiple
                          nitride light emitting    LEDs. Yamazaki renders obvious the use of
                          diodes (LEDs), each       multiple LEDs.
                          comprising a sapphire
                          growth substrate and
 the LED in               each in mechanical     The LED chip is attached to the sapphire plate
 mechanical               communication with with a transparent adhesive. [0026].
 communication with       the sapphire plate,
 the transparent          and


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       ’854 Patent                ’557 Patent                       Yamazaki (RX-0828)
  surface, and
  the LED and                the LEDs and               Light from the LED chip is extracted through
  transparent surface        sapphire plate             the sapphire plate and out both sides of the
  configured to extract      configured to extract      package. [0019], FIG. 1; see also [0038],
  light emitted by the       light emitted by the       [0008], [0034]-[0035].
  LED through the            LEDs through the
  transparent surface;       sapphire plate; and
  and
  a molding                  a molding comprising       The LED in encased in a molded epoxy resin
  comprising a               a phosphor and             13 and 14, as shown in FIG. 1. [0025], [0026].
  phosphor and               surrounding the            The resin is a “thermally curable epoxy resin”
  surrounding the            LEDs,                      and “is molded through an arbitrary molding
  LED,                                                  method.” [0028], [0029].

                                                        The molding includes a phosphor: “the first or
                                                        second resin molding portion … is structured
                                                        from a transparent resin into which a
                                                        fluorescent material has been mixed, [so that]
                                                        white light is produced.” [0014]; see also
                                                        [0015], [0020], [0035].
  the molding                the molding                The molding is configured to extract light from
  configured to extract      configured to extract      both sides of the LED chip, through the
  light from both a          light from both a          glass/sapphire plate, and out both sides of the
  front side of the light    front side of the light    package. [0019], FIG. 1; see also [0038],
  emitting device and        emitting device and a      [0008], [0034]-[0035].
  a back side of the         back side of the light
  light emitting             emitting device.
  device.


        D.       Minato Invalidates The Asserted Claims

        All asserted claims are invalid based on Japanese Patent No. JP 2001-126515 (“Minato”)

 if Respondents’ proposed construction of “lead frame” is not adopted.

                 1.         Overview of Minato (RX-0723)

        Minato was published on May 11, 2001 and is § 102(b) prior art to the Asserted Patents.

        Minato describes an LED package that is designed “for radiating light in all directions, that

 is, 360º of directions.” RX-0723, [0005]; Lebby Opening Rpt., ¶ 317. Minato explains that this



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